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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 16-cv-21301-GAYLES

   SECURITIES AND EXCHANGE COMMISSION,

               Plaintiff,

   v.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC.,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II. L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES, L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

               Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

               Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

          Additional Receivership Defendants1
   _____________________________________________/

                          RECEIVER’S FIRST INTERIM OMNIBUS APPLICATION FOR
                           ALLOWANCE AND PAYMENT OF PROFESSIONALS’ FEES
                                AND REIMBURSEMENT OF EXPENSES FOR
                                    APRIL 13, 2016 – OCTOBER 31, 20162

   1
       See Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [D.E. 60].


   {40031021;3}



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            Michael I. Goldberg (the “Receiver”), in his capacity as the court-appointed Receiver for

   Defendants, Jay Peak, Inc., Q Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel Suites

   Phase II, L.P., Jay Peak Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP

   Services, Inc., Jay Peak Golf and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay

   Peak Lodge and Townhouses L.P., Jay Peak GP Services Lodge, Inc., Jay Peak Hotel Suites,

   L.P., Jay Peak GP Services, Inc., Jay Peak Biomedical Research Park L.P., and AnC Bio

   Vermont GP Services, LLC (collectively, “Receivership Defendants”) and Relief Defendants Jay

   Construction Management, Inc., GSI of Dade County, Inc., North East Contract Services, Inc.,

   and Q Burke Mountain Resort, LLC (collectively, “Relief Defendants”) and Additional

   Receivership Defendants Q Burke Mountain Resort, Hotel and Conference Center, L.P. and Q

   Burke Mountain Resort GP Services, LLC, (collectively “Q Burke Entities” and with the

   Receivership Defendants and the Relief Defendants, the “Receivership Entities”) files this First

   Interim Omnibus Application (the “Application”) for Allowance and Payment of Professionals’

   Fees and Reimbursement of Expenses for April 13, 2016 – October 31, 2016 (the “Application

   Period”), and in support, states as follows:

                                             Preliminary Statement

            The Receiver seeks Court approval to pay the sum of $1,883,900.95 to the professionals

   engaged by the Receiver for fees incurred and reimbursement of $69,566.64 in expenses for a

   total payment of $1,953,467.59. The Receiver recognizes that this is an optically large amount,

   however, it is important to recognize that this fee application covers a nearly seven month period

   and the professionals who seek payment hereunder have collectively discounted their fees by


   2
     This Application includes time billed from April 4, 2016 through April 13, 2016 (the day the Court appointed the
   Receiver) relating to preparations to take control of the Receivership properties and travel to the Receivership
   locations.


   {40031021;3}
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   over $875,000 off their regular rates. Moreover, this is an extremely complex receivership

   involving the operation of a large resort, a hotel and two mountains. Unlike other receiverships,

   the Receiver and his professionals have also been required to deal with numerous immigration

   issues affecting hundreds of investors. In short, this receivership is much more complicated than

   other receiverships that simply involve the liquidation of non-operational assets.

            The professionals who seek payment pursuant to this fee application have financed this

   receivership due to their agreement to defer payment for upwards of six months so that the

   receivership estates' limited funds could be used to pay critical operating expenses in order to

   preserve the assets for the investors' and creditors' benefit. The Receiver has recently reached

   significant settlements which provide a source for payment to the professionals without

   jeopardizing the assets of the Receivership Entities. Moreover, subject to the Court's

   authorization, the Receiver also intends use some of the Citibank settlement funds to start

   satisfying the claims of trade creditors and contractors which will directly benefit investors by

   reducing the amount of claims against the estate. As more fully described herein the

   professionals have provided valuable services, have billed at significantly reduced rates, and are

   entitled to reasonable payment of the fees and reimbursement of their expenses.

   I.       Background

            On April 12, 2016, the Securities and Exchange Commission (“SEC”) filed a complaint

   [D.E. 1] (“Complaint”) in the United States District Court for the Southern District of Florida

   (the “Court”) against the Receivership Defendants, the Relief Defendants, William Stenger

   (“Stenger”) and Ariel Quiros (“Quiros” and with the Receivership Defendants, Relief Defendants

   and Stenger, the “Defendants”), the principal of the Receivership Defendants, alleging that the




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   Defendants violated the Securities Act of 1933 and the Securities Exchange Act of 1934 by

   making false or materially misleading representations to investors.

            According to the Complaint, the scheme involved securities offerings made on behalf of

   seven limited partnerships connected to Defendant Jay Peak, Inc. The first six offerings were

   associated with construction and renovation at the Jay Peak ski resort, additional hotels,

   condominiums, a water park and accompanying facilities (collectively, “Jay Peak”). The seventh

   limited partnership purported to raise funds to construct a biomedical research facility. An

   unrelated offering was promoted to fund the construction of a ski resort on Burke Mountain. The

   limited partnerships were funded through foreign investors pursuant to the federal EB-5

   immigration program. However, based on a preliminary forensic accounting, the Receiver has

   discovered that a large amount of the funds earmarked for certain projects were diverted to other

   projects and to expenses unrelated to the limited partnerships.

            On April 13, 2016, upon the SEC’s Motion for Appointment of Receiver [D.E. 7], the

   Court entered an Order (“Receivership Order”) [D.E. 13] selecting Michael Goldberg as the

   Receiver over the Receivership Defendants and the Relief Defendants (the “Receivership

   Order”). Relevant to this Application, the Receivership Order authorizes the Receiver to appoint

   professionals to assist him in “exercising the power granted by this Order …” See Receivership

   Order at ¶ 4. Moreover, the Receiver and his professionals are entitled to reasonable

   compensation from the assets of the Receivership Defendants, subject to approval of the Court.

   See Receivership Order at ¶14.

            The Receivership Order directs the Receiver to file “no less than quarterly” applications

   for reasonable compensation. Id. However, due to the expenses associated with (i) operating the

   Jay Peak during the off-season, (ii) preparing the hotel on Burke Mountain (“Burke”) for




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   opening, and (iii) maintenance and repairs at Jay Peak and Burke, the professionals agreed to

   defer payment of their fees. On July 22, 2016, the Receiver filed a Motion to Extend the

   Deadline to File Quarterly Applications for Professional Compensation [D.E. 189]. The motion,

   which was approved by Order of the Court, extended the deadline for filing fee applications until

   such time as the Receiver believes there are sufficient funds available to compensate the

   Receiver and his professionals or otherwise petitions the Court for an award of reasonable fees.

   See D.E. 194. Due to the settlements and recoveries described herein, the Receiver believes there

   are funds available to pay professionals, which will not take away resources from operating,

   maintaining and preserving the assets of the Receivership Entities.

   II.      Information about Applicant and the Application

            This Application has been prepared in accordance with the Billing Instructions for

   Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

   “Billing Instructions”). Pursuant to the Billing Instructions, the Receiver states as follows:

            (a)    Time period covered by the Application: April 13, 2016 – October 31, 2016

            (b)    Date of Receiver’s appointment:                  April 13, 2016

            (c)    Date services commenced:                         April 4, 20163

            (d)    Names and rates of all professionals:            See Exhibit 4(a) – (e)

            (e)    Interim or Final Application:                    Interim

            (f)    Records supporting fee application:              See below

            The following exhibits are provided in accordance with the Billing Instructions:

            Exhibit 1:     Receiver's Certification

            Exhibit 2:     Total compensation and expenses requested; any amounts previously
                           requested; and total compensation and expenses previously awarded
   3
     Levine Kellogg Lehman Schneider and Grossman LLP and Kapila Mukamal billed time prior to the official
   appointment of the Receiver.


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            Exhibit 3:     Fee Schedule: Names and Hourly Rates of Professionals and
                           Paraprofessionals & Total Amount Billed for each Professional and
                           Paraprofessional:

                           Exhibit 3(a): Akerman LLP

                           Exhibit 3(b): Levine Kellogg Lehman Schneider and Grossman LLP

                           Exhibit 3(c): Kapila Mukamal

                           Exhibit 3(d): Gowling WLK

                           Exhibit 3(e): Klasko Immigration Law Partners, LLP

            Exhibit 4:     The Professionals’ time records for the time period covered by this
                           Application, sorted in chronological order, including a summary and
                           breakdown of the requested reimbursement of expenses:

                           Exhibit 4(a): Akerman LLP

                           Exhibit 4(b): Levine Kellogg Lehman Schneider and Grossman LLP

                           Exhibit 4(c): Kapila Mukamal

                           Exhibit 4(d): Gowling WLK

                           Exhibit 4(e): Klasko Immigration Law Partners, LLP

                           Exhibit 4(f):    McManus Group

   III.     Case Status

            (a)    Cash on hand

            The amount of cash on in the Receivership bank accounts as of the date of filing this

   Application is $5,581,778.50. The amount of accrued administrative expenses totals $69,566.64

   and is comprised of what is owed to the professionals described herein. The amount of

   unencumbered funds in the receivership estate after the receipt of the Citibank settlement funds




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   will be approximately $11 million.4 These amounts do not include the funds used to maintain and

   operate Jay Peak and Burke.

            (b)    Summary of creditor claims proceedings

            The Receiver has not yet established a formal claims process. The unique nature of the

   receivership case may present the need for multiple classifications of claims. Investors may have

   claims for monetary damages due to a loss of all or part of their investment as well as other

   damages incurred as a result of the loss of their anticipated immigration status. Contractors and

   subcontractors, who have asserted mechanics’ liens, seek payment for the services provided and

   labor performed prior to the receivership. General trade creditors also hold claims for their pre-

   receivership services. The Receiver foresees developing a multi-layered claims process to

   address and verify the various claims. This claims process will be developed over time and

   submitted to the Court for approval when finalized.

            (c)    Description of assets

            In additional to the descriptions provided herein, for detailed information about the assets

   of the receivership estate, including the anticipated or proposed disposition of the assets, the

   Receiver respectfully refers the Court and interested parties to the First Interim Report [D.E.

   201] filed on August 12, 2016.

            (d)    Description of liquidated and unliquidated claims held by the Receiver

            The Receiver reached significant settlements during this Application Period. On October

   18, 2016, the Court entered an Order (I) Approving Settlement Between Receiver and Citibank,

   N.A.; (II) Barring, Restraining, and Enjoining Claims Against Citibank, N.A.; and (III)

   Modifying Asset Freeze Order Accordingly [D.E. 231]. The settlement with Citibank, N.A.

   4
     The Receiver expects to receive $10.8 million from Citibank on Monday, November 21, 2016. Currently, the
   Receiver holds $766,959.56 in unrestricted cash. The Receiver shall repay $745,675.01 to the Raymond James
   account.


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   (“Citibank”) will bring $13,300,000 into the receivership estate. In exchange for the $13,300,000

   payment, the Receiver has agreed to (i) to settle and compromise all claims relating to the SEC

   Action that the Receivership Entities could bring against Citibank, (ii) to obtain entry of a bar

   order enjoining any person from bringing any claims relating to the SEC Action or the

   Receivership Entities against Citibank. The settlement resolves a dispute over the sum of $15

   million which Quiros pledged to Citibank as collateral for a personal line of credit in an amount

   not to exceed $15 million.

            The Receiver also negotiated a partial settlement with Raymond James & Associates, Inc.

   and Raymond James Financial, Inc. (collectively, “Raymond James”), arising out of the

   settlement the State of Vermont reached with Raymond James. When Raymond James settled

   with the State of Vermont, the State of Vermont directed Raymond James pay the Receiver $4.5

   million (the “RJ Funds”) to be held for the purpose of reimbursing claims to EB-5 investors.

   Raymond James and the Receiver reached an interim agreement to help the Jay Peak resort

   remain operational and to maximize its value to investors and creditors.

            Pursuant to the agreement, the Receiver is permitted to use up to $1.5 million of the RJ

   Funds to pay expenses associated with the Receivership Estate’s operations (the “Borrowed

   Amount”). However, the Borrowed Amount may only be used for payroll expenses incurred in

   the ordinary course for day-to-day operations, not for any other purpose associated with the

   administration of the Receivership Estate including, but not limited to professionals’ fees (and

   will not be used to pay the fees requested herein). The Receiver is required to repay the

   Borrowed Amount by April 1, 2017 with the first available funds generated in the Receivership

   Estate (but not with the proceeds of any line of credit).




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            The Receiver continues to review potential causes of action against the principals of the

   Receivership Defendants and various third parties. These claims may include common law

   claims and claims under fraudulent transfer statutes. While the Receiver cannot yet predict the

   likelihood, amount or cost-effectiveness of particular claims or the claims as a whole, the

   Receiver continues to diligently evaluate claims against third parties.

   IV.      The Professionals

             (a)   Akerman LLP

            The Receiver is a partner at the law firm of Akerman LLP (“Akerman”) and co-chair of

   Akerman’s Fraud & Recovery Practice Group. The Receiver has practiced law for twenty-six

   years and specializes in receivership and bankruptcy cases. The Receiver has been appointed

   receiver in more than twenty state and federal receivership cases and has represented receivers

   and trustees in many other cases. The Receiver is working with a team of attorneys and

   paralegals at Akerman to administer this case. Since Akerman employs more than 500 attorneys

   and consultants, the Receiver has ready access to professionals who specialize in litigation, real

   estate, corporate and other pertinent matters and has used their expertise to administer the

   receivership estate.

            The Receiver has agreed to reduce his billing rate and the rates of his professionals for

   this case. Instead of their standard billing rates, which range from $440.00 to $690.00, in this

   case, all partners are billed at $395.00. Associates rates, which extend up to $340.00, have been

   set as $260.00. Paraprofessionals, who regularly bill from $220.00 to $295, are billed at $175.00.

   In addition to the rate reduction, all time billed to long distance travel is reduced by an additional

   50%. These discounts equate to a $410,000 reduction from Akerman’s standard billing. During

   the extended period covered by this Application, the Receiver and Akerman billed 2,470.20




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    hours and seeks payment of fees in the sum of $822,453.25 and reimbursement of expenses in

    the sum of $16,070.13, for a total of $838,523.38.5

              (b)      Levine Kellogg Lehman Schneider + Grossman LLP

              Jeffrey Schneider, a partner at the law firm Levine Kellogg Lehman Schneider +

    Grossman LLP (“LKLSG”) provides special litigation and conflicts litigation services for the

    Receiver. Mr. Schneider is a trial lawyer whose practice focuses on complex commercial

    litigation and receiverships. Mr. Schneider has served as a receiver himself in several cases. Mr.

    Schneider has agreed to reduce the rates of his professionals for this case. Instead of the standard

    billing rates of $450.00 to $600.00, all partners are billed at $250.00 to $260.00; all associates

    rates are reduced from the standard $325.00 to $375.00, to $200.00; and all paraprofessionals are

    billed at $125.00. In addition to the rate reduction, al time billed to long distance travel is

    reduced by an additional 50%. This represents a significant reduction from LKLSG’s standard

    billing rates and another $400,000 savings for the Receivership Estate. During the extended

    period covered by this Application, LKLSG billed 1,907.00 hours and seeks payment of fees in

    the sum of $380,680.00 and reimbursement of expenses in the sum of $25,447.53, for a total of

    $406.127.53.6

              (c)      Kapila Mukamal

              Soneet Kapila, CPA, and the accounting firm Kapila Mukamal provide accounting and

    forensic work for the Receiver. Mr. Kapila’s practice is focused on restructuring, creditors’

    rights, bankruptcy, fiduciary matters and financial transactions litigation. He has conducted

    numerous forensic and fraud investigations, and has worked in conjunction with the SEC, the




    5
        Akerman’s blended hourly rate is $333.00.
    6
        LKLSG’s blended hourly rate is $200.00.


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    Federal Bureau of Investigation and the United States Attorney’s Office. Mr. Kapila is also a

    panel trustee for the United States Bankruptcy Court for the Southern District of Florida.

             Mr. Kapila has agreed to reduce the rates of his professionals for this case not to exceed

    $395.00 per hour.7 In additional to the rate reduction, all time billed to long distance travel is

    reduced by an additional 50%. This represents a savings for the Receivership Estate in the sum

    of $40,000.00. During the extended period covered by this Application, Kapila Mukamal billed

    2,495.20 hours and seeks payment of fees in the sum of $584,759.20 and reimbursement of

    expenses in the sum of $19,487.55, for a total of $604,246.75.8

              (d)    Gowling WLK

             Malcolm Ruby, a partner in the Toronto office of the law firm Gowling WLK, has

    assisted the Receiver in securing bank accounts located in in Canada. Mr. Ruby has acted on

    behalf of the SEC and the Ontario Securities Commission in a number of cases raising trans-

    border enforcement issues. Mr. Ruby was successful in assisting the Receiver in obtaining the

    funds held in a Canadian Bank. During the extended period covered by this Application,

    Gowling billed 61.30 hours and seeks payment of fees in the sum of $22,629.50 and

    reimbursement of expenses in the sum of $1,957.11, for a total of $24,586.61.9

             (e)     Klasko Immigration Law Partners, LLP

             The attorneys of Klasko Immigration Law Partners, LLP (“Klasko”) have national

    reputations for cutting-edge immigration law practice, including working with immigrant

    investors applying for permanent residence status through the EB-5 program. Their experience

    working on EB-5 immigrant investor cases includes both representation of pooled investment


    7
      The invoice attached hereto as Exhibit 4(c) indicates Kapila’s standard billing rates, however the discount is
    reflected in the Fee Schedule attached hereto as Exhibit 3(c).
    8
      Kapila’s blended hourly rate is $234.00.
    9
      Gowling’s blended hourly rate is $369.00.


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    companies and representation of individual investors investing in pooled investment companies,

    approved regional centers and their own companies. They used this experience to assist the

    Receiver and the Investors in providing information to the United States Citizenship and

    Immigration services (“USCIS”) in support of the investors’ I-829 petitions.

             The Klasko attorneys bill at rates from $340.00 to $850.00, but has reduced its partners

    rates to $495.00, resulting in a blended rate of $339.63 per hour for this case.10 Klasko also wrote

    off 13.00 hours, resulting in a further reduction of $5,000.00. During the period covered by this

    Application, Klasko seeks payment in the sum of $47,379.00 for 139.50 hours and

    reimbursement of expenses in the sum of $2,304.92, for a total of $49,683.92.

             (f)     The McManus Group

             Michael McManus of The McManus Group provided security services during the

    transition to the Receiver’s control of the receivership property. Mr. McManus is a retired federal

    agent and employs other retired federal agents to assist him with security matters. Mr. McManus

    billed at a rate of $200.00 per hour, a rate he has maintained for receivership cases since 2009.

    During the period covered by this Application, The McManus Group billed 130.00 hours and

    seeks payment of fees in the sum of $26,000.00 and reimbursement of expenses in the sum of

    $4,299.40, for a total of $30,299.40.

    V.       Summary of Services Rendered During the Application Period

             Summaries of the services rendered during the Application Period are provided below.

    More detailed information is included in the professionals’ time records which are attached

    hereto as Exhibits 4(a) – (f).

             (a)     The Receiver and Akerman LLP


    10
       The invoice attached hereto as Exhibit 4(e) indicates that all of the attorneys billed at $495.00, however the
    discount is reflected in the Fee Schedule attached hereto as Exhibit 3(e).


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             The Receiver and Akerman have separated their time into the activity categories provided

    in the Billing Instructions. Narrative summaries of these activity categories are provided below.

             Asset Analysis and Recovery

             Asset Analysis and Recovery consists of the identification and review of potential assets

    including causes of action and non-litigation recoveries. The Receiver and Akerman initially

    familiarized themselves with the operations of the Receivership Entities and the extent of the

    assets of the Receivership Entities. The Receiver and Akerman analyzed documents and

    researched potential claims against third parties, prepared subpoenas duces tecum to financial

    institutions and third parties whom may be holding receivership assets. The Receiver located

    accounts at financial institutions which were not part of the receivership estate and brought those

    funds into the receivership estate.

             The Receiver and Akerman identified all financial accounts associated with the

    Receivership entities, advised the financial institutions of the existence of the receivership estate

    and the asset freeze ordered by the Court. Once the Court released the Receiver from the asset

    freeze, the Receiver liquidated bank accounts and opened new accounts which were under the

    Receiver’s control. The Receiver immediately transferred the vast majority of the funds he

    recovered to Jay Peak operating accounts to address off season cash flow issues, pay employees

    and to operate and maintain Jay Peak. When the Receiver discovered the existence of two bank

    accounts located in Canada, the Receiver retained Canadian counsel to freeze those accounts and

    direct the bank to provide the Receiver with access to the funds.

             The Receiver discovered that funds pledged to the receivership entities were improperly

    comingled with certain of the Burke entities which were not Defendants or Relief Defendants.

    The Receiver and his professionals researched and prepared an Emergency Motion to Expand




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    Receivership [D.E. 44] and an Emergency Motion to for Authorization to Loan Funds from

    Receivership and/or Relief Defendants to Q Burke Mountain Resort Hotel and Conference

    Center LP (“Q Burke LP”), the purpose of which was to provide much needed funds to complete

    the final steps necessary to open and operate the Burke Hotel, including the purchase of

    insurance on the property. After notice and hearing, on April 22, 2016, the Court entered an

    Order granting the motions, which resulted in a loan of up to $750,000 to Q Burke LP, to

    preserve the hotel for the benefit of the creditors and investors and to provide cash to maintain

    the hotel until its opening, and to cover expenses and provide insurance for the hotel. See D.E.

    60 and 61.

             The Receiver also discovered additional bank accounts held in the names of other non-

    receivership entities which are subsidiaries of Q Burke Mountain Resort, LLC. When the

    Receiver was unable to gain signatory authority and control over certain critical operating

    accounts held in the names of the subsidiaries, the Receiver prepared a Motion to be Authorized

    Signatory and for Access and Control of Receivership Entity Subsidiary Account [D.E. 89],

    which was approved by Order of the Court [D.E. 90], dated May 2, 2016.

             Asset Disposition

             Asset Disposition relates to sales, leases, abandonment and related transaction work.

    Early in the receivership, the Receiver learned that on March 20, 2016, Jay Peak entered into a

    purchase and sale agreement for one of the condominium units for $520,000. The closing on the

    sale was impacted by the receivership. In order to complete the sale, on April 27, 2016, the

    Receiver filed a Motion for Authorization to Sell Unit 314, Phase 1, Jay Peak Village [D.E. 69],

    which was approved by Order of the Court [D.E. 79], dated April 28, 2016. The sale was able to

    close and the funds generated by the sale will benefit the investors and creditors.




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             The Receiver analyzed the value of various projects to determine which assets could be

    immediately sold in order to generate revenue. The Receiver has negotiated with several

    companies to monetize the income stream of Jay Peak’s cell tower income. Although this has not

    yet been finalized, it is anticipated that approximately $2 million of cash receipts will be

    generated from such monetization.

             The Receiver also assessed the costs of commitments made by the Receivership Entities

    against the potential return in value for the investors and creditors. The receivership assets

    include a vacant block of real property in downtown Newport, Vermont, which was earmarked to

    be redeveloped as a mixed use retail and residential complex using EB-5 funds raised from

    future investors. The Receiver has met with the City of Newport and other potentially interested

    purchasers concerning the sale of this property.

             Jay Peak previously entered into contractual arrangements with the State of Vermont and

    third parties to effectively act as a fixed based operator (FBO) for a local airport approximately

    35 minutes from Jay Peak. On this property is a hangar built to house several experimental

    aircraft purchased by Quiros and his son. Jay Peak incurred hundreds of thousands of dollars to

    expand the runway and deal with water runoff. The Receiver determined that this contract was a

    money losing proposition for the receivership, and accordingly, the Receiver terminated the

    contract in July. The Receiver is also in discussions with the State of Vermont about possibly

    purchasing the hangar.

             Jay Peak Resort utilizes a 52 year old aerial tram, i.e., a gondola system (the “Tram”) to

    transport skiers and others to the top of the Jay Peak Mountain. During his investigation, the

    Receiver learned that the Tram required major and immediate repairs to meet the State of

    Vermont's safety standards. Prior to the Receiver's appointment, Jay Peak had been negotiating




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    an agreement for repairs, modifications, and an upgrade with Doppelmayr USA (“Doppelmayr

    Contract”). After his appointment, the Receiver and his professionals completed those

    negotiations. The upgrades include replacing of the electrical control, drive components,

    carriages, and track rope saddles on towers and reinforcement of tower components where

    feasible. The price of the upgrades to the Tram total $4,900,000. The Receiver filed a Motion For

    Authorization To Enter And For Approval Of Passenger Tramway Modification Agreement

    [D.E. 155], which was approved by Order of the Court. See D.E. 158. Immediately thereafter,

    the Doppelmayr Contract was executed and the repairs and upgrades commenced. In June 2016,

    inspectors from the State of Vermont lifted restrictions on the use of the Tram.

             For several decades, Jay Peak Resort has provided and maintained a water system for a

    neighboring village, Jay Peak Subdivision II, also known as Wilderness Village. The Receiver

    discovered that those services were provided without any apparent obligation on the part of Jay

    Peak Resort and without any compensation from any residents or local landowners. In April

    2016, the State of Vermont issued a warning relating to the level of manganese in the water

    system. The Receiver determined it will cost approximately $150,000 to correct the manganese

    levels. However, Jay Peak is not in a position to bear those costs or future costs of maintenance.

    The Receiver and his professionals are actively working with local officials in order to develop a

    plan to rectify the situation and to develop a plan for establishment of a local utility that will

    address the manganese levels and maintain the water supply going forward.

             Business Operations

             Business Operations cover the issues related to operation of an ongoing business. The

    Receiver negotiated a Management Agreement with Leisure Hotels & Resorts (“Leisure”). The

    Receiver utilized the skills of his attorneys who specialize in hospitality management to prepare




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    the Management Agreement, which provided that Leisure be responsible for, among other

    things, maintaining and repairing the properties, obtaining and maintaining the required licenses

    and permits, procuring and arranging for goods and services, arranging for and complying with

    all terms of insurance policies, collecting and accounting for and remitting to government

    authorities all applicable taxes. The Receiver prepared a Motion for Authorization To Enter And

    For Approval of Management Agreement Nunc Pro Tunc To Date Of Appointment of Receiver

    [D.E. 176], which was approved by Order of the Court [D.E. 186].

             The Receiver regularly confers with Leisure’s professionals, reviews operating reports

    and financial statements prepared by Leisure’s staff and works with Leisure’s professionals on

    changes to the properties’ accounting and cash management departments to enhance controls and

    provide better cash forecasting. In order to preserve operating costs, the Receiver approved the

    consolidation of Jay Peak and Burke’s back office functions (accounting, human resources,

    information technology, and some marketing) in a manner that can be easily unwound should

    one resort eventually be sold without the other.

             Case Administration

             Case Administration includes coordination and compliance activities, preparation of

    reports and responding to investor inquiries. During his initial visit to Vermont, the Receiver met

    with Vermont government officials, creditors of the Receivership Entities and employees of the

    Receivership Entities. Within the first week of the receivership, the Receiver drafted a letter to

    all known investors and potential creditors, joined Governor Shumlin in a press conference and

    conducted targeted meetings with creditors, contractors and interested parties. The Receiver

    continues to personally respond to inquiries, usually through e-mail and telephone calls.




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             Since the Receiver cannot respond to every inquiry, the Receiver has established a toll-

    free investor Hotline, an email address for general inquiries, and a website to provide up to date

    information for investors and interested parties. The Receiver has posted copies of court filings,

    correspondence with investors and other pertinent information on the website. The Receiver has

    also prepared and posted numerous updates on his website, including letters to investors. The

    Receiver has also prepared his First Interim Report [D.E. 201]. The Receiver and Akerman also

    worked with special immigration counsel to respond to inquiries from USCIS.

             Claims Administration and Objections

             Claims Administration and Objections relates to formulating, gaining approval of and

    administering claims procedure. Holders of claims include the contractors and subcontractors

    who provided labor and services to the Receivership Entities prior to the entry of the

    Receivership Order. Many of the contractors and subcontractors asserted liens for their labor and

    services, but were stayed from enforcing their liens due to the asset freeze set forth in the Order

    granting a Preliminary Injunction against the Receivership Defendants and Relief Defendants

    [D.E. 52] and the Receivership Order. When the contractors expressed their concern that their

    lien rights would expire under the Vermont statutes, the Receiver negotiated the filing of

    Stipulated Writs of Attachments to perfect their lien rights, subject to further review and

    confirmation by the Receiver of the validity, priority, scope and amount of their claims. See

    Motion to Modify the Preliminary Injunction and/or Receivership Order to Authorize a

    Stipulated Writ of Attachment for the Stateside Contractors and Subcontractors to Preserve Their

    Rights [D.E. 133] and Motion to Modify the Preliminary Injunction and/or Receivership Order to

    Authorize a Stipulated Writ of Attachment for the Burke Contractors and Subcontractors to

    Preserve Their Lien Rights and Memorandum of Law [D.E. 160].




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             Employee Benefits/Pensions

             Employee Benefits/Pensions covers issues such as severance, retention, 401K coverage

    and continuance of pension plan. The Receiver directed Akerman professionals who specialize in

    employee benefits to review ERISA issues and respond to a Department of Labor audit of Jay

    Peak’s 401K plan.

             Travel

             Pursuant to the Billing Instructions, long distance travel time is reimbursable at 50% of

    the Applicants billing rate. During the Application Period, the Receiver traveled to Vermont on

    seven occasions. During his initial visit, the Receiver toured the properties, met with the staff,

    management company, creditors and government officials. During each return visit, the Receiver

    continued to meet with the management company, creditors and government officials. Akerman

    attorneys traveled to Vermont on three occasions to address matters, including immigration

    issues or major repairs to the properties including the water park.

             Litigation/Contested Matters

             As more fully described herein, the Receiver worked closely with the LKLSG

    professionals on the claims against Raymond James, Citibank and others. The Receiver prepared

    for and attended settlement meetings with attorneys for Raymond James and with attorneys for

    Citibank. The Receiver also reviewed and analyzed court filings in the Goldberg v. Raymond

    James Financial, Inc., et al, Case No. 1:16-cv-21831-JAL (S.D. Fla.), the case filed against

    Raymond James and frequently conferred with LKLSG professionals, who were managing the

    case.

             The Receiver also reviewed court filings in the class action suits: James B. Shaw v.

    Raymond James Financial, Inc., Case No. 5:16-cv-00129-GWC (D. Vt.); Alexandre Daccache v.




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    Raymond James Financial, Inc. et al., Case No. 1:16-cv-21575-FAM (S.D. Fla.); Carlos Enrique

    Hiller Sanchez v. Raymond James & Associates, Inc., Case No. 1:16-cv-21643-KMW (S.D.

    Fla.); and Casseres-Pinto v. Quiros et al., No. 16-cv-22209-DPG (S.D. Fla.) (collectively, the

    “Related Actions”) and followed the status of consolidation of the Related Actions.

              The Receiver monitored all of the filing in this case and participated in matters which

    relate to the operation of the Receivership Entities. The Receiver has researched and prepared the

    Response to Motion For Release Of Funds Defendant Ariel Quiros' Motion For Order Permitting

    Payment Of Attorney's Fees And Costs [D.E. 128] and a Response to Quiros’ Second Motion for

    Attorney Fees [D.E. 200].



             (b)    Levine Kellogg Lehman Schneider and Grossman LLP

             Prior to filing the case, the SEC contacted multiple professionals and invited them to

    submit applications to serve as the prospective receiver in the case. The SEC selected Jeffrey

    Schneider and LKLSG to serve as the receiver. On March 11, 2016, Mr. Schneider commenced

    review of the properties and preparation for the receivership. LKLSG professionals immediately

    began to familiarize themselves with the operations of the receivership entities and preparation to

    secure the assets of the receivership entities.

             The LKLSG professionals’ efforts prior to the official selection of the Receiver provided

    a valuable benefit to the receivership estate. Mr. Schneider researched companies suitable to

    operate and manage large resort properties and located Leisure, who was ultimately selected by

    the Receiver. Certain of the LKLSG professionals traveled to Vermont to oversee the transition

    of management of the receivership entities. Other LKLSG professionals secured the offices of




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    certain of the Receivership Entities which were located in Miami. After the Receiver was

    selected by the Court, the Receiver asked LKLSG to serve as conflicts counsel.

             The LKLSG professionals researched causes of action against third parties, drafted

    discovery to financial institutions, including Raymond James, Goldman Sachs, Merrill Lynch,

    Bank of America, Citibank, HSBC Bank USA, N.A., JP Morgan Chase Bank, N.A., People’s

    United Bank and Pershing Bank. The LKLSG professionals categorized, catalogued and

    reviewed the document production and analyzed financial transactions and transfers. The

    LKLSG professionals followed up with the financial institutions and analyzed supplemental

    production. The LKLSG professionals identified and examined transfers of funds and worked

    with forensic team relating to flow of funds.

             The LKLSG professionals researched and prepared the complaint in the case Goldberg v.

    Raymond James Financial, Inc. et al., Case No. 16-21831-JAL. The LKLSG professionals

    prepared discovery, drafted the initial disclosures and engaged in many strategy conferences with

    the Receiver and defendants’ counsel regarding the case. The LKLSG professionals analyzed

    court papers filed by defendants, including defendant’s Motion to Dismiss.

             Unrelated to the Raymond James complaint, Raymond James reached a settlement with

    the Securities Division of the State of Vermont Department of Financial Regulation pursuant to

    which an Administrative Consent Order was issued. A copy of the Administrative Consent Order

    was filed with the Court. See D.E. 191. Under the terms of the settlement, Raymond James paid

    the sum of $4.5 million to the Receiver to be held to satisfy claims of the EB-5 investors and to

    be distributed in accordance with further orders of the Court. The LKLSG professionals worked

    with the Receiver to negotiate an interim agreement which allows the Receiver to use up to $1.5

    million of the funds to pay expenses associated with the receivership estate’s day-to-day




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    operations. LKLSG professionals prepared a Motion to Approve Temporary and Partial Use of

    Funds from Settlement Between Raymond James & Associates, Inc. and the State of Vermont

    for Operation of Receivership Estate [D.E. 197], which was approved by Order of the Court

    [D.E. 198], dated August 8, 2016.

             LKLSG professionals worked with the Receiver to negotiate a comprehensive settlement

    with Citibank and prepared a Motion for (i) Approval of Settlement between Receiver and

    Citibank, NA.; (II) Entry of a Bar Order; (III) Modification of Freeze Order; and (IV) Approval

    of Form, Content and Manner of Notice of Settlement and Bar Order [D.E. 205]. In exchange for

    a settlement payment in the amount of $13,300,000 from Citibank, the Receiver has agreed to

    settle all claims relating to the receivership case which could have been brought by the

    Receivership Entities, obtain entry of a bar order enjoining any person from bring a claim

    relating to the receivership case or the Receivership Entities against Citibank and to lift the asset

    freeze imposed on the accounts from which the settlement amount shall be funded. The LKLSG

    professionals reviewed the objections to the settlement and prepared for and attended the court

    hearing to approve the settlement.

             (c)    Kapila Mukamal

             Kapila Mukamal (“Kapila”) separated their time into the activity categories provided in

    the Billing Instructions. Narrative summaries of these activity categories are provided below.

             Tax Services

             Tax Services include analysis of tax issues and preparation of tax returns. Kapila and his

    professionals reviewed the tax returns produced by management and confirmed the timing and

    requirements for filings for the Receivership Entities. Kapila and his professionals gathered




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    information needed to prepare tax forms, reviewed outstanding tax issues, and coordinated tax

    compliance matters.

             Forensic Accounting/Litigation Support

             Forensic Accounting comprises reconstructing books and records from past transactions,

    bringing accounting current, tracing and sourcing assets. Kapila and his professionals analyzed

    asset flows and cash transactions, reviewed bank statements in support of the Receiver’s

    Emergency Motion to Expand Receivership [D.E. 44] and an Emergency Motion to for

    Authorization to Loan Funds from Receivership and/or Relief Defendants to Q Burke Mountain

    Resort Hotel and Conference Center LP.

             Kapila and his professionals analyzed hundreds of bank records and traced the

    disbursement of funds among the Receiver Entities and to third parties. Kapila and his

    professionals reconstructed and reconciled bank records and analyzed federal tax returns for each

    of the Receivership Defendants. Kapila and his professionals traced the cash flow and inter-

    company transfer among the Defendants. Kapila and his professionals prepared a vast database

    of records and a document inventory. Kapila’s analysis of financial records was valuable for the

    litigation matters and compiling records for the USCIS.

             Business Analysis

             Business Analysis covers preparation and review of company business plan, development

    and review of strategies, preparation and review of cash flow forecasts and feasibility studies.

    Kapila and his professionals traveled to Vermont to participate in the transition of control of the

    Receivership Entities to the Receiver. Kapila’s professionals also joined the team attending to

    the recovery of information from the Miami offices. Kapila and his professionals interviewed the

    staff accountants regarding budgets, payroll status of utilities and other expenses. Kapila and his




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    professionals prepared inventory of computers for data acquisition, gathered files and computer

    information, secured credit cards, and interviewed employees regarding bank account

    information. Kapila’s professionals met with the information technology staff to understand

    shared file and system overview and created new accounts for access to all accounting systems.

    Kapila and his professionals assisted the Receiver with control and custody of financial matters

    with a focus on cash forecasting. Kapila worked with the Receiver and immigration counsel to

    gather and analyze construction costs allocated to various projects for use it the records provided

    to the USCIS.

             (d)    Gowling WLK

             When the Receiver discovered that two of the Receivership Defendants maintained bank

    accounts with Caisse Desjardins in Magog, Quebec, he retained Gowling WLK to assist the

    Receiver to take control over those bank accounts. The Gowling professionals researched,

    prepared and filed a Motion to Grant Aid and Assistance with Respect to Orders of the United

    States District Court and an Affidavit supporting the motion. The Gowling professionals

    obtained an order granting the relief requested in the motion and the cooperation of Caisse

    Desjardins to release the funds to the receivership estate. Through Gowling’s efforts, the

    Receiver was able to obtain the sum of $1,045,291.47, which he transferred to the operating

    accounts and an additional CAD $125,023.62 remained in the accounts for future operating

    expenses.

             (e)    Klasko Immigration Law Partners, LLP

             The Klasko professionals worked with the Receiver to develop a strategy for the

    preparation of the I-829 Petitions to remove conditions on permanent resident status for investors

    who are reaching the end of their two year conditional residency period. A I-829 petition is




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    required to demonstrate that the investors successfully met all of the United States Citizenship

    and Immigration Service (“USCIS”) requirements. The Klasko professionals worked with the

    accountants and an economist to gather and review the supporting documents including proof

    that the capital investment was made, proof that the commercial enterprise was sustained during

    the conditional residency period, evidence that the required number of jobs were created and that

    the business plan was followed.

             (f)     The McManus Group

             Michael McManus and his investigators are retired federal agents. Kapila requested the

    assistance of The McManus Group to provide security during the transition of management of

    the receivership operations. A team of three investigators traveled to Vermont and two

    investigators secured the Miami offices. The McManus Group assisted in the execution of the

    court orders.

    VI.      Memorandum of Law

             The Receiver and his professionals are entitled to reasonable compensation and expenses,

    pursuant to the Receivership Order. Receivership courts have traditionally determined

    reasonableness by utilizing the familiar lodestar approach, calculating a reasonable hourly rate in

    the relevant market and the reasonable number of hours expended. See, e.g., S.E.C. v. Aquacell

    Batteries, Inc., No. 6:07-cv-608-Orl-22DAB, 2008 WL 276026, *3 (M.D. Fla. Jan 31, 2008); see

    also Norman v. Hous. Auth., 836 F.2d 1292, 1299-1302 (11th Cir. 1988).11 The hourly rates

    billed by the Receiver and his professionals are reasonable for professionals practicing in the

    Southern District of Florida. The Receiver has reduced his standard rate by $300.00 per hour and

    11
        The law in this circuit for assessing the reasonableness of fees is set out in Norman v. Hous., Auth. of
    Montgomery, 836 F.2d 1292. (11th Cir.1988). According to Norman, the starting point in determining an objective
    estimate of the value of professional services is to calculate the "lodestar" amount, by multiplying a reasonable
    hourly rate by the number of hours reasonably expended. Id. at 1299 (citing Hensley v. Eckerhart, 461 U.S. 424,
    433, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983)).


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    the rates of the Akerman professionals by $215.00 to $50.00 (depending on the individual’s

    standard rate). All LKLSG professionals have also reduced their rates by $350.00 to $100.00.

    These reductions have resulted in a substantial savings to the receivership estate.

             "In general, a reasonable fee is based on all circumstances surrounding the receivership."

    SEC v. W. L.Moody & Co., Bankers, 374 F. Supp. 465, 480 (S.D. Tex. 1974), aff'd, 519 F.2d

    1087 (5th Cir. 1975); ("[T]he court may consider all of the factors involved in a particular

    receivership in determining an appropriate fee." Gaskill v. Gordon, 27 F.3d 248, 253 (7th Cir.

    1994). "In determining the amount of their compensation, due consideration should be given to

    the amount realized, as well as the labor and skill needed or expended, and other circumstances

    having a bearing on the question of the value of the services." Sec. & Exch. Comm'n v. Striker

    Petroleum, LLC (N.D. Tex., 2012) citing City of New Orleans v. Malone, 12 F.2d 17, 19 (5th

    Cir. 1926). Part of "determining the nature and extent of the services rendered," however,

    includes an analysis as to the reasonableness of the services rendered, bearing in mind the nature

    of a receivership. As the Supreme Court has noted:

             The receiver is an officer of the court, and subject to its directions and orders . . . .
             [H]e is . . . permitted to obtain counsel for himself, and counsel fees are
             considered as within the just allowances that may be made by the court. . . . So far
             as the allowances to counsel are concerned, it is a mere question as to their
             reasonableness. The compensation is usually determined according to the
             circumstances of the particular case, and corresponds with the degree of
             responsibility and business ability required in the management of the affairs
             intrusted to him, and the perplexity and difficulty involved in that management.

    Stuart v. Boulware, 133 U.S. 78, 81-82 (1890).

             The circumstances of this receivership are unique. The Receiver quickly needed to assess

    the financial situation of Jay Peak and Burke and determine how to preserve the facilities in

    order to maximize the value of the assets for the benefit of the investors and creditors. Within the

    first few weeks of the receivership, the Receiver responded to the concerns of the investors,



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    creditors, employees, government officials and residents of the local communities. The Receiver

    relied on his business skills and the expertise of attorneys specializing in the hospitality sector,

    immigration, construction, fraud, commercial litigation, and employee benefits. The Receiver

    utilized the skills of forensic accountants and specialists in information technology to create an

    accurate representation of the finances and trace transfers of the investors’ funds. The Receiver

    also reached out to attorneys located in Canada to secure assets in Canadian banks. Despite the

    considerable amount of time and effort by the Receiver and his professionals, the Receiver did

    not seek payment of his fees until after the operations of Jay Peak and Burke were sufficiently

    funded.

             In addition to fees, the receiver is "also entitled to be reimbursed for the actual and

    necessary expenses" that the receiver "incurred in the performance of [its] duties." Fed. Trade

    Comm'n v. Direct Benefits Grp., LLC, No. 6:11-cv-1186-Orl-28TBS, 2013 WL 6408379, at *3

    (M.D. Fla. Dec. 6, 2013). The Receiver and his professionals support their claims for

    reimbursement of expenses with "sufficient information for the Court to determine that the

    expenses are actual and necessary costs of preserving the estate." Sec. & Exch. Comm'n v.

    Kirkland, No. 6:06-cv-183-Orl-28KRS, 2007 WL 470417, at *2 (M.D. Fla. Feb. 13, 2007)

    (citing In re Se. Banking Corp., 314 B.R. 250, 271 (Bankr. S.D. Fla. 2004)).

             A receiver appointed by a court who reasonably and diligently discharges his duties is

    entitled to be fairly compensated for services rendered and expenses incurred. See SEC v. Byers,

    590 F.Supp.2d 637, 644 (S.D.N.Y. 2008); see also SEC v. Elliott, 953 F.2d 1560 (11th Cir. 1992)

    ("[I]f a receiver reasonably and diligently discharges his duties, he is entitled to compensation.").

    As more fully described herein and supported by the time records, the Receiver and his




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    professionals have reasonably and diligently discharged their duties, and provided a benefit to

    the receivership estate, the investors and creditors.

             WHEREFORE, the Receiver seeks entry of an Order granting this motion and awarding

    the Receiver and his professionals their interim fees, reimbursement of costs, and for such other

    relief that is just and proper.

                                      LOCAL RULE CERTIFICATION

             Pursuant to Local Rule 7.3, the Receiver hereby certifies that he has conferred with

    counsel for Plaintiff, Securities and Exchange Commission ("SEC"). The SEC has no objection

    to the Application. A hearing is requested only in the event that someone files an objection

    thereto.

                                                    Respectfully submitted,

                                                    AKERMAN LLP
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                                                    Suite 1600
                                                    Ft. Lauderdale, Florida 33301
                                                    Telephone: (954) 46-2700
                                                    Facsimile: (954) 463-2224

                                                    By: /s/ Michael I. Goldberg
                                                        Michael I. Goldberg, Esq.
                                                        Florida Bar No.: 886602
                                                        Email: michael.goldberg@akerman.com
                                                       Court-Appointed Receiver




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                                      CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

    November 22, 2016 via the Court's notice of electronic filing on all CM/ECF registered users

    entitled to notice in this case as indicated on the attached Service List.




                                                    By: /s/ Michael I. Goldberg
                                                       Michael I. Goldberg, Esq.




    {40031021;3}
                                                     - 29 -
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 30 of 422




                                              SERVICE LIST


    1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

    Robert K. Levenson, Esq.                                  Jonathan S. Robbins, Esq.
    Senior Trial Counsel                                      jonathan.robbins@akerman.com
    Florida Bar No. 0089771                                   AKERMAN LLP
    Direct Dial: (305) 982-6341                               350 E. Las Olas Blvd., Suite 1600
    Email: levensonr@sec.gov                                  Ft. Lauderdale, Florida 33301
    almontei@sec.gov, gonzalezlm@sec.gov,                     Telephone: (954) 463-2700
    jacqmeinv@sec.gov                                         Facsimile: (954) 463-2224
    Christopher E. Martin, Esq.
    Senior Trial Counsel                                      Naim Surgeon, Esq.
    SD Florida Bar No.: A5500747                              naim.surgeon@akerman.com
    Direct Dial: (305) 982-6386                               AKERMAN LLP
    Email: martinc@sec.gov                                    Three Brickell City Centre
    almontei@sec.gov, benitez-perelladaj@sec.gov              98 Southeast Seventh Street, Suite 1100
    SECURITIES AND EXCHANGE                                   Miami, Florida 33131
    COMMISSION                                                Telephone: (305) 374-5600
    801 Brickell Avenue, Suite 1800                           Facsimile: (305) 349-4654
    Miami, Florida 33131                                      Attorney for Court-Appointed Receiver
    Telephone: (305) 982-6300
    Facsimile: (305) 536-4154                                 Scott B. Cosgrove, Esq.
    Attorneys for Plaintiff                                   Email: scosgrove@leoncosgrove.com
                                                              James R. Bryan, Esq.
    Roberto Martinez, Esq.                                    Email: jbryan@leoncosgrove.com
    Email: bob@colson.com                                     LEON GOSGOVE
    Stephanie A. Casey, Esq.                                  255 Alhambra Circle
    Email: scasey@colson.com                                  Suite 800
    COLSON HICKS EIDSON, P.A.                                 Coral Gables, Florida 33133
    255 Alhambra Circle, Penthouse                            Telephone: (305) 740-1975
    Coral Gables, Florida 33134                               Facsimile: (305) 437-8158
    Telephone: (305) 476-7400                                 Attorney for Ariel Quiros
    Facsimile: (305) 476-7444
    Attorneys for William Stenger                             David B. Gordon, Esq.
                                                              Email: dbg@msk.com
    Jeffrey C. Schneider, Esq.                                MITCHELL SILBERBERG & KNOPP, LLP
    Email: jcs@lklsg.com                                      12 East 49th Street – 30th Floor
    LEVINE KELLOGG LEHMAN                                     New York, New York 10017
    SCHNEIDER + GROSSMAN                                      Telephone: (212) 509-3900
    Miami Center, 22nd Floor                                  Co-Counsel for Ariel Quiros
    201 South Biscayne Blvd.
    Miami, Florida 33131
    Telephone: (305) 403-8788
    Co-Counsel for Receiver




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                                                     - 30 -
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 31 of 422



    Jean Pierre Nogues, Esq.                                J. Ben Vitale, Esq.
    Email: jpn@msk.com                                      Email: bvitale@gurleyvitale.com
    Mark T. Hiraide, Esq.                                   David E. Gurley, Esq.
    Email: mth@msk.com                                      Email: dgurley@gurleyvitale.com
    MITCHELL SILBERBERG & KNOPP, LLP                        GURLEY VITALE
    11377 West Olympic Blvd.                                601 S. Osprey Avenue
    Los Angeles, CA 90064-1683                              Sarasota, Florida 32436
    Telephone (310) 312-2000                                Telephone: (941) 365-4501
    Co-Counsel for Ariel Quiros                             Attorney for Blanc & Bailey Construction, Inc.

    Mark P. Schnapp, Esq.                                   Stanley Howard Wakshlag, Esq.
    Email: schnapp@gtlaw.com                                Email: swkshlag@knpa.com
    Mark D. Bloom, Esq.                                     KENNY NACHWALTER, P.A.
    Email: bloomm@gtlaw.com                                 Four Seasons Tower
    Danielle N. Garno, Esq.                                 1441 Brickell Avenue
    E-Mail: garnod@gtlaw.com                                Suite 1100
    GREENBERG TRAURIG, P.A.                                 Miami, FL 33131-4327
    333 SE 2nd Avenue, Suite 4400                           Telephone: (305) 373-1000
    Miami, Florida 33131                                    Attorneys for Raymond James & Associates
    Telephone: (305) 579-0500                               Inc.
    Attorney for Intervenor, Citibank N.A.




    {40031021;3}
                                                      31
    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
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                           EXHIBIT 1
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                                           Exhibit 1
                                        CERTIFICATION

      STATE OF FLORIDA )
                        ) SS:
      COUNTY OF BROWARD )

               BEFORE ME, the undersigned authority, personally appeared MICHAEL I.

      GOLDBERG (the "Applicant") , who, after first having been duly sworn, deposes and

      says:

               1.    The Applicant is a partner in the law firm of Akerman LLP ("Akerman")

      and the Receiver in this action. This Certification is based on the Applicant's first-hand

      knowledge of and review of the books, records and documents prepared and maintained

      by Akerman in the ordinary course of its business. The Applicant knows that the facts

      contained in this motion regarding work performed by the Receiver and his staff and the

      facts contained in this Certification are true, and the Applicant is authorized by Akerman

      to make this Certification. Having reviewed the time records and data which support the

      motion, the Applicant further certifies that said motion is well grounded in fact and

      justified.

               2.    The billing records of Akerman which are attached to this Application are

      true and correct copies of the records maintained by Akerman. These records were made

      at or near the time the acts, events, conditions or opinions described in such records

      occurred or were made. The Applicant knows that the records were made by persons

      with knowledge of the transactions or occurrences described in such records or that the

      information contained in the records was transmitted by a person with knowledge of the

      transactions or occurrences described in the records. The records were kept in the


      (40031021;3}
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      ordinary course of the regularly conducted business activity of Akerman and it is the

      regular business practice of Akerman to prepare these records.

               3.     To the best of the Applicant's knowledge, information and belief formed

      after reasonable inquiry, this motion and all fees and expenses herein are true and

      accurate and comply with the Billing Instructions for Receivers in Civil Actions

      Commenced by the SEC.

               4.     All fees contained in this Application are based on the rates listed in the

      fee schedule attached hereto and such fees are reasonable, necessary and commensurate

      with the skill and experience required for the activity performed.

               5.     The Applicant has not included in the amount for which reimbursement is

      sought the amortization of the cost of any investment, equipment, or capital outlay

      (except to the extent that any such amortization is included within the permitted

      allowable amounts set forth herein for photocopies and facsimile transmission).

               6.     In seeking reimbursement for a service which Akerman justifiably

      purchased or contracted for from a third party, the Applicant requests reimbursement

       only for a service which the Applicant justifiably purchased or contracted for from a third

       party, the Applicant requests reimbursement only for the amount billed to the Applicant

       by the third-party vendor and paid by the Applicant to such vendor. If such services are

       performed by the Applicant, the Applicant will certify that he is not making a profit on

       such reimbursable service.



                                            MICHAEL I. GOLDBE




      (40031021;3)
                                                   2
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               The foregoing instrument was acknowledged before me this November 22, 2016,

      by Michael I. Goldberg, who is pegonally kn                                    to me or who has produced

                                       (type of identification) as identification.




                                                                           itAA
                       0\40,TREGii                                  NOTARY PUBLIC, STATE OF FLORIDA
                        fAVsT547...0                                (Print, Type or Stamp Commissioned Name of
                              bet 26. e4-47.
                                                                    Notary Public)
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                 itA # FF 935229
                 7—

                  1:31:5)11:;.N,F4i
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                           EXHIBIT 2
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                                           Exhibit 2
                         Total Compensation And Expenses Requested;
                              Any Amounts Previously Requested;
                   And Total Compensation And Expenses Previously Awarded


              Name             Specialty    Hours       Fees       Expenses       Total
    Receiver and Akerman     Attorneys     2470.20    $822,453.25 $16,070.13    $838,523.38
    LLP
    Levine Kellogg Lehman    Attorneys     1907.00    $380,680.00 $25,447.53    $406,127.53
    Schneider + Grossman
    LLP
    Kapila Mukamal           Accountants   2495.20    $584,759.20 $19,487.55    $604,246.75
    Gowling WLK              Attorneys       61.30     $22,629.50 $1,957.11      $24,586.61
    Klasko Immigration Law   Attorneys      139.50     $47,379.00 $2,304.92      $49,683.92
    Partners, LLP
    The McManus Group        Security       130.00      $26,000.00 $4,299.40     $30,299.40
    Total                                  7203.20   $1,883,900.95 $69,566.64 $1,953,467.59
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                        EXHIBIT 3(a)
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                                           Receiver and Akerman LLP

            Name             Practice         Title       Year      Standard     Reduced   Total      Billable
                              Area                      Licensed      Rate        Rate     Hours      Amount
    Adam M. Zwecker        Real Estate      Associate     2010        $340.00    $260.00      4.50     $1,170.00
    Andrew S. Robins       Real Estate -     Partner      1979        $610.00    $395.00     49.20    $19,434.00
                           Hospitality
    Ankush R. Israni       Real Estate      Associate     2010        $315.00    $260.00     50.60    $13,156.00
    Cheryl R. Cotler       Real Estate      Paralegal                 $250.00    $175.00      1.00      $175.00
    Donnie M. King         Litigation       Associate     2012        $330.00    $260.00      1.10      $286.00
    Elizabeth D. Alcalde   Employee          Partner      1999        $570.00    $395.00      1.80      $711.00
                           Benefits
    Jane L. Hinton         Real Estate       Partner      1998        $495.00    $395.00     24.10     $9,519.50
    Joan M. Levit          Fraud &            Of          1993        $480.00    $395.00    218.60    $86,347.00
                           Recovery         Counsel
    Jonathan S. Robbins    Litigation        Partner      1993        $550.00    $395.00    249.60    $98,592.00
    Joseph L. Rebak        Litigation        Partner      1980        $575.00    $395.00     53.60    $21,172.00
    Kimberly A.            Fraud &          Paralegal                 $235.00    $175.00    392.50    $68,687.50
    Matregrano             Recovery
    Leslie Tomczak         Construction      Partner      1997        $525.00    $395.00      9.10     $3,594.50
    Mary A. McLees         Real Estate      Paralegal                 $295.00    $175.00      3.50      $612.50
    Michael I. Goldberg    Fraud &           Partner      1990        $690.00    $395.00    830.30   $327,986.50
                           Recovery
    Naim S. Surgeon        Litigation       Associate     2009        $325.00    $260.00    236.90    $61,594.00
    Nancy Perez            Litigation       Paralegal                 $255.00    $175.00      4.30      $752.50
    Owen Shean             Construction      Partner      1982        $520.00    $395.00      0.30      $118.50
    Ross A. Heft           Real Estate      Associate     2013        $265.00    $260.00     54.00    $14,040.00
    Samual A. Miller       Fraud &           Partner      2000        $440.00    $395.00    221.90    $87,650.50
                           Recovery
    Scott W. Rostock       Litigation        Partner      1999        $510.00    $395.00     58.00    $22,910.00
    Stacy Bohm             Construction      Partner      1994        $610.00    $395.00      1.30      $513.50
    Susan K. Robin         Real Estate       Partner      1986        $445.00    $395.00      0.40      $158.00
    Tamara C. Redi         Litigation       Paralegal                 $220.00    $175.00      1.80      $315.00
    Thomas L. Raleigh      Corporate -       Partner      1980        $530.00    $395.00      1.80      $711.00
                           Immigration
    Report Total                                                                           2470.20   $840,188.50
              Discount 50% for non-working travel per SEC Billing Instructions                       -$17,735.25
    Total                                                                                            $822,453.25
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                       EXHIBIT 3(b)
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                            Levine Kellogg Lehman Schneider + Grossman LLP


              Name              Practice          Title       Standard   Reduced   Hours     Billable
                                 Area                           Rate      Rate     Billed    Amount
      Ann Maria Salazar      Receivership     Receivership    $265.00    $125.00    683.10    $85,387.50
                                              Administrator
      Chad E. Lipsky         Litigation       Associate       $365.00    $200.00     15.90     $3,180.00
      David M. Levine        Bankruptcy -     Partner         $600.00    $250.00     24.90     $6,225.00
                             Receivership
      Elsa S. Fresco         Litigation       Paralegal       $235.00    $125.00      2.10      $262.50
      Jeffrey Schneider      Receivership -   Managing        $575.00    $260.00    621.00   $161,460.00
                             Litigation       Partner
      Jason Kellogg          Litigation       Partner         $450.00    $250.00     94.60    $23,650.00
      Jezabel Lima           Litigation       Partner         $450.00    $250.00     16.50     $4,125.00
      Marcelo Diaz-Cortes    Litigation       Associate       $325.00    $200.00    210.80    $42,160.00

      Matthew J.             Litigation       Associate       $375.00    $200.00      9.80     $1,960.00
      McGuane
      Victor Petrescu        Litigation       Associate       $375.00    $200.00     40.80     $8,160.00
      Stephanie Reed         Litigation       Partner         $510.00    $250.00    131.40    $32,850.00
      Traband
      Victoria J. Wilson     Litigation       Associate       $370.00    $200.00     56.30    $11,260.00
      Total                                                                        1907.20   $380,680.00
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                        EXHIBIT 3(c)
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                                                   Kapila Mukamal

              Name                   Title             Year       Hours      Standard      Billing        Total
                                                     Licensed/                 Rate         Rate          Billed
                                                    Experience
    Soneet Kapila, CPA*,       Partner                 1983         91.40      $540.00      $395.00     $36,103.00
    CFF, CIRA, CFE
    Lesley Johnson, CPA*,      Partner/Tax             1984         15.20      $420.00      $395.00       $6,004.00
    CIRA,
    Melissa Davis, CPA*,       Partner                 2002        202.30      $400.00      $395.00     $79,908.50
    CIRA, CFE
    Joseph Gillis, CPA*        Senior Consultant       1981         58.80      $360.00      $360.00     $21,168.00
    Frank Kessler              Consultant            14 years       30.00      $342.00      $342.00     $10,260.00
    Kathy Foster               Tax Consultant        30 years       64.30      $294.00      $294.00     $18,904.20
    William Funderburke,       Consultant             7 years      357.50      $290.00      $290.00    $103,675.00
    CPA***, CFE
    Kevin McCoy, CPA*,         Senior Consultant       2012        236.90      $330.00      $270.00     $63,963.00
    CFE, CIRA
    Mark Parisi, CPA*, CFE     Consultant              2012        156.00      $270.00      $270.00     $42,120.00
    Melanie Kring, CPA*,       Consultant             8 years       68.30    $260/$280    $260/$280     $17,610.00
    CFE
    Karen Fugate               Operations            25 years       56.90      $250.00      $250.00     $14,225.00
                               Consultant
    Brett Stillman             IT Consultant                        85.00      $240.00      $240.00     $20,400.00
    Oscar Delatorre            IT Consultant                        55.75      $240.00      $240.00     $13,380.00
    Timothy Shaw               IT Consultant                        49.50      $240.00      $240.00     $11,880.00
    Melissa Katz, CPA*,        Consultant
    CVA, CFF                                           2013          5.90      $230.00      $230.00       $1,357.00
    Catherine Murchison        Forensic Analyst      39 years       20.50      $220.00      $220.00       $4,510.00
    Elliott Rothstein          Consultant            30 years        9.20      $180.00      $180.00       $1,656.00
    Gene Sulsky                Consultant            12 years       10.10      $150.00      $150.00       $1,515.00
    Frank Diaz-Drago           Forensic Analyst       2 years      474.80      $150.00      $150.00     $71,220.00
    Ky Johnson                 Forensic Analyst       3 years        5.70      $150.00      $150.00        $855.00
    Rachel Ruffalo             Forensic Analyst       1 year       348.30      $150.00      $150.00     $52,245.00
    Cory Levine                Forensic Analyst       1 year        90.40      $120.00      $120.00     $10,848.00
    Marc Brown                 Forensic Analyst       1 year         2.50      $120.00      $120.00        $300.00

    Report Totals                                                 2495.25      $245.17      $245.17    $604,106.70

    Discount 50% of Travel
    Time per SEC
    Guidelines                                                                 $231.90      $231.90     -$25,532.50


              Total                                                                                    $578,574.20

    CPA - Certified Public Accountant; CIRA - Certified Insolvency & Restructuring Advisor; CFE - Certified Fraud
    Examiner; CFF - Certified in Financial Forensics; CVA - Certified Valuation Analyst

    * Regulated by the State of Florida
    ** Rate change effective June 1, 2016
    *** Regulated by the State of Georgia
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                       EXHIBIT 3(d)
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                                          Gowling WLG

             Name           Practice        Title        Year      Hours    Billing     Total
                             Area                      Licensed/             Rate       Billed
                                                      Experience
     Mila Badran           Commercial     Associate     2010        27.10    $300.00    $8,130.00
                            Litigation
     Caroline Belair                      Paralegal                  2.80    $175.00     $490.00

     Genevieve Cloutier     Banking        Partner      2002        15.60    $425.00    $6,630.00
                            Litigation
     Lysandre Laferriere   Commercial     Associate     2015         1.30    $215.00     $279.50
                            Litigation
     Alex L. MacFarlane     Financial      Partner      1988         1.00    $500.00     $500.00
                           Institutions
     Guy Poitras            Financial      Partner      1992         3.00    $450.00    $1,350.00
                           Institutions
     Malcom Ruby            Financial      Partner      1986        10.50    $500.00    $5,250.00
                           Institutions


             Total                                                  61.30              $22,629.50
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                        EXHIBIT 3(e)
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                                       Klasko Immigration Law Partners, LLP

     Name            Practice       Year       Title     Standard   Blended    Time     Time     Time      Billed
                      Area        Licensed                 Rate      Rate     Logged   Written   Billed   Amount
                                                                                         Off
H. Ronald Klasko    Immigration    1974      Partner      $850.00   $495.00    19.30      0.00    19.30    $9,553.50

Daniel B. Lundy     Immigration    2006      Partner      $525.00   $495.00    18.70      2.00    16.70    $8,266.50

Karuna Chandani     Immigration    1999      Associate    $340.00   $340.00    36.50      2.60    33.90   $11,526.00

Jessica A. DeNisi   Immigration    2008      Associate    $350.00   $350.00    40.80      5.40    35.40   $12,390.00

Iona Pal            Immigration              Paralegal    $165.00   $165.00    37.20      3.00    34.20    $5,643.00
     Total                                                                                       139.50   $47,379.00
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                        EXHIBIT 4(a)
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                                                                                                         Akerman LLP
                                                                                                 Post Office Box 4906
                                                                                                      Orlando, FL 32802
                                                                                                       Tel: 407.254.2305
                                                                                                      Fax: 407.254.3408


    Remittance Copy                                                       Invoice Date          October 18, 2016
                                                                          Invoice No.                   9178967


    MICHAEL I. GOLDBERG - RECEIVER
    C/O ASE, FORT LAUDERDALE
    LAS OLAS CENTRE II, SUITE 1600
    350 EAST LAS OLAS BOULEVARD
    FORT LAUDERDALE, FL 33301

    Client Name:   GOLDBERG, MICHAEL I. - RECEIVER
    Matter Name:   JAY PEAK, INC.
    Matter Number: 0312632



    For professional services rendered through October 31, 2016 as summarized below:

             Services                                              $822,453.25

             Disbursements                                          $16,070.13
                        TOTAL THIS INVOICE                         $838,523.38




                  To ensure proper credit to the above account, please indicate invoice no. 9178967
                                Return remittance sheet with payment in US funds.
                                                Wired funds accepted:
                                          Akerman LLP Operating Account
                                           c/o SunTrust Bank, Atlanta, GA
                                              ABA Number: 061000104
                                        Account Number: 0215-252207533
                               Swift code SNTRUS3A (For International Wires Only)
                                                 IRS EIN XX-XXXXXXX
   akerman.com
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                                                                                                         Akerman LLP
                                                                                                 Post Office Box 4906
                                                                                                      Orlando, FL 32802
                                                                                                       Tel: 407.254.2305
                                                                                                      Fax: 407.254.3408


                                                                          Invoice Date          October 18, 2016
                                                                          Invoice No.                   9178967


    MICHAEL I. GOLDBERG - RECEIVER
    C/O ASE, FORT LAUDERDALE
    LAS OLAS CENTRE II, SUITE 1600
    350 EAST LAS OLAS BOULEVARD
    FORT LAUDERDALE, FL 33301

    Client Name:   GOLDBERG, MICHAEL I. - RECEIVER
    Matter Name:   JAY PEAK, INC.
    Matter Number: 0312632



    For professional services rendered through October 31, 2016 as summarized below:

             Services                                              $822,453.25

             Disbursements                                          $16,070.13
                        TOTAL THIS INVOICE                         $838,523.38




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                                        Account Number: 0215-252207533
                               Swift code SNTRUS3A (For International Wires Only)
                                                 IRS EIN XX-XXXXXXX
   akerman.com
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Akerman LLP                                                                                           Page 3

021049       GOLDBERG, MICHAEL I. - RECEIVER                              As of              October 31, 2016
0312632      JAY PEAK, INC.                                               Invoice Number             9178967



Task Code:      501 ASSET ANALYSIS AND RECOVERY
13-Apr-16       Organize receivership staffing, review Kapila report      MIG              2.50       987.50
                and corporate structure documents.
13-Apr-16       Reviewed background documents, Complaint, TRO,            MIG              6.00     2,370.00
                Receivership order and related documents.
13-Apr-16       Begin review of SEC pleadings and exhibits.               JSR              4.50     1,777.50
13-Apr-16       Confer re: take-down, staffing and continue to            JSR              2.50       987.50
                pleadings and accountant information package.
13-Apr-16       Work on first day matters concerning asset freeze,        KAM              6.70     1,172.50
                review and analysis of pertinent pleadings for case
                background; communications with team members
                regarding status; Multiple discussions with J.
                Schneider's office regarding securing assets; Contact
                NY Southern District Court regarding 754 filing;
                Organization of materials; Prepare attorney for trip to
                Vermont.
14-Apr-16       Monitor docket regarding status of case being             KAM              0.40        70.00
                unsealed; Discussions with J. Schneider's office
                regarding 754 filings.
14-Apr-16       Receipt and review of SEC's Motion to Exempt              KAM              0.20        35.00
                Receiver from Asset Freeze.
14-Apr-16       Follow up on status of freeze on bank accounts.           KAM              0.20        35.00
14-Apr-16       Multiple meetings at Jay Peak with Schneider,             JSR              4.00     1,580.00
                Kapila, Goldberg, Kellogg re: case background,
                status of seizure and action plan.
14-Apr-16       Begin downloading and organizing material                 MAM              1.30       227.50
                regarding Jay Peak receivership action for N.
                Surgeon.
14-Apr-16       Meeting at Jay Peak with Schneider, Kapila, Robbins       MIG              4.00     1,580.00
                and Kellog re background and status of seizure.
14-Apr-16       Tour properties with Steiger and counsel.                 MIG              5.50     2,172.50
14-Apr-16       Strategize and analyze causes of action.                  NSS              3.60       936.00
15-Apr-16       Meeting with Robbins on plane to discuss further          MIG              2.50       987.50
                seizure of assets and potential claims.
15-Apr-16       Reviewed accounting report for Quiros.                    MIG              0.80       316.00
15-Apr-16       Conference with Schneider re accounts.                    MIG              0.40       158.00
15-Apr-16       Continue downloading and organizing material for N.       MAM              1.00       175.00
                Surgeon.
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15-Apr-16      Meeting with Goldberg, Schneider and Kellogg to           JSR              2.50       987.50
               discuss status, further seizure of assets and potential
               claims.
15-Apr-16      Continue review of accountant reports, affidavits,        JSR              4.20     1,659.00
               pleadings and supporting documents.
16-Apr-16      Continue to review filings and exhibits and               JSR              3.80     1,501.00
               documents in anticipation of expansion of
               receivership and Communicate with Goldberg re:
               same.
17-Apr-16      Prepare for and attend calls with Levit, Goldberg,        JSR              0.70       276.50
               Miller and Surgeon to discuss immediate motions to
               expand and to borrow funds.
17-Apr-16      Continue review of filings and exhibits.                  JSR              0.90       355.50
17-Apr-16      Finalize downloading and organization of material         MAM              1.20       210.00
               for use in receivership action; load information onto
               USB for use by N. Surgeon.
17-Apr-16      Conference call with Schneider, Kapila, Robbins and       MIG              0.80       316.00
               other accounts re status.
17-Apr-16      Review and analyze pleadings, including motion for        NSS              8.50     2,210.00
               temporary restraining order and exhibits and motion
               to appoint receiver.
17-Apr-16      Analyze background and filings to date as well as         SAM              2.40       948.00
               needed motions.
17-Apr-16      Dealt with banking issues; Prepare list of accounts at    KAM              0.80       140.00
               People's United.
18-Apr-16      Research background information on Q Burke                KAM              0.60       105.00
               Mountain Resort for motion to expand receivership
               (.4); Discussion with J. Robbins re: same (.2).
18-Apr-16      Analyze pleadings filed in the case to date.              SAM              3.40     1,343.00
18-Apr-16      Review and analyze case law on motion to expand           NSS              7.30     1,898.00
               receivership. Draft motion to expand receivership.
18-Apr-16      J Peak - Review and analyze Management                    ASR              2.50       987.50
               Agreement.
18-Apr-16      Conference with Martinez re expansion motion.             MIG              0.30       118.50
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18-Apr-16      Work on background and factual information for            JSR              7.50     2,962.50
               Motion to Extend Receivership and Motion to Loan
               Funds between Receivership Entities, including
               multiple conferences with Surgeon, Miller, Pieciak,
               Kapila, Goldberg and Davis, legal research, review of
               records and preparation of Kapila Affidavit.
19-Apr-16      Review, revise and finalize Motion to Expand              JSR              8.70     3,436.50
               Receivership, Kapila Affidavit and Motion to Loan
               Funds and communicate with Miller, Goldberg,
               Davis, Levenson, Martin, Kapila and Surgeon re:
               same.
19-Apr-16      Review and analyze affidavit of S. Kapila. Draft          NSS              6.50     1,690.00
               revisions to motion to expand receivership. Finalize
               motion for filing.
19-Apr-16      Review proposed Motion to Expand Receivership             JML              0.90       355.50
               and Motion to Loan Funds.
19-Apr-16      Analyze, revise, and edit motion to expand                SAM              1.00       395.00
               receivership.
19-Apr-16      Prepare email correspondence to Canadian counsel          KAM              0.30        52.50
               regarding possible repatriation of funds from Casse
               Desjardins Bank.
19-Apr-16      Attend telephone conference with J. Levit and             KAM              0.30        52.50
               Canadian counsel regarding potential retention.
19-Apr-16      Confer with N. Surgeon regarding motion to expand         KAM              0.10        17.50
               receivership.
19-Apr-16      Conference with M. Goldberg regarding bank                KAM              0.20        35.00
               accounts.
20-Apr-16      Assemble records and prepare email to Canadian            KAM              0.50        87.50
               counsel regarding bank account and asset freeze.
20-Apr-16      Download records received from Vermont                    KAM              0.20        35.00
               Government for M. Goldberg's review.
20-Apr-16      Prepare list distinguishing defendants subject to asset   KAM              0.40        70.00
               freeze versus temporary restraining order; Discuss
               same with J. Robbins.
20-Apr-16      Telephone conference with Canadian counsel re             JML              0.30       118.50
               retention.
21-Apr-16      Work on management agreement.                             ASR              1.00       395.00
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21-Apr-16      Multiple communications with Goldberg, Martinez,       JSR              1.80       711.00
               Gordon, Levenson, Martin and Lichtman re:
               expansion of receivership, resolution of pending
               motions, hearing.
21-Apr-16      Receipt and review of Subpoena for Records issued      KAM              0.20        35.00
               to Raymond James prepared by Kellogg.
21-Apr-16      Receipt and review of proposed retainer agreement      KAM              0.30        52.50
               from Gowling regarding assisting with possible
               unfreezing of funds in Canadian bank; Discuss same
               with M. Goldberg.
22-Apr-16      Prepare for and attend hearing on Emergency Motion     JSR              2.70     1,066.50
               to Expand Receivership, Emergency Motion to Loan
               Funds, Quiros' Emergency Motion to Continue PI
               hearing.
22-Apr-16      Draft and submit Orders Granting Receiver's            JSR              0.50       197.50
               Emergency Motions.
22-Apr-16      Meeting with Robbins and Surgeon to prepare for        MIG              3.10     1,224.50
               hearing and attend hearing on Motion to Expand.
22-Apr-16      Attend hearing on emergency motion to expand           NSS              1.30       338.00
               receivership and permit use of funds. Finalize
               proposed order.
22-Apr-16      Analyze issues surrounding use of Bio Medical entity   SAM              2.70     1,066.50
               funds for other Jay Peak operations and begin
               research re same.
24-Apr-16      Analyze complaints (SEC and Vt) and certain of the     SAM              7.50     2,962.50
               affidavits in order to obtain understanding of the
               background, events, etc.
24-Apr-16      Extensive work on management agreement                 ASR              6.00     2,370.00
24-Apr-16      Reviewed documents to prepare for hearing.             MIG              2.30       908.50
24-Apr-16      Meeting with Levenson re hearing.                      MIG              1.30       513.50
24-Apr-16      Assist attorney in preparation of hearing.             KAM              0.50        87.50
25-Apr-16      Review and discuss draft letter from Gowling to        KAM              0.30        52.50
               Caisse Desjardins Ban
25-Apr-16      Telephone conference with M. Ruby, Esquire             KAM              0.20        35.00
               regarding revisions to freeze letter to Caisse
               Desjardins Bank and next steps to enforce US freeze
               order.
25-Apr-16      Analyze matters regarding bank account freezes and     KAM              0.70       122.50
               discuss with attorney.
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25-Apr-16      Attend to matters regarding filing of expansion order     KAM              0.80       140.00
               in miscellaneous case filings.
25-Apr-16      Dealt with matters regarding 754 filings of order         KAM              0.60       105.00
               expanding receivership to include Q Burke entities.
25-Apr-16      Review correspondence and proposed letter to bank         JML              0.40       158.00
               re freezing Canadian bank accounts.
25-Apr-16      Confer with paralegal re additional bank account          JML              0.30       118.50
               freezes.
26-Apr-16      Multiple communications with McCormack re:                JSR              0.80       316.00
               electric cooperative and review documents provided
               re: receivables.
26-Apr-16      Telephone conference with A. Salazar to obtain            KAM              0.30        52.50
               update on subpoenas served by LSLKG.
26-Apr-16      Attend to matters regarding transfer of funds and         KAM              0.70       122.50
               confirmation of bank freezes.
27-Apr-16      Review and respond to email from M. Ruby                  KAM              0.30        52.50
               regarding status of bank freeze and Receiver's
               authority to proceed with filing motion on expedited
               basis to recognize US order concerning bank freeze.
28-Apr-16      Receive multiple updates regarding liquidation of         KAM              0.50        87.50
               receivership entity accounts at Citibank.
28-Apr-16      Meet with J. Robbins to discuss additional entities for   KAM              0.50        87.50
               expansion motion and bank accounts.
28-Apr-16      Telephone conference with A. Salazar regarding            KAM              0.30        52.50
               status of subpoenas to banks and brokerage firms.
28-Apr-16      Research ownership structure for Burke Mountain           KAM              1.10       192.50
               Water Company, Burke Mountain Operating
               Company, Mountain Road Management Company
               and Burke 2000, LLC re: expansion of receivership
               (.9); Telephone conference with G. Endicott re: same
               (.2).
28-Apr-16      Confer with J. Levit regarding filing of suggestion of    KAM              0.30        52.50
               receivership in pending suit in Vermont.
28-Apr-16      Review documents re: relationships between entities       JSR              2.20       869.00
               for purposes of preparing Motion to Access Accounts
               and Communicate with Miller, Matregrano, Eagan
               and Endicott re: same.
28-Apr-16      Multiple conferences re Burke 2000 and need to            JML              0.90       355.50
               expand Receivership entities.
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29-Apr-16      Research and draft motion for access and control over     SAM              7.20     2,844.00
               bank accounts for subsidiaries and affiliates of
               Receivership Entities.
29-Apr-16      Review documents and public filings and conduct           JSR              5.70     2,251.50
               research re: relationships of receivership subsidiaries
               and access to subsidiary accounts (2.4). Discuss same
               and emergency Motion to Authorize Receiver to
               Access Accounts with Miller, Gordon, Levenson,
               Goldberg and Martinez (1.2). Review and revise
               Motion to Authorize Access (2.1)
29-Apr-16      Conference with Robbins re motion to assume               MIG              0.20        79.00
               control over account.
29-Apr-16      Discussions regarding frozen accounts at People's         KAM              0.40        70.00
               United Bank.
29-Apr-16      Prepare list of Citibank accounts noted in production     KAM              0.80       140.00
               (.5); Update list to reflect accounts to be liquidated
               (.2); Correspond with J. Schneider re: same (.1)
29-Apr-16      Download limited partnership tax records from Jay         KAM              0.40        70.00
               Peak accountants and forward records to Receiver.
2-May-16       Review email correspondence and subpoena to               KAM              0.20        35.00
               Merrill Lynch.
2-May-16       Follow up on liquidation of Citibank accounts;            KAM              0.20        35.00
               Provide updates to Leisure Hotel re: same.
2-May-16       Multiple communications with Goldberg, Gordon,            JSR              0.70       276.50
               Martinez re: Motion to Access Bank Accounts.
3-May-16       Conference with Citibank attorneys re accounts.           MIG              0.40       158.00
4-May-16       Communicate with Kapila re: reconstruction and            JSR              0.40       158.00
               bank records.
4-May-16       Draft request for documents from William Kelly.           SAM              0.80       316.00
4-May-16       Analyze William Kelly transcript and background           SAM              3.80     1,501.00
               questionnaire.
4-May-16       Research information on New York properties at the        KAM              0.40        70.00
               request of Receiver.
5-May-16       Download and organize electronic records produced         KAM              0.60       105.00
               by Raymond James through SEC.
5-May-16       Work on identifying frozen bank accounts at the           KAM              0.60       105.00
               request of M. Goldberg; Communications with M.
               Goldberg re: same.
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5-May-16       Revise and edit request for documents from William       SAM              1.30       513.50
               Kelly.
5-May-16       Analyze and draft subpoenas needed by accountant         SAM              1.80       711.00
               for bank and financial records.
5-May-16       Review and revise Kelly subpoena and discuss same        JSR              0.40       158.00
               with Miller.
6-May-16       Draft letter to counsel for subpoena to W. Kelly.        SAM              0.40       158.00
6-May-16       Revise and edit subpoenas needed by accountant for       SAM              0.80       316.00
               bank and financial records.
6-May-16       Continue to work on identifying frozen bank              KAM              4.60       805.00
               accounts and prepare master list by entity and bank in
               preparation for Receiver's testimony; Multiple
               communications with A. Salazar re: same.
9-May-16       Receipt and review of subpoenas issued by J.             KAM              0.50        87.50
               Schneider to Goldman Sachs, Raymond James, Citi
               and Pershing (.3); Discuss same with S. Miller to
               avoid duplication of efforts (.2)
9-May-16       Work on downloading and organizing electronic            KAM              0.60       105.00
               records produced by Raymond James to FileSite.
9-May-16       Review documents produced by Merrill Lynch.              KAM              0.30        52.50
11-May-16      Review drafts of motion and requesting recognition       KAM              0.40        70.00
               of receivership and freeze orders in Canada and
               Receiver's affidavit from M. Ruby.
11-May-16      Update Receiver on status of Canadian freeze on          KAM              0.30        52.50
               accounts and execution of Affidavit prepared by
               Canadian counsel.
12-May-16      Researched arbitration claims and receiverships.         MIG              0.60       237.00
13-May-16      Research background information on Lyndenville,          KAM              0.70       122.50
               Vermont property from public records to ascertain
               market value and related information.
17-May-16      Follow up with Canadian counsel regarding status of      KAM              0.20        35.00
               motion.
17-May-16      Research last known addresses for Quiors and             KAM              0.40        70.00
               Stenger for service of motion in Canada; Correspond
               with Canadian counsel re: same.
17-May-16      Analyze D&O policy for viability of coverage for         JSR              0.80       316.00
               Receiver claims against officers and directors.
19-May-16      Research information on limited partnership              KAM              0.20        35.00
               requested by J. Robbins.
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19-May-16      Receive update from Canadian counsel and court           KAM              0.20        35.00
               filings regarding repatriation of funds.
20-May-16      Receipt and review of Canadian court order regarding     KAM              1.00       175.00
               granting recognition of US Court Order granting
               authority to Receiver to have full authority over bank
               accounts (.1); Multiple communications with M.
               Goldberg and G. Endicott regarding same and partial
               liquidation (.3); Prepare email correspondence to
               bank representatives regarding turnover of account
               to Receiver pursuant to court order (.6).
20-May-16      Preparation of Notice of Filing Canadian Court order     KAM              0.30        52.50
               for filing in main receivership case.
20-May-16      Conference with K. Matregrano re Canadian banks.         MIG              0.30       118.50
20-May-16      Confer with paralegal re Order entered by Canadian       JML              0.20        79.00
               Court re freezing Canadian bank accounts.
24-May-16      Reviewed D&O policy and corresponded with Cleary         MIG              0.40       158.00
               re status.
24-May-16      Multiple communications with representatives at          KAM              0.50        87.50
               DesJardin Bank to effectuate Receiver's request to
               partially liquidate accounts (.4); Discussion with
               Receiver re: same. (.1).
24-May-16      Confer with Receiver regarding subpoenas.                KAM              0.20        35.00
25-May-16      Conference with People Bank re accounts.                 MIG              0.20        79.00
25-May-16      Research re: possible claims against Gordon.             JSR              1.80       711.00
26-May-16      Update attorneys on Tango Grill Holdings investment      KAM              0.10        17.50
               and potentially expanding receivership to include
               them as a relief defendant.
26-May-16      Performed file management tasks for attorney use in      KAM              1.50       262.50
               evaluating status of discovery items and asset
               analysis
27-May-16      Discuss schedules to be attached to bank subpoenas       KAM              0.50        87.50
               for missing records with attorney.
27-May-16      Follow up with publication of court order in Quebec      KAM              0.20        35.00
               pursuant to Judge's ruling on repartration of funds
               from Canada.
27-May-16      Assemble records pertaining to NECS and forward to       KAM              0.60       105.00
               accountant use in completing forensic analysis.
27-May-16      Multiple communications with S. Traband regarding        KAM              0.40        70.00
               NECs records.
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27-May-16      Receipt and review of correspondence from Coffey       KAM              0.20        35.00
               Burlington regarding return of finder's fee with
               enclosure.
27-May-16      Prepare and send instructions to Desjardins Bank for   KAM              0.80       140.00
               partial liquidation of account.
27-May-16      Telephone conference with accountants regarding        KAM              0.30        52.50
               missing bank records needed for forensic analysis
               and strategy for preparation of claims process.
27-May-16      Multiple communications with Matregrano and            JSR              1.20       474.00
               Miller re: bank subpoenas, Kapila reconstruction,
               NECS and review documents re: same.
27-May-16      Analyze bank subpoenas that need to go out to gather   SAM              0.50       197.50
               information for accountants to do their analysis
27-May-16      Review potential claims.                               JLR              1.50       592.50
31-May-16      Receipt of five boxes of NEC's records from S.         KAM              0.80       140.00
               Traband and perform cursory review of records and
               discuss same with Receiver.
31-May-16      Begin analyzing and summarizing NECS production.       KAM              1.50       262.50
14-Jun-16      Continue to work on review and organization of         KAM              0.70       122.50
               NECS records.
16-Jun-16      Work on updates to master bank account chart;          KAM              1.90       332.50
               Discussions with M. Goldberg regarding liquidation
               of Merrill Lynch accounts.
23-Jun-16      Work on finalizing organization of NECS production     KAM              0.60       105.00
               and arrange for courier to accountant's office.
27-Jun-16      Place follow-up calls to Merrill Lynch third party     KAM              0.30        52.50
               services regarding liquidation of receivership
               accounts.
28-Jun-16      Prepare and send letter to Merrill Lynch over          KAM              1.10       192.50
               Receiver's signature requesting account liquidation
               (.7); Attend to account liquidation matters (.4).
29-Jun-16      Reviewed banking documents.                            MIG              0.50       197.50
30-Jun-16      Corresponded with Shane McCormick re Quiros            MIG              0.20        79.00
               property.
30-Jun-16      Communicate with McCormack and Goldberg re:            JSR              0.20        79.00
               Quiros' property.
30-Jun-16      Several conferences with counsel for Merrill Lynch     KAM              0.50        87.50
               and Receiver regarding liquidating of receivership
               entity bank accounts at Merrill Lynch.
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30-Jun-16      Contact Merrill Lynch Third Party Services regarding    KAM              0.20        35.00
               receivership order.
1-Jul-16       Prepare escrow deposit forms pertaining to              KAM              0.50        87.50
               liquidation of Merrill Lynch bank accounts.
18-Jul-16      Telephone call with accountant regarding information    KAM              0.40        70.00
               on recovered financial records; Spoke with
               Comptroller re: same.
18-Jul-16      Analyze status of frozen bank accounts and verify       KAM              1.50       262.50
               accounts liquidated and current balances; Prepare
               updates to account list.
20-Jul-16      Reviewed report on claims against Mount Saint           MIG              0.70       276.50
               Sanveur.
21-Jul-16      Contact HSBC Bank regarding liquidation of              KAM              0.90       157.50
               accounts (.4); Draft and send letter to bank re: same
               (.5).
28-Jul-16      Conference with Robbins re investigation.               MIG              0.20        79.00
29-Jul-16      Telephone conference with S. Traband, Esquire           KAM              0.20        35.00
               regarding records at GSI's offices.
29-Jul-16      Perform skip trace search on potential purchaser of     KAM              0.80       140.00
               New York real property and report findings to
               Receiver.
1-Aug-16       Conference with Melissa Davis re forensic report.       MIG              0.30       118.50
1-Aug-16       Reviewed SMI documents received from McNeil.            MIG              0.90       355.50
2-Aug-16       Telephone conference with Nicole G. at HSBC Bank        KAM              0.30        52.50
               regarding Receiver's request account information and
               liquidation.
15-Aug-16      Perform investigative background search on              KAM              0.60       105.00
               individual at the request of Receiver.
28-Sep-16      Communications with H. Whipkey and M. Davis             KAM              0.60       105.00
               regarding securing Jay Construction Management
               financial records from former accountant for review
               in analysis; Attend to matters re: same.
5-Oct-16       Review files of investor's attorney.                    NP               1.70       297.50
5-Oct-16       Review sources and uses of funds on AMC bio.            JLR              1.50       592.50
13-Oct-16      Review files of investors' attorney.                    NP               2.60       455.00
14-Oct-16      Reviewed Motion for Quiros lap top.                     MIG              0.30       118.50
18-Oct-16      Review Motion to Hire Third Party Vendor to review      JSR              0.40       158.00
               Privileged E-Mails and discuss same with Goldberg.
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20-Oct-16       Jay Peak/AP Wireless - Read and respond to emails        AMZ                0.40       104.00
                re: 99 year License Agreement and begin reviewing
                underlying Lease.
20-Oct-16       Draft records requests to three of the Receivership      KAM                0.70       122.50
                Entities' former attorneys.
21-Oct-16       Review and analyze issues related to whether             DMK                1.10       286.00
                accounts receivable are properly designated as realty
                or personalty
24-Oct-16       Finalize and send Receiver's requests for documents      KAM                0.50        87.50
                to former Jay Peak Attorneys.
25-Oct-16       Discuss expanding receivership to include AnC Bio        KAM                0.20        35.00
                VT, LLC accounts with Receiver and J. Robbins.
25-Oct-16       Communicate with Goldberg, Surgeon and                   JSR                0.30       118.50
                Matregrano re: expansion of receivership.
25-Oct-16       Reviewed documents received from Graham.                 MIG                0.50       197.50
25-Oct-16       Conference with Dolger re documents.                     MIG                0.10        39.50
27-Oct-16       Conference with Robert Henley and other documents        MIG                0.60       237.00
                re discovery.
27-Oct-16       Reviewed discovery documents.                            MIG                0.60       237.00
27-Oct-16       Review information uploaded regarding flow of            JLR                1.00       395.00
                funds.
28-Oct-16       Corresponded with Goldstein re forensic report.          MIG                0.20        79.00
28-Oct-16       Corresponded with Davis re forensics.                    MIG                0.20        79.00
28-Oct-16       Reviewed intercompany transfer report.                   MIG                0.60       237.00
                       Subtotal for Code 501 ASSET ANALYSIS AND                           235.20    75,895.50
                                        RECOVERY

Task Code:      502 ASSET DISPOSITION
18-Apr-16       Preparation of list of potential interested parties to   KAM                0.30        52.50
                purchase Jay Peak.
19-Apr-16       Analyze Jay Peak Condo Contract issues involving         SAM                0.50       197.50
                buyer potentially pulling out of transaction.
20-Apr-16       Analyze situation re sale of Unit 314, analyze           SAM                0.80       316.00
                documents re same, and communicate with staff at
                Jay Peak re timing and issues surrounding sale (with
                focus on title-related concerns).
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20-Apr-16      Research regarding impact of appointment of receiver    SAM              1.80       711.00
               on pre-appointment contracts as it relates to sale of
               condominium units.
21-Apr-16      Draft motion re sale of Unit 314.                       SAM              1.70       671.50
21-Apr-16      Conference with potential purchaser re Burke.           MIG              0.40       158.00
22-Apr-16      Research re receiver sale of assets for contracts       SAM              1.60       632.00
               entered before receiver appointed and draft motion to
               complete sale of unit 314.
22-Apr-16      Work with staff at Jay Peak regarding information       SAM              1.10       434.50
               related to sale of Unit 314 and analyze same.
22-Apr-16      Draft motion to sell Unit 314.                          SAM              2.40       948.00
22-Apr-16      Review draft of Motion to Sell Condominium and          JML              0.30       118.50
               discuss with S. Miller.
25-Apr-16      Research and draft motion for authorization to sell     SAM              3.80     1,501.00
               condo units.
25-Apr-16      Communicate with Miller re: Motion to Sell Condo        JSR              0.50       197.50
               Unit and review draft Motion.
26-Apr-16      Communicate with Miller re: Motion to Sell Jay Peak     JSR              0.40       158.00
               unit.
26-Apr-16      Analyze new sales contracts for condominiums and        SAM              1.50       592.50
               work with team on whether Receiver should have any
               involvement in same.
26-Apr-16      Phone calls with team members re motion for             SAM              0.40       158.00
               approval to proceed with sale of Unit 341, including
               discussions of needed SEC approval.
26-Apr-16      Multiple conferences with S. Miller re Motion to Sell   JML              1.20       474.00
               Condo unit (.3); review and revise Motion (.9).
26-Apr-16      Prepare proposed Order Granting Motion to Sell          JML              0.80       316.00
               Condo unit.
27-Apr-16      Prepare correspondence to counsel re Local Rule 7.1     JML              0.30       118.50
               Certificate for Motion to Sell Condo Unit.
27-Apr-16      Prepare correspondence to S Miller re circulating       JML              0.20        79.00
               proposed Order on Sale of Condo Unit to Vermont
               real estate counsel.
27-Apr-16      Analyze all pending sales of condo units, including     SAM              1.80       711.00
               review of contracts and related documents to confirm
               whether Receiver has any role or impact with respect
               to the sales.
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27-Apr-16      Phone call with Allan Kalsmith, counsel to buyers of      SAM              0.40       158.00
               Unit 314, regarding order entered by the court,
               whether there needs to be additional language to
               satisfy the title company, etc.
27-Apr-16      Analyze order entered by court on unit 314.               SAM              0.20        79.00
27-Apr-16      Prepare updates to list of interested purchasers of Jay   KAM              0.20        35.00
               Peak and Q Burke.
28-Apr-16      Telephone conference with interested buyers for Jay       KAM              0.20        35.00
               Peak and Q Burke; Convey message to Receiver.
28-Apr-16      Conference with Chen re purchase.                         MIG              0.40       158.00
28-Apr-16      Numerous correspondence with Stranger re Newport          MIG              0.60       237.00
               house and airport.
29-Apr-16      Update list of interested purchasers of Jay Peak and      KAM              0.30        52.50
               Burke Hotel.
30-Apr-16      Reviewed Partnership Agreement to formulate               MIG              1.30       513.50
               restructuring plan.
2-May-16       Conference with Piechak re ANC Bio.                       MIG              0.10        39.50
2-May-16       Reviewed ANC Bio Partnership Agreement and                MIG              1.20       474.00
               drafted memo to creditors.
2-May-16       Reviewed QBurke Partnership Agreement.                    MIG              0.50       197.50
2-May-16       Email Conrad Construction regarding repairs at 986        KAM              0.10        17.50
               Lake Road property.
2-May-16       Update list of interested parties for purchase of Jay     KAM              0.40        70.00
               Peak and Q Burke.
3-May-16       Organization of Sky Haus Leases received from L.          KAM              0.30        52.50
               Button.
4-May-16       Multiple communications with Davis re: relationship       JSR              0.80       316.00
               between entities and review documents forwarded by
               Davis re: same.
5-May-16       Research information on 2266 Darling Hill Road            KAM              0.60       105.00
               property in Vermont.
5-May-16       Research information on 2266 Darling Hill Road,           KAM              0.60       105.00
               Lyndonville property.
6-May-16       Multiple communications with Goldberg and Dator           JSR              0.50       197.50
               re: Bear Path sale.
9-May-16       Multiple communications with Dator re: sale of Bear       JSR              0.40       158.00
               Path unit (.4). Communicate with counsel for Black
               River and other sub-contractors (.5).
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10-May-16      Multiple communications with Dator re: sale of Bear      JSR              0.40       158.00
               Path unit.
11-May-16      Communicate with Dator re: Bear Path.                    JSR              0.20        79.00
11-May-16      Conference with potential buyer re Jay Peak.             MIG              0.40       158.00
12-May-16      Analyze purchase and sale agreement for unit 384 as      SAM              1.20       474.00
               well as affiliated documentation and draft language
               for answer to Section I related to any pending
               litigation for questionnaire.
12-May-16      Analyze well water issue and phone call with Gary        SAM              0.70       276.50
               Endicott re same and strategy.
13-May-16      Analyze well water issues with respect to wilderness     SAM              1.00       395.00
               village and e-mail team regarding copies of contracts
               / agreements / ownership / etc.
16-May-16      Analyze documents regarding Jay Peak well water          SAM              1.90       750.50
               issue (re Wilderness Village) and put together
               strategy for dealing with same.
16-May-16      Dealt with escrow issue on ANC.                          MIG              1.20       474.00
17-May-16      Analyze underlying documents and draft letter            SAM              2.80     1,106.00
               Wilderness Village residents re well water issue and
               work with staff on getting same sent out to all of the
               residents.
18-May-16      Tour home in New Port and ANC Bio property.              MIG              1.10       434.50
18-May-16      Tour stateside and golf townhouses.                      MIG              1.30       513.50
18-May-16      Communicate with Dator re: Bear Path sale.               JSR              0.20        79.00
19-May-16      Conference with Graham re Burke.                         MIG              0.30       118.50
19-May-16      Analyze underlying documents and information and         SAM              2.80     1,106.00
               revise and edit motion re tram contract.
20-May-16      Revise and edit motion for approval for repair and       SAM              2.20       869.00
               upgrade to tram.
20-May-16      Communications with Doppelmayr negotiating tram          SAM              0.50       197.50
               repair/upgrade contract.
20-May-16      Receive call from homeowner regarding Receiver's         KAM              0.10        17.50
               letter regarding Wilderness Village water issue.
23-May-16      Communicate and negotiate contract language re           SAM              1.50       592.50
               Tram repairs / upgrades with Doppelmayer.
23-May-16      Analyze Doppelmayr contract and draft motion for         SAM              4.80     1,896.00
               approval of contract for Tram repairs / upgrades.
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23-May-16      Analyze documents and information related to             SAM              2.70     1,066.50
               Wilderness Village Well water issue and provide
               update to Receiver re same as well as update on
               phone calls with certain Wilderness Village residents.
23-May-16      Corresponded with Telecom lease buyer.                   MIG              0.50       197.50
23-May-16      Conference with Tatge re tram.                           MIG              0.30       118.50
23-May-16      Reviewed Tram repair agreement and conference            MIG              0.40       158.00
               with Miller re same.
23-May-16      Review draft Motion re: tram and discuss same with       JSR              0.50       197.50
               Miller.
24-May-16      Spoke with Jaytown Clerk re water bills.                 MIG              0.30       118.50
24-May-16      Meeting with the Britos and Orvelos and their            MIG              1.60       632.00
               counsel.
24-May-16      Conference with Doppleweyer re tram contract.            MIG              0.30       118.50
24-May-16      Reviewed motion to approve tram repair and               MIG              0.30       118.50
               contract.
24-May-16      Revise and edit tram / gondola repair / upgrade          SAM              1.00       395.00
               motion.
24-May-16      Review correspondence to landowners regarding            KAM              0.30        52.50
               water issues for background information to deal with
               callers.
25-May-16      Analyze documents and information from                   SAM              2.90     1,145.50
               Subdivision II landowners re water issues and
               provide analysis to Receiver.
25-May-16      Revise and edit motion for approval of tram contract     SAM              0.50       197.50
               after phone call with manufacturer yesterday.
25-May-16      Analyze updated contract from manufacturer.              SAM              0.20        79.00
25-May-16      Revise draft proposed order on motion for tram /         SAM              0.20        79.00
               gondola upgrade / repair.
25-May-16      Communicate with manufacturer re tram / gondola          SAM              0.20        79.00
               upgrade / repair contract and motion process for
               approval.
25-May-16      Reviewed cell tower offer and spoke with Olson.          MIG              0.40       158.00
25-May-16      Conference with Sam Miller re tram motion.               MIG              0.10        39.50
25-May-16      Spoke with Vermont airport authority.                    MIG              0.40       158.00
26-May-16      Corresponded with Campbell re check.                     MIG              0.20        79.00
26-May-16      Corresponded with Englander re water issue.              MIG              0.30       118.50
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26-May-16      Corresponded with investors re status.                   MIG              1.10       434.50
26-May-16      Corresponded with Tatge re easement.                     MIG              0.20        79.00
26-May-16      Corresponded with Schneider re Citibank.                 MIG              0.30       118.50
26-May-16      Corresponded with Regional Center re EB-5 issue.         MIG              0.40       158.00
26-May-16      Conference with Miller re water letter and reviewed      MIG              0.30       118.50
               letter.
26-May-16      Revise and edit letter to local landowners               SAM              0.80       316.00
               (Subdivision II) re well water issues.
26-May-16      Communicate with Receiver, Walter, and Gary              SAM              0.50       197.50
               regarding issues surrounding well water at
               Subdivision II and new letter to go out to land owners
               regarding the same (including working with staff to
               get the letter out to all of the proper landowners).
26-May-16      Communicate with SEC counsel regarding status of         SAM              0.10        39.50
               review of motion regarding tram/gondola contract.
27-May-16      Update team on letters to Jay Peak Subdivision II        SAM              0.10        39.50
               residents re water issues.
27-May-16      Communicate with SEC counsel re Tram repair and          SAM              0.20        79.00
               upgrade motion.
27-May-16      Communicate with Doppelmayr USA regarding                SAM              0.20        79.00
               status of filing motion regarding tram/gondola
               repair/upgrade.
27-May-16      Review and analyze account statements from               KAM              0.40        70.00
               Desjardins Bank and provide information to bank on
               transfer of funds to Receiver (.2) and update Receiver
               and Endicott on status of liquidation and returned
               check items (.2).
27-May-16      Receipt and review of communication from                 KAM              0.10        17.50
               landowner regarding water issue and bring to the
               attention of S. Miller.
27-May-16      Receipt and review of correspondence from tenant at      KAM              0.40        70.00
               Jericho property regarding maintenance issues;
               Update attorney regarding same for purposes of
               compliance with Landlord's statutory requirements.
31-May-16      Attend to landowner email and returned mail              KAM              0.30        52.50
               regarding Wilderness Village water issue.
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31-May-16      Receipt and review of correspondence from Vermont        KAM              0.20        35.00
               Department of Environmental Conservation
               regarding Jay Peak Subdivision II water system
               responsibilities.
31-May-16      Analyze findings and order from Vermont                  SAM              0.40       158.00
               Department of Labor regarding Jay Peak Tram and
               compare items in paragraph 3 of order to statement of
               work in Doppelmayr contract.
31-May-16      Revise motion authorizing Receiver to enter into tram    SAM              1.90       750.50
               repair and upgrade contract in light of order from the
               state of Vermont.
31-May-16      Analyze appellate rights and strategy for appeal of      SAM              2.50       987.50
               findings and order from Vermont Department of
               Labor regarding Jay Peak Tram.
31-May-16      Conference with Levenson re tram motion.                 MIG              0.10        39.50
31-May-16      Conference with S. Miller re revisions to motion and     MIG              0.40       158.00
               reviewed Vermont order.
1-Jun-16       Corresponded with Endicott re HOA meeting and            MIG              0.40       158.00
               construction defects.
1-Jun-16       Researched Vermont Water Supply Rule.                    MIG              0.80       316.00
1-Jun-16       Reviewed tram motion and revised same.                   MIG              0.30       118.50
1-Jun-16       Analyze letter from state of Vermont regarding           SAM              1.00       395.00
               termination of maintenance of well water and analyze
               portions of Vermont Water Supply Rules regarding
               same.
1-Jun-16       Receipt and review of correspondence from Vermont        KAM              0.20        35.00
               Department of Environmental Conversation
               regarding Jay Peak water system; Follow up with S.
               Miller re: same.
1-Jun-16       Telephone conference with landowner regarding            KAM              0.20        35.00
               water issue mailing received from Receiver's office.
2-Jun-16       Corresponded with State re water issue.                  MIG              0.20        79.00
3-Jun-16       Attend meeting with Endicott and Tatge to discuss        MIG              0.40       158.00
               homeowner issues.
3-Jun-16       Coordinate wire transfer of funds pursuant to order      KAM              0.20        35.00
               authorizing release and disbursement of funds in
               Citibank Pledged Account to Receiver Without
               Prejudice.
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4-Jun-16       Prepared for and attended homeowners meeting for       MIG              2.50       987.50
               all associations.
6-Jun-16       Conference with Englander and Vermont water            MIG              0.40       158.00
               authority re status.
6-Jun-16       Corresponded with Olson re cell tower sale.            MIG              0.20        79.00
8-Jun-16       Corresponded with airport license.                     MIG              0.30       118.50
8-Jun-16       Draft letter to Brooke Wright re sale of Unit VC 384   SAM              0.60       237.00
               and involvement of HOA in pending litigation.
9-Jun-16       Corresponded with Gordon re hangar.                    MIG              0.40       158.00
13-Jun-16      Call with Gordon and potential buyers.                 MIG              0.30       118.50
14-Jun-16      Reviewed memo re Burke Mountain academy.               MIG              0.60       237.00
15-Jun-16      Conference with Olson re cash and cell tower issues.   MIG              0.40       158.00
17-Jun-16      Conference with Gordon and potential purchasers re     MIG              0.50       197.50
               structure.
21-Jun-16      Reviewed and executed addendum to airport license.     MIG              0.30       118.50
22-Jun-16      Corresponded with Englander re water issue.            MIG              0.10        39.50
27-Jun-16      Corresponded with Dolger re status of Newport          MIG              0.20        79.00
               property.
29-Jun-16      Analyze water system petition documents from           SAM              2.20       869.00
               Walter E. re Wilderness Village.
29-Jun-16      Analyze water supply issue for Wilderness Village      SAM              0.50       197.50
               and communicate with Receiver re same.
29-Jun-16      Discussion with M. Goldberg regarding GSI assets.      KAM              0.30        52.50
5-Jul-16       Conference with City of Newport re sale of property.   MIG              0.50       197.50
6-Jul-16       Preparation for meeting with team to discuss pending   KAM              1.50       262.50
               legal and administrative issues; Prepare necessary
               reports for discussion and agenda.
6-Jul-16       Discussion with attorney regarding proceeds from       KAM              0.20        35.00
               sale of closing of Unit 314.
7-Jul-16       Receipt and review of correspondence from S.           KAM              0.20        35.00
               Traband regarding GSI property and discuss with M.
               Goldberg.
8-Jul-16       Reviewed offers on cell towers.                        MIG              0.40       158.00
8-Jul-16       Conference with Olson re cell tower and Burke          MIG              0.40       158.00
               issues.
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11-Jul-16      Confer with Receiver regarding properties and            KAM              0.30        52.50
               Quiros' jeeps.
12-Jul-16      Receipt and review of voicemail message from Ford        KAM              0.20        35.00
               Credit regarding past due payments on Q Burke
               vehicles and discuss with Receiver.
12-Jul-16      Reviewed LOI and drafted response to Gordon.             MIG              0.70       276.50
13-Jul-16      Conference with Trini Brossard re airport.               MIG              0.30       118.50
13-Jul-16      Reviewed airport lease.                                  MIG              0.40       158.00
13-Jul-16      Reviewed LOI to prepare for conference call with         MIG              0.60       237.00
               Bellmether.
13-Jul-16      Conference with Robbins re LOI.                          MIG              0.40       158.00
13-Jul-16      Meeting with Bellmether people.                          MIG              1.50       592.50
13-Jul-16      Numerous calls with Olson re airport.                    MIG              0.30       118.50
13-Jul-16      [Monetization of cell tower leases] Review of Letter     JLH              0.70       276.50
               of Intent; review of option agreement; call with Olsen
               on terms.
13-Jul-16      Jay Peak receivership telephone call with Mike           ASR              2.70     1,066.50
               Goldberg; review LOI and related documents;
               follow-up calls.
14-Jul-16      [Monetization of cell tower leases] Discussion           JLH              0.80       316.00
               regarding proposed sale of telecoms leases; draft
               email to Goldberg for copy leases; review and revise
               option agreement.
14-Jul-16      [Jay Peak Ski Resort/Telecom Sale] Review and            ARI              2.20       572.00
               revise LOI for sale; internal discussion re LOI and
               purchase agreement strategy.
15-Jul-16      [Jay Peak Ski / Telecom Sale] - Revise LOI based on      ARI              1.70       442.00
               internal discussion. Review leases provided by client.
15-Jul-16      Numerous emails with Midra Management re due             MIG              0.60       237.00
               diligence and other issues.
15-Jul-16      Conference with cell tower leases and Olson and          MIG              0.50       197.50
               Hinton.
15-Jul-16      Conference with Brossard re airport.                     MIG              0.30       118.50
15-Jul-16      Reviewed airport termination.                            MIG              0.40       158.00
15-Jul-16      [Monetization of cell tower leases] Attention to         JLH              1.30       513.50
               diligence items; review and respond to questions on
               revised draft and discussion as to changes to option
               agreement.
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16-Jul-16      [Jay Peak / Telecom Sale] Review and revise LOI.           ARI              1.70       442.00
               Draft revisions to material issues list for client.
17-Jul-16      [Jay Ski Resort / Telecom Sale] Review all leases and      ARI              5.90     1,534.00
               abstract and draft short summary of each lease for
               sale.
18-Jul-16      Jay Peak - Monetization of Cell Tower Leases -             ARI              2.90       754.00
               Finalize abstract of lease reviews and draft issues list
               from the review; discussions regarding material
               issues; LOI revisions and outstanding client requests.
18-Jul-16      Conference with Stenger re due diligence.                  MIG              0.30       118.50
18-Jul-16      Conference with A. Stenger re water park.                  MIG              0.30       118.50
18-Jul-16      [Monetization of Cell Tower Leases] Review and             JLH              3.00     1,185.00
               revise draft of Letter of Intent; review of diligence
               materials; discuss approvals with Receiver.
19-Jul-16      [Monetization of Cell Tower Leases] Review and             JLH              0.50       197.50
               respond to comments from Receiver; revise draft
               agreement in light of the comments from Receiver
               and finalize draft email to client with draft of the
               agreement for review.
19-Jul-16      [Jay Peak / Monetization of Tower Leases] Revise           ARI              0.30        78.00
               material issues list to client.
20-Jul-16      [Jay Peak / Monetization of Telecom Leases] Review         ARI              0.40       104.00
               lease agreements and coordinate creating of index of
               leases to send to Purchaser.
20-Jul-16      Attention to emails from Olsen; draft email to Steve       JLH              0.70       276.50
               regarding diligence items; draft email to Hasselman
               regarding option agreement and attention to
               diligence.
20-Jul-16      Telephone conference with interested party for             KAM              0.40        70.00
               purchase of Burke assets and discuss with Receiver.
22-Jul-16      Attend call with AP Wireless to discuss process;           JLH              0.50       197.50
               follow up on missing documentation; draft email to
               Olsen.
22-Jul-16      Corresponded with Stenger re homes to be listed and        MIG              0.30       118.50
               maintenance.
22-Jul-16      Corresponded with broker re sale of business and           MIG              0.60       237.00
               drafted email to broker.
25-Jul-16      Review client answers to missing diligence and             ARI              1.30       338.00
               update index.
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25-Jul-16      Review materials provided by Elander; review              JLH              0.80       316.00
               comments provided by Elander; review and respond
               to email communications on the same; review and
               comment on missing diligence items.
26-Jul-16      Review and respond to email from Elander and              JLH              0.90       355.50
               attention to outstanding diligence items and prepare
               summary for client of the same.
26-Jul-16      Jay Peak - Monetization of Telecom Leases - Review        ARI              2.10       546.00
               client comments, create summary due diligence chart
               and update index. Begin to draft access agreement.
27-Jul-16      Jay Peak - Monetization of Telecom Leases -               ARI              3.40       884.00
               Continue to review and revise the Access Agreement.
               Finish initial draft of Access Agreement; discuss
               internal revisions; re-draft revisions.
27-Jul-16      Reviewed cell tower correspondence.                       MIG              0.30       118.50
27-Jul-16      Review and respond to further emails from Jay Peak;       JLH              1.50       592.50
               prepare response to AP Wireless; review of summary
               of responses to missing documents; prepare draft
               email to Miley; review of confidentiality and access
               agreement.
27-Jul-16      Review and analyze underlying engineering contracts       SAM              1.20       474.00
               and provide issues / revisions to Walter Elander.
27-Jul-16      Analyze sample petitions provided by Walter and           SAM              1.50       592.50
               outline draft / issues / questions related to petition.
27-Jul-16      Phone call with Walter Elander re engineering             SAM              0.70       276.50
               contracts; status of petition for water utility; etc.
27-Jul-16      Communicate with Receiver Re: meeting with local          SAM              0.10        39.50
               landowners regarding manganese and water utility
               issues.
27-Jul-16      Correspond with D. McNeal regarding appraisal.            KAM              0.10        17.50
28-Jul-16      Correspond with S. Traband, Esquire regarding GSI         KAM              0.40        70.00
               business matters; Discuss various cost items with
               Receiver.
28-Jul-16      Review and provide comments on the revised access         JLH              0.60       237.00
               agreement; call with Elander on process and
               diligence items; attend call with Receiver.
28-Jul-16      Conference with Midra re sale.                            MIG              0.40       158.00
28-Jul-16      Conference with Scribner re title insurance.              MIG              0.20        79.00
28-Jul-16      Corresponded with Singerman re title insurance.           MIG              0.20        79.00
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28-Jul-16      [Monetization of Telecom Leases] Revise Access and      ARI              0.70       182.00
               Confidentiality Agreement and send to Client for
               comment; revise agreement per client comments and
               circulate to APWireless.
28-Jul-16      Conference with Gordon re the sale and mortgage.        MIG              0.50       197.50
29-Jul-16      Conference with Levenson re mortgage and sale.          MIG              0.30       118.50
29-Jul-16      Conference with Midra re purchase.                      MIG              0.40       158.00
1-Aug-16       Corresponded with SEC re condo.                         MIG              0.20        79.00
2-Aug-16       Conference re cell tower leases.                        MIG              0.60       237.00
2-Aug-16       Review agenda and documentation for call with           ARI              1.60       416.00
               Purchaser; attend call with purchaser; subsequent
               discussion; review and revise Confidentiality
               Agreement and circulate to other side for signature.
2-Aug-16       Attend and participate in conference call with Jay      JLH              0.60       237.00
               Peak, AP Wireless and Receiver regarding form of
               access agreement and next steps for transaction
               including obtaining revised documentation and
               inspections.
2-Aug-16       Prepare for all hands call.                             JLH              0.20        79.00
2-Aug-16       Review and respond to email from Miley regarding        JLH              0.10        39.50
               revised draft of the access agreement.
3-Aug-16       Coordinate full execution of confidentiality and        ARI              2.90       754.00
               access agreement; communication with client
               regarding next steps for contacting tenants and
               review and summarize all leases for pass-through
               costs.
4-Aug-16       Communication with client and purchaser regarding       ARI              0.50       130.00
               lease documents and next steps for obtaining missing
               leases.
4-Aug-16       Corresponded with Schneider re appraisal.               MIG              0.10        39.50
4-Aug-16       Corresponded with Hinton re cell tower leases.          MIG              0.20        79.00
4-Aug-16       Telephone conference with Robinson re: Ford Motor       JSR              0.30       118.50
               Credit.
4-Aug-16       Review and comment on email from Elander                JLH              0.30       118.50
               regarding the proposal provided by AP Wireless.
4-Aug-16       Draft email to Goldberg regarding additional            JLH              0.30       118.50
               monetization of tower leases following negotiation of
               additional rents with tenants and review and
               comment on response.
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5-Aug-16       Corresponded with buyer of Newport property.               MIG              0.20        79.00
8-Aug-16       Numerous correspondence re Wright contract.                MIG              0.30       118.50
8-Aug-16       Reviewed Wright contract.                                  MIG              0.40       158.00
8-Aug-16       Conference with Reiner re Newport property.                MIG              0.30       118.50
8-Aug-16       Conference with Martin re LOI.                             MIG              0.20        79.00
8-Aug-16       Conference with Levenson re LOI.                           MIG              0.20        79.00
8-Aug-16       Jay Peak - Monetization of Telecom Leases - Call           ARI              4.10     1,066.00
               with Purchaser re next steps for leases; discussion
               regarding form letters, next steps with negotiations,
               and creating a table. Communication with client
               regarding form letter, next steps and additional
               information. Create table with next steps and contact
               information. Review leases and draft form
               notification letter and letters for consent to T-Mobile
               and Verizon.
8-Aug-16       Review and respond to emails from Elander                  JLH              0.30       118.50
               regarding telecoms lease pricing negotiations;
               attention to consents and right of first offering and
               letter to tenants; attend to voicemail from AJ and
               draft email regarding next steps.
8-Aug-16       Draft letter to various construction and design entities   SWR              1.80       711.00
               involved with the duct sock system at waterpark
               regarding defects and deficiencies and intended next
               steps. Edit and revise same.
9-Aug-16       Attend to next steps on business transaction; prepare      JLH              0.10        39.50
               for discussion with Goldberg and Olsen.
9-Aug-16       Telephone calls concerning brokers                         ASR              1.20       474.00
9-Aug-16       Jay Peak - Monetization of Telecom Leases -                ARI              0.40       104.00
               Communication with Receiver and client regarding
               next steps to negotiate leases.
9-Aug-16       Reviewed Rostock letter re water park.                     MIG              0.20        79.00
9-Aug-16       Conference with Stenger re listings.                       MIG              0.20        79.00
9-Aug-16       Reviewed Wright contract.                                  MIG              0.30       118.50
9-Aug-16       Corresponded with Schneider re Newport.                    MIG              0.20        79.00
10-Aug-16      Conference with Hinton and Olson re cell tower sale        MIG              0.60       237.00
               and review documents.
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10-Aug-16      Jay Peak - Monetization of Telecom Leases - Call         ARI              0.60       156.00
               with client regarding next steps for
               telecommunications leases.
10-Aug-16      Inquiries concerning appropriate brokers for ski         ASR              1.80       711.00
               operations; review responses
10-Aug-16      Attend conference call on the pricing for the sale of    JLH              0.30       118.50
               the telecoms leases and strategy with AP Wireless.
10-Aug-16      Call to Olsen.                                           JLH              0.10        39.50
15-Aug-16      Call to Olsen regarding call with AP Wireless (0.1);     JLH              0.90       355.50
               review of current status of documentation and
               prepare comments on the same (0.4); draft email to
               Lynn (0.2); draft email to Elander (0.2).
15-Aug-16      Revise drafts of the tenant notice letter, the request   JLH              1.00       395.00
               for consent from T-Mobile and the request for waiver
               of the Right of First Refusal from Verizon.
15-Aug-16      Revise draft of status table for next steps for          JLH              0.40       158.00
               transaction.
15-Aug-16      Jay Peak - Monetization of Telecom - Discussion          ARI              0.30        78.00
               regarding understanding between clients on next
               steps. Review comments to form letters.
16-Aug-16      Conference with Stenger re listing agreements and        MIG              0.30       118.50
               ANC Bio.
16-Aug-16      Corresponded with Elander re cell tower leases.          MIG              0.20        79.00
16-Aug-16      Jay Peak - Telecom Leases - Review and revise form       ARI              1.90       494.00
               letters and communicate with APWireless regarding
               changes. Discussion regarding letters and next steps.
16-Aug-16      Review and respond to emails regarding obtaining         JLH              0.30       118.50
               documentation for leases.
16-Aug-16      Discussion as to tenant letters.                         JLH              0.10        39.50
17-Aug-16      Review and respond to emails.                            JLH              0.10        39.50
17-Aug-16      Jay Peak - Monetization of Telecom - Discussion          ARI              2.60       676.00
               with client and APWireless regarding letters to
               tenants. Review chart of addresses and compare to
               current addresses for each tenant. Draft 8 tenant
               notification letters.
17-Aug-16      Corresponded with Stenger and reviewed documents         MIG              0.60       237.00
               on Burke job creation received from Stenger.
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18-Aug-16      Jay Peak - Monetization of Telecom Leases - Draft       ARI              1.10       286.00
               additional tenant letters and coordinate signature by
               receiver.
18-Aug-16      Review documents on cell tower leases.                  MIG              0.30       118.50
19-Aug-16      Reviewed cell tower monetization letters.               MIG              0.40       158.00
19-Aug-16      Conference with appraiser re Newport.                   MIG              0.20        79.00
19-Aug-16      Numerous conference calls with potential brokers        ASR              2.30       908.50
19-Aug-16      Work on tenant notification letters for Monetization    KAM              0.70       122.50
               of Telecom Leases.
22-Aug-16      Finalize letters to tenants for copies of lease         JLH              0.40       158.00
               documentation.
22-Aug-16      Conference with Egglestone and Silver re Burke          MIG              0.50       197.50
               property appeal.
22-Aug-16      Corresponded with Cleary re insurance.                  MIG              0.30       118.50
23-Aug-16      Reviewed documents re Newport.                          MIG              0.20        79.00
23-Aug-16      Review and respond to emails regarding tenant letters   JLH              0.10        39.50
               with AP Wireless.
24-Aug-16      Review and respond to emails from Elander               JLH              0.30       118.50
               regarding next steps and AP Wireless outreach;
               review and respond to update emails from Elander
               and Lynn.
24-Aug-16      Conference with broker re sales process.                MIG              0.20        79.00
24-Aug-16      Reviewed Bellwether revised LOI and drafted notes       MIG              1.30       513.50
               on LOI.
25-Aug-16      Reviewed Bellwether proposal and drafted detailed       MIG              4.40     1,738.00
               response to Bellwether.
25-Aug-16      Telephone calls and emails with various real estate     ASR              1.50       592.50
               brokers
25-Aug-16      Receipt and review of correspondence from Law           KAM              0.10        17.50
               Offices of E. Marbin regarding condo assessments.
26-Aug-16      C/c's with working groups at JLL and Alvarez Marsal     ASR              1.00       395.00
26-Aug-16      Corresponded with Midra re offer.                       MIG              0.30       118.50
26-Aug-16      Corresponded with potential broker re sale.             MIG              0.10        39.50
26-Aug-16      Conference with K. Terrell re potential buyer.          MIG              0.20        79.00
26-Aug-16      Conference with Altman and Burian re jay Peak sale.     MIG              0.40       158.00
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28-Aug-16      Jay Peak - Monetization of Telecom Leases - Review     ARI              0.60       156.00
               communication regarding tenant notification letters.
               Discussion regarding receivership documents and
               communication with T-Mobile Tenant.
29-Aug-16      Jay Peak - Monetization of Telecom Leases -            ARI              0.50       130.00
               Communication with APWireless and discussion
               regarding status of tenant notification letters.
29-Aug-16      Corresponded with Stenger re Farms.                    MIG              0.20        79.00
29-Aug-16      Conference re telecom leases.                          MIG              0.20        79.00
29-Aug-16      Follow up on the requests from T-Mobile.               JLH              0.40       158.00
6-Sep-16       Correspond with S. Traband regarding GSI copy          KAM              0.10        17.50
               machines.
7-Sep-16       Monetization of Telecom Leases - Communicate with      ARI              0.90       234.00
               Tenant's regarding leases requested. Discussion with
               AP Wireless.
8-Sep-16       Review leases provided by T-Mobile, AT&T and           ARI              1.40       364.00
               KingStreet Wireless. Create spreadsheet of current
               status of tenant communications. Review APWireless
               update chart. Review permit authorization request by
               AT&T.
9-Sep-16       Monetization of Telecom - Discussion with              ARI              1.20       312.00
               APWireless. Review and approve permit
               authorization application. Review leases provided by
               AT&T, T-Mobile and King Street Wireless.
10-Sep-16      Email discussion regarding AT&T Permit                 ARI              0.10        26.00
               Authorization.
12-Sep-16      Coordinate signed permit authorization letter for      ARI              0.30        78.00
               AT&T.
13-Sep-16      Discussion with APWireless regarding status of         ARI              0.40       104.00
               tenant contact. Communicate with Verizon regarding
               status of leases.
14-Sep-16      Worked on draft of Receiver's Report re Bellwether.    MIG              3.10     1,224.50
15-Sep-16      Finalized draft report on Bellwether offer.            MIG              4.30     1,698.50
15-Sep-16      Revise summary chart of current status of leases.      ARI              0.90       234.00
               Discuss leases with AP Wireless and follow up with
               Verizon.
15-Sep-16      Compile and review proposals for disposition           ASR              2.20       869.00
               services; emails re same
16-Sep-16      Follow up on proposals for disposition services        ASR              1.00       395.00
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16-Sep-16      Review receiver's report on offer to purchase             NSS              0.40       104.00
               receivership entities.
16-Sep-16      Review Receiver's Report re: validity of offer,           JSR              0.80       316.00
               Motion to Modify TRO and discuss same with
               Goldberg.
16-Sep-16      Review report by Receiver on validity of Bellwether       KAM              0.40        70.00
               offer; Arrange for web posting of same; Receive
               inquiry from newspaper regarding filing.
18-Sep-16      Corresponded with Traband re Miami Office.                MIG              0.20        79.00
19-Sep-16      Follow up with potential service providers                ASR              2.00       790.00
20-Sep-16      Communication with APWireless and Verizon                 ARI              0.40       104.00
               regarding remaining lease documents. Discussion
               regarding status of leases and communications.
22-Sep-16      Communication with APWireless regarding next              ARI              0.30        78.00
               steps and Verizon lease.
22-Sep-16      Revise and edit letter to go to Jay Peak Subdivision II   SAM              0.80       316.00
               (Wilderness Village) residents re status of manganese
               and treatment issues.
23-Sep-16      Analyze background of Jay Peak Subdivision II water       SAM              2.30       908.50
               issue and background documents re same and put
               together strategy for completing petition.
23-Sep-16      Review and comment on status of transaction and           JLH              0.10        39.50
               next steps.
23-Sep-16      Discussion regarding Jay Peak status.                     ARI              0.10        26.00
26-Sep-16      Review data regarding AnC Bio project.                    JLR              2.50       987.50
26-Sep-16      Review communication from S. Traband regarding            KAM              0.10        17.50
               past due rent owed on Opa-Locka warehouse.
27-Sep-16      Review AnC bio offer, documents, business plan and        JLR              4.50     1,777.50
               job reprints.
28-Sep-16      Revise and edit letter draft letter to Jay Peak           SAM              1.20       474.00
               Subdivision II lot owners re water issue and analyze
               Walter Elander's comments re same.
29-Sep-16      Call with APWireless regarding next steps and             ARI              1.80       468.00
               communication regarding Verizon Lease. Review
               Verizon lease. Review letter from AT&T regarding
               permit authorization.
30-Sep-16      Review email from S. Traband re: rental payment due       KAM              0.20        35.00
               to Kollel for the Opa-Locka warehouse; Place call to
               Schwartz regarding conference call.
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2-Oct-16       Corresponded with Gordon re listing agreement.             MIG              0.30       118.50
3-Oct-16       Conference with real estate group re sale.                 MIG              0.20        79.00
4-Oct-16       [Monetization of Telecom Leases] Review and revise         ARI              1.40       364.00
               AT&T Amendment. Review AT&T lease.
               Communication with client regarding status updates
               on transaction.
4-Oct-16       Telephone conference with McCormack re: utilities.         JSR              0.40       158.00
4-Oct-16       Analyze alternatives analysis related to manganese         SAM              1.50       592.50
               water issue and update letter to Jay Peak Subdivision
               II lot owners regarding same.
4-Oct-16       Discussion as to lease amendment regarding AT&T            JLH              0.20        79.00
               and review draft update email to client.
4-Oct-16       Email from CHM/Warnick; email to M Goldberg                ASR              0.30       118.50
10-Oct-16      Review and respond to email from Miley regarding           JLH              0.10        39.50
               next steps on the APWireless/Jay Peak cell site
               prepayment transaction.
10-Oct-16      Draft agreed motion to permit use of funds by              NSS              2.90       754.00
               defendant A. Quiros to preserve status quo.
10-Oct-16      Communication with APWireless regarding final              ARI              0.30        78.00
               documentation and call coordination.
11-Oct-16      Conference with Ferlazo re Newport.                        MIG              0.30       118.50
12-Oct-16      Call with APWireless and subsequent discussion             ARI              1.10       286.00
               regarding additional document requests.
12-Oct-16      Prepare for and attend call with Miley and AP              JLH              1.80       711.00
               Wireless (0.7); follow up on process for court
               approval with Goldberg (0.1); discuss draft
               documentation, manager and right of first refusal
               with Miley; draft email communications regarding
               next steps; draft email to receiver; attention to Access
               and Confidentiality Agreement; draft email regarding
               backstop of agreement (1.0).
13-Oct-16      Review title documents for mortgages and discussion        ARI              0.30        78.00
               regarding consent letters.
14-Oct-16      Review and respond to email from landlord's counsel        KAM              0.20        35.00
               for GSI warehouse regarding non-payment of rent;
               Discussions with Receiver re: same.
17-Oct-16      Telephone conference with interested party regarding       KAM              0.20        35.00
               cellular leases; Provide information to Receiver.
17-Oct-16      Reviewed public record on Quiros condos.                   MIG              0.40       158.00
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17-Oct-16      Review and request update on next steps and status      JLH              0.40       158.00
               for Jay Peak; review of draft of license agreement
               and discuss initial comments; prepare responses for
               APWireless and follow up on the same.
18-Oct-16      Review summary of the Jay Peak documentation and        JLH              0.20        79.00
               raise queries on the same.
18-Oct-16      Review emails and draft of License Agreement.           AMZ              1.80       468.00
19-Oct-16      Jay Peak/AP Wireless - Read and respond to emails       AMZ              0.30        78.00
               re: economic terms of license agreement and
               satisfaction of mortgages of record.
19-Oct-16      Call to Miley regarding mortgages; review and           JLH              1.30       513.50
               summarize transactional documentation for clients
               and provide summary of issues of concern for Olsen
               to review; review of email from Elander regarding
               issues; review and respond to email from Miley and
               return call.
19-Oct-16      Multiple conferences with counsel fro office condo      JML              0.40       158.00
               association re amounts owed by Quiros.
19-Oct-16      Follow up with Receiver re amounts owed by Quiros       JML              0.80       316.00
               office condominium association and landlord for
               warehouse (.2); review expense report proposed by
               Quiros' counsel and revise (.4); review proposed
               Motion to Use Citibank's Funds to preserve status
               quo (.2)
19-Oct-16      Discuss expenses owed by Florida commercial             KAM              0.20        35.00
               properties owned by Quiros or 111AQ, LLC with J.
               Levit.
20-Oct-16      Follow up with Receiver re payment of Quiros'           JML              0.20        79.00
               expenses.
20-Oct-16      Discussion as to closing requirements and analysis of   JLH              0.30       118.50
               lease requirements (0.2); review and respond to email
               regarding Miley (0.1).
20-Oct-16      Reviewed documents on cell tower sale.                  MIG              0.40       158.00
20-Oct-16      Reviewed documents received from Graham re              MIG              0.40       158.00
               easement.
20-Oct-16      Corresponded with Snedake re appraisal.                 MIG              0.20        79.00
20-Oct-16      Corresponded with Altman re potential sale.             MIG              0.20        79.00
21-Oct-16      Attend call with Miley on the form of the license       JLH              0.40       158.00
               agreement; discuss economic issues, lease term and
               mortgages.
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21-Oct-16      Review underlying Lease and License Agreement as         AMZ              1.20       312.00
               well as questions from client; call client to discuss.
24-Oct-16      Reviewed offer.                                          MIG              0.30       118.50
25-Oct-16      Conference with Ken Graham re easement.                  MIG              0.80       316.00
26-Oct-16      Corresponded with broker re sale of hotels.              MIG              0.20        79.00
27-Oct-16      Conference with Levenson re Sectai.                      MIG              0.20        79.00
27-Oct-16      Drafted Sectai motion.                                   MIG              1.10       434.50
27-Oct-16      Attention to mortgages, review and respond to Miley      JLH              0.70       276.50
               regarding next steps; email communications with
               Receiver regarding the economic terms of the
               transaction with APWireless.
28-Oct-16      Attention to the terms of the ground lease provisions    JLH              0.70       276.50
               regarding realty and ownership; discussion as to
               mortgages remaining on title; review and discuss
               summary of the new economic terms from AP
               Wireless; attend conference call on next steps with
               Receiver and the company.
28-Oct-16      Read and respond to emails and send email summary        AMZ              0.80       208.00
               of realty v. personalty in Vermont to Hinton.
28-Oct-16      Conference with N. Surgeon re payment of non-            JML              0.30       118.50
               receivership expenses and follow up correspondence.
28-Oct-16      Confer with M. Goldberg and J. Hinton on matter;         CRC              1.00       175.00
               review title exceptions regarding open mortgages
               versus title policy and advise J. Hinton.
28-Oct-16      Discuss title commitment with C. Colter and status of    KAM              0.20        35.00
               Jay Peak mortgages.
28-Oct-16      Follow up with M. Goldberg regarding warehouse           KAM              0.10        17.50
               lease.
31-Oct-16      Reviewed comments from BMA attorney re                   MIG              0.60       237.00
               easement.
31-Oct-16      Conference with Burke ski managers and Olson to          MIG              0.90       355.50
               review easement issues.
31-Oct-16      Conference with Hinton, Endicott, Wright, Englander      MIG              0.50       197.50
               and Olson re cell tower issues.
31-Oct-16      Conference with creditor re Newport property.            MIG              0.30       118.50
31-Oct-16      Respond to inquiry re demand letter and follow up        JML              0.60       237.00
               correspondence.
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                        Subtotal for Code 502 ASSET DISPOSITION                            260.50    92,317.50

Task Code:      503 BUSINESS OPERATIONS
14-Apr-16       Meeting with Resorts Management Company to                MIG                2.50       987.50
                review status of assets and understand future
                management of cash flow issues.
14-Apr-16       Meet with Stenger and tour properties and operations.     JSR                5.50     2,172.50
14-Apr-16       Meeting with resort management team to review             JSR                2.50       987.50
                status of assets and understand management and
                cash-flow issues.
15-Apr-16       Conference with Resorts re cash needs in Burke            MIG                0.60       237.00
                hotel.
16-Apr-16       Numerous correspondence with Resorts management           MIG                0.80       316.00
                team re Qburke issues.
17-Apr-16       Conference with Resorts Group re cash flow issues         MIG                0.70       276.50
                and expansion of receivership.
17-Apr-16       Multiple communications with Goldberg re: strategy        JSR                0.50       197.50
                and operations.
17-Apr-16       Prepare for and attend call with Schneider, Goldberg      JSR                0.80       316.00
                and Kapila team re: cash flow and accounting issues.
17-Apr-16       Attend call with leisure group, Goldberg and Kapila       JSR                0.70       276.50
                to discuss operational issues.
17-Apr-16       Research ability to use money from one estate for         SAM                2.80     1,106.00
                benefit of another (or through loan).
17-Apr-16       Outline motion for use of money from one estate for       SAM                1.80       711.00
                benefit of another (or through loan) and start drafting
                same.
18-Apr-16       Research regarding ability of receiver to loan and        SAM                2.20       869.00
                borrow money from other receivership estates.
18-Apr-16       Revise and edit motion re use / loan of funds from        SAM                1.00       395.00
                Defendants to Q Burke.
18-Apr-16       Multiple communications with Goldberg, Schneider,         JSR                2.20       869.00
                Kellogg and Matregrano re: flow of funds,
                administration and continued operations.
18-Apr-16       Conference with Ken Graham re Burke.                      MIG                0.50       197.50
18-Apr-16       Communication with J. Tatge of Leisure Hotels             KAM                0.10        17.50
                regarding utility services.
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18-Apr-16      Dealt with new account opening matters at Peoples       KAM              0.80       140.00
               Bank; Including review of new account opening
               documents; Meet with Receiver re: same; Multiple
               telephone conferences with bank re: same.
19-Apr-16      Meeting with Hotel Managers re status and to review     MIG              1.50       592.50
               finances.
19-Apr-16      Conference with Ken Graham re Burke Mountain and        MIG              1.40       553.00
               ski facilities.
19-Apr-16      Follow-up research and revise and edit motion re use    SAM              6.80     2,686.00
               / loan of funds from Defendants to Q Burke.
19-Apr-16      Multiple conference strategy conferences with team      JML              1.80       711.00
               re motions needed by Receiver for efficient operation
               of facilities.
19-Apr-16      Multiple strategy conferences with team re preserving   JML              0.70       276.50
               Q Burke facilities.
19-Apr-16      Revisions to Management Agreement (3.0);                ASR              4.00     1,580.00
               instructions to R Heft re further revisions (.6);
               telephone conference re timeshare consultants (.4).
20-Apr-16      J Peak - Confer with R. Heft regarding management       ASR              6.00     2,370.00
               agreement; analyze proposed form of agreement (2.2)
               and make revisions (3.8).
20-Apr-16      Review and respond to numerous emails from              MIG              2.40       948.00
               creditors, review and revise Motion to Expand and to
               use funds.
20-Apr-16      Travel from Burlington to Washington and at the         MIG              7.40     2,923.00
               same time responded to emails and researched case
               laws on borrowing funds.
20-Apr-16      Confer with Andy Robins and review correspondence       RAH              0.40       104.00
               regarding drafting a management agreement between
               Receiver, Owner and Leisure Properties as manager.
20-Apr-16      Work on redraft of various provisions of the form       RAH              2.40       624.00
               management agreement provided by Manager to add
               necessary provisions relating to the operation,
               maintenance and finances of the properties that are
               subject to the receivership.
20-Apr-16      Analyze and comment on form management                  RAH              3.60       936.00
               agreement provided by Manager.
20-Apr-16      Telephone conference with restaurant vendor for Jay     KAM              0.40        70.00
               Peak regarding unpaid invoices; Correspond with
               Receiver regarding same.
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21-Apr-16      Provisions relating to the operation, maintenance and      RAH              8.90     2,314.00
               finances of the properties subject to the receivership.
21-Apr-16      Continue to work on a redraft of the form                  RAH              2.00       520.00
               management agreement provided by Manager to add
               necessary definitions.
21-Apr-16      Numerous conferences with resorts team re                  MIG              1.10       434.50
               operational issues.
21-Apr-16      Numerous correspondence with Schneider re pledged          MIG              0.80       316.00
               accounts.
21-Apr-16      Conference call with resorts management team re            MIG              0.40       158.00
               cash budget.
21-Apr-16      Draft of Consent Orders re: loans and expansion.           JSR              0.80       316.00
22-Apr-16      Work on redraft of management agreement.                   RAH              3.10       806.00
22-Apr-16      Call with Gary Endicott; call with Gary Endicott of        RAH              1.00       260.00
               Leisure Properties, LLC regarding contents of the
               management agreement and the current status of the
               properties.
22-Apr-16      Draft short issue list in preparation for call with Gary   RAH              1.20       312.00
               Endicott.
22-Apr-16      Work on management contract; telephone with Gary           ASR              5.00     1,975.00
               Endicott; telephone calls with Ross Heft
23-Apr-16      Work on redraft of management agreement.                   RAH              4.20     1,092.00
24-Apr-16      Revise management agreement to incorporate                 RAH              5.00     1,300.00
               comments of Andy Robins.
24-Apr-16      Work on and finalize draft of management agreement         RAH              4.00     1,040.00
               and send redline of redrafted document to Receiver
               and Manager for each of their review.
25-Apr-16      Review background pleadings and materials and              SAM              3.40     1,343.00
               conduct research for motion for use of funds from
               Biomedical entity for other Jay Peak entities.
26-Apr-16      Revise and edit motion to use funds from BioMedical        SAM              2.50       987.50
               entity for Jay Peak operations.
26-Apr-16      Meeting with Endicott re operations and finances.          MIG              2.60     1,027.00
27-Apr-16      Multiple communications with Goldberg and                  JSR              1.30       513.50
               Endicott re: bank and operational issues.
27-Apr-16      Communications to Gary Endicott regarding Jay Peak         SAM              0.10        39.50
               operations cash flow projections going forward.
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28-Apr-16      Respond to inquires re operational matters and         JML              2.80     1,106.00
               payments.
28-Apr-16      Multiple communications with Goldberg, Kapila,         JSR              0.90       355.50
               Kellogg, Schneider re: cash flow, Pershing Subpoena.
28-Apr-16      Numerous correspondence with resorts management        MIG              1.80       711.00
               team re operational issues.
28-Apr-16      Telephone conference with G. Endicott regarding        KAM              0.20        35.00
               frozen accounts at People's Bank in the name of
               subsidiaries of receivership entities needed for
               ongoing operations.
29-Apr-16      Telephone conference with Stateside investor           KAM              0.40        70.00
               regarding project and steering committee;
               Communicate investor concerns to Receiver.
29-Apr-16      Reviewed P&L statements received from Endicott.        MIG              0.50       197.50
29-Apr-16      Multiple communications with Endicott and Eagan        JSR              1.30       513.50
               re: access to People's Bank accounts and review
               account inventories.
3-May-16       Multiple communications with Endicott, Eagan and       JSR              2.40       948.00
               Goldberg re: payroll funding and access to Burke
               bank accounts.
3-May-16       Multiple communications with Kapila and Davies re:     JSR              0.40       158.00
               relationship between various Jay Peak / Burke
               entities.
3-May-16       Numerous correspondence with Resorts personnel re      MIG              1.20       474.00
               accounting and other issues.
3-May-16       Research and prepare Escrow Agreement.                 JML              2.10       829.50
3-May-16       Communications with G. Endicott regarding banking      KAM              0.30        52.50
               matters.
3-May-16       Communications with G. Endicott and D. McNeil at       KAM              0.30        52.50
               Leisure Hotel regarding bank transfers.
4-May-16       Multiple conferences and correspondence re terms of    JML              0.40       158.00
               credit card authorization contract.
4-May-16       Reviewed cash flow analysis and conference with        MIG              0.50       197.50
               Endicott re same.
5-May-16       Corresponded with credit card processor.               MIG              0.20        79.00
5-May-16       Confer with Receiver re Escrow Agreement and           JML              0.60       237.00
               revise
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5-May-16       Arrange for execution of new application from           KAM              0.40        70.00
               Heartland regarding Jay Peak's credit card services
               account.
6-May-16       Conference with Vermont authorities and Tatge re        MIG              0.60       237.00
               airport and Porsche event.
9-May-16       Prepare issue list relating to Manager's revisions to   RAH              1.20       312.00
               the management agreement.
9-May-16       Analyze comments and redraft of management              RAH              0.70       182.00
               agreement provided by Leisure Hotels, LLC.
9-May-16       Review changes proposed by management company;          ASR              1.20       474.00
               comment on same; instructions for Ross heft
10-May-16      Analyze status of information from Gary Endicott        SAM              0.20        79.00
               and e-mail Gary regarding status of same.
10-May-16      Continue to analyze revisions and comments to the       RAH              2.00       520.00
               management agreement by Manager.
10-May-16      Analyze order appointing Receiver to confirm entity     RAH              0.30        78.00
               names included in the Management Agreement.
10-May-16      Call with Andy Robins regarding outstanding issues      RAH              1.00       260.00
               and comments inserted into the management
               agreement by Manager.
10-May-16      Continue to prepare an issue list relating to           RAH              1.90       494.00
               outstanding issues present in the issue list.
11-May-16      Reviewed revised budget.                                MIG              0.60       237.00
11-May-16      Conference with Endicott re Budget.                     MIG              0.40       158.00
11-May-16      Reviewed and executed credit card processing            MIG              0.60       237.00
               documents.
11-May-16      Communicate with McKormack re: utilities.               JSR              0.30       118.50
12-May-16      Multiple communications with Dator and                  JSR              0.60       237.00
               McCormack re: utilities and operational issues.
12-May-16      Assist with drafting of management fee accrual          SKR              0.40       158.00
               section of management agreement.
12-May-16      Corresponded re Burke lift.                             MIG              0.20        79.00
12-May-16      Conference call with Resorts over operational issues    MIG              1.50       592.50
               and contract.
12-May-16      Conference with Endicott re budget.                     MIG              0.60       237.00
12-May-16      Circulate revised draft of management agreement for     RAH              0.10        26.00
               Manager's and Receiver's review.
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12-May-16      Work on redraft of management agreement pursuant       RAH              8.10     2,106.00
               to call with Manager and Receiver.
12-May-16      Call with Manager and Receiver.                        RAH              1.50       390.00
12-May-16      Revisions to Management Agreement (.6); telephone      ASR              4.50     1,777.50
               conference with R. Heft (.2); conference call with
               Receiver and Management team (1.4); work on R.
               Heft revisions (1.9); review and provide comments
               (.4).
16-May-16      Work on revisions to the management agreement          RAH              1.00       260.00
               pursuant to Gary Endicott's comments to the revised
               management agreement.
16-May-16      Finalize and circulate clean and redline versions of   RAH              0.20        52.00
               the execution version of the management agreement.
18-May-16      Meeting with Stenger to discuss operational issues.    MIG              0.50       197.50
18-May-16      Review airport operations and meet manager.            MIG              1.30       513.50
18-May-16      Multiple correspondence re revisions to deposit        JML              0.30       118.50
               escrow agreements.
19-May-16      Review comments to Escrow Agreement and revise         JML              0.70       276.50
               Escrow Agreement.
19-May-16      Discuss funds to be held in escrow with attorney for   KAM              0.30        52.50
               wedding deposits.
20-May-16      Receive call from Veronica at Irving Oil Company       KAM              0.20        35.00
               requesting clarification on Receiver's appointment
               over Burke Mountain Operating Company.
20-May-16      Review additional applications from Heartland          KAM              0.20        35.00
               Payment Systems for various Jay Peak entities.
20-May-16      Conference with Endicott re cash flow.                 MIG              0.20        79.00
20-May-16      Analyze correspondence from Gary Endicott and          RAH              0.10        26.00
               Samual Miller regarding the Management
               Agreement.
23-May-16      Circulate email regarding execution of the             RAH              0.10        26.00
               management agreement.
23-May-16      Corresponded with Wright re marketing.                 MIG              0.30       118.50
23-May-16      Corresponded re management agreement.                  MIG              0.30       118.50
24-May-16      Conference with Endicott re cash.                      MIG              0.30       118.50
24-May-16      Attend to contracts for review and execution by        KAM              0.20        35.00
               Receiver pertaining to credit card operations at Jay
               Peak.
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25-May-16      Conference with Farley re vendor contracts.              MIG              0.30       118.50
25-May-16      Review and analyze case law on authorization for         NSS              3.60       936.00
               receiver to borrow.
26-May-16      Revise and edit motion to employee management            SAM              0.70       276.50
               company.
26-May-16      Corresponded with Endicott AnC Bio.                      MIG              0.30       118.50
26-May-16      Conference with Key Bank re line of credit.              MIG              0.50       197.50
26-May-16      Follow up with Receiver regarding pending                KAM              0.30        52.50
               operational matters.
28-May-16      Draft motion to have management contract approved.       SAM              2.50       987.50
31-May-16      Communicate with Doppelmayr representatives to           SAM              0.20        79.00
               confirm that scope of work and contract covers all
               items in paragraph 3 of findings and order from
               Vermont Department of Labor regarding Jay Peak
               Tram.
31-May-16      Communications with Desjardin Bank and G.                KAM              0.70       122.50
               Endicott to work out issues with funds transfer and
               new account issues.
1-Jun-16       Analyze information from Walter re tram and              SAM              0.40       158.00
               Vermont's Findings and Order re same and
               communicate with Walter re same.
1-Jun-16       Revise and edit motion related to repair and upgrade     SAM              1.50       592.50
               of tram and work with staff on arranging for filing of
               same and e-mail representatives that Doppelmayr to
               notify them that motion has been filed.
1-Jun-16       Communicate with Dator re: Bear Path release.            JSR              0.30       118.50
1-Jun-16       Communicate with Wozotski re: food vendor                JSR              0.40       158.00
               balance.
1-Jun-16       Review Receiver's Motion for Authorization re:           JSR              0.20        79.00
               Tramway Modification.
2-Jun-16       Corresponded with Miller re tram issue.                  MIG              0.20        79.00
2-Jun-16       Corresponded with Pinechek re tram issue.                MIG              0.20        79.00
2-Jun-16       Analyze Management Agreement and draft motion            SAM              3.80     1,501.00
               for authorization and approval of Jay Peak
               Management Agreement.
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2-Jun-16      Analyze Tram situation, with focus on Findings and       SAM              1.70       671.50
              Order from Vt.; phone calls with Walter and state of
              Vermont representatives re same; and develop
              strategy for dealing with Tram situation and Findings
              and Order.
3-Jun-16      Communicate with Receiver re status of tram issues,      SAM              0.30       118.50
              with particular focus on timing of inspections and
              testing of tram.
3-Jun-16      Phone call Walter E. re pending tram and water           SAM              0.90       355.50
              issues and analyze document and information
              emailed to me by Walter during that call.
3-Jun-16      Revise and edit motion to approve management             SAM              1.00       395.00
              agreement.
3-Jun-16      Conference with Noonan and Monahan re tram.              MIG              0.20        79.00
5-Jun-16      Arrange for execution of tram contract.                  SAM              0.20        79.00
6-Jun-16      Communicate with Doppelmayr representatives re           SAM              0.10        39.50
              fully executed tram modification agreement and
              tomorrow's call.
6-Jun-16      Multiple communications with Endicott and                JSR              0.60       237.00
              Goldberg re: consolidation of business operations.
6-Jun-16      Complete Buyer Information on Tram Modification          KAM              0.30        52.50
              Contract and arrange for execution by Receiver.
6-Jun-16      Telephone conferences with utility service companies     KAM              0.80       140.00
              regarding failure to comply with receivership order in
              providing uninterrupted services property required
              for upkeep of property and work on providing
              information to utility service to transfer accounts to
              Receiver.
7-Jun-16      Review correspondence from Matthews on behalf of         JSR              0.50       197.50
              VTel Wireless and discuss with Goldberg.
7-Jun-16      Analyze condo sale issue re language required and        SAM              0.50       197.50
              phone call with Brooke by lender.
7-Jun-16      Communicate with Walter E. and Doppelmayr reps           SAM              1.00       395.00
              and engineers re tram inspection / testing / repairs /
              upgrade, inspections with state of Vt., and steps to
              complete same.
7-Jun-16      Respond to inquiry from Vermont government               JML              0.20        79.00
              Official requesting information about Burke
              subcontractors.
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7-Jun-16       Confer with J. Robbins re need for motion to            JML              0.20        79.00
               consolidate back office staff.
8-Jun-16       Communicate with S Monahan re status of tram order      SAM              0.30       118.50
               and contract.
8-Jun-16       Participate on conference call with Vt. tram            SAM              2.40       948.00
               inspector, Doppelmayr reps, and Jay Peak reps re
               tram inspection / testing set for next week.
8-Jun-16       Communicate with Kapila re: status of accounting        JSR              0.30       118.50
               work.
8-Jun-16       Corresponded re sewer line of credit.                   MIG              0.20        79.00
8-Jun-16       Conference re tram.                                     MIG              0.20        79.00
9-Jun-16       Corresponded with Endicott and Tatge re tram.           MIG              0.20        79.00
9-Jun-16       Communicate with Endicott re: ERISA issues.             JSR              0.40       158.00
10-Jun-16      Multiple communications with Endicott and Bathylon      JSR              0.60       237.00
               re: 5500 Forms, year end matters.
13-Jun-16      E-mail Walter Elander regarding status of this week's   SAM              0.10        39.50
               tram inspection.
14-Jun-16      Conference with Town of Jay Peak re sewer and fire      MIG              0.60       237.00
               issues.
14-Jun-16      Conference with Schneider re City.                      MIG              0.20        79.00
15-Jun-16      Conference with Graham re Ski operations.               MIG              0.60       237.00
16-Jun-16      Dealt with Press release over tram and corresponded     MIG              0.30       118.50
               with Wright.
16-Jun-16      Dealt with water well issue and corresponded with       MIG              0.20        79.00
               Schneider.
16-Jun-16      Conference with Argiz and Endicott re taxes.            MIG              0.40       158.00
16-Jun-16      Corresponded with Kapila over taxes.                    MIG              0.20        79.00
16-Jun-16      Communicate with Goldberg re: tram issues.              JSR              0.40       158.00
16-Jun-16      Confirm in writing to HR director of JayPeak the        EDA              0.40       158.00
               Form 5500 small plan filing exemptions.
16-Jun-16      Coordinate execution of bank documents with             KAM              0.40        70.00
               Receiver and Leisure Group representatives.
16-Jun-16      Revise and finalize letter to Northern Border           KAM              0.30        52.50
               Regional Commission regarding Burke Mountain
               Racing Grant Proposal based on attorney review and
               comment
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17-Jun-16      Finalize letter to International Financial Services       KAM              0.30        52.50
               Corp. regarding Master Equipment Lease based on
               attorney comment.
17-Jun-16      Work on finalization of Porsche Rally Agreement           KAM              0.30        52.50
               with Receiver.
17-Jun-16      Revise letter to International Financial Services Corp.   KAM              0.20        35.00
               regarding past due obligations on Master Equipment
               Lease.
17-Jun-16      Receive voicemail message from S. Sowell at               KAM              0.10        17.50
               Fairpoint Communications regarding intent to
               disconnect telephone and internet services at Jay
               Peak for non-payment.
17-Jun-16      Confer with J. Levit regarding escrow agreement and       KAM              0.30        52.50
               indemnification provisions.
17-Jun-16      Telephone conference with S. Sowell, General              KAM              0.40        70.00
               Counsel, to Fairpoint Communications past due
               invoices for phone an internet services; Correspond
               with Receiver and Leisure Management re: same.
17-Jun-16      Conference with Key Bank and Endicott re status.          MIG              0.50       197.50
17-Jun-16      Conference with management re tram issues.                MIG              0.40       158.00
17-Jun-16      Conference with Tatge and Wright re Porsche event.        MIG              0.40       158.00
17-Jun-16      Multiple correspondence re use of escrow policy for       JML              0.20        79.00
               booking Jay Peak event.
17-Jun-16      Review and analyze indemnification agreement;             JML              0.40       158.00
               discuss with paralegal and revise.
20-Jun-16      Conference with Wright re lift.                           MIG              0.30       118.50
20-Jun-16      Communicate with McCormack re: Vermont Electric           JSR              0.50       197.50
               Cooperative.
20-Jun-16      Return call to Jay Peak patron with question              KAM              0.20        35.00
               regarding timing of tram repairs.
21-Jun-16      Communicate with Jankowski re: tram issues and            JSR              0.40       158.00
               status of receivership.
21-Jun-16      Analyze available documents re Jay Peak accounts,         SAM              2.40       948.00
               review pertinent sections in Clark on Receivers, and
               begin drafting cash management motion.
22-Jun-16      Revise and edit motion regarding cash management          SAM              2.80     1,106.00
               for Jay peak resort.
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22-Jun-16      Analyze memos and conduct research regarding            SAM              3.20     1,264.00
               movement of EB 5 investor funds and investors'
               request and draft motion regarding same.
22-Jun-16      Spoke with Burton Snowboards.                           MIG              0.20        79.00
22-Jun-16      Reviewed and revised Motion to Enter Into               MIG              0.30       118.50
               Management Agreement.
23-Jun-16      Telephone conference with McCormack to discuss          JSR              0.40       158.00
               electric cooperative.
23-Jun-16      Research USCIS criteria applicable to transfer of EB-   TLR              1.80       711.00
               5 investments among Regional Center projects. Email
               preliminary summary of same to Sam Miller, Esq.
23-Jun-16      Revise and edit motion regarding movement of EB 5       SAM              3.30     1,303.50
               investor funds at investors' request.
23-Jun-16      Revise and edit cash management motion for Jay          SAM              1.80       711.00
               Peak Resort.
23-Jun-16      Communicate with Receiver re cash management            SAM              0.20        79.00
               motion for Jay Peak Resort operations.
23-Jun-16      Communicate with Gary Endicott re cash                  SAM              0.30       118.50
               management at Jay Peak Resort for operations.
25-Jun-16      Analyze revised Tram order and email Receiver re        SAM              0.20        79.00
               same.
26-Jun-16      Revise and edit motion re transfer of investor funds    SAM              1.80       711.00
               from AnCBio.
27-Jun-16      Analyze certain portions of management agreement        SAM              1.60       632.00
               again (based on comments received) and revise and
               edit management agreement motion and circulate it
               for everyone's review, comment, and possible
               opposition.
27-Jun-16      Analyze information provided by Gary E. re cash         SAM              3.80     1,501.00
               management at Jay Peak and Q Burke and revise and
               edit Jay Peak cash management motion, including
               supplemental research re same.
27-Jun-16      Review and analyze additional case law on               NSS              5.70     1,482.00
               establishing fiduciary duty as a matter of law. Draft
               analysis of potential claims to discuss with expert.
               Draft outline of motion to approve loan by receiver.
27-Jun-16      Reviewed and revised management motion.                 MIG              0.70       276.50
27-Jun-16      Corresponded with Tatge re Porshe.                      MIG              0.20        79.00
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27-Jun-16      Corresponded with Gordon re management contract         MIG              0.20        79.00
               motion.
27-Jun-16      Conference with Endicott re cash budget.                MIG              0.20        79.00
27-Jun-16      Review and respond to email from S. Traband             KAM              0.20        35.00
               regarding GSI invoices.
27-Jun-16      Discussion with M. Goldberg regarding motion for        KAM              0.10        17.50
               approval of Leisure's Management Agreement.
28-Jun-16      Correspond with D. Gordon regarding GSI insurance       KAM              0.10        17.50
               notice.
28-Jun-16      Review motion to approve management agreement           KAM              0.30        52.50
               and arrange for website posting.
28-Jun-16      Reviewed and revised Motion to Approve Cash             MIG              0.90       355.50
               Management and conference with Miller and
               Endicott.
28-Jun-16      Meeting with banker re letter of credit.                MIG              1.20       474.00
28-Jun-16      Review correspondence from McCormack and                JSR              0.60       237.00
               additional documentation re: utilities
28-Jun-16      Analyze issues raised by the Receiver and Gary E. re    SAM              1.10       434.50
               cash management motion.
28-Jun-16      Communicate with counsel re motion for approval of      SAM              0.20        79.00
               management agreement and instructions to staff re
               same.
28-Jun-16      Revise and edit motion to authorize transfer from       SAM              2.90     1,145.50
               investor funds from AnC Bio to other entities upon
               approval of USCIS.
29-Jun-16      Draft fact section of motion to approve loan for        NSS              2.60       676.00
               receiver. Review and analyze investor emails.
29-Jun-16      Dealt with email and telephone inquiries from parties   KAM              0.50        87.50
               regarding case status and payments.
30-Jun-16      Revise and edit investor funds motion based on          SAM              3.20     1,264.00
               comments and information from Receiver and his
               professionals.
30-Jun-16      Revise and edit Jay peak cash management motion.        SAM              3.70     1,461.50
30-Jun-16      Conference with Endicott re case budget.                MIG              0.30       118.50
30-Jun-16      Corresponded with Leisure re Burke Mountain             MIG              0.20        79.00
               Academy.
1-Jul-16       Receipt and review of correspondence from counsel       KAM              0.20        35.00
               for Vermont Electric Corporation.
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5-Jul-16       Review second proposal for rodent removal and           KAM              0.60       105.00
               exclusion from Centurion Wildlife; Contact vendor to
               discuss scope of work and pricing; Discussion with
               Receiver regarding next steps.
5-Jul-16       Receive update from S. Traband regarding GSI            KAM              0.10        17.50
               building advisory regarding new internet services.
5-Jul-16       Confer with J. Robbins regarding Vermont Electric       KAM              0.10        17.50
               Corporation intent to transfer accounts to Receiver.
5-Jul-16       Revise and edit motion re transfer investor funds       SAM              2.30       908.50
               from AnC Bio to Q Burke.
6-Jul-16       Conference with Christine Pierpoint re utilities.       MIG              0.30       118.50
6-Jul-16       Reviewed Vermont utility regulations.                   MIG              0.30       118.50
6-Jul-16       Conference with investor re status of tram.             MIG              0.20        79.00
6-Jul-16       Conference with Endicott re cash flow.                  MIG              0.30       118.50
6-Jul-16       Reviewed cash flow chart and financials.                MIG              0.70       276.50
6-Jul-16       Work on assembly of financial reports for review by     KAM              0.30        52.50
               Receiver.
7-Jul-16       Correspond with G. Endicott regarding new business      KAM              0.10        17.50
               deposit accounts.
7-Jul-16       Index records produced by Cleary Shahi & Aicher         KAM              0.60       105.00
               regarding insurance policies.
7-Jul-16       Discussion with J. Robbins regarding insurance          KAM              0.30        52.50
               policies.
7-Jul-16       Reviewed financials received from Endicott.             MIG              0.60       237.00
7-Jul-16       Multiple communications with Garbati re: City           JSR              0.40       158.00
               National issues.
8-Jul-16       Multiple communications with Endicott, Garcia and       JSR              1.10       434.50
               Goldberg re: Acadia claim and research waiver issue.
8-Jul-16       Multiple communications with Endicott re: Burke         JSR              0.30       118.50
               2000.
8-Jul-16       Reviewed cash flow spreadsheets.                        MIG              0.40       158.00
8-Jul-16       Conference with Endicott and McLean re cash needs       MIG              0.50       197.50
               and budgeting.
8-Jul-16       Conference with Endicott re roof rot insurance issue.   MIG              0.20        79.00
10-Jul-16      Review and analyze documents from Walter Elander        SAM              2.30       908.50
               re water utility for Wilderness Village.
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11-Jul-16      Analyze information from Walter E. re Wilderness         SAM              1.30       513.50
               Village water issues.
11-Jul-16      Numerous emails with Endicott re cash flow and           MIG              1.60       632.00
               reviewed and revised cash flow budget and McNeil
               and Endicott.
11-Jul-16      Reviewed and approved Wright Employment                  MIG              0.60       237.00
               Contract.
11-Jul-16      Attend to matters regarding finalization of Leisure      KAM              0.40        70.00
               Hotels Management Agreement.
12-Jul-16      Reviewed cash flow spreadsheet.                          MIG              0.60       237.00
12-Jul-16      Conference with Pierpont attorney for electric           MIG              0.70       276.50
               company. Reviewed Stipulation with Pierpont.
13-Jul-16      Communicate with Garcia and Beatty re: Acadia            JSR              0.50       197.50
               Insurance Claim.
13-Jul-16      Prepare for (including review of pertinent documents)    SAM              1.40       553.00
               and conference call with Walter Elander re water
               utility for Wilderness Village.
13-Jul-16      Retrieve voicemail message from land owner               KAM              0.20        35.00
               adjacent to Jay Peak properties regarding complaint
               of damage; Return call and leave message.
14-Jul-16      Multiple communications with Beatty and Garcia re:       JSR              0.40       158.00
               Dew Construction.
14-Jul-16      Numerous correspondence with investors re status.        MIG              0.70       276.50
18-Jul-16      Conference with bankers re line of credit.               MIG              0.50       197.50
18-Jul-16      Reviewed cash flow budget.                               MIG              0.70       276.50
18-Jul-16      Reviewed tram contact.                                   MIG              0.30       118.50
19-Jul-16      Conference with McNeil re cash needs.                    MIG              0.50       197.50
19-Jul-16      Analyze cost information from Walter E. re petition      SAM              0.50       197.50
               for water utility.
21-Jul-16      Analyze status of Transfer of Funds Motion and Cash      SAM              0.30       118.50
               Management Motion previously drafted and
               communicate with receiver regarding same.
21-Jul-16      Numerous conference with McNeil re cash flow.            MIG              0.80       316.00
21-Jul-16      Follow up with Receiver on status of pending             KAM              0.20        35.00
               motions regarding cash management and transfer of
               investor funds.
22-Jul-16      Conference with Singerman and City National re           MIG              1.30       513.50
               financing and reviewed financials to prepare for call.
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25-Jul-16      Respond to inquiry re Escrow Agreement.                JML              0.20        79.00
26-Jul-16      Communicate with Doppelmayr re status of               SAM              0.10        39.50
               performance of tram contract.
26-Jul-16      Conference with S. Miller re tram issue.               MIG              0.10        39.50
26-Jul-16      Conference with Bank re line of credit.                MIG              0.40       158.00
27-Jul-16      Corresponded with Oheel re financial statements.       MIG              0.20        79.00
27-Jul-16      Conference with Citi National re line of credit.       MIG              0.30       118.50
27-Jul-16      Multiple communications with Goldberg, Schneider,      JSR              0.90       355.50
               Endicott re: outstanding creditor issues.
27-Jul-16      Continue working on identification of account          KAM              1.60       280.00
               balances for all Receivership Entity accounts and
               updating chart.
27-Jul-16      Correspond with Jay Peak and Leisure Hotel             KAM              0.40        70.00
               representatives regarding escrow accounts.
29-Jul-16      Correspond with K. McCoy regarding NECs tax            KAM              0.20        35.00
               return matters.
29-Jul-16      Confer with K. Foster regarding tax matters for Jay    KAM              0.40        70.00
               Peak and Q Burke.
1-Aug-16       Review email from K. McCoy regarding return of Jay     KAM              0.10        17.50
               Peak recovered records to Leisure Hotel regarding 13
               binders of financials from December 2015 and March
               2016.
1-Aug-16       Communication with Heartland regarding contracts       KAM              0.20        35.00
               to be executed by Receiver for credit card
               transactions.
1-Aug-16       Corresponded with Endicott re cash flow.               MIG              0.20        79.00
1-Aug-16       Conference with City National re LOI.                  MIG              0.30       118.50
2-Aug-16       Reviewed letter from Town of Jay Sewer                 MIG              0.30       118.50
               Department.
2-Aug-16       Numerous correspondence re Town of Jay Sewer           MIG              0.30       118.50
               letter.
3-Aug-16       Conference with Endicott, Wright and Englander re      MIG              0.40       158.00
               sewer system.
3-Aug-16       Conference with Miller re escrow motion.               MIG              0.40       158.00
3-Aug-16       Communicate with Goldberg re: cash flow issues and     JSR              0.50       197.50
               Raymond James.
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3-Aug-16       Multiple communications with Miller and Goldberg         JSR              0.60       237.00
               re: AnC Bio Escrow Agreement.
3-Aug-16       Review and revise draft Motion to Borrow AnC Bio         JSR              0.60       237.00
               Funds for Jay Peak.
3-Aug-16       Analyze underlying documents, review prior               SAM              7.20     2,844.00
               pleadings, and research and draft Motion to Borrow
               AnC Bio Funds for Jay Peak Operations.
3-Aug-16       Meet with Receiver to review and discuss bank            KAM              0.30        52.50
               accounts.
4-Aug-16       Conference with attorney re line of credit.              MIG              0.20        79.00
5-Aug-16       Reviewed and revised motion and order for                MIG              1.70       671.50
               borrowing funds and numerous conferences with
               Schneider re same.
5-Aug-16       Conference with Endicott re finances.                    MIG              0.20        79.00
8-Aug-16       Communicate with Goldberg and Miller re: Motion          JSR              0.40       158.00
               for Use of Funds.
8-Aug-16       Receipt and review of Receiver's Unopposed Motion        KAM              0.50        87.50
               to Approve Temporary and Partial Use of Funds from
               Settlement Between Raymond James & Associates,
               Inc. and the State of Vermont for Operation of
               Receivership Estate (.2); Arrange for web posting of
               same (.1); Prepare notes to bank account spreadsheet
               regarding use of funds (.2).
10-Aug-16      Telephone conference with consumer regarding             KAM              0.60       105.00
               refund of wedding deposit; Confer with Receiver
               regarding matter; Prepare and send email to
               consumer regarding filing of claim for losses incurred
               pre-receivership.
10-Aug-16      Multiple communications with Robbason equipment          JSR              0.30       118.50
               leasing and outstanding charges.
10-Aug-16      Corresponded with Ricardo at City re letter of credit.   MIG              0.20        79.00
10-Aug-16      Conference with Singerman re letter of credit.           MIG              0.30       118.50
10-Aug-16      Conference with Schneider re City.                       MIG              0.20        79.00
10-Aug-16      Correspondence with Bill Kelly's counsel regarding       SAM              0.10        39.50
               whether Bill Kelly had copies of title related
               documents related to Burke Mountain and
               correspondence with receiver regarding same.
11-Aug-16      Conference with Graham re snowmaking and lift.           MIG              0.40       158.00
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11-Aug-16      Receipt and review of Order Approving Receiver's       KAM              0.20        35.00
               Temporary and Partial Use of Funds from Settlement
               Between Raymond James & Associates and The
               State of Vermont for Operation of Receivership
               Estate.
12-Aug-16      Dealt with matters regarding Desjardin Bank's          KAM              0.70       122.50
               rejection of checks from vendors being presented to
               bank; Discussion with Receiver and hotel operators
               re: same.
12-Aug-16      Communications with Receiver regarding various         KAM              0.20        35.00
               banking matters.
12-Aug-16      Confer with D. McNeil regarding financial reporting    KAM              0.40        70.00
               for Jay Peak; Review reports re: same.
12-Aug-16      Conference with SEC re financials.                     MIG              0.20        79.00
12-Aug-16      Conference with accountant re financial reporting.     MIG              0.50       197.50
12-Aug-16      Reviewed and executed Wright employment contract.      MIG              0.60       237.00
12-Aug-16      Follow-up calls regarding brokers for ski operation.   ASR              1.50       592.50
16-Aug-16      Review delinquency notice from Marlin Leasing for      KAM              0.40        70.00
               copiers at GSI's offices; Telephone conference with
               Barbara Mungioli at Marlin Leasing regarding
               receivership.
16-Aug-16      Research status of tax filings and memos from          KAM              0.40        70.00
               accountant.
17-Aug-16      Conference with Burton of MEC Electric.                MIG              0.80       316.00
17-Aug-16      Corresponded with customer re family reunion.          MIG              0.20        79.00
17-Aug-16      Corresponded with Fead re snowmaking.                  MIG              0.20        79.00
18-Aug-16      Review documents on snowmaking.                        MIG              0.30       118.50
18-Aug-16      Corresponded with Fead re snowmaking.                  MIG              0.40       158.00
19-Aug-16      Conference with Endicott re Burke job creation and     MIG              0.40       158.00
               budget.
19-Aug-16      Corresponded with Ricardo Garboti re line of credit.   MIG              0.30       118.50
19-Aug-16      Review various Ironshore policies re: D&O and CG       JSR              1.30       513.50
               coverage.
23-Aug-16      Conference with Endicott re budget and IFS             MIG              0.30       118.50
               contracts.
23-Aug-16      Reviewed IFS contract.                                 MIG              0.50       197.50
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24-Aug-16      Corresponded with SEC and Centeno re reporting of        MIG              0.30       118.50
               financials.
24-Aug-16      Corresponded with Endicott re financial statements.      MIG              0.20        79.00
25-Aug-16      Review draft financial report prepared by Centeno for    KAM              0.30        52.50
               accuracy of information.
25-Aug-16      Meeting with F. Centeno to discuss financial             KAM              0.40        70.00
               reporting matters.
26-Aug-16      Reviewed spreadsheet received from Francisco.            MIG              0.30       118.50
26-Aug-16      Confer with Management re escrow agreement.              JML              0.20        79.00
30-Aug-16      Conference with Endicott and Dupris re accounting.       MIG              0.40       158.00
31-Aug-16      Conference with K. Matregrano re accounting.             MIG              0.30       118.50
31-Aug-16      Conference with City National re line of credit.         MIG              0.30       118.50
2-Sep-16       Conference with Wright re opening.                       MIG              0.20        79.00
2-Sep-16       Conference with Governor's office and Burke staff re     MIG              0.50       197.50
               opening.
2-Sep-16       Reviewed financials and corresponded with Endicott       MIG              0.40       158.00
               re same.
2-Sep-16       Conference with Sher re Burke opening.                   MIG              0.30       118.50
2-Sep-16       Numerous correspondence with State of Vermont re         MIG              0.50       197.50
               Burke opening.
2-Sep-16       Corresponded with Olson and Endicott re status.          MIG              0.30       118.50
7-Sep-16       Meeting with marketing manager at Burke                  MIG              0.40       158.00
8-Sep-16       Review and respond to Elander regarding request          JLH              0.20        79.00
               from AT&T.
9-Sep-16       Follow up on email from Elander and status of tenant     JLH              0.10        39.50
               responses.
9-Sep-16       Dealt with finalizing wedding escrow agreement.          KAM              0.20        35.00
12-Sep-16      Conference with Garbati re line of credit.               MIG              0.30       118.50
16-Sep-16      Corresponded with Endicott re utility deposit            MIG              0.20        79.00
19-Sep-16      Dealt with issue regarding fraudulent use of Jay Peak,   KAM              0.70       122.50
               Inc.'s taxpayer identification number by Jay
               Transportation, Inc. in connection with new Verizon
               account; Multiple communications with W. Auch of
               Verizon, C. Russell of Jay Peak, Inc.
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19-Sep-16      Correspond with C. Russell and S. Wright regarding        KAM              0.20        35.00
               filing of police report for fraudulent use of Jay Peak,
               Inc.'s taxpayer identification by Jay Transportation,
               Inc.
20-Sep-16      Perform accurint search and public records search for     KAM              0.80       140.00
               information on Jay Peak Transport, Inc. to see if its a
               related entity to Jay Peak, Inc.; Review and
               summarize search results and send email to S.
               Wright, T. Howell and C. Russell.
20-Sep-16      Correspond with G. Endicott regarding organization        KAM              0.20        35.00
               chart for insurance purposes; Follow up with
               Receiver re: same.
21-Sep-16      Receipt and review of Citibank account statements         KAM              0.20        35.00
               for March/April 2016 for accounts 5929 and 4153;
               Forward same to D. McNeil.
21-Sep-16      Analyze utility issues for call with Walter later this    SAM              1.30       513.50
               week.
22-Sep-16      Corresponded with Endicott re property appeal.            MIG              0.30       118.50
22-Sep-16      Conference with hearing officer re Burke appeal.          MIG              0.20        79.00
22-Sep-16      Multiple communications with Pieciak re: visa             JSR              0.40       158.00
               information and website.
22-Sep-16      Conference with H. Whipkey regarding coordination         KAM              0.70       122.50
               of responses to project RFE's.
22-Sep-16      Review email from K. Chandani-Simbeck of Klasko           KAM              0.10        17.50
               regarding response notice.
23-Sep-16      Corresponded with Endicott re cash needs.                 MIG              0.20        79.00
23-Sep-16      Conference with Emhad re K-1's.                           MIG              0.10        39.50
28-Sep-16      Dealt with account opening documents for new              KAM              0.40        70.00
               Burke Mountain Operating Company, Inc. account at
               People's Bank.
28-Sep-16      Correspond with T. Howell, S. Wright and C. Russel        KAM              0.30        52.50
               regarding Verizon fraud issue.
30-Sep-16      Corresponded with bank re line of credit.                 MIG              0.20        79.00
30-Sep-16      Conference with Endicott re status.                       MIG              0.20        79.00
4-Oct-16       Work on setting up user accounts for Leisure and Jay      KAM              0.70       122.50
               Peak representatives for Desjardin Bank accounts.
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4-Oct-16       Review payroll reports and discuss and prepare wire     KAM              0.80       140.00
               transfer requests to fund payroll as loan from
               Raymond James Settlement Funds.
4-Oct-16       Review police report filed with Vermont State Police    KAM              0.60       105.00
               by T. Howell of Jay Peak against Jay Peak
               Transportation company for improperly utilizing Jay
               Peak Inc.'s taxpayer ID number; Send email to
               Verizon to obtain credit for charges incurred by
               fraudulent company.
5-Oct-16       Conference with Endicott re budget.                     MIG              0.40       158.00
5-Oct-16       Meeting with managers at hotel.                         MIG              2.10       829.50
6-Oct-16       Meeting with bankers re properties and sales process.   MIG              6.20     2,449.00
6-Oct-16       Conference with management re status.                   MIG              0.50       197.50
7-Oct-16       Conference with Endicott re insurance.                  MIG              0.30       118.50
7-Oct-16       Correspond with A. Demers regarding wedding             KAM              0.40        70.00
               escrow agreement and deposits; Spoke with J. Levit
               re: same.
7-Oct-16       Attend to matters regarding wedding escrow              KAM              0.20        35.00
               agreement and deposits.
10-Oct-16      Confer regarding wedding escrow deposits.               KAM              0.10        17.50
10-Oct-16      Review correspondence re operations.                    JML              0.30       118.50
13-Oct-16      Telephone conference with A. Demirs regarding           KAM              0.20        35.00
               escrow deposits.
13-Oct-16      Review and discuss wedding deposit contract with M.     KAM              0.40        70.00
               Goldberg.
14-Oct-16      Attend to business administrative matters for M.        KAM              0.50        87.50
               Goldberg regarding 401k plan and accounting
               matters.
14-Oct-16      Correspond with H. Whipkey regarding escrowed           KAM              0.30        52.50
               investor funds for QBurke project; Communications
               with Receiver re: same.
14-Oct-16      Correspond with H. Whipkey to confirm JPBRP, LP         KAM              0.50        87.50
               escrowed funds; Review report on same;
               Communications with M. Goldberg re: same.
14-Oct-16      Multiple communications with People's Bank              KAM              0.30        52.50
               regarding escrowed funds for JPBRP, LP.
14-Oct-16      Conference with Graham re Burke lift and                MIG              0.80       316.00
               snowmaking.
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14-Oct-16      Conference with Endicott re Burke property appeal     MIG              0.30       118.50
               and finances.
14-Oct-16      Corresponded and reviewed pension documents.          MIG              0.60       237.00
14-Oct-16      Corresponded with Lee re ANC Bio escrows.             MIG              0.40       158.00
14-Oct-16      Corresponded with Finkleman re Burke escrow.          MIG              0.30       118.50
17-Oct-16      Telephone conferences with People's Bank regarding    KAM              0.20        35.00
               reconciliation for Jay Peak Biomedical escrowed
               funds.
18-Oct-16      Conference with M. Goldberg regarding wedding         KAM              0.20        35.00
               escrow deposits.
18-Oct-16      Work on opening new escrow account to hold            KAM              0.60       105.00
               wedding deposits.
18-Oct-16      Follow up with S. Chubb at People's Bank regarding    KAM              0.20        35.00
               backup documentation for funds held in Jay Peak
               Biomedical Research Escrow Account.
18-Oct-16      Conference with Matregrano re wedding deposits.       MIG              0.20        79.00
19-Oct-16      Correspond with D. McNeil regarding banking           KAM              0.50        87.50
               information needed on AnC Bio accounts to update
               financial reports; Work with J. Eagan at People's
               Bank regarding same; Prepare email to J. Robbins
               and Receiver regarding AnC Bio accounts subject to
               asset freeze but not a receivership entity.
20-Oct-16      Telephone conference with attorney for Jay Peak       KAM              0.20        35.00
               customer regarding refund of wedding deposit.
20-Oct-16      Review and respond to email from T. Coffin,           KAM              0.30        52.50
               People's United Bank's outside counsel, regarding
               Receiver's request for records to support escrowed
               funds.
21-Oct-16      Conference with J. Tschernenko re dispute with        JML              0.60       237.00
               vendor (.4); and follow up with receiver (.2).
24-Oct-16      Corresponded with Endicott re financials and review   MIG              0.40       158.00
               documents re taxes.
24-Oct-16      Prepare Escrow Deposits forms for wedding escrow      KAM              0.60       105.00
               checks to be deposited into new account;
               Communications with A. Kovacich and M. Cheung-
               Hayes re: same.
26-Oct-16      Telephone conference with K. Foster regarding         KAM              0.50        87.50
               partnership tax returns and status.
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26-Oct-16       Preparation of IRS Form 4506's - Request for          KAM                1.00       175.00
                Taxpayer Copy of Tax Returns for all partnerships
                for years 2011 through 2015.
26-Oct-16       Conference with Endicott re finances.                 MIG                2.60     1,027.00
26-Oct-16       Conference with Olson and Endicott re status of       MIG                0.60       237.00
                Burke and finances.
27-Oct-16       Reviewed financials.                                  MIG                0.40       158.00
28-Oct-16       Confer with conflicts counsel re vendor dispute.      JML                0.30       118.50
31-Oct-16       Conference re Argas issue.                            MIG                0.20        79.00
                      Subtotal for Code 503 BUSINESS OPERATIONS                        347.40   121,044.50

Task Code:      504 CASE ADMINISTRATION
13-Apr-16       Meeting in Miami re receivership with SEC and         MIG                2.10       829.50
                Court..
13-Apr-16       Conference with SEC re receivership.                  MIG                0.40       158.00
13-Apr-16       Conference with Schneider re receivership.            MIG                0.30       118.50
14-Apr-16       Numerous conferences with creditors.                  MIG                1.30       513.50
14-Apr-16       Conference with SEC re status of frozen assets.       MIG                0.20        79.00
14-Apr-16       Conference with Governor Shumlin re status of job     MIG                0.20        79.00
                creation.
14-Apr-16       Meetings with Jay Peak employees and creditors.       JSR                1.30       513.50
14-Apr-16       Multiple telephone conferences with SEC and           JSR                0.80       316.00
                Governor of Vermont.
14-Apr-16       Preparation of Notice of Appearance on behalf of      KAM                0.60       105.00
                Michael I. Goldberg, Receiver.
15-Apr-16       Numerous correspondence with creditors re status of   MIG                2.40       948.00
                case.
16-Apr-16       Corresponded with Vermont Attorney General re         MIG                0.40       158.00
                status.
16-Apr-16       Conference with creditor re EB-5 issues.              MIG                0.30       118.50
17-Apr-16       Conference with Levit, Miller, Robbins and Surgeon    MIG                0.50       197.50
                re motions.
17-Apr-16       Conference with State of Vermont officials and        MIG                1.60       632.00
                drafted joint interest agreement.
17-Apr-16       Corresponded with Robbins re joint interest           MIG                0.30       118.50
                agreement.
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17-Apr-16      Research case law on joint interest agreement.              MIG              1.60       632.00
18-Apr-16      Conference with construction company general                MIG              0.60       237.00
               counsel re status of payment.
18-Apr-16      Numerous calls with creditors and their attorneys re        MIG              3.40     1,343.00
               status of SEC case.
18-Apr-16      Conference with State of Vermont authorities re             MIG              0.40       158.00
               commingling and joint interest agreement.
18-Apr-16      Conference with Schneider re 754's and website.             MIG              0.40       158.00
18-Apr-16      Reviewed and executed joint interest agreement.             MIG              0.60       237.00
18-Apr-16      Analyze and organize various case court records and         KAM              1.80       315.00
               filings.
18-Apr-16      Draft initial letter to investors regarding receivership.   KAM              0.90       157.50
18-Apr-16      Work on website design issues and content;                  KAM              1.40       245.00
               Telephone conferences with outside IT vendor and A.
               Salazar re: same; Work with Akerman's IT
               department regarding setup up new email address for
               investor communications.
18-Apr-16      Correspond with team members regarding                      KAM              0.40        70.00
               receivership billing guidelines and administrative
               matters.
18-Apr-16      Update master contact list with additional third party      KAM              0.90       157.50
               information (.3); Work on general administrative
               matters pertaining to investor communications (.2);
               Spoke with claims agent regarding services (.4).
19-Apr-16      Prepare Notices of Appearance on behalf of J.               KAM              0.60       105.00
               Robbins and N. Surgeon.
19-Apr-16      Continue communications with outside IT vendor to           KAM              0.70       122.50
               work through website issues and registration form
               content.
19-Apr-16      Worked on website updates and content.                      KAM              1.60       280.00
19-Apr-16      Strategy conferences with attorneys regarding               KAM              0.80       140.00
               emergency motions, bank freezes, 754 filings and
               case management matters.
19-Apr-16      Telephone conference with B. Stillman at Kapila             KAM              0.30        52.50
               regarding redirect of investor website to receivership
               website; Review report re: same.
19-Apr-16      Review and analyze updated content of receivership          KAM              1.60       280.00
               website for accuracy of information and send email to
               IT vendor with additional recommend changes.
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19-Apr-16      Numerous correspondence with investors.                  MIG              6.00     2,370.00
19-Apr-16      Multiple communications with Schneider, Goldberg,        JSR              2.80     1,106.00
               Levenson and Kellogg re: accounts, service of
               Receivership Order, cash flow issues, website issues.
19-Apr-16      Follow up conferences and correspondence with            JML              1.60       632.00
               paralegal re retention, case management and
               emergency matters.
20-Apr-16      Multiple conferences with Receiver re Receivership       JML              0.40       158.00
               matters.
20-Apr-16      Multiple communications with Kellogg, Schneider          JSR              0.60       237.00
               and Goldberg re: Raymond James issues.
20-Apr-16      Multiple communications with Goldberg and                JSR              0.70       276.50
               Surgeon re: hearing on Emergency Motions,
               expansion of receivership.
20-Apr-16      Review Motion to Continue Show Cause Hearing and         JSR              0.30       118.50
               discuss same with Goldberg.
20-Apr-16      Multiple communications with Goldberg and Martin         JSR              0.40       158.00
               re: receivership entities and administrative issues.
20-Apr-16      Follow up with IT vendor regarding status of website     KAM              0.20        35.00
               going live.
20-Apr-16      Work on drafting automatic reply for email               KAM              1.10       192.50
               messages; Multiple communications with IT to
               implement and test same.
20-Apr-16      Attend to numerous emails/calls from investors,          KAM              1.30       227.50
               creditors and attorneys regarding status of
               receivership case.
20-Apr-16      Revise initial letter to investors based on attorney     KAM              0.40        70.00
               comment.
20-Apr-16      Prepare receipt message for investors to receive after   KAM              0.40        70.00
               Registration Form is completed; Correspond with IT
               vendor re: same.
20-Apr-16      Arrange for additional court filings to be posted on     KAM              0.30        52.50
               Receiver's website.
20-Apr-16      Telephone conference with A. Salazar regarding           KAM              0.30        52.50
               additional 754 filings needed in New Hampshire,
               Massachusetts and Maine.
21-Apr-16      Review Frequently Asked Questions and discuss            KAM              0.50        87.50
               proposed updates based on communications received
               from investors.
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21-Apr-16      Dealt with investor communications.                      KAM              1.20       210.00
21-Apr-16      Communications with IT vendor to correct problems        KAM              0.30        52.50
               with Registration Form.
21-Apr-16      Finalize letter to investors and arrange for web         KAM              0.70       122.50
               posting.
21-Apr-16      Prepare voicemail recordings for 800 line; Work with     KAM              1.50       262.50
               telecommunications vendor regarding mailbox setup
               issues.
21-Apr-16      Receipt and review of correspondence from                KAM              0.20        35.00
               ShenLaw, LLC requesting refund on behalf of
               investor.
21-Apr-16      Multiple communications with Goldberg, Schneider,        JSR              1.60       632.00
               Surgeon and Martin re: administration, injunction in
               receivership order and stay of third party, cases,
               service issues.
21-Apr-16      Reviewed and revised declaration.                        MIG              1.60       632.00
21-Apr-16      Numerous conferences with SEC re hearing and other       MIG              0.80       316.00
               matters.
21-Apr-16      Numerous correspondence with investors and               MIG              4.10     1,619.50
               subcontractors re status of payment and receivership.
21-Apr-16      Conference with potential class action attorneys re      MIG              0.50       197.50
               background facts.
21-Apr-16      Conference with Kim Matregrano re: initial set-          TR               0.20        35.00
               up/administration of matter.
21-Apr-16      Review and edit letter to investors.                     JML              0.20        79.00
21-Apr-16      Prepare correspondence to all professionals re billing   JML              0.60       237.00
               requirements.
22-Apr-16      Multiple meetings with receiver and Surgeon re:          JSR              1.40       553.00
               administration and litigation issues.
22-Apr-16      Multiple communications with Goldberg and Gordon         JSR              0.70       276.50
               re: Quiros' position on pending Motions.
22-Apr-16      Communicate with Goldberg and Kapila re: Q               JSR              0.40       158.00
               Resorts tax issues.
22-Apr-16      Receipt and review of confirmation of additional 754     KAM              0.20        35.00
               filings in Maine, Massachusetts and New Hampshire.
22-Apr-16      Prepare draft reply to investors and send to Receiver    KAM              0.40        70.00
               for approval.
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22-Apr-16      Telephone conference with A. Salazar regarding            KAM              0.20        35.00
               filing of Order Expanding Receivership in Vermont.
22-Apr-16      Attend to numerous calls and emails from investors,       KAM              2.50       437.50
               creditors and news reporters.
24-Apr-16      Review various pleadings, motions, and news               KAM              1.50       262.50
               releases for case background information in
               preparation of calls with investors and website
               updates; Organize hard copy and electronic records.
24-Apr-16      Coordinate mailbox setup for N. Surgeon to receive        KAM              0.50        87.50
               investor email inquiries for response (.3); Correspond
               with N. Surgeon re: same and need for updates to
               FAQ's to keep investors informed of case status (.2).
24-Apr-16      Dealt with several emails from investors and              KAM              0.60       105.00
               potential creditors regarding various issues.
25-Apr-16      Respond to numerous emails and telephone calls            KAM              1.60       280.00
               from investors, vendors and interested parties.
25-Apr-16      Communicate with Schneider re: 754 filings.               JSR              0.20        79.00
25-Apr-16      Numerous correspondence with creditors.                   MIG              3.20     1,264.00
26-Apr-16      Numerous correspondence with investors.                   MIG              2.60     1,027.00
26-Apr-16      Meeting with Stenger and Martinez.                        MIG              1.00       395.00
26-Apr-16      Travel to and meeting with Newport Mayor, City            MIG              1.50       592.50
               Manager and Treasurer re doe twin project.
26-Apr-16      Meeting at Burke Hotel with HOA and potential             MIG              3.20     1,264.00
               buyers.
26-Apr-16      Meeting with attorney for Jay Peak mark Sindler.          MIG              1.20       474.00
26-Apr-16      Multiple conferences with paralegal re updating case      JML              0.40       158.00
               style and service list.
26-Apr-16      Telephone conference with A. Salazar regarding re-        KAM              0.40        70.00
               filing of miscellaneous case in Southern District of
               New York; Review documents to be signed by M.
               Goldberg for accuracy of information.
26-Apr-16      Prepare draft suggestion of receivership at the request   KAM              0.40        70.00
               of M. Goldberg and send copy to M. Scribner.
26-Apr-16      Work on master investor and potential creditor            KAM              0.90       157.50
               contact list; Work on additional changes to
               registration form.
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26-Apr-16      Telephone conferences with numerous investors,             KAM              3.30       577.50
               creditors and interested parties regarding registration,
               investment and immigration concerns, ski passes,
               wedding deposit; operations, and billing issues.
27-Apr-16      Dealt with numerous communications from vendors,           KAM              0.80       140.00
               sub-contractors, investors regarding case status.
27-Apr-16      Meet with two walk-in investors to discuss                 KAM              0.60       105.00
               investment and case status; Prepare notes of meeting
               and forward to M. Goldberg for review.
27-Apr-16      Provide update to Receiver regarding investor and          KAM              0.50        87.50
               creditor inquiries and follow up with matters.
27-Apr-16      Work on additional website updates.                        KAM              0.40        70.00
27-Apr-16      Numerous correspondence with creditors re status.          MIG              2.30       908.50
27-Apr-16      Prepared for and attended meeting with employees           MIG              1.10       434.50
               and governor.
27-Apr-16      Prepared for and attended press conference with            MIG              1.40       553.00
               governor.
27-Apr-16      Preparation of draft Suggestion of Receivership.           TR               0.80       140.00
27-Apr-16      Telephone conference with Nicholson / Kevin                JSR              0.10        39.50
               Macnamrara.
27-Apr-16      Multiple communications with Goldberg, Levit and           JSR              0.80       316.00
               Matregrano re: claims for investors and vendors and
               website.
28-Apr-16      Communicate with investor Brito Leon (.4). Review          JSR              0.70       276.50
               correspondence from counsel for Colchester and
               Communicate with Goldberg re: same (.3)
28-Apr-16      Telephone conference with Vermont clerk re: filing         TR               0.80       140.00
               Suggestion of Receivership and obtaining docket;
               Revise Suggestion of Receivership.
28-Apr-16      Conference with state official re EB-5 issues and          MIG              0.40       158.00
               potential purchaser of Newport property.
28-Apr-16      Numerous correspondence with investors re status.          MIG              4.50     1,777.50
28-Apr-16      Conference with attorneys re bank issues.                  MIG              0.40       158.00
28-Apr-16      Conference with legislature re possible revisions to       MIG              1.10       434.50
               EB-5 laws.
28-Apr-16      Conference with SEC re preliminary injunction.             MIG              0.30       118.50
28-Apr-16      Meeting with investor and lawyer re status.                MIG              0.80       316.00
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28-Apr-16      Communications with S. Goulette at People's United      KAM              0.30        52.50
               Bank regarding receivership accounts and wiring
               instructions.
28-Apr-16      Discuss accounting issues with M. Goldberg.             KAM              0.20        35.00
28-Apr-16      Review and respond to numerous investor and third       KAM              2.20       385.00
               party communications regarding receivership; Update
               Receiver on various issues noted.
28-Apr-16      Work on additional website updates to include new       KAM              0.80       140.00
               additional receivership entities and related filings.
28-Apr-16      Retrieve message from US Government regarding           KAM              0.20        35.00
               records request; Correspond with M. Goldberg re:
               same.
28-Apr-16      Telephone conferences with People's United Bank         KAM              0.70       122.50
               and G. Endicott regarding funds transfer; Prepare and
               send wire instructions.
29-Apr-16      Assemble various documents to be posted on website      KAM              1.20       210.00
               and covey to webmaster; Work on editing of website
               main page to include language for additional
               receivership entities.
29-Apr-16      Follow up with G. Endicott regarding obtaining          KAM              0.20        35.00
               corporate records.
29-Apr-16      Work on identifying and downloading additional          KAM              0.80       140.00
               documents for posting on website; Prepare list for
               webmaster regarding same.
29-Apr-16      Work on inputting investor and creditor information     KAM              1.40       245.00
               in master contact list; Attend to organization of
               mailings and emails received from creditors.
29-Apr-16      Conference with Craig Rasile re investors.              MIG              0.50       197.50
29-Apr-16      Numerous conference with creditors re SEC case and      MIG              3.10     1,224.50
               EB-5 issues.
29-Apr-16      Corresponded re Quiros documents.                       MIG              0.20        79.00
29-Apr-16      Corresponded with Molton re investors.                  MIG              0.20        79.00
29-Apr-16      Conference with Stenger re home.                        MIG              0.10        39.50
29-Apr-16      Conference with David Snedeker, Director of N.E.        MIG              0.50       197.50
               Vermont Development Association.
29-Apr-16      Conference with Senator Leahy's office re EB-5          MIG              0.90       355.50
               issues.
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29-Apr-16      Multiple conferences re outstanding matters and          JML              1.70       671.50
               anticipated matters.
30-Apr-16      Numerous conference with creditors re EB-5 issues.       MIG              1.80       711.00
1-May-16       Attend to investor and creditors inquiries; Correspond   KAM              0.50        87.50
               with Receiver re same.
1-May-16       Attend to banking matters and follow up with             KAM              0.40        70.00
               Receiver re: same.
1-May-16       Follow up with Receiver regarding Quiros request for     KAM              0.20        35.00
               access of personal information and documents.
1-May-16       Review docket and identify filings to be posted on       KAM              1.20       210.00
               Receiver's website; Download filings and correspond
               with webmaster re: same.
1-May-16       Edit auto-reply for messages and arrange for update      KAM              0.60       105.00
               of same.
1-May-16       Work on analysis and organization of case materials      KAM              2.30       402.50
               and information.
1-May-16       Research status of all miscellaneous case filings        KAM              1.70       297.50
               pursuant to 28 U.S.C. 754; Prepare index for same;
               Correspond with A. Salazar and J. Schneider re:
               deadline for filing of Order Expanding Receivership.
2-May-16       Follow with Receiver regarding accounting matters.       KAM              0.20        35.00
2-May-16       Strategy conferences with J. Levit and Receiver          KAM              0.50        87.50
               regarding various matters and deadlines.
2-May-16       Telephone conference with S. Traband regarding           KAM              0.20        35.00
               Miami office and Northeast Contract Services
               Documents.
2-May-16       Attend to investor and creditor voicemail and email      KAM              0.60       105.00
               inquiries.
2-May-16       Upload and transmit tax files to government at the       KAM              0.40        70.00
               request of M. Goldberg.
2-May-16       Follow up with A. Salazar regarding supplemental         KAM              0.30        52.50
               filings in Maine and Massachusetts.
2-May-16       Correspond with L. Button at Jay Peak regarding          KAM              0.80       140.00
               limited partnership agreements; Upload documents;
               Prepare attorney binder and index.
2-May-16       Confer with Receiver regarding website postings;         KAM              0.40        70.00
               Communications with webmaster regarding website
               security.
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2-May-16      Prepare additional filing for posting on website.        KAM              0.40        70.00
2-May-16      Update Master Contact and Service Lists.                 KAM              0.40        70.00
2-May-16      Dealt with account setup matters for People's Bank       KAM              0.30        52.50
              accounts.
2-May-16      Conference with Levenson re hearing on preliminary       MIG              0.20        79.00
              injunction.
2-May-16      Conference with Gorda re EB-5 issues.                    MIG              0.40       158.00
2-May-16      Meeting with Matregrano and Levit to organize            MIG              0.50       197.50
              matters.
2-May-16      Corresponded with Lizzy Burton and reviewed              MIG              1.10       434.50
              documents on EB-5 status received from Lizzy.
2-May-16      Correspondence with creditors and their attorneys.       MIG              1.70       671.50
2-May-16      Finalize Motion to be Authorized Signatory and           JSR              0.70       276.50
              proposed Order.
2-May-16      Strategy conferences with Receiver and paralegal.        JML              0.40       158.00
2-May-16      Research deadlines and prepare report, confer with       JML              2.80     1,106.00
              paralegal.
2-May-16      Revise and edit motion re access / signatory authority   SAM              2.50       987.50
              of subsidiary accounts and draft proposed order for
              same.
3-May-16      Multiple conferences with Receiver and paralegal re      JML              0.70       276.50
              case administration.
3-May-16      Numerous correspondence with investors.                  MIG              3.40     1,343.00
3-May-16      Conference with Steve Olson re payroll.                  MIG              0.40       158.00
3-May-16      Conference with Trini Brossard re airport.               MIG              0.40       158.00
3-May-16      Conference with loan broker and reviewed due             MIG              1.20       474.00
              diligence file.
3-May-16      Conference with SEC re hearing.                          MIG              0.40       158.00
3-May-16      Corresponded with Beshora re immigration issues.         MIG              0.20        79.00
3-May-16      Corresponded with Rasile re clients' EB-5 issues.        MIG              0.20        79.00
3-May-16      Correspond with A. Salazar regarding 754 filings.        KAM              0.20        35.00
3-May-16      Attend to case administration matters.                   KAM              0.80       140.00
3-May-16      Arrange for execution of additional People's Bank        KAM              0.50        87.50
              account opening documents by Receiver for new
              accounts; Correspond with J. Eagan re: same.
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3-May-16      Receipt and review of CitiBank's Unopposed Motion      KAM              0.20        35.00
              to Intervene For Limited Purposes of Protecting
              Interest In Pledged Accounts And Other Depositary
              Accounts and attached exhibits.
3-May-16      Receipt and review of Citibank's Motion to Intervene   KAM              0.30        52.50
              and Notice of Appearance.
3-May-16      Prepare exhibits for M. Goldberg.                      KAM              0.40        70.00
3-May-16      Work with word processing inputting contact            KAM              0.40        70.00
              information received from investors and potential
              creditors into master contact list.
3-May-16      Update attorney binder and prepare index.              KAM              0.60       105.00
3-May-16      Attend to voicemail and email inquiries from           KAM              0.70       122.50
              investors and potential creditors.
3-May-16      Work on release of frozen funds pursuant to Court's    KAM              0.20        35.00
              Order Granting Receiver's Motion to be Authorized
              Signatory and for Access and Control of
              Receivership Entity Subsidiary Accounts.
4-May-16      Telephone conference with D. Hauer, Esquire            KAM              0.20        35.00
              regarding case status.
4-May-16      Download and organize records from DropBox             KAM              0.80       140.00
              produced by Sazer.
4-May-16      Work on matters regarding updated of Jay Peak          KAM              0.90       157.50
              accounts at Heartland Payment Systems re: credit
              card payment processing.
4-May-16      Review and redact Heartland contract (.3); Confer      KAM              0.50        87.50
              with J. Levit and Mr. Goldberg regarding same (.2).
4-May-16      Attend to numerous calls and emails from investors     KAM              0.80       140.00
              and creditors.
4-May-16      Multiple calls to and from Heartland representatives   KAM              0.40        70.00
              regarding contract.
4-May-16      Prepared for and attended meeting in Miami with        MIG              3.20     1,264.00
              Schnedier, Schnapp and Bloom re Citicorp issues.
4-May-16      Prepared for and attended investor meeting with        MIG              1.30       513.50
              Jarvo.
4-May-16      Prepared for and attended investor meeting with        MIG              1.20       474.00
              Owen Kahn and client.
4-May-16      Conference with attorney Snyder and clients.           MIG              0.20        79.00
4-May-16      Conference with Deguarte re EB-5 and assets.           MIG              0.30       118.50
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4-May-16      Conference with Gulisano re accounting and            MIG              0.40       158.00
              declaration.
4-May-16      Conference with SEC re preliminary injunction         MIG              0.40       158.00
              hearing.
4-May-16      Corresponded with investors to answer their emails.   MIG              1.20       474.00
4-May-16      Multiple communications with Goldberg and Miller      JSR              0.40       158.00
              re: Kelly documents.
4-May-16      Review and analyze investor emails to prepare         NSS              3.30       858.00
              frequently asked questions.
5-May-16      Multiple communications with Eagan and Pieciak re:    JSR              0.70       276.50
              various bank and account transfer issues.
5-May-16      Conference with Martinez re Stenger.                  MIG              0.20        79.00
5-May-16      Corresponded with vendor re goods.                    MIG              0.20        79.00
5-May-16      Reviewed and executed tax documents.                  MIG              0.40       158.00
5-May-16      Conference with Rasile and Beschart re immigration    MIG              1.40       553.00
              issues.
5-May-16      Conference with Tatge re Burke hotel.                 MIG              0.30       118.50
5-May-16      Meeting with Korda re clients' USCIS issues.          MIG              1.00       395.00
5-May-16      Conference with Chavies re injunction.                MIG              0.30       118.50
5-May-16      Conference with Tatge re Burke hotel.                 MIG              0.40       158.00
5-May-16      Corresponded with numerous investors re status EB-5   MIG              1.40       553.00
              issues.
5-May-16      Conference with Brossard re airport.                  MIG              0.30       118.50
5-May-16      Telephone conference with investors and counsel for   KAM              0.40        70.00
              investors regarding case status
5-May-16      Confer with N. Surgeon regarding updates to           KAM              0.30        52.50
              Frequently Asked Questions and case updates.
6-May-16      Work on exhibits for hearing.                         KAM              0.80       140.00
6-May-16      Confer with S. Miller regarding bank subpoenas.       KAM              0.30        52.50
6-May-16      Telephone conference with accountants regarding       KAM              0.30        52.50
              bank accounts and records.
6-May-16      Assemble documents for review by attorney in          KAM              0.60       105.00
              preparation for hearing.
6-May-16      Revise master account list to be used as exhibit at   KAM              1.30       227.50
              hearing based on attorney comment.
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6-May-16       Telephone conferences with investors regarding case     KAM              0.50        87.50
               status.
6-May-16       Conference with Gulisano re financials.                 MIG              0.30       118.50
6-May-16       Numerous correspondence and calls with investors.       MIG              2.50       987.50
6-May-16       Conference with Levenson re accounts.                   MIG              0.30       118.50
6-May-16       Conference with Matregrano re accounts.                 MIG              0.60       237.00
6-May-16       Multiple communications with Eagan re: banking          JSR              0.40       158.00
               issues.
6-May-16       Multiple communications with Goldberg and               JSR              0.40       158.00
               Schneider re: D&O policy.
6-May-16       Communicate with Goldberg and Miller re: Third          JSR              0.50       197.50
               Party Subpoenas.
6-May-16       Confer with Receiver re professonal's rates and other   JML              0.20        79.00
               administrative matters.
6-May-16       Review and revise report.                               JML              2.00       790.00
7-May-16       Revise and redact exhibits for hearing.                 KAM              1.70       297.50
9-May-16       Work on downloading and organization of Jay Peak        KAM              0.60       105.00
               insurance policies.
9-May-16       Receipt and review of Citibank's Motion to Intervene    KAM              0.40        70.00
               and exhibits.
9-May-16       Prepare email to J. Schneider and A. Salazar            KAM              0.40        70.00
               regarding status of Raymond James accounts (.1);
               Update account spreadsheet to reflect current bank
               balances (.3).
9-May-16       Multiple communications with Goldberg re: D&O           JSR              0.40       158.00
               policy, hearing on Motion to Lift Asset Freeze
9-May-16       Prepared for and attended preliminary injunctive        MIG              7.10     2,804.50
               hearing.
9-May-16       Numerous emails with contractors and investors.         MIG              0.70       276.50
10-May-16      Corresponded with investors re preliminary              MIG              0.80       316.00
               injunction hearing.
10-May-16      Follow up re attorney assignments.                      JML              0.40       158.00
10-May-16      Telephone conference with investor regarding case       KAM              0.30        52.50
               status.
10-May-16      Review incoming mail; Organize files and records.       KAM              1.30       227.50
10-May-16      Assist Receiver with records in preparation for         KAM              0.50        87.50
               preliminary injunction hearing.
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11-May-16      Respond to investor email and voicemail inquiries         KAM              1.30       227.50
               regarding case status (.8); Confer with Receiver on
               various matters re: same (.4); Contact webmaster for
               update to investor database (.1).
11-May-16      Arrange for execution of People's Bank signature          KAM              0.40        70.00
               cards by Receiver and overnight to J. Eagan.
11-May-16      Numerous calls and meetings with investors.               MIG              3.60     1,422.00
11-May-16      Numerous conferences with interested parties re           MIG              2.10       829.50
               status.
12-May-16      Meeting with Del Castillo and attorneys.                  MIG              1.00       395.00
12-May-16      Conference with Trini Brossard.                           MIG              0.20        79.00
12-May-16      Numerous conference with investors.                       MIG              2.80     1,106.00
12-May-16      Strategize and analyze private rights of action for EB-   NSS              0.50       130.00
               5 program violations.
12-May-16      Outline EB5 issues and concerns.                          JLR              1.50       592.50
12-May-16      Review and sort incoming mail.                            KAM              0.20        35.00
12-May-16      Telephone conference with S. McCormick, Esquire           KAM              0.30        52.50
               for Vermont Electric regarding transfer of services.
12-May-16      Follow up call with S. McCormick at Vermont               KAM              0.20        35.00
               Electric regarding transfer fee charges.
12-May-16      Attend to numerous inquires from investor and their       KAM              1.40       245.00
               attorneys.
13-May-16      Telephone conference with S. McCormick for                KAM              0.20        35.00
               Vermont Electric regarding new account issues.
13-May-16      Draft and send email correspondence to H. Treadu,         KAM              0.40        70.00
               Esquire regarding receivership stay.
13-May-16      Update Receiver on communications with electric           KAM              0.20        35.00
               company.
13-May-16      Review email from K. McCoy regarding inventory of         KAM              0.30        52.50
               imaged devices for possible production to USDOJ
               and cost estimate.
13-May-16      Review and monitor incoming email from investors          KAM              1.90       332.50
               and other parties; Attend to investor calls; Work on
               file organization and updates.
13-May-16      Corresponded with creditors and contractors re            MIG              2.50       987.50
               payment and finishing stateside.
13-May-16      Multiple communications with Eagan (People's              JSR              0.70       276.50
               Bank) re: release of funds and review documents.
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16-May-16      Prepare for and attend strategy call with Goldberg,     JSR              0.80       316.00
               Kellogg and Schneider.
16-May-16      Multiple communications with Goldberg and               JSR              1.30       513.50
               Dreifuss re: D&O Policy and review applications and
               Policy provided by Dreifuss.
16-May-16      Drafted investor update report.                         MIG              2.40       948.00
16-May-16      Conference with investors re EB-5 issues.               MIG              1.80       711.00
16-May-16      Reviewed correspondence re Raymond James.               MIG              0.30       118.50
16-May-16      Attend to voicemails and emails left on Receiver's      KAM              1.50       262.50
               800 line and general mailbox; Receive and place calls
               to several investors, creditors and attorneys.
16-May-16      Receipt and review of correspondence from Vermont       KAM              0.20        35.00
               Labor Board regarding 401k plan; Discuss with M.
               Goldberg.
17-May-16      Telephone conferences with investors and creditors;     KAM              1.60       280.00
               Confer with Receiver regarding investor immigration
               concerns.
17-May-16      Review and respond to email to J. Burns, Esquire in     KAM              0.20        35.00
               response to inquiry into receivership case.
17-May-16      Receipt and review of correspondence and                KAM              0.20        35.00
               attachments from Black River Design regarding
               outstanding claim for services.
17-May-16      Meeting with Bill and Andy Steiger.                     MIG              2.00       790.00
17-May-16      Finished draft of report to investors.                  MIG              1.50       592.50
17-May-16      Reviewed Eb-5 documents.                                MIG              0.80       316.00
17-May-16      Numerous correspondence with creditors.                 MIG              1.50       592.50
17-May-16      Multiple communications with Eagan and Goldberg         JSR              0.70       276.50
               re: AnCBio escrow.
17-May-16      Respond to Multiple inquiries re form of notice re      JML              0.30       118.50
               water authority.
17-May-16      Respond to status inquiries.                            JML              0.60       237.00
18-May-16      Review D&O Policy and draft demand to Ironshore         JSR              1.40       553.00
               (1.2). Communicate with Dreifuss re; same (.2)
18-May-16      Meet developer and city officials.                      MIG              1.50       592.50
18-May-16      Numerous correspondence with investors.                 MIG              1.40       553.00
18-May-16      Return calls and emails to investor/creditors.          KAM              0.80       140.00
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18-May-16      Attend call with L. Button and M. Goldberg to           KAM              0.20        35.00
               discuss immigration records.
18-May-16      Review and organize email correspondence from           KAM              0.20        35.00
               creditors.
18-May-16      Monitor investor emails and communicate issues to       KAM              0.30        52.50
               Receiver.
18-May-16      Organize case documents and filings.                    KAM              0.60       105.00
19-May-16      Attend to email and voicemail inquiries from            KAM              0.50        87.50
               investors and other parties regarding receivership
               status.
19-May-16      Receipt and review of memo from S. Traband              KAM              0.10        17.50
               regarding GSI mail and equipment at Miami office.
19-May-16      Meet with regional center.                              MIG              1.00       395.00
19-May-16      Work on plane corresponding with investors.             MIG              3.50     1,382.50
20-May-16      Numerous correspondence with creditors re status of     MIG              1.60       632.00
               case.
20-May-16      Numerous correspondence re Tram contract.               MIG              0.60       237.00
20-May-16      Multiple communications with Eagan re: investor         JSR              0.70       276.50
               inquiries and escrow funds, indemnification.
20-May-16      Review website; assemble documents for updating,        KAM              0.40        70.00
               and correspond with webmaster re: same.
20-May-16      Update log with investors contact information           KAM              0.70       122.50
               received (.2); Attend to phone calls and emails (.5).
23-May-16      Dealt with several calls and email inquiries from       KAM              0.80       140.00
               investors and interested parties regarding case
               matters.
23-May-16      Conference with Fulham, Moulton, Stenger and            MIG              0.60       237.00
               Button re EB-5 issues.
23-May-16      Numerous correspondence with investors.                 MIG              2.20       869.00
24-May-16      Corresponded with Vermont airport executives.           MIG              0.30       118.50
24-May-16      Reviewed and revised EB-5 letter to USCIS and           MIG              1.80       711.00
               correspondence with Fullaim and Moulton.
24-May-16      Communicate with Gordon re: insurance issues.           JSR              0.30       118.50
24-May-16      Review and analyze Ironshore coverage position and      JSR              1.30       513.50
               confer with Goldberg re: same.
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24-May-16      Confer with Receiver regarding investor issues and      KAM              0.80       140.00
               responses to same (.3); Dealt with multiple
               communications from investors (.5).
25-May-16      Corresponded with Moulton EB-5 issues.                  MIG              0.30       118.50
25-May-16      Conference with Barnett re meeting.                     MIG              0.10        39.50
25-May-16      Corresponded with investors re status of case.          MIG              1.30       513.50
25-May-16      Drafted letter to investors and conference with         MIG              1.60       632.00
               Stenger.
25-May-16      Deal with Bill Kelly subpoena and getting copy to       SAM              0.20        79.00
               Haas Hatic after agreement to accept service.
26-May-16      Dealt with Stenger re EB-5 issue.                       MIG              0.20        79.00
26-May-16      Spoke with Scott Joseph re 829 petition.                MIG              0.20        79.00
26-May-16      Corresponded with Kapila re status call on forensic     MIG              0.20        79.00
               report.
26-May-16      Dealt with US Attorney request for documents.           MIG              0.30       118.50
26-May-16      Corresponded with Traband re documents.                 MIG              0.30       118.50
26-May-16      Conference with Martin re filing.                       MIG              0.10        39.50
26-May-16      Corresponded with Stenger re snow making                MIG              0.30       118.50
               equipment.
26-May-16      Conference with Thomas David re investor.               MIG              0.20        79.00
26-May-16      Conference with investor re Felize re EB-5 issue.       MIG              0.20        79.00
26-May-16      Meeting with Juan Hinestrosa.                           MIG              0.60       237.00
26-May-16      Meeting with investor Pharm.                            MIG              0.50       197.50
26-May-16      Meeting with investor Barnett.                          MIG              0.50       197.50
26-May-16      Multiple communications with Goldberg, Kapila and       JSR              0.40       158.00
               Schneider re: forensic reports.
26-May-16      Return investor and sub-contractor calls and e-mails.   JSR              1.40       553.00
26-May-16      Meeting with Jim Barnett (investor).                    JSR              0.50       197.50
26-May-16      Telephone conference with S. Waller of Nate Leasing     KAM              0.30        52.50
               regarding Jay Peak's financing agreement; Update
               Receiver regarding same.
26-May-16      Review and analyze business records for Jay             KAM              1.10       192.50
               Construction Management Inc. and SEC exhibits to
               obtain information needed to open new account at
               People's United Bank; Review and respond to email
               communications form G. Endicott re: same.
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26-May-16      Confer with M. Goldberg on status of projects for          KAM              0.30        52.50
               purposes of updating investors who call for case
               status.
26-May-16      Review docket and various court filings to ascertain       KAM              0.90       157.50
               documents to be posted on Receiver's website in an
               effort to update investors and creditors of case status;
               Assemble and forward documents to webmaster for
               posting.
26-May-16      Prepare email to D. Gordon regarding Admiral               KAM              0.20        35.00
               Insurance Cancellation Notice for GSI of Dade
               County policy.
27-May-16      Continue to review court filings to determine              KAM              0.30        52.50
               documents for posting on Receiver's website.
27-May-16      Communications with investors regarding case status.       KAM              0.50        87.50
27-May-16      Review and edit draft status report to investors.          KAM              0.60       105.00
27-May-16      Telephone with representatives at Desjardins Bank          KAM              0.10        17.50
               regarding status of liquidation of account and
               updating signatories.
27-May-16      Conference with John Eggleston re property taxes.          MIG              0.50       197.50
27-May-16      Conference call with US Attorney.                          MIG              0.40       158.00
27-May-16      Conference with Matregrano re servers.                     MIG              0.30       118.50
27-May-16      Numerous calls with investors re status of case.           MIG              1.60       632.00
27-May-16      Conference with airport authorities.                       MIG              0.30       118.50
31-May-16      Reviewed proposed findings.                                MIG              1.80       711.00
31-May-16      Conference with numerous investors.                        MIG              2.60     1,027.00
31-May-16      Communicate with Goss re: Nate Leasing payments.           JSR              0.20        79.00
31-May-16      Review of People's United Bank's response to               KAM              0.20        35.00
               investor inquiries regarding escrowed funds.
31-May-16      Commence preparation of Master Document Index.             KAM              0.80       140.00
31-May-16      Telephone conference with Jay Peak consumer                KAM              0.20        35.00
               regarding seasonal ski passes and lodging.
31-May-16      Attend to matters regarding website updates.               KAM              0.40        70.00
1-Jun-16       Receipt of email from Desjardin Bank regarding             KAM              0.20        35.00
               confirmation of amount of funds transferred to
               Receiver and notify individuals for posting purposes.
1-Jun-16       Work on updates to be posted to Receiver's website         KAM              0.40        70.00
               to keep investor's informed of case status.
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1-Jun-16      Performed records management regarding documents       KAM              0.60       105.00
              produced by Pershing and Merrill Lynch.
1-Jun-16      Conference with potential vendor to discuss software   KAM              0.30        52.50
              for claims administration.
1-Jun-16      Review and analysis of new account opening             KAM              1.30       227.50
              requirements from People's Bank for Jay
              Construction; Work on assembly of documents and
              information required by bank to open new account.
1-Jun-16      Prepare escrow deposit forms for incoming wires;       KAM              0.50        87.50
              Update asset chart to reflect funds received.
1-Jun-16      Prepare for and attend Jay Peak status call with       JSR              0.70       276.50
              receiver, accountants and attorneys.
1-Jun-16      Correspondence with investors.                         MIG              1.40       553.00
1-Jun-16      Corresponded with Stenger re meeting.                  MIG              0.20        79.00
1-Jun-16      Conference with Kapila, Schneider , McCoy and          MIG              0.60       237.00
              Robbins to review status.
1-Jun-16      Conference with Breshera and Rasile re status.         MIG              0.50       197.50
1-Jun-16      Conference with Restova and Ullogue.                   MIG              0.80       316.00
2-Jun-16      Spoke with Tara from Town of Jay re meeting.           MIG              0.20        79.00
2-Jun-16      Meeting with Weng Chen and group of eight              MIG              1.40       553.00
              investors.
2-Jun-16      Conference with Endicott and Key Bank re line of       MIG              0.50       197.50
              credit
2-Jun-16      Meeting with Mohammed Adil                             MIG              0.80       316.00
2-Jun-16      Conference with Christine Alder and clients.           MIG              0.80       316.00
2-Jun-16      Conference with Monahan of Vermont.                    MIG              0.20        79.00
2-Jun-16      Revised memo to clients.                               MIG              0.30       118.50
2-Jun-16      Conference with Denis Fishman re client EB-5 status.   MIG              0.30       118.50
2-Jun-16      Review Receiver's Memo to Investors and                JSR              0.60       237.00
              Communicate with Goldberg re: same.
2-Jun-16      Multiple communications with Alipourfetrati,           JSR              0.60       237.00
              Goldberg, Davis re: K-1 issues.
2-Jun-16      Confer with paralegal re information needed to open    JML              0.40       158.00
              new accounts.
2-Jun-16      Communications with People's Bank for clarification    KAM              0.20        35.00
              on account opening document requirements for Jay
              Construction Management.
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2-Jun-16      Research background information for Jay                  KAM              0.80       140.00
              Construction Management by researching secretary
              of state websites and various filed exhibits needed to
              complete account opening documents required by
              bank for new account; Telephone conference with G.
              Endicott regarding same.
2-Jun-16      Attend to investor inquiries regarding various           KAM              0.30        52.50
              matters.
2-Jun-16      Arrange for execution of People's United Bank            KAM              0.50        87.50
              account opening documents by all signatories
              pertaining to Jay Construction.
2-Jun-16      Follow up with representatives at Desjardin Bank         KAM              0.10        17.50
              regarding account transfer.
2-Jun-16      Review and revise Receiver's preliminary memo to         KAM              0.40        70.00
              investors regarding status of receivership.
2-Jun-16      Prepare updates to Receiver's website to keep            KAM              0.30        52.50
              investors informed of case status.
3-Jun-16      Receipt and review of Court's endorsed orders            KAM              0.30        52.50
              regarding various motions, update file and attend to
              matters regarding same.
3-Jun-16      Receipt and review of various correspondence and         KAM              0.30        52.50
              invoices for payment obtained by S. Traband at the
              GSI' office.
3-Jun-16      Meet with J. Robbins to discuss Receiver's financial     KAM              0.20        35.00
              reporting requirements.
3-Jun-16      Respond to inquiries from investors and other            KAM              0.50        87.50
              interested parties regarding case status.
3-Jun-16      Work on updates to website so that investors can stay    KAM              0.60       105.00
              informed of progress of case.
3-Jun-16      Continue to work on People's Bank on account             KAM              0.40        70.00
              opening matters.
3-Jun-16      Communications with representatives from                 KAM              0.20        35.00
              Desjardin's Bank regarding account access matters.
3-Jun-16      Analyze status report and prepare follow up              JML              0.80       316.00
              correspondence.
3-Jun-16      Attend meeting with Stenger.                             MIG              0.70       276.50
3-Jun-16      Numerous correspondence with creditors re status.        MIG              1.10       434.50
3-Jun-16      Reviewed memo from Olson.                                MIG              0.30       118.50
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3-Jun-16      Conference with Stenger re Hockey Tournament.           MIG              0.20        79.00
3-Jun-16      Conference with Levenson re discovery.                  MIG              0.20        79.00
3-Jun-16      Conference with Saunders re reusing EB-5 laws.          MIG              0.20        79.00
4-Jun-16      Meeting with Stenger to discuss opening Burke hotel.    MIG              0.50       197.50
4-Jun-16      Conference with creditor re status of case.             MIG              0.20        79.00
5-Jun-16      Corresponded with investors re status of case.          MIG              0.40       158.00
6-Jun-16      Corresponded with Schneider re Citibank.                MIG              0.20        79.00
6-Jun-16      Corresponded with Moulton re meeting on Regional        MIG              0.10        39.50
              Center.
6-Jun-16      Numerous correspondence with investors re status.       MIG              1.40       553.00
6-Jun-16      Multiple communications with Pampanin and Wizel         JSR              0.70       276.50
              (investor and counsel) re: claims process, green card
              status, claims against Raymond James.
6-Jun-16      Review attorney assignments and edit status report.     JML              2.60     1,027.00
6-Jun-16      Strategy conference with M. Badran of Gowling           KAM              0.60       105.00
              regarding Desjardin Bank matters concerning
              information needed by bank prior to transfer of
              accounts to Receiver; Communications with G.
              Endicott re: same.
6-Jun-16      Attend to correspondence received in connection with    KAM              0.50        87.50
              Jay Peak operations and confer with attorney for
              further handling.
6-Jun-16      Attend to investor calls and email inquiries.           KAM              0.70       122.50
6-Jun-16      Follow up with professionals regarding status of        KAM              0.20        35.00
              funding of new People's Bank account for Jay
              Construction Management.
7-Jun-16      Respond to email and voicemail inquiries directed to    KAM              1.20       210.00
              Receiver's office by various parties; Review matter
              correspondence from third parties and discussions re:
              same.
7-Jun-16      Communications with Desjardin Bank regarding            KAM              0.30        52.50
              account transfer matters.
7-Jun-16      Multiple conferences with real estate counsel re case   JML              0.40       158.00
              procedures.
7-Jun-16      Corresponded with creditors re status of case.          MIG              0.60       237.00
8-Jun-16      Numerous correspondence with investors.                 MIG              0.70       276.50
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8-Jun-16       Attend to email inquiries and calls placed to          KAM              0.70       122.50
               Receiver's office.
9-Jun-16       Attend to inquiry from investor's immigration          KAM              0.30        52.50
               attorney regarding information needed from Receiver
               in preparation of USCIS meeting for residency stamp.
9-Jun-16       Review and respond to communication from               KAM              0.40        70.00
               Desjardin Bank regarding suspicious check;
               Correspond with property management company re:
               same.
9-Jun-16       Corresponded with Jianming re USCIS.                   MIG              0.20        79.00
9-Jun-16       Corresponded with Vermont Regional Center re           MIG              0.20        79.00
               status.
9-Jun-16       Numerous correspondence with investors.                MIG              0.60       237.00
9-Jun-16       Corresponded with SEC re Rule 26 Meeting.              MIG              0.10        39.50
9-Jun-16       Corresponded with Mike Smith re Burke.                 MIG              0.10        39.50
9-Jun-16       Corresponded with Stenger re status of Tram.           MIG              0.20        79.00
10-Jun-16      Numerous correspondence with Steve Olson re            MIG              0.50       197.50
               Burke.
13-Jun-16      Numerous conferences with creditors.                   MIG              0.80       316.00
13-Jun-16      Conference with Ken Graham re Burke.                   MIG              0.20        79.00
13-Jun-16      Conference with Wackslag re finishing stateside.       MIG              0.20        79.00
13-Jun-16      Call with Gordon to discuss issues.                    MIG              0.20        79.00
13-Jun-16      Call with Stenger re Burke.                            MIG              0.30       118.50
13-Jun-16      Reviewed approval.                                     MIG              1.20       474.00
13-Jun-16      Conference with Mike Smith re Burke.                   MIG              0.30       118.50
13-Jun-16      Conference with Adil re investor letter to USCIS.      MIG              0.20        79.00
13-Jun-16      Communicate with Jankowski and discuss same with       JSR              0.40       158.00
               Goldberg.
13-Jun-16      Telephone conference with attorney , C. Pederson,      KAM              0.20        35.00
               regarding Receiver's assistance in communicating to
               USCIS investor's temporary residence stamp for
               pending I-829.
13-Jun-16      Revise and finalize letter to USCIS regarding          KAM              0.40        70.00
               issuance of investor's I-551 Residency Stamp.
13-Jun-16      Communications with multiple parties regarding         KAM              0.30        52.50
               bank account opening matters at Desjardin Bank.
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13-Jun-16      Attend calls and emails from investors, creditors and     KAM              0.80       140.00
               attorneys regarding various matters.
13-Jun-16      Telephone conference with L. Button regarding             KAM              0.20        35.00
               investor's immigration status for purposes of drafting
               letter on Receiver's behalf.
13-Jun-16      Attend to matters regarding updates to website.           KAM              0.40        70.00
14-Jun-16      Work on obtaining documents from Desjardin Bank           KAM              0.30        52.50
               for tax reporting matters.
14-Jun-16      Draft letter to USCIS for investor's I-829 extension.     KAM              0.50        87.50
14-Jun-16      Review email communication from K. McCoy at               KAM              0.10        17.50
               Kapila's office regarding status of document reviews.
14-Jun-16      Conference with Tina re investors who want to invest      MIG              0.30       118.50
               in Burke.
14-Jun-16      Meeting with Mr. Tri re status of case.                   MIG              1.50       592.50
14-Jun-16      Conference with K. Graham re status of T. lift at         MIG              0.50       197.50
               Burke.
15-Jun-16      Conference with Paychex re status of payroll.             MIG              0.20        79.00
15-Jun-16      Corresponded with Moulton, Stenger and Fullam re          MIG              0.70       276.50
               transfer of investors.
15-Jun-16      Conference with Moulton, Sanders Dowd and Fullam          MIG              0.40       158.00
               re status of Regional Center.
15-Jun-16      Conference with Moulton and Fullam re status of           MIG              0.30       118.50
               Regional Center.
15-Jun-16      Reviewed Peak CM documents re transfers.                  MIG              0.60       237.00
15-Jun-16      Conference with Miller re Peak CM.                        MIG              0.30       118.50
15-Jun-16      Conference with Aciola re letter.                         MIG              0.20        79.00
15-Jun-16      Discussion with M. Goldberg regarding I-829               KAM              0.50        87.50
               extensions; Work on draft letter for Stateside investor
               seeking extension; Telephone conference with L.
               Button re: same.
15-Jun-16      Work on organization of North East Construction           KAM              0.50        87.50
               Services records.
15-Jun-16      Communications with Desjardin Bank to obtain              KAM              0.30        52.50
               information needed by Leisure Group for IRS
               reporting matters.
15-Jun-16      Prepare email correspondence to B. Mila of Gowling        KAM              0.10        17.50
               regarding matters involving Desjardin Bank.
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16-Jun-16      Conference with Keith Miller re MMSI and other          MIG              0.60       237.00
               issues.
16-Jun-16      Reviewed Burke job creation documents.                  MIG              0.50       197.50
16-Jun-16      Reviewed Graham letter and corresponded with            MIG              0.40       158.00
               Graham.
16-Jun-16      Numerous conferences with creditors.                    MIG              1.80       711.00
16-Jun-16      Conference with Kurzban re immigration issues.          MIG              0.40       158.00
17-Jun-16      Numerous conferences with investors re status.          MIG              1.40       553.00
17-Jun-16      Conference with Robbins re investor.                    MIG              0.20        79.00
17-Jun-16      Spoke with Graham re Burke.                             MIG              0.30       118.50
17-Jun-16      Review and analyze draft agreement from Desjardin       KAM              0.40        70.00
               Bank for execution by M. Goldberg regarding
               account transfer; Correspond with Receiver re: same.
17-Jun-16      Attend to email and telephone inquiries.                KAM              0.60       105.00
17-Jun-16      Work on updating master bank account list.              KAM              0.60       105.00
17-Jun-16      Correspond with Desjardin Bank and Leisure Group        KAM              0.30        52.50
               to coordinate execution of account documents.
20-Jun-16      Attend to several email and telephone inquiries from    KAM              0.60       105.00
               third parties regarding status of action, vendor
               payments.
21-Jun-16      Worked on coordination of meeting between               KAM              0.40        70.00
               Receiver and Desjardin Bank and other signors to
               execute account opening documents.
21-Jun-16      Attend to multiple inquiries from parties regarding     KAM              0.60       105.00
               case matters.
21-Jun-16      Conference with Schneider.                              MIG              0.20        79.00
21-Jun-16      Corresponded with investors re status of case.          MIG              0.70       276.50
21-Jun-16      Review and revise draft of change of signatories from   JML              0.20        79.00
               for Canadian Bank.
22-Jun-16      Conference with creditor re Stenger.                    MIG              0.20        79.00
22-Jun-16      Conference with investor Daniel re 829 template.        MIG              0.40       158.00
22-Jun-16      Conference with Miller re motions.                      MIG              0.20        79.00
22-Jun-16      Travel to Desjardins Bank to deal with account          MIG              1.20       474.00
               opening issues.
22-Jun-16      Telephone conference with investor regarding case       KAM              0.20        35.00
               status.
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23-Jun-16      Review and respond to inquiry from Mobile Mini            KAM              0.20        35.00
               vendor.
23-Jun-16      Review communication from People's Bank                   KAM              0.20        35.00
               regarding Jay Management account setup.
23-Jun-16      Follow up on matters regarding Receiver's                 KAM              0.30        52.50
               requirements to file quarterly reports.
23-Jun-16      Meeting with attorneys and vendor to discuss claims       KAM              0.70       122.50
               management software.
23-Jun-16      Spoke with S. Miller regarding Receiver's                 KAM              0.20        35.00
               requirements for reporting and claims review.
23-Jun-16      Telephone conference with K. Foster regarding             KAM              0.30        52.50
               NECS production and tax deadlines.
23-Jun-16      Meet with Matregrano to discuss status and claims         JSR              0.60       237.00
               management software.
24-Jun-16      Attend to several investor immigration inquiries.         KAM              0.60       105.00
24-Jun-16      Telephone conference with attorney regarding              KAM              0.20        35.00
               receivership order.
27-Jun-16      Corresponded with Vermont re USCIS.                       MIG              0.30       118.50
27-Jun-16      Reviewed USCIS letters.                                   MIG              0.40       158.00
27-Jun-16      Corresponded with Allison and Jamie Tatge re JI           MIG              0.20        79.00
               visas.
27-Jun-16      Corresponded with Wells re Stateside.                     MIG              0.20        79.00
27-Jun-16      Corresponded with Buttons re EB-5 issues.                 MIG              0.20        79.00
27-Jun-16      Numerous correspondence with investors re status of       MIG              1.30       513.50
               case.
28-Jun-16      Conference with Moulton and Fulham re USCIS and           MIG              0.60       237.00
               other issues.
28-Jun-16      Conference with numerous investors.                       MIG              1.10       434.50
28-Jun-16      Reviewed and revised Motion to Transfer investors         MIG              0.70       276.50
               and conference with Miller.
28-Jun-16      Research and analyze re docs and information to be        SAM              0.60       237.00
               provided to EB-5 investors as part of their application
               / approval process.
28-Jun-16      Receipt and review of correspondence from Law             KAM              0.20        35.00
               Offices of Makeda Karimlou.
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28-Jun-16      Telephone conference with AnC Bio investor               KAM              0.90       157.50
               regarding I-829 application and information needed
               from Receiver (.2); Telephone conference with L.
               Button regarding template and related matters (.3);
               Follow-up with M. Goldberg regarding status (.4).
29-Jun-16      Confer with M. Goldberg regarding status of              KAM              0.30        52.50
               immigration matters for purposes of updating
               investors and their counsel.
29-Jun-16      Telephone conference with investor regarding             KAM              0.10        17.50
               immigration inquiry.
29-Jun-16      Reviewed and revised letter to USCIS.                    MIG              0.60       237.00
29-Jun-16      Conference with investors re status of case.             MIG              0.80       316.00
29-Jun-16      Meeting with Kurzban re immigration issues.              MIG              1.80       711.00
29-Jun-16      Meeting with Brito re status.                            MIG              0.60       237.00
30-Jun-16      Conference with Schneider re status of case.             MIG              0.20        79.00
30-Jun-16      Reviewed documents received from State of                MIG              0.30       118.50
               Vermont.
30-Jun-16      Reviewed banking documents and conference with           MIG              0.40       158.00
               Merrill attorney.
30-Jun-16      Conference with Graham re Burke.                         MIG              0.30       118.50
30-Jun-16      Conference with Kurzban and Morrison re legislative      MIG              0.90       355.50
               approach.
30-Jun-16      Conference with Keith McDermott and Allyson              MIG              0.60       237.00
               Battalion re JI visas.
30-Jun-16      Conference with investor re 829.                         MIG              0.20        79.00
30-Jun-16      Attend to emails and calls from parties regarding        KAM              0.70       122.50
               various receivership matters; Discussions with M.
               Goldberg re: same.
1-Jul-16       Conference with S. Miller regarding pending case         KAM              0.60       105.00
               issues pertaining to bank accounts and immigration
               matters.
1-Jul-16       Attend to matters regarding preparation of settlement    KAM              0.40        70.00
               fund to hold Raymond James settlement funds from
               State of Vermont.
1-Jul-16       Receipt and review of court orders issued to ascertain   KAM              0.30        52.50
               if further action needed to be taken by Receiver.
1-Jul-16       Correspond with Mobile Mini regarding billing            KAM              0.10        17.50
               matters.
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1-Jul-16      Attend to telephone and email case inquiries.          KAM              0.60       105.00
1-Jul-16      Numerous correspondence with investors re status.      MIG              1.60       632.00
1-Jul-16      Corresponded with Graham re Burke.                     MIG              0.60       237.00
1-Jul-16      Corresponded with Fulham re USCIS.                     MIG              0.20        79.00
1-Jul-16      Conference re due diligence.                           MIG              0.20        79.00
1-Jul-16      Corresponded with SEC and Gordich re extension.        MIG              0.10        39.50
1-Jul-16      Conference with contractor re settlement funds.        MIG              0.20        79.00
1-Jul-16      Communicate with K. Matregrano re outstanding Jay      SAM              0.60       237.00
              Peak matters.
1-Jul-16      Analyze information re investors and desire to         SAM              0.70       276.50
              transfer investment son Jay Peak Receiver website
              and review information from Receiver.
5-Jul-16      Analyze Receivership Order and make list of items to   SAM              0.70       276.50
              be completed and deadlines in preparation for
              tomorrow's meeting.
5-Jul-16      Numerous correspondence re bank accounts.              MIG              0.40       158.00
5-Jul-16      Reviewed documents re Burke tax appeal.                MIG              0.40       158.00
5-Jul-16      Numerous correspondence with investors re status.      MIG              1.40       553.00
5-Jul-16      Conference with Dan Wells re Stateside and other       MIG              0.30       118.50
              issues.
5-Jul-16      Conference with Kurzban re USCIS.                      MIG              0.10        39.50
5-Jul-16      Conference with Stenger re water supply issues.        MIG              0.10        39.50
5-Jul-16      Telephone conference with bank representative          KAM              0.20        35.00
              regarding new account.
5-Jul-16      Follow up discussions with accountants regarding       KAM              0.40        70.00
              establishing a settlement fund to hold Raymond
              James settlement monies due under State of Vermont
              litigation.
5-Jul-16      Conference with M. Goldberg regarding settlement       KAM              0.20        35.00
              fund.
5-Jul-16      Draft Articles of Incorporation for Jay Peak, Inc.     KAM              0.70       122.50
              Settlement Fund and work on obtaining EIN;
              Discussion with accountant regarding tax matters
              regarding same.
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5-Jul-16      Correspond with counsel for Raymond James to             KAM              0.20        35.00
              provide incoming wire instructions and to advise that
              funds will be held in escrow pending opening of new
              account.
5-Jul-16      Correspond with J. Ruiz of Kenny Nachwalter to           KAM              0.20        35.00
              confirmation additional receivership entities pursuant
              to expansion order.
6-Jul-16      Conference with S. Miller to discuss Receiver's          KAM              0.50        87.50
              reporting requirements to court and related deadlines
              pursuant to receivership order.
6-Jul-16      Attend strategy meeting with Receiver and team to        KAM              1.30       227.50
              discuss pending case matters and deadlines.
6-Jul-16      Review memorandum from accountants regarding             KAM              0.50        87.50
              settlement fund tax matters pertaining to funds to be
              received by Raymond James and discuss with
              Receiver.
6-Jul-16      Telephone conferences with City National Bank and        KAM              0.60       105.00
              Receiver regarding new account setup matters.
6-Jul-16      Prepared for and attended Jay peak meeting.              MIG              1.30       513.50
6-Jul-16      Meeting with Naim Surgeon re status.                     MIG              0.30       118.50
6-Jul-16      Conference with Stenger re Commissions to lawyers.       MIG              0.20        79.00
6-Jul-16      Conference with Vermont DFR chair re status.             MIG              0.20        79.00
6-Jul-16      Corresponded with Resende re Gulf Mountain status.       MIG              0.30       118.50
6-Jul-16      Conference with Wakslag re settlement fund.              MIG              0.40       158.00
6-Jul-16      Attend status conference.                                JSR              1.30       513.50
6-Jul-16      Review Scheduling Report.                                JSR              0.20        79.00
6-Jul-16      Prepare for meeting with Receiver to discuss status      SAM              0.50       197.50
              and strategy and meet with staff to prepare for same.
6-Jul-16      Strategy meeting with Receiver, counsel, and staff to    SAM              1.30       513.50
              discuss status and strategy of Receivership.
6-Jul-16      Analyze SFAR form and review portions of                 SAM              0.20        79.00
              Receivership Order addressing same.
6-Jul-16      Attend meeting with Receiver and team, review            JML              1.30       513.50
              outstanding motions and discuss status report.
6-Jul-16      Work on Initial Report.                                  JML              1.60       632.00
6-Jul-16      Strategize and analyze receiver's report.                NSS              2.30       598.00
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7-Jul-16       Prepare summary of defendants and relief defendants   JML              4.60     1,817.00
               for initial status report.
7-Jul-16       Conference with Halas contractor re AnC.              MIG              0.20        79.00
7-Jul-16       Conference with Bankers re new accounts.              MIG              0.20        79.00
7-Jul-16       Conference with Kurzban re status.                    MIG              0.30       118.50
7-Jul-16       Numerous correspondence with investors re status.     MIG              0.80       316.00
7-Jul-16       Dealt with bank issues on new account.                MIG              0.40       158.00
7-Jul-16       Work on Receiver's new account setup issues and       KAM              0.80       140.00
               funding.
8-Jul-16       Attend to matters regarding new City National         KAM              0.30        52.50
               account.
8-Jul-16       Review voluminous mail from GSI and discuss same      KAM              0.50        87.50
               with Receiver.
8-Jul-16       Telephone conference with multiple investors and      KAM              0.70       122.50
               vendors regarding case matters.
8-Jul-16       Numerous correspondence with investors re status.     MIG              1.10       434.50
8-Jul-16       Conference with Kurzban re retention.                 MIG              0.30       118.50
8-Jul-16       Conference with investor and attorney re Burke.       MIG              0.30       118.50
8-Jul-16       Communicate with Goldberg, Levit and Schneider re:    JSR              0.40       158.00
               Receiver's Report.
8-Jul-16       Prepare correspondence re First Status Report.        JML              0.20        79.00
8-Jul-16       Work on First Status Report.                          JML              2.60     1,027.00
11-Jul-16      Prepare Initial Report.                               JML              2.70     1,066.50
11-Jul-16      Corresponded with Cleary re Stenger.                  MIG              0.20        79.00
11-Jul-16      Conference with Olson re status.                      MIG              0.30       118.50
11-Jul-16      Numerous correspondence with investors re status.     MIG              0.70       276.50
11-Jul-16      Conference with Fullam and Moulton re status          MIG              0.40       158.00
               USCIS.
11-Jul-16      Corresponded with Harwood re status.                  MIG              0.20        79.00
11-Jul-16      Reviewed Court's order and corresponded with          MIG              0.30       118.50
               Levenson.
11-Jul-16      Meet with M. Goldberg to discuss new City National    KAM              0.40        70.00
               Account; Prepare wire transfer instructions.
11-Jul-16      Attend to matters regarding new People's Bank         KAM              0.40        70.00
               Depository Account for cash secured credit cards.
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11-Jul-16      Attend to updates to Receiver's website.                 KAM              0.30        52.50
12-Jul-16      Dealt with investor inquiries regarding immigrations     KAM              0.60       105.00
               matters and contact L. Button re: same.
12-Jul-16      Conference with Bruce Morrison re immigration            MIG              0.60       237.00
               issues.
12-Jul-16      Conference with Receiver of path America re EB-5         MIG              0.50       197.50
               issue.
12-Jul-16      Respond to Dave Brown email.                             MIG              0.30       118.50
12-Jul-16      Conference with investors re status of case.             MIG              0.90       355.50
12-Jul-16      Multiple communications with Goldberg and                JSR              0.50       197.50
               Matregrano re: ANC Bio account issues.
13-Jul-16      Numerous conferences with creditors re status.           MIG              1.60       632.00
13-Jul-16      Corresponded with Stenger re ANCBio.                     MIG              0.40       158.00
13-Jul-16      Conference with Fulham re status of Regional Center      MIG              0.30       118.50
               and USCIS.
13-Jul-16      Gather documents and prepare correspondence re           JML              0.30       118.50
               status report.
13-Jul-16      Telephone conferences with multiple parties              KAM              0.70       122.50
               regarding creditor and immigration issues; Contact L.
               Button to ascertain information on investor K-1s;
               Contact Ford Motor Credit regarding receivership
               and filing of claim at future date.
14-Jul-16      Meeting with J. Levit to discuss financial reporting     KAM              0.40        70.00
               matters in preparation of quarterly report.
14-Jul-16      Work on identifying bank accounts and their values       KAM              0.70       122.50
               to be used as exhibit to Receiver's Initial Report.
14-Jul-16      Dealt with investor inquiries regarding immigration      KAM              0.60       105.00
               issues and general case status matters.
14-Jul-16      Confer with paralegal re status of bank accounts         JML              0.40       158.00
               reporting requirements for Receiver's report.
14-Jul-16      Review inserts for report and incorporate into report.   JML              1.70       671.50
14-Jul-16      Numerous correspondence with accountants re cash         MIG              0.40       158.00
               flow issues.
15-Jul-16      Conference with creditors re EB-5 and partnership        MIG              1.40       553.00
               issue.
15-Jul-16      Numerous correspondence with banker re line of           MIG              1.30       513.50
               credit.
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15-Jul-16      Numerous correspondence with Schneider re Citi and       MIG              0.50       197.50
               Raymond James meetings.
15-Jul-16      Correspondence with Lizzy Button re responding to        MIG              0.30       118.50
               investors.
15-Jul-16      Conference with Morrison re EB-5 issues.                 MIG              0.40       158.00
15-Jul-16      Corresponded with Brito re of revised law.               MIG              0.20        79.00
15-Jul-16      Conference with Accioly re revised law.                  MIG              0.20        79.00
15-Jul-16      Corresponded with subcontractor re payment.              MIG              0.20        79.00
15-Jul-16      Review And edit portion of Receiver's report.            JML              1.40       553.00
15-Jul-16      Draft subsection of receiver's report.                   NSS              1.50       390.00
15-Jul-16      Review materials and motions previously filed and        SAM              1.10       434.50
               draft inserts for Receiver's report (tram, water, cash
               management).
17-Jul-16      Revise and edit inserts for Receiver's report (tram,     SAM              1.20       474.00
               water, cash management).
18-Jul-16      Revise and edit inserts for Receiver's report (tram,     SAM              4.30     1,698.50
               water, cash management).
18-Jul-16      Conference with Management Co. and paralegal re          JML              0.30       118.50
               operating reports.
18-Jul-16      Follow up with Receiver re Management Co. reports.       JML              0.20        79.00
18-Jul-16      Review inserts for Initial Report and make revisions.    JML              1.80       711.00
18-Jul-16      Conference with Fullam re EB-5.                          MIG              0.40       158.00
18-Jul-16      Numerous conferences with creditors.                     MIG              1.10       434.50
18-Jul-16      Conference with Ricardo at City National re line of      MIG              0.30       118.50
               credit.
18-Jul-16      Reviewed documents on line of credit.                    MIG              1.20       474.00
18-Jul-16      Conference with McNeil re Accounting and cash            MIG              0.20        79.00
               flow.
18-Jul-16      Telephone conference with Epiq regarding claims          KAM              0.30        52.50
               review platform and related services.
18-Jul-16      Attend to matters regarding transfer funds from          KAM              0.50        87.50
               Receiver's account to Jay Peak for operating
               expenses.
18-Jul-16      Follow up with L. Button regarding immigration           KAM              0.40        70.00
               matters; Discuss same with Receiver.
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18-Jul-16      Telephone conference with investor regarding case       KAM              0.30        52.50
               status.
19-Jul-16      Attend to email inquiries and calls from various        KAM              0.60       105.00
               interested parties.
19-Jul-16      Confer with Receiver regarding status of various        KAM              0.30        52.50
               projects for purposes of updating investors who
               contact Receiver.
19-Jul-16      Telephone conference with A. Ohlrich, Esquire           KAM              0.30        52.50
               regarding AnC Bio; Update Receiver regarding same.
19-Jul-16      Confer with Receiver regarding investor inquiries for   KAM              0.30        52.50
               information on immigration matters.
19-Jul-16      Meeting with Ileana.                                    MIG              1.50       592.50
19-Jul-16      Reviewed bank documents.                                MIG              0.30       118.50
19-Jul-16      Conference with potential purchaser.                    MIG              0.20        79.00
19-Jul-16      Conference with Stenger re due diligence.               MIG              0.40       158.00
19-Jul-16      Conference with banker re approval.                     MIG              0.30       118.50
19-Jul-16      Conference with Gordon re potential buyer.              MIG              0.50       197.50
19-Jul-16      Conference with Chris Cox and Morgan Lewis              MIG              0.40       158.00
               partners re background.
19-Jul-16      Corresponded with Lizzy Button re Investor              MIG              0.10        39.50
               immigration issue.
19-Jul-16      Review extension motion.                                MIG              0.50       197.50
19-Jul-16      Conference with Gordon re Quiros and buyer.             MIG              0.40       158.00
19-Jul-16      Research and prepare Motion to Extend deadlines         JML              3.10     1,224.50
               (2.&) and proposed order (.4)
19-Jul-16      Update and edit Initial Report.                         JML              2.60     1,027.00
20-Jul-16      Confer with Receiver and revise Motion to Extend        JML              0.70       276.50
               Deadlines.
20-Jul-16      Redrafted motion to extend deadline.                    MIG              0.80       316.00
20-Jul-16      Numerous calls with investors re status of case.        MIG              1.30       513.50
20-Jul-16      Commence verification of status of freeze on bank       KAM              1.60       280.00
               accounts and account balances as of the date of
               Receiver's appointment and end of second quarter;
               Prepare updates to spreadsheet re: same.
20-Jul-16      Telephone conference with Receiver and L. Button        KAM              0.30        52.50
               regarding preparation of I-829 template for AnC Bio
               project.
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20-Jul-16      Review and analyze bank account list provided by       KAM              0.50        87.50
               Leisure for purposes of updating master account
               exhibit.
21-Jul-16      Work on bank account exhibit to Receiver's report;     KAM              1.70       297.50
               Analyze Citibank documents produced to Receiver to
               obtain account statuses for same.
21-Jul-16      Conference with Pollack re Berkowitz.                  MIG              0.30       118.50
21-Jul-16      Conference with Cleary re status of D&O insurance.     MIG              0.30       118.50
21-Jul-16      Conference with creditor re status of case.            MIG              0.30       118.50
21-Jul-16      Conference with Rob Conrad re payment.                 MIG              0.30       118.50
21-Jul-16      Conference with Fulham re Regional Center.             MIG              0.40       158.00
21-Jul-16      Conference with Angela Conrad re Burke.                MIG              0.20        79.00
21-Jul-16      Prepare correspondence to all counsel re Motion to     JML              0.20        79.00
               Extend Time.
21-Jul-16      Work on revisions to Receiver's report.                JML              2.40       948.00
21-Jul-16      Communicate with Joan Levit re status of Receiver      SAM              0.10        39.50
               Report.
22-Jul-16      Review status with Receiver, revise Motion to Extend   JML              1.80       711.00
               Time and Order prior to filing; prepare
               correspondence with Court.
22-Jul-16      Multiple correspondence re status report.              JML              0.30       118.50
22-Jul-16      Prepared for and attended call with Mike Pieciak.      MIG              0.70       276.50
22-Jul-16      Reviewed and revised Notice of Filing and              MIG              0.30       118.50
               corresponded with Levit re same.
22-Jul-16      Conference with Sofferman and Rosen re status of       MIG              0.50       197.50
               case.
22-Jul-16      Corresponded with Brito re ANC Bio.                    MIG              0.20        79.00
22-Jul-16      Corresponded with Kurzban re immigration issues.       MIG              0.20        79.00
22-Jul-16      Conference with Berkowitz re documents.                MIG              0.30       118.50
22-Jul-16      Conference with creditor re status of EB-5 issue.      MIG              0.70       276.50
22-Jul-16      Conference with Pieciak re various EB-5 and other      MIG              0.50       197.50
               issues.
22-Jul-16      Conference with Pratt re status of USCIS response.     MIG              0.40       158.00
24-Jul-16      Conference with Kurzban and Morrison to discuss        MIG              0.50       197.50
               immigration and regulation issues.
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25-Jul-16      Conference with Piechek re status contractor            MIG              0.20        79.00
               payments.
25-Jul-16      Conference with Cleary and Tropin re insurance          MIG              0.50       197.50
               issues.
25-Jul-16      Meeting with Kurzban and Pratt re immigration           MIG              2.50       987.50
               issues.
25-Jul-16      Conference with Joan Goldstein re contractor            MIG              0.40       158.00
               payments.
25-Jul-16      Conference with investors re status of case.            MIG              1.10       434.50
25-Jul-16      Conference with SEC re potential buyer.                 MIG              0.20        79.00
25-Jul-16      Review Second Motion and proposed Order re:             JSR              0.60       237.00
               Quiros' fees and discuss with Goldberg.
25-Jul-16      Research and prepare Motion for Authority to Retain     JML              2.60     1,027.00
               Immigration counsel, confer with Receiver and
               revise.
25-Jul-16      Telephone conference with counsel for investor          KAM              0.20        35.00
               regarding case status.
25-Jul-16      Continue verification of bank accounts and balance      KAM              1.50       262.50
               information with accountants and bank
               representatives for purposes of updating exhibit to
               Receiver's report; Prepare updates to spreadsheet re:
               same.
25-Jul-16      Communications with L. Button regarding status of       KAM              0.20        35.00
               issuance of QBurke K-1's.
26-Jul-16      Telephone conference with Icreditors regarding          KAM              0.40        70.00
               payment issues.
26-Jul-16      Telephone conference with L. Button regarding           KAM              0.20        35.00
               Phase 1 investors.
26-Jul-16      Review and revise chart of bank accounts with           KAM              1.30       227.50
               updated banking information.
26-Jul-16      Correspond with People's Bank regarding escrow          KAM              0.50        87.50
               accounts; Review past due invoices for administrative
               fees from bank and discuss with Receiver.
26-Jul-16      Review and respond to multiple correspondence re        JML              0.30       118.50
               status report.
26-Jul-16      Review correspondence and revise Motion to Retain       JML              0.80       316.00
               Special Counsel.
26-Jul-16      Prepared for and attended call re immigration issues.   MIG              0.60       237.00
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26-Jul-16      Reviewed and prepared response to Quiros fee           MIG              1.60       632.00
               motion.
26-Jul-16      Conference with Rostock re construction issue.         MIG              0.10        39.50
26-Jul-16      Numerous conferences with investors and lawyers re     MIG              1.80       711.00
               Request for Intervenor from USCIS.
26-Jul-16      Conference r Midra visit to Jay Peak.                  MIG              0.20        79.00
27-Jul-16      Attended EB-5 meeting in Miami.                        MIG              2.00       790.00
27-Jul-16      Conference with Pieciak re contractors and Raymond     MIG              0.30       118.50
               James.
27-Jul-16      Corresponded with Brito re revised law.                MIG              0.30       118.50
27-Jul-16      Conference with Pratt re revised EB-5 law.             MIG              0.10        39.50
27-Jul-16      Reviewed Kurzban retainer and revised Motion to        MIG              0.40       158.00
               Retain Kurzban and Morrison.
27-Jul-16      Corresponded with Stenger re Midra.                    MIG              0.20        79.00
27-Jul-16      Conference with K. Matregrano re bank escrow           MIG              0.40       158.00
               accounts.
27-Jul-16      Prepare proposed Order Authorizing Receiver to         JML              0.90       355.50
               Retain Immigration Counsel.
27-Jul-16      Review terms of representation of immigration          JML              0.20        79.00
               counsel with Receiver.
27-Jul-16      Prepare multiple correspondence with special counsel   JML              0.60       237.00
               re immigration matters.
28-Jul-16      Prepared for and attended EB-5 meeting with USCIS      MIG              1.20       474.00
               to obtain information.
28-Jul-16      Conference with Pieclak re potential buyer.            MIG              0.40       158.00
28-Jul-16      Drafted email to Burke contractor.                     MIG              0.20        79.00
28-Jul-16      Conference with SEC re status and mortgage.            MIG              0.30       118.50
28-Jul-16      Corresponded with investor re status of case.          MIG              0.10        39.50
28-Jul-16      Receipt and review of correspondence from X.           KAM              0.10        17.50
               Franco, Esquire regarding Jay Peak Phase II.
28-Jul-16      Telephone conference with B. McDonnell, regarding      KAM              0.10        17.50
               Heartland accounts.
28-Jul-16      Correspond with vendor regarding redirection of        KAM              0.40        70.00
               ancbiovt.com website; Discussion with Receiver re:
               same.
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28-Jul-16      Receipt and review of miscellaneous receivership         KAM              0.50        87.50
               correspondence from various investor/creditor parties
               and attend to matters re: same.
29-Jul-16      Multiple communications with M. Santor, People's         KAM              0.40        70.00
               Bank, regarding new account opening matters.
29-Jul-16      Correspond with J. Schneider regarding People's          KAM              0.10        17.50
               Bank accounts.
29-Jul-16      Telephone conference with Epiq representatives           KAM              0.40        70.00
               regarding additional pricing and services available in
               preparation for claims process.
29-Jul-16      Confer with M. Goldberg regarding People's Bank          KAM              0.20        35.00
               accounts setup matters.
29-Jul-16      Drafted sections of quarterly report dealing with        MIG              3.70     1,461.50
               Newport property, airport, Vermont Department of
               Securities settlement and immigration and operations.
29-Jul-16      Conference with K. Matregrano re people's bank           MIG              0.10        39.50
               accounts.
29-Jul-16      Conference with numerous investors re status.            MIG              1.60       632.00
29-Jul-16      Conference with Joanne Goldstein re legislation.         MIG              0.10        39.50
1-Aug-16       Corresponded with Traband re immigration issues.         MIG              0.20        79.00
1-Aug-16       Corresponded with Tim Bruce re Burton.                   MIG              0.20        79.00
1-Aug-16       Conference with Pieciak re potential sale payment.       MIG              0.30       118.50
1-Aug-16       Worked on draft of Receiver's Report.                    MIG              1.30       513.50
1-Aug-16       Numerous conferences with investors re status.           MIG              0.60       237.00
1-Aug-16       Corresponded with Stenger re wedding deposits.           MIG              0.20        79.00
1-Aug-16       Conference with Tova re status Burke hotel.              MIG              0.10        39.50
1-Aug-16       Receipt and review of GSI mail and discuss with          KAM              0.40        70.00
               Receiver.
1-Aug-16       Attend to email inquiries sent to Receiver.              KAM              0.40        70.00
1-Aug-16       Follow up with PCDoctor regarding removal of             KAM              0.20        35.00
               ancbio website.
2-Aug-16       Attend to telephone and email inquiries regarding        KAM              0.60       105.00
               case status.
2-Aug-16       Review information and photos regarding GSI Miami        KAM              0.40        70.00
               Office inventory from S. Traband, Esquire.
2-Aug-16       Numerous conferences with investors re status of         MIG              1.30       513.50
               case.
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2-Aug-16      Conference with Pieciak re immigration issues.         MIG              0.40       158.00
2-Aug-16      Conference with Amex re payment.                       MIG              0.40       158.00
2-Aug-16      Conference with vendor re payment.                     MIG              0.30       118.50
2-Aug-16      Conference with Amex re credit processing.             MIG              0.40       158.00
2-Aug-16      Conference re sewer system debt.                       MIG              0.30       118.50
2-Aug-16      Conference with Martinez and Bill re insurance.        MIG              0.20        79.00
2-Aug-16      Revise engagement agreement for special                JML              0.70       276.50
              immigration counsel and discuss with Receiver.
2-Aug-16      Review and revise Motion to Retain Special Counsel     JML              0.80       316.00
              and proposed Order.
3-Aug-16      Prepare multiple correspondence re immigration         JML              0.90       355.50
              matters.
3-Aug-16      Multiple documents re status report.                   JML              0.30       118.50
3-Aug-16      Drafted Receiver's report.                             MIG              1.40       553.00
3-Aug-16      Numerous conferences with investors.                   MIG              1.60       632.00
3-Aug-16      Conference with Wells re Stateside.                    MIG              0.40       158.00
3-Aug-16      Numerous correspondence re immigration issues.         MIG              0.30       118.50
3-Aug-16      Drafted comments to USCIS.                             MIG              1.10       434.50
3-Aug-16      Corresponded with accountants re documents.            MIG              0.30       118.50
3-Aug-16      Corresponded with Morrison re documents.               MIG              0.20        79.00
3-Aug-16      Draft notice to Jay Peak investors regarding change    KAM              0.40        70.00
              in policy for complimentary room accommodations.
3-Aug-16      Retrieve voicemail message from attorney's office to   KAM              0.20        35.00
              obtain information on future claims process; Return
              call and leave detailed voicemail message.
3-Aug-16      Telephone conference with L. Button regarding          KAM              0.20        35.00
              investors lists and investor issues.
3-Aug-16      Multiple communications with L. Button and M.          KAM              0.40        70.00
              Goldberg regarding change in policy for investor's
              complimentary stays at resort.
3-Aug-16      Draft notice to be posted on website and sent to       KAM              0.50        87.50
              investors regarding change in policy for
              complimentary stays at resort.
3-Aug-16      Work on establishing updated investor list from        KAM              0.70       122.50
              company records and registration forms completed by
              investors from website.
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4-Aug-16      Multiple communications with L. Button and D.          KAM              0.30        52.50
              Dupuis regarding investor lists.
4-Aug-16      Corresponded with Wright re contract.                  MIG              0.20        79.00
4-Aug-16      Conference with Kruzban, Morrison & Pratt re Eb-5      MIG              0.50       197.50
              issues.
4-Aug-16      Conference with Levenson re EB-5 issues.               MIG              0.20        79.00
4-Aug-16      Conference with Levenson re USCIS.                     MIG              0.20        79.00
4-Aug-16      Reviewed USCIS documents.                              MIG              0.40       158.00
4-Aug-16      Numerous correspondence with investors.                MIG              1.20       474.00
4-Aug-16      Correspondence with Stenger re status.                 MIG              0.20        79.00
4-Aug-16      Conference with Sorrell, Kline and Pieciak re          MIG              0.40       158.00
              various.
4-Aug-16      Revise status report.                                  JML              1.20       474.00
5-Aug-16      Multiple correspondence re status report and make      JML              3.60     1,422.00
              revisions.
5-Aug-16      Prepared for and attended conference with State of     MIG              1.20       474.00
              Vermont.
5-Aug-16      Numerous conference with investors re ANC Bio.         MIG              0.60       237.00
5-Aug-16      Revised and drafted Receiver's report.                 MIG              2.70     1,066.50
5-Aug-16      Conference with Wei Chen re status.                    MIG              0.30       118.50
5-Aug-16      Corresponded with Stenger re ANC bio and Burke.        MIG              0.20        79.00
5-Aug-16      Conference with K. Matregrano re report.               MIG              0.20        79.00
5-Aug-16      Review and revise Receiver's first report (1.4); and   KAM              2.00       350.00
              update master bank account exhibit (.6).
5-Aug-16      Review and revise receiver's first quarterly report.   KAM              1.40       245.00
8-Aug-16      Communications with L. Button and Receiver             KAM              0.30        52.50
              regarding investor's complimentary stay policy.
8-Aug-16      Corresponded with Hass re status of payment.           MIG              0.20        79.00
8-Aug-16      Conference with K. Matregrano re banking               MIG              0.40       158.00
              documents.
8-Aug-16      Reviewed and revised letter to Piachiak.               MIG              0.40       158.00
8-Aug-16      Multiple communications with Fead re: Peak CM and      JSR              0.30       118.50
8-Aug-16      Incorporate additional information and updates into    JML              3.20     1,264.00
              First Interim Status Report.
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9-Aug-16       Telephone conference with Sultan re: investigative       JSR              0.20        79.00
               services.
9-Aug-16       Communicate with Klein (Vermont State Attorney)          JSR              0.40       158.00
               re: Quiros claims.
9-Aug-16       Meeting with investors.                                  MIG              1.20       474.00
9-Aug-16       Conference with Papalandos re payment.                   MIG              0.20        79.00
9-Aug-16       Conference with State of Vermont and contractors.        MIG              0.60       237.00
9-Aug-16       Review and revise report.                                MIG              2.10       829.50
9-Aug-16       Conference with Felipe Aciola re Burke hotel.            MIG              0.30       118.50
9-Aug-16       Corresponded with Jason Goldstein re status.             MIG              0.10        39.50
9-Aug-16       Attend to payment of monthly invoices; Research          KAM              0.70       122.50
               information for Receiver regarding evidence at Peak
               10 storage and discuss possible destruction with
               Receiver.
10-Aug-16      Communications with investors regarding case status.     KAM              0.50        87.50
10-Aug-16      Conference with Pieciak, Sorrell, Kline re status.       MIG              0.50       197.50
10-Aug-16      Reviewed peak car snowmaking documents.                  MIG              0.60       237.00
10-Aug-16      Conference with Goldstein, Pieciak, Schneider and        MIG              0.60       237.00
               claim buyer.
10-Aug-16      Conference with Kumar re immigration issues.             MIG              0.20        79.00
10-Aug-16      Reviewed Vermont opposition to Motion to Dismiss.        MIG              0.70       276.50
10-Aug-16      Revised correspondence to investors.                     MIG              0.20        79.00
10-Aug-16      Conference with investors re EB-5 status.                MIG              0.80       316.00
11-Aug-16      Reviewed Quiros Motion to Dismiss and                    MIG              1.10       434.50
               correspondence.
11-Aug-16      Corresponded with Gordon re living expenses and          MIG              0.20        79.00
               reviewed order.
11-Aug-16      Conference with Sofferman and client re ANC Bio.         MIG              0.80       316.00
11-Aug-16      Reviewed and revised Receiver's report.                  MIG              2.10       829.50
11-Aug-16      Drafted reply to attorneys' fees and conference with     MIG              3.20     1,264.00
               SEC re same.
11-Aug-16      Research Defendant's entitlement to fees from frozen     JML              0.90       355.50
               assets and discuss with Receiver.
12-Aug-16      Confer with Receiver re final edits to Interim Report    JML              4.10     1,619.50
               (.4); make changes (1.3); research issues re financial
               statements (2.4).
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12-Aug-16      Corresponded with Graham re Burke Hotel.               MIG              0.20        79.00
12-Aug-16      Corresponded with Gordon and conference with           MIG              0.40       158.00
               Gordon re insurance.
12-Aug-16      Corresponded with broker re status.                    MIG              0.20        79.00
12-Aug-16      Reviewed and finalized Receiver's report.              MIG              2.80     1,106.00
12-Aug-16      Conference with SEC re report and comments.            MIG              0.30       118.50
12-Aug-16      Conference with investors re status of case.           MIG              1.10       434.50
15-Aug-16      Corresponded with Schneider re emails.                 MIG              0.20        79.00
15-Aug-16      Corresponded with numerous investors re status.        MIG              1.00       395.00
15-Aug-16      Conference with Robbins re White and Burke.            MIG              0.30       118.50
15-Aug-16      Conference with Molton re status.                      MIG              0.20        79.00
15-Aug-16      Conference with Joan Goldstein re 829's and USCIS.     MIG              0.20        79.00
15-Aug-16      Conference with Graham re Burke lift and               MIG              2.20       869.00
               snowmaking.
15-Aug-16      Corresponded with Kurzban re USCIS.                    MIG              0.20        79.00
15-Aug-16      Receipt and review of correspondence from HSBC in      KAM              0.50        87.50
               response to Receiver's request for account
               information and liquidation; Prepare escrow deposit
               form for funds liquidated from Jay Construction
               Management, Inc. Account 8531; Organize records.
15-Aug-16      Work on cataloging deposit items in Receiver's trust   KAM              0.60       105.00
               account for accounting purposes; Discussion with
               bookkeeper regarding SFAR form.
15-Aug-16      Confer with N. Surgeon regarding information           KAM              0.20        35.00
               needed for investors and immigration status.
15-Aug-16      Receipt and review of cash position report.            KAM              0.10        17.50
15-Aug-16      Receipt and review of incoming receivership mail.      KAM              0.40        70.00
16-Aug-16      Attend to email and telephone inquiries.               KAM              0.40        70.00
16-Aug-16      Prepare and send letter to Marlin Leasing regarding    KAM              0.50        87.50
               notice of receivership and return of copy machines.
16-Aug-16      Correspond with Desjardin Bank regarding account       KAM              0.50        87.50
               access issues; Work on online account setup.
16-Aug-16      Telephone conference with investor regarding status    KAM              0.30        52.50
               of Q Burke K-1s.
16-Aug-16      Conference with N. Surgeon regarding immigration       KAM              0.20        35.00
               issues.
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16-Aug-16      Corresponded with Barter re Mike's Electric.           MIG              0.20        79.00
16-Aug-16      Conference with Kurzban re status.                     MIG              0.30       118.50
16-Aug-16      Corresponded with SEC re need for immigration          MIG              0.20        79.00
               help.
16-Aug-16      Conference with investors re status of receivership.   MIG              1.40       553.00
16-Aug-16      Corresponded with Bernstein re financing.              MIG              0.30       118.50
16-Aug-16      Conference with Cimo re his clients' immigration       MIG              0.20        79.00
               issues.
16-Aug-16      Corresponded with Harwood re ANCBio.                   MIG              0.30       118.50
16-Aug-16      Corresponded with Collingworth re Burke.               MIG              0.20        79.00
16-Aug-16      Corresponded with Cleary re insurance.                 MIG              0.30       118.50
16-Aug-16      JAY PEAK: Review issues regarding USCIS action.        JLR              1.50       592.50
17-Aug-16      Corresponded with Moulton re Request for               MIG              0.20        79.00
               Information.
17-Aug-16      Corresponded with Behar re immigration issues.         MIG              0.20        79.00
17-Aug-16      Corresponded with Kurzban re immigration issues.       MIG              0.20        79.00
17-Aug-16      Conference Tina Harwood re investors in ANC Bio.       MIG              0.60       237.00
17-Aug-16      Corresponded with Stenger re ANC Bio.                  MIG              0.20        79.00
17-Aug-16      Corresponded with Cleary re insurance.                 MIG              0.20        79.00
17-Aug-16      Conference with Schneider re Raymond James.            MIG              0.20        79.00
17-Aug-16      Corresponded with Heidi Scheinman of the State of      MIG              0.20        79.00
               Vermont.
17-Aug-16      Corresponded with US Attorney.                         MIG              0.20        79.00
17-Aug-16      Multiple communications with Goldberg and Miller       JSR              0.40       158.00
               re: CM Peak.
17-Aug-16      Review and address incoming mail for receivership      KAM              0.40        70.00
               entities.
17-Aug-16      Work on updates to investor and trade creditor         KAM              0.60       105.00
               mailing lists; Correspond with L. Button regarding
               unrecognized investor registrations.
17-Aug-16      Conference with M. Goldberg regarding repository       KAM              0.20        35.00
               for case documents.
17-Aug-16      Telephone conference with C. Cardillo at Cloud-Grid    KAM              0.40        70.00
               regarding documents hosting services.
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17-Aug-16      Review and analyze available funds and provide          KAM              0.30        52.50
               updated to Receiver.
18-Aug-16      Retrieve and return voicemail message from D. Hern      KAM              0.20        35.00
               at Stephen and Brady regarding past due invoices.
18-Aug-16      Correspond with attorney for investors regarding        KAM              0.10        17.50
               Receiver's Initial Report.
18-Aug-16      Contact webmaster regarding changes needed to           KAM              0.20        35.00
               formation of registration form on export.
18-Aug-16      Work on matters regarding updating of investor lists    KAM              0.60       105.00
               based on registration forms received to date.
18-Aug-16      Prepared fro and attended call with Vermont officials   MIG              2.50       987.50
               to discuss response to RFE.
18-Aug-16      Drafted letter to Piechiak.                             MIG              0.80       316.00
18-Aug-16      Corresponded with Harwood re ANCBio.                    MIG              0.20        79.00
18-Aug-16      Corresponded with Schneider re Newport.                 MIG              0.20        79.00
18-Aug-16      Corresponded with Behar re ages.                        MIG              0.20        79.00
19-Aug-16      Conference with Pendle re revisions.                    MIG              0.20        79.00
19-Aug-16      Conference with Behar re USCIS response.                MIG              0.30       118.50
19-Aug-16      Prepared for and attended call with Harwood.            MIG              0.60       237.00
19-Aug-16      Prepared for and attended call with Stenger and         MIG              1.00       395.00
               economist.
19-Aug-16      Conference with US Attorney re status.                  MIG              0.40       158.00
19-Aug-16      Corresponded with Singerman re Quiros.                  MIG              0.20        79.00
19-Aug-16      Receipt and review of authorizations from investors     KAM              0.30        52.50
               regarding attorney communications; Attend to
               updates to investor list re: same.
19-Aug-16      Review and analyze incoming receivership mail and       KAM              0.40        70.00
               attend to same.
19-Aug-16      Meeting with bookkeeper regarding financial             KAM              0.60       105.00
               accounting report and assemble information for
               preparation of same.
19-Aug-16      Telephone conference with several Jay Peak investors    KAM              0.50        87.50
               and trade creditors regarding case matters.
21-Aug-16      Monitor general email communications sent to            KAM              0.20        35.00
               Receiver.
22-Aug-16      Work on updates to investor lists to be used for        KAM              0.60       105.00
               noticing requirements.
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22-Aug-16      Corresponded with economist re Burke.                     MIG              0.40       158.00
22-Aug-16      Corresponded re Mallah Furman.                            MIG              0.20        79.00
22-Aug-16      Reviewed Pendle proposed legislation and drafte           MIG              2.80     1,106.00
               proposed revisions thereto.
22-Aug-16      Conference with Argiz re accounting.                      MIG              0.20        79.00
22-Aug-16      Corresponded with Moulton re Burke.                       MIG              0.20        79.00
22-Aug-16      Corresponded with Phong re ANC Bio.                       MIG              0.20        79.00
22-Aug-16      Corresponded with Hinton re telecom leases.               MIG              0.20        79.00
23-Aug-16      Conference with numerous investors.                       MIG              1.10       434.50
23-Aug-16      Reviewed and revised proposed legislation.                MIG              0.80       316.00
23-Aug-16      Conference with Naim Surgeon, Joe Rebak and               MIG              0.80       316.00
               Marissa Casablanca re revisions.
23-Aug-16      Conference with C. Martin re potential buyer and NY       MIG              0.40       158.00
               condo.
23-Aug-16      Reviewed emails on Peak CM.                               MIG              1.10       434.50
23-Aug-16      Conference call with Mike Goldberg.                       JLR              0.80       316.00
23-Aug-16      Confer with M. Goldberg regarding vendor inquiry.         KAM              0.20        35.00
23-Aug-16      Work on payment to A. Quiros from mortgage                KAM              0.60       105.00
               proceeds pursuant to court's order for living and other
               expenses.
23-Aug-16      Review email correspondence from K. Foster                KAM              0.10        17.50
               regarding tax matters.
23-Aug-16      Prepare and send letter to A. Quiros with enclosed        KAM              0.50        87.50
               check for $15,000 for living and other expenses by
               overnight mail.
24-Aug-16      Work on processing of registration forms.                 KAM              0.40        70.00
24-Aug-16      Contact Vermont Superior Court regarding filing of        KAM              0.30        52.50
               notice of receivership from out-of-state attorney.
24-Aug-16      Receipt and review of incoming receivership mail.         KAM              0.30        52.50
24-Aug-16      Conference with Pendle re status.                         MIG              0.30       118.50
24-Aug-16      Conference with Bill Griffin re indemnity.                MIG              0.20        79.00
24-Aug-16      Conference with Stenger re status and reviewed            MIG              0.40       158.00
               Stenger's memo.
25-Aug-16      Conference with Wells re Stateside.                       MIG              0.30       118.50
25-Aug-16      Numerous conferences with investors.                      MIG              0.80       316.00
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25-Aug-16      Conference with Korda re immigration issues.           MIG              0.30       118.50
25-Aug-16      Conference with Joseph re potential offer.             MIG              0.40       158.00
25-Aug-16      Conference with C. Martin re Joseph.                   MIG              0.30       118.50
25-Aug-16      Review draft Suggestion of Receivership prepared by    JML              0.40       158.00
               paralegal and revise.
25-Aug-16      Dealt with investor inquiries regarding case status.   KAM              0.50        87.50
25-Aug-16      Receipt and review of miscellaneous receivership       KAM              0.40        70.00
               mail.
26-Aug-16      Conference with Bob Martinez re Stenger.               MIG              0.20        79.00
26-Aug-16      Conference with Pieciak re Jay Peak visit.             MIG              0.20        79.00
26-Aug-16      Conference with Right and Endicott re Pieciak visit.   MIG              0.20        79.00
26-Aug-16      Conference with Behar re immigration issues.           MIG              0.20        79.00
26-Aug-16      Conference with numerous investors re status.          MIG              0.80       316.00
26-Aug-16      Conference with Pieciak re contractors.                MIG              0.60       237.00
26-Aug-16      Conference with Stenger and K. Graham re Burke         MIG              1.20       474.00
               Mountain.
26-Aug-16      Conference with ANC Bio investor re status.            MIG              0.20        79.00
26-Aug-16      Reviewed and finalized letter to Jean Joseph.          MIG              0.40       158.00
29-Aug-16      Corresponded with Wright re accounting.                MIG              0.30       118.50
29-Aug-16      Corresponded with Lifshitz re witnesses.               MIG              0.40       158.00
29-Aug-16      Corresponded with Tropin re witnesses.                 MIG              0.20        79.00
29-Aug-16      Conference with Pieciak re Burke opening.              MIG              0.20        79.00
29-Aug-16      Reviewed Penthouse Suites and JP Phase II              MIG              1.30       513.50
               Partnership documents to determine what was
               promised to investors.
29-Aug-16      Conference with Martinez re Stenger.                   MIG              0.10        39.50
29-Aug-16      Conference with Wright re Penthouse Suites and         MIG              0.30       118.50
               other issues.
29-Aug-16      Numerous conferences with Schneider re filing.         MIG              0.80       316.00
29-Aug-16      Conferences with investors re status of case.          MIG              1.10       434.50
29-Aug-16      Conference with Grasserneck and Divine re              MIG              0.50       197.50
               legislation.
29-Aug-16      Respond to creditor inquiries.                         JML              0.70       276.50
30-Aug-16      Reviewed accounting documents propounded to SEC.       MIG              0.30       118.50
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30-Aug-16      Conference with Cimo and client re status.              MIG              0.10        39.50
30-Aug-16      Reviewed offering documents and conferred with          MIG              1.60       632.00
               Wright re Penthouse Suites.
30-Aug-16      Numerous correspondence with investors.                 MIG              0.80       316.00
30-Aug-16      Corresponded with Pieciak re Burke hotel.               MIG              0.30       118.50
30-Aug-16      Numerous correspondence with K. Matregrano and          MIG              0.60       237.00
               others re notice of Citibank settlement.
30-Aug-16      Confer with Martinez re Stenger.                        MIG              0.20        79.00
30-Aug-16      Telephone conference with Eduardo at UP3 regarding      KAM              0.40        70.00
               modifications to website needed for noticing
               requirements.
30-Aug-16      Work on obtaining details and pricing for placement     KAM              1.50       262.50
               of display ad in Vermont newspapers in preparation
               for noticing requirements required in Citibank
               settlement motion; Multiple communications with M.
               Goldberg and newspapers re: same.
30-Aug-16      Review Receiver's motion for approval of Citibank       KAM              0.40        70.00
               settlement for purposes of preparing for noticing
               requirements.
30-Aug-16      Update Receiver's website with new postings.            KAM              0.30        52.50
30-Aug-16      Work on assembling and updating mass distribution       KAM              2.30       402.50
               lists for investors and vendors in preparation for
               noticing requirements for Citibank settlement motion;
               Multiple communications regarding same.
30-Aug-16      Contact fulfillment center regarding options and        KAM              0.80       140.00
               pricing for mass mailing; Work on assembly of
               information needed to obtain proposal for same.
30-Aug-16      Prepare escrow advice form for settlement funds         KAM              0.40        70.00
               received from Citibank in the amount of $700,000;
               Update settlement spreadsheet re: same.
31-Aug-16      Work on display ad for publication in newspapers.       KAM              1.50       262.50
31-Aug-16      Prepare updates to master bank account chart            KAM              0.60       105.00
               regarding Citibank settlement funds.
31-Aug-16      Communications with Vermont Digger regarding            KAM              0.20        35.00
               publication matters.
31-Aug-16      Receipt and review of incoming receivership mail.       KAM              0.30        52.50
31-Aug-16      Provide Receiver with information on Jay Peak           KAM              0.30        52.50
               accounting.
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31-Aug-16      Arrange for web posting of Citibank Settlement        KAM              0.10        17.50
               summary.
31-Aug-16      Conference with J. Goldstein re Regional Center.      MIG              0.20        79.00
31-Aug-16      Numerous conference with creditors.                   MIG              1.20       474.00
31-Aug-16      Conference with Pieciak re Burke opening and          MIG              0.50       197.50
               Newport.
31-Aug-16      Communicate with Goldberg re: allocation of Citi      JSR              0.50       197.50
               funds, court order.
1-Sep-16       Conference with Surgeon re order.                     MIG              0.20        79.00
1-Sep-16       Conference with Stenger re Burke and Farms.           MIG              0.30       118.50
1-Sep-16       Conference with Tropin re Vermont.                    MIG              0.30       118.50
1-Sep-16       Conference with Goldstein re Newport.                 MIG              0.50       197.50
1-Sep-16       Reviewed background on Kelly.                         MIG              0.40       158.00
1-Sep-16       Corresponded with investors re status of case.        MIG              1.00       395.00
1-Sep-16       Reviewed claims of vendors to investors.              MIG              1.10       434.50
1-Sep-16       Dealt with investor email inquiries regarding         KAM              0.30        52.50
               Citibank settlement, K-1's, case status.
1-Sep-16       Work on display banner for publication in Vermont     KAM              0.90       157.50
               Digger.
1-Sep-16       Dealt with inquiries from various parties regarding   KAM              0.60       105.00
               case status.
1-Sep-16       Work with webmaster regarding modifications for       KAM              0.40        70.00
               website so investors can convert text to another
               language.
1-Sep-16       Review and discuss proposal for ediscovery hosting    KAM              0.30        52.50
               with Receiver.
1-Sep-16       Review and analyze incoming receivership mail.        KAM              0.40        70.00
2-Sep-16       Conference with Martinez re Stenger.                  MIG              0.30       118.50
2-Sep-16       Conference with Martinez, Cleary and Brook re         MIG              0.40       158.00
               Stenger.
2-Sep-16       Conference with Olson re Stenger.                     MIG              0.20        79.00
2-Sep-16       Conference with Stenger and Martinez re status.       MIG              0.40       158.00
2-Sep-16       Corresponded with Graham re Burke.                    MIG              0.20        79.00
2-Sep-16       Corresponded with Wright re floor plan and other      MIG              0.40       158.00
               issues.
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2-Sep-16      Drafted statement re Stenger.                          MIG              0.40       158.00
2-Sep-16      Corresponded with creditor re Burke.                   MIG              0.20        79.00
2-Sep-16      Conference with Pieciak re Suite mix.                  MIG              0.40       158.00
2-Sep-16      Second conference with Pieciak re discovery.           MIG              0.30       118.50
2-Sep-16      Conference with Martinez re Stenger.                   MIG              0.30       118.50
2-Sep-16      Conference with Martin re background.                  MIG              0.30       118.50
2-Sep-16      Conference with Brito re revised EB-5 law.             MIG              0.30       118.50
2-Sep-16      Conference with Pieciak re contractor liens.           MIG              0.30       118.50
6-Sep-16      Meeting with Commissioner Pieciak.                     MIG              2.30       908.50
6-Sep-16      Meeting with Pieciak and Sylvester.                    MIG              1.00       395.00
6-Sep-16      Numerous calls with investors.                         MIG              1.20       474.00
6-Sep-16      Work on web posting for Receivership website.          KAM              0.60       105.00
6-Sep-16      Review and respond to trade creditor inquiry           KAM              0.20        35.00
              regarding case status.
6-Sep-16      Attend to email inquiries sent to Receiver's general   KAM              0.40        70.00
              mailbox.
7-Sep-16      Attend to matters regarding payment of Quiros'         KAM              0.30        52.50
              monthly living expenses.
7-Sep-16      Review and analyze receivership mail and follow up     KAM              0.60       105.00
              on matters.
7-Sep-16      Dealt with creditor and investor inquiries.            KAM              0.40        70.00
7-Sep-16      Meeting with Stenger.                                  MIG              1.10       434.50
7-Sep-16      Attend meeting with Scher at Burke.                    MIG              0.80       316.00
7-Sep-16      Conference with Governor Shumlin and staff.            MIG              0.50       197.50
7-Sep-16      Meeting with BMA Officials.                            MIG              3.20     1,264.00
7-Sep-16      Meeting with contractors.                              MIG              1.30       513.50
7-Sep-16      Meeting with K. Graham, D. Graham, J. Macomber ,       MIG              2.80     1,106.00
              J. Dater and S. Burlack.
7-Sep-16      Second meeting with Stenger.                           MIG              1.00       395.00
7-Sep-16      Tour Jay Peak property.                                NSS              2.30       598.00
8-Sep-16      Strategize and analyze Burke mountain progress (1);    NSS              3.50       910.00
              Confer with Chinese investor group (1); Confer with
              governor of Vermont and attend press conference
              (1.5).
8-Sep-16      Meeting with Naim to discuss Burke.                    MIG              1.10       434.50
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8-Sep-16       Meeting with Chinese investor group.                   MIG              1.30       513.50
8-Sep-16       Meeting with Governor Shumlin employees and            MIG              2.60     1,027.00
               investors.
8-Sep-16       Meeting with Naim and responded to investor            MIG              1.10       434.50
               inquires.
8-Sep-16       Meeting with Harwick to discuss USCIS.                 MIG              0.30       118.50
8-Sep-16       Meeting with Naim, Atropine and Liftshitz to discuss   MIG              2.60     1,027.00
               witness interview and background.
8-Sep-16       Multiple communications with Linda Jackson,            JSR              1.20       474.00
               Goldberg and Matregrano re: Wang investors.
8-Sep-16       Research information on status of investor's           KAM              0.20        35.00
               investment requested by J. Robbins.
8-Sep-16       Preparation of check request for Ritter's              KAM              0.30        52.50
               Communication postage costs and arrange for
               delivery.
8-Sep-16       Review correspondence from attorney regarding          KAM              0.20        35.00
               Burke K-1's; Follow up with L. Button regarding
               same.
9-Sep-16       Meeting with Tropin re witness interviews.             MIG              0.60       237.00
9-Sep-16       Conference with creditors re status.                   MIG              1.10       434.50
10-Sep-16      Corresponded with Sutton.                              MIG              0.30       118.50
10-Sep-16      Corresponded with Tovar.                               MIG              0.20        79.00
10-Sep-16      Corresponded with Graham.                              MIG              0.20        79.00
10-Sep-16      Corresponded with Singh.                               MIG              0.20        79.00
12-Sep-16      Reviewed and executed numerous fax documents.          MIG              1.20       474.00
12-Sep-16      Review and analyze new EB-5 bill.                      MIG              1.80       711.00
12-Sep-16      Draft letter to Colucci.                               MIG              0.70       276.50
12-Sep-16      Spoke with Wells re stateside.                         MIG              0.20        79.00
12-Sep-16      Conference with numerous creditors re status.          MIG              0.90       355.50
12-Sep-16      Reviewed correspondence from Lopriveno and             MIG              0.60       237.00
               corresponded re same.
12-Sep-16      Conference with Walker re EB-5 law.                    MIG              0.20        79.00
12-Sep-16      Conference with Stenger re snowmaking.                 MIG              0.20        79.00
12-Sep-16      Conference with Korda re immigration response.         MIG              0.20        79.00
12-Sep-16      Conference with Dupruis re accounting.                 MIG              0.20        79.00
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12-Sep-16      Prepare correspondence to Receivership professionals       JML              0.20        79.00
               re status.
12-Sep-16      Multiple follow up correspondence re Trane motion          JML              0.70       276.50
               (.3); discuss with Receiver prior to filing (.2); revise
               local Rule 7.1 Certification (.2).
12-Sep-16      Conference with numerous parties regarding status of       KAM              0.60       105.00
               matter.
13-Sep-16      Discussion with J. Levit regarding Receiver's              KAM              0.10        17.50
               responses to collection notices.
13-Sep-16      Review update from Vermont Digger with                     KAM              0.20        35.00
               verification of second website posting of display
               banner ad.
13-Sep-16      Telephone conference with investor regarding status        KAM              0.20        35.00
               of AnC Bio.
13-Sep-16      Work on new website posting regarding EB-5                 KAM              0.50        87.50
               proposed legislation.
13-Sep-16      Draft letter to Guy Tapper, Property Management            KAM              0.60       105.00
               State of Vermont Agency of Transportation,
               regarding receivership stay.
13-Sep-16      Draft letter to Amy Driscoll, State of Vermont,            KAM              0.40        70.00
               Department of Taxes regarding collection notice for
               AnC Bio regarding business taxes.
13-Sep-16      Work on website updates and postings regarding EB5         KAM              0.60       105.00
               legislations and other matters.
14-Sep-16      Dealt with receivership entity / partnership tax return    KAM              0.50        87.50
               filings.
14-Sep-16      Met with J. Levit to discuss collection notices from       KAM              0.30        52.50
               State of Vermont.
14-Sep-16      Dealt with State and Federal tax returns to be filed on    KAM              0.40        70.00
               behalf of various receivership entities.
14-Sep-16      Conference with J. Levit regarding condominium             KAM              0.30        52.50
               assessments for 11AQ, LLC property.
14-Sep-16      Responded to inquiries sent to Receiver's general          KAM              0.30        52.50
               mailbox.
14-Sep-16      Follow up with Receiver re Federal Condominium             JML              0.30       118.50
               Association's demand for payment of condo dues
               form 111 AQ, LLC (.2); prepare correspondence to
               Association's counsel (.1).
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14-Sep-16      Review correspondence prepare by paralegal re         JML              0.40       158.00
               demands for payment form Vermont taxing
               authorities and discuss with paralegal.
14-Sep-16      Conference with Martin re trip to property.           MIG              0.30       118.50
14-Sep-16      Conference with Whipley re templates.                 MIG              0.30       118.50
14-Sep-16      Conference with creditors re status of case.          MIG              0.30       118.50
14-Sep-16      Reviewed and executed Morris Brown tax                MIG              0.30       118.50
               documents.
14-Sep-16      Conference with Alan Parmikin and client.             MIG              0.30       118.50
14-Sep-16      Conference with K. Matregrano and J. Levit re         MIG              0.30       118.50
               warehouse.
14-Sep-16      Conference with Kurzban and Stateside template.       MIG              0.30       118.50
15-Sep-16      Conference with Levenson re accounting.               MIG              0.20        79.00
15-Sep-16      Finalized accounting for SEC.                         MIG              0.30       118.50
15-Sep-16      Conference with Klasko, Whipkey and McNeil re         MIG              0.30       118.50
               status.
15-Sep-16      Corresponded with investors re status of case.        MIG              0.80       316.00
15-Sep-16      Conference with Behar re status of USCIS response.    MIG              0.20        79.00
15-Sep-16      Review and edit Receiver's Report.                    JML              0.70       276.50
15-Sep-16      Attend to email and voicemail inquiries regarding     KAM              0.70       122.50
               case status; Review voluminous receivership mail.
15-Sep-16      Confer with M. Goldberg regarding electronic          KAM              0.30        52.50
               discovery hosting; Contact C. Cardillo regarding
               proposal; Discuss proposal with Receiver.
15-Sep-16      Conference with J. Robbins regarding creditor         KAM              0.10        17.50
               inquiries.
15-Sep-16      Correspond with D. McNeil regarding accounting        KAM              0.20        35.00
               matters.
16-Sep-16      Work on assembly of banking information for D.        KAM              0.60       105.00
               McNeil in preparation of financial statements.
16-Sep-16      Receipt and review communications from creditor       KAM              0.10        17.50
               FMCC regarding past due receivables.
16-Sep-16      Correspond with J. Schneider regarding missing bank   KAM              0.20        35.00
               statements and to confirm account balances.
16-Sep-16      Review and process invoice from Vermont Digger        KAM              0.20        35.00
               for publication of banner ad.
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16-Sep-16      Continue to assemble bank account statements and       KAM              0.70       122.50
               details needed by D. McNeil in preparation of
               financial statements.
16-Sep-16      Receipt and review of communication from FMCC          KAM              0.10        17.50
               regarding payment; Correspond with J. Robbins re:
               same.
16-Sep-16      Multiple correspondence re Receiver's Report and       JML              0.90       355.50
               multiple revisions.
16-Sep-16      Analyze documents for status report.                   JML              2.80     1,106.00
16-Sep-16      Correspondence with SEC re accounting.                 MIG              0.30       118.50
16-Sep-16      Numerous correspondence with investors.                MIG              1.40       553.00
16-Sep-16      Corresponded with Pieciak re preliminary injunction.   MIG              0.20        79.00
16-Sep-16      Reviewed correspondence form Graham.                   MIG              0.30       118.50
17-Sep-16      Corresponded with Keith Miller re MSSI                 MIG              0.20        79.00
17-Sep-16      Corresponded with Stenger re car.                      MIG              0.20        79.00
17-Sep-16      Corresponded with Martinez re Stenger.                 MIG              0.20        79.00
18-Sep-16      Corresponded with Harwood re Burke.                    MIG              0.20        79.00
19-Sep-16      Corresponded with Wright re accountants.               MIG              0.20        79.00
19-Sep-16      Corresponded with Klasko re USCIS templates.           MIG              0.20        79.00
19-Sep-16      Corresponded with Cimo re Signorini.                   MIG              0.20        79.00
19-Sep-16      Corresponded with DuPuis re accounting.                MIG              0.30       118.50
19-Sep-16      Numerous correspondence with investors.                MIG              0.80       316.00
19-Sep-16      Analyze records for report.                            JML              4.30     1,698.50
19-Sep-16      Multiple correspondence re report.                     JML              0.60       237.00
19-Sep-16      Receipt and review of correspondence from K.           KAM              0.20        35.00
               White, Esquire regarding change of address for his
               client Kozhemiakina; Update Receiver's records re:
               same and notify L. Button of same.
19-Sep-16      Review and analyze incoming mail.                      KAM              0.40        70.00
20-Sep-16      Multiple conferences re research assignments.          JML              0.80       316.00
20-Sep-16      Corresponded with Klasko re Stateside.                 MIG              0.30       118.50
20-Sep-16      Reviewed Fead correspondence.                          MIG              0.20        79.00
20-Sep-16      Corresponded with Scherer re Spitzer.                  MIG              0.20        79.00
20-Sep-16      Corresponded with Endicott re Stenger.                 MIG              0.30       118.50
20-Sep-16      Corresponded with investors re status of case.         MIG              0.40       158.00
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20-Sep-16      Corresponded with Moreau re Stateside.                   MIG              0.20        79.00
20-Sep-16      Corresponded with Whipkey re information.                MIG              0.30       118.50
20-Sep-16      Conference with Levenson and Martin re status.           MIG              0.30       118.50
21-Sep-16      Numerous correspondence with investors re status.        MIG              1.10       434.50
21-Sep-16      Telephone conference with Kline re: e-mail               JSR              0.40       158.00
               production and Communicate with Goldberg re:
               same.
21-Sep-16      Communicate with Goldberg and Schneider re:              JSR              0.20        79.00
               AncBio investor meeting.
21-Sep-16      Confer with immigration attorneys regarding timing       NSS              3.10       806.00
               of responses to USCIS requests for evidence. Confer
               with J. Schneider regarding status of subpoenas to
               financial institutions associated with investor funds.
21-Sep-16      Draft memo to file.                                      JLR              0.20        79.00
21-Sep-16      Prepare email to L. Button regarding information         KAM              0.20        35.00
               needed by immigration counsel for Stateside and
               Lodge and Townhouse Requests for Information.
21-Sep-16      Dealt with investor inquires.                            KAM              0.20        35.00
21-Sep-16      Review incoming mail; Discussions with S. Fusco re:      KAM              0.50        87.50
               same.
21-Sep-16      Review of Judgment of Permanent Injunction against       KAM              0.10        17.50
               W. Stenger and arrange for web posting of same.
22-Sep-16      Attend to inquiries from creditors.                      KAM              0.20        35.00
22-Sep-16      Work on website updates/postings.                        KAM              0.20        35.00
22-Sep-16      Numerous correspondence with Whipkey and                 MIG              0.60       237.00
               McNeil re Stateside and AncBio.
22-Sep-16      Conference with Pieciak re Burke.                        MIG              0.20        79.00
22-Sep-16      Corresponded with investors' attorneys re status.        MIG              0.50       197.50
22-Sep-16      Reviewed Levenson document request and                   MIG              0.40       158.00
               conference with K. Matregrano re same.
22-Sep-16      Corresponded with Korda re status.                       MIG              0.10        39.50
23-Sep-16      Corresponded with Whipkey and Klasko re USCIS            MIG              0.30       118.50
               templates and job creation.
23-Sep-16      Corresponded with Moreau re estimated.                   MIG              0.20        79.00
23-Sep-16      Numerous correspondence with investors re status.        MIG              0.60       237.00
23-Sep-16      Communicate with Kline re: document production.          JSR              0.20        79.00
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26-Sep-16      Attended group call re EB5 issues.                    MIG              0.80       316.00
26-Sep-16      Confer with Cimo and client re status of case.        MIG              0.40       158.00
26-Sep-16      Confer with Whipkey re accounting.                    MIG              0.20        79.00
26-Sep-16      Numerous correspondence with investors re status.     MIG              0.60       237.00
26-Sep-16      Review template of I-829.                             JLR              1.10       434.50
26-Sep-16      Confer with immigration counsel on upcoming           NSS              1.90       494.00
               deadlines for investors.
26-Sep-16      Prepare correspondence to special counsel re report   JML              0.60       237.00
               and follow up conference with special counsel.
26-Sep-16      Gather information for report.                        JML              2.60     1,027.00
26-Sep-16      Attend to creditor email inquiries.                   KAM              0.40        70.00
26-Sep-16      Review communication from Mudgett Jennett &           KAM              0.20        35.00
               Krogh-Wisner, P.C. seeking payment for responding
               to SEC's pre-receivership subpoena.
26-Sep-16      Confer with J. Levit regarding reporting matters.     KAM              0.30        52.50
26-Sep-16      Review recap of call received from K. Chandani-       KAM              0.10        17.50
               Simbeck at Klasko regarding immigration response
               matters.
26-Sep-16      Review voluminous mail and dealt with returned mail   KAM              0.70       122.50
               from Citibank settlement noticing.
26-Sep-16      Attend strategy call with Klasko, H. Whipkey, and     KAM              0.80       140.00
               Receiver regarding Statestide and AnC Bio template
               matters.
27-Sep-16      Telephone conference with A. Salazar regarding bank   KAM              0.20        35.00
               records.
27-Sep-16      Attend to matters regarding SEC's Rule 34 Request     KAM              0.40        70.00
               for Documents.
27-Sep-16      Review email from S. Swearengen at Leisure            KAM              0.10        17.50
               regarding new QBurke People's Bank Account.
27-Sep-16      Multiple communications with H. Whipkey regarding     KAM              0.50        87.50
               immigration matters.
27-Sep-16      Telephone conferences with investors regarding case   KAM              0.40        70.00
               status.
27-Sep-16      Confer with Special Counsel re pre-receivership       JML              0.60       237.00
               actions and follow up with Receiver.
27-Sep-16      Prepare status report.                                JML              3.70     1,461.50
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27-Sep-16      Confer with M. McManus re security services              JML              0.20        79.00
               provided to Receiver.
27-Sep-16      Conference with Wong re ANCBio.                          MIG              0.40       158.00
27-Sep-16      Conference with Fraser re Stenger and Jay Peak.          MIG              0.30       118.50
27-Sep-16      Reviewed escrow agreement and conference with            MIG              0.30       118.50
               Naim re status.
27-Sep-16      Conference with Levenson re discovery.                   MIG              0.20        79.00
27-Sep-16      Conference with Whipkey re job creation.                 MIG              0.20        79.00
27-Sep-16      Conference with Pieciak re job creation.                 MIG              0.40       158.00
27-Sep-16      Corresponded with contractor re payment.                 MIG              0.20        79.00
27-Sep-16      Conference with Rebak re Stateside and AncBio.           MIG              0.40       158.00
27-Sep-16      Multiple communications with Kline re: production        JSR              0.40       158.00
               of e-mails.
28-Sep-16      Conference with SEC re production and fee hearing.       MIG              0.30       118.50
28-Sep-16      Conference with Davis and Schneider re production.       MIG              0.20        79.00
28-Sep-16      Conference with creditor re payment.                     MIG              0.30       118.50
28-Sep-16      Numerous correspondence with investors re EB-5           MIG              0.60       237.00
               status.
28-Sep-16      Correspondence with SEC re listing.                      MIG              0.10        39.50
28-Sep-16      Corresponded with Whipkey re EB-5.                       MIG              0.40       158.00
28-Sep-16      Review court docket and filing for preparation of        JML              4.20     1,659.00
               report.
28-Sep-16      Telephone conference with attorney for investor in Q     KAM              0.20        35.00
               Burke regarding incorrect K-1.
28-Sep-16      Prepare and send letter to I. Ovies regarding            KAM              0.80       140.00
               Receiver's request for records pertaining to JCM;
               Multiple conferences with I. Ovies regarding same;
               Provide records to accountants; Spoke with Whipkey
               regarding records.
28-Sep-16      Correspondence with Gowling regarding attorney's         KAM              0.20        35.00
               fees and expenses.
28-Sep-16      Telephone conference with H. Whipkey regarding           KAM              0.20        35.00
               tasks and information needed for preparation of for I-
               829 templates.
28-Sep-16      Telephone conference with investor regarding             KAM              0.20        35.00
               Citibank Settlement Notice.
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29-Sep-16      Status conference with immigration team to discuss     KAM              0.90       157.50
               status of project pertaining to preparation of I-829
               template for AnC Bio and RFE's for Stateside and
               Lodge and Townhouse.
29-Sep-16      Conference with Receiver and N. Surgeon regarding      KAM              0.20        35.00
               extension to be requested from USCIS pertaining to
               responses due to requests for evidence.
29-Sep-16      Review communications from various attorneys in        KAM              0.30        52.50
               response to RFE's.
29-Sep-16      Prepare and send email communication to additional     KAM              0.50        87.50
               immigration attorneys requesting RFE's for Stateside
               and/or Lodge and Townhouse.
29-Sep-16      Prepare report for receiver.                           JML              3.80     1,501.00
29-Sep-16      Multiple conferences re Receiver's Report.             JML              0.30       118.50
29-Sep-16      Confer with immigration counsel on status of           NSS              2.10       546.00
               investor data. Confer with SEC on upcoming hearing.
29-Sep-16      Draft letter to USCIS.                                 JLR              1.50       592.50
29-Sep-16      Confer with Burton re PMSI.                            MIG              0.20        79.00
29-Sep-16      Revised PMSI.                                          MIG              0.40       158.00
29-Sep-16      Confer with SEC re status.                             MIG              0.20        79.00
29-Sep-16      Numerous correspondence with investors re status.      MIG              1.40       553.00
30-Sep-16      Numerous correspondence with investors.                MIG              1.10       434.50
30-Sep-16      Research and revise report.                            JML              6.20     2,449.00
30-Sep-16      Follow up with I. Ovies regarding balance of           KAM              0.60       105.00
               Receiver's request for documents; Download records
               sent by Ovies and forward to accountants.
30-Sep-16      Correspond with J. Robbins regarding State of          KAM              0.10        17.50
               Vermont records request.
30-Sep-16      Work on Jay Peak project email lists for noticing      KAM              0.70       122.50
               purposes.
30-Sep-16      Confer with A. Salazar regarding bank productions.     KAM              0.40        70.00
2-Oct-16       Numerous correspondence with investors re status       MIG              0.80       316.00
               EB-5 issues.
2-Oct-16       Corresponded with Goldstein re Regional Center.        MIG              0.20        79.00
3-Oct-16       Attended conference call with accountants.             MIG              0.40       158.00
3-Oct-16       Reviewed SAR and revised same.                         MIG              0.30       118.50
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3-Oct-16      Conference with accountants re forensic.               MIG              0.70       276.50
3-Oct-16      Corresponded with Rebak re causes of action.           MIG              0.20        79.00
3-Oct-16      Corresponded with Naim Surgeon re Quiros fee           MIG              0.10        39.50
              hearing.
3-Oct-16      Corresponded with Tovar re meeting.                    MIG              0.10        39.50
3-Oct-16      Corresponded with Barthalon re Stenger benefits.       MIG              0.20        79.00
3-Oct-16      Corresponded with Altman re meeting.                   MIG              0.20        79.00
3-Oct-16      Corresponded with creditors re EB-5 issues.            MIG              1.40       553.00
3-Oct-16      Corresponded with Graham re Burke.                     MIG              0.30       118.50
3-Oct-16      Reviewed agreement received from Graham.               MIG              0.40       158.00
3-Oct-16      Conference with Wells re Stateside.                    MIG              0.20        79.00
3-Oct-16      Respond to immigration team regarding AnC Bio          KAM              0.10        17.50
              investors.
3-Oct-16      Work on email blast to Jay Peak Biomedical             KAM              0.60       105.00
              attorneys requesting green card information.
3-Oct-16      Strategy conference with H. Whipkey regarding AnC      KAM              0.20        35.00
              Bio I-829 matters.
3-Oct-16      Receipt and review of receivership mail; Attend to     KAM              0.60       105.00
              inquiries from investors.
4-Oct-16      Work on trust accounting matters.                      KAM              0.60       105.00
4-Oct-16      Review and revise draft of report; Multiple            KAM              0.80       140.00
              discussions with J. Levit re: same.
4-Oct-16      Research information regarding investor funds in       KAM              0.20        35.00
              escrow in response to State of Vermont informational
              request.
4-Oct-16      Conference with Schwartz re warehouse.                 MIG              0.30       118.50
4-Oct-16      Reviewed payroll reports.                              MIG              0.40       158.00
4-Oct-16      Conference with Endicott re reports.                   MIG              0.20        79.00
4-Oct-16      Numerous correspondence with investors.                MIG              0.70       276.50
4-Oct-16      Corresponded with Gordon re expense.                   MIG              0.20        79.00
4-Oct-16      Corresponded with Schneider re Citibank.               MIG              0.30       118.50
4-Oct-16      Corresponded with Whipkey re accounting.               MIG              0.20        79.00
4-Oct-16      Work on report for Receiver (3.2); review and revise   JML              5.70     2,251.50
              exhibits (1.7); multiple follow up conferences with
              Receiver and paralegal (.8).
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4-Oct-16      Confer with co-counsel regarding documents needed       NSS              2.50       650.00
              for I-829 template. Review and analyze documents
              and produce to immigration counsel.
5-Oct-16      Confer with investors attorneys about I-829 template.   NSS              4.50     1,170.00
              Review and analyze case law regarding enjoining
              USCIS.
5-Oct-16      Multiple correspondence and revise of report.           JML              3.30     1,303.50
5-Oct-16      Multiple conferences with Receiver and paralegal re     JML              0.70       276.50
              status and revisions to reports.
5-Oct-16      Conference call regarding RFEs and 829s.                JLR              1.20       474.00
5-Oct-16      Numerous correspondence with investors.                 MIG              1.20       474.00
5-Oct-16      Conference with Kapila re forensic accounting.          MIG              0.30       118.50
5-Oct-16      Conference with Klasko re 829 template.                 MIG              0.20        79.00
5-Oct-16      Conference with Whipkey re investors.                   MIG              0.20        79.00
5-Oct-16      Conference with Schneider re discovery.                 MIG              0.10        39.50
5-Oct-16      Confer with A. Salazar regarding Jay Peak bank          KAM              0.30        52.50
              records.
5-Oct-16      Communications with H. Whipkey regarding Klasko         KAM              0.40        70.00
              document requests.
5-Oct-16      Telephone conference with N. Surgeon regarding          KAM              0.20        35.00
              immigration matters.
5-Oct-16      Communications with J. Levit regarding edits to         KAM              0.40        70.00
              status report.
5-Oct-16      Telephone conferences with multiple parties             KAM              0.70       122.50
              regarding case status and immigration matters;
              Review receivership mail.
6-Oct-16      Conference with investors re immigration issues.        MIG              0.60       237.00
6-Oct-16      Corresponded with officials re meeting.                 MIG              0.30       118.50
6-Oct-16      Corresponded with Pieciak re discovery.                 MIG              0.10        39.50
6-Oct-16      Conference with Stenger re winterizing homes.           MIG              0.50       197.50
7-Oct-16      Numerous correspondence with investors re               MIG              0.70       276.50
              immigration issues.
7-Oct-16      Corresponded with Klasko and reviewed letter to         MIG              0.40       158.00
              USCIS.
7-Oct-16      Meeting with Stenger re status.                         MIG              0.20        79.00
7-Oct-16      Meeting with Pieciak re State law suit.                 MIG              0.60       237.00
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7-Oct-16       Communicate with Matregrano re: SEC production         JSR              0.50       197.50
               and review disc.
7-Oct-16       Review of investor email communications regarding      KAM              0.30        52.50
               status of green cards; Forward same to H. Whipkey.
7-Oct-16       Prepare and send email to AnC Bio Investors and        KAM              0.70       122.50
               their attorneys regarding green cards.
7-Oct-16       Telephone conference with M. Davis at Kapila           KAM              0.30        52.50
               regarding NECS production and AnC Bio deadlines
               and information needed for template.
7-Oct-16       Strategy call with H. Whipkey regarding                KAM              1.90       332.50
               correspondence to AnC Bio investors and attorneys;
               job creation issues (.90); review and analyze
               voluminous NECS production for evidence of
               payments to show job creation (.80)
7-Oct-16       Communications with multiple investors regarding       KAM              0.50        87.50
               immigration concerns.
7-Oct-16       Review and finalize letter to USCIS regarding          KAM              0.20        35.00
               extension.
7-Oct-16       Finalize letter to USCIS on behalf of Receiver         KAM              0.40        70.00
               regarding reissuance of RFE's and send to Klasko;
               Review G-28 form to be signed by Receiver and
               discuss with Klasko.
9-Oct-16       Corresponded with investors re sale of property.       MIG              0.60       237.00
10-Oct-16      Corresponded with Schneider and Wachslag re            MIG              0.30       118.50
               documents.
10-Oct-16      Conference with investors re EB-5 issues.              MIG              0.60       237.00
10-Oct-16      Spoke with Schneider re objection.                     MIG              0.20        79.00
10-Oct-16      Reviewed objection to Citi settlement.                 MIG              0.30       118.50
10-Oct-16      Second call with Schneider re discovery and lap top.   MIG              0.30       118.50
10-Oct-16      Review correspondence from Ron Klasko.                 JLR              0.20        79.00
10-Oct-16      Memo to Michael Goldberg.                              JLR              0.20        79.00
10-Oct-16      Attend to matters regarding finalization of Form-G28   KAM              0.30        52.50
               and send to Klasko.
10-Oct-16      Receipt and review of response emails from investors   KAM              0.40        70.00
               with copies green cards needed to update Jay Peak
               records; Correspond with H. Whipkey re: same.
10-Oct-16      Attend to inquiry from interested party requesting     KAM              0.20        35.00
               copy of Citibank Settlement Motion and Order.
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10-Oct-16      Telephone conference with various parties requesting   KAM              0.50        87.50
               case status and information on Citibank Settlement.
10-Oct-16      Attend to inquiry from immigration attorney            KAM              0.10        17.50
               regarding status of Jay Peak Biomedical template;
               Confer with Receiver re: same.
10-Oct-16      Multiple conference with H. Whipkey regarding          KAM              0.70       122.50
               support needed for I-829 templates.
10-Oct-16      Telephone conference with accountants regarding        KAM              0.80       140.00
               NECS production; Analyze NECS production to
               identify documents that would support job creation.
10-Oct-16      Arrange for payment of invoice from Burlington Free    KAM              0.20        35.00
               Press.
11-Oct-16      Work on cash flow report with Receiver and Leisure.    KAM              0.60       105.00
11-Oct-16      Assemble documents for accountants produced by         KAM              0.90       157.50
               William Kelly and Inner Circle.
11-Oct-16      Attend strategy call with immigration team regarding   KAM              1.30       227.50
               various matters for finalization of template showing
               job creation and responses to RFE's; Attend to
               several post-call inquiries.
11-Oct-16      Receipt and review of various emails from investors    KAM              0.30        52.50
               and counsel regarding immigration matters.
11-Oct-16      Review and finalize Receiver's Declaration regarding   KAM              0.40        70.00
               Citibank Settlement.
11-Oct-16      Call with immigration team regarding I-829             KAM              0.50        87.50
               templates.
11-Oct-16      Conference call with Ron Klasko et al.                 JLR              0.60       237.00
11-Oct-16      Review and send e-mails with Ron Klasko, Heather       JLR              0.90       355.50
               W. and others. .
11-Oct-16      Memo to Naim Surgeon.                                  JLR              0.30       118.50
11-Oct-16      Confer with Receiver re status of payment to           JML              0.20        79.00
               contractors.
11-Oct-16      Confer with immigration counsel regarding extension    NSS              6.20     1,612.00
               of deadline to respond to RFE's. Review and analyze
               case law regarding jurisdiction of federal court to
               enjoin USCIS. Review and analyze administrative
               procedure act. Review and analyze immigration and
               naturalization act.
11-Oct-16      Conference with Endicott and Dupris re accounting.     MIG              0.30       118.50
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11-Oct-16      Conference with Matregrano re accounting.             MIG              0.40       158.00
11-Oct-16      Reviewed and revised SAR report.                      MIG              0.40       158.00
11-Oct-16      Conference with Levenson re professionals fee and     MIG              0.30       118.50
               SAR.
11-Oct-16      Attended weekly call with immigration attorneys.      MIG              0.80       316.00
12-Oct-16      Numerous correspondence with investors re status.     MIG              2.30       908.50
12-Oct-16      Review receivership mail (.5); Confer with Receiver   KAM              1.40       245.00
               on immigrations matters (.3); Numerous
               communications with parties regarding receivership
               affairs (.6).
13-Oct-16      Correspond with Merrill Lynch counsel regarding       KAM              0.20        35.00
               missing bank statements; Confer with A. Salazar re:
               same and subpoenaed records.
13-Oct-16      Telephone conference with R. Schwarz regarding        KAM              0.30        52.50
               status of rent owed on warehouse lease; Spoke with
               Receiver re: same.
13-Oct-16      Conference with Schneider re proposed Citi order.     MIG              0.40       158.00
13-Oct-16      Numerous correspondence with creditors.               MIG              0.80       316.00
13-Oct-16      Conference with Levenson re lap top and discovery.    MIG              0.20        79.00
13-Oct-16      Conference with Naim re USCIS.                        MIG              0.30       118.50
14-Oct-16      Prepared for and attended conference with Tovar and   MIG              1.40       553.00
               her clients.
14-Oct-16      Numerous calls with investors re status of            MIG              1.10       434.50
               receivership.
14-Oct-16      Review and edit report.                               JML              1.40       553.00
14-Oct-16      Work on updates to website regarding case status.     KAM              0.40        70.00
14-Oct-16      Attend to creditor emails and telephone calls (.4);   KAM              0.70       122.50
               Review incoming receivership mail (.3).
16-Oct-16      Work on organizing and uploading various              KAM              3.20       560.00
               production to Citrix ShareFile for processing and
               importing into IPro.
17-Oct-16      Work on immigration template matters (.4);            KAM              0.60       105.00
               Telephone conference with H. Whipkey regarding
               same (.2).
17-Oct-16      Multiple conferences with C. Cardillo of Cloud Grid   KAM              0.60       105.00
               regarding processing of data for Ipro database;
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17-Oct-16      Review incoming mail for GSI of Dade County (.30);     KAM              0.70       122.50
               Attend to document organization (.4).
17-Oct-16      Follow up re case administration.                      JML              0.90       355.50
17-Oct-16      Confer with Receiver re collection issues.             JML              0.30       118.50
17-Oct-16      Conference with SEC re various issues.                 MIG              0.30       118.50
17-Oct-16      Conference with Aguilar re ANC.                        MIG              0.80       316.00
17-Oct-16      Conference with Whipkey re immigration issues.         MIG              0.30       118.50
17-Oct-16      Conference with investors re status of receivership.   MIG              0.60       237.00
17-Oct-16      Conference with economist.                             MIG              0.30       118.50
17-Oct-16      Meeting with Miami with Ron Klasko to discuss          MIG              2.20       869.00
               immigration issues.
18-Oct-16      Conference with Sarah Wong re EB-5 issues.             MIG              0.30       118.50
18-Oct-16      Conference with Wells re status of construction.       MIG              0.20        79.00
18-Oct-16      Corresponded with contractor re payment.               MIG              0.20        79.00
18-Oct-16      Conference with Pedro Brito re ANCBio.                 MIG              0.20        79.00
18-Oct-16      Corresponded with Endicott re Ebiza.                   MIG              0.30       118.50
18-Oct-16      Corresponded with Christine Pierpont re Lydenville     MIG              0.30       118.50
               Electric.
18-Oct-16      Corresponded with Wright re UCC and revised UCC.       MIG              0.40       158.00
18-Oct-16      Conference with Schneider re Citibank.                 MIG              0.20        79.00
18-Oct-16      Numerous conferences with creditors.                   MIG              0.70       276.50
18-Oct-16      Reviewed monthly financial reports.                    MIG              0.80       316.00
18-Oct-16      Multiple conferences re report and case filings.       JML              0.60       237.00
18-Oct-16      Review court filings and arrange for web posting of    KAM              0.50        87.50
               various motions and orders.
19-Oct-16      Attend status call with immigration team regarding     KAM              0.80       140.00
               AnC Bio template and responses to RFE's.
19-Oct-16      Conference with SunTrust Bank regarding Receiver's     KAM              0.30        52.50
               new escrow account for wedding deposits.
19-Oct-16      Telephone conference with T. Coffin, Esquire from      KAM              0.20        35.00
               People's Bank regarding Receiver's request for
               information; Confer with Receiver re: same.
19-Oct-16      Prepare correspondence re status report.               JML              0.30       118.50
19-Oct-16      Conference call regarding 829s and RFES.               JLR              0.60       237.00
19-Oct-16      Review 829 template.                                   JLR              1.20       474.00
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19-Oct-16      Conference with Sofferman re ANCBio.                   MIG              0.20        79.00
19-Oct-16      Corresponded with investors re immigration issues.     MIG              0.80       316.00
19-Oct-16      Reviewed draft 829                                     MIG              0.30       118.50
19-Oct-16      Review and revise First Interim Report and discuss     JSR              0.80       316.00
               with Levit.
20-Oct-16      Communicate with Matregrano and Eagan re:              JSR              0.60       237.00
               receivership entities and frozen accounts.
20-Oct-16      Corresponded with economist re proposal.               MIG              0.30       118.50
20-Oct-16      Conference with Cosgrove re Quiros.                    MIG              0.30       118.50
20-Oct-16      Numerous conferences with creditors re status of       MIG              1.10       434.50
               case.
20-Oct-16      Corresponded with Carolyn Lee re immigration           MIG              0.20        79.00
               issues.
20-Oct-16      Review issues regarding 829s.                          JLR              1.50       592.50
20-Oct-16      Review reporting deadlines with paralegal.             JML              0.20        79.00
20-Oct-16      Correspond with Receiver regarding approval of         KAM              0.20        35.00
               administrative expenses.
20-Oct-16      Review and approve proof of mailing received from      KAM              0.30        52.50
               Ritter's Communication.
20-Oct-16      Receipt and review of email from S. Rodriguez,         KAM              0.30        52.50
               Esquire, counsel for Merrill Lynch regarding missing
               bank statements; Update Receiver's records re: same
               and provide to accountants.
20-Oct-16      Confer with J. Levit regarding status report.          KAM              0.20        35.00
20-Oct-16      Review correspondence from immigration lawyers         KAM              0.20        35.00
               regarding investors' immigration status; Correspond
               with H. Whipkey re: same.
20-Oct-16      Receipt and review of receivership mail.               KAM              0.40        70.00
21-Oct-16      Corresponded with economist re proposal.               MIG              0.20        79.00
21-Oct-16      Conference with Ken Graham re Burke Mountain.          MIG              0.20        79.00
21-Oct-16      Corresponded with investor Vikas re EB5.               MIG              0.20        79.00
21-Oct-16      Corresponded with Sarah Wang re ANC.                   MIG              0.20        79.00
21-Oct-16      Corresponded with Hals and Jarvo re Citi settlement.   MIG              0.30       118.50
21-Oct-16      Numerous conference with investors re settlement       MIG              0.60       237.00
               and fee hearing.
21-Oct-16      Reviewed Wakschlag correspondence re discovery.        MIG              0.20        79.00
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21-Oct-16      Corresponded with Levinson re fees.                    MIG              0.10        39.50
24-Oct-16      Reviewed and revised Receiver's report.                MIG              1.60       632.00
24-Oct-16      Conference with SEC re status and fee applications.    MIG              0.40       158.00
24-Oct-16      Conference with creditor re immigration issues.        MIG              0.30       118.50
24-Oct-16      Work with Ritter's Communications on finalizing        KAM              0.50        87.50
               mailout of Citibank Settlement Order; Prepare check
               request and obtain approval for postage costs.
24-Oct-16      Dealt with investor communications.                    KAM              0.40        70.00
25-Oct-16      Telephone conference with Ritter's Communications      KAM              0.20        35.00
               regarding project.
25-Oct-16      Correspond with accountants regarding Jay              KAM              0.10        17.50
               Construction Management records needed for
               analysis.
25-Oct-16      Conference with Schneider re lap top.                  MIG              0.30       118.50
25-Oct-16      Conference with Melissa Davis re discovery.            MIG              0.20        79.00
25-Oct-16      Corresponded with creditor re payment.                 MIG              0.10        39.50
25-Oct-16      Reviewed and revised documents.                        MIG              0.30       118.50
26-Oct-16      Reviewed SAR forms.                                    MIG              0.20        79.00
26-Oct-16      Reviewed BMA documents.                                MIG              0.50       197.50
26-Oct-16      Corresponded with investor re EB-5 issues.             MIG              1.00       395.00
26-Oct-16      Corresponded with Whipkey re accounting.               MIG              0.20        79.00
26-Oct-16      Strategize and analyze I-829 template with             NSS              1.20       312.00
               immigration attorneys.
26-Oct-16      Review and revise Construction Agreement;              LMT              1.00       395.00
               correspondence and telephone conference with S.
               Rostock re: same; obtain local counsel information.
26-Oct-16      Attend call with immigration team.                     KAM              0.80       140.00
26-Oct-16      Dealt with accounting matters.                         KAM              0.60       105.00
27-Oct-16      Correspond with vendor regarding IPro matters.         KAM              0.20        35.00
27-Oct-16      Attend to calls and emails from parties regarding      KAM              0.80       140.00
               receivership status; Review receivership mail; Index
               records.
27-Oct-16      Conference with investors re EB-5 issues.              MIG              0.60       237.00
27-Oct-16      Reviewed documents received from investor.             MIG              0.20        79.00
27-Oct-16      Conference with contractor re status.                  MIG              0.30       118.50
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28-Oct-16       Conference with creditors re status of receivership.    MIG                0.60       237.00
28-Oct-16       Corresponded with Klaus re status EB-5.                 MIG                0.20        79.00
28-Oct-16       Reviewed report from Wright.                            MIG                0.40       158.00
28-Oct-16       Review and update status report.                        JML                2.70     1,066.50
28-Oct-16       Dealt with emails and calls from interested parties     KAM                0.20        35.00
                regarding case status.
28-Oct-16       Work on transfer of funds from receivership estate to   KAM                0.70       122.50
                Jay Peak, Inc. for operations.
28-Oct-16       Correspond with S. Fusco regarding Orleans County       KAM                0.10        17.50
                Sheriff's Dept. outstanding invoice.
28-Oct-16       Work on Ipro database setup matters.                    KAM                0.40        70.00
31-Oct-16       Telephone conference with P. Magowan of Heartland       KAM                0.10        17.50
                regarding applications
31-Oct-16       Correspond with K. Foster regarding tax refund.         KAM                0.10        17.50
31-Oct-16       Update Interim Report.                                  JML                2.80     1,106.00
31-Oct-16       Reviewed Citi National bank commitment.                 MIG                0.20        79.00
31-Oct-16       Numerous conversations with investors re status.        MIG                1.20       474.00
                     Subtotal for Code 504 CASE ADMINISTRATION                           914.90   304,094.00

Task Code:      505 CLAIMS ADMINISTRATION AND OBJECTIONS
18-Apr-16       Conference with Tropin, Ronzetti and Schneider re       MIG                0.50       197.50
                claims.
25-Apr-16       Multiple communications with Nicholson re:              JSR                0.40       158.00
                subcontractor lien.
26-Apr-16       Multiple communications with Goldberg, Nicholson,       JSR                1.60       632.00
                Macnamara and Matregrano re: investor claims.
26-Apr-16       Call with DEW contractor and attorney.                  MIG                0.80       316.00
26-Apr-16       Meeting at Jay Peak with contractor and attorney.       MIG                1.60       632.00
27-Apr-16       Multiple communications with Nicholson re:              JSR                1.90       750.50
                subcontractor claim (.5). Multiple communications
                with McCormack re: utilities issues and review
                documents (.6). Multiple communications with Page
                re: Windham Millwork (.5). Communicate with Shen
                re: investor claim (.3).
27-Apr-16       Dealt with correspondence from counsel for investors    KAM                0.50        87.50
                requesting return of investment fund; Confer with J.
                Robbins re: same.
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27-Apr-16      Confer with J. Robbins regarding contractor issues;       KAM              0.40        70.00
               Review several emails re: same.
28-Apr-16      Receipt and review of correspondence from                 KAM              0.70       122.50
               contractor regarding lien; Draft letter over attorney's
               signature regarding receivership stay.
28-Apr-16      Telephone conference with J. Hutchinson regarding         KAM              0.40        70.00
               his excavation company lien's and receivership stay;
               Spoke with J. Robbins re: same.
28-Apr-16      Retrieve voicemail message from Ken Masons at             KAM              0.20        35.00
               Lindvill Vermont Electric and return call.
29-Apr-16      Multiple communications with McCormack re:                JSR              0.40       158.00
               electric cooperative claims.
29-Apr-16      Conference with contractor David Brown.                   MIG              0.30       118.50
29-Apr-16      Respond to inquiry from sports vendors                    JML              0.40       158.00
               representative re payment of pre and post
               receivership bills.
2-May-16       Multiple communications with Nicholson and                JSR              0.80       316.00
               Pappalardo re: QBurke sub-contractor claims.
2-May-16       Review draft Subpoena to Bank of America for bank         KAM              0.20        35.00
               records only in preparation for claims process and
               discuss with T. Redi.
3-May-16       Receipt and review of correspondence from                 KAM              0.40        70.00
               Bookchin & Durrell, P.C. on behalf of Poulin
               Lumber; Confer with J. Robbins re: same.
3-May-16       Conference with Davis and Fead re contractor claims.      MIG              0.70       276.50
4-May-16       Review and analyze proposed settlement documents          SWR              0.80       316.00
               involving construction manager and lower tier
               subcontractors.
6-May-16       Mc Bookchin re: Poulin Lumber                             JSR              0.50       197.50
9-May-16       Communicate with counsel for Black River and other        JSR              0.50       197.50
               sub-contractors (.5).
16-May-16      Review investor petition letter and discuss same, as      JSR              0.80       316.00
               well as escrow issues with Goldberg and Pieciak.
16-May-16      Begin review of AnCBio subscription agreements,           JSR              2.30       908.50
               offering documents and escrow agreement re:
               investor claims to escrowed funds.
17-May-16      Continue review of AnCBio subscription agreements,        JSR              1.20       474.00
               offering documents and escrow agreement re:
               investor claims to escrowed funds.
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17-May-16      Multiple communications with Vitale and Goldberg      JSR              2.10       829.50
               re: Blanc & Bailey Motion for Relief from Stay and
               possible workout (.8). Review Motion for Relief,
               Motion to Expedite and Order Granting Motion to
               Expedite and review Vermont statutes re: perfection
               of liens (1.3).
17-May-16      Conferences with Goldberg and Levit to discuss plan   JSR              0.50       197.50
               to deal with sub-contractors.
17-May-16      Review contractor's motion for relief from stay.      NSS              0.60       156.00
18-May-16      Multiple correspondence with Receiver re              JML              0.30       118.50
               contractor's liens.
18-May-16      Research and prepare Motion to Modify Preliminary     JML              4.20     1,659.00
               Injunction and set procedures for contractors to
               preserve their liens.
18-May-16      Multiple communications with Goldberg and Levit       JSR              1.80       711.00
               re: Motion to Modify TRO and Establish Universal
               Procedure to Perfect Lien Rights (.7). Review and
               revise draft Motion (1.1).
18-May-16      Meeting at Jay Hotel with DEW construction.           MIG              1.50       592.50
18-May-16      Receipt and review of Motion for Relief from Stay     KAM              0.20        35.00
               filed by Blanc and Baily and discuss with J. Levit.
19-May-16      Conference with J. Levit regarding handling of        KAM              0.20        35.00
               contractor liens.
19-May-16      Meeting with contractors to answer questions.         MIG              2.10       829.50
19-May-16      Communicate with Wozotski re: Reinhart claim.         JSR              0.40       158.00
19-May-16      Multiple communications with Vohra and Judge          JSR              0.60       237.00
               Gayles' chambers re: investor claims.
19-May-16      Confer with Receiver re meeting with contractors      JML              0.20        79.00
               representations; follow up with contractor's
               representative.
19-May-16      Confer with legal representative for Stateside        JML              0.30       118.50
               Contractors re proposed procedure for perfecting
               contractor liens.
19-May-16      Multiple follow up correspondence with contractor's   JML              0.70       276.50
               counsel and Receiver re terms of Motion and Writ of
               Attachment.
20-May-16      Conference with Receiver and counsel for stateside    JML              0.30       118.50
               contractors re perfection of lien rights.
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20-May-16      Revise Motion to Modify PI to perfect contractor's       JML              2.80     1,106.00
               liens.
20-May-16      Prepare proposed Order on Motion to Modify PI.           JML              1.30       513.50
20-May-16      Review and revise form of Writ of Attachment.            JML              0.70       276.50
20-May-16      Follow up correspondence with Receiver and counsel       JML              0.30       118.50
               for Stateside contractor.
20-May-16      Conference with Moreau re contractor motion.             MIG              0.30       118.50
20-May-16      Conference with J. Levit re motion.                      MIG              0.20        79.00
20-May-16      Conference with contractor re status.                    MIG              0.20        79.00
20-May-16      Telephone conference with D. McNeil at Leisure           KAM              0.20        35.00
               Hotels regarding vendor request for prepayment.
21-May-16      Conference with Fread and Davis re status.               MIG              0.80       316.00
23-May-16      Corresponded re contractor lien issue with Moreau        MIG              1.20       474.00
               and Levit to finalize motion.
23-May-16      Corresponded with Fead re status.                        MIG              0.40       158.00
23-May-16      Dealt with Burke subcontractor issue.                    MIG              0.30       118.50
23-May-16      Review changes to Motion to Modify Preliminary           JML              3.70     1,461.50
               Injunction to Authorize a Stipulated Writ, Stipulated
               Writ and proposed Order recommended by Stateside
               Contractors' counsel and by Receiver (.3); revise
               documents (.2) and re-circulate, make further
               revisions (1.7); follow up with counsel for contractor
               (.4) and circulate to SEC and Defendant's counsel
               (.1).
23-May-16      Review multiple correspondence with Q Burke              JML              2.20       869.00
               contractor and Motion for Relief from Stay filed by Q
               Burke subcontractor (.3) and prepare Receiver's
               response to Motion for Relief from Stay (1.9).
23-May-16      Respond to attorney Blackman's correspondence re         JML              0.20        79.00
               consent to her client's lien for Q Burke Mountain
               project.
23-May-16      Respond to SEC counsel's inquiry re extent of            JML              0.20        79.00
               Motion to Modify.
23-May-16      Receipt and review of various creditor                   KAM              0.70       122.50
               communications and collect data obtained for claims
               process.
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24-May-16      Confer with Receiver re Response to Blanc &             JML              2.30       908.50
               Bailey's Motion for Relief from Stay (.2) and revise
               response (2.1)
24-May-16      Multiple correspondence to counsel for contractors      JML              0.40       158.00
               and subcontractors re Motion to Modify Preliminary
               Injunction.
24-May-16      Reviewed respond to contractor motion and motion        MIG              0.50       197.50
               to modify Preliminary Injunction
24-May-16      Review and revise Motion to Modify PI re:               JSR              0.50       197.50
               subcontractors.
25-May-16      Corresponded with Barber re subcontractors.             MIG              0.20        79.00
25-May-16      Corresponded with vendors re receivables.               MIG              0.20        79.00
25-May-16      Review court order on Blanc & Bailey's Motion to        JML              0.20        79.00
               Lift Stay and follow up with Receiver.
26-May-16      Revise Motion, Writ of Attachment and Order for use     JML              1.80       711.00
               with Burke Hotel claims.
26-May-16      Multiple follow up correspondence regarding Burke       JML              0.70       276.50
               contractor claims.
26-May-16      Communicate with Stan from Nate Leasing and             JSR              0.60       237.00
               review equipment lease.
27-May-16      Communicate with Goss from Nate Leasing.                JSR              0.40       158.00
27-May-16      Review status of resolution of Burke lien dispute and   JML              0.30       118.50
               confer with Receiver.
31-May-16      Telephone conference with S. Fead, general              JML              0.40       158.00
               contractor for Peak CM re subcontractors' liens for
               Burke, snow marketing project and AnC.
31-May-16      Review and analyze Peak CM's recommended                JML              1.60       632.00
               revisions to Motion, Stipulated Writ and proposed
               Order.
1-Jun-16       Confer with D. Bookchin re his client's claim fro       JML              0.30       118.50
               providing lumber for Burke project.
1-Jun-16       Multiple correspondence with s. Fead, counsel for       JML              0.80       316.00
               Burke contractor re Motion to Modify Preliminary
               Injunction and Stipulated Writ for Burke contractors.
1-Jun-16       Prepare S. Fead's recommended edits to Motion to        JML              2.90     1,145.50
               Modify Preliminary Injunction, Stipulated Writ and
               proposed Order for Burke subcontractors and make
               additional changes.
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1-Jun-16       Communicate with Alipourfetrati (investor) re: K1's     JSR              0.30       118.50
               and claim.
2-Jun-16       Multiple communications with investors and vendors      JSR              0.90       355.50
               re: claims.
2-Jun-16       Confer with Receiver re final review of Motion to       JML              0.20        79.00
               Modify Preliminary Injunction for Burke Contractors'
               liens.
2-Jun-16       Prepare correspondence to counsel per Local Rule 7.1    JML              0.20        79.00
               re filing Motion to Modify Preliminary Injunction for
               Burke Contractor's lien.
2-Jun-16       Follow up correspondence with counsel for Peak CM       JML              0.30       118.50
               re preparation of Motion to Modify Preliminary
               Injunction for snowmaking project and AnC.
2-Jun-16       Multiple follow up conferences re contractors lien      JML              1.90       750.50
               rights.
3-Jun-16       Follow up conference with S. Fead re procedure to       JML              0.30       118.50
               perfect lien after Court enters Order on Motion to
               Modify Preliminary Injunction for Burke contractors.
3-Jun-16       Revise Certification and file Modify Preliminary        JML              0.30       118.50
               Injunction for Burke contractors.
6-Jun-16       Communicate with Goldberg and Schneider re:             JSR              0.40       158.00
               claims brought by Goodman and Nekvasil.
6-Jun-16       Communicate with Archibald (investor) re: claim and     JSR              0.70       276.50
               class action.
7-Jun-16       Communicate with Archibald re: claims.                  JSR              0.40       158.00
7-Jun-16       Corresponded with Moulton re Burke subcontractors.      MIG              0.20        79.00
7-Jun-16       Multiple conferences with counsel for Stateside         JML              0.30       118.50
               Contractor re revising Stateside order and Writ to
               mirror Burke Order and Writ.
7-Jun-16       Revise Stateside Order (1.3); revise Stateside Writ     JML              2.40       948.00
               (1.1).
7-Jun-16       Review proposed Order Modifying Preliminary             JML              0.20        79.00
               Injunction for Burke Contractors prior to submitting
               to court.
8-Jun-16       Final revisions to proposed Order Granting Motion to    JML              2.30       908.50
               Modify Preliminary Injunction for Stateside
               contractor's prior to submitting to Court.
10-Jun-16      Multiple follow up conferences re status of entry of    JML              0.30       118.50
               Orders modifying Preliminary Injunction.
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10-Jun-16      Review correspondence from Trane's counsel re            JML              0.20        79.00
               Trane's claim and prepare correspondence to
               Receiver re claims of liens asseted by second tier
               subs.
10-Jun-16      Review Writs entered by Clerk's office and follow up     JML              0.30       118.50
               with contractors' counsel.
13-Jun-16      Confer with Trane's counsel re claim of lien as sub to   JML              0.30       118.50
               a subcontractor.
13-Jun-16      Receipt and review of correspondence from                KAM              0.30        52.50
               contractors regarding claims of lien; Discuss same
               with J. Levit.
14-Jun-16      Confer with Peak CM counsel re obtaining certified       JML              0.30       118.50
               copies of Order and Writ; dealing with second tier
               subcontractors and other matters.
14-Jun-16      Prepare ex parte Motion for Entry of Amended Writ        JML              1.80       711.00
               (1.2); multiple follow up correspondence with DEW's
               counsel.
15-Jun-16      Multiple conferences re contractor liens and             JML              3.70     1,461.50
               subcontractor liens; review correspondence and court
               filings.
16-Jun-16      Prepare correspondence to counsel re Motion for          JML              0.20        79.00
               Entry of Amended Stipulated Writ.
17-Jun-16      Review and file Motion for Amended Stipulation,          JML              1.30       513.50
               Writ and follow up correspondence to Court.
17-Jun-16      Conference with Davis and Fread re ANC Bio and           MIG              0.60       237.00
               Burke.
23-Jun-16      Communicate with K. Matregano re claims process          SAM              0.20        79.00
               and quarterly reporting requirements.
24-Jun-16      Confer with R. Baer re his client's claim and            JML              0.30       118.50
               excavator for AnC project.
24-Jun-16      Review court docket and follow up on status of entry     JML              0.20        79.00
               of Amended Stipulated Writ.
28-Jun-16      Receipt and review of Amended Stipulated Writ of         KAM              0.30        52.50
               Attachment and discuss service of same on Vermont
               Clerk.
29-Jun-16      Confer with paralegal re recording Writ of               JML              0.20        79.00
               Attachment for Stateside contractor.
30-Jun-16      Multiple conferences with paralegal regarding            JML              0.40       158.00
               recording Stateside Writ.
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30-Jun-16      Corresponded with contractors re payment.                  MIG              0.40       158.00
30-Jun-16      Correspond with Jay Peak creditor regarding                KAM              0.10        17.50
               payment.
30-Jun-16      Telephone conference with Orleans County Sheriff in        KAM              0.30        52.50
               Vermont regarding service of Writ of Attachment;
               Discuss same with J. Levit.
6-Jul-16       Prepare and send letter with enclosures to Orleans         KAM              0.60       105.00
               County Sheriff's Office for service of Amended
               Stipulated Writ of Attachment.
8-Jul-16       Correspond with P. Moreau, Esquire regarding status        KAM              0.10        17.50
               of recording of Stipulated Writ of Attachment for
               Stateside contractors.
11-Jul-16      Telephone conference with Orleans County Sheriff           KAM              0.50        87.50
               and Jay Town Clerk regarding service of process and
               recording of Stipulated Writ of Attachment (.3);
               Confer with J. Levit regarding exhibits to Writ (.2).
11-Jul-16      Multiple conferences re exhibits to Amended                JML              0.30       118.50
               Stipulated Writ, and revising Amended Stipulation to
               reflect exhibits.
12-Jul-16      Multiple follow up conferences re Amended                  JML              0.40       158.00
               Stipulated Writ.
12-Jul-16      Confer with J. Levit and J. Robbins regarding              KAM              0.40        70.00
               contractor issues.
12-Jul-16      Correspond with P. Moreau, Esquire regarding status        KAM              0.10        17.50
               of Stateside Writ of Attachment.
12-Jul-16      Dealt with additional issues regarding correction of       KAM              0.70       122.50
               exhibits to Stipulated Writ of Attachment incorrectly
               docketed by clerk; Draft letter to Sheriff's office with
               instructions for Writ and send by overnight mail.
13-Jul-16      Review and revise Motion to Modify PI for AnC;             JML              1.80       711.00
               prepare correspondence to contractor's counsel.
13-Jul-16      Respond to inquiry re Amended Stipulated Writ.             JML              0.40       158.00
15-Jul-16      Telephone conference with S. Fead re Motion to             JML              0.30       118.50
               Modify Preliminary Injunction for ANC project.
15-Jul-16      Corresponded with Fead re liens.                           MIG              0.20        79.00
18-Jul-16      Conference with subcontractors re Burke.                   MIG              0.30       118.50
18-Jul-16      Conference with contractors re lien.                       MIG              0.20        79.00
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18-Jul-16      Multiple correspondence re second tier contractor      JML              0.30       118.50
               loans.
19-Jul-16      Conference with subcontractor re payment.              MIG              0.20        79.00
21-Jul-16      Conference with contractor re payment.                 MIG              0.20        79.00
25-Jul-16      Review multiple correspondence re additional sub-      JML              0.40       158.00
               contractor's claims of lien.
25-Jul-16      Telephone conference with US Bankruptcy Trustee in     KAM              0.30        52.50
               Atlanta for EB5 investor bankruptcy case and filing
               of claim in receivership case.
25-Jul-16      Follow up with Jay Town Clerk regarding status of      KAM              0.50        87.50
               service and recording of Stipulated Writ of
               Attachment; Communicate status to counsel for
               contractor.
26-Jul-16      Prepare Motion to Extend Order Granting Motion to      JML              3.70     1,461.50
               Modify Preliminary Injunction to incorporate lower
               tier subcontractors and suppliers.
27-Jul-16      Prepare proposed Order Granting Motion to Expand       JML              1.20       474.00
               Orders Modifying Preliminary Injunction.
27-Jul-16      Corresponded with Vermont representative re            MIG              0.20        79.00
               contractors.
27-Jul-16      Numerous correspondence to creditors.                  MIG              0.80       316.00
2-Aug-16       Telephone conference with attorney r. Barr re status   JML              0.30       118.50
               of ANG Writ.
3-Aug-16       Multiple correspondence re Trane's contractor lien.    JML              0.40       158.00
3-Aug-16       Telephone conference with attorney regarding filing    KAM              0.20        35.00
               of a claim.
8-Aug-16       Corresponded with Mike's electric re lien.             MIG              0.20        79.00
10-Aug-16      Corresponded with contractor re payment.               MIG              0.20        79.00
11-Aug-16      Revise Motions dealing with contractors liens.         JML              2.70     1,066.50
12-Aug-16      Conference with Fead re lien on snowmaking             MIG              0.30       118.50
               equipment.
12-Aug-16      Reviewed SMI info to prepare for Fead call.            MIG              0.80       316.00
15-Aug-16      Multiple correspondence and conferences re Trane's     JML              0.70       276.50
               claim of lien.
16-Aug-16      Corresponded with Barter re liens.                     MIG              0.20        79.00
17-Aug-16      Reviewed documents from Fead.                          MIG              0.30       118.50
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17-Aug-16      Confer with Receiver re clams of liens for snow          JML              0.20        79.00
               making project.
17-Aug-16      Confer wit J. Levit regarding returns of service on      KAM              0.10        17.50
               Writs of Attachment served on Jay Town Clerk.
18-Aug-16      Follow up correspondence re lien rights.                 JML              0.20        79.00
19-Aug-16      Revise motion and order re Trane's lien rights.          JML              1.70       671.50
19-Aug-16      Conference with Mikes Electric re lien.                  MIG              0.30       118.50
22-Aug-16      Follow up with Receiver re contractor liens.             JML              0.40       158.00
23-Aug-16      Follow up with Receiver re Trane motion and revise       JML              0.60       237.00
               motion and order.
24-Aug-16      Prepare correspondence to SEC re Trane motion.           JML              0.10        39.50
24-Aug-16      Prepare correspondence to attorneys re Motion to         JML              0.50       197.50
               Modify PI for ANC Bio (.2) and prepare multiple
               follow up responses to inquiries (.3).
24-Aug-16      Confer with counsel for subcontractor Percy, Inc. re     JML              0.60       237.00
               lien (.6); gather documents (.2) and prepare follow up
               correspondence (.2).
24-Aug-16      Review correspondence from counsel for Stateside         JML              0.20        79.00
               contractor and Receiver's response.
24-Aug-16      Confer with subcontractor M&M Carpet re lien             JML              0.20        79.00
               status.
25-Aug-16      Review multiple correspondence re contractors liens      JML              1.10       434.50
               and respond.
25-Aug-16      Draft Notices of Filing Returns of Service for Writs     KAM              0.40        70.00
               of Attachment.
30-Aug-16      Prepare follow up correspondence to all counsel re       JML              0.30       118.50
               Motion to Modify PI for ANC Bio Project and for
               Trane Motion.
1-Sep-16       Respond to inquiry on status of filing ANC writ          JML              0.30       118.50
               motion.
1-Sep-16       Respond to inquiry from Trane's counsel.                 JML              0.20        79.00
2-Sep-16       Multiple follow up conference r status of Trane and      JML              0.80       316.00
               ANC motions.
6-Sep-16       Multiple conferences re ANC motion and Trane             JML              0.60       237.00
               motion.
8-Sep-16       Multiple follow up communications re ANC lien            JML              0.60       237.00
               issues raised by Quiros' counsel.
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9-Sep-16       Prepare correspondence re ANC Bio lien motion and       JML              0.90       355.50
               Quiros' questions; follow up correspondence.
9-Sep-16       Conference with D. Moskovitz re non-payment of          JML              0.60       237.00
               condo assessment for office condo.
13-Sep-16      Multiple communications with Robbason re: Ford          JSR              0.30       118.50
               Motor Credit.
16-Sep-16      Communicate with Robbason and Matregrano re:            JSR              0.30       118.50
               Ford Credit.
16-Sep-16      Update Certification in ANC Bio motion and review       JML              0.60       237.00
               prior to filing.
16-Sep-16      Gather documents and prepare correspondence to          JML              0.40       158.00
               Court re proposed Orders for ANC Bio and Trane.
20-Sep-16      Multiple communications with Jackson and Goldberg       JSR              0.70       276.50
               re: Group 7 investor claims.
22-Sep-16      Review various Orders Modifying PI.                     JSR              0.30       118.50
22-Sep-16      Prepare correspondence to Trane's counsel re entry of   JML              0.10        39.50
               Order on Trane's lien rights.
22-Sep-16      Prepare correspondence to S. Fead re entry of ANC       JML              0.10        39.50
               Bio order.
22-Sep-16      Multiple correspondence and conferences re entry of     JML              0.90       355.50
               Writ and certified copy of Order for filing in
               Vermont.
22-Sep-16      Receipt and review of Order Granting Receiver's         KAM              0.10        17.50
               Motion for Entry of Order Clarifying Scope of the
               Order Modifying the Preliminary Injunction.
22-Sep-16      Receipt and review of Order Granting Receiver's         KAM              0.10        17.50
               Motion to Modify the Preliminary Injunction and/or
               Receivership Order to Authorize a Stipulated Writ of
               Attachment for the ANC Bio Contractors and
               Subcontractors to Preserve their Lien Rights and
               Memorandum of Law.
4-Oct-16       Follow up re contractor's lien.                         JML              0.30       118.50
10-Oct-16      Confer with Trane's counsel re expected date of         JML              0.30       118.50
               payment.
13-Oct-16      Respond to inquiry from lien claimant.                  JML              0.30       118.50
20-Oct-16      Telephone conferences with multiple contractors         KAM              0.40        70.00
               regarding timing of payment of outstanding invoices
               from Citibank Settlement Funds.
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25-Oct-16       Conference with Don Wells re contractor payment.          MIG                0.20        79.00
31-Oct-16       Respond to inquiry form subcontractor.                    JML                0.20        79.00
31-Oct-16       Telephone conference with Anna from Mansfield             KAM                0.20        35.00
                Hotel and Spa regarding Jay Peak investment.
                 Subtotal for Code 505 CLAIMS ADMINISTRATION AND                           124.20    46,822.00
                                      OBJECTIONS

Task Code:      508 EMPLOYEE BENEFITS/PENSIONS
9-Jun-16        Corresponded with Endicott re 401K.                       MIG                0.20        79.00
13-Jun-16       Communicate with Alcalde and Endicott re: ERISA           JSR                0.60       237.00
                issues.
13-Jun-16       Review e-mail regarding Form 5500 filing                  EDA                0.30       118.50
                obligations historically for certain health and welfare
                benefit plans and schedule client call to discuss same.
14-Jun-16       Prepare for and participate in call with A. Bathalon      EDA                0.70       276.50
                and J. Robbins regarding Delinquent Filer Voluntary
                Compliance Program and ongoing DOL audit of
                401(k) plan; conduct follow up review of transitional
                small plan filing rules.
16-Jun-16       Multiple communications with Alcalde and Bathalon         JSR                0.60       237.00
                re: ERISA issues.
17-Jun-16       Review voice message to A. Bathalon from DOL              EDA                0.40       158.00
                401(k) plan auditor requesting additional
                contributions and investment lineups historically;
                request from A. Bathalon original audit letter terms;
                respond accordingly.
1-Aug-16        Conference with Cristina Patrick re 401(k).               MIG                0.30       118.50
1-Aug-16        Corresponded with Bathalon re 401(k)                      MIG                0.20        79.00
                Subtotal for Code 508 EMPLOYEE BENEFITS/PENSIONS                             3.30     1,303.50

Task Code:      512 TRAVEL
13-Apr-16       Travel to Vermont with Robbins.                           MIG                4.00       790.00
13-Apr-16       Travel to Vermont with receiver.                          JSR                4.00       790.00
15-Apr-16       Return travel to Florida.                                 JSR                4.00       790.00
19-Apr-16       Travel to Vermont.                                        MIG                4.00       790.00
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20-Apr-16       Travel with Schneider to Burlington to meet with        MIG               4.30       849.25
                Attorney General and Agency of Economic
                Development.
25-Apr-16       Travel to Vermont to meet with potential purchaser      MIG               5.50     1,086.25
                of Burke and contractors.
27-Apr-16       Travelled to Miami from Vermont.                        MIG               5.50     1,086.25
17-May-16       Traveled to Jay Peak.                                   MIG               3.50       691.25
18-May-16       Travel to airport with Stenger.                         MIG               1.00       197.50
18-May-16       Travel to Newport.                                      MIG               1.00       197.50
19-May-16       Travel to Burlington.                                   MIG               1.50       296.25
19-May-16       Travel back to Fort Lauderdale.                         MIG               1.00       197.50
3-Jun-16        Travel to Jay Peak for meetings.                        MIG               5.50     1,086.25
6-Sep-16        Travelled to Vermont to meet with government            MIG               4.50       888.75
                officials.
7-Sep-16        Travel to Jay Vermont.                                  NSS               6.50       845.00
8-Sep-16        Return travel.                                          NSS               5.50       715.00
9-Sep-16        Travel from Vermont to Miami.                           MIG               4.20       829.50
5-Oct-16        Travel to Jay Peak for meetings.                        MIG               5.80     1,145.50
9-Oct-16        Travel back from Jay Peak to Florida.                   MIG               6.60     1,303.50
27-Oct-16       Travel (including layover at JFK Airport and            SWR               5.00       987.50
                transportation from Burlington to Jay Peak to attend
                water park inspection.
28-Oct-16       Travel from Peak, VT to Fort Lauderdale, FL             SWR              11.00     2,172.50
                (including lay over at JFK Airport).
                                 Subtotal for Code 512 TRAVEL                            93.90    17,735.25

Task Code:      530 LITIGATION
20-Apr-16       Communicate with Goldberg and Martinez re:              JSR               0.50       197.50
                Consent Order for PI and review draft and revised PI
                Order.
20-Apr-16       Review Defendant Quiros' Emergency Motion to Life       JSR               2.30       908.50
                or Modify Asset Freeze, Memo of Law and Exhibits.
21-Apr-16       Review Plaintiff's Motion for Preliminary Injunction,   JSR               1.20       474.00
                consent Orders, Response to Motion to Continue,
                Order Setting Hearing on pending Motions.
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21-Apr-16      Numerous correspondence with Lichtman and               MIG              0.50       197.50
               Gordon re hearing.
23-Apr-16      Researched case law on fraudulent transfer and          MIG              1.60       632.00
               pledge agreements and corresponded with Schneider.
23-Apr-16      Revisions to management agreement.                      ASR              1.50       592.50
24-Apr-16      Review Plaintiff's Response to Quiros' Emergency        JSR              1.90       750.50
               Motion to Lift of Modify Asset Freeze and
               supporting declarations and exhibits and discuss with
               Goldberg.
25-Apr-16      Prepare for and attend hearing on Quiros' Motion to     JSR              6.30     2,488.50
               Lift or Modify Asset Freeze.
25-Apr-16      Prepared for and attended court hearing in Motion to    MIG              5.80     2,291.00
               Unfreeze Assets.
25-Apr-16      Attend hearing on Defendant Quiros' motion for          NSS              5.10     1,326.00
               relief from asset freeze.
27-Apr-16      Receipt and review of communications from attorney      KAM              1.00       175.00
               for Windham Millwork, LLC regarding pending
               lawsuit and discussions with M. Goldberg re: same
               (.2); Discussion with T. Redi regarding case
               background and information for Suggestion of
               Receivership to be filed in Caledonia Superior Court
               (.5); Discuss lawsuit with J. Levit (.3)
28-Apr-16      Review Declaration of Quiros in Support of Request      JSR              0.60       237.00
               to Modify TRO and supporting documents as well as
               Order Modifying TRO.
4-May-16       Conference with Tropin re complaint and reviewed        MIG              0.60       237.00
               class action complaint.
5-May-16       Multiple communications with Goldberg, Schneider        JSR              0.40       158.00
               and Traband re: NECS and answer to complaint.
5-May-16       Review Quiros' Memorandum of Law in Response to         JSR              2.10       829.50
               Motion for PI, supporting documents, SEC Reply and
               exhibits, Citi Motion to Intervene.
5-May-16       Analyze Memorandum of Law filed by Quiros in            JML              0.40       158.00
               Opposition to Injunction.
6-May-16       Strategize and analyze hearing on A. Quiros Motion      NSS              2.10       546.00
               for Order to Show Cause.
6-May-16       Review SEC Declarations for Show Cause hearing.         JSR              1.30       513.50
6-May-16       Review Quiros' Motion for Release of Funds.             JSR              0.40       158.00
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6-May-16       Reviewed Quiros filing, TRO papers and ANC Bio         MIG              3.40     1,343.00
               account information to prepare for hearing.
6-May-16       Corresponded with Ron re lawsuit and D&O policy.       MIG              0.50       197.50
9-May-16       Attend hearing on Defendant A. Quiros Motion for       NSS              7.60     1,976.00
               Order to Show Cause.
10-May-16      Hearing on A. Quiros Motion for Order to Show          NSS              7.60     1,976.00
               Cause
10-May-16      Prepared for and attended continuing hearing on        MIG              6.80     2,686.00
               preliminary injunction.
10-May-16      Review Sanchez Class Action Complaint and discuss      JSR              0.90       355.50
               same with Goldberg.
10-May-16      Review supplemental authority in opposition to PI      JSR              0.60       237.00
               Motion.
11-May-16      Review Order on PI hearing and discuss same with       JSR              0.40       158.00
               Goldberg.
11-May-16      Review Quiros' Motion re: Release of Funds.            JSR              0.50       197.50
11-May-16      Reviewed proposed complaint and conference with        MIG              0.80       316.00
               Schneider re status.
11-May-16      Multiple conferences with paralegal re subpoena        JML              0.40       158.00
               served by U.S. Attorney in criminal investigation.
11-May-16      Receipt and review of subpoena from USDOJ in           KAM              1.10       192.50
               Vermont; Discussions with Receiver re: same; Work
               on ascertaining available information in response to
               same.
11-May-16      Contact agent for USDOJ regarding subpoena and         KAM              0.30        52.50
               extension to respond.
12-May-16      Conference with Schneider re arbitration.              MIG              0.30       118.50
12-May-16      Multiple communications with Goldberg and              JSR              0.40       158.00
               Schneider re: Raymond James and arbitration.
13-May-16      Communicate with Hatic re: Kelly subpoena.             JSR              0.20        79.00
13-May-16      Communicate with Goldberg, Kellogg and Schneider       JSR              1.40       553.00
               re: Raymond James and review cases re: same.
13-May-16      Review Berger Singerman Motion for Fees and            JSR              0.90       355.50
               Quiros' Motion for Fees.
13-May-16      Receipt and review of Motion for Attorney's Fees by    KAM              0.20        35.00
               Berger Singerman.
16-May-16      Telephone conference with USDOJ regarding              KAM              0.20        35.00
               subpoena.
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16-May-16      Corresponded with Schneider re Citi.                    MIG              0.20        79.00
17-May-16      Review SEC Amended Complaint.                           JSR              1.10       434.50
18-May-16      Multiple communications with Goldberg and Miller        JSR              1.10       434.50
               re: responses to Berger Singerman's Motions for Fees
               and Quiros' Motion for Fees (.5). Review and revise
               preliminary draft Responses (.6).
18-May-16      Follow up with USDOJ subpoena matters.                  KAM              0.40        70.00
19-May-16      Multiple communications with Miller and Goldberg        JSR              3.30     1,303.50
               re: fee objection motions (1.5). Review and revise
               Objections to Fee Requests (1.8).
19-May-16      Multiple communications with Goldberg and               JSR              0.80       316.00
               Schneider re: Raymond James claims and arbitration,
               Citibank issues.
19-May-16      Revise fee objection.                                   MIG              0.70       276.50
19-May-16      Review and analyze statutes and case law on private     NSS              4.30     1,118.00
               rights of action for EB-5 investors.
19-May-16      Draft response to motion for attorneys' fees.           SAM              2.80     1,106.00
20-May-16      Conference with Schneider re Citi matter.               MIG              0.40       158.00
20-May-16      Reviewed proposed Citi order.                           MIG              0.20        79.00
20-May-16      Multiple communications with Pieciak re: Raymond        JSR              0.30       118.50
               James.
20-May-16      Review Receiver's Motion for Citibank to Disburse       JSR              0.50       197.50
               Excess Funds and discuss same with Schneider.
20-May-16      Review Receiver's Complaint against Raymond             JSR              0.70       276.50
               James.
23-May-16      Multiple communications with Goldberg and               JSR              0.70       276.50
               Schneider re: Citi release of funds and review Motion
               re: same.
23-May-16      Communicate with Gordon re: D&O.                        JSR              0.40       158.00
23-May-16      Review Quiros' Reply to Receiver's Response to Fee      JSR              0.30       118.50
               Request.
23-May-16      Numerous correspondence with Schneider re               MIG              0.60       237.00
               Citibank.
24-May-16      Reviewed Citi motion.                                   MIG              0.30       118.50
24-May-16      Review and analyze potential private actions for EB-    NSS              4.30     1,118.00
               5 investors.
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24-May-16      Confer with J. Robbins regarding requests for           KAM              0.10        17.50
               records.
25-May-16      Reviewed Raymond James complaint.                       MIG              0.50       197.50
25-May-16      Conference with class action counsel re status.         MIG              0.30       118.50
25-May-16      Review Order Granting Motion for Relief from Stay       JSR              0.50       197.50
               and discuss with Goldberg.
26-May-16      Review and analyze potential private rights of action   NSS              5.60     1,456.00
               for EB-5 investors.
26-May-16      Telephone conference with USDOJ regarding status        KAM              0.10        17.50
               of production of records.
27-May-16      Receipt and review of Court's Order granting in part    KAM              0.30        52.50
               and denying in part Quiros' Emergency Motion to
               Lift or Modify Asset Freeze and release of funds;
               Correspond with Receiver regarding obligations to
               administer proceeds from sale of Setai condominium
               in New York.
27-May-16      Review Order on Emergency Motion to Lift Asset          JSR              0.50       197.50
               Freeze and discuss same with Goldberg.
27-May-16      Review SEC's and Quiros' Proposed Findings of Fact      JSR              1.70       671.50
               and Conclusions of Law and Order on PI, Asset
               Freeze.
31-May-16      Communicate with Schneider re: transfer of              JSR              0.20        79.00
               Raymond James claim.
31-May-16      Review SEC's Response in Opposition to Berger           JSR              0.40       158.00
               Singerman Fee Request.
31-May-16      Attend to matters regarding USDOJ's document            KAM              0.80       140.00
               request (.4), including call to forensic accountants
               regarding data (.2) and call to USDOJ regarding
               chain of custody and issues of privilege (.2)
1-Jun-16       Communicate with Wakshlag, Durrant, Levenson,           JSR              0.70       276.50
               Aiello, Goldberg and Schneider re: consolidation /
               transfer of Raymond James cases.
1-Jun-16       Communicate with Cleary and Goldberg re: coverage       JSR              0.50       197.50
               issues.
2-Jun-16       Multiple communications with Goldberg and               JSR              0.40       158.00
               Schneider re: Citi funds.
2-Jun-16       Conference with Schneider and Tropin re venue of        MIG              0.40       158.00
               class action.
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2-Jun-16       Correspond with Kapila's office with instructions on     KAM              0.20        35.00
               handling of USDOJ's document request.
3-Jun-16       Corresponded with Schneider re venue.                    MIG              0.20        79.00
3-Jun-16       Multiple communications with Goldberg and                JSR              0.50       197.50
               Schneider re: waiver of arbitration, transfer of class
               actions.
3-Jun-16       Review Order re: release of Citi funds and discuss       JSR              0.30       118.50
               same with Goldberg.
3-Jun-16       Review Citakovic Complaint and discuss same with         JSR              0.80       316.00
               Goldberg.
6-Jun-16       Attend to matters regarding compliance with the          KAM              0.40        70.00
               Vermont USDOJ's subpoena duces tecum.
7-Jun-16       Attend to matters regarding recovery of funds from       KAM              0.40        70.00
               Citibank.
7-Jun-16       Review authority re: ancillary actions in receivership   JSR              0.60       237.00
               and discuss same with Schneider.
7-Jun-16       Conference with Kursban re status.                       MIG              0.30       118.50
7-Jun-16       Corresponded with Schneider re Citibank.                 MIG              0.20        79.00
8-Jun-16       Review and analyze documents provided by R.              NSS              1.90       494.00
               Fieldstone on behalf of job creating entity.
8-Jun-16       Download and review consents to be signed by             KAM              0.40        70.00
               Receiver in connection with Vermont lawsuit and
               arrange for execution of same.
9-Jun-16       Communicate with Simms re: Raymond James.                JSR              0.20        79.00
10-Jun-16      Review Raymond James' Motion to Transfer and             JSR              0.40       158.00
               discuss with Schneider.
10-Jun-16      Multiple communications with Gordon re: Kelly            JSR              0.40       158.00
               subpoena and documents.
10-Jun-16      Corresponded with Gordon re subpoena.                    MIG              0.30       118.50
10-Jun-16      Conference with Ronzetti and Tropin re multi district    MIG              0.40       158.00
               litigation.
10-Jun-16      Conference with K. Donovan re multi district             MIG              0.40       158.00
               litigation.
10-Jun-16      Review and analyze agency decision regarding             NSS              4.50     1,170.00
               private right of action under statutes governing EB-5
               investments.
13-Jun-16      Reviewed State Court complaint.                          MIG              0.70       276.50
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13-Jun-16      Reviewed Burstein transcript.                         MIG              1.30       513.50
13-Jun-16      Conference with Schneider re venue order.             MIG              0.20        79.00
13-Jun-16      Communicate with Goldberg and Miller re: third        JSR              0.40       158.00
               party subpoenas.
13-Jun-16      Review Order Denying Motion to Transfer and           JSR              0.40       158.00
               Communicate with Goldberg and Schneider re: same.
14-Jun-16      Review Plaintiffs' Motion to Transfer in Vermont      JSR              0.30       118.50
               Raymond James case and discuss with Goldberg and
               Schneider.
14-Jun-16      Communicate with parties re: Rule 26 conference.      JSR              0.30       118.50
14-Jun-16      Reviewed Burstein deposition.                         MIG              2.00       790.00
15-Jun-16      Communicate with Schneider and Tropin re:             JSR              0.40       158.00
               examination transcripts.
15-Jun-16      Phone call with Mike Goldberg re motions to be        SAM              0.50       197.50
               drafted and subpoena needed to be drafted and
               directed to contractor.
16-Jun-16      Conference with Schneider re Citi.                    MIG              0.30       118.50
17-Jun-16      Analyze background and memos and draft subpoena       SAM              2.50       987.50
               directed to PeakCM.
17-Jun-16      Review and analyze production of documents from       NSS              3.60       936.00
               regional center operator.
21-Jun-16      Revise and edit subpoena to contractor for            SAM              0.50       197.50
               information.
22-Jun-16      Review and analyze document production.               NSS              2.50       650.00
22-Jun-16      Corresponded with Schneider re Citibank.              MIG              0.10        39.50
23-Jun-16      Review Motion for Adoption of Case Management         JSR              0.50       197.50
               Protocol and discuss same with Schneider.
23-Jun-16      Review draft Scheduling Report and Order and          JSR              0.70       276.50
               discuss same with Goldberg.
23-Jun-16      Communicate with Hatic and Miller re: Kelly           JSR              0.30       118.50
               subpoena.
23-Jun-16      Analyze, draft, and revise list of documents needed   SAM              2.50       987.50
               from financial institutions.
23-Jun-16      Receipt and review of Agreed Motion for Entry of      KAM              0.20        35.00
               Order Approving the Confidentiality, Non-Disclosure
               and Non-Waiver Stipulation Between the Receiver
               and CitiBank, N.A.
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23-Jun-16      Receipt and review of notice of confirmation of        KAM              0.10        17.50
               advertisement of court order in Quebec pursuant to
               Canadian Court Order.
24-Jun-16      Review and analyze case law establishing a breach of   NSS              3.50       910.00
               fiduciary duty. Draft analysis on claims.
24-Jun-16      Review Quiros' Motion to Dismiss.                      JSR              1.20       474.00
24-Jun-16      Prepare for and attend Rule 26 Scheduling              JSR              0.90       355.50
               Conference.
27-Jun-16      Review revised Scheduling Report and Order.            JSR              0.20        79.00
27-Jun-16      Reviewed due diligence request.                        MIG              0.40       158.00
27-Jun-16      Corresponded with Schneider re meeting with Citi.      MIG              0.20        79.00
27-Jun-16      Corresponded with Schneider re scheduling              MIG              0.10        39.50
               conference.
28-Jun-16      Prepared for and met in Miami with Citibank attorney   MIG              3.20     1,264.00
               to discuss settlement.
28-Jun-16      Reviewed and revised MDC Declaration.                  MIG              0.80       316.00
28-Jun-16      Conference with Schnedier re declaration.              MIG              0.30       118.50
28-Jun-16      Confer with expert regarding potential investor        NSS              2.50       650.00
               lawsuit.
28-Jun-16      Analyze documents needed from contractor and           SAM              0.70       276.50
               revise and edit subpoena to PeakCM and
               communicate with the Receiver re same.
29-Jun-16      Notice and arrange service of subpoena to PeakCM,      SAM              0.70       276.50
               including research regarding registered agent for
               PeakCM (non-Florida resident listed) and draft cover
               letter for courtesy copy to H. Rappold.
29-Jun-16      Conference with Schneider and revised declaration.     MIG              0.60       237.00
29-Jun-16      Conference with Schneider re declaration.              MIG              0.20        79.00
29-Jun-16      Conference with Wakshlag re status.                    MIG              0.20        79.00
29-Jun-16      Review Gordon's changes to proposed scheduling         JSR              0.20        79.00
               report and order.
30-Jun-16      Communicate with Levenson and Goldberg re:             JSR              0.40       158.00
               proposed Scheduling Report and Order (.2). Revise
               Scheduling Report (.2).
30-Jun-16      Review Receiver's Interested Party Response to         JSR              0.40       158.00
               Motion to Transfer.
30-Jun-16      Conference with Sallah and Schneider re status.        MIG              0.40       158.00
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30-Jun-16      Conference with numerous investors re Vermont           MIG              0.80       316.00
               settlement.
30-Jun-16      Reviewed Receiver's response in MDL litigation.         MIG              0.20        79.00
30-Jun-16      Deal with service issues arising from Peak CM           SAM              0.50       197.50
               subpoena.
30-Jun-16      Discussion with Receiver regarding State of             KAM              0.40        70.00
               Vermont's Settlement with Raymond James; Attend
               to web posting of news to keep investors informed of
               case status.
30-Jun-16      Attend to matters regarding subpoena to PeakCM.         KAM              0.20        35.00
1-Jul-16       Review and discuss the Administrative Consent           KAM              0.40        70.00
               Order in State of Vermont action against Raymond
               James for Receiver's obligations to distribute funds.
1-Jul-16       Analyze status and communications from Haas Hatic,      SAM              0.20        79.00
               and communicate with Haas Hatic, counsel to Bill
               Kelly and companies, regarding status of document
               production in response to subpoena.
1-Jul-16       Conference with Wakschlag and Schneiderman re           MIG              0.30       118.50
               Raymond James a and receipt of settlement funds.
1-Jul-16       Communicate with Goldberg and Miller re: Kelly          JSR              0.30       118.50
               documents.
5-Jul-16       Conference with Schneider re Vermont DFR matter.        MIG              0.30       118.50
5-Jul-16       Conference with Wakshlag re funds transfer.             MIG              0.20        79.00
5-Jul-16       Analyze questions from Peak CM counsel re               SAM              0.60       237.00
               subpoena and respond to same.
6-Jul-16       Analyze request for additional extension by William     SAM              0.30       118.50
               Kelly's counsel re subpoena and multiple
               communications with his counsel re same.
6-Jul-16       Multiple communications with Miller and Goldberg        JSR              0.40       158.00
               re: Kelly documents.
7-Jul-16       Review Interested Party Response in MDL filing and      JSR              0.90       355.50
               MDL pleadings.
7-Jul-16       Conference with Ronzetti re MDCC litigation.            MIG              0.20        79.00
7-Jul-16       Analyze additional needed information from              SAM              1.80       711.00
               accountants and revise and edit Jay Peak Financial
               Information for Subpoenas
7-Jul-16       Prepare email to J. Schneider regarding Receiver's      KAM              0.20        35.00
               requests for records from banks.
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7-Jul-16       Confer with S. Miller on discovery matters.             KAM              0.30        52.50
7-Jul-16       Conference with S. Miller regarding discovery           KAM              0.30        52.50
               matters.
7-Jul-16       Receipt and review of court's scheduling order.         KAM              0.50        87.50
8-Jul-16       Communications with A. Salazar regarding                KAM              0.50        87.50
               effectuating service of subpoenas on banks; Prepare
               discovery files.
8-Jul-16       Correspond with counsel regarding various bank          KAM              0.40        70.00
               subpoenas; Contact People's Bank regarding service.
8-Jul-16       Conference with Piecheck re Raymond James.              MIG              0.10        39.50
8-Jul-16       Conference with Schneider re Citi.                      MIG              0.20        79.00
8-Jul-16       Reviewed correspondence re Citi.                        MIG              0.20        79.00
11-Jul-16      Reviewed Kozyak MDL filing.                             MIG              0.30       118.50
11-Jul-16      Analyze status of William Kelly production in           SAM              0.30       118.50
               response to subpoena and communicate with staff re
               same.
12-Jul-16      Conference with Tropin and Cleary re status.            MIG              0.30       118.50
12-Jul-16      Reviewed Citibank documents.                            MIG              1.10       434.50
13-Jul-16      Conference with Schneider re Citi meeting.              MIG              0.30       118.50
13-Jul-16      Communicate Sandy Fead re Peak CM subpoena.             SAM              0.40       158.00
14-Jul-16      Prepared for and attended meeting with Citicorp and     MIG              2.30       908.50
               its counsel.
14-Jul-16      Prepared for and attended meeting in Miami with         MIG              3.20     1,264.00
               Schneider and Raymond James counsel.
14-Jul-16      Meeting with Schneider to discuss status.               MIG              0.80       316.00
15-Jul-16      Conference with Stenger re status of receivership and   MIG              0.60       237.00
               various issues.
18-Jul-16      Initial review of duct sock submittal documents.        SWR              0.20        79.00
19-Jul-16      Review submittal documents from Mr. Stenger             SWR              1.80       711.00
               regarding defects with air duct hanging system.
               Telephone conference with Mr. Stenger regarding
               background of defects and potential next steps.
               Review construction contracts and additional
               background documents.
19-Jul-16      Conference with Schneider re Citi.                      MIG              0.40       158.00
19-Jul-16      Review PPM; conference with Mike Goldberg, Iliana       JLR              2.50       987.50
               Arias and Jose Tovar.
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20-Jul-16      Conference with Wakslag re status.                      MIG              0.50       197.50
20-Jul-16      Numerous calls with Schneider re Citi and MMSI.         MIG              0.80       316.00
20-Jul-16      Prepared for and attended settlement calls with         MIG              1.10       434.50
               Citibank.
21-Jul-16      Conference with Boston class action lawyer re MDL       MIG              0.50       197.50
               and other issue.
21-Jul-16      Conference with Schneider re Citi settlement.           MIG              0.40       158.00
21-Jul-16      Conference with Tropin re settlement.                   MIG              0.60       237.00
21-Jul-16      Conference with Ronzetti re settlement.                 MIG              0.60       237.00
21-Jul-16      Conference with call with Schneider re status.          MIG              0.30       118.50
21-Jul-16      Numerous conferences with Schneider re Citi.            MIG              0.40       158.00
21-Jul-16      Review and analyze case law in jurisdictions outside    NSS              5.40     1,404.00
               of Florida on breaches of fiduciary duty.
22-Jul-16      Review, analyze, annotate and index documents           NSS              5.70     1,482.00
               produced in response to subpoena to investors'
               attorney.
22-Jul-16      Review State of Vermont's settlement with Raymond       JML              0.60       237.00
               James; prepare Notice of Filing; confer with Receiver
               and revise; confer with Raymond James' counsel and
               revise.
22-Jul-16      Analyze requests from Peak CM counsel for               SAM              0.10        39.50
               extension of time to produce documents;
               communicate with Receiver regarding same;
               communicate with counsel for Peak CM regarding
               production of documents an extension of time for
               production of same.
22-Jul-16      Reviewed and revised Citi settlement agreement.         MIG              0.80       316.00
22-Jul-16      Conference with Schneider and Ronzetti re Citi          MIG              0.50       197.50
               settlements.
22-Jul-16      Conference with Schneider re settlement agreement       MIG              0.40       158.00
               revisions.
22-Jul-16      Communicate with Goldberg and Schneider re: Citi        JSR              0.30       118.50
               settlement.
24-Jul-16      Review and analyze documents produced by Mr.            SAM              2.20       869.00
               Kelly and his companies.
25-Jul-16      Draft proposed complaint on breach of fiduciary duty    NSS              9.30     2,418.00
               by regional center.
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25-Jul-16      Telephone conference with Mr. Stenger and Mr.           SWR              1.20       474.00
               Webster regarding further background regarding
               issues with air duct hanging system, prior
               communications with construction team regarding
               same, and potential next steps.
26-Jul-16      Confer with Mr. Stenger regarding next steps.           SWR              0.20        79.00
26-Jul-16      Reviewed Raymond James complaints re stay.              MIG              0.80       316.00
27-Jul-16      Reviewed bar order for Citi.                            MIG              0.30       118.50
27-Jul-16      Conference with Schneider re Citi settlement and        MIG              0.60       237.00
               Raymond James letter.
27-Jul-16      Reviewed Citi revised settlement document.              MIG              1.10       434.50
27-Jul-16      Conference with Rebak and Surgeon re EB-5               MIG              0.20        79.00
               litigation.
28-Jul-16      Reviewed Rule 26 Initial Disclosure s and               MIG              0.40       158.00
               corresponded with Schneider re revisions.
28-Jul-16      Reviewed joinder in Raymond James stay motion and       MIG              0.30       118.50
               corresponded with Schneider.
28-Jul-16      Review and revise proposed Joint Scheduling Report.     JSR              0.30       118.50
28-Jul-16      Review Quiros' Second Motion re: Fees and Costs         JSR              1.70       671.50
               and supporting documentation.
28-Jul-16      Review Administrative Consent Order and support.        JSR              0.60       237.00
28-Jul-16      Strategize and analyze claim to enjoin USCIS.           NSS              0.60       156.00
28-Jul-16      Review issues regarding inaction by USCIS.              JLR              1.50       592.50
28-Jul-16      Review proposal from structural engineer for duct       SWR              0.20        79.00
               sock drawings. Confer with Mr. Stenger regarding
               call with DEW.
29-Jul-16      Review and analyze owner contracts with architect       SWR              1.20       474.00
               and construction manager, respectively. Review
               proposal from Hardy Structural Engineering.
29-Jul-16      Receive email regarding status on PeakCM                KAM              0.10        17.50
               production.
29-Jul-16      Telephone conference with S. Miller, Esquire            KAM              0.30        52.50
               regarding Kelly Production.
29-Jul-16      Review and analyze electronic records produced by       KAM              0.80       140.00
               W. Kelly to identify information on prior tax returns
               filed NECS.
29-Jul-16      Deal with NECS doc production issues.                   SAM              0.30       118.50
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29-Jul-16      Conference with Schneider re Raymond James and          MIG              0.10        39.50
               Citibank.
29-Jul-16      Conference with Foster re discovery.                    MIG              0.20        79.00
31-Jul-16      Review and analyze documents produced by Mr.            SAM              1.00       395.00
               Kelly and his companies.
31-Jul-16      Initial review of documents from PeakCM and             SAM              1.50       592.50
               instructions to staff to have same loaded on
               Relativity.
1-Aug-16       Reviewed documents received from Gulisano.              MIG              0.40       158.00
1-Aug-16       Conference with Robbins and Miller re litigation.       MIG              0.40       158.00
1-Aug-16       Conference with Schneider re update.                    MIG              0.30       118.50
1-Aug-16       Conference with Foster re documents.                    MIG              0.20        79.00
1-Aug-16       Review Raymond James insurance information and          JSR              0.40       158.00
               discuss with Kellogg.
1-Aug-16       Communicate with Schneider re: Response to Second       JSR              0.30       118.50
               Motion for Fees.
1-Aug-16       Communicate with Pieciak and Kline re: Vermont          JSR              0.40       158.00
               suit against Jay Peak.
1-Aug-16       Communicate with Goldberg and Miller re: potential      JSR              0.30       118.50
               litigation matters.
1-Aug-16       Follow up with status of USDOJ request for              KAM              0.20        35.00
               documents.
1-Aug-16       Telephone conference with Mr. Stenger and DEW           SWR              0.40       158.00
               (Mike Smith) regarding duct socks issues.
2-Aug-16       Review e-mail from Mr. Stenger regarding contact        SWR              0.40       158.00
               with architect about duct sock issues. Outline notice
               letter to potentially responsible parties.
2-Aug-16       Review Vermont Class Action Complaint.                  JSR              0.60       237.00
2-Aug-16       Review SEC's Response to Motion to Dismiss.             JSR              0.60       237.00
2-Aug-16       Prepare for and attend meeting with Goldberg and        JSR              0.50       197.50
               Miller to discuss litigation.
2-Aug-16       Conference with Miller and Robbins re litigation and    MIG              0.60       237.00
               discovery.
2-Aug-16       Conference with Schneider and Wakshlag re joinder.      MIG              0.40       158.00
2-Aug-16       Spoke with Ronzetti re status.                          MIG              0.30       118.50
2-Aug-16       Analyze class action complaint and issues against       SAM              0.90       355.50
               certain financial institutions.
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3-Aug-16       Conference with Keith Miller re lawsuit.                  MIG              0.60       237.00
3-Aug-16       Reviewed and revised Raymond James motion.                MIG              0.50       197.50
3-Aug-16       Conference with Alford, Wakslag and Schneider re          MIG              0.60       237.00
               settlement.
4-Aug-16       Reviewed and revised Raymond James motion.                MIG              0.80       316.00
4-Aug-16       Reviewed Citi settlement and corresponded with            MIG              0.60       237.00
               Schneider.
4-Aug-16       Conference with Pieciak re Raymond James Motion.          MIG              0.20        79.00
4-Aug-16       Review and analyze case law on jurisdiction of            NSS              1.20       312.00
               district court to enjoin USCIS.
5-Aug-16       Conference with Schneider and Wakschlag re order.         MIG              0.30       118.50
5-Aug-16       Conference with Pieciak re status and Raymond             MIG              0.30       118.50
               James motion.
5-Aug-16       Review files re: payments to attorneys for referrals      JSR              1.40       553.00
               re: possible claims.
7-Aug-16       Correspond with E. Cowles regarding names for taint       KAM              0.30        52.50
               review.
8-Aug-16       Review Mont Saint-Sauveur documents re: potential         JSR              0.70       276.50
               claims.
9-Aug-16       Conference with Schneider re Citi settlement.             MIG              0.20        79.00
9-Aug-16       Conference with Wakschlag re status.                      MIG              0.10        39.50
9-Aug-16       Review Mr. Stenger's comments to draft notice letter      SWR              0.80       316.00
               regarding duct socks issues. Edit and revise letter.
10-Aug-16      Reviewed Citi settlement and conference with              MIG              0.60       237.00
               Schneider re revisions.
10-Aug-16      Telephone conference with Klein (Vermont AG) re:          JSR              0.20        79.00
               document production.
11-Aug-16      Review Burstein's and Quiros' Motions to Dismiss          JSR              0.70       276.50
               Receiver claims.
11-Aug-16      Review and revise Response to Fee Application;            JSR              1.40       553.00
               review SEC Response; and discuss with Goldberg.
11-Aug-16      Reviewed memo re class action and corresponded            MIG              0.30       118.50
               with Ronzetti re same.
11-Aug-16      Finalize and serve notice to letter regarding duct sock   SWR              0.20        79.00
               defects.
11-Aug-16      Confer with M. Goldberg regarding third party             KAM              0.20        35.00
               litigation matter.
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11-Aug-16      Review memorandum from class action counsel and         KAM              0.40        70.00
               prepare in memo form for posting on Receiver's
               website to keep investors informed of status.
12-Aug-16      Conference with Schneider re Citi settlement.           MIG              0.20        79.00
12-Aug-16      Review and analyze case law regarding enjoining         NSS              4.50     1,170.00
               USCIS ability to deny late-filed I-829 petition.
15-Aug-16      Review and analyze case law regarding ability of job    NSS              6.10     1,586.00
               creating entity to enjoin USCIS on behalf of
               investors.
15-Aug-16      Conference with Tropin and Tal re meeting.              MIG              0.20        79.00
15-Aug-16      Review Wei Complaint and supporting documents           JSR              1.40       553.00
               and discuss same with Goldberg.
16-Aug-16      Communicate with and Lynn, White and Kaiser re:         JSR              1.10       434.50
               Wei litigation. Draft of correspondence to White and
               Lynn re: same.
16-Aug-16      Conference with Caroline Ablom and Bloom re Citi        MIG              0.30       118.50
               deal.
16-Aug-16      Conference with Schneider and Bloom re Citi             MIG              0.40       158.00
               settlement.
16-Aug-16      Researched issue of 502(h) claim and send case to       MIG              1.50       592.50
               Bloom.
16-Aug-16      Corresponded with Schneider re Citi settlement and      MIG              0.80       316.00
               reviewed documents.
16-Aug-16      Review and analyze USCIS Policy Memoranda on            NSS              6.50     1,690.00
               extension of time to file I-829. Confer with M.
               Casablanca on potential relief for investors.
17-Aug-16      Corresponded with Schneider re Citi.                    MIG              0.30       118.50
17-Aug-16      Reviewed Citi proposed preliminary order, finalize      MIG              0.80       316.00
               order and notice.
18-Aug-16      Conference with Schneider re Raymond James suit         MIG              0.60       237.00
               and MMSI.
18-Aug-16      Conference with Tropin re status.                       MIG              0.30       118.50
18-Aug-16      Meeting with Keith Miller to discuss potential cases.   MIG              1.40       553.00
18-Aug-16      Reviewed draft Raymond James Order.                     MIG              0.20        79.00
18-Aug-16      Multiple communications with Goldberg and Kaiser        JSR              0.50       197.50
               re: Wei.
18-Aug-16      Work on identifying various document production,        KAM              4.60       805.00
               organization and cataloging of data.
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18-Aug-16      Confer with Receiver regarding document production    KAM              0.40        70.00
               matters.
18-Aug-16      Confer with S. Miller regarding W. Kelly document     KAM              0.20        35.00
               production.
18-Aug-16      Review recommendations for auditors/accountants       SWR              0.20        79.00
               with construction project experience.
19-Aug-16      Continue to work on organization of PeakCM and W.     KAM              1.80       315.00
               Kelly document production.
19-Aug-16      Reviewed documents produced by Peak CM.               MIG              1.40       553.00
19-Aug-16      Corresponded with Bloom re orders.                    MIG              0.20        79.00
19-Aug-16      Corresponded with Schneider re Citi and reviewed      MIG              0.80       316.00
               draft orders.
19-Aug-16      Conference with Tropin re witness interviews.         MIG              0.30       118.50
22-Aug-16      Reviewed revised Citi settlement.                     MIG              0.50       197.50
22-Aug-16      Corresponded with Ronzetti re witnesses.              MIG              0.20        79.00
22-Aug-16      Corresponded with Schneider re Citi.                  MIG              0.40       158.00
22-Aug-16      Reviewed Quiros' reply to fee motion.                 MIG              0.60       237.00
22-Aug-16      Conference with Schneider and Ronzetti to discuss     MIG              0.40       158.00
               privileged document procedure.
22-Aug-16      Review Proposed Order re: fees and Communicate        JSR              0.30       118.50
               with Goldberg re: same.
22-Aug-16      Strategize and analyze EB-5 legislation.              NSS              0.50       130.00
22-Aug-16      Correspond with Schneider regarding records.          KAM              0.30        52.50
23-Aug-16      Correspond with J. Schneider regarding Citibank       KAM              0.20        35.00
               settlement noticing requirements.
23-Aug-16      Review and analyze additional policy memoranda        NSS              3.20       832.00
               governing USCIS response to EB-5 fraud. Strategize
               and analyze ability for receiver to bring action on
               behalf of investors.
23-Aug-16      Review SEC Complaint.                                 JLR              1.50       592.50
23-Aug-16      Review receivership order.                            JLR              0.40       158.00
23-Aug-16      Conference with Naim Surgeon.                         JLR              0.20        79.00
23-Aug-16      Communicate with Miller and Matregrano re: CM         JSR              0.40       158.00
               Peak.
24-Aug-16      Multiple communications with Godlberg and             JSR              0.40       158.00
               Matregrano re: suggestion of receivership in Wei.
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24-Aug-16      Draft of multiple correspondence to counsel and         JSR              1.30       513.50
               notices to carrier re: Wei.
24-Aug-16      Conference with Schneider re Citi.                      MIG              0.30       118.50
24-Aug-16      Conference with Robbins re Vermont lawsuit.             MIG              0.10        39.50
24-Aug-16      Review USCIS policy memorandum.                         JLR              2.10       829.50
24-Aug-16      Conference with Receiver regarding Wei Complaint        KAM              1.60       280.00
               (.2); Review complaint and prepare notice of
               receivership (1.1); Prepare file (.3).
24-Aug-16      Research information on bar order for attorney.         KAM              0.40        70.00
24-Aug-16      Review and edit draft structural assessment of duct     SWR              0.60       237.00
               socks hanging system.
25-Aug-16      Complete review and analysis of structural engineer's   SWR              1.00       395.00
               assessment of duct socks. Telephone conference with
               Mr. Stenger regarding same. Draft correspondence to
               construction/design parties regarding structural
               assessment and remediation design plans.
25-Aug-16      Prepare letter to Clerk of Superior Court in Vermont    KAM              0.60       105.00
               and send overnight mail enclosing original Notice of
               Receivership for filing in Wei litigation matter;
               Attend to file organization.
25-Aug-16      Prepare and send letter to Clerk of Court for Vermont   KAM              0.60       105.00
               Superior Court enclosing original Notice of
               Receivership to be filed in Wei litigation.
25-Aug-16      Confer with J. Levit regarding Wei litigation matter.   KAM              0.30        52.50
25-Aug-16      Communicate with Kaiser re: Wei.                        JSR              0.40       158.00
26-Aug-16      Communicate with Seff re: White & Burke                 JSR              0.60       237.00
               indemnification issues.
26-Aug-16      Communicate with Kline re: e-mail production.           JSR              0.30       118.50
26-Aug-16      Communicate with Kaiser re: Wei complaint.              JSR              0.30       118.50
26-Aug-16      Conference with Tropin re discovery.                    MIG              0.30       118.50
26-Aug-16      Corresponded with Schneider re settlement.              MIG              0.20        79.00
26-Aug-16      Conference with Schneider re Citi settlement.           MIG              0.30       118.50
26-Aug-16      Reviewed Citi motion and settlement.                    MIG              0.90       355.50
29-Aug-16      Corresponded with Bloom re notice.                      MIG              0.20        79.00
29-Aug-16      Telephone conference with Seff (White & Burke           JSR              0.40       158.00
               counsel) re: Wei case.
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29-Aug-16      Communicate with Scot Kline re: production of e-             JSR              0.30       118.50
               mails in Vermont AG case.
29-Aug-16      Review issues regarding USCIS policy statements.             JLR              1.00       395.00
29-Aug-16      Attend EB-5 stakeholder's conference. Review and             NSS              5.80     1,508.00
               analyze additional documents produced by investors'
               attorney. Review and summarize transcript of
               deposition of investors' attorney.
30-Aug-16      Confer with Receiver re Citibank settlement and bar          JML              0.70       276.50
               order (2); review Motion to Approve Settlement with
               Citibank (.3); prepare correspondence to counsel for
               contractors requesting contact information for
               subcontractors.
30-Aug-16      Communicate with Kaiser re: dismissal of Q Burke             JSR              0.20        79.00
               from Wei case.
30-Aug-16      Review Motion for Approval of Settlement re:                 JSR              0.50       197.50
               Citibank and discuss use of funds with Goldberg.
30-Aug-16      Final review of Citi settlement and corresponded with        MIG              0.80       316.00
               K. Matregrano re notice procedures.
31-Aug-16      Prepared answers to questions for settlement.                MIG              2.60     1,027.00
31-Aug-16      Numerous correspondence with Schneider re                    MIG              0.30       118.50
               settlement.
31-Aug-16      Review Wei Notice of Dismissal and Communicate               JSR              0.20        79.00
               with Kaiser re: same.
31-Aug-16      Communications with J. Schneider and Receiver                KAM              0.30        52.50
               regarding Citibank settlement noticing requirements.
31-Aug-16      Telephone conference with Mr. Stenger regarding              SWR              0.80       316.00
               potential new fabric deterioration issue with duct
               socks. Edit and revise draft letter to project entities to
               address this new issue. Complete edits and revisions
               to structural assessment.
1-Sep-16       Revise and finalize letter to all parties enclosing          SWR              0.60       237.00
               structural assessment and plans. Review revised
               structural assessment and plans.
1-Sep-16       Update pleadings index for Wei litigation matter.            KAM              0.20        35.00
1-Sep-16       Review Motion re: Citi and discuss with Goldberg.            JSR              0.40       158.00
1-Sep-16       Reviewed preliminary order.                                  MIG              0.30       118.50
1-Sep-16       Reviewed correspondence from Pieciak and                     MIG              0.30       118.50
               corresponded with Wakschlag re consent.
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1-Sep-16      Conference with Schneider re Order.                      MIG              0.20        79.00
1-Sep-16      Confer with court to scheduling approval hearing.        NSS              0.20        52.00
2-Sep-16      Conference with Schneider re status.                     MIG              0.20        79.00
2-Sep-16      Reviewed notice with K. Matregrano.                      MIG              0.30       118.50
2-Sep-16      Reviewed court's order and conference with               MIG              0.30       118.50
              Schneider re same.
2-Sep-16      Conference with Matregrano and Schneider re notice       MIG              0.20        79.00
              and requirements.
2-Sep-16      Review various Orders re: Citibank Settlement, Bar       JSR              0.30       118.50
              Order and scheduling hearing and discuss same with
              Goldberg.
2-Sep-16      Review Quiros' Reply in Support of Motion to             JSR              0.90       355.50
              Dismiss.
2-Sep-16      Review and analyze Court's Order and noticing            KAM              7.20     1,260.00
              requirements for Citibank settlement; Work on
              notification to 4000 plus interested parties regarding
              Citibank settlement; Prepare web posting; work on
              mailing lists, finalize postings in Vermont Digger and
              Burlington Free Press; Finalize Notice for
              publication; Multiple communications with Ritters
              regarding mailing.
5-Sep-16      Review and analyze case law on attorney malpractice      NSS              6.50     1,690.00
              and professional negligence. Draft analysis of
              malpractice claims against investors' attorney.
6-Sep-16      Multiple communications with Goldberg and                JSR              0.40       158.00
              Schneider re: Citibank settlement.
6-Sep-16      Review policy and draft of Notice to Insurer re: Wei     JSR              1.30       513.50
              lawsuit and Multiple communications with Dreifuss
              (Ironshore agent) re: same.
6-Sep-16      Follow up with Vermont Digger regarding banner ad        KAM              0.40        70.00
              and corrections for Citibank Settlement noticing
              requirements.
6-Sep-16      Work on corrections to mailing list for Citibank         KAM              1.40       245.00
              Settlement noticing requirements; Multiple
              communications with Ritters re: same and
              finalization of project.
6-Sep-16      Communications r with J. Schneider regarding             KAM              0.50        87.50
              Citibank noticing matters; Work on finalizing notice
              for mass mailing.
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7-Sep-16       Communications with Ritters for finalization of          KAM              0.40        70.00
               mailing of Citibank settlement notice.
7-Sep-16       Telephone conference with Vermont Superior Court         KAM              0.30        52.50
               to confirm filing of dismissal against Q Burke in Wei
               litigation.
7-Sep-16       Correspond with J. Robbins and J. Schneider              KAM              0.20        35.00
               regarding Receiver's Joinder in Wei litigation.
7-Sep-16       Review Raymond James Motion to Stay Proceedings          KAM              0.40        70.00
               in Wei litigation for purposes of determining if
               Receiver's joinder of same should be withdrawn and
               correspond with attorney re: same.
7-Sep-16       Communicate with Barry re: Ironshore claim.              JSR              0.30       118.50
7-Sep-16       Multiple communications with Kaiser, Schneider and       JSR              0.70       276.50
               Matregrano re: Wei.
7-Sep-16       Analysis potential causes of action.                     NSS              2.00       520.00
8-Sep-16       Communicate with Kline re: production of e-mails         JSR              0.40       158.00
               and documents to State of Vermont.
8-Sep-16       Receipt and review of postal receipt from Ritter's and   KAM              0.20        35.00
               tracking link regarding Citibank mailout.
8-Sep-16       Review correspondence from Ramaker's counsel. E-         SWR              0.20        79.00
               mails with Mr. Stenger regarding Ramaker's counsel's
               correspondence and pricing for new hanging system.
9-Sep-16       Review design documents, submittals, RFI, and            SWR              1.20       474.00
               insurance coverages for purposes of preparing
               response to Ramaker's counsel's letter. Draft response
               to Ramaker's counsel's letter. Telephone conference
               with Mr. Stenger regarding same.
9-Sep-16       Conference with Schneider and Wakschlag re status.       MIG              0.50       197.50
9-Sep-16       Review and analyze transcript from investors'            NSS              6.70     1,742.00
               attorney interview for all instances where testimony
               supports a malpractice claim. Draft analysis of
               possible claims against investors' attorney.
10-Sep-16      Review and analyze private placement memoranda           NSS              4.20     1,092.00
               issued to US EB-5 investors in accordance with
               testimony provided by investors' attorney.
12-Sep-16      Draft analysis of claims against attorney representing   NSS              6.70     1,742.00
               EB-5 investor. Review and analyze congressional
               releases updating EB-5 statutes.
12-Sep-16      Review newly introduced EB5 legislation.                 JLR              0.60       237.00
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12-Sep-16      Communicate with Kaiser re: Wei matter.                 JSR              0.20        79.00
12-Sep-16      Edit and revise draft letter to Ramaker's counsel.      SWR              0.80       316.00
               Confer with Mr. Shean regarding language in letter to
               potentially trigger insurance coverage and response.
12-Sep-16      Tel conf. call with Scott Rostock re: claim against     OJS              0.30       118.50
               design professional for professional negligence
12-Sep-16      Review and respond to inquiry from interested party     KAM              0.20        35.00
               requesting information on Citibank settlement.
12-Sep-16      Dealt with returned mail items from Receiver's          KAM              0.50        87.50
               proposed settlement with Citibank.
13-Sep-16      Follow up with publication of Citibank Legal Notice     KAM              0.40        70.00
               with Vermont Digger and Burlington Free Press.
13-Sep-16      Communications with numerous parties regarding          KAM              0.80       140.00
               Citibank Settlement Notice.
13-Sep-16      Analyze and conduct research re "admin fees"            SAM              0.70       276.50
               received by Visa company working with Jay Peak
               and whether there may be possible fraudulent
               transfers to avoid and recover.
14-Sep-16      Strategize and analyze claims against investors.        NSS              0.70       182.00
14-Sep-16      Communicate with Goldberg re: fee hearing and           JSR              0.40       158.00
               Review Order re: same.
14-Sep-16      Communicate with Matregrano and Schneider re:           JSR              0.40       158.00
               Wei.
14-Sep-16      Conference with Schneider re status.                    MIG              0.40       158.00
14-Sep-16      Confer with M. Goldberg and J. Schneider regarding      KAM              0.20        35.00
               Wei litigation and dismissal of Receiver's joinder.
14-Sep-16      Review e-mail correspondence from VHV and               SWR              0.20        79.00
               transmit same to client. Finalize and serve letter to
               Ramaker's counsel.
15-Sep-16      Conference call with Receiver.                          JLR              0.40       158.00
16-Sep-16      Finalize demand letter to investors' attorney.          NSS              1.10       286.00
16-Sep-16      Corresponded with Schneider re status.                  MIG              0.30       118.50
16-Sep-16      Review carrier response to coverage demand re: Wei.     JSR              0.70       276.50
               Review Receivers Notice of Joinder and Motion to
               Appear by Phone. Communicate with Matregrano re:
               same.
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16-Sep-16      Finalize motion to appear by phone, certificate of        KAM              0.50        87.50
               service and revised joinder in Wei litigation and
               arrange for expedited filing in Vermont Superior
               Court.
16-Sep-16      Draft Letter to clerk of Vermont Superior Court with      KAM              0.30        52.50
               enclosures.
16-Sep-16      Correspond with J. Schneider regarding amended            KAM              0.20        35.00
               joinder in Wei litigation.
16-Sep-16      Draft letter to Clerk of Vermont Superior Court with      KAM              0.40        70.00
               instructions regarding Receiver's court filings in Wei
               litigation.
17-Sep-16      Corresponded with Schneider re status.                    MIG              0.20        79.00
19-Sep-16      Reviewed draft response to motion to dismiss              MIG              1.40       553.00
               Raymond James suit.
20-Sep-16      Corresponded with Schneider re status.                    MIG              0.10        39.50
20-Sep-16      Corresponded with Jackson re Citi.                        MIG              0.10        39.50
20-Sep-16      Review documents produced per subpoena to Kelly.          JSR              1.70       671.50
20-Sep-16      Prepare email to Schneider re: status of filings in Wei   KAM              0.10        17.50
               litigation matters.
20-Sep-16      Review correspondence from Jay Peak Village               SWR              0.40       158.00
               Association regarding purported construction defects.
               (.2) Review correspondence from VHV regarding
               duct dock hanging system and transmit same to
               client. (.2)
21-Sep-16      Receipt and review of email from Grundhauser              KAM              0.20        35.00
               regarding Vermont court filings.
21-Sep-16      Conference call with J. Rebak regarding Klasko            KAM              0.40        70.00
               records request pertaining to information needed for
               Stateside template; Assemble information and send to
               J. Rebak.
21-Sep-16      Review Order re: fee hearing and discuss same with        JSR              0.30       118.50
               Goldberg.
21-Sep-16      Telephone conference with Ron Klasko.                     JLR              0.60       237.00
22-Sep-16      Review numerous filings and correspondence                JLR              1.50       592.50
               regarding USCIS.
22-Sep-16      Review status on stateside and AB bio.                    JLR              0.80       316.00
22-Sep-16      Review SEC document request and discuss with              JSR              0.40       158.00
               Goldberg and Matregrano.
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22-Sep-16      Conference with M. Goldberg regarding SEC               KAM              0.70       122.50
               document request (.4); Communications with
               accountants regarding same (.3).
22-Sep-16      Communications with K. McCoy and provide                KAM              0.20        35.00
               instructions on document requests.
23-Sep-16      Multiple communications with Goldberg and               JSR              0.60       237.00
               Schneider re: new Quiros fee application.
23-Sep-16      Corresponded with Schneider and Cosgrove re             MIG              0.20        79.00
               Quiros fee application.
23-Sep-16      Review and send numerous e-mails with counsel for       JLR              1.20       474.00
               investors.
23-Sep-16      Legal research regarding possible remedies for          JLR              1.50       592.50
               investors.
23-Sep-16      Memo to Mike Goldberg.                                  JLR              0.40       158.00
27-Sep-16      Telephone conference with Mike Goldberg.                JLR              0.40       158.00
27-Sep-16      Review Quiros' Third Motion for Fees and discuss        JSR              0.70       276.50
               with Goldberg.
27-Sep-16      Follow up with J. Schneider regarding SEC's             KAM              0.20        35.00
               document request and potential privilege emails to be
               excluded from search.
28-Sep-16      Confer with Receiver regarding SEC document             KAM              0.20        35.00
               requests and privilege issues; Review email
               communications re: same.
29-Sep-16      Conference call with Klasko et al.                      JLR              1.20       474.00
29-Sep-16      Review Receiver's report.                               JLR              1.60       632.00
30-Sep-16      Review issues regarding stateside and AnC Bio           JLR              2.20       869.00
               RFE's and 892's.
3-Oct-16       Draft motion to permit telephonic appearance at         NSS              0.50       130.00
               hearing by receiver.
3-Oct-16       Corresponded with Matregrano re discovery.              MIG              0.30       118.50
3-Oct-16       Conference with US Attorney re status.                  MIG              0.10        39.50
3-Oct-16       Attend to matters regarding Receiver's production to    KAM              0.50        87.50
               Securities & Exchange Commissions' Request for
               Production.
3-Oct-16       Review proposal for replacement duct sock hanging       SWR              0.60       237.00
               system.
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4-Oct-16       Draft letter to SEC with enclosed response to Rule 34   KAM              0.40        70.00
               document request; Correspond with Kapila re:
               production.
4-Oct-16       Communicate with Goldberg, Levenson and                 JSR              0.50       197.50
               Matregrano re: production of documents to SEC and
               privilege.
4-Oct-16       Begin review of materials to prepare for Quiros fee     JSR              1.40       553.00
               hearing.
4-Oct-16       Review letter regarding RFE extension.                  JLR              0.40       158.00
5-Oct-16       Memo to Ron Klasko.                                     JLR              0.40       158.00
5-Oct-16       Review Order Resetting Hearing and discuss with         JSR              0.30       118.50
               Goldberg and Surgeon.
7-Oct-16       Attend meeting with US Attorney in Burlington.          MIG              5.10     2,014.50
7-Oct-16       Place call to S. Miller regarding W. Kelly and NECS     KAM              0.20        35.00
               production.
7-Oct-16       Work on SEC document production; Prepare and            KAM              0.90       157.50
               send letter to SEC enclosing replacement drive.
7-Oct-16       Telephone conference with M. Davis at Kapila            KAM              0.20        35.00
               regarding SEC production.
7-Oct-16       Review correspondence regarding duck sock hanger        SWR              0.40       158.00
               replacement proposal.
10-Oct-16      Telephone conference with S. Miller regarding           KAM              0.30        52.50
               document production.
10-Oct-16      Assemble information on Receiver's compliance with      KAM              0.60       105.00
               Court's Order on publication and noticing of Citibank
               Settlement; Provide information and documentation
               to J. Schneider for filing.
10-Oct-16      Review Response in Opposition to Motion to              JSR              0.40       158.00
               Approve Citibank Settlement.
11-Oct-16      Review Goldberg Declaration re: Citi.                   JSR              0.40       158.00
11-Oct-16      Numerous calls with Schneider re objections to          MIG              0.60       237.00
               Citibank settlement..
11-Oct-16      Complete review and analysis of VHV remediation         SWR              0.40       158.00
               proposal and issues relating to same.
12-Oct-16      Confer with Mr. Stenger regarding VHV remediation       SWR              0.40       158.00
               proposal and next steps.
12-Oct-16      Receipt and review of Subpoena from Vermont             KAM              0.50        87.50
               USDOJ for records; Create file and attend to request.
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12-Oct-16      Provide detailed information on Citibank mail out to       KAM              0.40        70.00
               J. Schneider in preparation for court hearing on
               proper noticing.
12-Oct-16      Review and analyze case law regarding court-               NSS              6.70     1,742.00
               appointed receiver's cause of action. Review and
               analyze investors' right of review under APA.
               Review and analyze case law regarding powers and
               duties of receiver to sue under 12 C.F.R. Section
               650.20.
13-Oct-16      Prepare Notice of Joinder and notice of Incorporation      JML              0.70       276.50
               of Receiver's prior Objection to Quiros' Motion for
               Payment of Fees.
13-Oct-16      Review procedural issues regarding USCIS.                  JLR              1.50       592.50
13-Oct-16      Memo to Ron Klasko.                                        JLR              0.40       158.00
13-Oct-16      Conference with Naim Surgeon.                              JLR              0.20        79.00
13-Oct-16      Legal research regarding preliminary injunction.           JLR              0.80       316.00
13-Oct-16      Attended call re waterpark.                                MIG              0.50       197.50
13-Oct-16      Review SEC's Response in Opposition to Quiros              JSR              0.50       197.50
               Third Motion for Fees.
13-Oct-16      Telephone conference with team regarding water             SWR              0.80       316.00
               park repairs. Confer with Mr. Stenger regarding
               various issues.
14-Oct-16      Draft correspondence to all parties regarding              SWR              2.60     1,027.00
               forthcoming repairs, opportunity to
               inspect/cure/contribute, and reservation of rights. Edit
               and revise same. Review final version of remediation
               proposal from VHV. Confer with Mr. Stenger
               regarding same. Initial research of potential
               consultants/experts. Draft correspondence to VHV
               authorizing work to begin. Confer with Ms. Bohm
               regarding construction contract.
14-Oct-16      Dealt with Waterpark Duct Sox Hanger Replacement           KAM              0.10        17.50
               contract.
14-Oct-16      Reviewed complaint against USCIS and motion for            MIG              0.40       158.00
               TRO
14-Oct-16      Conference with SEC re complaint.                          MIG              0.30       118.50
14-Oct-16      Numerous correspondence with Schneider re Citi             MIG              0.50       197.50
               settlement.
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14-Oct-16      Numerous correspondence re waterpark repair and         MIG              0.70       276.50
               reviewed contract.
14-Oct-16      Corresponded with Rebak re complaint.                   MIG              0.20        79.00
14-Oct-16      Telephone conference with Mike Goldberg.                JLR              0.20        79.00
14-Oct-16      Telephone conference with Mike Goldberg.                JLR              0.20        79.00
17-Oct-16      Conference with Schnedier to review proposed Citi       MIG              0.40       158.00
               order.
17-Oct-16      Dealt with waterpark construction issue.                MIG              0.30       118.50
17-Oct-16      Communicate with Schneider and review proposed          JSR              0.40       158.00
               orders re: fees, Citibank and Objections.
17-Oct-16      Review Quiros' Reply to Response to Motion for          JSR              0.50       197.50
               Attorneys' Fees.
17-Oct-16      Telephone conference with J. Schneider regarding        KAM              0.20        35.00
               discovery matters.
17-Oct-16      Draft letter to Jay Peak's former attorneys regarding   KAM              0.60       105.00
               records turnover.
17-Oct-16      Receipt and review of Third Motion for Attorneys        KAM              0.20        35.00
               Fees and Costs by Quiros; Update Receiver's website
               re: same.
17-Oct-16      Edit and revise draft letter to all parties regarding   SWR              0.80       316.00
               forthcoming repairs. Finalize and serve same. Confer
               with team regarding construction contract with VHV
18-Oct-16      Research and confer with structural engineer            SWR              1.00       395.00
               consultants/experts recommended by Mr. Hardy. (.6)
               Confer with Mr. Stenger regarding VHV work
               proposal and contract. (.4)
18-Oct-16      Receipt and review of Notice by Group 7 Ad hoc          KAM              0.10        17.50
               Committee Limited Objection to Citibank Settlement.
18-Oct-16      Continue working in discovery related matters for       KAM              0.40        70.00
               uploading of documents into Ipro.
18-Oct-16      Receipt and review of Order (I) Approving               KAM              0.20        35.00
               Settlement Between Receiver and Citibank, N.A.; (II)
               Barring, Restraining, and Enjoining Claims against
               Citibank, N.A; and (III) Modifying Asset Freeze
               Order (.1); Arrange for web posting of same (.1).
18-Oct-16      Review terms of Citibank Settlement and approval        KAM              0.40        70.00
               order regarding timing of payment and calendar due
               date.
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18-Oct-16      Reviewed documents re waterpark repair.                   MIG              0.50       197.50
18-Oct-16      Conference with Schneider re Citi.                        MIG              0.40       158.00
18-Oct-16      Reviewed Court's order approving Citibank.                MIG              0.50       197.50
18-Oct-16      Receipt and review proposed Repair Letter                 SBB              0.50       197.50
               Agreement, address issues regarding same, and
               language to be included related to preservation of
               claims and evidence, and receipt and review
               correspondence to and from client regarding same.
19-Oct-16      Confer with immigration counsel. Confer with SEC          NSS              5.20     1,352.00
               on hearing on defendants' motion for fees. Review
               pleadings and prepare arguments for hearing.
19-Oct-16      Conference with SEC re Quiros fee hearing.                MIG              0.40       158.00
19-Oct-16      Attended Jay peak Team call re immigration fee            MIG              0.70       276.50
               hearing.
19-Oct-16      Prepared for fee hearing.                                 MIG              1.40       553.00
19-Oct-16      Reviewed notice procedures for service of Citi Order.     MIG              0.20        79.00
19-Oct-16      Numerous emails re construction issue.                    MIG              0.60       237.00
19-Oct-16      Reviewed US Attorney subpoena.                            MIG              0.10        39.50
19-Oct-16      Multiple communications with Kline and Matregrano         JSR              0.40       158.00
               re: production to Vermont.
19-Oct-16      Work on noticing required of Court Order Approving        KAM              0.50        87.50
               Citibank Settlement to approx. 4,000 investors and
               non-investor creditors.
19-Oct-16      Review email from K. McCoy regarding JCM Bank             KAM              0.10        17.50
               Record Requests.
19-Oct-16      Confer with J. Robbins regarding document request         KAM              0.50        87.50
               from State of Vermont; Research information on
               same for J. Robbins' review.
19-Oct-16      Research potential structural engineer                    SWR              0.80       316.00
               consultants/experts for ducts sock defects. (.6) Confer
               with Mr. Stenger regarding potential pre-remediation
               inspection by all parties. (.2)
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20-Oct-16      Coordinate with all parties inspection of duct socks     SWR              2.40       948.00
               prior to remediation work. (.4) Multiple telephone
               conferences with prospective expert/consultant on
               duct sock issues, Andy Osborn, regarding
               background, pending issues, expert qualifications,
               and engagement letter. (1.2) Compile background
               documents for Ms. Osborn's review. (.2) Confer with
               VHV regarding scheduling of remediation work. (.2)
               Outline preservation of evidence protocol for draft
               contract with VHV. (.4)
20-Oct-16      Receipt and review of Order granting in part and         KAM              0.40        70.00
               denying in part Defendant Ariel Quiros's Second
               Motion for an Order Permitting Payment of
               Attorneys' Fees and Costs [ECF No. 192] and
               granting in part and denying in part Defendant Ariel
               Quiros's Third Motion for an Order Permitting
               Payment of Attorney's Fees and Costs [ECF No.
               219]; Prepare check request for payment of $80,000
               to the law firm of Mitchell Silberberg per same.
20-Oct-16      Work on finalizing mailing list for Citibank mailout     KAM              0.50        87.50
               and send same to printer.
20-Oct-16      Work on formatting of Citibank Order to be mass          KAM              0.50        87.50
               mailed to approx. 4,000 parties and send final version
               to printer.
20-Oct-16      Receipt and review of Order denying Motion of            KAM              0.10        17.50
               Berger Singerman for Payment of Attorney's Fees
               [ECF No. 118].
20-Oct-16      Communicate with Goldberg re: Quiros fee hearing         JSR              0.30       118.50
               and review order re: same.
20-Oct-16      Prepared for and attended court hearing on fees.         MIG              2.60     1,027.00
20-Oct-16      Corresponded with Schneider re Quiros fee hearing.       MIG              0.20        79.00
20-Oct-16      Corresponded with Martin re Citi settlement.             MIG              0.20        79.00
20-Oct-16      Corresponded with Stenger re ductwork.                   MIG              0.20        79.00
20-Oct-16      Attend Hearing on Defendant A. Quiros' Motion for        NSS              2.60       676.00
               Payment of Attorneys' Fees.
20-Oct-16      Address issues regarding contract language related to    SBB              0.20        79.00
               evidence preservation and reservation of rights
               related to claims for original work.
21-Oct-16      Review and revise Agreement and cover e-mail.            SBB              0.60       237.00
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21-Oct-16      Review background documents and information for          LMT              0.50       197.50
               contract for Duct Sock repairs.
21-Oct-16      Draft Short Form Construction Agreement and              LMT              2.00       790.00
               exhibits thereto; draft open issue memo to client re:
               same.
21-Oct-16      Corresponded with Rostock re response.                   MIG              0.40       158.00
21-Oct-16      Corresponded with Schneider re filing late objection.    MIG              0.20        79.00
21-Oct-16      Finalize retention of expert/consultant, Andy Osborn,    SWR              2.00       790.00
               regarding duct sock defects. (.4) Confer with Mr.
               Osborn regarding immediate tasks. (.4) Review and
               analyze correspondence from Ramaker's counsel
               regarding duct sock issues and repairs. (.4) Continued
               coordination of inspection of duct socks with all
               parties prior to remediation. (.6) Confer with VHV
               regarding commencement of remediation work and
               timing of same. (.2)
24-Oct-16      Initial review of draft remediation contract with        SWR              2.00       790.00
               VHV. (.6) Telephone conference with Ms. Tomczak
               and Mr. Stenger regarding draft contract. (.8) Review
               consultant's questions and comments to structural
               engineer regarding repair drawings. (.2) Confer with
               consultant regarding same and preservation of
               evidence protocol. (.4)
24-Oct-16      Numerous correspondence re waterpark issue with          MIG              0.30       118.50
               Rostock.
24-Oct-16      Telephone conference re: Duct Sock Construction          LMT              1.00       395.00
               Agreement; review comments to same.
25-Oct-16      Review and revise Construction Agreement and             LMT              1.80       711.00
               exhibits thereto; confer with client and Rostock re:
               same.
25-Oct-16      Review correspondence from Melissa Davis and             JLR              1.20       474.00
               supplement schedules.
25-Oct-16      Review and comment on revised draft remediation          SWR              0.80       316.00
               contract with VHV. (.6) Review correspondence from
               Black River Design's counsel. (.2)
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26-Oct-16      Draft response to correspondence from Black River        SWR              3.20     1,264.00
               Design's counsel. (.4) Draft response to
               correspondence from Ramaker's counsel. (.6) Review
               and edit draft remediation contract with VHV. (.8)
               Confer with client and consultant, respectively,
               regarding upcoming inspection of water park duct
               sock system. (.6) Confer with consultant regarding
               approval of Tim Hardy's structural plans. (.4)
               Coordinate upcoming inspection by Black River
               Design and Ramaker. (.2) Review bios of potential
               local counsel candidates. (.2)
26-Oct-16      Continue review of schedule.                             JLR              0.60       237.00
26-Oct-16      Conference call with Ron Klasko et al.                   JLR              1.00       395.00
27-Oct-16      Multiple correspondences re: Vermont local counsel.      LMT              0.80       316.00
27-Oct-16      Confer with Ms. Tomczak regarding retention of           SWR              3.20     1,264.00
               local counsel in Vermont. (.2) Review file and project
               documents in preparation for inspection of water park
               duct sock system (3.0).
28-Oct-16      Meet with Mr. Stenger and Mr. Osborn, respectively,      SWR              4.20     1,659.00
               prior to water park inspection. (1.0) Inspection of
               water park duct sock system with Mr. Stenger, Mr.
               Osborn, and Mr. LaRocque (3.2).
28-Oct-16      Multiple correspondences and telephone conferences       LMT              1.20       474.00
               re: Vermont local counsel; review revisions to
               Construction Agreement from GC counsel; Confer
               with S. Rostock re: same.
28-Oct-16      Corresponded with Schneider re discovery.                MIG              0.30       118.50
28-Oct-16      Corresponded with Wakshlag re discovery.                 MIG              0.20        79.00
28-Oct-16      Conference with Rostock re water park.                   MIG              0.20        79.00
31-Oct-16      Corresponded re waterpark.                               MIG              0.20        79.00
31-Oct-16      Correspond with Rostock and telephone conference         LMT              0.80       316.00
               and correspondence with Vermont local counsel re:
               Construction Agreement.
31-Oct-16      Review correspondence from Ron Klasko.                   JLR              0.80       316.00
31-Oct-16      Review VHV revisions to draft contract and confer        SWR              1.20       474.00
               with client and consultant regarding same. (.8)
               Confer with client and consultant regarding
               preservation of evidence protocol for VHV contract.
               (.4)
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31-Oct-16               Work on document production to Vermont                                         KAM                       0.50               87.50
                        Department of Financial Regulation.
                                          Subtotal for Code 530 LITIGATION                                                   490.80         163,241.00

                        Total Fees for Services Rendered............................................................................$822,453.25



                                                                  Disbursements                                                                     Value
Total for POSTAGE                                                                                                                                  137.00
Total for DUPLICATING - COLOR                                                                                                                        28.00
Total for TELEPHONE CONFERENCING                                                                                                                      8.23
Total for PACER PUBLIC RECORDS SYSTEM                                                                                                              497.70
Total for LEXIS-NEXIS Advance                                                                                                                      213.75
Total for DUPLICATING                                                                                                                              190.40
Total for MOBILE PHONE                                                                                                                             158.29
Total for FEDERAL EXPRESS                                                                                                                          346.66
Total for DELIVERY SERVICE                                                                                                                         126.50
Total for COURT SERVICES                                                                                                                           263.00
Total for TRANSPORTATION                                                                                                                        5,500.14
Total for HOTEL                                                                                                                                    980.79
Total for MEALS                                                                                                                                    101.08
Total for PARKING                                                                                                                                  139.00
Total for OTHER TRAVEL EXPENSES                                                                                                                 1,959.31
Total for SERVICE OF PROCESS                                                                                                                       214.32
Total for RECORDING FEES                                                                                                                             90.00
Total for WESTLAW RESEARCH                                                                                                                      3,755.50
Total for MISCELLANEOUS LIBRARY CHARGES                                                                                                            122.50
Total for OTHER CHARGES                                                                                                                         1,237.96

Total Disbursements ...............................................................................................................................$16,070.13
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           Initial   Name                                Hours            Amount
           AMZ       A. M. ZWECKER                          4.50          1,170.00
           ARI       A. R. ISRANI                         50.60          13,156.00
           ASR       A. S. ROBINS                         49.20          19,434.00
           CRC       C. R. COTLER                           1.00           175.00
           DMK       D. M. KING                             1.10           286.00
           EDA       E. D. ALCALDE                          1.80           711.00
           JLH       J. L. HINTON                         24.10           9,519.50
           JLR       J. L. REBAK                          53.60          21,172.00
           JML       J.M. LEVIT                          218.60          86,347.00
           JSR       J. S. ROBBINS                       249.60          97,012.00
           KAM       K.A. MATREGRANO                     392.50          68,687.50
           LMT       L. M. TOMCZAK                          9.10          3,594.50
           MAM       M. A. MCLEES                           3.50           612.50
           MIG       M. I. GOLDBERG                      830.30      316,533.25
           NP        N PEREZ                                4.30           752.50
           NSS       N.S SURGEON                         236.90          60,034.00
           OJS       O. J. SHEAN                            0.30           118.50
           RAH       R. A. HEFT                           54.00          14,040.00
           SAM       S. A. MILLER                        221.90          87,650.50
           SBB       S.B. BOHM                              1.30           513.50
           SKR       S. K. ROBIN                            0.40           158.00
           SWR       S.W. ROSTOCK                         58.00          19,750.00
           TR        T. REDI                                1.80           315.00
           TLR       T.L. RALEIGH                           1.80           711.00
                                     Total              2,470.20    $822,453.25
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                      EXHIBIT 4(b)
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                Levine Kellogg Lehman Schneider + Grossman LLP
                                          22nd Floor, Miami Center
                                            201 S. Biscayne Blvd.
                                            Miami, Florida 33131
                                           Tax ID No. XX-XXXXXXX



   Tax I.D.: XX-XXXXXXX



   Michael I. Goldberg, Receiver                                                    November 1, 2016
                                                                                         Bill # 17079

   Re:           78539-003
                 Jay Peak, Inc., et al.

                                             Professional Fees

                 Atty     Description                                              Hours     Amount
   04/04/16      AMS      Prepare materials regarding hotel consultant, and         1.20      150.00
                          interim management company in preparation for
                          Jeffrey Schneider's meeting with the Securities and
                          Exchange Commission.
   04/04/16      AMS      Conference with U.S. Marshall's Office in Vermont.        0.20       25.00
   04/04/16      AMS      Strategize with Jeffrey Schneider regarding takeover      0.60       75.00
                          checklist.
   04/04/16      AMS      Research, collect and gather information relevant to      1.50      187.50
                          Ariel Quiros.
   04/04/16      JCS      Continue preparing for meeting with SEC.                  1.60      416.00
   04/04/16      JCS      Meet with R. Levenson and C. Martin.                      2.30      598.00
   04/05/16      VP       Attend conference call regarding coordination of          1.30      260.00
                          takedown of Jay Peak, Q Burke with accountants
                          Kapila Mukamal.
   04/05/16      JK       Review synopsis to SEC; attend strategy conference        1.00      250.00
                          with team.
   04/05/16      DML      Meet with J. Schneider and team to discuss various        1.00      250.00
                          issues, including mechanics of take-down.
   04/05/16      JL       Strategy meeting to discuss plan of action for various    1.00      250.00
                          take downs; subpoenas that need to be served;
                          interviews that need to be conducted.
   04/05/16      AMS      Attend meeting with Jeffrey Schneider, Soneet             0.90      112.50
                          Kapila, CPA, and legal team regarding securing Jay
                          Peak Resort and Q Burke and the transition to new
                          management company.
   04/05/16      AMS      Conference with Melissa Davis regarding takeover          0.30       37.50
                          checklist.
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                                         Professional Fees

              Atty     Description                                           Hours     Amount
   04/05/16   AMS      Conference with Jeffrey Schneider regarding            0.40       50.00
                       takeover, logistics and mechanics.
   04/05/16   AMS      Prepare literature and materials for legal team        3.80      475.00
                       regarding Jay Peak and Q Resorts takeover plan.
   04/05/16   AMS      Coordinate travel arrangements for legal team and      1.00      125.00
                       accounting professionals.
   04/05/16   JCS      Meeting with team.                                     0.90      234.00
   04/05/16   JCS      Continue review of materials.                          1.30      338.00
   04/05/16   JCS      Review corporate documents provided by the SEC.        1.10      286.00
   04/05/16   SRT      Strategy meeting regarding "takedown" of various       1.00      250.00
                       locations and initial steps.
   04/05/16   SRT      Review background materials related to target          0.50      125.00
                       company.
   04/06/16   JK       Research background of Quiros and resort.              0.40      100.00
   04/06/16   DML      Review Quiros September 30, 2015 financial             0.50      125.00
                       statement produced to HSBC.
   04/06/16   AMS      Conduct online research of Quiros assets, including    2.40      300.00
                       but not limited to, mortgages, deeds, and liens.
   04/06/16   AMS      Review financial statements prepared by Berkowitz.     1.80      225.00
   04/06/16   AMS      Prepare summary and notebook containing financial      0.60       75.00
                       statement prepared by Berkowitz for Jeffrey
                       Schneider's review and analysis.
   04/06/16   AMS      Conferences with multiple municipalities (Miami        2.10      262.50
                       Police Department, Miami-Dade Sheriff's
                       Department, and the U.S. Marshall's office).
   04/06/16   AMS      Conference with Melissa Davis regarding action plan    0.50       62.50
                       in connection with takeover.
   04/06/16   AMS      Strategize with Jeffrey Schneider regarding action     0.60       75.00
                       plan, website issues, and often logisitcs of
                       take-down.
   04/06/16   AMS      Conduct background check of Ariel Quiros.              2.20      275.00
   04/06/16   AMS      Review email from Melissa Davis regarding              0.10       12.50
                       coordinating flight arrangements for the accounting
                       professionals.
   04/06/16   AMS      Research multiple locations in Burlington and          0.80      100.00
                       NewPort in an effort to assist legal team and
                       accounting professionals with hotel accomodations.
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                                           Professional Fees

              Atty     Description                                                Hours     Amount
   04/06/16   JCS      Attention to issues regarding takedown preparation.         1.10      286.00
   04/06/16   JCS      Conference with C. Martin.                                  0.30       78.00
   04/06/16   SRT      Review additional background materials.                     0.30       75.00
   04/07/16   JK       Research background of Jay Peak and A. Quiros.              0.50      125.00
   04/07/16   DML      Begin travel to Vermont (East Burke) to position for        2.50      625.00
                       take-down (5.0).
   04/07/16   DML      Review article on lien filed by Q Burke hotel               0.40      100.00
                       contractor.
   04/07/16   AMS      Review periodicals regarding potential lien filed by        0.10       12.50
                       PeakCM Construction.
   04/07/16   AMS      Confer with Jeffrey Schneider regarding provisions          0.10       12.50
                       precluding enforcement of the lien against
                       receivership property.
   04/07/16   AMS      Confer with Jeffrey Schneider regarding filing §754.        0.10       12.50
   04/07/16   JCS      Review and respond to group emails.                         0.40      104.00
   04/07/16   JCS      Continue analyzing financial statements.                    0.90      234.00
   04/07/16   JCS      Attention to issues regarding 754 notices.                  0.60      156.00
   04/08/16   JK       Review Path America EB-5 fraud; research law                0.80      200.00
                       enforcement agencies to enforce Freeze Order;
                       confer with Vermont State Police Department; Confer
                       with Orleans County Police Department.
   04/08/16   JCS      Conference with C. Martin.                                  0.30       78.00
   04/08/16   JCS      Conference with Vermont Attorney General.                   0.30       78.00
   04/08/16   AMS      Contact Agent Shimko, US Marshall Office, and               1.50      187.50
                       various law enforcement agencies regarding security
                       for takedown in Vermont and Downtown.
   04/08/16   AMS      Research regarding EB-5 visa fraud case and escrow          2.30      287.50
                       issues.
   04/08/16   AMS      Attention to issues regarding Vermont Attorney              0.10       12.50
                       General filing an action to take control of the Hotel at
                       Q Burke.
   04/08/16   AMS      Strategize with Melissa Davis regarding coordinating        0.70       87.50
                       with Federal Agents and off duty local police.
   04/09/16   JCS      Conference with S. Olson.                                   0.40      104.00
   04/09/16   JCS      Prepare for call with B. Griffin.                           0.40      104.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   04/09/16   JCS      Continue review of materials in preparation for          2.70      702.00
                       takedown.
   04/11/16   AMS      Attend strategy meeting with Jeffrey Schneider,          1.50      187.50
                       Soneet Kapila, Stephanie Traband, Victor Petrescu,
                       and Jezabel Llorente regarding SEC filings and
                       logistics in connection with the takeover of the
                       operations of the business.
   04/11/16   AMS      Prepare summary of facts and materials for               1.80      225.00
                       Stephanie Traband and Jezabel Llorente, containing
                       information and research in connection with entities
                       owned by Quiros in preparation for takeover in
                       Downtown location.
   04/11/16   AMS      Prepare information package for Kapila and               0.80      100.00
                       receivership team.
   04/11/16   AMS      Draft Notice of information regarding the Complaint      0.30       37.50
                       filed by the Securities and Exchange Commission to
                       inform personnel regarding change of management.
   04/11/16   AMS      Coordinate efforts with locksmith in connection with     0.10       12.50
                       takeover in Downtown location.
   04/11/16   VP       Attend conference call with Kapila Mukamal               1.70      340.00
                       regarding takedown coordination issues for Jay Peak,
                       Q Burke.
   04/11/16   VP       Review SEC's complaint, motion for appointment of        3.80      760.00
                       receiver, takedown materials.
   04/11/16   VP       Review New York property records to determine            0.40       80.00
                       property owned by A. Quiros in New York.
   04/11/16   JK       Attend strategy meeting with team; review Kapila         0.70      175.00
                       take down checklist.
   04/11/16   DML      Telephone conference with J. Schneider and team in       0.50      125.00
                       preparation for securing Jay Peak, Q Burke, and
                       Miami locations, including logistics and coordination
                       with finance account (Kapila) and management
                       company.
   04/11/16   DML      Review checklist information package proposed by         0.60      150.00
                       Kapila.
   04/11/16   DML      Review SEC Complaint and motion for Temporary            1.50      375.00
                       Restraining Order to be filed under seal as forwarded
                       by J. Schneider.
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                                          Professional Fees

              Atty     Description                                            Hours     Amount
   04/11/16   JL       Strategy meeting to discuss take down plan for          1.50      375.00
                       tomorrow and contingency plan; discuss additional
                       information obtained from officials of the State of
                       Vermont.
   04/11/16   JL       Draft power of attorney for execution of the bond.      0.30       75.00
   04/11/16   JL       Review and analyze complaint against Ariel Quiros       1.50      375.00
                       and the other defendants.
   04/11/16   JL       Review and analyze motion for entry of temporary        0.90      225.00
                       restraining order against Ariel Quiros and the other
                       defendants.
   04/11/16   AMS      Investigate corporate background of entities owned      2.80      350.00
                       by Quiros to determine jurisdictions in which the
                       Defendants may have assets.
   04/11/16   AMS      Secure ownership of website domain for                  0.30       37.50
                       jaypeakreceivership.
   04/11/16   JCS      Conference with R. Levenson and C. Martin.              0.40      104.00
   04/11/16   JCS      Prepare for call with Vermont officials.                0.40      104.00
   04/11/16   JCS      Conference with B. Griffin, P. Moulton, S. Landon       0.50      130.00
                       and others regarding Vermont action.
   04/11/16   JCS      Review and respond to emails.                           0.40      104.00
   04/11/16   JCS      Attention to issues regarding security.                 1.10      286.00
   04/11/16   JCS      Meeting with team.                                      0.80      208.00
   04/11/16   JCS      Attention to issues regarding website, security, and    0.90      234.00
                       locksmiths.
   04/11/16   JCS      Review Temporary Restraining Order.                     1.30      338.00
   04/11/16   JCS      Review and revise notice.                               0.40      104.00
   04/11/16   JCS      Review and revise bond form.                            0.20       52.00
   04/11/16   SRT      Conference call regarding takedown.                     0.50      125.00
   04/11/16   SRT      Review takedown information compiled by Kapila          1.00      250.00
                       Mukamal; research location and Mr. Quiros for use in
                       takedown.
   04/11/16   SRT      Coordinate logistics of takedown with security          0.80      200.00
                       personnel and Kapila's Miami team.
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                                           Professional Fees

              Atty     Description                                                Hours     Amount
   04/12/16   AMS      Draft Notices of Filing Complaint and Order Granting        4.40      550.00
                       Plaintiff's Motion for Appointment of Receiver
                       Pursuant to 28 U.S.C. § 754 for the District Courts of
                       Colorado, Delaware, Florida, New Jersey, New York,
                       Texas, and Vermont.
   04/12/16   VP       Travel to takedown location (9.5).                          4.70      940.00
   04/12/16   VP       Group meeting with Kapila Mukamal, Leisure Hotels           0.80      160.00
                       and Resorts regarding Jay Peak, Q Burke takedown
                       logistics.
   04/12/16   JK       Attend strategy meetings with forensic accountant           1.00      250.00
                       and management company.
   04/12/16   DML      In Vermont- find locksmith and copy center in East          0.50      125.00
                       Burke in preparation for take-down.
   04/12/16   DML      Continue review of SEC and background pleadings in          1.20      300.00
                       preparation for Q. Burke take-down.
   04/12/16   JL       Review and analyze the exhibits to the motion for           1.60      400.00
                       entry of temporary restraining order against Ariel
                       Quiros and the other defendants.
   04/12/16   AMS      Review and analyze financial statements produced            2.80      350.00
                       by the Deparmtent of Financial Regulation in regards
                       to possible location of assets, filings of §754 notices,
                       and possible turnover actions.
   04/12/16   JCS      Fly to Vermont in preparation for takedown (7.1).           3.50      910.00
   04/12/16   JCS      Numerous conferences with B. Levenson regarding             0.70      182.00
                       status.
   04/12/16   JCS      Continue review of materials in preparation.                2.10      546.00
   04/12/16   JCS      Attention to issues regarding security for take-downs.      0.60      156.00
   04/12/16   SRT      Review complaint and motion for injunction.                 1.00      250.00
   04/12/16   SRT      Communicate with Kapila Mukamal staff and security          1.00      250.00
                       firm regarding logistics.
   04/12/16   SRT      Compile documents for takedown.                             0.50      125.00
   04/12/16   JK       Travel to Jay Peak (6.5).                                   3.20      800.00
   04/13/16   AMS      Multiple conferences with Stephanie Traband                 0.60       75.00
                       regarding takeover in Downtown Miami location.
   04/13/16   AMS      Conference with Kimberly Matregrano at Akerman              0.40       50.00
                       LLP in connection with the Order Appointing
                       Receiver, §754 filings, and strategy going forward.
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                                           Professional Fees

              Atty     Description                                              Hours     Amount
   04/13/16   AMS      Serve Asset Freeze Order on various financial             2.00      250.00
                       institutions.
   04/13/16   AMS      Telephone conference with legal team and                  0.50       62.50
                       accounting professionals regarding asset freeze
                       order, order appointing receiver, securing bank
                       accounts, taking possession of servers, computers,
                       and electronic data at Jay Peak.
   04/13/16   AMS      Conference with JP Morgan's Records Custodian             0.10       12.50
                       regarding asset freeze Order.
   04/13/16   VP       Pre-takedown meeting for preparation of Q Burke           0.60      120.00
                       takedown.
   04/13/16   VP       Travel to Q Burke resort (1.3).                           0.60      120.00
   04/13/16   VP       Conduct takedown of Q Burke Resort, identify and          6.20    1,240.00
                       review potential assets.
   04/13/16   JK       Attend take down day one.                                 8.20    2,050.00
   04/13/16   DML      In Vermont- Communicate with J. Schneider, and            1.00      250.00
                       review order entered by Judge Gayles.
   04/13/16   DML      Confer with V. Paterson and Kapila team and               1.20      300.00
                       proceed to Q Burke location for take-down.
   04/13/16   DML      Meet at Q Burke with Ariel Quiros and his                 5.00    1,250.00
                       management team including M. Pappalando, P.
                       Rush, V. Davis for complete debriefing about Q
                       Burke assets, agreements, etc.
   04/13/16   DML      Tour all locations with A. Quiros including hotel, ski    1.50      375.00
                       stations etc. and inventory Q Burke assets at hotel.
   04/13/16   JL       Review and analyze order appointing receiver and          1.00      250.00
                       prepare for Miami take down.
   04/13/16   JL       Meeting with Stephanie Traband, team from Soneet          0.50      125.00
                       Kapila, security officers and locksmith to plan take
                       down of Miami office.
   04/13/16   JL       Secure the premises, computer systems and                 5.00    1,250.00
                       inventory at Miami office; interview office personnel;
                       supervise Ariel Quiros and office personnel to make
                       sure that no computer systems or records were
                       removed from the premises; supervise imaging of
                       computer systems; collect evidence, pictures and
                       videos of premises.
   04/13/16   AMS      Attention to issues regarding SEC's press release.        0.10       12.50
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   04/13/16   AMS      Draft outline of information and content in connection    5.90      737.50
                       with the development of the receivership website.
   04/13/16   JCS      Numerous conferences with R. Levenson regarding           0.80      208.00
                       take-downs.
   04/13/16   JCS      Coordinate and lead takedowns of Jay Peak, Q             12.80    3,328.00
                       Burke and Miami offices and attend to the following
                       issues (among others); secure facilities and
                       computers; interview key employees; disable remote
                       access; image computers; secure "cash on hand";
                       meet with employees and management; interview B.
                       Stenger; attend to insurance issues; conference with
                       Vermont government officials; numerous meetings
                       with management company executives.
   04/13/16   SRT      Lead and participate in Miami office takedown.            6.20    1,550.00
   04/14/16   VP       Conduct takedown of Q Burke Resort, identify and          4.70      940.00
                       review potential assets.
   04/14/16   VP       Travel from takedown location to Miami (3.4).             1.70      340.00
   04/14/16   JK       Attend take down day two.                                 9.10    2,275.00
   04/14/16   DML      Meet with V. Petrescu and Kapila team and proceed         1.00      250.00
                       to Q Burke for continued take-down.
   04/14/16   DML      At Q Burke, meet with management team, including          4.00    1,000.00
                       A. Quiros and meet with all employees.
   04/14/16   DML      Return to Miami (5.0).                                    2.50      625.00
   04/14/16   JL       Prepare summaries of evidence collected, including        0.80      200.00
                       documents, photos and videos.
   04/14/16   JL       Prepare memo summarizing events during Miami              1.40      350.00
                       takedown.
   04/14/16   JCS      Continue takedown; meet with Receiver and continue 14.30          3,718.00
                       securing premises regarding issues relating to
                       "security"; images of computer; disabling remote
                       access; inspect and secure facilities; meeting with
                       management company; meeting with interviewing
                       with B. Stenger and S. Wright; conferences with
                       Vermont government officials; notifying employees;
                       conference with Governor Shumlin and staff;
                       securing bank accounts and communicating with
                       banks regarding same.
   04/14/16   SRT      Meeting with Mr. Quiros.                                  2.00      500.00
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                                           Professional Fees

              Atty     Description                                             Hours     Amount
   04/14/16   SRT      Communicate with Mr. Gordon's office and Mr. Kelly       1.00      250.00
                       regarding NECS offices and access to files and
                       offices.
   04/14/16   SRT      Communicate with Kapila Mukamal regarding bank           0.20       50.00
                       account documentation and corporate credit cards.
   04/15/16   AMS      Conference call with Melissa Franca, Vice President      0.20       25.00
                       Global Compliance Division of Goldman Sachs
                       regarding the asset freeze order.
   04/15/16   AMS      Revise content information for the development of the    2.50      312.50
                       receivership website.
   04/15/16   AMS      Conference with web design team regarding                0.20       25.00
                       receivership website.
   04/15/16   AMS      Conference with Jeffrey Schneider regarding              0.30       37.50
                       upcoming deadlines.
   04/15/16   AMS      Draft Memo for Jeffrey Schneider summarizing             0.60       75.00
                       deadlines and contact information of various
                       government agencies in preparation for conference
                       call with Receiver and Sonnet Kapila.
   04/15/16   AMS      Revise 28 U.S.C. § 754 Notices pursuant to Jeffrey       1.10      137.50
                       Schneider's comments and edits.
   04/15/16   JL       Revise website pages for input into receivership         0.70      175.00
                       website.
   04/15/16   JK       Multiple conferences with R. Levenson regarding          0.60      150.00
                       bank accounts and Des Jardins Bank.
   04/15/16   JCS      Travel from Canada to Miami (5.8).                       2.90      754.00
   04/15/16   JCS      Review and revise website.                               1.80      468.00
   04/15/16   JCS      Conferences with various state officials regarding       0.80      208.00
                       meetings, electrical issues and status.
   04/15/16   JCS      Review and respond to emails regarding status.           0.80      208.00
   04/15/16   JCS      Draft punch list.                                        0.70      182.00
   04/15/16   JCS      Review demand letter from Citi and strategize            0.40      104.00
                       regarding same.
   04/15/16   JCS      Review C. Martin emails with attachments.                0.80      208.00
   04/15/16   JCS      Review bank account information.                         0.60      156.00
   04/15/16   SRT      Communicate with Ali regarding salary.                   0.20       50.00
   04/15/16   SRT      Conference with Mr. Levenson regarding status.           0.30       75.00
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                                            Professional Fees

              Atty     Description                                            Hours     Amount
   04/15/16   SRT      Meet with Bill Kelly and obtain documents regarding     4.00    1,000.00
                       NECS.
   04/15/16   SRT      Begin preparing memo regarding NECS takedown            1.00      250.00
                       and organize documents related thereto.
   04/15/16   SRT      Communicate with team regarding additional bank         0.20       50.00
                       account information.
   04/15/16   JK       Travel back to Miami after resort take down (3.6).      1.80      450.00
   04/16/16   JCS      Revise punch list.                                      1.40      364.00
   04/16/16   JCS      Review documents regarding "Renaissance Block".         0.80      208.00
   04/16/16   JCS      Revise website.                                         0.90      234.00
   04/16/16   JCS      Review and respond to group emails.                     0.40      104.00
   04/17/16   JCS      Prepare for team call regarding "punch list".           0.80      208.00
   04/17/16   JCS      Attend team call regarding "punch list".                0.90      234.00
   04/17/16   JCS      Conference with M. Goldberg, J. Robbins and             1.10      286.00
                       management company team.
   04/17/16   JCS      Review notes of Miami take-down.                        0.80      208.00
   04/17/16   JCS      Review and respond to group emails.                     0.80      208.00
   04/17/16   SRT      Communicate with Mr. Gordon regarding request to        0.10       25.00
                       retrieve privileged materials.
   04/18/16   AMS      Multiple conferences with Kimberly Matregrano at        0.30       37.50
                       Akerman regarding §754 Notices.
   04/18/16   JK       Confer with counsel for Burke Mountain Academy;         2.20      550.00
                       draft correspondence to team regarding same; confer
                       with R. Levenson and Des Jardins bank regarding
                       status of accounts; confer with Caisse Des Jardins
                       regarding same; attend strategy meeting; confer with
                       J. Robbins regarding accounts; draft motion to
                       approve closing of unit.
   04/18/16   JCS      Review and revise 754 filings and letter enclosing      0.60      156.00
                       same.
   04/18/16   JCS      Review and respond to emails regarding Q Burke.         0.50      130.00
   04/18/16   JCS      Review cash flow prjections.                            0.30       78.00
   04/18/16   JCS      Attention to issues regarding storage facilities.       0.40      104.00
   04/18/16   JCS      Review emails regarding accounts frozen and             0.40      104.00
                       amounts held.
   04/18/16   JCS      Review Merrill Lynch letter.                            0.10       26.00
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                                          Professional Fees

              Atty    Description                                              Hours     Amount
   04/18/16   JCS     Conference with M. Goldberg, H. Tropin and T.             0.40      104.00
                      Ronzetti.
   04/18/16   AMS     Multiple conferences with web design team regarding       0.60       75.00
                      development of receivership website.
   04/18/16   AMS     Finalize Notices of Filing Complaint and Order            2.80      350.00
                      Appointing Receiver Pursuant to 28 U.S.C. §754.
   04/18/16   AMS     Prepare chart itemizing § 754 notices, the                1.30      162.50
                      jurisdictions in which they were filed, including the
                      location of assets.
   04/18/16   AMS     Draft correspondence to Clerk of various U.S. District    3.20      400.00
                      Courts in connection with §754 filings.
   04/18/16   AMS     Process checks payable to Clerk of Courts; prepare        1.90      237.50
                      FedEx packages, create, bind and distribute courtesy
                      copies in preparation for filing § 754 notices.
   04/18/16   SRT     Review documents from Mr. Quiros's office regarding       0.40      100.00
                      warehouse.
   04/18/16   SRT     Communicate with receiver and Messrs. Sulsky and          1.20      300.00
                      Kessler regarding take down of warehouse and
                      organize same.
   04/18/16   SRT     Communicate with Mr. Gordon regarding privileged          0.20       50.00
                      materials.
   04/19/16   AMS     Organize exhibit files and supporting documents in        1.40      175.00
                      connection with the Motion for Temporary Asset
                      Freeze.
   04/19/16   AMS     Conference call with Kimberly Matregrano regarding        0.20       25.00
                      retaining counsel in Montreal and status on
                      receivership website.
   04/19/16   AMS     Draft letter to Malcolm N. Ruby, Esq. (Gowling WLG)       0.10       12.50
                      enclosing certified copies of Complaint and Order
                      Appointing Receiver.
   04/19/16   AMS     Follow up District Courts regarding receipt of 28         0.80      100.00
                      U.S.C. § 754 Notices.
   04/19/16   AMS     Review and analyze financial statements produced          2.80      350.00
                      by Kapila regarding accounts held at Raymond
                      James.
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                                           Professional Fees

              Atty     Description                                             Hours     Amount
   04/19/16   JCS      Meet at Jay Peak with management company                 4.90    1,274.00
                       regarding status of operations and K. Graham
                       regarding prospective operations of Q Burke ski
                       operations, Burke Academy,
                               .
   04/19/16   JK       Review Caisse Desjardins correspondence; research        1.90      475.00
                       and draft subpoena duces tecum to Raymond James;
                       draft correspondence to Raymond James regarding
                       same; review and revised proposed scheduling order.
   04/19/16   JL       Conference call with Bank of America representative      0.30       75.00
                       regarding subpoena and draft correspondence to
                       receivership team regarding this conversation.
   04/19/16   AMS      Index and develop document database relevant to          0.40       50.00
                       the SEC's filings; work directly with Maia Aron, Esq.
                       of Kozyak Tropin in connection to same.
   04/19/16   AMS      Prepare and organize Raymond James financial             1.00      125.00
                       statements for Jeff Schneider's review and analysis.
   04/19/16   SRT      Inspect Opa-Locka warehouse.                             3.00      750.00
   04/19/16   JCS      Travel with Receiver to Canada (8.0).                    4.00    1,040.00
   04/20/16   AMS      Review Declaration of Michelle Lama and Declaration      2.80      350.00
                       of Mark Dee (accountants for the Securities and
                       Exchange Commission) regarding margin loans
                       Quiros secured from Raymond James, Inc.
   04/20/16   AMS      Review dockets of various district courts; attend        1.20      150.00
                       multiple conferences with clerk of court(s) in
                       connection with §754 filings.
   04/20/16   AMS      Retrieve and organize financial statements produced      4.70      587.50
                       by Kapila.
   04/20/16   JCS      Meet with Receiver and the Attorney General, the         3.30      858.00
                       Deputy Securities Commissioner, and the Secretary
                       of Agency for Economic Development.
   04/20/16   JCS      Review and respond to group emails regarding status      1.90      494.00
                       of hearing, motions to expand to include Q Burke
                       hotel and for use of AnC Bio account, and subpoenas
                       on financial institutions.
   04/20/16   JCS      Travel from Burlington to Washington, DC (7.4).          3.70      962.00
   04/20/16   JK       Revise and finalize subpoena to Raymond James.           0.50      125.00
   04/20/16   JCS      Travel to Burlington (1.0).                              0.50      130.00
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              Atty     Description                                                 Hours     Amount
   04/21/16   AMS      Prepare notices of filing Complaint and Order                1.80      225.00
                       Appointing Receiver pursuant to 28 U.S.C. §754 in
                       the U.S. District Court of Maine, Massachusetts, and
                       New Hampshire.
   04/21/16   AMS      Reivew docket entries of various district courts;            1.30      162.50
                       multiple conferences with Clerk of Court in
                       connection with §754 filings.
   04/21/16   JK       Draft subpoenas to Citi and Pershing; research               1.40      350.00
                       whether individual can pledge corporate assets.
   04/21/16   JCS      Review and respond to S. Salnber email.                      0.20       52.00
   04/21/16   JCS      Review SEC consents.                                         0.30       78.00
   04/21/16   JCS      Attention to 754 notices in newly- named jurisdictions.      0.40      104.00
   04/21/16   JCS      Conference with M. Goldberg.                                 0.30       78.00
   04/21/16   JCS      Review channeling orders.                                    0.30       78.00
   04/21/16   JCS      Review updated account balances.                             0.30       78.00
   04/21/16   JCS      Review motion to lift asset freeze and motion to             0.40      104.00
                       continue hearing.
   04/21/16   JCS      Numerous conference calls with M. Schnapp                    0.60      156.00
                       regarding Citi.
   04/21/16   JCS      Review and respond to Receiver and J. Kellogg                0.30       78.00
                       emails regarding same.
   04/21/16   AMS      Draft correspondence and process checks payable to           1.20      150.00
                       Clerk of Court in preparation for filing § 754 in Maine,
                       Massachusetts, and New Hampshire pursuant to the
                       Reciver's request.
   04/21/16   AMS      Prepare courtesy copies and FedEx packages in                1.10      137.50
                       preparation for filing additional §754 notices.
   04/22/16   AMS      Prepare chart and digest Subpoenas served on                 0.50       62.50
                       various financial institutions.
   04/22/16   AMS      Draft Subpoena to Produce Documents on Merrill               0.60       75.00
                       Lynch.
   04/22/16   MD       Confer with Jason Kellogg regarding necessary                0.10       20.00
                       research on pledging of collateral for third party credit
                       line as fraudulent transfer and receiver standing to
                       challenge same.
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              Atty     Description                                             Hours     Amount
   04/22/16   MD       Research receiver's standing to bring action against     1.50      300.00
                       recipient of mortgage granted while receivership
                       entity was under control of fraudulent individual;
                       summarize research and send relevant case law to
                       Jason Kellogg.
   04/22/16   JK       Research whether debtor can pledge collateral            3.60      900.00
                       owned by another.
   04/22/16   JCS      Conference call with M. Goldberg.                        0.40      104.00
   04/22/16   JCS      Conference call with M. Schnapp.                         0.70      182.00
   04/22/16   JCS      Review Bank of America response to subpoena.             0.10       26.00
   04/22/16   JCS      Conference call with M. Bloom and M. Schnapp.            0.60      156.00
   04/22/16   JCS      Review motion to intervene.                              0.40      104.00
   04/22/16   JCS      Draft email to Receiver regarding same.                  0.20       52.00
   04/22/16   AMS      Prepare Notice of Filing Order Granting Receiver's       0.30       37.50
                       Motion to Expand Receivership for the District Court
                       of Vermont.
   04/22/16   AMS      Strategize with Jeffrey Schneider regarding flow of      0.30       37.50
                       funds from People's United Escrow to Citibank.
   04/22/16   AMS      Review and analyze financial transactions and            2.10      262.50
                       transfers to Citibank, Merrill, and Raymond James
                       through January 31, 2016
                                                             .
   04/23/16   JK       Research in support of defense of Citibank's claim to    0.50      125.00
                       frozen funds.
   04/23/16   JCS      Review and respond to emails.                            0.60      156.00
   04/23/16   JCS      Review cases regarding bank's security interest in       1.30      338.00
                       investor funds.
   04/24/16   JK       Draft second subpoena to Citibank                        0.40      100.00
   04/25/16   MD       Confer with Jason Kellogg regarding additional           3.40      680.00
                       research on notice in the context of fraudulent
                       transfers of collateral (.1); analyze emails and case
                       law provided by Michael Goldberg (.5); begin
                       research on Florida fraudulent transfers
                       jurisprudence as applied to present facts (2.8).
   04/25/16   MD       Research regarding geographical issues relating to       0.30       60.00
                       service and compliance with out-of-state subpoenas.
   04/25/16   JK       Revise Citibank second subpoena; draft pershing          0.60      150.00
                       second subpoena.
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                                          Professional Fees

              Atty     Description                                               Hours     Amount
   04/25/16   JCS      Review revised Citibank subpoena.                          0.20       52.00
   04/25/16   JCS      Begin reviewing Raymond James account                      1.30      338.00
                       statements.
   04/25/16   JCS      Review and revise Pershing subpoena.                       0.30       78.00
   04/25/16   JCS      Conference with M. Goldberg.                               0.30       78.00
   04/25/16   JCS      Conference call with T. Ronzetti.                          0.30       78.00
   04/25/16   JCS      Review order expanding receivership.                       0.10       26.00
   04/25/16   JCS      Begin reviewing J. Burstein deposition transcript.         1.30      338.00
   04/25/16   AMS      Draft notices of filing to expand receivership.            5.40      675.00
   04/25/16   AMS      Conference with Townclerk of Orleans County and            0.10       12.50
                       Caledonia County regarding recording the
                       receivership order and expanision order.
   04/25/16   AMS      Conference with Kimberly Matregrano at Akerman             0.10       12.50
                       regarding notices of filing expansion order.
   04/25/16   AMS      Retrieve certified copies of expansion order and           0.30       37.50
                       receivership order.
   04/25/16   AMS      Draft correspondence to TownClerk of Caledonia             0.40       50.00
                       County and Orleans County regarding recording
                       expansion order and receivership order.
   04/25/16   AMS      Prepare and process checks regarding recordings in         0.10       12.50
                       Caledonia and Orleans County.
   04/25/16   SRT      Communicate with Mr. Cohen, property manager for           0.30       75.00
                       GSI office building and Mr. Sulsky regarding delivery
                       of packages to GSI.
   04/25/16   SRT      Communicate with receiver regarding documentation          0.30       75.00
                       obtained from NECS offices.
   04/26/16   MD       Finish research on various issues related to               5.50    1,100.00
                       fraudulent transfer standards in 11th Circuit and
                       generally (standing, value, good faith, inquiry notice,
                       and mortgages as transfers); draft and send memo
                       regarding same to Jason Kellogg.
   04/26/16   AMS      Review and analyze documents in response to the            2.80      350.00
                       SEC's freeze order; prepare bank reconstruction and
                       inventory containing master list of the banks served
                       with the asset freeze order, and list of various
                       accounts that have been frozen (including balances).
   04/26/16   JCS      Review notices of filing amended order.                    0.20       52.00
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                                          Professional Fees

              Atty     Description                                               Hours     Amount
   04/26/16   JCS      Review and revise letters to clerks regarding              0.20       52.00
                       recordation.
   04/26/16   JCS      Conference call with R. Levenson regarding bank            0.20       52.00
                       subpoenas.
   04/26/16   JCS      Begin compiling information regarding same.                0.30       78.00
   04/26/16   JCS      Draft email to M. Schnapp.                                 0.20       52.00
   04/26/16   JCS      Attention to issues regarding B. Kelly.                    0.30       78.00
   04/26/16   JCS      Conference with M. Schnapp.                                0.30       78.00
   04/26/16   JCS      Draft revised email to M. Schnapp.                         0.20       52.00
   04/26/16   SRT      Communicate with Mr. Kelly and receiver regarding          0.40      100.00
                       NECS's answer and Mr. Kelly's contact with Jay
                       Peak.
   04/26/16   AMS      Update § 754 chart to include notices of filings of the    1.20      150.00
                       expansion order and recordings in various counties;
                       correspond with Kim Mattregrano at Akerman
                       regarding same.
   04/26/16   AMS      Update bank reconstruction to include detail provided      2.10      262.50
                       by Citibank in response to asset freeze order.
   04/27/16   MD       Search for case law and authority nationwide               2.60      520.00
                       addressing receivership UFTA action against
                       transferee of mortgage in receivership entity's
                       property by principals.
   04/27/16   AMS      Finalize analysis in Excel Schedule of bank                2.50      312.50
                       reconstruction; correspond and forward same to
                       Kimberly Matregrano at Akerman.
   04/27/16   JCS      Conferences with M. Schnapp regarding Citi                 0.70      182.00
                       collateral.
   04/27/16   JCS      Review and respond to M. Schnapp emails regarding          0.60      156.00
                       account balances and statements.
   04/27/16   JCS      Review list of bank accounts and corresponding             0.40      104.00
                       information regarding same.
   04/27/16   JCS      Continued review of J. Burstein deposition transcript      4.20    1,092.00
                       and related Raymond James materials.
   04/27/16   JK       Compile financial documents; confer with Pershing          0.40      100.00
                       attorney regarding subpoena; research good faith
                       and equivalent value defenses to FDUTPA claims.
   04/28/16   AMS      Review and analyze chart of accounts produced by           0.40       50.00
                       Citibank.
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                                          Professional Fees

              Atty     Description                                               Hours     Amount
   04/28/16   AMS      Review Order Granting SEC's Motion to Exempt               0.10       12.50
                       Receiver from Asset Freeze.
   04/28/16   AMS      Strategize with Kim M. regarding transferring Citibank     0.10       12.50
                       account funds to operating account.
   04/28/16   JK       Research discoverability of documents supporting           0.50      125.00
                       SARs report; confer with Pershing attorney regarding
                       production of documents and bank secrecy laws.
   04/28/16   JCS      Review and respond to counsel's emails.                    0.40      104.00
   04/28/16   JCS      Conference with M. Schnapp.                                0.80      208.00
   04/28/16   JCS      Review and respond to M. Bloom emails.                     0.40      104.00
   04/28/16   JCS      Attention to issues regarding transfer of Citibank         0.60      156.00
                       funds to receivership accounts.
   04/28/16   JCS      Conference with M. Bloom and M. Schnapp regarding          0.60      156.00
                       Citibank funds and parameters for settlement.
   04/28/16   JCS      Review financial statements.                               1.40      364.00
   04/28/16   SRT      Communicate with Mr. Kelly and receiver regarding          0.50      125.00
                       corporate filings for NECS.
   04/28/16   AMS      Prepare breakdown of accounts at Citibank in the           0.60       75.00
                       name of various receivership entities and calculate
                       figures to ensure accuracy in preparation for
                       transferring funds to the receivership estate.
   04/28/16   AMS      Strategize with Jeffrey Schneider regarding entities in    0.10       12.50
                       the name of Q Development LLC and Q Aviation,
                       LLC listed on Statement prepared by Berkowitz.
   04/28/16   AMS      Coordinate with Kimberly Matregrano at Akerman             0.10       12.50
                       regarding transferring frozen funds held at Citibank.
   04/29/16   AMS      Conference call with Operations Supervisor in the          0.10       12.50
                       U.S. District Court Southern District of New York
                       regarding the Receiver's Notice of Filing § 754.
   04/29/16   AMS      Electronically file Receiver's §754 Notices and Order      0.20       25.00
                       to Expand Receivership in the Southern District of
                       New York.
   04/29/16   MD       Continue nationwide research on receivers'                 2.90      580.00
                       fraudulent transfer action against transferee of
                       receivership entity's security interest.
   04/29/16   JCS      Review and respond to client emails.                       0.30       78.00
   04/29/16   JCS      Finalize subpoenas on HSBC, Merrill Lynch and              0.80      208.00
                       Goldman Sachs.
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   04/29/16   JCS      Review draft motion to intervene.                         0.40      104.00
   04/29/16   JCS      Conference with R. Levenson.                              0.20       52.00
   04/29/16   JCS      Conference with M. Schnapp regarding subpoena             0.80      208.00
   04/29/16   JCS      Draft email regarding subpoena.                           0.30       78.00
   04/29/16   JCS      Review and revise Merrill Lynch subpoena.                 0.40      104.00
   04/29/16   JCS      Attention to issues regarding privileged materials on     0.20       52.00
                       computer.
   04/29/16   SRT      Conference with Mr. Quiros regarding access to            0.30       75.00
                       office and papers and follow up with receiver
                       afterwards.
   04/29/16   SRT      Communicate with Messrs. Gordon and Goldberg              0.30       75.00
                       regarding segregation of privileged materials.
   04/29/16   AMS      Download document production from Raymond                 0.70       87.50
                       James received by the Securities and Exchange
                       Commission.
   04/29/16   AMS      Draft and revise subpoena addressed to Merrill            1.00      125.00
                       Lynch.
   05/02/16   MD       Finish research on fraudulent transfer of receivership    4.10      820.00
                       entity's conveyance of mortgage/security interests;
                       summarize case law found and prepare print outs for
                       discussion with Jason Kellogg.
   05/02/16   JCS      Review and respond to M. Aron emails.                     0.30       78.00
   05/02/16   JCS      Draft email to J. Raybal regarding Merrill subpoena.      0.20       52.00
   05/02/16   JCS      Conference with M. Schnapp regarding wire.                0.40      104.00
   05/02/16   JCS      Attention to issues regarding same.                       0.70      182.00
   05/02/16   JCS      Attention to issues regarding AnCBio account.             0.40      104.00
   05/02/16   JCS      Review documents produced by Citi in response to          1.30      338.00
                       subpoena.
   05/02/16   AMS      Prepare preliminary production from Citibank              1.00      125.00
                       containing Control Agreements and Pledge
                       Agreements for Jeff Schneider's review and analysis.
   05/02/16   AMS      Upload preliminary production from Citibank into          2.80      350.00
                       Case Logistix.
   05/02/16   AMS      Attention to issues regarding AnC Bio account.            0.40       50.00
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   05/02/16   AMS      Begin working on review and organization of               2.10      262.50
                       documents produced by Citibank; follow up with
                       Jeffrey Schneider regarding same.
   05/02/16   AMS      Prepare subpoenas addressed to HSBC Bank,                 2.20      275.00
                       Goldman Sachs, and J.P. Morgan Chase.
   05/02/16   SRT      Communicate with receiver regarding meeting with          0.20       50.00
                       Mr. Quiros at GSI offices and allowing access to
                       documents.
   05/03/16   MD       Prepare for discussion of research findings on            0.20       40.00
                       receiver's fraudulent transfer claim against bank;
                       discuss research with Jason Kellogg.
   05/03/16   MD       Confer with Jason Kellogg and Jeff Schneider              0.50      100.00
                       regarding necessary document review and additional
                       legal analysis for FUFTA claims.
   05/03/16   MD       Analyze SEC's motion for temporary restraining order      2.20      440.00
                       and attachments thereto for purposes of FUFTA
                       claims against banks involved with receivership entity
                       (locate key document in exhibits) (1.2); find and
                       retrieve case law on receiver's standing to assert
                       claims as between multiple companies under
                       receivership (.9); send findings to Jeff Schneider and
                       Jason Kellogg (.1).
   05/03/16   JK       Research in support of "reasonably equivalent value"      0.70      175.00
                       analysis for fraudulent transfer claim.
   05/03/16   SRT      Meet with Ariel Quiros for his review and retrieval of    2.50      625.00
                       personal items and copying materials at GSI office.
   05/03/16   SRT      Communicate with receiver regarding documents at          0.20       50.00
                       GSI offices.
   05/03/16   JCS      Continue reviewing documents produced by Citi.            1.10      286.00
   05/03/16   JCS      Prepare for meeting with Citibank counsel.                1.30      338.00
   05/03/16   JCS      Review and respond to bank emails regarding wires.        0.40      104.00
   05/03/16   JCS      Review Goldman Sachs response.                            0.10       26.00
   05/03/16   JCS      Conference with M. Schnapp.                               0.80      208.00
   05/03/16   JCS      Review HSBC response to TRO.                              0.20       52.00
   05/03/16   AMS      Attention to issues regarding HSBC's response to          0.10       12.50
                       Temporary Restraining Order.
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   05/03/16   AMS      Conference with Ilonka from the Securities and           0.10       12.50
                       Exchange Commission regarding HSBC's response
                       in connection with the Temporary Restraining Order.
   05/03/16   AMS      Correspond with Ilonka and Jeffrey Schneider             0.10       12.50
                       regarding Goldman Sachs response letter in
                       connection with the Temporary Restraining Order.
   05/03/16   AMS      Review internal email exchange regarding wires.          0.40       50.00
   05/03/16   AMS      Strategize with Jeffrey Schneider regarding              0.10       12.50
                       Goldman's response.
   05/03/16   AMS      Multiple conferences with District Courts of             0.60       75.00
                       Massachusetts and Eastern District of New York
                       regarding §754 filings.
   05/03/16   AMS      Review docket sheet in various district courts and       2.20      275.00
                       retrieve notices of filings; forward same to Kimberly
                       Matregrano at Akeman.
   05/03/16   AMS      Attention to issues regarding Citibank and Raymond       0.10       12.50
                       James Subpoena.
   05/03/16   AMS      Confer with Kimberly Hardy regaarding status of          0.10       12.50
                       service of subpoena on Pershing Bank.
   05/03/16   AMS      Continue review of documents produced by Citibank.       2.20      275.00
   05/03/16   AMS      Prepare index of documents produced by Raymond           2.40      300.00
                       James.
   05/04/16   MD       Pinpoint accounting and back documents tracing Jay       2.20      440.00
                       Peak purchase funds from EB-5 investor accounts;
                       compile exhibits from previous court filings and
                       create timeline of transactions.
   05/04/16   MD       Retrieve and analyze receivers' previous complaints      2.40      480.00
                       in separate receivership actions similar to present
                       case; discuss same with Jeff Schneider; strategize as
                       to potential causes of action against Raymond James
                       and associated persons on behalf of receiver; read
                       class action complaint filed against Raymond James
                       and others by investors.
   05/04/16   SRT      Communicate with Messrs. Hatic and Goldberg              0.20       50.00
                       regarding NECS.
   05/04/16   JCS      Review class action complaint.                           0.80      208.00
   05/04/16   JCS      Meeting with Receiver and counsel for Citibank.          1.90      494.00
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                                           Professional Fees

              Atty     Description                                                 Hours     Amount
   05/04/16   JCS      Draft email regarding meeting with Receiver and              0.20       52.00
                       counsel for Citibank.
   05/04/16   JCS      Review motion to intervene.                                  0.20       52.00
   05/04/16   JCS      Review and respond to T. Ronzetti emails.                    0.40      104.00
   05/04/16   JCS      Strategize regarding receiver action against banks.          1.10      286.00
   05/04/16   JCS      Review and respond to H. Hatic emails.                       0.20       52.00
   05/04/16   AMS      Prepare Notice of Appearance.                                0.20       25.00
   05/04/16   AMS      Review Motion to Intervene.                                  0.20       25.00
   05/04/16   AMS      Retrieve and review class action complaint.                  1.00      125.00
   05/04/16   AMS      Strategize with Jeffrey Schneider regarding class            0.20       25.00
                       action complaint.
   05/04/16   AMS      Strategize with Jeffrey Schneider regarding                  1.10      137.50
                       Receiver's action against banks.
   05/04/16   AMS      Review correspondence and email exchange to H.               0.20       25.00
                       Hatic.
   05/04/16   AMS      Organize and prepare notebook containing Citibank's          2.10      262.50
                       Motion to Intervene for attorney review and analysis.
   05/04/16   AMS      Organize production for attorney review.                     2.20      275.00
   05/05/16   AMS      Strategize with Jeffrey Schneider and Jason Kellogg          0.70       87.50
                       regarding Raymond James.
   05/05/16   MD       Analyze receivership pleadings and begin reviewing           2.60      520.00
                       documents produced by
                                                                (1.9); meet with
                       Jeff Schneider, Jason Kellogg, and Ana Salazar to
                       strategize as to potential causes of action against
                       certain entities and discuss nature of activity giving
                       rise to claims on behalf of receiver (.7).
   05/05/16   AMS      Review and analyze documents produced by                     2.00      250.00
                       Raymond James.
   05/05/16   AMS      Review documents produced by Citibank and                    2.30      287.50
                       circulate pertinent facts to appropriate attorney(s).
   05/05/16   MD       Begin drafting complaint against Raymond James.              0.90      180.00
   05/05/16   JK       Review documents received from SEC; research in              2.40      600.00
                       support of claims by receiver against Raymond
                       James.
   05/05/16   JCS      Strategize regarding claims against banks.                   0.60      156.00
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   05/05/16   JCS      Review Securities and Exchange Commission                 0.90      234.00
                       declarations.
   05/05/16   JCS      Attention to issues regarding NECS injunctions.           0.30       78.00
   05/05/16   JCS      Meeting with team regarding Raymond James                 0.70      182.00
                       documents.
   05/05/16   JCS      Conference with T. Ronzetti.                              0.30       78.00
   05/05/16   JCS      Begin reviewing Raymond James documents.                  1.80      468.00
   05/05/16   JCS      Review opposition to preliminary injunction.              1.20      312.00
   05/05/16   AMS      Research Raymond James production and circulate           1.90      237.50
                       pertinent facts to appropriate attorney(s).
   05/05/16   SRT      Communicate with receiver and Mr. Hatic regarding         0.30       75.00
                       whether answer will be filed on behalf of NECS.
   05/06/16   MD       Continue drafting complaint for relief against            3.80      760.00
                       Raymond James.
   05/06/16   JCS      Review and respond to emails from counsel.                0.80      208.00
   05/06/16   JCS      Attention to issues regarding bank listing and frozen     0.40      104.00
                       accounts.
   05/06/16   JCS      Review Citi's proposed search terms and revise            0.90      234.00
                       same.
   05/06/16   JCS      Conference with M. Schnapp.                               0.70      182.00
   05/06/16   JCS      Review Citi motion to seal.                               0.10       26.00
   05/06/16   JCS      Attention to issues regarding NECS.                       0.30       78.00
   05/06/16   AMS      Multiple conferences with Kimberly Matregrano             0.60       75.00
                       regarding bank reconstruction relating to frozen
                       accounts.
   05/06/16   AMS      Revise spreadsheet containing list of frozen accounts     4.00      500.00
                       by entity with balances; work directly with Kimberly
                       Matregrano at Akerman regarding same.
   05/06/16   AMS      Review Citibank's Motion to Seal.                         0.10       12.50
   05/06/16   SRT      Communicate with Messrs Hatic and Goldberg                0.30       75.00
                       regarding response to complaint on behalf of NECS.
   05/07/16   JCS      Review and respond to M. Schnapp emails.                  0.40      104.00
   05/07/16   JCS      Review Securities and Exchange Commission                 0.30       78.00
                       declaration.
   05/07/16   JCS      Review A. Quiros motion for release of funds vis a vis    0.30       78.00
                       Citi collateral.
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                                           Professional Fees

              Atty     Description                                             Hours     Amount
   05/09/16   MD       Finish drafting complaint against Raymond James          6.50    1,300.00
                       (4.9); research fee provisions and in pari delicto in
                       RICO context (1.4); send email to Jason Kellogg
                       providing draft complaint and summarizing RICO
                       research (.2).
   05/09/16   JCS      Conference with M. Schnapp regarding hearing.            0.40      104.00
   05/09/16   JCS      Review loan documents attached to motion to              1.90      494.00
                       intervene.
   05/09/16   AMS      Prepare loan documents for Jeffrey Schneider's           1.10      137.50
                       review and analysis.
   05/09/16   AMS      Upload Raymond James production via Dropbox;             0.60       75.00
                       forward same to forensic accountants and Kimberly
                       Matregrano at Akerman.
   05/09/16   AMS      Attention to issues regarding Raymond James              0.10       12.50
                       accounts.
   05/09/16   AMS      Attention to issues regarding status of service of       0.10       12.50
                       subpoena addressed to Goldman Sachs.
   05/09/16   AMS      Correspond with Kimberly Matregrano at Akerman           0.10       12.50
                       regarding subpoenas on banks.
   05/09/16   AMS      Begin review of Raymond James production.                5.10      637.50
   05/10/16   MD       Search PACER for dockets containing previous             1.20      240.00
                       receiver and trustee claims against banks, as
                       suggested by Receiver for use in complaints against
                       various target banks.
   05/10/16   MD       Confer with Jason Kellogg regarding suggested edits      0.20       40.00
                       to Complaint against Raymond James.
   05/10/16   JK       Research and revise Complaint.                           3.10      775.00
   05/10/16   JCS      Conference with M. Goldberg.                             0.30       78.00
   05/10/16   JCS      Review research regarding fraudulent transfer claims.    0.80      208.00
   05/10/16   JCS      Conference with J. Raybal regarding Merril Lynch         0.20       52.00
                       subpoena.
   05/10/16   JCS      Review and revise M. Goldberg affidavit.                 0.30       78.00
   05/10/16   JCS      Conference with Goldman Sachs regarding                  0.20       52.00
                       subpoena.
   05/10/16   AMS      Review email correspondence from Jeffrey Rayball,        0.10       12.50
                       Esq. in connection with subpoena addressed to
                       Merrilll Lynch.
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              Atty     Description                                               Hours     Amount
   05/10/16   AMS      Email group and calendar deadline of one week              0.10       12.50
                       extension in connection with subpoena served on
                       Merrill Lynch for ease of litigation management.
   05/10/16   AMS      Download and review documents to be uploaded in            4.20      525.00
                       Case Logistix.
   05/10/16   AMS      Continue review of Raymond James production.               2.80      350.00
   05/11/16   MD       Revise Complaint against Raymond James and                 3.90      780.00
                       others with suggested edits from Jason Kellogg and
                       Jeff Schneider (add in other defendants and relevant
                       nonparties, revise allegations, add additional FUFTA
                       count, etc.).
   05/11/16   MD       Confer with Jason Kellogg regarding additional edits       0.20       40.00
                       to FUFTA counts and removing Stenger as
                       defendant.
   05/11/16   MD       Revise draft complaint per additional suggestions          1.20      240.00
                       from Jason Kellogg and Receiver.
   05/11/16   MD       Search Raymond James document production for               0.80      160.00
                       potentially relevant arbitration provisions; send email
                       to Jason Kellogg and Jeff Schneider regarding
                       findings.
   05/11/16   JK       Review Hiller class action complaint; draft                3.20      800.00
                       correspondence to team regarding same; research
                       and revise Receiver complaint.
   05/11/16   JCS      Conference with T. Ronzetti.                               0.30       78.00
   05/11/16   JCS      Review and respond to emails regarding M.                  0.40      104.00
                       Golddberg affidavit and review revisions to same.
   05/11/16   JCS      Review and revise Receiver complaint.                      1.30      338.00
   05/11/16   JCS      Review Heller complaint.                                   1.10      286.00
   05/11/16   JCS      Conference with M. Goldberg.                               0.30       78.00
   05/11/16   AMS      Correspond with Laura Holyk regarding service of           0.10       12.50
                       subpoenas on banks.
   05/11/16   AMS      Review Endorsed Order regarding Show Cause                 0.10       12.50
                       Hearing.
   05/11/16   AMS      Calendar deadlines in connection with the Court's          0.10       12.50
                       Endorsed Order dated May 11, 2016.
   05/11/16   AMS      Strategize with Jason Kellogg regarding documents          0.30       37.50
                       to catalogue and review.
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                                          Professional Fees

              Atty     Description                                                Hours     Amount
   05/11/16   AMS      Continue working on splitting pdf files in connection       4.60      575.00
                       with documents produced by Raymond James for
                       purposes of uploading into Case Logistix.
   05/12/16   MD       Search document productions and pleading exhibits           3.20      640.00
                       to find arbitration agreements in offering materials,
                       LP agreements, and Raymond James account
                       documents (.7); research binding effect of arbitration
                       provisions on receivers (.8); research NYSE/FINRA
                       rules on arbitration and review for applicability (1.1);
                       confer with Jason Kellogg regarding various issues to
                       circumvent arbitration clauses (.2); search for
                       functional differences between Raymond James &
                       Associates, Inc and Raymond James Financial, Inc.
                       for purposes of single action against latter (.4).
   05/12/16   MD       Search documents produced by Raymond James                  1.20      240.00
                       and exhibits for all partnership agreements and
                       Raymond James account documents for existence of
                       arbitration agreements for each LP.
   05/12/16   JK       Research whether claims must be brought in                  0.30       75.00
                       arbitration.
   05/12/16   JCS      Review arbitration provisions.                              0.90      234.00
   05/12/16   JCS      Review caselaw regarding same.                              1.20      312.00
   05/12/16   JCS      Conference with M. Goldberg.                                0.30       78.00
   05/12/16   JCS      Review motion to appoint class counsel.                     0.20       52.00
   05/12/16   JCS      Review court minute order.                                  0.10       26.00
   05/12/16   JCS      Conference with T. Ronzetti.                                0.30       78.00
   05/13/16   MD       Search Raymond James document production using              1.40      280.00
                       Case Logistix for account agreements and other
                       account opening documents (.3); meet with Jason
                       Kellogg to discuss arbitration provisions contained in
                       account documents (.3); research federal Know Your
                       Customer standards and search for Raymond James
                       documents acknowledging same (.4); begin
                       researching FINRA arbitration rules (.2); coordinate
                       CaseLogistix upload of remaining documents with
                       Ana Salazar (.2).
   05/13/16   JK       Research in support of arbitration claims.                  0.50      125.00
   05/13/16   JCS      Conference with T. Ronzetti.                                0.20       52.00
   05/13/16   JCS      Review motion for fees.                                     0.30       78.00
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                                           Professional Fees

              Atty     Description                                                Hours     Amount
   05/13/16   JCS      Strategize regarding claims against Raymond James.          0.60      156.00
   05/13/16   JCS      Draft emails to receiver regarding same.                    0.30       78.00
   05/13/16   AMS      Prepare list of tax id numbers of entities listed on the    0.30       37.50
                       subpoena addressed to Merrill Lynch; forward same
                       to Jeffrey Rayball, Esq. (General Counsel to Merrill
                       Lynch).
   05/13/16   AMS      Review Motion for Attorneys Fees and Memorandum             0.30       37.50
                       of Law filed by Berger Singerman.
   05/13/16   AMS      Strategize with Jeffrey Schneider and Jason Kellogg         0.60       75.00
                       regarding claims against Raymond James.
   05/13/16   AMS      Prepare index of documents produced by Raymond              1.80      225.00
                       James.
   05/13/16   AMS      Download and review documents and emails from               4.10      512.50
                       Vermont Department of Financial Regulation.
   05/14/16   MD       Revise Raymond James complaint's FUFTA                      0.60      120.00
                       allegation.
   05/16/16   MD       Analyze FINRA and NYSE arbitration rules and                1.70      340.00
                       compare provisions on various issues; search for
                       rules relating to American Stock Exchange (now
                       NYSE MKT) and other SROs; send summary email
                       to Jeff Schneider and Jason Kellogg.
   05/16/16   MD       Draft and send status email to Jeff Schneider and           0.20       40.00
                       Jason Kellogg regarding FUFTA language and
                       inquire as to footnote addressing Receiver's position
                       on arbitration.
   05/16/16   AMS      Work on indexing of documents; organize and                 5.50      687.50
                       categorize documents by subject matter; work with
                       Practice Support on electronic production for
                       importing into Case Logistix.
   05/16/16   JK       Confer with receiver regarding strategy.                    0.30       75.00
   05/17/16   JCS      Prepare for call with M. Schnapp and M. Bloom.              0.40      104.00
   05/17/16   JCS      Attend call with M. Schnapp and M. Bloom.                   0.30       78.00
   05/17/16   JCS      Draft status email to M. Goldberg regarding same.           0.20       52.00
   05/17/16   JCS      Review and respond to T. Ronzetti emails.                   0.20       52.00
   05/17/16   JK       Revise Complaint to add footnote explaining                 0.40      100.00
                       arbitration issue.
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                                          Professional Fees

              Atty     Description                                               Hours     Amount
   05/18/16   MD       Confer with Ana Salazar regarding document                 0.40       80.00
                       production searches and review on Caselogistix;
                       coordinate production duties.
   05/18/16   JCS      Review and respond to Receiver emails.                     0.10       26.00
   05/18/16   JCS      Conferences with M. Schnapp regarding status of Citi       0.30       78.00
                       turnover.
   05/18/16   AMS      Review periodicals, collect and gather information         2.20      275.00
                       relevant to Ariel Quiros.
   05/18/16   AMS      Review documents in connection with transfers to           2.20      275.00
                       Korea Exchange Bank.
   05/18/16   AMS      Continue review of documents; report and circulate         2.40      300.00
                       pertinent facts to Jeffrey Schneider and Marcelo
                       Diaz.
   05/19/16   MD       Analyze Vermont Class Action Complaint.                    0.20       40.00
   05/19/16   MD       Prepare Civil Cover Sheet for Complaint against            0.80      160.00
                       Raymond James and others; proofread Complaint;
                       confer with Jason Kellogg and Jeff Schneider
                       regarding filing of Complaint.
   05/19/16   JCS      Review and revise complaint against Raymond                1.30      338.00
                       James.
   05/19/16   JCS      Conference with J. Sallah regarding same.                  0.60      156.00
   05/19/16   JCS      Conference with M. Schnapp regarding Citi.                 0.50      130.00
   05/19/16   JCS      Draft demand on Citi.                                      0.30       78.00
   05/19/16   JCS      Conference with M. Alford (Raymond James).                 0.30       78.00
   05/19/16   AMS      Review correspondence from Pershing in response            0.10       12.50
                       to Subpoena.
   05/19/16   AMS      Research periodicals and material relevant to Ariel        5.90      737.50
                       Quiros in preparation for filing Complaint; circulate
                       pertinent facts to Jeffrey Schneider.
   05/19/16   SRT      Prepare detailed email to Mr. Goldberg and team            0.40      100.00
                       regarding follow up issues related to GSI offices.
   05/20/16   MD       Coordinate filing of complaint with Jason Kellogg and      0.30       60.00
                       legal secretaries (.1); retrieve additional information
                       for summonses and send to legal secretary for filing
                       (.2)
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   05/20/16   AMS      Research periodicals and material relevant to Ariel       3.70      462.50
                       Quiros in preparation for filing Complaint; circulate
                       pertinent facts to Jeffrey Schneider.
                       Research periodicals and material relevant to AnC
                       Bio in preparation for filing Complaint; circulate
                       pertinent facts to Jeffrey Schneider.
   05/20/16   AMS      Review and analyze documents produced by Merrill          2.60      325.00
                       Lynch.
   05/20/16   JCS      Review and respond to emails from counsel                 0.30       78.00
                       regarding Miami office bills.
   05/20/16   JCS      Review and respond to M. Bloom and M. Schnapp             0.40      104.00
                       emails.
   05/20/16   JCS      Strategize regarding same.                                0.30       78.00
   05/20/16   JCS      Review Pershing and Merrill lynch responses to            0.40      104.00
                       subpoenas.
   05/20/16   JCS      Continue reviewing Citi documents.                        0.90      234.00
   05/20/16   JCS      Conference with J. Sallah.                                0.30       78.00
   05/20/16   JCS      Conference with M. Goldberg.                              0.30       78.00
   05/20/16   JCS      Review Raymond James AWC.                                 0.30       78.00
   05/20/16   JCS      Conference with M. Schnapp.                               0.80      208.00
   05/20/16   JCS      Conference with M. Bloom and M. Schnapp.                  0.80      208.00
   05/20/16   AMS      Conference with Jason Kellogg regarding Citibank's        0.10       12.50
                       Motion to Intervene.
   05/20/16   AMS      Upload document produced by Merrill Lynch and             1.40      175.00
                       Pershing into Dropbox to produce to forensic
                       accountants and Receiver.
   05/20/16   SRT      Communicate with Mr. Quiros and receiver regarding        0.20       50.00
                       meeting with Mr. Quiros regarding correspondence
                       sent to GSI offices.
   05/20/16   JK       Draft Motion to Disburse Citibank Assets; draft Order;    2.60      650.00
                       confer with Citi attorneys regarding disbursement
                       settlement.
   05/23/16   AMS      Review and analyze documents produced by Citibank         5.80      725.00
                       and Merrill Lynch; circulate emails of findings to
                       Jeffrey Schneider and Marcelo Diaz.
   05/23/16   JCS      Conferences with M. Bloom regarding transfer of           0.50      130.00
                       excess collateral.
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                                          Professional Fees

              Atty     Description                                                 Hours     Amount
   05/23/16   JCS      Review and respond to J. Sallah emails.                      0.40      104.00
   05/23/16   JCS      Conference wtih D. Gordon regarding excess                   0.30       78.00
                       collateral.
   05/23/16   JCS      Attention to issues regarding service on Raymond             0.30       78.00
                       James.
   05/23/16   AMS      Review document production and emails from                   1.70      212.50
                       Raymond James pertaining
                                                                               .
   05/23/16   SRT      Meet with Mr. Quiros to review correspondence to             2.50      625.00
                       GSI office and provide copies of same.
   05/24/16   MD       Attend conference with Jason Kellogg and other               0.50      100.00
                       associates regarding document review tasks for
                       productions from Raymond James, Merrill Lynch, Citi,
                       and Pershing.
   05/24/16   MD       Research and analyze transfer of action.                     0.80      160.00
   05/24/16   AMS      Attend strategy meeting with Jason Kellogg, Matthew          0.50       62.50
                       McGuane and Marcelo Diaz regarding Citibank.
   05/24/16   AMS      Review and analyze documents produced by Merrill             4.80      600.00
                       Lynch and Citibank; locate transfer of funds relating
                       to Quiros $14M Line of Credit.
   05/24/16   AMS      Download case production in Case Logistix for                1.00      125.00
                       attorney review and analysis.
   05/24/16   VP       Meeting regarding document review project.                   0.20       40.00
   05/24/16   MD       Begin document review and coding of Raymond                  1.10      220.00
                       James production on CaseLogistix.
   05/24/16   CEL      Review pertinent pleadings in connection with                1.70      340.00
                       performing review of documents received from
                       Raymond James.
   05/24/16   CEL      Perform review of documents produced by Raymond              3.30      660.00
                       James.
   05/24/16   CEL      Attend meeting to plan strategy of review of                 0.50      100.00
                       documents received from Raymond James.
   05/24/16   MJM      Review documents produced by Raymond James for               5.60    1,120.00
                       documentation in support of Receiver's claims
                       against Raymond James.
   05/24/16   JCS      Conference with M. Schnapp.                                  0.60      156.00
   05/24/16   JCS      Review and respond to M. Bloom and M. Schnapp                0.80      208.00
                       emails regarding excess collateral issue.
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                                         Professional Fees

              Atty     Description                                          Hours     Amount
   05/24/16   JCS      Conference with M. Schnapp and M. Bloom regarding     0.40      104.00
                       D. Gordon.
   05/24/16   JCS      Revise motion based on same.                          0.40      104.00
   05/24/16   JCS      Conference with R. Levenson regarding same.           0.20       52.00
   05/24/16   JCS      Conference with S. Wakshlag regarding Raymond         0.50      130.00
                       James.
   05/24/16   JCS      Conference with T. Ronzetti regarding Ray Jay.        0.30       78.00
   05/24/16   SRT      Communicate with Receiver regarding                   1.00      250.00
                       correspondence sent to GSI, payment of bills,
                       ongoing strategy regarding GSI office and status.
   05/24/16   JK       Meet with team regarding document review protocol;    2.10      525.00
                       draft subpoena to People’s United Bank; review
                       research regarding potential transfer.
   05/25/16   MD       Revise and proofread Notice.                          0.10       20.00
   05/25/16   MD       Continue document review of Raymond James             2.70      540.00
                       production on CaseLogistix and update running
                       document list.
   05/25/16   MJM      Review documents produced by Raymond James for        0.20       40.00
                       documentation in support of Receiver's claims
                       against Raymond James.
   05/25/16   VP       Review documents produced by Raymond James.           4.80      960.00
   05/25/16   JCS      Review notice and strategize regarding same.          0.40      104.00
   05/25/16   JCS      Review and revise same.                               0.30       78.00
   05/25/16   JCS      Review and respond to Receiver's emails regarding     0.40      104.00
                       Citi issue.
   05/25/16   JCS      Review bank statements sent to GSI offices.           0.90      234.00
   05/25/16   CEL      Perform Document Review of materials produced by      2.40      480.00
                       Raymond James.
   05/26/16   VP       Conduct review of Raymond James documents.            1.20      240.00
   05/26/16   JCS      Conference with M. Pieciak regarding status.          0.30       78.00
   05/26/16   JCS      Attention to issues regarding HSBC subpoena.          0.20       52.00
   05/26/16   JCS      Continue reviewing J. Burstein Transcript.            1.20      312.00
   05/26/16   JCS      Review Quiros response to Citi motion.                0.10       26.00
   05/26/16   JCS      Review and respond to counsel's and receiver's        0.80      208.00
                       emails.
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   05/26/16   SRT      Obtain certified and registered correspondence to         1.80      450.00
                       GSI and Quiros; communicate with all parties
                       regarding same.
   05/26/16   SRT      Correspond with receiver regarding return of laptop to    0.20       50.00
                       courier.
   05/26/16   JK       Review documents produced by Raymond James;               1.20      300.00
                       coordinate document review; draft subpoena to
                       HSBC.
   05/26/16   CEL      Review materials from FINRA in connection with            0.20       40.00
                       performing document review.
   05/27/16   VP       Review Merril Lynch document production.                  2.60      520.00
   05/27/16   JCS      Review Citibank chart.                                    0.40      104.00
   05/27/16   JCS      Review and respond to counsel's emails.                   0.40      104.00
   05/27/16   SRT      Meet with A. Quiros to make available additional          1.80      450.00
                       documentation and correspondence and later update
                       receiver regarding same.
   05/27/16   SRT      Review documents obtained from offices of NECS            2.00      500.00
                       and communicate with team regarding same.
   05/29/16   AMS      Review and respond to email from Jason Kellogg            0.10       12.50
                       regarding subpoena served on HSBC.
   05/30/16   JCS      Review order regarding fees.                              0.20       52.00
   05/30/16   AMS      Review bank statements and locate origin of               1.80      225.00
                       transfers in connection with JCM Merrill account.
   05/31/16   MJM      Continue document review project.                         0.10       20.00
   05/31/16   JCS      Conference with J. Sallah regarding Rule 26               0.40      104.00
                       conference and consolidation.
   05/31/16   JCS      Review and respond to Receiver's emails regarding         0.20       52.00
                       same.
   05/31/16   JCS      Conference with Receiver.                                 0.20       52.00
   06/01/16   MD       Continue document review of Raymond James                 1.80      360.00
                       document production and log of documents.
   06/01/16   MD       Retrieve documents on PACER from Daccache case            0.30       60.00
                       and update 26(f) and 16(b) timeframes; send email to
                       Jeff Schneider regarding same.
   06/01/16   AMS      Review and analyze documents produced by                  3.20      400.00
                       Pershing.
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   06/01/16   AMS      Conference with Victor Petrescu regarding review of      0.10       12.50
                       document production in Case Logistics.
   06/01/16   AMS      Index and organized documents produced by                4.20      525.00
                       Pershing Bank.
   06/01/16   AMS      Correspond with Kimberly Matregrano at Akerman           0.10       12.50
                       regarding document production from Merrill Lynch
                       and Pershing.
   06/01/16   AMS      Review internal email from Victor Petrescu regarding     0.10       12.50
                       findings in document production.
   06/01/16   VP       Email document review team regarding hot                 0.20       40.00
                       documents found during discovery review.
   06/01/16   MJM      Continue review of Raymond James' document               0.30       60.00
                       production for evidence in support of claims.
   06/01/16   CEL      Conduct document review of additional materials          0.50      100.00
                       received from Raymond James.
   06/01/16   JCS      Review and respond to M. Schnapp emails regarding        0.60      156.00
                       production.
   06/01/16   JCS      Review Tram motion.                                      0.20       52.00
   06/01/16   JCS      Prepare for call with Receiver.                          0.40      104.00
   06/01/16   JCS      Attend call with Receiver.                               0.60      156.00
   06/01/16   JCS      Conference call with M. Schnapp.                         0.40      104.00
   06/01/16   JCS      Conference call with J. Sallah and S Wakshlag.           0.40      104.00
   06/01/16   JCS      Review and respond to emails by counsel in litigation    0.40      104.00
                       against Raymond James.
   06/01/16   JCS      Conference with S. Wakshlag.                             0.30       78.00
   06/02/16   AMS      Conference with subpoena department at JP Morgan         0.10       12.50
                       Chase.
   06/02/16   AMS      Correspond with Toya, Subpoena Compliance                0.10       12.50
                       Specialist at JP Morgan Chase Bank regarding
                       subpoena; provide list of Tax ID numbers related to
                       Corporate and Relief Defendants.
   06/02/16   AMS      File organization and management.                        1.50      187.50
   06/02/16   AMS      Correspond with attorneys regarding Goldman              0.10       12.50
                       response and objections to Subpoena.
   06/02/16   MD       Finish document review of first batch of Raymond         2.40      480.00
                       James documents (coded RJA-QUIROS) and begin
                       review of second batch (coded RJ).
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              Atty     Description                                             Hours     Amount
   06/02/16   VP       Review Jay Peak Pershing and Raymond James               2.90      580.00
                       documents.
   06/02/16   MJM      Continue review of Raymond James' document               2.60      520.00
                       production for evidence in support of claims.
   06/02/16   SRT      Locate and obtain corporate documents regarding          1.40      350.00
                       Jay Construction Management for Receiver; review
                       correspondence delivered to GSO Offices.
   06/02/16   CEL      Conduct document review of additional Raymond            1.80      360.00
                       James materials.
   06/02/16   JCS      Review and respond to Greenberg Traurig emails           0.80      208.00
                       regarding Citi excess collateral.
   06/02/16   JCS      Revise order regarding same.                             0.30       78.00
   06/02/16   JCS      Review Raymond James corporate disclosure                0.10       26.00
                       statement.
   06/02/16   JCS      Conference with H. Tropin regarding transfer.            0.40      104.00
   06/02/16   JCS      Conferences with M. Schnapp regarding order.             0.70      182.00
   06/02/16   JCS      Attention to issues regarding J. P. Morgan               0.20       52.00
                       subpoenas.
   06/03/16   MD       Finish document review of second batch of Raymond        6.10    1,220.00
                       James documents (coded RJ) (4.4); print marked
                       documents in preparation of meeting with Jason
                       Kellogg and other reviewers (.5); meet with Jason
                       Kellogg, Ana Salazar, Jeff Schneider and other
                       associates to discuss results of document review and
                       then confer with associates to coordinate creation of
                       binder and timeline (1.2).
   06/03/16   AMS      Attend strategy meeting with Jeffrey Schneider,          0.80      100.00
                       Jason Kellogg, and team.
   06/03/16   AMS      Review document production; research wire                2.90      362.50
                       transfers, emails regarding anti-money laudering;
                       report to Jeffrey Schneider regarding findings.
   06/03/16   AMS      Work on spreadsheet containing index of document         3.00      375.00
                       production.
   06/03/16   VP       Attend meeting regarding document review findings.       0.90      180.00
   06/03/16   VP       Review second Raymond James document                     0.90      180.00
                       production.
   06/03/16   MJM      Continue review of Raymond James' document               0.90      180.00
                       production.
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              Atty     Description                                              Hours     Amount
   06/03/16   MJM      Analyze correspondence with opposing counsel.             0.10       20.00
   06/03/16   SRT      Communicate with Receiver regarding payment of            0.20       50.00
                       GSI bills and handling of GSI mail.
   06/03/16   JK       Meet with team regarding document review and hot          1.00      250.00
                       docs.
   06/03/16   CEL      Conduct review of documents produced by Raymond           3.20      640.00
                       James.
   06/03/16   CEL      Attend meeting regarding review of Raymond James          0.90      180.00
                       documents and strategy concerning hot documents.
   06/03/16   JCS      Review and respond to S. Wakshlag emails                  0.30       78.00
                       regarding transfer.
   06/03/16   JCS      Prepare for call with S. Wakshlag.                        0.30       78.00
   06/03/16   JCS      Attend call with S. Wakshlag.                             0.40      104.00
   06/03/16   JCS      Attention to issues regarding scheduling conference.      0.30       78.00
   06/03/16   JCS      Review selected documents from Raymond James              1.30      338.00
                       production.
   06/03/16   JCS      Conference with H. Tropin.                                0.20       52.00
   06/03/16   JCS      Meeting with document review team regarding               0.60      156.00
                       documents retrieved and and themes.
   06/03/16   JCS      Review orders.                                            0.20       52.00
   06/03/16   JCS      Conference with J. Sallah and S. Wakshlag.                0.50      130.00
   06/03/16   JCS      Conference with M. Schnapp regarding order.               0.80      208.00
   06/04/16   AMS      Review class action complaint; strategize with Jeffrey    0.60       75.00
                       Schneider.
   06/04/16   JCS      Review class action complaint.                            0.60      156.00
   06/04/16   JCS      Review and respond to S. Wakshlag and J. Sallah           0.30       78.00
                       emails regarding same.
   06/06/16   AMS      Research inventory of Miami items retrieved.              0.60       75.00
   06/06/16   AMS      Review and analyze Goldman production; report to          1.20      150.00
                       Jason Kellogg and Jeffrey Schneider regarding
                       findings.
   06/06/16   AMS      Work on indexing Goldman production; organize and         4.80      600.00
                       categorize documents by subject matter and facts.
   06/06/16   JK       Review hot documents compiled from document               0.20       50.00
                       review.
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   06/06/16   JCS      Review and respond to emails from M. Schnapp and          0.70      182.00
                       counsel.
   06/06/16   JCS      Review inventory of Miami items retrieved.                0.40      104.00
   06/07/16   AMS      Conduct online research regarding Joel Burstein's         0.80      100.00
                       marital dissolution case; report to Jeffrey Schneider
                       regarding findings.
   06/07/16   AMS      Review Tucker Ronzetti's emails with attachments.         0.30       37.50
   06/07/16   AMS      Strategize with Jeffrey Schneider regarding missing       1.00      125.00
                       documents from Merrill Lynch and forensic tracing of
                       Citibank funds.
   06/07/16   AMS      Review and analyze documents produced by Merrill          2.80      350.00
                       and Citibank; locate transfer of funds.
   06/07/16   SRT      Conference with Mr. Parisi regarding Raymond              0.20       50.00
                       James documents.
   06/07/16   JCS      Conference with M. Schnapp regarding wire and             0.70      182.00
                       documents.
   06/07/16   JCS      Review and respond to Receivers emails.                   0.30       78.00
   06/07/16   JCS      Review docket from J. Burstein marital dissolution        0.80      208.00
                       case.
   06/07/16   JCS      Review T. Ronzetti email attachments.                     0.30       78.00
   06/07/16   JCS      Conference with D. Garno regarding document               0.20       52.00
                       production.
   06/07/16   JCS      Strategize regarding missing documents from Merrill       1.00      260.00
                       Lynch and forensic tracking of Citibank funds.
   06/08/16   AMS      Review Citibank statements and wire transfers,            6.80      850.00
                       prepare financial analysis regarding transfer of funds
                       to People's United.
   06/08/16   VP       Review second Raymond James document                      0.40       80.00
                       production.
   06/08/16   JK       Draft correspondence to Merrill Lynch regarding           0.70      175.00
                       compulsion of documents.
   06/08/16   JCS      Conference with M. Schnapp regarding confidentiality      0.80      208.00
                       agreement and documents.
   06/08/16   JCS      Review Citi documents produced by M. Pieciak.             2.30      598.00
   06/08/16   JCS      Strategize regarding same.                                0.80      208.00
   06/08/16   JCS      Review and revise confidentiality agreement.              0.60      156.00
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                                           Professional Fees

              Atty     Description                                              Hours     Amount
   06/09/16   AMS      Strategize with Jeffrey Schneider regarding Citibank's    1.40      175.00
                       timeline.
   06/09/16   AMS      Review Citibank's document production (account            4.60      575.00
                       statements and wire transfers); prepare excel
                       spreadsheet of funds in and out of accounts.
   06/09/16   AMS      Review document production relating to payments           1.50      187.50
                       from GSI account to           report to Jeffrey
                       Schneider regarding findings.
   06/09/16   AMS      Review documents produced by Merril Lynch; locate         1.80      225.00
                       transfer of funds.
   06/09/16   JCS      Continue reviewing Citi documents.                        3.10      806.00
   06/09/16   JCS      Strategize regarding Citi timeline.                       1.40      364.00
   06/09/16   JCS      Review and respond to S. Wakshlag emails                  0.30       78.00
                       regarding waiver of arbitration.
   06/09/16   JCS      Review and respond M. Schnapp emails.                     0.70      182.00
   06/09/16   JCS      Review Raymond James motion for enlargement of            0.10       26.00
                       time.
   06/10/16   AMS      Meeting with Jeffrey Schneider regarding findings         0.60       75.00
                       and analysis of Citibank accounts.
   06/10/16   AMS      Review motion to transfer.                                0.40       50.00
   06/10/16   AMS      Continue review and analysis of document production       5.50      687.50
                       regarding forensic tracing of funds.
   06/10/16   JK       Research multidistrict litigation standard.               0.80      200.00
   06/10/16   JCS      Review motion to transfer.                                0.40      104.00
   06/10/16   JCS      Review and respond to emails regarding same.              0.40      104.00
   06/10/16   JCS      Review Chase response to subpoena.                        0.10       26.00
   06/10/16   JCS      Review and respond to T. Ronzetti emails regarding        0.20       52.00
                       appraisals.
   06/10/16   JCS      Conference with J. Sallah regarding MDL motion.           0.50      130.00
   06/10/16   JCS      Review and respond to emails regarding same.              0.60      156.00
   06/12/16   JCS      Review T. Ronzetti motion to transfer.                    0.50      130.00
   06/12/16   JCS      Review and respond to M. Goldberg emails regarding        0.20       52.00
                       same.
   06/13/16   AMS      Continue forensic analysis; prepare excel                 6.20      775.00
                       spreadsheet of flow of funds.
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                                           Professional Fees

              Atty     Description                                              Hours     Amount
   06/13/16   JK       Review MDL standard.                                      0.20       50.00
   06/13/16   JCS      Review and respond to emails regarding MDL                1.10      286.00
                       request and transfer request.
   06/13/16   JCS      Review MDL transfer papers.                               0.90      234.00
   06/13/16   JCS      Review notice of clarification.                           0.10       26.00
   06/13/16   JCS      Confer with S. Wakshlag regarding MDL.                    0.30       78.00
   06/13/16   JCS      Review denial order.                                      0.10       26.00
   06/13/16   JCS      Conference with T. Ronzetti.                              0.20       52.00
   06/13/16   JCS      Review Chase letter.                                      0.10       26.00
   06/13/16   JCS      Conference with M. Schnapp.                               0.30       78.00
   06/13/16   JCS      Conference with J. Sallah.                                0.30       78.00
   06/14/16   AMS      Extract documents from CaseLogistix; organize             7.50      937.50
                       documents and prepare notebook for attorney review.
   06/14/16   JCS      Conference with M. Goldberg.                              0.40      104.00
   06/14/16   JCS      Conference with M. Schnapp.                               0.50      130.00
   06/14/16   JCS      Review MDL motion to withdraw and revise to               1.10      286.00
                       transfer.
   06/14/16   JCS      Begin reviewing additional documents produced by          2.80      728.00
                       Citi.
   06/15/16   MD       Read Joel Burstein's SEC deposition and                   4.20      840.00
                       cross-reference with account documents produced by
                       Raymond James.
   06/15/16   MD       Confer with Jeff Schneider regarding additional           0.10       20.00
                       necessary research on inquiry notice (i.e., nationwide
                       search for leading cases).
   06/15/16   CEL      Complete review of hot documents in material              1.40      280.00
                       produced by Raymond James.
   06/15/16   AMS      Strategize with Jeffrey Schneider regarding               1.30      162.50
                       documents produced by Citibank.
   06/15/16   AMS      Review documents relating to inquiry notice.              0.80      100.00
   06/15/16   AMS      Strategize with Jeffrey Schneider regarding memo          0.90      112.50
                       containing flow of funds.
   06/15/16   AMS      Prepare memo and time line containing flow of funds.      4.30      537.50
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   06/15/16   JK       Confer with J. Rayball at Bank of America regarding      0.40      100.00
                       Merrill Lynch subpoena; prepare hot documents
                       binder.
   06/15/16   JCS      Continue reviewing Citibank document production.         3.10      806.00
   06/15/16   JCS      Strategize regarding same.                               1.30      338.00
   06/15/16   JCS      Conference call with J. Sallah.                          0.40      104.00
   06/15/16   JCS      Review revised Citibank confidentiality stipulation.     0.60      156.00
   06/15/16   JCS      Conference with M. Schnapp regarding same.               0.80      208.00
   06/15/16   JCS      Review revised motion to transfer.                       0.90      234.00
   06/15/16   JCS      Review memorandum regarding "inquiry notice".            0.80      208.00
   06/15/16   JCS      Review memorandum regarding flow of funds.               0.90      234.00
   06/16/16   MD       Confer with Jeff Schneider regarding drafting of         0.20       40.00
                       complaint against Citibank.
   06/16/16   JK       Strategize regarding MDL.                                0.20       50.00
   06/16/16   JCS      Review M. Schnapp letter.                                0.10       26.00
   06/16/16   JCS      Conference with M. Schnapp.                              1.10      286.00
   06/16/16   JCS      Review and respond to Receiver emails.                   0.30       78.00
   06/16/16   JCS      Review and respond to M. Aron emails.                    0.20       52.00
   06/16/16   JCS      Strategize regarding complaint against Citibank.         0.30       78.00
   06/16/16   JCS      Conference with T. Ronzetti regarding status.            0.20       52.00
   06/16/16   JCS      Conference with J. Sallah.                               0.30       78.00
   06/16/16   JCS      Review Quiros motion for enlargement.                    0.10       26.00
   06/17/16   MD       Conduct nationwide research on inquiry notice to         8.30    1,660.00
                       defeat good faith defense to fraudulent transfer and
                       narrow search to lender context (4.8); begin
                       summarizing case law in memo for Jeff Schneider
                       (.8); discuss and strategize contents of complaint
                       against Citibank with Jeff Schneider and Ana Salazar
                       (.6); analyze news publications published in mid-2015
                       and Citibank's internal memos reacting to same (.4);
                       begin drafting complaint against Citibank (1.7).
   06/17/16   JCS      Continue review of Citibank documents.                   1.70      442.00
   06/17/16   JCS      Strategize regarding same.                               1.20      312.00
   06/17/16   JCS      Review and respond to Receiver emails.                   0.30       78.00
   06/17/16   JCS      Review new investor complaint.                           0.90      234.00
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                                          Professional Fees

              Atty     Description                                            Hours     Amount
   06/17/16   JCS      Draft email to M. Schnapp regarding missing records.    0.20       52.00
   06/17/16   JCS      Conference with M. Schnapp regarding document           0.80      208.00
                       production.
   06/18/16   JCS      Review M. Bloom email.                                  0.20       52.00
   06/18/16   JCS      Review T. Lifsitz email with scheduling order,          1.20      312.00
                       confidentiality, agreement and Rule 26 report and
                       order.
   06/19/16   JCS      Complete review of Citibank second wave of              2.30      598.00
                       documents and strategize regarding same.
   06/20/16   AMS      Work directly with Jeffrey Schneider regarding          2.10      262.50
                       Citibank in preparation for mediation.
   06/20/16   MD       Finish drafting complaint against Citibank (8.2);       8.50    1,700.00
                       proofread and implement minor corrections to draft
                       complaint (.3).
   06/20/16   AMS      Conference with Marcelo Diaz-Cortes regarding           0.10       12.50
                       Quiros accounts at HSBC.
   06/20/16   AMS      Strategize with Marcelo Diaz-Cortes regarding           0.40       50.00
                       suspicious wire activity and due diligence regarding
                       suspected money laundering activity.
   06/20/16   AMS      Continue forensic analysis of Citibank transfer of      4.50      562.50
                       funds.
   06/20/16   JK       Research standard for opposing a stay pending MDL       0.20       50.00
                       consideration.
   06/20/16   JCS      Continue reviewing Citibank documents in                3.60      936.00
                       preparation for mediation.
   06/21/16   MD       Confer with Ana Salazar regarding factual issues to     0.20       40.00
                       confirm to incorporate into Citibank complaint.
   06/21/16   MD       Continue drafting memorandum to Jeff Schneider          3.70      740.00
                       summarizing inquiry notice case law and highlighting
                       cases for use against Citibank.
   06/21/16   JCS      Review and respond to M Aron email re discovery         0.30       78.00
                       and production from banks.
   06/21/16   JCS      Review and respond to M. Bloom emails regarding         0.90      234.00
                       Citi production and settlement meeting.
   06/21/16   JCS      Strategize with AMS and M Diaz-Cortez re tracing        0.70      182.00
                       funds from People's to Citi.
   06/21/16   JCS      Prepare for Rule 26 conference with counsel in          1.40      364.00
                       litigation against Raymond James.
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                                          Professional Fees

              Atty     Description                                               Hours     Amount
   06/21/16   JCS      Attend Rule 26 conference with counsel in litigation       2.60      676.00
                       against Raymond James.
   06/21/16   JCS      Review orders staying ancillary litigation.                0.40      104.00
   06/21/16   JCS      Email receiver regarding same.                             0.10       26.00
   06/21/16   JCS      Conference with S. Wakshlag regarding MDL.                 0.30       78.00
   06/21/16   JCS      Conference with J. Sallah regarding same.                  0.30       78.00
   06/21/16   JCS      Conference with J. Kellogg regarding Rule 26               0.20       52.00
                       conference.
   06/21/16   JCS      Review emails regarding same.                              0.40      104.00
   06/21/16   AMS      Upload production from Citibank into CaseLogistix.         2.10      262.50
   06/21/16   AMS      Attention to issues regarding AnC Bio account.             0.40       50.00
   06/21/16   JK       Confer with J. Rayball of Merrill Lynch regarding          0.80      200.00
                       status of subpoena responses; draft correspondence
                       to J. Rayball regarding same; research scheduling
                       conference deadline; draft correspondence to
                       opposing counsel regarding same.
   06/22/16   MD       Finish examining and summarizing leading inquiry           1.60      320.00
                       notice case law for memo to Jeff Schneider; conduct
                       final follow-up search of secondary sources on same
                       issue to ensure examination of complete universe of
                       case law (1.4); draft transmittal email to Jeff
                       Schneider explaining results and limitations of
                       research (.2).
   06/22/16   MD       Analyze bases for dismissal pled by defendants in          0.40       80.00
                       Daccache class action against Raymond James in
                       preparation of forthcoming motion to dismiss in
                       Receiver's case and amended complaint, if
                       necessary.
   06/22/16   MD       Speak with Jeff Schneider via telephone regarding          2.90      580.00
                       draft complaint against Citibank and Citibank's
                       position as to inquiry notice of Quiros' scheme (.3);
                       analyze federal statutes and rules and industry
                       standards for factors triggering AML or BSA
                       investigation; apply factors to nature of Citibank
                       account transactions; send email to Jeff Schneider
                       containing results of research and application to facts
                       (2.4); respond to email from Jeff Schneider regarding
                       inquiry notice research and extent of case law found
                       (.2).
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   06/22/16   JCS      Review and respond to emails regarding Rule 26            0.50      130.00
                       Conference.
   06/22/16   JCS      Prepare for call with M. Bloom and M. Schnapp             1.80      468.00
                       regarding Citi.
   06/22/16   JCS      Attend call with M. Bloom and M. Schnapp regarding        1.20      312.00
                       Citibank.
   06/22/16   JCS      Review and review confidentiality stipulation provided    0.80      208.00
                       by Citi.
   06/22/16   JCS      Review M. Diaz-Cortes memorandum regarding                1.90      494.00
                       inquiry notice and cases regarding same.
   06/23/16   MD       Confer with Jeff Schneider via email and telephone        4.70      940.00
                       regarding Citibank's inquiry notice and imputed
                       knowledge of facts suggesting Quiros' wrongdoing
                       (.7); retrieve docket report and review complaints
                       along with settlement documents provided by counsel
                       in investor fraud action against co-defendant bank
                       holding investor funds (1.2); draft joint motion for
                       extension of time for Rule 26(f) conference and send
                       to Jason Kellogg for review (.4); review elements of
                       common law conversion as applied to Citibank (.3);
                       revise draft complaint against Citibank (2.1).
   06/23/16   MD       Confer with Jeff Schneider and Ana Salazar                0.30       60.00
                       regarding traced funds.
   06/23/16   AMS      Work directly with Jeffrey Schneider regarding flow of    2.20      275.00
                       funds; attend strategy meeting with Jeffrey Schneider
                       and Marcelo Diaz-Cortes regarding same.
   06/23/16   JK       Revise Motion for Extension of Rule 26(f) Scheduling      0.20       50.00
                       Conference.
   06/23/16   JCS      Conference with M. Schnapp regarding                      0.60      156.00
                       confidentiality.
   06/23/16   JCS      Review and revise confidentiality.                        0.70      182.00
   06/23/16   JCS      Review and respond to receiver emails.                    0.30       78.00
   06/23/16   JCS      Review and respond to emails from Raymond James           0.50      130.00
                       counsel regarding case management order and MDL
                       response.
   06/23/16   JCS      Review motion for case management order.                  0.40      104.00
   06/23/16   JCS      Review motion to extend Rule 26 confernece.               0.10       26.00
   06/23/16   JCS      Conference with T. Ronzetti.                              0.20       52.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   06/23/16   JCS      Analyze Citi statements and draft flow chart.            2.10      546.00
   06/23/16   JCS      Review and revise motion for confidentiality and         0.40      104.00
                       order.
   06/24/16   AMS      Follow up with HSBC (subpoena and compliance             0.10       12.50
                       department) regarding status of documents in
                       response to Subpoena.
   06/24/16   JK       Confer with McGuire Woods attorney regarding             0.80      200.00
                       Merrill production; draft correspondence to attorney
                       regarding same; draft strategy correspondence to J.
                       Schneider.
   06/24/16   JCS      Conference with M. Schnapp.                              0.80      208.00
   06/24/16   JCS      Review and respond to receiver emails regarding Citi     0.40      104.00
                       settlement meeting.
   06/24/16   JCS      Review and respond to counsel.                           0.40      104.00
   06/24/16   JCS      Review class counsel subpoenas on banks.                 0.60      156.00
   06/24/16   JCS      Review class counsel request to produce on               0.70      182.00
                       defendants.
   06/25/16   AMS      Review AML reports produced by Citibank; strategize      1.30      162.50
                       with Jeffrey Schneider regarding findings.
   06/26/16   AMS      Strategize with Jeffrey Schneider regarding AML          8.00    1,000.00
                       reports; prepare documents in advance of mediation
                       with Citibank; continue updating excell spreadsheet
                       regarding flow of funds relating to Citibank.
   06/26/16   JK       Draft correspondence to Merrill Lynch opposing           1.40      350.00
                       counsel regarding ESI search; review Raymond
                       James’ motions to dismiss in Dacacche case;
                       research in support of opposition to MDL.
   06/26/16   JCS      Continue to review Citibank production prepared for      7.30    1,898.00
                       meeting with M. Bloom and M. Schnapp.
   06/27/16   MD       Confer with Jeff Schneider regarding contents of         0.30       60.00
                       Citibank's underwriting file with respect to
                       Quiros-related accounts and line of credit.
   06/27/16   MD       Speak with clerk's office at Judicial Panel on           0.90      180.00
                       Multidistrict Litigation via various phone calls and
                       coordinate appearance and filings with Jeff Schneider
                       and Kim Hardy per rules of Multidistrict Litigation.
   06/27/16   AMS      Strategize with Jeffrey Schneider in preparation for     1.20      150.00
                       mediation with Citibank.
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   06/27/16   AMS      Organize and assemble documents needed for               1.10      137.50
                       mediation.
   06/27/16   JK       Confer with S. Rodriguez regarding Merrill Lynch ESI     0.40      100.00
                       production; draft search terms for same.
   06/27/16   SRT      Communicate with receiver regarding payment of           0.30       75.00
                       bills to GSI.
   06/27/16   SRT      Retrieve and review bills.                               1.20      300.00
   06/27/16   JCS      Conference with Receiver.                                0.20       52.00
   06/27/16   JCS      Continue review of Citi documents in preparation for     0.80      208.00
                       settlement meeting.
   06/27/16   JCS      Attention to issues regarding the MDL notice.            0.50      130.00
   06/27/16   JCS      Conference with S. Wakshlag.                             0.40      104.00
   06/27/16   JCS      Review W. Stenger motion for extension.                  0.10       26.00
   06/28/16   MD       Correspond with counsel for Joel Burstein regarding      0.20       40.00
                       scheduling of Rule 26 Conference; send joint motion
                       for filing with minor edits to reflect changed
                       conference date.
   06/28/16   MD       Search document productions to find email                1.40      280.00
                       addresses of relevant parties, search terms, and time
                       frame for Merrill Lynch's ESI document search; send
                       information to Jason Kellogg.
   06/28/16   AMS      Meeting with Jeffrey Schneider regarding Citibank        0.80      100.00
                       mediation and strategy going forward.
   06/28/16   ESF      Download photos of assets recovered in the               0.50       62.50
                       takedown and the warehouse with more recovered
                       assets.
   06/28/16   JK       Draft correspondence to Merrill Lynch attorney           0.50      125.00
                       regarding subpoena search terms.
   06/28/16   SRT      Communicate with Ms. Matregrano regarding                0.20       50.00
                       management of GSI expenses and locations.
   06/28/16   JCS      Review motion to stay.                                   0.10       26.00
   06/28/16   JCS      Attend meeting with Receiver and Citi counsel            2.20      572.00
                       regarding settlement.
   06/28/16   JCS      Review Quiros motion to dismiss.                         1.10      286.00
   06/28/16   JCS      Review request for judicial notice.                      0.70      182.00
   06/28/16   JCS      Review and respond to D. Gordon emails regarding         0.20       52.00
                       stay.
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   06/28/16   JCS      Attention to issues regarding Merrill production.         0.40      104.00
   06/28/16   JCS      Review and revise M. Goldberg declaration.                0.40      104.00
   06/28/16   JCS      Conference with D. Gordon.                                0.30       78.00
   06/28/16   JCS      Review financial statements produced.                     0.60      156.00
   06/28/16   JCS      Discuss with Receiver.                                    0.20       52.00
   06/29/16   MD       Analyze statutes and rules relating to Judicial Panel     0.80      160.00
                       on Multidistrict Litigation with respect to interested
                       party responses, affidavit requirements, and
                       "tag-along" actions; respond to email from Jeff
                       Schneider regarding response and need for affidavit.
   06/29/16   JK       Research and draft Opposition to Motion to Transfer       1.10      275.00
                       to District of Vermont.
   06/29/16   JCS      Conference call with S. Wakshlag regarding                0.30       78.00
                       settlement with state.
   06/29/16   JCS      Review and respond to emails regarding call with S.       0.40      104.00
                       Wakshlag regarding settlement with state.
   06/29/16   JCS      Review and respond to M. Goldberg emails.                 0.50      130.00
   06/29/16   JCS      Review revisions to M. Goldberg affidavit.                0.30       78.00
   06/29/16   JCS      Review research regarding affidavit requirement.          0.30       78.00
   06/29/16   JCS      Conference with receiver.                                 0.30       78.00
   06/30/16   AMS      Review AML documents; confirm transaction and             2.80      350.00
                       transfers from multiple accounts into People's;
                       strategize with Jeffrey Schneider regarding same.
   06/30/16   JK       Research and draft Interested Party Response to           3.70      925.00
                       MDL Motion.
   06/30/16   JCS      Review and revise MDL response.                           0.60      156.00
   06/30/16   JCS      Conference with Receiver regarding Raymond                0.50      130.00
                       James.
   06/30/16   JCS      Review AML alerts from Citi.                              1.20      312.00
   06/30/16   JCS      Conference with J. Sallah and Receiver.                   0.40      104.00
   07/01/16   MD       Analyze rules pertaining to hearing for oral argument     0.30       60.00
                       before Judicial Panel on Multidistrict Litigation and
                       prerequisites.
   07/01/16   AMS      Research rules and prerequisites regarding oral           0.30       37.50
                       argument on Multidistrict Litigation.
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              Atty     Description                                               Hours     Amount
   07/01/16   AMS      Strategize with Jeffrey Schneider regarding oral           0.50       62.50
                       argument in MDL proceeding.
   07/01/16   JCS      Conference with T. Ronzetti.                               0.20       52.00
   07/01/16   JCS      Attention to issues regarding multi-district litigation    0.70      182.00
                       filing.
   07/01/16   JCS      Review and revise T. Ronzetti multi-district response.     0.80      208.00
   07/01/16   JCS      Attention to issues regarding oral argument.               0.50      130.00
   07/02/16   JCS      Review and respond to emails regarding W. Stenger          0.40      104.00
                       filing in MDL.
   07/02/16   JCS      Review A. Quiros motion for enlargement and                0.50      130.00
                       discuss with S. Cosgrove.
   07/02/16   JCS      Review order approving Citibank stipulation.               0.10       26.00
   07/02/16   JCS      Review Raymond James notice of related action.             0.10       26.00
   07/05/16   MD       Analyze Responses to Motion to Transfer filed by           0.60      120.00
                       Raymond James, Burstein, Quiros, People's Bank,
                       and Stenger in Judicial Panel on Multidistrict
                       Litigation (MDL) and summarize arguments; review
                       MDL rules for effect of language in Responses
                       directed at MDL treatment for Receiver's action; send
                       summary email regarding same to Jeff Schneider.
   07/05/16   MD       Analyze documents filed by Plaintiffs Hiller Sanchez       0.20       40.00
                       and Casseres-Pinto in MDL proceedings; send
                       summary of same to Jeff Schneider.
   07/05/16   JCS      Review MDL responses filed by A. Quiros, People's          2.30      598.00
                       Bank, Raymond James and Burstein.
   07/05/16   JCS      Strategize regarding same and need for a response.         0.40      104.00
   07/05/16   JCS      Review and respond to emails regarding Raymond             0.60      156.00
                       James settlement funds and account to hold same.
   07/05/16   AMS      Analyze documents filed by Plaintiffs Hiller Sanchez       0.40       50.00
                       and Casseres-Pinto in MDL proceedings.
   07/05/16   AMS      Analyze Response to Motion to Transfer filed by            1.20      150.00
                       Raymond James, Burstein, Quiros, Peoples Bank
                       and Stenger in MDL proceeding.
   07/05/16   SRT      Conference with Mr. Cohens regarding cable                 0.20       50.00
                       installation in building.
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                                           Professional Fees

              Atty     Description                                                 Hours     Amount
   07/06/16   MD       Confer with legal assistant regarding results of             1.20      240.00
                       conversation with MDL Panel Clerk regarding
                       appearances (generally and telephonic) at oral
                       argument on motion to consolidate and transfer class
                       actions; send summary of same to Jeff Schneider
                       with form necessary to appear at hearing (.2);
                       correspond with Jason Kellogg regarding latest MDL
                       response filings (.1); analyze Daccache Response to
                       Motion to Transfer and attached affidavits to examine
                       record regarding points to be raised by Jeff
                       Schneider at oral argument (.3); complete MDL
                       appearance form (.1); correspond with Jeff Schneider
                       and Jason Kellogg via email regarding need for
                       appearance at oral argument and send completed
                       form to Jeff Schneider for execution (.5).
   07/06/16   MD       Analyze rules pertaining to presentation of oral             0.50      100.00
                       argument, potential change in attorney, and
                       directions for filing form with clerk; print and finalize
                       form for execution and confer with Jeff Schneider on
                       contents of form and position as to centralization of
                       class suits.
   07/06/16   JCS      Review and respond to emails regarding Raymond               0.40      104.00
                       James settlement funds.
   07/06/16   JCS      Attention to issues regarding MDL oral argument.             0.50      130.00
   07/06/16   JCS      Conference with T. Ronzetti regarding same.                  0.30       78.00
   07/06/16   JCS      Review order from Judge Lenard.                              0.10       26.00
   07/06/16   JCS      Strategize regarding MDL position.                           0.40      104.00
   07/06/16   JCS      Conference with M. Bloom regarding Citibank.                 0.20       52.00
   07/06/16   JCS      Review and revise MDL form.                                  0.20       52.00
   07/06/16   JCS      Review and respond to T. Lipshitz emails regarding           0.10       26.00
                       subpoenas.
   07/06/16   JCS      Review and respond to emails from Receiver.                  0.40      104.00
   07/06/16   AMS      Analyze Daccache Response to Motion to transfer;             0.30       37.50
                       confer with Jeffrey Schneider regarding findings.
   07/06/16   AMS      Strategize with Jeffrey Schneider regarding Raymond          0.40       50.00
                       James.
   07/06/16   AMS      Attention to issues and confer with Marcelo                  0.50       62.50
                       Diaz-Cortes and Jeffrey Schneider regarding MDL
                       oral argument.
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                                         Professional Fees

              Atty     Description                                             Hours     Amount
   07/06/16   AMS      Confer with Jeffrey Schneider regarding T. Lipshitz      0.10       12.50
                       emails regarding subpoena.
   07/06/16   AMS      Calculate and determine potential economic losses        3.10      387.50
                       and damages.
   07/06/16   SRT      Correspond with receiver regarding collection and        0.30       75.00
                       payment of GSI bills.
   07/07/16   MD       Begin drafting portion of Receiver's Report on           0.80      160.00
                       matters relating to Raymond James and Citibank.
   07/07/16   JCS      Review and respond to M. Bloom emails regarding          0.30       78.00
                       Citibank.
   07/07/16   AMS      Review statements and documents produced by              2.30      287.50
                       Department of Financial Regulation

   07/07/16   AMS      Review documents produced by Merrill Lynch.              5.20      650.00
   07/08/16   MD       Finish drafting Receiver's Report sections regarding     2.30      460.00
                       Citibank and Raymond James involvement in matter;
                       send to Jeff Schneider for review.
   07/08/16   AMS      Draft Subpoenas on numerous financial institutions       2.10      262.50
                       Soneet Kapila requested for his reconstruction work
                       relating to all the accounts.
   07/08/16   AMS      Confer with Jeffrey Schneider regarding issues           0.10       12.50
                       relating to subpoenas.
   07/08/16   AMS      Correspond with Receiver, Michael Goldberg,              0.10       12.50
                       regarding People's Bank.
   07/08/16   AMS      Correspond with counsel for numerous financial           1.00      125.00
                       institutions regarding supplemental request for
                       documents.
   07/08/16   AMS      Strategize with Victor Petrescu and Jeffrey Schneider    0.20       25.00
                       regarding Rule 45.
   07/08/16   AMS      Conference with Kimberly Matregrano regarding Rule       0.10       12.50
                       45.
   07/08/16   VP       Review order to determine requirements for               0.20       40.00
                       subpoenaing documents from receivership
                       defendants.
   07/08/16   JCS      Conference with M. Bloom regarding settlement with       0.70      182.00
                       Citibank.
   07/08/16   JCS      Conference with Receiver regarding conference with       0.20       52.00
                       M. Bloom regarding settlement with Citibank.
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                                          Professional Fees

              Atty     Description                                                Hours     Amount
   07/08/16   JCS      Review and respond to M. Schnapp emails.                    0.20       52.00
   07/08/16   SRT      Attention to deadline for report regarding status of        0.20       50.00
                       Miami Properties and begin strategizing regarding
                       response.
   07/09/16   SRT      Obtain and sort correspondence for receivership             1.50      375.00
                       entities.
   07/09/16   SRT      Inspect premises and check on status of elevator            1.00      250.00
                       repair.
   07/10/16   AMS      Assist Jeffrey Schneider review and prepare                 3.10      387.50
                       documents in advance of settlement meeting.
   07/10/16   JCS      Prepare for settlement meeting with Raymond James           3.10      806.00
                       and counsel.
   07/11/16   JCS      Review and respond to M. Schnapp and M. Bloom               0.60      156.00
                       emails.
   07/11/16   JCS      Conference with M. Bloom.                                   0.40      104.00
   07/11/16   JCS      Review and respond to J. Sallah emails regarding            0.30       78.00
                       MDL and extension of time.
   07/12/16   MD       Prepare Joint Scheduling Report, Exhibit A thereto,         3.40      680.00
                       Joint Proposed Scheduling Order, and Stipulated
                       Confidentiality and Protective Order for use at Rule
                       26 Conference; send to Jason Kellogg and Jeff
                       Schneider for review.
   07/12/16   MD       Revise Rule 26 Conference proposed documents per            0.60      120.00
                       Jason Kellogg's suggested edits and circulate drafts
                       among counsel for all defendants in anticipation of
                       conference.
   07/12/16   AMS      Retrieve documents and prepare notebook                     1.10      137.50
                       containing joint scheduling report, scheduling order,
                       ESI Order and confidentiality stipulation for Jeffrey
                       Schneider's review in preparation for Rule 26.
   07/12/16   JCS      Review joint scheduling report, scheduling order, ESI       1.10      286.00
                       order and confidentiality stipulation in preparation for
                       Rule 26.
   07/12/16   AMS      Prepare financial statements, reports and charts in         6.40      800.00
                       preparation for Jeffrey Schneider' settlement
                       meeting.
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                                          Professional Fees

              Atty     Description                                          Hours     Amount
   07/12/16   JK       Revise Receiver’s Initial Report; revise proposed     1.10      275.00
                       Joint Scheduling Order; draft correspondence to
                       Merrill Lynch attorney.


   07/13/16   MD       Incorporate Jason Kellogg and Ana Salazar's edits     0.20       40.00
                       and information into Raymond James and Citibank
                       excerpt of Receiver's Report and conduct final
                       proofread; send same to Jeff Schneider for final
                       approval.
   07/13/16   AMS      Review and prepare documents for Jeffrey Schneider    2.80      350.00
                       in advance of meeting with counsel of record.
   07/13/16   AMS      Review and analyze deposit and checks from            2.80      350.00
                       Citibank account.
   07/13/16   AMS      Strategize with Jeffrey Schneider regarding check     0.10       12.50
                       issued to Quiros from the Department of Treasury.
   07/13/16   AMS      Review and retrieve documents for Jeffrey             0.70       87.50
                       Schneider's review in preparation for meeting with
                       Raymond James.
   07/13/16   AMS      Prepare documents for Jeffrey Schneider in advance    2.90      362.50
                       of meeting with Citibank's counsel and
                       representative.
   07/13/16   JCS      Conference with M. Bloom regarding settlement.        0.80      208.00
   07/13/16   JCS      Review and respond to Receiver emails.                0.30       78.00
   07/13/16   JCS      Conference with T. Lipsitz.                           0.20       52.00
   07/13/16   JCS      Prepare for meeting with Raymond James.               0.70      182.00
   07/13/16   JCS      Conference with T. Coffin (People's)                  0.20       52.00
   07/13/16   JCS      Review and revise insert for Receiver's report.       1.70      442.00
   07/13/16   JCS      Prepare for revised settlement meeting with Citi      2.90      754.00
                       representative and counsel.
   07/13/16   SRT      Work on insert to receiver's report regarding         0.20       50.00
                       inventory.
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                                           Professional Fees

              Atty     Description                                                Hours     Amount
   07/14/16   MD       Retrieve and analyze JPML docket to clarify                 1.20      240.00
                       Raymond James, Quiros, and Burstein's position on
                       inclusion of Receiver's action in MDL for
                       consolidation and latest representation from counsel
                       for Raymond James that MDL would be considering
                       full consolidation of all actions (.3); confer with Jeff
                       Schneider via email and Jason Kellogg in person
                       regarding same (.2); attend Rule 26 Conference (.7).
   07/14/16   AMS      Review and analyze additional documents produced            6.40      800.00
                       by Citibank on 7/11/2016.
   07/14/16   JCS      Prepare for meetings with Raymond James and Citi.           1.30      338.00
   07/14/16   JCS      Attend meeting with Receiver, M. Alford, J. Sallah,         1.70      442.00
                       and S. Wakshlag.
   07/14/16   JCS      Attend meeting with Receiver and M. Bloom, M.               2.10      546.00
                       Schnapp and B. Demick.
   07/14/16   JK       Prepare for and attend Rule 26(f) scheduling                2.20      550.00
                       conference.
   07/14/16   SRT      Communicate with Mr. Ringel regarding judgment              0.20       50.00
                       purchase offer.
   07/15/16   MD       Retrieve pertinent JPML filings for Jeff Schneider's        0.50      100.00
                       review prior to oral argument and request that Ana
                       Salazar retrieve remaining docket entries (.3); begin
                       drafting miscellaneous response to language in
                       Raymond James, Quiros, and Burstein's Responses
                       requesting transfer of Receiver's action for MDL
                       treatment (cease drafting upon entry of JMPL docket
                       entry at 1:48 PM stating that no further pleadings
                       would be permitted) (.2).
   07/15/16   AMS      Continue document review.                                   2.80      350.00
   07/15/16   AMS      Prepare notebook containing Citibank's recent               3.20      400.00
                       production for Jeffrey Schneider's review and
                       analysis.
   07/15/16   MD       Confer with Jeff Schneider regarding lack of scienter       0.10       20.00
                       requirement under Vermont law and potential action
                       against
   07/15/16   AMS      Review and analyze Motion to Strike.                        0.70       87.50
   07/15/16   AMS      Strategize regarding issues relating to                     0.50       62.50
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              Atty     Description                                            Hours     Amount
   07/15/16   AMS      Attend strategy meeting with Jeffrey Schneider          0.30       37.50
                       regarding application of Vermont law.
   07/15/16   JCS      Review motion to strike.                                0.90      234.00
   07/15/16   JCS      Strategize regarding response to People's filing.       0.50      130.00
   07/15/16   JCS      Review minute order.                                    0.10       26.00
   07/15/16   JCS      Strategize regarding application of Vermont law.        0.30       78.00
   07/15/16   JCS      Begin review of supplemental documents produced in      3.70      962.00
                       response to subpoena by Citi.
   07/15/16   JCS      Review S. Traband insert for report.                    0.20       52.00
   07/15/16   JCS      Review supplemental Citi documents (emails)             4.30    1,118.00
   07/15/16   JCS      Begin review of materials in preparation for            3.90    1,014.00
                       multi-district litigation hearing in Seattle.
   07/15/16   SRT      Finalize insert regarding Miami office and warehouse    1.30      325.00
                       takeovers and status for receiver report.
   07/15/16   SRT      Check on status and security of Opa-Locka               0.50      125.00
                       warehouse.
   07/16/16   AMS      Review supplemental documents and emails                4.80      600.00
                       produced by Citi; strategize with Jeffrey Schneider
                       regarding same.
   07/16/16   AMS      Retreive additional documents and research; assist      3.90      487.50
                       Jeffrey Schneider prepare for oral argument before
                       Multi-District Litigation Panel.
   07/18/16   JCS      Review supplemental Citi production.                    3.70      962.00
   07/18/16   AMS      Review and analyze documents produced by                6.80      850.00
                       Raymond James; organize, index documents by
                       subject matter; create and maintain internal case
                       database.
   07/19/16   MD       Compare proposed ESI protocols circulated by            0.40       80.00
                       counsel for Raymond James with protocols found in
                       Daccache plaintiff's request for production; respond
                       to email from Daccache plaintiff's counsel regarding
                       coordination of discovery among cases and preferred
                       ESI protocols.
   07/19/16   AMS      Review and analyze MDL pleadings; retrieve              3.50      437.50
                       documents in preparation for hearing regarding
                       motion to transfer.
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                                          Professional Fees

              Atty     Description                                                Hours     Amount
   07/19/16   AMS      Continue review and analysis of documents produced          2.20      275.00
                       by Raymond James; cull relevant information and
                       documents for Jason Kellogg's review and analysis.
   07/19/16   AMS      Create and maintain internal case databases; Set up         2.20      275.00
                       and maintain files chronologically, numerically and/or
                       by subject matter. Work with Practice Support on
                       electronic productions.
   07/19/16   JCS      Review supplemental Citi production.                        1.30      338.00
   07/19/16   JCS      Review and respond to T. Coffin emails regarding            0.30       78.00
                       production.
   07/19/16   JCS      Review and revise Raymond James motion for                  0.40      104.00
                       extension and order.
   07/19/16   JCS      Review Raymond James revisions to ESI protocol.             0.60      156.00
   07/19/16   JCS      Review and respond to Raymond James emails                  0.40      104.00
                       regarding motion.
   07/20/16   MD       Research culpability standard for securities laws           2.80      560.00
                       violations in Vermont v. Florida and compare
                       applicable Blue Sky Laws for claims against
                                                             (2.1); analyze
                       potential causes of action against                 (.4);
                       review LP agreements, escrow agreements, and
                       account opening documents for choice of law
                       provisions (.3).
   07/20/16   JCS      Conference with M. Goldberg.                                0.10       26.00
   07/20/16   JCS      Continue review of Citi emails.                             1.70      442.00
   07/20/16   JCS      Prepare for call with Receiver, Citibank                    0.80      208.00
                       representative and Citibank counsel.
   07/20/16   JCS      Attend additional settlement call with Citbank and          0.90      234.00
                       Reciever.
   07/20/16   JCS      Strategize with Receiver regarding MSSI claim.              0.30       78.00
   07/20/16   JCS      Strategize with Receiver regarding MSSI letter and          0.30       78.00
                       Raymond James response.
   07/20/16   JCS      Review S. Wakshlag email regarding use of $1                0.10       26.00
                       million.
   07/21/16   MD       Analyze media article exposing knowledge regarding          0.30       60.00
                       Quiros' wrongdoing and suspicious activity and
                       documents provided therein (namely, investor letter
                       to Raymond James dated Nov. 2014).
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                                          Professional Fees

              Atty     Description                                               Hours     Amount
   07/21/16   AMS      Review press regarding administration; research            1.30      162.50
                       documents produced by Raymond James regarding
                       complaints filed by investor.
   07/21/16   MD       Confer with Jeff Schneider regarding contents of draft     3.80      760.00
                       settlement agreement between Receiver and
                       Citibank (.1); draft settlement agreement and send to
                       Jeff Schneider for review (3.7).
   07/21/16   AMS      File organization and management.                          2.10      262.50
   07/21/16   AMS      Strategize with Jeffrey Schneider and Stephanie R.         0.10       12.50
                       Traband regarding §754 filing in the Southern District
                       and trial date.
   07/21/16   AMS      Work on indexing Merrill production; organize and          4.80      600.00
                       categorize documents by subject matter and facts.
   07/21/16   JCS      Review and respond to M. Bloom emails.                     0.40      104.00
   07/21/16   JCS      Conference call with Receiver.                             0.80      208.00
   07/21/16   JCS      Strategize regarding deal documents.                       0.40      104.00
   07/21/16   JCS      Review class counsel emails.                               0.40      104.00
   07/21/16   JCS      Review and respond to S. Cosgrove emails regarding         0.30       78.00
                       fees.
   07/21/16   JCS      Attention to issues regarding missing memo.                0.40      104.00
   07/21/16   JCS      Prepare for call with Citi and Receiver.                   0.40      104.00
   07/21/16   JCS      Conference with M. Bloom.                                  0.70      182.00
   07/21/16   JCS      Strategize regarding motion.                               0.50      130.00
   07/21/16   JCS      Review and respond to emails.                              0.20       52.00
   07/21/16   JK       Review Raymond James documents attached to                 0.40      100.00
                       Vermont NPR article; review Raymond James
                       subpoena; confer with S. Cosgrove regarding fees
                       petition.
   07/22/16   MD       Draft Motion to Approve Settlement with Citibank and       3.80      760.00
                       Request for Bar Order, proposed Bar Order and
                       proposed Order Approving Settlement; conduct minor
                       incidental research for Motion; send all drafts to Jeff
                       Schneider for review.
   07/22/16   JCS      Prepare for call with class counsel.                       0.30       78.00
   07/22/16   JCS      Attend call with Receiver and class counsel.               0.40      104.00
   07/22/16   JCS      Conference with T. Ronzetti.                               0.30       78.00
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              Atty     Description                                              Hours     Amount
   07/22/16   JCS      Conferences with M. Bloom.                                0.60      156.00
   07/22/16   JCS      Review and respond to S. Wakshlag emails                  0.40      104.00
                       regarding Raymond James documents.
   07/22/16   JCS      Review Quiros counsel fee request.                        0.80      208.00
   07/22/16   JCS      Numerous conferences with Receiver Citi agreement.        0.70      182.00
   07/22/16   JCS      Review and revise Citi settlement agreement.              2.10      546.00
   07/22/16   JCS      Review and revise bar order.                              0.80      208.00
   07/22/16   JCS      Conference with T. Lipsitz regarding Citi settlement.     0.30       78.00
   07/22/16   JCS      Review and revise motion to approve Citi settlement       1.30      338.00
                       and order thereon.
   07/22/16   JK       Review Quiros fee petition.                               0.30       75.00
   07/23/16   AMS      Review and analyze documents produced by Merrill          4.80      600.00
                       Lynch; begin bank reconstruction and tracing of
                       assets.
   07/24/16   AMS      Assist with revisions regarding motion to approve         1.00      125.00
                       settlement.
   07/25/16   MD       Revise Motion to Approve Settlement Agreement with        2.70      540.00
                       Citibank and Request for Bar Order with language
                       directed at notice issue and additional legal analysis
                       of standard for relief sought; send to Jeff Schneider
                       for review.
   07/26/16   AMS      Review and analyze documents produced by Merrill          5.10      637.50
                       Lynch; begin bank reconstruction and tracing of
                       assets.
   07/26/16   AMS      Review and assist Jeffrey Schneider with revisions to     1.80      225.00
                       settlement agreement.
   07/26/16   JCS      Review multi-district litigation order.                   0.10       26.00
   07/26/16   JCS      Attention to issues regarding J. P. Morgan Chase          0.30       78.00
                       subpoena.
   07/26/16   JCS      Conference with M. Schnapp.                               0.50      130.00
   07/26/16   JCS      Review and respond to M. Bloom and M. Schnapp             0.60      156.00
                       emails regarding settlement.
   07/26/16   JCS      Attention to issues regarding accessing Jay Peak          0.40      104.00
                       emails.
   07/26/16   JCS      Conference with M. Goldberg.                              0.20       52.00
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              Atty     Description                                           Hours     Amount
   07/26/16   JCS      Review Raymond James injunction complaint and          1.20      312.00
                       motions.
   07/26/16   JCS      Review Citibank confidentiality stipulation.           0.40      104.00
   07/26/16   JCS      Review M. Bloom revisions to Citibank settlement       1.70      442.00
                       agreement.
   07/27/16   MD       Send follow up email to opposing counsel reminding     0.10       20.00
                       of Rule 26(f) Report deadline and inquire as to
                       edits/revisions to proposed submissions.
   07/27/16   AMS      Conference with JP Morgan Chase Bank regarding         0.10       12.50
                       second subpoena to produce documents.
   07/27/16   MD       Retrieve pre-litigation subpoena to Raymond James      0.30       60.00
                       and furnish to counsel for Raymond James (.1);
                       review edited proposed Rule 26 Scheduling Report
                       provided by Raymond James and correspond with
                       Jeff Schneider regarding same (.2).
   07/27/16   AMS      Strategize with Jeffrey Schneider regarding Merril     4.60      575.00
                       Lynch; prepare bank reconstruction of flow of funds
                       relating to Merrill.
   07/27/16   JCS      Begin revising settlement agreement.                   1.90      494.00
   07/27/16   JCS      Numerous conferences with M. Bloom regarding           0.90      234.00
                       same.
   07/27/16   JCS      Review arbitration demands.                            1.30      338.00
   07/27/16   JCS      Conference with Receiver.                              0.60      156.00
   07/27/16   JCS      Conference with S. Wakshlag regarding Raymond          0.60      156.00
                       James settlement.
   07/27/16   JCS      Conference with M. Schnapp regarding Citibank          0.80      208.00
                       settlement agreement.
   07/27/16   JCS      Review pro hac motion for J. Durrant.                  0.20       52.00
   07/27/16   JCS      Conference with J. Dodd regarding revisions to bar     0.30       78.00
                       order.
   07/27/16   SRT      Obtain mail and inspect GSI offices.                   1.20      300.00
   07/27/16   SRT      Communicate with Mr. Gordon regarding                  0.20       50.00
                       correspondence to Mr. Quiros.
   07/27/16   SRT      Communicate with Mr. Goldberg regarding access for     0.30       75.00
                       Mr. Gordon to review Mr. Quiros emails.
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   07/27/16   SRT      Communicate with Mr. Goldberg regarding demands           0.50      125.00
                       for payment of rent and GSI expenses and analysis
                       regarding maintenance of Miami office and
                       properties.
   07/28/16   MD       Draft and revise Rule 26(a) Initial Disclosures (2.7);    4.00      800.00
                       confer with Jason Kellogg regarding Raymond
                       James' proposed schedule and edits to scheduling
                       report (.1); revise and incorporate changes to Joint
                       Scheduling Report with input from other parties (1.2).
   07/28/16   JCS      Review and respond to emails regarding scheduling         0.90      234.00
                       order and disclosure statements.
   07/28/16   JCS      Review and respond to S. Rodriguez emails                 0.20       52.00
                       regarding Merrill subpoena.
   07/28/16   JCS      Conference call with Receiver.                            0.30       78.00
   07/28/16   JCS      Draft notice of support regarding arbitration.            0.40      104.00
   07/28/16   JCS      Review and revise initial disclosures.                    0.60      156.00
   07/28/16   JCS      Conference with S. Wakshlag regarding joinder.            0.40      104.00
   07/28/16   JK       Revise scheduling order; revise initial disclosures.      1.20      300.00
   07/28/16   SRT      Prepare letter to Mr. Quiros regarding personal mail.     0.20       50.00
   07/28/16   SRT      Prepare change of address forms and communicate           1.50      375.00
                       with postal service regarding same.
   07/29/16   MD       Analyze changes to second round Joint Scheduling          0.90      180.00
                       Report edits provided by counsel for Burstein, Quiros
                       and Raymond James; correspond with opposing
                       counsel and Jason Kellogg regarding contents of
                       Report and filing of same.
   07/29/16   JCS      Review and respond to emails regarding status report      1.20      312.00
                       and review revisions to same.
   07/29/16   JCS      Review and respond to Receiver emails.                    0.30       78.00
   07/29/16   JCS      Review orders vacating status conference.                 0.20       52.00
   07/29/16   JCS      Review motion to lift stay.                               0.10       26.00
   07/29/16   JK       Revise Joint Scheduling Report.                           0.70      175.00
   07/29/16   SRT      Search Miami office for returns and communicate           1.80      450.00
                       with receiver regarding same.
   07/29/16   SRT      Revise letter to Mr. Quiros regarding mail and            0.40      100.00
                       communicate with postal service and Mr. Gordon
                       regarding same.
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                                           Professional Fees

              Atty     Description                                              Hours     Amount
   07/30/16   MD       Analyze Proposed Stipulated Confidentiality               0.40       80.00
                       Agreement provided by counsel for Raymond James
                       and provide comments to Jason Kellogg regarding
                       edits to and approval of same.
   08/01/16   AMS      Convert files into PDF format; set up and maintain        2.80      350.00
                       files in chronological order and by subject matter for
                       purposes of importing into Case Logistix.
   08/01/16   JCS      Conference with M. Schnapp regarding settlement.          0.90      234.00
   08/01/16   JCS      Draft letter to M. Davis.                                 0.20       52.00
   08/01/16   JCS      Review JCM and QRI documents to be produced.              1.30      338.00
   08/01/16   JCS      Conference with S. Wakshlag regarding use of funds.       0.40      104.00
   08/01/16   JCS      Conference with M. Bloom regarding settlement.            0.80      208.00
   08/01/16   JCS      Review initial disclosures.                               0.60      156.00
   08/01/16   JCS      Review order regarding scheduling report.                 0.10       26.00
   08/01/16   JCS      Review Raymond James' insurance policies.                 0.60      156.00
   08/01/16   SRT      Communicate with receiver regarding latest GSI            0.20       50.00
                       correspondence.
   08/01/16   AMS      Draft and revise letter to M. Davis.                      0.20       25.00
   08/01/16   AMS      Review and analyze JCM and QRI documents to be            1.30      162.50
                       produced.
   08/01/16   AMS      Review Order regarding Scheduling.                        0.10       12.50
   08/01/16   AMS      Attention to issues regarding insurance policies.         1.10      137.50
   08/01/16   JK       Review documents produced by Merrill Lynch.               0.30       75.00
   08/02/16   AMS      Review Raymond James documents produced by                3.40      425.00
                       Kenny Nachwalter in response to second subpoena.
   08/02/16   MD       Revise Rule 26 Report schedule in response to             0.50      100.00
                       Judge's Order Striking Report for failure to comply
                       with beginning order and to compromise with
                       opposing counsel.
   08/02/16   JCS      Review and respond to counsel's emails.                   0.80      208.00
   08/02/16   JCS      Attention to issues regarding scheduling order.           0.50      130.00
   08/02/16   JCS      Review Calero state court complaint to determine in       1.30      338.00
                       Receiver claims are asserted.
   08/02/16   JCS      Review Citakovic complaint regarding receiver claims      1.10      286.00
                       being asserted.
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                                          Professional Fees

              Atty     Description                                            Hours     Amount
   08/02/16   JCS      Conference with S. Wakshlag and M. Goldberg             0.50      130.00
                       regarding use of funds.
   08/02/16   JCS      Review motion to stay by Raymond James.                 0.50      130.00
   08/02/16   JCS      Draft joinder regarding state court case.               0.40      104.00
   08/02/16   SRT      Communicate with Receiver regarding amount of files     0.20       50.00
                       in Miami office that would have to be stored.
   08/02/16   JK       Revise Joint Scheduling Report.                         1.10      275.00
   08/03/16   MD       Confer with Jeff Schneider regarding Receiver's use     0.20       40.00
                       of $1.5MM earmarked investor funds for operation of
                       resort and drafting of motion seeking court approval
                       of same.
   08/03/16   MD       Draft Motion to Approve Receiver's Use of               2.30      460.00
                       Earmarked Funds for Operation of Receivership
                       Estate and proposed Order approving same; send to
                       Jeff Schneider for review and approval.
   08/03/16   AMS      Review additional documents produced by Raymond         3.20      400.00
                       James (ie, account opening documents, account
                       verifications, statements and the like).
   08/03/16   AMS      Conference with Kevin McCoy of Kapila Mukamal           0.10       12.50
                       regarding document production.
   08/03/16   JCS      Conference with Receiver.                               0.40      104.00
   08/03/16   JCS      Attention to issues regarding motion to approve use     0.60      156.00
                       of Raymond James funds.
   08/03/16   JCS      Prepare for call with Receiver and Raymond James.       0.40      104.00
   08/03/16   JCS      Attend call with Receiver and Raymond James.            0.60      156.00
   08/03/16   JCS      Conference call with M. Schnapp regarding Citi          0.40      104.00
                       agreement.
   08/03/16   JCS      Review A. Quiros notice regarding transfer.             0.10       26.00
   08/03/16   JCS      Review and revise joinders.                             0.60      156.00
   08/03/16   JCS      Review Wei complaint.                                   1.10      286.00
   08/03/16   JCS      Conference with S. Wakshlag regarding motion to         0.70      182.00
                       transfer.
   08/03/16   JCS      Review and revise motion to approve partial use of      0.90      234.00
                       Raymond James funds.
   08/03/16   AMS      Review Quiros Notice regarding Transfer.                0.10       12.50
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   08/03/16   AMS      Strategize with Jeffrey Schneider regading Motion to      1.00      125.00
                       Approve.
   08/03/16   JK       Draft correspondence to opposing counsel regarding        0.20       50.00
                       Joint Scheduling Order.
   08/04/16   JCS      Review and revise Citibank settlement agreement.          1.30      338.00
   08/04/16   JCS      Conference with M. Schnapp.                               0.80      208.00
   08/04/16   JCS      Review M. Goldberg changes to Raymond James               0.50      130.00
                       motion.
   08/04/16   JCS      Email counsel in SEC case regarding Raymond               0.30       78.00
                       James motion.
   08/04/16   JCS      Conference with J. Dodd and M. Schnapp regarding          0.80      208.00
                       settlement agreement.
   08/05/16   MD       Revise Order Approving Use of Raymond James               0.30       60.00
                       Settlement Funds for Operation of Receivership
                       Estate.
   08/05/16   JCS      Conference with Receiver.                                 0.30       78.00
   08/05/16   JCS      Reconcile and input charges of receiver and DFR to        1.20      312.00
                       motion regarding Raymond James.
   08/05/16   JCS      Review pro hac motion and order.                          0.20       52.00
   08/05/16   JCS      Conference call with J. Dodd and M. Schnapp               1.20      312.00
                       regarding Citibank agreement.
   08/05/16   JCS      Review letter from Raymond James regarding                0.10       26.00
                       documents produced.
   08/05/16   JCS      Review A. Quiros initial disclosures.                     0.20       52.00
   08/05/16   JCS      Conference with M. Pieciak.                               0.20       52.00
   08/05/16   JCS      Numerous revisions to Raymond James motion.               1.20      312.00
   08/05/16   JCS      Conference with S. Wakshlag regarding same.               0.40      104.00
   08/05/16   JCS      Review and revise Raymond James order.                    1.10      286.00
   08/08/16   JCS      Review and respond to D. Gordon emails.                   0.20       52.00
   08/08/16   JCS      Draft insert regarding Citibank for Receiver's report.    0.30       78.00
   08/08/16   JCS      Draft insert for Raymond James.                           0.40      104.00
   08/08/16   JCS      Review J. Burstein motion to stay; conference with M.     0.80      208.00
                       Schnapp regarding Citibank settlement agreement.
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                                          Professional Fees

              Atty     Description                                            Hours     Amount
   08/09/16   MD       Speak with subpoena processing department at            0.10       20.00
                       JPMorgan regarding further extension for document
                       production; advise Jeff Schneider of new production
                       date.
   08/09/16   AMS      Review and analyze additional document production       7.50      937.50
                       produced by Raymond James; index and categorize
                       documents; confer with Jason Kellogg regarding
                       missing documents.
   08/09/16   JCS      Conference with M. Schnapp and J. Dodd regarding        0.70      182.00
                       bar order.
   08/09/16   JCS      Conference with M. Diaz-Cortes regarding Chase          0.20       52.00
                       documents.
   08/09/16   JCS      Review and respond to S. Wakshlag emails                0.20       52.00
                       regarding Vermont approval.
   08/09/16   JCS      Conference with T. Lipsitz regarding Citi documents.    0.60      156.00
   08/09/16   JCS      Review notice of voluntary dismissal regarding          0.10       26.00
                       financial regulatory authority.
   08/10/16   AMS      Meeting with Jason Kellogg regarding production.        0.10       12.50
   08/10/16   AMS      Review documents produced by Raymond James.             2.80      350.00
   08/10/16   JCS      Conference with M. Goldberg.                            0.30       78.00
   08/10/16   JCS      Conference with J. Dodd.                                0.30       78.00
   08/10/16   JCS      Conference with M. Schnapp and J. Dodd.                 0.50      130.00
   08/10/16   JCS      Review and revise Citibank settlement agreement.        1.50      390.00
   08/10/16   JCS      Review motion to adopt case management order and        0.90      234.00
                       and case management order.
   08/10/16   AMS      Prepare spreadsheet containing index of document        2.10      262.50
                       production.
   08/10/16   SRT      Communicate with receiver regarding laptops seized      0.30       75.00
                       and imaged during takeover.
   08/11/16   JCS      Review memorandum regarding class action.               0.30       78.00
   08/11/16   JCS      Review A. Qiuros motion to dismiss.                     1.60      416.00
   08/11/16   JCS      Review and respond to S. Wakshlag emails.               0.20       52.00
   08/11/16   JCS      Review J. Burstein motion to dismiss.                   0.40      104.00
   08/11/16   JCS      Review request for judicial notice.                     0.30       78.00
   08/11/16   JCS      Conference with M. Schnapp and J. Dodd regarding        0.60      156.00
                       settlement agreement.
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                                          Professional Fees

              Atty     Description                                          Hours     Amount
   08/11/16   JCS      Review amended motion to transfer.                    0.40      104.00
   08/11/16   JCS      Conference with M. Wakshlag.                          0.50      130.00
   08/11/16   JCS      Review revised motion to transfer.                    0.30       78.00
   08/11/16   JCS      Review order regarding use of funds.                  0.10       26.00
   08/11/16   JCS      Review Gonzalez Calero complaint.                     1.10      286.00
   08/11/16   JCS      Conference with T. Lipsitz.                           0.20       52.00
   08/11/16   SRT      Conference regarding strategy for responses to        0.60      150.00
                       motions to dismiss.
   08/11/16   SRT      Conference regarding request to drop Raymond          0.20       50.00
                       James entity from suit against Raymond James.
   08/12/16   MD       Draft Notice of Voluntary Dismissal of Raymond        2.70      540.00
                       James Financial, Inc. (.3); analyze Motions to
                       Dismiss filed by Quiros and Burstein with relevant
                       attachments and strategize as to responses to same
                       (2.4).
   08/12/16   AMS      Upload documents produced by Merrill Lynch into       1.20      150.00
                       Case Logistix.
   08/12/16   AMS      Upload documents produced by Ramond James in          1.20      150.00
                       Case Logisitx.
   08/12/16   JCS      Review and revise notice of dismissal.                0.20       52.00
   08/12/16   JCS      Review Receiver's report.                             0.70      182.00
   08/12/16   JCS      Review and respond to M. Aaron and Receiver           0.30       78.00
                       emails regarding accountant.
   08/12/16   AMS      Review Receiver's Report.                             0.40       50.00
   08/15/16   JCS      Review notice of withdrawal of injunction motion.     0.10       26.00
   08/15/16   JCS      Review and respond to Receiver emails regarding       0.30       78.00
                       document production.
   08/15/16   JCS      Review list of emails produced.                       0.10       26.00
   08/15/16   JCS      Review notice of dismissal.                           0.10       26.00
   08/15/16   JCS      Conference call with M. Bloom and J. Dodd.            0.50      130.00
   08/15/16   JCS      Review Raymond James motion to stay in Gonzalez       0.60      156.00
                       Calero.
   08/15/16   JCS      Review Dacacche amended class action complaint.       1.40      364.00
   08/15/16   JCS      Review motion for case management protocols.          0.40      104.00
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                                         Professional Fees

              Atty    Description                                          Hours     Amount
   08/15/16   AMS     Strategize with Jeffrey Schneider regarding           0.30       37.50
                      document production.
   08/15/16   AMS     Review motion for case management protocols.          0.40       50.00
   08/16/16   JCS     Attention to issues regarding Mallah Furman           0.40      104.00
                      documents.
   08/16/16   JCS     Review and respond to M. Bloom emails regarding       0.50      130.00
                      Citi.
   08/16/16   JCS     Prepare for call with Citi and Receiver.              0.40      104.00
   08/16/16   JCS     Attend call with Citibank and Receiver.               0.30       78.00
   08/16/16   JCS     Review emails regarding case management report in     0.30       78.00
                      Dacache.
   08/16/16   JCS     Review case management report in Dacache.             0.40      104.00
   08/16/16   JCS     Review and respond to D. Carbishly email regarding    0.40      104.00
                      Raymond James production.
   08/16/16   JCS     Attention to issues regarding confidentiality         0.30       78.00
                      stipulation.
   08/16/16   JCS     Review amended motion to transfer.                    0.20       52.00
   08/16/16   JCS     Review order.                                         0.10       26.00
   08/16/16   AMS     Confer with Jeffrey Schneider regarding Furman.       0.40       50.00
   08/16/16   AMS     Review case management report regarding Dacache.      0.50       62.50
   08/16/16   SRT     Check on GSI offices and review recent                1.00      250.00
                      correspondence.
   08/16/16   SRT     Communicate with receiver regarding demand for        0.20       50.00
                      payment for leased copier.
   08/17/16   ESF     Review documents requesting information for           1.60      200.00
                      turnover of documents; confer with J. Kellogg
                      regarding same.
   08/17/16   JCS     Review and revise notice for Citibank settlement.     0.60      156.00
   08/17/16   JCS     Review and revise order with Citibank.                1.30      338.00
   08/17/16   JCS     Conference with Receiver.                             0.40      104.00
   08/17/16   JCS     Review 502 (h) cases regarding Citi.                  0.40      104.00
   08/17/16   SRT     Continue reviewing motions to dismiss and             1.20      300.00
                      strategizing and researching for responses.
   08/18/16   JCS     Review K. Murechinsan letter.                         0.10       26.00
   08/18/16   JCS     Review motion to extend scheduling conference.        0.20       52.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   08/18/16   JCS      Review and respond to emails regarding same.             0.30       78.00
   08/18/16   JCS      Conference with Receiver.                                0.40      104.00
   08/18/16   AMS      Review motion to extend scheduling conference.           0.20       25.00
   08/18/16   AMS      Prepare load files for importing documents produced      2.80      350.00
                       by Raymond James into Case Logistix.
   08/18/16   SRT      Coordinate change of address for additional parties      0.50      125.00
                       with post office.
   08/18/16   SRT      Research PSLRA and other case law with regard to         3.00      750.00
                       responses to motions to dismiss and strategize for
                       responses.
   08/19/16   MD       Confer with Stephanie Traband regarding necessary        0.30       60.00
                       research for Response to Motions to Dismiss.
   08/19/16   JCS      Review and respond to group emails regarding             0.80      208.00
                       settlement with Citibank.
   08/19/16   JCS      Conference with M. Bloom regarding same.                 0.30       78.00
   08/19/16   JCS      Review Citi documents produced regarding line of         0.90      234.00
                       credit.
   08/19/16   JCS      Review bar order and procedures order and revise         0.90      234.00
                       same.
   08/19/16   JCS      Review and respond to Receiver emails.                   0.30       78.00
   08/19/16   SRT      Conference regarding areas of research for               0.30       75.00
                       responses to motions to dismiss.
   08/19/16   SRT      Conference with building management regarding            0.20       50.00
                       repairs and update Mr. Goldberg regarding same.
   08/22/16   MD       Begin research in opposition to Motions to Dismiss       2.40      480.00
                       filed by Quiros and Burstein (independent tort
                       doctrine applied to breach of fiduciary duty and
                       applicability of PSLRA to RICO claim).
   08/22/16   JCS      Review and respond to M. Bloom and Receiver              0.40      104.00
                       emails regarding Citibank settlement agreement.
   08/22/16   JCS      Draft email to SEC regarding same.                       0.40      104.00
   08/22/16   JCS      Review and revise Citibank settlement agreement.         1.10      286.00
   08/22/16   JCS      Review final notice, bar order and preliminary order.    2.20      572.00
   08/22/16   JCS      Review and respond to counsel's emails regarding         0.40      104.00
                       scheduling report and ESI protocol.
   08/22/16   JCS      Review confidentiality stipulation for Receiver case.    0.30       78.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   08/22/16   JCS      Conference with J. Dodd regarding settlement             0.20       52.00
                       agreement.
   08/22/16   JCS      Conference with class counsel and receiver               0.30       78.00
                       regarding discovery.
   08/22/16   JCS      Draft email to D. Gardner regarding documents.           0.20       52.00
   08/22/16   JCS      Review and respond to T. Lipshitz emails regarding       0.20       52.00
                       Citibank settlement.
   08/23/16   MD       Retrieve docket to analyze format of Judge Gayles'       0.10       20.00
                       order on Citibank's confidentiality motion and send
                       information on same to Jeff Schneider.
   08/23/16   MD       Continue research for responses in opposition to         2.20      440.00
                       Motions to Dismiss filed by Quiros and Burstein
                       (applicability of PSLRA to RICO claim and existence
                       of fiduciary duty not arising from contract under
                       Vermont law).
   08/23/16   JCS      Review reply regarding motion for fees.                  0.40      104.00
   08/23/16   JCS      Review and revise motion to approve settlement.          1.40      364.00
   08/23/16   JCS      Review and revise settlement agreement.                  0.90      234.00
   08/23/16   JCS      Conference with R. Levenson.                             0.20       52.00
   08/23/16   JCS      Attention to issues regarding website translation.       0.20       52.00
   08/23/16   JCS      Review correspondence from investors.                    0.10       26.00
   08/23/16   JCS      Prepare for call with counsel for investors.             0.40      104.00
   08/23/16   JCS      Attend call with counsel for investors.                  0.40      104.00
   08/23/16   JCS      Review and respond to T. Lipshitz emails regarding       0.30       78.00
                       Citibank account.
   08/23/16   JCS      Draft status email regarding same.                       0.40      104.00
   08/23/16   JCS      Conference with T. Ronzetti.                             1.20      312.00
   08/23/16   SRT      Conference regarding response to motion to dismiss.      0.30       75.00
   08/24/16   MD       Search westlaw and PACER for entry of bar order in       1.40      280.00
                       S.D. Fla. to support proposed bar order necessary for
                       settlement between Citibank and Receiver; send
                       orders to Jeff Schneider.
   08/24/16   MD       Correspond with counsel for Raymond James                0.10       20.00
                       regarding additional name to include in search terms.
   08/24/16   AMS      Attend strategy meeting with Jason Kellogg and           0.40       50.00
                       Victoria Wilson regarding discovery issues.
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              Atty     Description                                            Hours     Amount
   08/24/16   VJW      Conference with J. Kellogg regarding Merill Lynch       0.40       80.00
                       document production.
   08/24/16   JCS      Review Wei complaint.                                   0.90      234.00
   08/24/16   JCS      Review motion to stay.                                  0.60      156.00
   08/24/16   JCS      Conference with M. Goldberg.                            0.40      104.00
   08/24/16   JCS      Conference with S. Wakshlag.                            0.40      104.00
   08/24/16   JCS      Conference with M. Schnapp.                             0.80      208.00
   08/24/16   JCS      Revise Citibank settlement agreement.                   0.80      208.00
   08/24/16   JCS      Review and respond to emails regarding ESI              0.40      104.00
                       protocol.
   08/24/16   SRT      Communicate with all counsel regarding requested        0.20       50.00
                       extension of time to respond to motions to dismiss.
   08/24/16   SRT      Prepare and file motion for extension of time to        0.60      150.00
                       respond to motions to dismiss.
   08/24/16   SRT      Communicate with receiver regarding                     0.20       50.00
                       correspondence to receivership entities.
   08/24/16   JK       Review Merrill Lynch production.                        0.60      150.00
   08/25/16   MD       Search dockets for Cyprus Funds and Mutual              0.70      140.00
                       Benefits civil actions by SEC bar orders pursuant to
                       settlement.
   08/25/16   AMS      Review and analyze supplemental production              5.80      725.00
                       produced by Raymond James and Merrill Lynch;
                       index documents in Case Logistix.
   08/25/16   AMS      Review and retrieve Citibank statements for Jeffrey     0.80      100.00
                       Schneider's review and analysis.
   08/25/16   JCS      Research bar order in MBC and Cyprus.                   0.40      104.00
   08/25/16   JCS      Review A. Quiros statements received from Citibank.     0.40      104.00
   08/25/16   JCS      Draft email to M. Schnapp.                              0.30       78.00
   08/25/16   JCS      Review class counsel's Rule 26.                         0.20       52.00
   08/25/16   SRT      Review order granting extension.                        0.10       25.00
   08/25/16   SRT      Review order granting extension.                        0.10       25.00
   08/26/16   JCS      Conference with M. Bloom.                               0.60      156.00
   08/26/16   JCS      Review and respond to M. Bloom and J. Dodd              0.50      130.00
                       emails.
   08/26/16   JCS      Review M. Schnapp emails.                               0.30       78.00
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                                          Professional Fees

              Atty     Description                                          Hours     Amount
   08/26/16   JCS      Review and revise motion to approve settlement.       0.90      234.00
   08/26/16   JCS      Conference with M. Schnapp.                           0.40      104.00
   08/29/16   JCS      Final review and revision to motion to approve        0.80      208.00
                       settlement.
   08/29/16   JCS      Review and respond to Receiver emails.                0.30       78.00
   08/29/16   JCS      Review and respond to M. Bloom and J. Dodd            0.50      130.00
                       emails.
   08/29/16   JCS      Conference with T. Lipshitz.                          0.40      104.00
   08/29/16   JCS      Conference with M. Schnapp regarding settlement.      0.60      156.00
   08/29/16   JCS      Conference with Receiver.                             0.30       78.00
   08/29/16   JCS      Final review to settlement papers before filing.      1.40      364.00
   08/30/16   JCS      Conference with M. Schnapp.                           0.50      130.00
   08/30/16   JCS      Review and respond to T. Lipshitz email regarding     0.40      104.00
                       Citi settlement.
   08/30/16   JCS      Conference with T. Ronzetti.                          0.20       52.00
   08/30/16   JCS      Conference with M. Bloom.                             0.60      156.00
   08/30/16   SRT      Review recent mail sent to GSI offices and inspect    0.60      150.00
                       offices.
   08/31/16   MD       Continue research for Responses to Motions to         0.90      180.00
                       Dismiss (on pleading standard applicable to
                       complaint).
   08/31/16   VJW      Review documents produced by Merrill Lynch.           2.00      400.00
   08/31/16   AMS      Review documents produced by Merrill Lynch.           2.10      262.50
   08/31/16   AMS      Review document production; research wire             2.90      362.50
                       transfers, emails regarding anti-money laudering;
                       report to Jeffrey Schneider regarding findings.
   08/31/16   AMS      File and organization management.                     2.20      275.00
   08/31/16   JCS      Attention to issues regarding Citibank settlement.    0.60      156.00
   08/31/16   JCS      Review T. Ronzetti letter requesting documents.       0.10       26.00
   08/31/16   JCS      Email D. Gordon regarding same.                       0.20       52.00
   08/31/16   JCS      Conference with S. Wakshlag.                          0.20       52.00
   08/31/16   JCS      Draft letter to D. Gordon.                            0.10       26.00
   08/31/16   JCS      Review and revise joint scheduling report.            0.80      208.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   08/31/16   JCS      Review W. Stenger letter to state court regarding        0.10       26.00
                       insurance and civil theft.
   08/31/16   JCS      Review motion to stay by J. Burstein.                    0.70      182.00
   08/31/16   JCS      Review Raymond James amended motion to stay.             0.10       26.00
   08/31/16   JCS      Prepare for scheduling conference with class counsel     0.90      234.00
                       and defense counsel.
   08/31/16   JCS      Attend scheduling conference with class counsel and      1.40      364.00
                       defense counsel.
   08/31/16   JCS      Review and revise Receiver's summary of Citi             0.40      104.00
                       settlement.
   08/31/16   SRT      Strategy conference regarding response to motion to      0.20       50.00
                       dismiss.
   08/31/16   SRT      Begin reviewing Raymond James' motion to dismiss.        0.20       50.00
   08/31/16   JK       Confer with V. Wilson regarding demand letter to         0.10       25.00
                       Merrill.
   09/01/16   VJW      Prepare letter to counsel for Merrill Lynch regarding    0.80      160.00
                       documents not produced in response to subpoena,
                       conferences with J. Kellogg regarding same.
   09/01/16   VJW      Review subpoenas and notes from document review.         1.00      200.00
   09/01/16   VJW      Email correspondence with J. Schneider regarding         0.20       40.00
                       Merrill Lynch document production.
   09/01/16   VJW      Call with J. Kellogg regarding Merrill Lynch's           0.10       20.00
                       response to our letter regarding subpoenas.
   09/01/16   JK       Revise correspondence to Merrill Lynch regarding         0.50      125.00
                       subpoenas; confer with Merrill Lynch attorney
                       regarding status of ESI production.
   09/01/16   JCS      Review consent order regarding Raymond James             0.40      104.00
                       and review and respond to emails regarding same.
   09/01/16   JCS      Conference with Receiver.                                0.30       78.00
   09/01/16   JCS      Review and respond to M. Bloom emails.                   0.50      130.00
   09/01/16   JCS      Review and respond to T. Lifsitz emails regarding        0.30       78.00
                       emails.
   09/01/16   JCS      Attention to issues regarding Vermont joinder.           0.30       78.00
   09/01/16   JCS      Review and respond to emails regarding Merrill           0.40      104.00
                       production.
   09/01/16   JCS      Conference with J. Kellogg regarding same.               0.20       52.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   09/01/16   AMS      Review and analyze document production regarding         2.10      262.50
                       forensic tracing of funds.
   09/02/16   MD       Analyze Motion to Dismiss filed by Raymond James         5.10    1,020.00
                       (.7); continue research for response to various
                       Motions to Dismiss Complaint (4.4).
   09/02/16   VJW      Email correspondence with J. Schneider re calls          0.20       40.00
                       about subpoena search terms.
   09/02/16   AMS      Review bank statements; continue analysis and work       5.30      662.50
                       on bank reconcilation spreadsheet.
   09/05/16   JCS      Review and respond to emails regarding Citibank          0.50      130.00
                       publication efforts.
   09/06/16   MD       Finish research in support of forthcoming response(s)    5.10    1,020.00
                       to Motions to Dismiss and highlight, organize, and
                       summarize relevant case law; send summary of
                       findings and copies of cases to Stephanie Traband.
   09/06/16   SRT      Communicate with Ms. Matregano regarding return of       0.20       50.00
                       copiers.
   09/06/16   JCS      Review banner ad regarding publication of Citibank       0.10       26.00
                       settlement.
   09/06/16   JCS      Review and revise notices of settlement in pending       0.80      208.00
                       cases.
   09/06/16   JCS      Review motion to strike joinder.                         0.20       52.00
   09/06/16   JCS      Review scheduling order.                                 0.20       52.00
   09/06/16   JCS      Review Wei notice of dismissal.                          0.10       26.00
   09/06/16   JCS      Attend conference call with counsel regarding joint      0.50      130.00
                       scheduling report.
   09/06/16   JCS      Conference with T. Ronzetti.                             0.20       52.00
   09/06/16   JCS      Draft email to Gordon regarding package issues.          0.30       78.00
   09/06/16   AMS      Retrieve case law in support of motion to dismiss for    1.60      200.00
                       Jeffrey Schneider's review and analysis.
   09/06/16   AMS      Strategize with Jeffrey Schneider regarding Raymond      0.20       25.00
                       James and Merrill Lynch.
   09/06/16   AMS      Continue forensic analysis and work on bank              1.60      200.00
                       reconstruction.
   09/07/16   VJW      Research regarding common interest doctrine and          0.70      140.00
                       the attorney-client privilege.
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                                         Professional Fees

              Atty    Description                                               Hours     Amount
   09/07/16   VJW     Draft search terms for the Merrill Lynch and HSBC          2.80      560.00
                      productions; review subpoenas and production from
                      Merrill Lynch.
   09/07/16   VJW     Conferences with J. Kellogg regarding search terms         0.30       60.00
                      for Merrill Lynch and HSBC productions.
   09/07/16   VJW     Call with N. Annunziata at HSBC regarding                  0.20       40.00
                      subpoena, production process, and search terms.
   09/07/16   VJW     Prepare letter and send to N. Annunziata at HSBC           0.30       60.00
                      regarding subpoena and search terms.
   09/07/16   VJW     Prepare letter and send to S. Rodriguez regarding          0.40       80.00
                      Merrill Lynch subpoena and search terms, email
                      correspondence re same.
   09/07/16   VJW     Call with S. Rodriguez regarding Merrill Lynch             0.40       80.00
                      subpoenas, production process, and search terms.
   09/07/16   VJW     Follow up email to S. Rodriguez confirming phone           0.20       40.00
                      call discussion of Merrill Lynch production timing.
   09/07/16   VJW     Call with J. Schneider regarding common interest           0.30       60.00
                      doctrine and the attorney-client privilege; short email
                      memorandum regarding same.
   09/07/16   VJW     Email correspondence with J. Schneider regarding           0.20       40.00
                      following up with A. Annunziata on HSBC subpoena.
   09/07/16   SRT     Review research for response to motions to dismiss         1.50      375.00
                      and outline response.
   09/07/16   JCS     Review final joint scheduling report and order.            0.80      208.00
   09/07/16   JCS     Attention to issues regarding Vermont notices.             0.40      104.00
   09/07/16   JCS     Review Judge Lenard order.                                 0.10       26.00
   09/07/16   JCS     Review Mallah Furman index of documents.                   0.30       78.00
   09/07/16   JCS     Review and respond to emails regarding Vermont             0.30       78.00
                      notices.
   09/07/16   AMS     Review and analyze document production; continue           2.40      300.00
                      forensic analysis.
   09/08/16   JCS     Review common interest cases.                              0.80      208.00
   09/08/16   JCS     Review and respond to emails regarding ESI search          0.40      104.00
                      terms for Receiver subpoena.
   09/08/16   JCS     Review and respond to D. Corbishley emails                 0.40      104.00
                      regarding Raymond James production.
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                                          Professional Fees

              Atty     Description                                            Hours     Amount
   09/08/16   JCS      Review and respond to emails regarding counsel for      0.30       78.00
                       investors.
   09/09/16   VJW      Email correspondence with J. Schneider regarding        0.20       40.00
                       Merrill Lynch statements for Jay Construction
                       Management.
   09/09/16   VJW      Review Merrill Lynch statements for Jay Construction    0.30       60.00
                       Management.
   09/09/16   JK       Review Confidentiality Agreement.                       0.20       50.00
   09/09/16   SRT      Continue working on response to motions to dismiss.     2.00      500.00
   09/09/16   SRT      Review notice of supplemental authority and attached    0.20       50.00
                       case.
   09/09/16   JCS      Conference with M. Bloom.                               0.50      130.00
   09/09/16   JCS      Review and respond to counsel's emails regarding        0.40      104.00
                       joinders in Raymond James motion to stay.
   09/09/16   JCS      Review and respond to L. D' Agostano emails.            0.20       52.00
   09/09/16   JCS      Analyze flow of funds from AnC Bio account.             1.70      442.00
   09/09/16   JCS      Review Merrill account statement.                       0.80      208.00
   09/09/16   JCS      Conference with receiver and S. Wakshlag.               0.50      130.00
   09/11/16   SRT      Continue working on response to motions to dismiss.     3.00      750.00
   09/12/16   VJW      Emails with S. Rodriguez approving application of       0.20       40.00
                       search terms.
   09/12/16   AMS      Numerous discussions with JP Morgan Chase               0.10       12.50
                       regarding subpoena.
   09/12/16   AMS      Conference with Jeffrey Schneider regarding Merrill     0.10       12.50
                       Lynch transfers.
   09/12/16   AMS      Review and analyze document production; prepare         5.80      725.00
                       bank reconstruction with respect to Jay Construction
                       account at Merrill Lynch.
   09/12/16   JCS      Conference with T. Lipsitz and P. Aellio regarding      0.70      182.00
                       investor concerns.
   09/12/16   JCS      Conference with T. Lipsitz regarding email database.    0.20       52.00
   09/12/16   JCS      Review and respond to emails from investor.             0.30       78.00
   09/12/16   JCS      Analyze flow of funds from JP Morgan Chase to           2.40      624.00
                       Citibank collateral account.
   09/12/16   JCS      Review and respond to S. Wakshlag emails                0.20       52.00
                       regarding Motion to Strike Receiver's joinder.
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   09/12/16   JCS      Conference with Receiver and investors in Phase VII       0.70      182.00
                       regarding distribution of Citibank settlement.
   09/12/16   AMS      Review wire transfers relating to Merrill for purposes    1.00      125.00
                       of tracing of assets.
   09/12/16   SRT      Continue working on response to motion to dismiss.        3.00      750.00
   09/13/16   AMS      Conference with HSBC regarding status of document         0.10       12.50
                       request.
   09/13/16   AMS      Continue working on forensic analysis regarding           4.10      512.50
                       Merrill Lynch transfers in preparation for Oct. 22nd
                       hearing.
   09/13/16   AMS      Conference with Jason Kellogg regarding document          0.20       25.00
                       review and production.
   09/13/16   VJW      Email from S. Rodriguez regarding Merrill Lynch           0.10       20.00
                       production.
   09/13/16   JK       Review documents produced by Peoples Bank.                0.80      200.00
   09/13/16   JCS      Review People's response to subpoena.                     0.20       52.00
   09/13/16   JCS      Conference with R. Villasante regarding investor suit.    0.40      104.00
   09/13/16   JCS      Conference with T. Coffin.                                0.20       52.00
   09/13/16   JCS      Review investor document response to Burstein             0.60      156.00
                       motion to stay.
   09/13/16   JCS      Review Citakovic response to motion to stay.              0.50      130.00
   09/13/16   JCS      Strategize with J. Kellogg regarding People's             0.30       78.00
                       documents.
   09/13/16   JCS      Conference with T. Ronzetti regarding hard drive.         0.20       52.00
   09/13/16   JCS      Conference with S. Kapila regarding Raymond               0.50      130.00
                       James.
   09/13/16   JCS      Conference with D. Gordon regarding privilege             0.30       78.00
                       issues.
   09/13/16   JCS      Draft email to Reciever.                                  0.30       78.00
   09/13/16   AMS      Review People's United Bank response regarding            0.10       12.50
                       subpoena; confer with Jeffrey Schneider regarding
                       same.
   09/13/16   AMS      Strategize with Jeffrey Schneider and Jason Kellogg       0.30       37.50
                       regarding People's United Bank.
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   09/13/16   SRT      Continue drafting motion to dismiss and consult           8.50    2,125.00
                       opposing counsel regarding extension of briefing
                       schedule.
   09/14/16   AMS      Review and analyze bank statements produced by            2.10      262.50
                       Merrill (9); work on forensic analysis and tracing of
                       funds for Q Resorts in preparation for October
                       hearing (1.2).
   09/14/16   JCS      Conference with R. Villasante regarding investor          0.40      104.00
                       claim.
   09/14/16   SRT      Finish draft of response to motion to dismiss.            5.00    1,250.00
   09/14/16   SRT      Prepare motion for extension of briefing schedule and     0.60      150.00
                       communicate with all opposing counsel regarding
                       same.
   09/15/16   AMS      Upload documents produced by Merrill Lynch, HSBC,         0.70       87.50
                       and People's Bank.
   09/15/16   AMS      Prepare notebook containing index of documents            2.40      300.00
                       produced, subpoenas, and relevant pleadings for
                       Jason Kellogg's review and analysis.
   09/15/16   AMS      Review documents produced by J.P. Morgan Chase            4.40      550.00
                       regarding $10M transfer.
   09/15/16   MD       Draft proposed order granting extension of briefing       0.40       80.00
                       schedule for motions to dismiss.
   09/15/16   VJW      Review emails regarding Merrill Lynch production.         0.30       60.00
   09/15/16   JK       Review documents produced by Merrill Lynch; review        0.60      150.00
                       documents produced by Raymond James.
   09/15/16   JCS      Review and respond to S. Wakshlag emails                  0.40      104.00
                       regarding ruling in Motion to Stay.
   09/15/16   JCS      Review orders on Motions to Stay.                         0.20       52.00
   09/15/16   JCS      Review response to A. Quiros and J. Burstein              2.40      624.00
                       Motions to Dismiss.
   09/15/16   JCS      Conference with S. Traband regarding revisions to         0.40      104.00
                       same.
   09/15/16   JCS      Attention to issues related to production from Merrill    0.40      104.00
                       Lynch.
   09/15/16   SRT      Conference regarding revisions to response in             0.30       75.00
                       opposition to motions to dismiss.
   09/15/16   SRT      Coordinate filing motion to extend briefing schedule      0.30       75.00
                       and proposed order.
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                                         Professional Fees

              Atty     Description                                             Hours     Amount
   09/16/16   JCS      Review and respond to P. Aiello emails regarding         0.60      156.00
                       Phase VII.
   09/16/16   JCS      Revise Vermont joinder.                                  0.30       78.00
   09/16/16   JCS      Review and revise motion to appear.                      0.30       78.00
   09/16/16   JCS      Review and respond to B. Martinez emails regarding       0.30       78.00
                       privilege documents.
   09/16/16   JCS      Conference call with T. Ronzetti regarding email         0.20       52.00
                       hard-drive.
   09/16/16   JCS      Conference with J. Robbins regarding Wei joinder.        0.20       52.00
   09/16/16   JCS      Review M. Piecak letter.                                 0.10       26.00
   09/16/16   AMS      Review documents produced by J.P. Morgan Chase.          1.80      225.00
   09/16/16   AMS      Review wire transfers and bank statements for            0.80      100.00
                       tracing of assets.
   09/16/16   AMS      Work on forensic analysis and flow of funds              2.60      325.00
                       regarding J.P. Morgan Chase.
   09/16/16   SRT      Review order denying motion to extend briefing           0.40      100.00
                       schedule and strategize for preparation of response
                       to Raymond James' motion to dismiss.
   09/18/16   SRT      Make additional edits to the response to motions to      1.30      325.00
                       dismiss filed by Messrs. Quiros and Burstein and
                       communicate with Mr. Goldberg regarding same.
   09/18/16   SRT      Begin working on response to motion to dismiss filed     5.10    1,275.00
                       by Raymond James.
   09/18/16   JCS      Conference with R. Critchlow and S. Wakshlag.            0.50      130.00
   09/19/16   MD       Search for case law regarding separation of receiver     2.60      520.00
                       and SEC (.9); analyze and proofread draft briefs in
                       opposition to Motions to Dismiss and applicability of
                       pertinent case law and discuss same with S. Traband
                       (1.7).
   09/19/16   SRT      Make final revisions to response to motions to           1.10      275.00
                       dismiss filed by Quiros and Burstein and file
                       response.
   09/19/16   SRT      Complete draft of response in opposition to motion to    7.50    1,875.00
                       dismiss filed by Raymond James and communicate
                       with Receiver regarding same.
   09/19/16   SRT      Review response in opposition to Raymond James'          0.70      175.00
                       motion to dismiss and file same.
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                                          Professional Fees

              Atty    Description                                             Hours     Amount
   09/19/16   AMS     Work on forensic analysis and tracing of funds.          2.60      325.00
   09/19/16   AMS     Review documents produced by Merrill Lynch;              2.50      312.50
                      continue working on tracing and flow of funds.
   09/19/16   AMS     Work on bank reconstruction and tracing of assets.       1.30      162.50
   09/20/16   VJW     Conference with J. Kellogg regarding Merrill Lynch       0.10       20.00
                      production review.
   09/20/16   JCS     Review and respond to S. Cosgrove email regarding        0.10       26.00
                      Motion to Dismiss.
   09/20/16   JCS     Review Vermont order regarding motion to stay.           0.10       26.00
   09/20/16   JCS     Review J. Durrant letter and review and respond to       0.40      104.00
                      emails regarding same.
   09/20/16   JCS     Review emails from investor counsel.                     0.20       52.00
   09/20/16   JCS     Finalize review of invoices for fee application.         2.40      624.00
   09/20/16   JCS     Review S. Cosgrove and R. Levenson emails                0.30       78.00
                      regarding S. Cosgrove fee application.
   09/20/16   JCS     Review and respond to T. Lifshitz emails regarding A.    0.30       78.00
                      Quiros email production.
   09/20/16   JCS     Email J. Durrant regarding same.                         0.20       52.00
   09/20/16   JCS     Conference with J. Levitt regarding management           0.20       52.00
                      company retention.
   09/20/16   JCS     Conference with M. Davis regarding document              0.20       52.00
                      production protocol.
   09/20/16   SRT     Review A. Quiros motion to extend time for reply in      0.10       25.00
                      support of motion to dismiss.
   09/21/16   VJW     Review Complaint, deposition transcripts, and            2.10      420.00
                      declaration of M. Pieciak.
   09/21/16   VJW     Review 9/14/16 production from Merrill Lynch;            4.90      980.00
                      Highlight key documents and financial statements.
   09/21/16   JCS     Conference with R. Villasante.                           0.30       78.00
   09/21/16   JCS     Review reply regarding Receiver's joinder.               0.40      104.00
   09/21/16   JCS     Review Judge Lenard order regarding extension.           0.10       26.00
   09/21/16   JCS     Prepare for call with B. Martinez and B. Stenger         0.50      130.00
                      regarding privilege issues.
   09/21/16   JCS     Attend same.                                             0.30       78.00
   09/21/16   JCS     Draft email regarding same.                              0.30       78.00
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                                           Professional Fees

              Atty     Description                                             Hours     Amount
   09/21/16   JCS      Conference with R. Villasante regarding individual       0.50      130.00
                       claimants.
   09/21/16   JCS      Conference with S. Wright regarding S. Wakshlag          0.20       52.00
                       tour of resort.
   09/21/16   JCS      Review W. Stenger injunction.                            0.20       52.00
   09/21/16   JCS      Conference call with N. Surgeon.                         0.30       78.00
   09/21/16   AMS      Review documents produced by Raymond James.              1.30      162.50
   09/21/16   AMS      Review documents produced by People's Bank.              1.80      225.00
   09/21/16   AMS      Attention to issues regarding missing documents          1.20      150.00
                       from Citibank (.4); correspond with counsel for
                       Citibank (.1); import Citibank's production in Case
                       Logistix (.7).
   09/21/16   AMS      Continue review and analysis of bank statements          3.20      400.00
                       (People's Bank, Merrill, and Raymond James); work
                       on bank reconstruction and tracing of funds.
   09/21/16   SRT      Communicate with Mr. Gordon and McQuilkin trailer        0.50      125.00
                       from Opa-locka warehouse.
   09/21/16   SRT      Conference with Robert Scwarz regarding collection       0.30       75.00
                       efforts by Kollel regarding Opa-Locka warehouse.
   09/22/16   MD       Search Raymond James document production for             0.50      100.00
                       documents relating to Stateside per M. Goldberg's
                       request; send responsive documents to J. Schneider.
   09/22/16   VJW      Finish review of key documents from 9/14/16 Merrill      0.50      100.00
                       Lynch production.
   09/22/16   VJW      Confer with J. Schneider regarding key documents         0.20       40.00
                       from 9/14/16 Merrill Lynch production.
   09/22/16   JCS      Meeting with V. Wilson regarding Merrill documents.      0.20       52.00
   09/22/16   JCS      Attention to issues regarding boat trailer retrieval.    0.30       78.00
   09/22/16   JCS      Final review of confidentiality order and ESI            1.10      286.00
                       stipulation.
   09/22/16   JCS      Review and respond to emails regarding production        0.40      104.00
                       of emails.
   09/22/16   JCS      Draft response to J. Durrant letter.                     0.40      104.00
   09/22/16   JCS      Review forensic analysis regarding JP Morgan Chase       0.90      234.00
                       funds sent to Citibank.
   09/22/16   JCS      Conference call with T. Lipsitz and T. Ronzetti          0.10       26.00
                       regarding email segregation.
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                                           Professional Fees

              Atty     Description                                              Hours     Amount
   09/22/16   JCS      Conference with S. Kapila regarding stateside             0.30       78.00
                       damages.
   09/22/16   AMS      Strategize with Jeffrey Schneider regarding tracing of    0.40       50.00
                       assets and findings.
   09/22/16   AMS      Prepare for meeting with Jeffrey Schneider regarding      1.40      175.00
                       findings and tracing of funds.
   09/22/16   AMS      Review documents produced by People's Bank.               1.90      237.50
   09/22/16   AMS      Review documents produced by JP Morgan.                   2.10      262.50
   09/22/16   AMS      Prepare flow of funds chart showing transfers,            2.70      337.50
                       amounts, and date of transfers in preparation for
                       meeting with Linda Jackson.
   09/22/16   SRT      Communicate with Mr. Gordon and Ms. McQuilkin             0.40      100.00
                       regarding logistics for removal of boat trailer from
                       warehouse.
   09/22/16   SRT      Review correspondence regarding privilege claimed         0.20       50.00
                       with regard to emails sent by Mr. Quiros.
   09/23/16   MD       Meet with J. Schneider, S. Traband, J. Kellogg, A.        0.80      160.00
                       Salazar, and V. Wilson regarding potential actions
                       against additional financial institutions and state of
                       document review.
   09/23/16   VJW      Conference with J. Schneider, J. Kellogg, S.              1.00      200.00
                       Traband, and M. Diaz-Cortes regarding strategy and
                       potential claims.
   09/23/16   VJW      Research regarding actual knowledge requirement of        2.30      460.00
                       aiding and abetting claim.
   09/23/16   VJW      Review documents from Raymond James' 9/15/16              0.70      140.00
                       production.
   09/23/16   VJW      Email correspondence regarding review of Raymond          0.20       40.00
                       James documents.
   09/23/16   JCS      Prepare for hearing on motion to stay.                    1.30      338.00
   09/23/16   JCS      Review request to produce to receiver from SEC.           0.10       26.00
   09/23/16   JCS      Review and respond to emails regarding same.              0.30       78.00
   09/23/16   JCS      Review subpoenas on Carroll and Morrison Brown.           0.30       78.00
   09/23/16   JCS      Strategize regarding origin of $10.7 in Citibank          0.90      234.00
                       collateral account.
   09/23/16   JCS      Conference with J. Durrant regarding personal             0.30       78.00
                       privilege issues.
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   09/23/16   JCS      Conference with M. Aaron regarding subpoenas.            0.20       52.00
   09/23/16   JCS      Meeting with team regarding Merrill production and       0.50      130.00
                       People's production.
   09/23/16   JCS      Conference with M. Davis regarding emails on             0.20       52.00
                       hard-drive.
   09/23/16   JCS      Review Raymond James motion to dismiss class             1.10      286.00
                       action.
   09/23/16   JCS      Review J. Burstein motion to dismiss.                    0.90      234.00
   09/23/16   JK       Review Merrill Lynch production; meet with team          1.30      325.00
                       regarding strategy.
   09/23/16   AMS      Strategize with Jeffrey Schneider regarding origin of    0.90      112.50
                       $10.7 transfer to Citibank.
   09/23/16   AMS      Attend meeting with Jeffrey Schneider, Jason             0.80      100.00
                       Kellogg, Stephanie Traband and Victoria Wilson
                       regarding Merrill and People's United.
   09/23/16   AMS      Prepare notebooks containing relevant documents          1.90      237.50
                       produced by Merrill Lynch for Jeffrey Schneider,
                       Stephanie Traband, and Victoria Wilson.
   09/23/16   AMS      Continue working on overview of flow of funds in         2.10      262.50
                       preparation for meeting with Linda Jackson.
   09/25/16   VJW      Review documents from Raymond James 9/15/16              4.20      840.00
                       production.
   09/26/16   VJW      Research and highlight cases finding "actual             2.40      480.00
                       knowledge" sufficiently plead for aiding and abetting
                       claims; review and highlight the related motions and
                       complaints in those cases; email to S. Traband
                       regarding same.
   09/26/16   VJW      Email to J. Kellogg regarding review of Raymond          0.10       20.00
                       James' 9/15/16 production.
   09/26/16   VJW      Email from A. Salazar regarding missing documents        0.20       40.00
                       from HSBC production and review subpoenas.
   09/26/16   JCS      Conference with J. Levitt.                               0.20       52.00
   09/26/16   JCS      Attention to issues regarding chart of timekeepers.      0.30       78.00
   09/26/16   JCS      Attention to issues regarding missing HSBC               0.30       78.00
                       documents.
   09/26/16   JCS      Review interrogatories on People's Bank.                 0.20       52.00
   09/26/16   JCS      Review Citakovic case management order.                  0.40      104.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   09/26/16   JCS      Review notice of intent to serve subpoenas.              0.10       26.00
   09/26/16   JCS      Review and respond to R. Klasko emails regarding         0.40      104.00
                       stateside.
   09/26/16   AMS      Review documents produced by HSBC.                       3.10      387.50
   09/26/16   AMS      Email Jason Kellogg and Jeffrey Schneider regarding      0.10       12.50
                       missing documents.
   09/26/16   AMS      Review Jay Construction bank statements produced         3.50      437.50
                       by HSBC.
   09/26/16   SRT      Review additional cases regarding actual knowledge       0.20       50.00
                       requirement for RICO claim.
   09/26/16   SRT      Communicate with Ms. McQuilkin regarding logistics       0.30       75.00
                       of retrieval of boat trailer from warehouse.
   09/26/16   SRT      Communicate Messers. Goldberg and Schwarz                0.50      125.00
                       regarding receivership asset freeze and attempts to
                       collect monies owed regarding Opa-Locka
                       warehouse.
   09/27/16   VJW      Call with J. Kellogg regarding review of Raymond         0.10       20.00
                       James' 9/14/16 production.
   09/27/16   VJW      Review and organize hot documents from Raymond           0.70      140.00
                       James' 9/14/16 production.
   09/27/16   AMS      Review document production from JP Morgan.               1.40      175.00
   09/27/16   AMS      Review documents produced by HSBC.                       1.70      212.50
   09/27/16   AMS      Index and categorize documents produced by HSBC.         0.70       87.50
   09/27/16   AMS      Work on overview chart relating to flow of funds in      3.70      462.50
                       preparation for meeting; continue review of financial
                       statements, wire transfers for purposes of drafting
                       chart.
   09/27/16   AMS      Confer with Jeffrey Schneider regarding Merrill and      0.30       37.50
                       Citibank transfers.
   09/27/16   SRT      Obtain correspondence to receivership entities and       0.60      150.00
                       inspect premises regarding banking records.
   09/28/16   MD       Begin document review of Raymond James                   2.30      460.00
                       production (RJ_003002-RJ_004555).
   09/28/16   JCS      Review and respond to J. Durrant emails regarding        0.30       78.00
                       privileges.
   09/28/16   JCS      Draft emails regarding same to Receiver.                 0.30       78.00
   09/28/16   JCS      Conference with Receiver.                                0.10       26.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   09/28/16   JCS      Conference with M. Davis.                                0.20       52.00
   09/28/16   JCS      Review A. Quiros fee application.                        0.50      130.00
   09/28/16   JCS      Review and respond to emails regarding email             0.50      130.00
                       production.
   09/28/16   JCS      Review stateside documents.                              0.80      208.00
   09/28/16   JCS      Review People's Rule 26 disclosures.                     0.30       78.00
   09/28/16   JCS      Review KYC requests to produce on People's.              0.40      104.00
   09/28/16   JCS      Conference with L. Jackson and J. Cloyd regarding        0.80      208.00
                       AnCBio investors.
   09/28/16   JCS      Conference with receiver and M. Davis regarding          0.20       52.00
                       email production.
   09/28/16   JCS      Review stateside collateral report.                      0.80      208.00
   09/28/16   AMS      Review Stateside documents relating to Raymond           2.10      262.50
                       James.
   09/28/16   AMS      Review Merrill statements (2.3); Review JP Morgan        9.20    1,150.00
                       statements (1.6); work on bank reconstruction and
                       tracing of funds (3.2); work on chart overview chart
                       relating to flow funds (2.1).
   09/29/16   MD       Continue document review of Raymond James                3.20      640.00
                       production (bates RJ_004556 to RJ_006999).
   09/29/16   VJW      Search for emails from A. Quiros; Email                  0.40       80.00
                       correspondence with J. Schneider regarding same.
   09/29/16   JCS      Analyze flow of funds to Citibank collateral account.    1.40      364.00
   09/29/16   JCS      Review and respond to M. Bloom emails regarding          0.40      104.00
                       possible objection to settlement.
   09/29/16   JCS      Draft status emails to S. Kapila regarding forensic      0.60      156.00
                       work needed.
   09/29/16   JCS      Conference with Reciever and SEC lawyers                 0.50      130.00
                       regarding subpoena.
   09/29/16   JCS      Review JP Morgan response to subpoena.                   0.10       26.00
   09/29/16   JCS      Strategize regarding same.                               0.20       52.00
   09/29/16   JCS      Conference with S. Wakshlag.                             0.80      208.00
   09/29/16   JCS      Review EB-5 legislative changes.                         0.80      208.00
   09/29/16   JCS      Conference with M. Schnapp regarding Citi docs           0.30       78.00
                       requested.
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   09/29/16   JCS      Review J. Bursein reply regarding motion to dismiss.     0.40      104.00
   09/29/16   SRT      Review Merrill Lynch documents regarding                 1.50      375.00
                       knowledge of use of land restrictions on funds and
                       strategize regarding next steps.
   09/29/16   SRT      Review recent correspondence to Jay Peak entities.       0.50      125.00
   09/29/16   AMS      Strategize with Jeffrey Schneider regarding flow         1.40      175.00
                       funds to Citibank.
   09/29/16   AMS      Continue review of document production.                  1.80      225.00
   09/29/16   AMS      Work on bank reconstruction and flow of funds.           3.80      475.00
   09/29/16   AMS      Strategize with Jeffrey Schneider regarding forensic     0.50       62.50
                       analysis prepared in advance of meeting with Kapila.
   09/30/16   VJW      Confer with S. Traband regarding Merrill Lynch           0.20       40.00
                       document production status.
   09/30/16   VJW      Email correspondence with J. Kellogg and S.              0.20       40.00
                       Rodriguez regarding status of Merrill Lynch
                       production.
   09/30/16   JCS      Review and respond to group emails regarding             0.70      182.00
                       Citibank tracing.
   09/30/16   JCS      Continue working on same.                                1.70      442.00
   09/30/16   JK       Review documents produced by Raymond James.              4.30    1,075.00
   09/30/16   AMS      Prepare for meeting with Kapila and forensic team        5.70      712.50
                       (.7); continue working on bank reconstruction (2.8);
                       work on chart relating to flow of funds (2.2).
   09/30/16   SRT      Review replies in support of motions to dismiss filed    0.30       75.00
                       by Raymond James and Burstein.
   09/30/16   SRT      Communicate with Mr. Schwarz regarding conference        0.20       50.00
                       with Receiver about warehouses.
   09/30/16   SRT      Begin working on motion to authorize Receiver to hire    0.30       75.00
                       third party vendor to review emails.
   09/30/16   SRT      Follow up on status of production by Merrill Lynch.      0.30       75.00
   10/03/16   AMS      Prepare for meeting with Kapila and forensic team.       2.70      337.50
   10/03/16   AMS      Review Motion for Approval of Settlement.                0.20       25.00
   10/03/16   AMS      Review Order Approving Settlement and setting            0.10       12.50
                       hearing.
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                                         Professional Fees

              Atty    Description                                             Hours     Amount
   10/03/16   AMS     Prepare notebooks containing JP Morgan                   4.80      600.00
                      transactions; prepare for meeting with Linda Jackson;
                      prepare powerpoint presentation in advance of
                      meeting with Linda Jackson.
   10/03/16   JCS     Review and respond to emails to M. Bloom regarding       0.40      104.00
                      document request.
   10/03/16   JCS     Prepare for meetings with S. Kapila regarding            1.30      338.00
                      citibank hearing.
   10/03/16   JCS     Attend meeting with S. Kapila.                           1.40      364.00
   10/03/16   JCS     Review J. Burstein motion.                               0.10       26.00
   10/03/16   JCS     Review M. Aron and D. Corbishley letters regarding       0.90      234.00
                      discovery.
   10/03/16   JCS     Review Raymond James reply.                              0.60      156.00
   10/03/16   SRT     Communicate with Ms. McQuilkin and Mr. Gordon            0.30       75.00
                      regarding retrieval of boat trailer from Opa Locka
                      warehouse.
   10/04/16   AMS     Attend meeting with Jeffrey Schneider and Linda          2.60      325.00
                      Jackson, Esq.
   10/04/16   VJW     Review email correspondence from S. Rodriguez            0.30       60.00
                      regarding Merrill Lynch production search term
                      results, review attachments outlining search term
                      hits.
   10/04/16   VJW     Review email correspondence regarding document           0.20       40.00
                      productions in Daccache vs. Raymond James.
   10/04/16   AMS     Review financial statements in advance of meeting        1.90      237.50
                      with Linda Jackson and Jeffrey Schneider.
   10/04/16   AMS     Prepare and image documents produced by Merrill          2.10      262.50
                      Lynch,HSBC, and People's Bank to produce to
                      Kimberly Matregrano at Akerman.
   10/04/16   AMS     Prepare chart summarizing source of funds to fund        2.80      350.00
                      Citibank collateral for line of credit in advance of
                      meeting with Linda Jackson.
   10/04/16   JCS     Review email list regarding pulled emails.               0.80      208.00
   10/04/16   JCS     Prepare for meeting with L. Jackson regarding            1.90      494.00
                      AncBio investor.
   10/04/16   JCS     Attend meeting with L. Jackson regarding AncBio          2.60      676.00
                      investors.
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                                         Professional Fees

              Atty    Description                                               Hours     Amount
   10/04/16   JCS     Conference call with R. Levenson regarding email           0.20       52.00
                      production.
   10/04/16   JCS     Review and respond to M. Bloom's emails.                   0.40      104.00
   10/04/16   JCS     Conference call with M. Bloom.                             0.30       78.00
   10/04/16   JCS     Review and respond to T. Ronzetti's emails regarding       0.30       78.00
                      class certification.
   10/04/16   JCS     Review Raymond James answer to interrogatories.            0.30       78.00
   10/04/16   JCS     Review reply regarding motion to dismiss by                0.90      234.00
                      Raymond James.
   10/04/16   JCS     Numerous conference calls with M. Davis regarding          0.40      104.00
                      email production.
   10/04/16   JCS     Conference call with R. Levenson regarding email           0.20       52.00
                      production.
   10/04/16   JCS     Review Data Delivery Standards.                            0.30       78.00
   10/04/16   SRT     Communicate with Ms. McQuilkin and Mr. Gordon              0.60      150.00
                      regarding boat trailer retrieval and prepare for same.
   10/04/16   SRT     Prepare motion for authority to hire third party vendor    1.00      250.00
                      to review privileged emails.
   10/04/16   SRT     Review correspondence regarding parameters for             0.20       50.00
                      Merrill Lynch production.
   10/05/16   AMS     Multiple conferences with Melissa Davis, Kevin             0.60       75.00
                      McCoy, and Jeffrey Schneider regarding People's.
   10/05/16   AMS     Review documents produced by People's Bank (2.8);          6.50      812.50
                      analyze transfers from People's Jaypeak
                      Biomedical/ANC Bio account (2.2); prepare notebook
                      for Jeffrey Schneider's review and analysis in
                      advance of meeting with Linda Jackson (1.1); review
                      documents produced by Citibank in preparation for
                      meeting with Linda Jackson (.4)
   10/05/16   VJW     Confer with A. Salazar regarding Peoples Bank              0.80      160.00
                      production; Review documents from production.
   10/05/16   VJW     Emails with J. Schneider and S. Traband regarding          0.40       80.00
                      Merrill Lynch search terms; Call with S. Rodriguez
                      and follow-up email re same.
   10/05/16   JCS     Review RJ response to motion to avoid appearance           0.40      104.00
                      at case management conference.
   10/05/16   JCS     Review reply regarding motion for telephonic               0.20       52.00
                      appearance.
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                                         Professional Fees

              Atty    Description                                              Hours     Amount
   10/05/16   JCS     Conference with M. Bloom regarding hearing on             0.20       52.00
                      settlement motion.
   10/05/16   JCS     Review M. Davis email with enclosures regarding           0.10       26.00
                      email production.
   10/05/16   JCS     Review and respond to S. Wakshlag emails                  0.20       52.00
                      regarding debt on hotel.
   10/05/16   JCS     Attention to issues regarding Merrill search terms.       0.50      130.00
   10/05/16   SRT     Follow up on status of document production from           0.20       50.00
                      financial institutions.
   10/05/16   SRT     Revise motion to authorize retention of third party       0.20       50.00
                      vendor to review documents for privilege.
   10/05/16   SRT     Conference with partners involved in boat trailer         0.60      150.00
                      pickup and participate in advising parties that pickup
                      will be postponed.
   10/06/16   VJW     Email correspondence regarding document                   0.10       20.00
                      productions.
   10/06/16   AMS     Review and analyze documents produced by                  1.40      175.00
                      People's United Bank.
   10/06/16   AMS     Work on bank reconstruction tracing of funds              2.80      350.00
                      regaridng Jay Peak Biomedical Research at People's
                      United.
   10/06/16   JCS     Review Gonzalez Calero order regarding case               0.10       26.00
                      management conference.
   10/06/16   JCS     Review proposed legislative changes in regards to         1.40      364.00
                      Phase VII investors.
   10/07/16   AMS     Continue review of documents produced by People's         3.20      400.00
                      United.
   10/07/16   AMS     Work on bank reconstruction regarding Jay Peak            2.10      262.50
                      Biomedical at People's United in advance of meeting
                      with Linda Jackson.
   10/07/16   JCS     Review M. Davis email attachments regarding email         0.40      104.00
                      production to the SEC.
   10/07/16   JCS     Begin preparing for hearing on Citibank motion.           2.30      598.00
   10/07/16   SRT     Review Quiros's reply in support of motion to dismiss.    0.30       75.00
   10/08/16   JCS     Review S. Kapila charts and review and respond to         0.60      156.00
                      emails regarding same.
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                                          Professional Fees

              Atty     Description                                               Hours     Amount
   10/08/16   JCS      Review Class plaintiffs response to Raymond James          1.50      390.00
                       motion to dismiss.
   10/10/16   AMS      Prepare for meeting with Jeffrey Schneider in              6.00      750.00
                       advance of meeting with Sonnet Kapila and Linda
                       Jackson (1.4); attend meeting with S. Kapila and M.
                       Davis regarding forensic work related to Citibank
                       setttlement (1.0); review Kapila affidavit (.4); review
                       flow of funds chart prepared by Kapila (.2); prepare
                       documents in advance of meeting with Kapila (.8);
                       prepare documents in advance of meeting with Linda
                       Jackson (1.0); assist Kapila team with document
                       preparation (.4); Attend meeting regarding objections
                       to Citi settlement (1.5).
   10/10/16   MD       Continue reviewing documents produced by                   1.40      280.00
                       Raymond James (Bates RJ_007000-RJ_008345).
   10/10/16   VJW      Email correspondence with J. Kellogg regarding             0.10       20.00
                       document review meeting.
   10/10/16   VJW      Email correspondence and call with J. Schneider and        0.30       60.00
                       S. Traband regarding Merrill Lynch accounts.
   10/10/16   JCS      Prepare for meetings with S. Kapila and L. Jackson.        1.40      364.00
   10/10/16   JCS      Attend meeting with S. Kapila and M. Davis regarding       0.60      156.00
                       forensic work related to Citibank.
   10/10/16   JCS      Attend meeting with L. Jackson regarding objections        1.80      468.00
                       to Citi Settlement.
   10/10/16   JCS      Review and respond to Receiver and S. Wakshlag             0.40      104.00
                       emails regarding value of Jay Peak.
   10/10/16   JCS      Review attachments to S. Wakshlag emails.                  0.20       52.00
   10/10/16   JCS      Conference with T. Lipfsitz.                               0.20       52.00
   10/10/16   JCS      Review A. Quiros reply regarding motion to dismiss.        0.90      234.00
   10/10/16   JCS      Review and respond to Receiver emails regarding            0.40      104.00
                       possible objections to Citi Settlement.
   10/10/16   JCS      Draft notice of compliance with Citi Settlement.           0.80      208.00
   10/10/16   JCS      Conference with Reciever.                                  0.40      104.00
   10/10/16   JCS      Review investor objection.                                 0.30       78.00
   10/10/16   JK       Review Raymond James documents.                            0.50      125.00
   10/10/16   SRT      Conference regarding strategy pertaining to Merrill        0.30       75.00
                       Lynch.
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                                           Professional Fees

              Atty     Description                                                 Hours     Amount
   10/10/16   SRT      Review Daccache motions to dismiss and amended               0.50      125.00
                       complaint.
   10/11/16   MD       Continue reviewing documents produced by                     1.30      260.00
                       Raymond James (Bates RJ_008345-RJ_009070).
   10/11/16   MD       Confer with J. Schneider regarding objections to             2.40      480.00
                       Motion on Citibank Settlement, analyze objections
                       thereto, and retrieve case law cited in objections
                       (1.1); meet with S. Traband, J. Kellogg, V. Wilson,
                       and A. Salazar regarding status of document review
                       (.5); meet with A. Salazar regarding document
                       management and reconciling different and mixed
                       productions from various parties and analyze folders
                       in CaseLogistix (.8).
   10/11/16   MD       Continue reviewing documents produced by                     1.60      320.00
                       Raymond James (Bates
                       RJ_Subpoena_SECvQuiros_00000001-1682).
   10/11/16   AMS      Strategize meeting with Jeffrey Schneider and team           0.60       75.00
                       regarding objections to Citi settlement.
   10/11/16   AMS      Prepare relevant pleadings and index of documents            0.70       87.50
                       produced in advance for meeting with team.
   10/11/16   AMS      Review additional documents produced by Raymond              7.10      887.50
                       James (3.4); import documents in Case Logisitx (.9);
                       strategize with JCS regarding objection (.2); review
                       objection (.1); finalize imaging .dat files to produce to
                       Kimberly Matregrano at Akerman; (2.4); draft letter to
                       Kimberly Matregrano at Akerman regarding
                       document production (.1).
   10/11/16   VJW      Conference with J. Schneider, J. Kellogg, S.                 0.50      100.00
                       Traband, M. Diaz-Cortes, and A. Salazar regarding
                       productions and document review.
   10/11/16   VJW      Follow up email to S. Rodriguez regarding Merrill            0.10       20.00
                       Lynch production.
   10/11/16   VJW      Email from J. Kellogg regarding draft BlackRock              0.10       20.00
                       subpoena.
   10/11/16   VJW      Email correspondence regarding document review               0.10       20.00
                       meeting.
   10/11/16   JCS      Strategize regarding responses to objections to Citi         0.60      156.00
                       Settlement.
   10/11/16   JCS      Finalize notice of compliance.                               0.40      104.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   10/11/16   JCS      Review and respond to L. Jackson emails.                 0.50      130.00
   10/11/16   JCS      Attention to issues regarding email production, CPA      1.30      338.00
                       documents and financial production.
   10/11/16   JCS      Review and respond to P. Aiello emails regarding Q.      0.30       78.00
                       Burke.
   10/11/16   JCS      Conference with P. Aiello.                               0.50      130.00
   10/11/16   JCS      Review phase VII objections to Citi settlement.          0.40      104.00
   10/11/16   JCS      Review and revise notice of filing declaration.          0.20       52.00
   10/11/16   JCS      Conference call with T. Ronzetti regarding               0.20       52.00
                       settlement.
   10/11/16   JCS      Conference with Receiver.                                0.20       52.00
   10/11/16   JCS      Review Ciakovic case management order.                   0.80      208.00
   10/11/16   JK       Meet with team regarding status of document review;      2.20      550.00
                       review Raymond James production.
   10/11/16   SRT      Attend conference regarding document review.             0.60      150.00
   10/12/16   MD       Continue reviewing documents produced by                 2.70      540.00
                       Raymond James (Bates
                       RJ_Subpoena_SECvQuiros_00001683-3174).
   10/12/16   AMS      Review additional documents produced by Raymond          7.80      975.00
                       James; work on index, managing and organizing
                       documents.
   10/12/16   JCS      Continued review of materials in preparation for         5.20    1,352.00
                       hearing on Citibank settlement (motion, attachments,
                       objections, S Kapila's forensic analysis, "bar order"
                       cases, and the like.
   10/12/16   VJW      Research regarding subpoenas and cost-shifting;          0.50      100.00
                       Email to J. Schneider, S. Traband, and J. Kellogg
                       regarding same.
   10/12/16   VJW      Review estimate from S. Rodriguez regarding Merrill      0.20       40.00
                       Lynch production and email correspondence
                       regarding same.
   10/12/16   JK       Review Merrill search term hits.                         0.20       50.00
   10/12/16   SRT      Communicate regarding costs sought by Merrill            0.30       75.00
                       Lynch to comply with subpoena.
   10/13/16   MD       Retrieve Order from SEC v. Quiros case and send to       0.10       20.00
                       J. Schneider per request.
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                                         Professional Fees

              Atty    Description                                             Hours     Amount
   10/13/16   VJW     Conference call with J. Kellogg and S. Rodriguez         0.50      100.00
                      regarding Merrill Lynch production.
   10/13/16   VJW     Email correspondence with A. Salazar regarding           0.40       80.00
                      Merrill Lynch accounts from July-September 2016
                      and subpoena; Review email correspondence
                      between A. Salazar and K. Matregrano regarding
                      same.
   10/13/16   VJW     Additional research regarding subpoenas and cost         1.80      360.00
                      shifting
   10/13/16   VJW     Review cost-shifting case law in preparation for call    0.30       60.00
                      with S. Rodriguez.
   10/13/16   VJW     Calls with J. Kellogg and J. Schneider regarding call    0.30       60.00
                      with S. Rodriguez.
   10/13/16   VJW     Review email correspondence with S. Rodriguez            1.00      200.00
                      regarding Merrill Lynch subpoena; prepare time line
                      regarding same; Confer with J. Kellogg regarding
                      same.
   10/13/16   AMS     Review email exchange from Merrill regarding             0.60       75.00
                      document production.
   10/13/16   AMS     Strategize with Jeffrey Schneider regarding              0.10       12.50
                      objections and hearing.
   10/13/16   AMS     Review Merrill docments regarding potential claims.      1.10      137.50
   10/13/16   AMS     Strategize with Jeffrey Schneider regarding potential    0.60       75.00
                      claims against Merrill Lynch.
   10/13/16   AMS     Review emails produced by Merrill Lynch.                 2.80      350.00
   10/13/16   JCS     Review Merrill emails and attachments regarding          0.60      156.00
                      document requests.
   10/13/16   JCS     Review and respond to L. Jackson email.                  0.50      130.00
   10/13/16   JCS     Conference with M. Bloom regarding objections and        1.30      338.00
                      hearing.
   10/13/16   JCS     Review M. Bloom outline.                                 0.10       26.00
   10/13/16   JCS     Conference call with L. Jackson.                         0.60      156.00
   10/13/16   JCS     Review investment information regarding objecting        0.90      234.00
                      group.
   10/13/16   JCS     Review and respond to emails regarding Jay Peak          0.50      130.00
                      email production.
   10/13/16   JCS     Review group VII proposed changes to final order.        0.40      104.00
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                                          Professional Fees

              Atty     Description                                              Hours     Amount
   10/13/16   JCS      Conference with R. Villasante regarding objections to     0.60      156.00
                       Citibank settlement.
   10/13/16   JCS      Review selected Merrill documents.                        1.10      286.00
   10/13/16   JCS      Conference with Receiver regarding changes to order       0.30       78.00
                       regarding AncBio objections.
   10/13/16   JCS      Conference with R. Levenson and M. Davis regarding        0.20       52.00
                       email production.
   10/13/16   JCS      Strategize regarding potential claims against third       0.60      156.00
                       parties.
   10/13/16   JK       Confer with Merrill Lynch counsel regarding status of     1.10      275.00
                       document production; research in support of motion
                       to compel.
   10/13/16   SRT      Review Merrill Lynch documents at GSI office.             2.10      525.00
   10/13/16   SRT      Conference regarding structure and history of Merrill     0.40      100.00
                       Lynch accounts.
   10/14/16   AMS      Draft Subpoena addressed to People's United Bank.         0.90      112.50
   10/14/16   AMS      Strategize with Jeffrey Schneider regarding motion        0.20       25.00
                       regarding laptop.
   10/14/16   AMS      Attend conference call with Jeffrey Schneider and         0.20       25.00
                       Robert Villasante regarding objections.
   10/14/16   AMS      Review documents produced by Mallah Furman.               2.10      262.50
   10/14/16   AMS      Review email production from Merrill Lynch.               2.80      350.00
   10/14/16   JCS      Review and respond to counsel emails regarding            0.50      130.00
                       production of receivership records.
   10/14/16   JCS      Review SEC reply regarding fee request.                   0.50      130.00
   10/14/16   JCS      Review materials from M. Bloom regarding bar              0.80      208.00
                       orders.
   10/14/16   JCS      Conference call with T. Ronzetti regarding discovery.     0.30       78.00
   10/14/16   JCS      Prepare for and attend call with Citibank counsel         1.30      338.00
                       regarding settlement hearing.
   10/14/16   JCS      Review and revise motion regarding laptop.                0.40      104.00
   10/14/16   JCS      Review and respond to emails regarding same.              0.50      130.00
   10/14/16   JCS      Conference call with R. Villasante regarding objection    0.70      182.00
                       to Citi settlement.
   10/14/16   JCS      Review and revise People's subpoena for account           0.20       52.00
                       information.
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   10/14/16   JCS      Prepare for case management conference with              0.90      234.00
                       Citibank.
   10/14/16   SRT      Conference regarding revisions to third party vendor     0.20       50.00
                       motion.
   10/16/16   JCS      Review and respond to M. Bloom and M. Schnapp            0.90      234.00
                       emails regarding settlement hearing on Citibank
                       agreement.
   10/16/16   JCS      Review and respond to L. Jackson emails regarding        0.70      182.00
                       same.
   10/16/16   JCS      Continued review of materials in preparation for         5.30    1,378.00
                       hearing.
   10/16/16   JCS      Review and respond to Receiver emails.                   0.10       26.00
   10/17/16   MD       Confer with J. Schneider regarding necessary             0.10       20.00
                       research on privileges under Vermont state law.
   10/17/16   VJW      Email correspondence regarding document review.          0.20       40.00
   10/17/16   AMS      Draft email to T. Coffin at People's United regarding    0.30       37.50
                       request for additional documents.
   10/17/16   AMS      Bates-Label documents produced by JP Morgan              1.80      225.00
                       Chase.
   10/17/16   AMS      Develop document database (review JP Morgan              2.30      287.50
                       document production and account statements) to
                       import into Case Logistix.
   10/17/16   AMS      Retrieve relevant documents produced by JP Morgan        1.80      225.00
                       for Jeffrey Schneider's review and analysis.
   10/17/16   JCS      Review and respond to emails regarding production        0.40      104.00
                       of emails to SEC.
   10/17/16   JCS      Review and revise final approval order.                  0.50      130.00
   10/17/16   JCS      Attention to issues regarding People's documents for     0.40      104.00
                       reconsideration.
   10/17/16   JCS      Review motion for discovery conference.                  0.30       78.00
   10/17/16   JCS      Review order thereon.                                    0.20       52.00
   10/17/16   JCS      Review class plaintiff's motion to compel.               0.60      156.00
   10/17/16   JCS      Review and respond to emails regarding discovery         0.60      156.00
                       disagreements in coordinated cases.
   10/17/16   JCS      Review cases regarding non-party expense to              0.60      156.00
                       production.
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                                           Professional Fees

              Atty     Description                                            Hours     Amount
   10/17/16   JCS      Conference with Receiver regarding final approval       0.40      104.00
                       order.
   10/17/16   JCS      Draft email to court.                                   0.30       78.00
   10/17/16   JCS      Travel to and from and attend hearings on Citakovic     1.70      442.00
                       case management conference.
   10/17/16   JCS      Call with all counsel from all cases regarding          0.40      104.00
                       production of Receivership records.
   10/17/16   JCS      Conference with K. Matregrano regarding document        0.20       52.00
                       repository.
   10/17/16   JCS      Review document inventory.                              0.50      130.00
   10/17/16   JCS      Review reply regarding attorneys' fees.                 0.40      104.00
   10/17/16   SRT      Conference regarding response to document               1.00      250.00
                       requests and consider strategy.
   10/17/16   JK       Revise non-party subpoenas.                             0.30       75.00
   10/18/16   MD       Research existence of accountant-client privilege       0.80      160.00
                       under Vermont law and send authority and summary
                       of same to J. Schneider.
   10/18/16   AMS      Review, index, and organize Raymond James               6.40      800.00
                       documents.
   10/18/16   JCS      Research regarding fees in Fraudulent transfer          0.40      104.00
                       actions.
   10/18/16   JCS      Review and respond to emails from counsel               0.40      104.00
                       regarding document production.
   10/18/16   JCS      Review and respond to E. Euitt emails regarding         0.30       78.00
                       laptop emails.
   10/18/16   JCS      Continued preparation for hearing on motion to          5.10    1,326.00
                       approve Citi settlement.
   10/18/16   JCS      Conference call with L. Jackson regarding withdrawal    0.40      104.00
                       of objection.
   10/18/16   JCS      Draft status email to S. Kapila regarding regarding     0.30       78.00
                       Citibank hearing.
   10/18/16   JCS      Review laptop order.                                    0.10       26.00
   10/18/16   JCS      Conference with R. Levenson regarding document          0.10       26.00
                       production.
   10/18/16   JCS      Review and respond to emails regarding same.            0.30       78.00
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                                          Professional Fees

              Atty     Description                                             Hours     Amount
   10/18/16   JCS      Review and respond to emails regarding coordinating      0.40      104.00
                       discovery.
   10/18/16   JCS      Review Quiros, Kelly and Burstein deposition notices.    0.20       52.00
   10/18/16   JCS      Draft email to People's requesting additional            0.30       78.00
                       documents.
   10/18/16   JCS      Review order.                                            0.20       52.00
   10/18/16   JCS      Discuss with Receiver.                                   0.10       26.00
   10/18/16   SRT      Prepare proposed order on motion to hire third party     0.30       75.00
                       vendor to review laptop images for privilege and file
                       motion.
   10/18/16   SRT      Conference regarding scope of material imaged on         0.20       50.00
                       laptop and whether further subpoenas are necessary
                       to retrieve information.
   10/18/16   SRT      Confirm deposition scheduling.                           0.20       50.00
   10/18/16   SRT      Prepare letter to Mr. Quiros regarding mail received     0.20       50.00
                       at GSI offices and compile mail.
   10/18/16   JK       Research non-party subpoena rules; confer with           1.30      325.00
                       Merrill Lynch attorney regarding document
                       production; draft correspondence to Merrill Lynch
                       attorney regarding same.
   10/19/16   MD       Begin reviewing Goldman Sachs document                   2.80      560.00
                       production (GOLDMAN-000001-002103).
   10/19/16   VJW      Review HSBC documents.                                   0.20       40.00
   10/19/16   JCS      Review Citi agreement regarding timing of payment.       0.30       78.00
   10/19/16   JCS      Review and respond to emails regarding email             0.40      104.00
                       extraction.
   10/19/16   JCS      Conference with M. Bloom.                                0.30       78.00
   10/19/16   JCS      Attention to issues regarding service of Citi order.     0.30       78.00
   10/19/16   JCS      Conference with M. Bloom.                                0.30       78.00
   10/19/16   JCS      Review A. Quiros response to motion to compel.           0.30       78.00
   10/19/16   JCS      Prepare for hearing on discovery matters.                0.80      208.00
   10/19/16   SRT      Begin working on update to status report.                0.10       25.00
   10/19/16   JK       Review Raymond James documents.                          0.40      100.00
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                                          Professional Fees

              Atty     Description                                            Hours     Amount
   10/20/16   MD       Finished reviewing Goldman Sachs document               4.10      820.00
                       production (GOLDMAN-002104-002836) (.6); begin
                       reviewing People's Bank production from SEC
                       (PUB_SEC_Prod-000001-003102) (3.5).
   10/20/16   VJW      Review emails regarding Merrill Lynch Production;       2.20      440.00
                       Review HSBC production.
   10/20/16   AMS      Review documents produced by Raymond James.             7.40      925.00
   10/20/16   JCS      Attention to issues regarding "data room."              0.40      104.00
   10/20/16   JCS      Conference with T. Ronzetti.                            0.20       52.00
   10/20/16   JCS      Attend hearings regarding discovery and meet with       4.60    1,196.00
                       counsel in advance regarding coordination of
                       discovery among various cases.
   10/20/16   JCS      Review M. Martinez letter.                              0.10       26.00
   10/20/16   JK       Review Jay Peak's First Request for Production to       0.20       50.00
                       Receiver.
   10/20/16   SRT      Review order on motion for attorneys' fees.             0.10       25.00
   10/21/16   MD       Attend meeting regarding discovery and strategy with    4.10      820.00
                       J. Schneider, J. Kellogg, S. Traband, V. Wilson, and
                       A. Salazar (1.6); continue reviewing documents
                       produced by People's Bank
                       (PUB_SEC_Prod-003103-005392) (2.5).
   10/21/16   VJW      Conference with J. Schneider, J. Kellogg, S.            1.80      360.00
                       Traband, M. Diaz-Cortes, and A. Salazar.
   10/21/16   VJW      Review HSBC documents; Email correspondence             4.40      880.00
                       regarding same; Follow up regarding additional
                       production.
   10/21/16   VJW      Email correspondence regarding in pari delicto and      0.50      100.00
                       damages.
   10/21/16   AMS      Meeting with Jeffrey Schneider and team regarding       1.80      225.00
                       request for production and strategy going forward.
   10/21/16   AMS      Review Raymond James document production                3.20      400.00
                       regarding response to Request to Produce.
   10/21/16   AMS      Strategize with Victoria Wilson regarding Raymond       0.10       12.50
                       James request for production.
   10/21/16   JCS      Review and respond to emails regarding discovery        0.40      104.00
                       being exchanged.
   10/21/16   JCS      Review order regarding laptop.                          0.10       26.00
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                                           Professional Fees

              Atty     Description                                              Hours     Amount
   10/21/16   JCS      Conference with M. Bloom regarding notice of filing.      0.30       78.00
   10/21/16   JCS      Draft and finalize notice of settlement to be filed in    0.30       78.00
                       investor cases.
   10/21/16   JCS      Review responses to production from Raymond               0.60      156.00
                       James.
   10/21/16   JCS      Meeting with team regarding discovery coordination        1.70      442.00
                       and production.
   10/21/16   JCS      Review selected Raymond James documents.                  1.20      312.00
   10/21/16   JCS      Conference with M. Davis regarding email production.      0.20       52.00
   10/21/16   JCS      Review and respond to T. Coffin emails regarding          0.20       52.00
                       People's documents.
   10/21/16   JK       Attend team strategy meeting regarding update and         2.00      500.00
                       discovery.
   10/21/16   SRT      Conference regarding strategy pertaining to               1.00      250.00
                       document production and responses to document
                       requests.
   10/24/16   VJW      Follow up with S. Rodriguez regarding Merrill Lynch       0.20       40.00
                       production.
   10/24/16   MD       Continue reviewing documents produced by People's         2.80      560.00
                       Bank (PUB_SEC_Prod_005393-009013).
   10/24/16   VJW      Email correspondence with J. Schneider regarding          0.20       40.00
                       HSBC documents.
   10/24/16   JCS      Attention to issues regarding HSBC production.            0.40      104.00
   10/24/16   JCS      Review and respond to S Kapila and M. Davis emails        0.60      156.00
                       regarding production of financials.
   10/24/16   JCS      Begin reviewing selected documents from the Merrill       1.80      468.00
                       Lynch production.
   10/24/16   JK       Review documents produced by Raymond James.               1.60      400.00
   10/25/16   MD       Finish reviewing documents produced by People's           3.90      780.00
                       Bank (PUB_SEC_Prod-031545-036050).
   10/25/16   MD       Draft revision to Receiver's report on section            1.40      280.00
                       pertaining to Citibank; send to J. Schneider and S.
                       Traband for review.
   10/25/16   MD       Analyze correspondence from JPMorgan regarding            0.10       20.00
                       subpoena and discuss same with S. Traband.
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                                         Professional Fees

              Atty    Description                                           Hours     Amount
   10/25/16   VJW     Review documents produced by HSBC; Email               2.20      440.00
                      correspondence with HSBC regarding additional
                      production.
   10/25/16   VJW     Conference call with J. Kellogg and D. Benevides.      0.40       80.00
   10/25/16   JCS     Review order regarding hearing before magistrate.      0.20       52.00
   10/25/16   JCS     Review request from Raymond James.                     0.10       26.00
   10/25/16   JCS     Review and revise proposed magistrate Judge O.         0.20       52.00
                      Sullivan order.
   10/25/16   JCS     Conference with T. Lifshitz regarding same.            0.30       78.00
   10/25/16   JCS     Conference with M. Davis.                              0.20       52.00
   10/25/16   JCS     Review People's answers to interrogatories.            0.30       78.00
   10/25/16   JCS     Attention to issues regarding email exporting.         0.60      156.00
   10/25/16   JCS     Review and respond to emails regarding Raymond         0.40      104.00
                      James search terms.
   10/25/16   SRT     Prepare update to interim status report.               1.00      250.00
   10/26/16   AMS     Conference with Kevin McCoy at KapilaMukamal           0.40       50.00
                      regarding discovery.
   10/26/16   VJW     Confer with A. Salazar regarding document              0.70      140.00
                      productions; Email correspondence with S. Rodriguez
                      regarding Merrill Lynch production; Review
                      documents produced by SEC.
   10/26/16   VJW     Review Peoples Bank documents produced by SEC.         3.20      640.00
   10/26/16   AMS     Review Order on Discovery Conference regarding         0.10       12.50
                      Daccache.
   10/26/16   AMS     Work on importing thousands of emails from Jay        10.50    1,312.50
                      Peak server.
   10/26/16   JCS     Conference with R. Villasante regarding temporary      0.10       26.00
                      restraining order attachments.
   10/26/16   JCS     Review and revise insert to Receiver's report.         1.90      494.00
   10/26/16   JCS     Conference call with S. Wakshlag regarding             0.80      208.00
                      resolution.
   10/26/16   JCS     Review motion to dismiss by People's of Daccache       1.20      312.00
                      action.
   10/26/16   JCS     Review affidavit in support.                           0.30       78.00
   10/26/16   JCS     Review Raymond James reply in support of motion to     0.80      208.00
                      dismiss.
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              Atty     Description                                             Hours     Amount
   10/26/16   JCS      Review Dacacche reply to People's motion to              0.80      208.00
                       dismiss.
   10/26/16   SRT      Review People's United Bank documents.                   3.00      750.00
   10/26/16   JK       Review documents produced by Raymond James.              0.20       50.00
   10/27/16   MD       Confer with J. Kellogg and A. Salazar regarding          0.90      180.00
                       issues with JP Morgan subpoena; attempt call to
                       Subpoena Processing Department at JP Morgan and
                       draft and submit amended subpoenas with correct
                       subsidiary names for production of documents.
   10/27/16   AMS      Review emails from Jay Peak; work direclty with          5.60      700.00
                       support team.
   10/27/16   JCS      Review J. Burstien reply regarding motion to dismiss.    0.80      208.00
   10/27/16   JCS      Attention to issues regarding funds divided by           0.40      104.00
                       phases.
   10/27/16   JCS      Review A. Quiros motion to dismiss Daccache action.      1.10      286.00
   10/27/16   JCS      Review documents selected from Merrill Lynch             3.10      806.00
                       production.
   10/28/16   MD       Confer with J. Schneider via telephone regarding         0.10       20.00
                       demand letter to former vendor (Air Gas).
   10/28/16   JCS      Continued review of selected productions from            1.70      442.00
                       Raymond James.
   10/28/16   JCS      Continued review of "hot docs" from Merrill Lynch        4.30    1,118.00
                       production.
   10/28/16   JCS      Review bank statements and financial statements          1.80      468.00
                       provided to Merrill.
   10/28/16   JCS      Review Raymond James response to Daccache                0.90      234.00
                       motion to compel.
   10/28/16   AMS      Work directly with support team regarding importing      7.50      937.50
                       Jay Peak emails.
   10/28/16   SRT      Continue reviewing People's United Bank documents.       1.50      375.00
   10/30/16   MD       Draft demand letter to AirGas regarding dispute with     0.90      180.00
                       tanks and contract; send same to J. Schneider for
                       review.
   10/31/16   SRT      Conference regarding toxicity of margining treasury      0.40      100.00
                       bills.
   10/31/16   JCS      Review and revise AirGas letter.                         0.40      104.00
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   Client Ref:    78539 - 003                                                November 1, 2016
   Bill # 17079                                                                      Page 96

                                        Professional Fees

              Atty    Description                                           Hours       Amount
   10/31/16   JCS     Review and respond to emails regarding production      0.40       104.00
                      of custodian email folders.
   10/31/16   JCS     Review J. Burstein motion to dismiss Citakovic         1.20       312.00
                      complaint.

                                             Fee Summary

              Name                                                  Hours               Amount
              Ana Maria Salazar                                    683.10             85,387.50
              Chad E. Lipsky                                        15.90              3,180.00
              David M. Levine                                       24.90              6,225.00
              Elsa S. Fresco                                         2.10                262.50
              Jeffrey C. Schneider                                 621.00            161,460.00
              Jason Kellogg                                         94.60             23,650.00
              Jezabel Lima                                          16.50              4,125.00
              Marcelo Diaz-Cortes                                  210.80             42,160.00
              Matthew J. McGuane                                     9.80              1,960.00
              Victor Petrescu                                       40.80              8,160.00
              Stephanie Reed Traband                               131.40             32,850.00
              Victoria J. Wilson                                    56.30             11,260.00

                                Total Fees                       1,907.20           $380,680.00

                                                 Costs

              Expenses                                                                  Amount
              Private domain in receivership website                                      44.98
              Locksmith Service                                                          435.00
              Locksmith Service                                                          342.40
              JayPeak Receivership Website/development                                 1,870.00
              Warehouse locksmith                                                        284.08
              Convert Merrill Lynch & Pershing Production                                258.92
              into load file
              Convert R. James Production to email files                                843.20
              Convert R. James Production to load file                                  212.87
              Imaging/PDF Conversion into load file                                     304.04
              Imaging CD/PDF Conversation                                               239.76
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   Client Ref:    78539 - 003                                  November 1, 2016
   Bill # 17079                                                        Page 97

                                               Costs

              Expenses                                                  Amount
              Postage                                                     19.66
              In House Duplicating                                     1,792.20
              Color Copies                                                 4.35
              Messenger                                                  271.00
              Parking                                                    208.00
              Court Fees                                               1,896.00
              Car Rental                                               1,518.84
              Taxi Service                                                 8.95
              Overnight Delivery Service                               3,411.75
              Outside Duplicating                                        133.77
              Filing Fee                                                 400.00
              Service of Process                                         800.00
              Air Fare                                                 3,448.76
              Hotel                                                    1,869.08
              Auto Mileage, Toll & Gas                                   108.47
              Westlaw Research                                         2,398.83
              Business Meals                                             805.18
              Travel Expense                                             971.34
              Searches                                                   326.10
              Recording Fee                                              220.00
                                 Total Costs                         $25,447.53

   Current Bill Total Amount Due                                    $406,127.53
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              Please return this page with remittance
                                                to
                       Levine Kellogg Lehman Schneider + Grossman LLP
                                    22nd Floor, Miami Center
                                     201 S. Biscayne Blvd.
                                      Miami, Florida 33131

   Bill #          17079
   Bill Date:      November 1, 2016
   Client Code:    78539
   Client Name:    Michael I. Goldberg, Receiver
   Matter Code:    003
   Matter Name:    Jay Peak, Inc., et al.

                                    Current Bill Total Amount Due         $406,127.53


                  Amount enclosed: ____________________________________
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                      EXHIBIT 4(c)
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                                        SEC V. Q RESORTS, ET AL
                                     CASE NO: 16-cv-21301-GAYLES
                          KAPILAMUKAMAL'S FIRST INTERIM FEE APPLICATION
                        SUMMARY OF PROFESSIONAL & PARAPROFESSIONAL TIME
                                    FOR THIS TIME PERIOD ONLY
                               April 5, 2016 THROUGH October 31, 2016

       Name                                                 Year Licensed/    Hours     Actual Rate Total Billed
                                                            Experience
    SONEET KAPILA, CPA*, CFF, CIRA, CFE, PARTNER               1983            91.40        540        49,356.00
    LESLEY JOHNSON, CPA*, CIRA, PARTNER/TAX                    1984            15.20        420         6,384.00
    MELISSA DAVIS, CPA*, CIRA, CFE, PARTNER                    2002           202.30        400        80,920.00
    JOSEPH GILLIS, CPA*, SENIOR CONSULTANT                     1981            58.80        360        21,168.00
    FRANK KESSLER, CONSULTANT                                14 YEARS          30.00        342        10,260.00
    KATHY FOSTER, TAX CONSULTANT                             30 YEARS          64.30        294        18,904.20
    KEVIN MCCOY, CPA*, CFE, CIRA, PRINCIPAL                    2012           236.90      270/3301     69,309.00
    WILLIAM FUNDERBURKE, CPA**, CFE, CONSULTANT              7 YEARS          357.50        290       103,675.00
    MARK PARISI, CPA*, CFE, CONSULTANT                         2012           156.00        270        42,120.00
    MELANIE KRING, CPA*, CFE, CONSULTANT                     8 YEARS           68.30        260        17,778.00
    KAREN FUGATE, OPERATIONS CONSULTANT                      25 YEARS          56.90        250        14,225.00
    BRETT STILLMAN, FORENSIC COMPUTER CONSULTANT                               85.00        240        20,400.00
    OSCAR DELATORRE, FORENSIC COMPUTER CONSULTANT                              55.75        240        13,380.00
    TIMOTHY SHAW, FORENSIC COMPUTER CONSULTANT                                 49.50        240        11,880.00
    MELISSA KATZ, CPA*, CVA, CFF, CONSULTANT                   2013             5.90        230         1,357.00
    CATHERINE MURCHISON, FORENSIC ANALYST                    39 YEARS          20.50        220         4,510.00
    ELLIOTT ROTHSTEIN, CONSULTANT                            30 YEARS           9.20        220         2,024.00
    GENE SULSKY, CONSULTANT                                  12 YEARS          10.10        180         1,818.00
    FRANK DIAZ-DRAGO, FORENSIC ANALYST                       2 YEARS          474.80        150        71,220.00
    KY JOHNSON, FORENSIC ANALYST                             3 YEARS            5.70        150           855.00
    RACHEL RUFFALO, FORENSIC ANALYST                         1 YEAR           348.30        150        52,245.00
    CORY LEVINE, FORENSIC ANALYST                            1 YEAR            90.40        120        10,848.00
    MARC BROWN, FORENSIC ANALYST                              2 YEAR            2.50        120           300.00

       Report Totals                                                         2,495.25    250.45       624,936.20

       Discount 50% of Travel Time per SEC Guidelines                                    240.22       (25,532.50)

                                                                                                      599,403.70



      CPA - Certified Public Accountant
      CIRA - Certified Insolvency & Restructuring Advisor
      CFE - Certified Fraud Examiner
      CFF - Certified in Financial Forensics
      CVA - Certified Valuation Analyst

       *      Regulated by the State of Florida
       **     Regulated by the State of Georgia
       1      Rate adjustment effective October 1, 2016




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                          KAPILAMUKAMAL'S FIRST INTERIM FEE APPLICATION
                      SUMMARY OF PROFESSIONAL & PARAPROFESSIONAL TIME BY
                        ACTIVITY CODE CATEGORY FOR THIS TIME PERIOD ONLY
                               April 5, 2016 THROUGH October 31, 2016

   Position                                  Name                   Hours     Blended Rate Total Billed

   BUSINESS ANALYSIS


   PARTNER                                   SONEET KAPILA           36.10       540.00        19,494.00
   PARTNER                                   MELISSA DAVIS           55.70       400.00        22,280.00
   SENIOR CONSULTANT                         JOSEPH GILLIS           42.80       360.00        15,408.00
   CONSULTANT                                FRANK KESSLER           26.50       342.00         9,063.00
   CONSULTANT                                WILLIAM FUNDERBURKE     18.50       290.00         5,365.00
   PRINCIPAL                                 KEVIN MCCOY             49.90       270.72        13,509.00
   CONSULTANT                                MARK PARISI             36.70       270.00         9,909.00
   CONSULTANT                                MELANIE KRING           32.00       260.00         8,320.00
   OPERATIONS CONSULTANT                     KAREN FUGATE            38.70       250.00         9,675.00
   IT CONSULTANT                             BRETT STILLMAN          69.00       240.00        16,560.00
   IT CONSULTANT                             OSCAR DELATORRE         51.50       240.00        12,360.00
   IT CONSULTANT                             TIMOTHY SHAW            33.50       240.00         8,040.00
   FORENSIC ANALYST                          CATHERINE MURCHISON      5.10       220.00         1,122.00
   SENIOR CONSULTANT                         ELLIOTT ROTHSTEIN        9.20       220.00         2,024.00
   SENIOR CONSULTANT                         GENE SULSKY              7.20       180.00         1,296.00
   FORENSIC ANALYST                          FRANK DIAZ-DRAGO        33.60       150.00         5,040.00

                                                                    546.00       292.06       159,465.00



   FORENSIC ACCOUNTING


   PARTNER                                   SONEET KAPILA           45.00       540.00        24,300.00
   PARTNER                                   MELISSA DAVIS          124.60       400.00        49,840.00
   CONSULTANT                                FRANK KESSLER            3.50       342.00         1,197.00
   PRINCIPAL                                 KEVIN MCCOY            163.30       302.52        49,401.00
   CONSULTANT                                WILLIAM FUNDERBURKE    324.00       290.00        93,960.00
   CONSULTANT                                MARK PARISI            102.10       270.00        27,567.00
   CONSULTANT                                MELANIE KRING           20.30       260.99         5,298.00
   OPERATIONS CONSULTANT                     KAREN FUGATE             1.20       250.00          300.00
   FORENSIC ANALYST                          CATHERINE MURCHISON     15.40       220.00         3,388.00
   SENIOR CONSULTANT                         GENE SULSKY              2.90       180.00          522.00
   FORENSIC ANALYST                          FRANK DIAZ-DRAGO       421.90       150.00        63,285.00
   FORENSIC ANALYST                          RACHEL RUFFALO         348.30       150.00        52,245.00
   FORENSIC ANALYST                          CORY LEVINE             90.40       120.00        10,848.00
   FORENSIC ANALYST                          MARC BROWN               2.50       120.00          300.00

       FORENSIC ACCOUNTING Totals                                  1,665.40      229.65       382,451.00




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                       SUMMARY OF PROFESSIONAL & PARAPROFESSIONAL TIME BY
                         ACTIVITY CODE CATEGORY FOR THIS TIME PERIOD ONLY
                                April 5, 2016 THROUGH October 31, 2016

   Position                                     Name                   Hours     Blended Rate Total Billed

   TAX ISSUES

   TAX COMPLIANCE - ADVISORY


   PARTNER                                      SONEET KAPILA             1.30      540.00           702.00
   PARTNER/TAX                                  LESLEY JOHNSON           15.20      420.00         6,384.00
   TAX CONSULTANT                               KATHY FOSTER            64.30       294.00        18,904.20
   PRINCIPAL                                    KEVIN MCCOY             12.70       270.00         3,429.00
   CONSULTANT                                   MARK PARISI               1.20      270.00           324.00
   CONSULTANT                                   MELISSA KATZ              5.90      230.00         1,357.00
   FORENSIC ANALYST                             KY JOHNSON                5.70      150.00           855.00

       TAX COMPLIANCE - ADVISORY Totals                                106.30       300.61        31,955.20



   TRAVEL

   PARTNER                                      SONEET KAPILA             9.00      540.00         4,860.00
   PARTNER                                      MELISSA DAVIS           22.00       400.00         8,800.00
   SENIOR CONSULTANT                            JOSEPH GILLIS           16.00       360.00         5,760.00
   CONSULTANT                                   WILLIAM FUNDERBURKE     15.00       290.00         4,350.00
   SENIOR CONSULTANT                            KEVIN MCCOY             11.00       270.00         2,970.00
   CONSULTANT                                   MARK PARISI             16.00       270.00         4,320.00
   CONSULTANT                                   MELANIE KRING           16.00       260.00         4,160.00
   OPERATIONS CONSULTANT                        KAREN FUGATE            17.00       250.00         4,250.00
   IT CONSULTANT                                BRETT STILLMAN          16.00       240.00         3,840.00
   IT CONSULTANT                                OSCAR DELATORRE           4.25      240.00         1,020.00
   IT CONSULTANT                                TIMOTHY SHAW            16.00       240.00         3,840.00
   FORENSIC ANALYST                             FRANK DIAZ-DRAGO        19.30       150.00         2,895.00

       TRAVEL Subtotal                                                 177.55       287.60        51,065.00

       Discount 50% Travel per SEC Guidelines                          177.55       (143.80)     (25,532.50)


       TRAVEL Total                                                     177.55      143.80        25,532.50

       Report Totals                                                  2,495.25      250.45       599,403.70




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                             SUMMARY OF REQUESTED REIMBURSEMENT OF
                                 EXPENSES FOR THIS TIME PERIOD ONLY
                                April 5, 2016 THROUGH October 31, 2016

        1.   Filing Fees                                                        0.00

        2.   Process Service Fees                                               0.00

        3.   Witness Fees                                                       0.00

        4.   Court Report and Transripts                                        0.00

        5.   Lien and Title Searches

        6.   Photocopies

                a. In-House               ( 4242 @   0.1500 )                 636.30
                b. Outside Copies         ( 0    @   0.0000 )                   0.00
        7.   Postage                                                           31.35

        8.   Overnight Delivery Charges

                a. Express Mail                                                 0.00
                b. Overnight Delivery                                         549.52
        9.   Ouside Courier/Messenger Services                                100.77

       10.   Long Distance Telephone Charges                                   31.66

       11.   Long Distance Facsimile Charges                                    0.00

       12.   Computerized Research                                              0.00

       13.   Out of District Travel

               a. Mileage                                                     807.94
               b. Parking                                                     325.50
               c. Airfare                                                   9,255.45
               d.    Accomodations                                          3,497.58
               e.    Car Rental Gas                                            56.61
               f.    Tolls                                                      0.00
               g.    Meals                                                  1,616.76
               h.    Taxi                                                      19.08
                i.   Car Rental                                             1,354.37

       14.   Other Permissible Expenses (must specify & justify)

               a.    Virtual Data Room                                         23.78
               b.    Supplies                                                 167.93
               c.    Internet Hosting (Web Site)                                0.00
               d.    Advertising                                                0.00
               e.    Storage                                                    0.00
                f.   Computer Hard Drive Supplies                           1,197.65
               g.    Locksmith                                                578.16
               h.    Lacerte                                                   90.00
                i.   Pacer                                                    170.20
                j.   Ouside Computer Services                                   0.00
               k.    Tax Return Prep, Vendor Cost                               0.00
                l.   Domain Site Renewals                                       0.00
               m.    Outside Services                                           0.00
               n.    Payments Made For Clients                                  0.00
               o.    Cost Allocation                                            0.00
               p.    Miscellaneous                                              0.00

        TOTAL EXPENSE REIMBURSEMENT REQUESTED                              20,510.61
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KapilaMukamal, LLP                                                                                                         Exhibit 3


                                                         Billing Worksheet
                                                  Friday, November 04, 2016
                                               April 5, 2016 - October 31, 2016




90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff*      Activity       Date              Rate          Hrs/Units   Amount               Description
   *SEE ATTACHED FOR STAFF LEGEND

Time

CASE ADMIN

LITIGATION SUPPORT
        KEF            459          04/12/16    250.00           5.00      1,250.00   TRAVEL TO JAY PEAK SITE. TRAVEL WITH KM TEAM TO
                                                                                      NEWPORT, VERMONT
        JEG            459          04/12/16    360.00           5.00      1,800.00   TRAVEL TO NEWPORT, VERMONT.
        MAK            459          04/12/16    260.00           5.00      1,300.00   TRAVEL FROM FORT LAUDERDALE TO NEWPORT, VT.
        MMD            459          04/12/16    400.00           5.00      2,000.00   TRAVEL TO VERMONT
        FDD            459          04/12/16    150.00           5.00       750.00    TRAVEL TO NEWPORT, VT
        MCP            459          04/12/16    270.00           5.00      1,350.00   TRAVEL TO NEWPORT, VERMONT
        SRK            459          04/12/16    540.00           5.00      2,700.00   TRAVEL.
        WWF            459          04/12/16    290.00           5.00      1,450.00   TRAVEL FROM FORT LAUDERDALE, FL TO NEWPORT, VT.
        BAS            459          04/12/16    240.00           5.00      1,200.00   TRAVEL TO BURLINGTON, VERMONT.
        TS             459          04/12/16    240.00           5.00      1,200.00   TRAVEL TO VERMONT WITH KAPILA TEAM AND
                                                                                      DISCUSSION OF PROCESS DURING TRAVEL REGARDING
                                                                                      TASK REQUIRED FOR ENGAGEMENT.
        MMD            459          04/13/16    400.00           2.00       800.00    TRAVEL TO/FROM Q BURKE.
        WWF            459          04/13/16    290.00           1.50       435.00    TRAVEL TO/FROM Q BURKE RESORT.
        MMD            459          04/14/16    400.00           2.00       800.00    TRAVEL TO/FROM Q BURKE
        FDD            459          04/14/16    150.00           3.30       495.00    TO/FROM NEWPORT, VT TO PURCHASE AN EXTERNAL
                                                                                      HARD DRIVE TO SECURE ACCOUNTING DATA. PURCHASE
                                                                                      BANKER BOXES TO PRESERVE ACCOUNTING AND EB-5
                                                                                      PAPER RECORDS
        WWF            459          04/14/16    290.00           1.50       435.00    TRAVEL TO/FROM Q BURKE RESORT.
        SRK            459          04/14/16    540.00           4.00      2,160.00   TRAVEL.
        MMD            459          04/15/16    400.00           1.00       400.00    TRAVEL TO QBURKE
        MMD            459          04/15/16    400.00           1.00       400.00    TRAVEL TO JAY PEAK
        WWF            459          04/15/16    290.00           7.00      2,030.00   TRAVEL FROM JAY PEAK RESORT TO MONTREAL
                                                                                      AIRPORT, THEN FLY TO ATLANTA.
        KEF            459          04/15/16    250.00           1.00       250.00    TRAVEL TO Q BURKE
        JEG            459          04/16/16    360.00          11.00      3,960.00   TRAVEL FROM VERMONT BACK TO FORT LAUDERDALE.
        MAK            459          04/16/16    260.00          11.00      2,860.00   TRAVEL FROM JAY PEAK, VT TO FORT LAUDERDALE, FL.
        MCP            459          04/16/16    270.00          11.00      2,970.00   TRAVEL FROM VERMONT BACK TO FORT LAUDERDALE
        KM             459          04/16/16    270.00          11.00      2,970.00   TRAVEL FROM JAY PEAK \ VERMONT TO FORT
                                                                                      LAUDERDALE.
        FDD            459          04/16/16    150.00          11.00      1,650.00   TRAVEL FROM NEWPORT, VT TO FORT LAUDERDALE, FL
        KEF            459          04/16/16    250.00          11.00      2,750.00   TRAVEL FROM JAY PEAK TO FLL
        BAS            459          04/16/16    240.00          11.00      2,640.00   TRAVEL FROM BURLINGTON, VERMONT TO FORT
                                                                                      LAUDERDALE.


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KapilaMukamal, LLP                         422

                                                         Billing Worksheet
                                                  Friday, November 04, 2016
                                               April 5, 2016 - October 31, 2016


90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units     Amount           Description

        TS             459          04/16/16    240.00          11.00       2,640.00   TRAVEL BACK FROM VERMONT TO FORT LAUDERDALE.
                                                                                       FINAL DISCUSSIONS REGARDING WHAT ELSE WAS
                                                                                       REQUIRED FOR COMPLETE REVIEW.
        MMD            459          04/16/16    400.00          11.00       4,400.00   TRAVEL FROM VERMONT BACK TO FORT LAUDERDALE,
                                                                                       FL.
        OD             459          08/12/16    240.00           1.50        360.00    TRAVEL TO/FROM KM FORT LAUDERDALE OFFICE.
                                                                                       DELIVERY OF JAY PEAK EMAIL HDD.
        OD             459          08/23/16    240.00           2.75        660.00    TRAVEL TO/FROM KM FORT LAUDERDALE TO MEET WITH
                                                                                       FBI PERSONNEL.
LITIGATION SUPPORT Totals                                      177.55      51,065.00
CASE ADMIN Totals                                              177.55      51,065.00


TAX ISSUES

TAX SERVICES - PREPARE FORMS
        KAF            111          04/13/16    294.00           0.10         29.40    TELEPHONE CONVERSATION WITH K. MATREGRANO RE:
                                                                                       M. GOLDBERG APPOINTMENT AS RECEIVER OF J PEAK
                                                                                       ENTITIES, REQUEST DATA NEEDED BY K. MATREGRANO
                                                                                       WITH K. MURCHISON
        KM             145          04/18/16    270.00           1.60        432.00    REVIEW TAX RETURNS PRODUCED BY MGMT AND
                                                                                       REVIEW TIMING AND REQUIREMENTS FOR EXTENSIONS
                                                                                       AND RECEIVERSHIP FILINGS FOR THE RECEIVERSHIP
                                                                                       ENTITIES.
        KM             145          04/22/16    270.00           1.80        486.00    REVIEW TAX RETURNS AND PREPARE SUMMARY OF
                                                                                       RETURNS PRODUCED, MISSING RETURNS AND OTHER
                                                                                       TASKS REQUIRED FOR FILING.
        KAF            145          04/26/16    294.00           2.60        764.40    PULL DATA NEEDED TO PREPARE FORMS 56, INCLUDING
                                                                                       PACER DOCKET AND MOTIONS/ORDERS, RECONCILE
                                                                                       VARIOUS ENTITY LISTS WITH ENTITY TAX DATA AND
                                                                                       WITH COURT DOCUMENTS, BEGIN PREPARATION OF
                                                                                       FORMS 56
        KAF            145          04/26/16    294.00           1.30        382.20    CONTINUE FORMS 56 PREPARATION, REVIEW K. MCCOY
                                                                                       EMAILS TO L. JOHNSON RE: ENTITIES, AND SAVE IN TAX
                                                                                       FOLDER
        SRK            145          04/26/16    540.00           0.20        108.00    FOLLOW UP ON TAX COMPLIANCE.
        KAF            145          04/27/16    294.00           3.70       1,087.80   COMPLETE FORMS 56 AND TO L. JOHNSON FOR
                                                                                       REVIEW/PROCESSING, RESEARCH RE: ENTITIES AND
                                                                                       DISCUSS WITH K. MCCOY, ADD (11) DEFENDANT'S TAX
                                                                                       FILING RESPONSIBILITIES TO TAX CONTROL FROM ALL
                                                                                       AVAILABLE INFORMATION, PREPARE FYE 04.30.16
                                                                                       FEDERAL AND VT EXTENSION FORMS
        KAF            145          04/29/16    294.00           4.90       1,440.60   ADDITIONAL RESEARCH AND PREPARATION OF
                                                                                       FOURTEEN (14) ADDITIONAL FORMS 56, ADD
                                                                                       ADDITIONAL ITEMS TO DDM, FOLLOW-UP WITH K.
                                                                                       MCCOY RE: MISSING INFORMATION
        KM             145          04/29/16    270.00           0.70        189.00    REVIEW TAX RETURN INVENTORY SCHEDULE, FORM 56
                                                                                       FILED FOR THE RECEIVERSHIP ENTITIES AND
                                                                                       OUTSTANDING RETURNS STILL REQUIRED.
        KJJ            145          05/02/16    150.00           1.20        180.00    PREPARED AND ASSEMBLED FORMS 56 FOR 11 ENTITIES
        LJJ            125          05/02/16    420.00           0.20         84.00    FINALIZE FORMS 56 FOR 11 RECEIVERSHIP ENTITIES
        KJJ            145          05/03/16    150.00           0.20         30.00    MAILED FORMS 56 (11 ENTITIES)
        KJJ            145          05/10/16    150.00           1.00        150.00    PREPARED AND ASSEMBLED FORMS 56 (6 ENTITIES)
        KJJ            145          05/24/16    150.00           0.70        105.00    PREPARED AND ASSEMBLED FORMS 56 (8 ENTITIES)


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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units   Amount           Description

        KJJ            145          05/26/16    150.00           0.20       30.00   MAILED FORMS 56 (8 ENTITIES)
        KAF            145          06/03/16    294.00           0.20       58.80   UPDATE TAX CONTROL RE: CONDO ASSOCIATION TAX
                                                                                    RETURNS, PER 06/01/16 CONVERSATION WITH M. DAVIS
                                                                                    CONCERNING STATUS OF TAX DATA
        KAF            110          06/14/16    294.00           0.40      117.60   REVIEW ENTITY/TAX CONTROL, FOLLOW UP WITH M.
                                                                                    DAVIS AND K.MCCOY RE: TAX FILING REQUIREMENTS;
                                                                                    EMAIL TRAFFIC RE: SAME
        KM             145          06/14/16    270.00           1.70      459.00   REVIEW AND RECONCILE TAX RECORDS RECEIVED AND
                                                                                    STILL OUTSTANDING. PREPARE CORRESPONDENCE TO G
                                                                                    GULISANO TO REQUEST MISSING TAX RECORDS AND TO
                                                                                    K STRAUSS TO F/U ON MISSING TAX RECORDS.
        KAF            110          06/15/16    294.00           2.50      735.00   REVIEW K.MCCOY EMAILS AND RESPONSES RE: TAX
                                                                                    FILING REQUIREMENTS AND TAX RETURN COPIES,
                                                                                    UPDATE TAX CONTROL AND EXCEL CONTROL, REQUEST
                                                                                    COPIES OF ADDITIONAL TAX RETURNS FILED BUT NOT
                                                                                    RECEIVED FROM MORRISON, BROWN ET AL CPA'S AND
                                                                                    BERKOWITZ ET AL CPA'S, SAVE EMAILS AND DOCUMENT
                                                                                    TAX FILE RE: STATUS
        KM             145          06/15/16    270.00           0.70      189.00   REVIEW OUTSTANDING TAX ISSUES, RESPONSE FROM G
                                                                                    GULISANO AND K FOSTER ABOUT ADDITIONAL
                                                                                    REQUIRED RECORDS AND FILING ISSUES.
        KAF            110          06/17/16    294.00           0.10       29.40   DISCUSS COORDINATION WITH MORRISON BROWN
                                                                                    REQUESTED BY RECEIVER WITH L. JOHNSON
        KAF            110          06/17/16    294.00           0.80      235.20   REVIEW EMAILS AND TAX RECORDS, EMAIL TO T.ARGIZ
                                                                                    AT MORRISON BROWN ET AL ("MB") TO VERIFY STATUS
                                                                                    OF 2015 TAX RETURN PREPARATION, INQUIRE RE JAY
                                                                                    PEAK, INC. 4/30/16 EXTENSION/RETURN STATUS,
                                                                                    REQUEST COPIES OF CERTAIN TAX RETURNS PREPARED
                                                                                    BY MB BUT NOT ON FILE, AND TO REQUEST COPIES OF
                                                                                    2015 TAX WORKPAPERS FOR PREPARATION OF 2016 TAX
                                                                                    RETURNS
        KM             145          06/17/16    270.00           0.60      162.00   REVIEW CORRESPONDENCE RE: STATUS OF DEFENDANT
                                                                                    AND RELIEF DEFENDANT'S TAX RETURNS AND
                                                                                    EXTENSIONS AND REQUIRED RETURNS STILL NOT
                                                                                    RECEIVED.
        KAF            110          06/20/16    294.00           0.10       29.40   REVIEW EMAIL CORRESPONDENCE CONCERNING MBAF
                                                                                    PREPARED TAX RETURNS AND KM TAX FILING
                                                                                    RESPONSIBILITIES
        KAF            110          06/20/16    294.00           0.20       58.80   DISCUSS MBAF/KM RESPONSIBILITIES WITH S.KAPILA
        KAF            110          06/20/16    294.00           1.10      323.40   EMAIL TO T.ARGIZ DETAILING ALL INFO NEEDED TO
                                                                                    PREPARE 2016 TAX RETURNS AND REQUEST SAME
        KAF            110          06/20/16    294.00           0.30       88.20   FOLLOW-UP WITH K. MCCOY RE: UNANSWERED
                                                                                    QUESTIONS RE: KM TAX PREPARATION
                                                                                    RESPONSIBILITIES
        KM             145          06/23/16    270.00           0.70      189.00   REVIEW WITH K FOSTER OUTSTANDING TAX ISSUES
                                                                                    AND RECORDS REQUIRED.
        KAF            110          06/23/16    294.00           2.10      617.40   MEET WITH K. MCCOY RE: TAX CONTROL/FILING
                                                                                    RESPONSIBILITIES (.70), EMAILS TO S. KAPILA AND K.
                                                                                    MATREGRANO RE: FILING RESPONSIBILITIES AND
                                                                                    RECORDS FOR NECS (1.0), TELEPHONE CALL WITH K.
                                                                                    MATREGRANO RE: NECS RECORDS (.10), DISCUSS
                                                                                    QUARTERLY COURT REPORTING WITH K. MCCOY (.20),
                                                                                    EMAIL TRAFFIC RE: GSI DADE COUNTY TAX AND
                                                                                    FINANCIAL RECORDS (.10)
        KM             145          06/23/16    270.00           0.90      243.00   REVIEW OUTSTANDING TAX ISSUES AND RETURNS AND
                                                                                    WORK PAPERS REQUIRED.


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        KAF            110          06/24/16    294.00           0.30       88.20   REVIEW EMAIL TRAFFIC RE: KAPILAMUKAMAL TAX
                                                                                    FILING RESPONSIBILITIES, MEET WITH SRK AND K.
                                                                                    MCCOY RE: SAME, DISCUSS NECS BOXES WITH K. MCCOY
        KM             145          06/24/16    270.00           0.60      162.00   REVIEW OUTSTANDING TAX ISSUES. CONFERENCE WITH
                                                                                    KAPILA AND K FOSTER RE: SAME. PROVIDE COMPLETE
                                                                                    BERKOWITZ PRODUCTION FOR K FOSTER REVIEW.
        KAF            110          07/05/16    294.00           1.20      352.80   TELEPHONE CALLS WITH K. MATREGRANO RE: RAYMOND
                                                                                    JAMES SETTLEMENT, REVIEW SETTLEMENT AGREEMENT
                                                                                    AND DISCUSS WITH L. JOHNSON, REVIEW L. JOHNSON
                                                                                    MEMO TO CLIENT
        KAF            110          07/06/16    294.00           0.10       29.40   REVIEW MEMO PREPARED BY L. JOHNSON RE: RAYMOND
                                                                                    JAMES SETTLEMENT
        KAF            110          07/06/16    294.00           2.30      676.20   REVIEW BERKOWITZ ET AL PRODUCTION AND TAX
                                                                                    FILES, SAVE RELEVANT DATA TO TAX FILES, EMAIL TO
                                                                                    KEN STRAUSS AT BERKOWITZ ET AL TO REQUEST TAX
                                                                                    RETURNS AND WORKPAPERS NEEDED FOR PREPARATION
                                                                                    OF RETURNS BY KM
        KAF            110          07/12/16    294.00           0.20       58.80   RESPOND TO D. DUPUIS' REQUEST FOR STATUS OF FYE
                                                                                    04/30/16 JAY PEAK, INC. EXTENSION
        KAF            110          07/12/16    294.00           0.80      235.20   EMAIL FROM T. ARGIZ RE: MORRISON BROWN ET AL
                                                                                    NOT FILING JAY PEAK INC. FYE 04.30.16 EXTENSIONS;
                                                                                    DISCUSS WITH L. JOHNSON, REQUEST FINANCIAL INFO
                                                                                    FROM G. GULISANO FOR PREPARATION OF EXTENSIONS,
                                                                                    ADDITIONAL EMAIL TRAFFIC RE: SAME
        KAF            110          07/12/16    294.00           0.30       88.20   PREPARE JAY PEAK, INC. FYE 04.30.16 FEDERAL AND VT
                                                                                    EXTENSIONS, DOCUMENT FILES RE: SAME, REQUEST
                                                                                    INFO FROM G. GULISANO RE: $750 TAX DUE WITH VT
                                                                                    EXTENSION
        KM             145          07/12/16    270.00           0.40      108.00   REVIEW EMAILS AND CORRESPONDENCE RE: TAX PREP,
                                                                                    TAX FILING AND EXTENSIONS DUE FOR JAY PEAK INC.
        KAF            110          07/13/16    294.00           0.80      235.20   CORRESPONDENCE WITH G. GULISANO RE: FYE 4/30/16
                                                                                    JAY PEAK, INC. VT EXTENSION AND PREPARE VT FYE
                                                                                    4/30/17 ESTIMATES AND VT FILING INSTRUCTIONS
        KAF            110          07/13/16    294.00           0.20       58.80   FOLLOW-UP WITH BERKOWITZ ET AL AND MORRISON
                                                                                    BROWN ET AL RE: STATUS OF TAX RETURNS AND
                                                                                    WORKPAPERS REQUESTED
        KAF            110          07/13/16    294.00           0.20       58.80   RESPOND TO M. FENAUGHTY TO VERIFY THAT KM WILL
                                                                                    PREPARE JAY PEAK, INC. FYE 4/30/16 EXTENSIONS,
                                                                                    EMAIL TO G. GULISANO TO COORDINATE FILING OF VT
                                                                                    EXTENSION (WITH TAX DUE)
        KAF            110          07/13/16    294.00           0.60      176.40   SCAN AND SAVE REVIEWED TAX EXTENSIONS AND
                                                                                    ESTIMATED PAYMENTS, EMAIL TO D. DUPUIS FOR
                                                                                    FILING, FORWARD FORM 7004 TO K. JOHNSON FOR
                                                                                    FILING
        LJJ            110          07/13/16    420.00           0.30      126.00   REVIEW FEDERAL AND VT EXTENSIONS
        KJJ            145          07/14/16    150.00           0.50       75.00   PREPARED EXTENSION LETTER AND MAILED OUT
        KAF            104          07/15/16    294.00           0.10       29.40   REVIEW AND SAVE CERTIFIED MAIL RECEIPT FOR VT FYE
                                                                                    4/30/16 JAY PEAK, INC. EXTENSION
        KAF            110          07/27/16    294.00           1.50      441.00   FOLLOW UP WITH T. ARGIZ AND M. FENAUGHTY AT
                                                                                    MORRISON BROWN ET AL AND K. STRAUSS AT
                                                                                    BERKOWITZ ET AL RE: TAX RETURNS AND WORKPAPERS
                                                                                    NEEDED FOR 2015-FWD TAX RETURN PREPARATION,
                                                                                    REVIEW KM TAX FILING REQUIREMENTS DUE 9/15/16
                                                                                    AND EMAIL TO M. DAVIS AND K. MCCOY RE: WHERE TO
                                                                                    OBTAIN INFO FOR NORTHEAST CONTRACT SERVICES
                                                                                    INC.


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        KAF            110          07/28/16    294.00           0.50       147.00    FOLLOW UP RE: MORRISON BROWN ET AL AND
                                                                                      BERKOWITZ POLLACK ET AL DOCUMENT REQUESTS,
                                                                                      TELEPHONE CALL WITH RECEIVER RE: BERKOWITZ
                                                                                      REQUEST, EMAILS TO ADVISE ALL PARTIES RE: STATUS
        KAF            110          07/29/16    294.00           1.60       470.40    CONTINUING CORRESPONDENCES (TELEPHONE CALLS
                                                                                      AND EMAILS) RE: BERKOWITZ DOCUMENT REQUEST
                                                                                      WITH RECEIVER AND BERKOWITZ ATTORNEY TO OBTAIN
                                                                                      DOCUMENTS REQUESTED.
        KAF            110          07/29/16    294.00           0.30        88.20    TELEPHONE CALL AND EMAILS WITH K. MATREGRANO
                                                                                      CONCERNING TAX DOCUMENTS
        KM             145          07/29/16    270.00           0.40       108.00    REVIEW OUTSTANDING TAX ISSUES FROM K FOSTER
                                                                                      AND ATTEND TO CORRESPONDENCE RE: SAME.
        KAF            110          08/02/16    294.00           0.10        29.40    FOLLOW-UP WITH M. FENAUGHTY AT MORRISON BROWN
                                                                                      RE: REQUESTED DOCUMENTS PROMISED FOR 8/2/16
                                                                                      AND NOT DELIVERED
        KAF            110          08/09/16    294.00           5.40      1,587.60   RETRIEVE AND DOWNLOAD REQUESTED TAX DATA
                                                                                      PROVIDED BY BERKOWITZ ET AL ON CD, DEPLOY TO
                                                                                      PROPER TAX FOLDERS AND REVIEW, EMAIL TO
                                                                                      BERKOWITZ ATTORNEY FOR DATA REQUESTED BUT NOT
                                                                                      RECEIVED; REVIEW REQUESTED TAX DATA PROVIDED BY
                                                                                      MORRISON BROWN ET AL IN PAPER FORM, REVIEW AND
                                                                                      COMPARE TO DATA ON FILE, EMAIL TO MORRISON
                                                                                      BROWN FOR ADDITIONAL DATA NEEDED BUT NOT
                                                                                      ORIGINALLY REQUESTED, COORDINATE SCANNING OF
                                                                                      PAPER DOCUMENTS; UPDATE EXCEL TAX CONTROL,
                                                                                      UPDATE TAX CONTROL SYSTEM.
        KAF            110          08/10/16    294.00           0.70       205.80    PULL COURT DOCS TO READ AND UNDERSTAND CASE
                                                                                      BEFORE PREPARATION OF 2015 TAX RETURNS
        KAF            110          08/10/16    294.00           1.50       441.00    DOWNLOAD AND SAVE/BRIEFLY REVIEW ADDITIONAL
                                                                                      MBAF TAX DATA; DOWNLOAD AND SAVE/BRIEFLY
                                                                                      REVIEW ADDITIONAL BERKOWITZ TAX DATA, DISCUSS
                                                                                      MISSING DATA WITH S. KAPILA AND EMAIL TO M.
                                                                                      STEINBERG TO CLARIFY KAPILAMUKAMAL/BERKOWITZ
                                                                                      TAX PREPARATION RESPONSIBILITIES
        KAF            110          08/20/16    294.00           1.60       470.40    REVIEW AND RESPOND TO M. STEINBERG ATTY
                                                                                      RESPONSES RE: BERKOWITZ ET AL AND KAPILAMUKAMAL
                                                                                      2015 TAX PREPARATION RESPONSIBILITIES, REQUEST
                                                                                      FYE 9/30/15 EXTENSION FOR BURKE MOUNTAIN
                                                                                      OPERATING COMPANY (PREPARED BY BERKOWITZ, ET
                                                                                      AL), EMAIL TO KAPILAMUKAMAL FORENSIC STAFF TO
                                                                                      GATHER 2015 TAX RETURN DATA FOR FOUR (4)
                                                                                      ENTITIES THAT KAPILAMUKAMAL WILL BE PREPARING
                                                                                      2015 TAX RETURNS FOR (THAT ARE DUE 9/15/16),
                                                                                      REVIEW AND DEPLOY K. JOHNSON SCAN OF MORRISON
                                                                                      BROWN ET AL PRODUCTION RECEIVED 08/05/16 (2015
                                                                                      TAX RETURNS AND WORKPAPERS)
        KM             145          08/22/16    270.00           1.70       459.00    REVIEW AVAILABLE ACCOUNTING, FINANCIAL AND BANK
                                                                                      RECORDS FOR RELIEF DEFENDANTS AND PREPARE
                                                                                      CORRESPONDENCE REQUESTING RECORDS FOR 2015
                                                                                      DATA TO PREPARE TAX RETURNS.
        KAF            110          08/23/16    294.00           0.80       235.20    REVIEW K.MCCOY CORRESPONDENCES WITH
                                                                                      BOOKKEEPER AND RECEIVER'S ATTORNEY RE: THREE (3)
                                                                                      ENTITIES AND EMAIL TO ALBERT BAROUH RE: ONE (1)
                                                                                      ENTITY FOR WHOM 2015 TAX RETURNS WILL BE
                                                                                      PREPARED BY KAPILAMUKAMAL, FOR 2015 TAX
                                                                                      INFORMATION




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        KAF            110          08/24/16    294.00           0.40       117.60    DISCUSSIONS WITH M. PARISI RE: 2015 DATA FOR
                                                                                      PREPARATION OF 2015 TAX RETURNS FOR FOUR (4)
                                                                                      ENTITIES TO BE PREPARED BY KAPILAMUKAMAL
        KAF            110          08/30/16    294.00           0.10        29.40    FOLLOW UP WITH M. PARISI RE: GSI OF DADE COUNTY
                                                                                      DATA TO BE ORGANIZED FOR TAX RETURN
                                                                                      PREPARATION
        KAF            111          08/30/16    294.00           0.30        88.20    DISCUSSION WITH R. RUFFALO RE: GSI OF DADE
                                                                                      COUNTY 2015 TAX RECORDS; REVIEW RECORDS
        KAF            111          08/31/16    294.00           0.60       176.40    RE: GSI OF DADE COUNTY - BEGIN REVIEW OF
                                                                                      DOCUMENTS SUPPLIED BY BOOKKEEPER FOR
                                                                                      PREPARATION OF 2015 TAX RETURN
        KAF            111          09/01/16    294.00           9.60      2,822.40   RESEARCH RE: (4) ENTITIES' ACTIVITIES, EINS, 2015
                                                                                      FINANCIAL DATA AVAILABILITY, AND INVOLVEMENT IN
                                                                                      THE FRAUD; PREPARE 2015 TAX RETURNS FOR GSI OF
                                                                                      DADE COUNTY, JAY CONSTRUCTION MANAGEMENT,
                                                                                      NORTH EAST CONTRACT SERVICES AND Q RESORTS.
        LJJ            110          09/04/16    420.00           1.00       420.00    REVIEW ACCOUNTING AND TAX RETURN FOR GSI OF
                                                                                      DADE CO
        LJJ            110          09/04/16    420.00           0.40       168.00    REVIEW ACCOUNTING AND TAX RETURN FOR Q
                                                                                      RESORTS, INC.
        LJJ            110          09/04/16    420.00           0.40       168.00    REVIEW ACCOUNTING AND TAX RETURN FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT
        LJJ            110          09/04/16    420.00           0.20        84.00    REVIEW ACCOUNTING AND TAX RETURN FOR NORTH
                                                                                      EAST CONTRACT SERVICES
        LJJ            110          09/06/16    420.00           1.20       504.00    REVISE TAX DISCLOSURES FOR INCLUSION IN TAX
                                                                                      RETURNS FOR 2015
        KJJ            145          09/08/16    150.00           1.20       180.00    PREPARED AND ASSEMBLED FORMS 1120S (Q RESORTS,
                                                                                      GSI, JAY CONSTRUCTION); PREPARED AND ASSEMBLED
                                                                                      FORMS 1120 AND F-1120 (NORTH EAST CONTRACT
                                                                                      SERVICES)
        KJJ            145          09/09/16    150.00           0.20        30.00    FEDEXED FORMS 1120S (Q RESORTS, GSI, JAY
                                                                                      CONSTRUCTION), FORM BI-471 (JAY CONSTRUCTION),
                                                                                      AND FORMS 1120 & F-1120 (NORTH EAST CONTRACT
                                                                                      SERVICES)
        KAF            110          09/13/16    294.00           0.80       235.20    REVIEW 2014 (FYE 04.30.15) TAX RETURN AND
                                                                                      WORKPAPERS, REQUEST FYE 04.30.16 TAX RETURN DATA
                                                                                      FOR PREPARATION
        KAF            145          09/15/16    294.00           0.70       205.80    REVIEW AND SAVE (2) RETURNED FORM(S) 56 RECEIVED
                                                                                      FROM RECEIVER'S OFFICE; REVISE FORM 56 FOR NECS
                                                                                      AND TO L. JOHNSON FOR RE-SUBMISSION
        KAF            110          09/15/16    294.00           0.80       235.20    TEST UPLOAD OF FIXED ASSETS DEPRECIATION DATA
                                                                                      FROM MBAF FOR JAY PEAK, INC. FYE 04/30/16 TAX
                                                                                      RETURN PREPARATION, EXTRACT FILES FOR M. PARISI
                                                                                      CONVERSION TO EXCEL FOR UPLOAD
        KJJ            145          09/19/16    150.00           0.30        45.00    PREPARED, ASSEMBLED AND MAILED FORM 56
        KAF            110          09/19/16    294.00           1.00       294.00    EMAIL TO M. PARISI RE: PDF TO EXCEL CONVERSION OF
                                                                                      FIXED ASSETS/DEPRECIATION FOR UPLOAD INTO
                                                                                      LACERTE TAX PROGRAM WITH DETAILED
                                                                                      INSTRUCTIONS, DISCUSS WITH M. PARISI
        MSK            110          09/20/16    230.00           4.30       989.00    CONVERTED FIXED ASSET/DEPRECIATION DATA FROM
                                                                                      MBAF FROM PDF INTO EXCEL FORMAT
        MSK            110          09/21/16    230.00           1.60       368.00    CONVERTED FIXED ASSET/DEPRECIATION DATA FROM
                                                                                      MBAF FROM PDF INTO EXCEL FORMAT. CLEAN UP AND
                                                                                      COMBINATION OF REGULAR AND AMT DATA INTO ONE
                                                                                      FILE.



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        KAF            146          09/28/16    294.00           0.80        235.20    REVIEW IRS NOTICE OF ERRONEOUS ADDRESS CHANGE
                                                                                       FOR GSI OF DADE COUNTY INC. EMAILED FROM K.
                                                                                       MATREGRANO, PREPARE ADDRESS CHANGE FORM 8822-B
                                                                                       TO CORRECT ERRONEOUS ADDRESS CHANGE TO PROPER
                                                                                       ADDRESS
        KAF            110          09/30/16    294.00           0.30         88.20    BRIEFLY REVIEW EMAIL RECEIVED FROM IDA OVIES
                                                                                       WITH JAY CONSTRUCTION TAX RETURNS AND
                                                                                       QUICKBOOKS DATA
        KM             145          09/30/16    270.00           0.90        243.00    REVIEW JCM PRODUCTION OF FINANCIAL RECORDS
                                                                                       FROM IDA OVIES (OUTSIDE ACCOUNTANT) FOR TAX
                                                                                       PREP WORK FOR K FOSTER.
        KJJ            145          10/07/16    150.00           0.20         30.00    PREPARED, ASSEMBLED AND MAILED FORM 8822-B
        KAF            106          10/10/16    294.00           0.10         29.40    FOLLOW UP WITH D. DUPUIS FOR FYE 4/30/16 JAY PEAK,
                                                                                       INC. TAX DATA
        KAF            111          10/11/16    294.00           0.80        235.20    REVIEW TAX RETURNS AND DOCUMENTS RECEIVED
                                                                                       FROM IDA OVIES (BOOKKEEPER), ORGANIZE IN TAX
                                                                                       FILES, ADD AMENDED 2015 FORM 1120S TO TAX
                                                                                       CONTROL PER ADDITIONAL DATA RECEIVED
        KAF            110          10/17/16    294.00           1.30        382.20    COMPILE DOCUMENT REQUEST FOR DIANE DUPUIS WITH
                                                                                       ALL DOCUMENTS NEEDED FROM ENTITY FOR FYE
                                                                                       04/30/16 TAX RETURN PREPARATION, PER HER REQUEST
        KAF            115          10/26/16    294.00           0.20         58.80    REVIEW TAX FILES AND REQUEST 2015 TAX RETURNS
                                                                                       AND RELATED WORKPAPERS FOR TWO (2) TAX RETURNS
                                                                                       PREPARED BY MORRISON, BROWN ET AL FROM M.
                                                                                       FENAUGHTY, CPA
        KAF            110          10/26/16    294.00           0.40        117.60    T/C WITH K. MATREGRANO RE: STATUS OF TAX
                                                                                       RETURNS, ASSIST WITH FORM 4506 PREPARATION FOR
                                                                                       CERTIFIED COPIES NEEDED IN CONNECTION WITH
                                                                                       IMMIGRATION REPORTING, DISCUSS JAY
                                                                                       CONSTRUCTION MANAGEMENT, INC. ("JCM") STATUS,
                                                                                       EMAIL COPIES OF ALL JCM TAX RETURNS AND
                                                                                       WORKPAPERS TO K. MATREGRANO
        KAF            110          10/27/16    294.00           0.20         58.80    EMAIL FROM D. DUPUIS RE: TAX DATA FOR
                                                                                       PREPARATION OF FYE 04.30.16 JAY PEAK, INC. TAX
                                                                                       RETURNS; COORDINATE SETUP OF SHAREFILE
                                                                                       DIRECTORY FOR UPLOAD
        MCP            111          10/31/16    270.00           1.20        324.00    IMPORT REGULAR AND AMT FIXED ASSET DEPRECIATION
                                                                                       SCHEDULES INTO EXCEL USING IDEA. RECONCILE
                                                                                       SCHEDULES AND IMPORT DATA FROM AMT TO REGULAR
                                                                                       FOR THE PURPOSE OF IMPORTING TO LACERTE.
        KAF            130          10/31/16    294.00           0.60        176.40    EMAILS AND RESEARCH RE: JAY PEAK, INC. FYE 04/30/15
                                                                                       FORM 1120 REFUND NOT RECEIVED
        KAF            111          10/31/16    294.00           3.80       1,117.20   REVIEW OF BURKE MOUNTAIN OPERATING CO. AND
                                                                                       SUBS FYE 09/30/14 TAX RETURN, RESEARCH
                                                                                       S-ELECTION, Q-SUB AND FISCAL YEAR ELECTION IRS
                                                                                       RULES, REQUEST ADDITIONAL DATA FROM BERKOWITZ,
                                                                                       ET AL ATTORNEYS, FORWARD FYE 09/30/14
                                                                                       DEPRECIATION DATA TO M. PARISI FOR CONVERSION TO
                                                                                       EXCEL (FOR LACERTE UPLOAD) FOR FYE 09/30/15 TAX
                                                                                       RETURN PREPARATION
TAX SERVICES - PREPARE FORMS Totals                             93.70      26,531.20

TAX SERVICES - ADVISORY
        SRK            155          04/22/16    540.00           0.40        216.00    ATTEND TO TAX COMPLIANCE MATTERS, REVIEW THE
                                                                                       NEEDS, AND FOLLOW UP WITH RECEIVER GOLDBERG.
        LJJ            155          04/22/16    420.00           0.20         84.00    DISC FORMS 56 WITH K. FOSTER AND K. MCCOY


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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units     Amount           Description

        LJJ            155          04/29/16    420.00           1.80        756.00    REVIEW JAY PEAK RECEIVERSHIP FORMS 56 AND DISC
                                                                                       WITH K. FOSTER
        LJJ            155          05/10/16    420.00           0.80        336.00    REVIEW BALANCE OF FORMS 56 FOR RECEIVERSHIP
                                                                                       ENTITIES.
        LJJ            155          05/25/16    420.00           0.80        336.00    REVIEW AND FINALIZE FORMS 56 FOR 8 RECEIVERSHIP
                                                                                       ENTITIES.
        LJJ            155          06/15/16    420.00           0.30        126.00    EMAIL TRAFFIC REGARDING OPEN ISSUES FOR
                                                                                       DETERMINING BALANCE OF TAX COMPLIANCE.
        SRK            155          06/17/16    540.00           0.20        108.00    COORDINATION OF TAX COMPLIANCE MATTERS WITH
                                                                                       MORRISON BROWN ARGIZ RELATIVE TO EMAIL FROM
                                                                                       MICHAEL GOLDBERG.
        LJJ            155          06/17/16    420.00           0.40        168.00    EMAIL TRAFFIC REGARDING TAX FILINGS NECESSARY
                                                                                       AND DISC WITH S. KAPILA AND K. FOSTER
        SRK            155          06/20/16    540.00           0.30        162.00    COORDINATE TAX COMPLIANCE MATTERS WITH OTHER
                                                                                       ACCOUNTING FIRMS.
        SRK            155          06/24/16    540.00           0.20        108.00    DISCUSS TAX FILING MISSING INFORMATION AND
                                                                                       SCOPE WITH KATHY FOSTER AND KEVIN MCCOY.
        LJJ            155          07/05/16    420.00           5.80       2,436.00   RESEARCH EB-5 INVESTOR HOLDINGS AND IRC SECTION
                                                                                       468 SETTLEMENT FUND REQUIREMENTS, DISC WITH K.
                                                                                       FOSTER AND S. KAPILA, READ VT ADMINISTRATIVE
                                                                                       ORDER AND ANALYSIS REGARDING QUALIFIES
                                                                                       SETTLEMENT FUNDS (QSF) DRAFT MEMORANDUM
                                                                                       REGARDING APPLICATION OF QSF TO EB-5 INVESTORS.
        LJJ            155          09/01/16    420.00           0.30        126.00    REVIEW TAX ISSUES AND QUESTIONS WITH K FOSTER
        LJJ            155          09/08/16    420.00           0.60        252.00    FINALIZE AND SIGN TAX RETURNS FOR Q RESORTS,
                                                                                       INC., GSI OF DADE, JAY CONSTRUCTION AND NORTH
                                                                                       EAST CONTRACT SERVICES.
        LJJ            155          09/15/16    420.00           0.20         84.00    REVIEW FORM 56
        LJJ            155          09/29/16    420.00           0.10         42.00    REVIEW ADDRESS CHANGE
        LJJ            155          10/28/16    420.00           0.20         84.00    ATTEND TO EMAIL TRAFFIC REGARDING JAY PEAK
                                                                                       INFORMATION AND DISC WITH K. FOSTER.
TAX SERVICES - ADVISORY Totals                                  12.60       5,424.00
TAX ISSUES Totals                                              106.30      31,955.20


FORENSIC ACCOUNTING

LITIGATION SUPPORT
        MCP            454          04/15/16    270.00           4.10       1,107.00   CASH TRACING OF INVESTOR FUNDS FOR ANC BIO
        MCP            454          04/15/16    270.00           2.30        621.00    CASH TRACING OF INVESTOR FUNDS FOR Q BURKE
        WWF            454          04/15/16    290.00           3.10        899.00    REVIEW BANK STATEMENTS RELATING TO Q BURKE
                                                                                       MOUNTAIN HOTEL AND A PREPARE AN ANALYSIS OF
                                                                                       COMINGLED INVESTOR FUNDS FOR THE PERIOD 06.2013
                                                                                       THROUGH 11.2014.
        SRK            459          04/15/16    540.00           2.40       1,296.00   ATTEND TO MULTIPLES OF EMAILS RE ONGOING
                                                                                       INVESTIGATION OF TRANSACTIONS RELATING TO
                                                                                       POTENTIAL COMMINGLING OF ASSETS AND FUNDS AND
                                                                                       APPLICATION OF SUCH FUNDS TO DIFFERENT
                                                                                       OFFERINGS AND CONSTRUCTION PROJECTS;
                                                                                       COMMUNICATIONS WITH RECEIVER AND RECEIVER'S
                                                                                       COUNSEL.




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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units   Amount            Description

        WWF            454          04/15/16    290.00           2.90       841.00    REVIEW BANK STATEMENTS RELATING TO Q BURKE
                                                                                      MOUNTAIN HOTEL AND A PREPARE AN ANALYSIS OF
                                                                                      COMINGLED INVESTOR FUNDS FOR THE PERIOD 01.2014
                                                                                      THROUGH 02.2016.
        SRK            459          04/16/16    540.00           1.90      1,026.00   CONTINUED INVESTIGATION OF ASSET FLOWS, CASH
                                                                                      TRANSACTIONS, DEVELOPING PUNCH LISTS FOR
                                                                                      DISCUSSION WITH COUNSEL AND WITH RECEIVER.
        KM             454          04/17/16    270.00           0.70       189.00    REVIEW FINANCIAL RECORDS ON HAND AND RECEIVED
                                                                                      FROM SEC RE: Q BURKE HOTEL AND ANALYSIS
                                                                                      REQUIRED FOR AFFIDAVIT.
        MCP            454          04/18/16    270.00           0.60       162.00    CONSOLIDATE MIAMI BANK STATEMENT INVENTORY FOR
                                                                                      THE PURPOSE OF UPDATING THE MASTER BANK
                                                                                      STATEMENT LIST FOR THE SEC TO ENSURE ALL
                                                                                      IDENTIFIED ACCOUNTS ARE FROZEN.
        MCP            454          04/18/16    270.00           0.30        81.00    INDEX EMAILS AND FILES OBTAINED DURING TAKE
                                                                                      DOWN.
        MCP            452          04/18/16    270.00           0.60       162.00    REVIEW PROCESS TO FORMAT GL INTO USEABLE DATA.
        RMR            454          04/18/16    150.00           2.30       345.00    BANK RECONSTRUCTION FOR GSI OF DADE COUNTY
                                                                                      2009-2011.
        FDD            454          04/18/16    150.00           0.50        75.00    CONSOLIDATE BANK ACCOUNTS IDENTIFIED IN MIAMI
                                                                                      AND JAY PEAK RESORTS
        FDD            452          04/18/16    150.00           0.60        90.00    FORMAT JAY PEAK GL'S INTO DATABASE.
        FDD            454          04/18/16    150.00           1.80       270.00    CONTINUE FORMATTING GENERAL LEDGERS INTO
                                                                                      DATABASE.
        FDD            454          04/18/16    150.00           3.60       540.00    CONTINUE FORMATTING GENERAL LEDGERS INTO
                                                                                      DATABASE.
        MAK            454          04/18/16    260.00           4.10      1,066.00   REVIEW DOCUMENTS AT CLIENT MIAMI OFFICE. BOX
                                                                                      AND TRANSPORT TO FORT LAUDERDALE FOR ANALYSIS.
        MAK            454          04/18/16    260.00           1.60       416.00    REVIEW WIRE TRANSFER DOCUMENTS FOR
                                                                                      TRANSACTIONS Q HOTEL AND RELIEF DEFENDANTS.
        MAK            454          04/18/16    260.00           1.10       286.00    REVIEW AFFIDAVIT AND DETERMINE ADDITIONAL
                                                                                      TASKS.
        MAK            454          04/18/16    260.00           0.80       208.00    RESEARCH AND EXTRACT SUPPORT FOR BMOC
                                                                                      TRANSACTIONS.
        MAK            454          04/18/16    260.00           0.90       234.00    RESEARCH AND EXTRACT SUPPORT FOR GSI OF DADE
                                                                                      COUNTY TRANSACTIONS.
        WWF            454          04/18/16    290.00           2.70       783.00    RECONSTRUCTION OF GSI OF DADE COUNTY BANK
                                                                                      ACCOUNTS.
        WWF            454          04/18/16    290.00           2.90       841.00    RECONSTRUCTION OF JAY CONSTRUCTION
                                                                                      MANAGEMENT BANK ACCOUNTS.
        WWF            454          04/18/16    290.00           2.30       667.00    PREPARE EXHIBITS FOR AFFIDAVIT.
        WWF            452          04/18/16    290.00           1.10       319.00    REVIEW QBURKE AFFIDAVIT.
        SRK            459          04/18/16    540.00           2.80      1,512.00   ATTEND TO AFFIDAVIT OF SONEET KAPILA RELATING TO
                                                                                      PRELIMINARY ANALYSIS OF CASH FLOWS AND TRACING.
        KM             454          04/18/16    270.00           1.80       486.00    REVIEW BANK RECORDS PRODUCED AND SECURED AND
                                                                                      COORDINATE BANK STMT INVENTORY AND LIST OF ALL
                                                                                      ACCOUNTS RETRIEVED FROM EACH LOCATION.
        KM             454          04/18/16    270.00           1.30       351.00    REVIEW RECORDS SECURED FOR RELIEF DEFENDANTS.
                                                                                      ATTEND TO AND REVIEW CORRESPONDENCE RE:
                                                                                      ADDITIONAL RECORDS REQUIRED FROM K STRAUSS AT
                                                                                      BERKOWITZ ACCOUNTING FIRM.




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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units   Amount            Description

        KM             454          04/18/16    270.00           5.60      1,512.00   REVIEW, ANALYZE AND TRACE CASH FLOWS FROM
                                                                                      DEFENDANTS, RELIEF DEFENDANTS AND Q BURKE, LP TO
                                                                                      IDENTIFY SOURCES AND USES OF FUNDS BETWEEN THE
                                                                                      RECEIVERSHIP ENTITIES AND COMMINGLED INVESTOR
                                                                                      FUNDS.
        CDM            454          04/18/16    220.00           6.30      1,386.00   PREPARE CHARTS AND EXHIBITS FOR AFFIDAVIT
        MMD            454          04/18/16    400.00           3.40      1,360.00   DRAFT Q BURKE AFFIDAVIT.
        MMD            451          04/18/16    400.00           0.30       120.00    T/C WITH COUNSEL RE QBURKE AFFIDAVIT.
        KEF            459          04/18/16    250.00           1.20       300.00    KM OFFICE TO DOWNLOAD PICTURES OF JAY PEAK
        FMK            459          04/18/16    342.00           3.50      1,197.00   ANALYSIS OF BANK ACCOUNTS, SUPPORTING
                                                                                      DOCUMENTATION AND STRATEGY FOR TRANSFER
                                                                                      ANALYSIS.
        MMD            454          04/18/16    400.00           6.60      2,640.00   PREPARE EXHIBITS AND WORKPAPERS FOR AFFIDAVIT.
        WWF            452          04/19/16    290.00           2.50       725.00    REVIEW OF FINAL AFFIDAVIT.
        WWF            454          04/19/16    290.00           6.70      1,943.00   PREPARE AFFIDAVIT EXHIBITS.
        MAK            454          04/19/16    260.00           5.10      1,326.00   CONTINUE REVISING, UPDATING, AND PULLING
                                                                                      SUPPORT FOR QBURKE AFFIDAVIT.
        FDD            459          04/19/16    150.00           1.80       270.00    ANALYZE BANK RECORDS.
        FDD            459          04/19/16    150.00           3.10       465.00    ANALYZE BANK RECORDS (CONTINUED).
        FDD            454          04/19/16    150.00           0.70       105.00    PREPARE A DISBURSEMENT SCHEDULE OF PAYMENTS
                                                                                      MADE TO RELIEF DEFENDANTS FROM JAY PEAK
                                                                                      BIOMEDICAL RESEARCH PARK
        MCP            454          04/19/16    270.00           2.20       594.00    ANALYZE RECORDS RE: PURCHASE OF Q RESORTS LAND.
                                                                                      ASSIST WITH AFFIDAVIT.
        MAK            454          04/19/16    260.00           1.30       338.00    REVIEW AND COMMENT ON DRAFT AFFIDAVIT.
        KM             454          04/19/16    270.00           2.00       540.00    FINAL REVIEW OF AFFIDAVIT.
        KM             454          04/19/16    270.00           0.60       162.00    REVIEW JAY PEAK \ ANC BIO TRANSFERS TO RELIEF
                                                                                      DEFENDANTS. ATTEND TO CORRESPONDENCE RE: SAME.
        CDM            454          04/19/16    220.00           5.60      1,232.00   PREPARE CHARTS AND EXHIBITS FOR AFFIDAVIT
        MMD            454          04/19/16    400.00           2.00       800.00    FINAL REVIEW OF AFFIDAVIT.
        SRK            459          04/19/16    540.00           0.70       378.00    CONTINUE ATTENDING TO MULTIPLE TASKS INCLUDING
                                                                                      SECURING OF WEBSITE, BANK TRANSACTIONS
                                                                                      ANALYSIS.
        SRK            459          04/19/16    540.00           3.80      2,052.00   INVESTIGATION, AND WORK ON AFFIDAVIT REQUIRED
                                                                                      BY TRUSTEE DEMONSTRATING CERTAIN CASH FLOWS,
                                                                                      COMINGLING IN CIRCULAR TRANSFERS BETWEEN
                                                                                      OFFERINGS AND BETWEEN ANC BIO ACCOUNTS AND THE
                                                                                      Q BURKE HOTEL.
        GS             459          04/19/16    180.00           2.90       522.00    ASSIST THE RECEIVER IN TAKING CONTROL, SECURING
                                                                                      AND INSPECTING THE STORAGE FACILITY LOCATED AT
                                                                                      2312 NW 150 ST., BLDG B, OPA LOCKA, FL 33054.
        KM             454          04/19/16    270.00           3.80      1,026.00   FINALIZE WORKPAPERS AND EXHIBITS.
        KM             454          04/19/16    270.00           3.00       810.00    PREPARE SUPPORTING CASH FLOW ANALYSIS.
        MMD            454          04/19/16    400.00           3.50      1,400.00   FINALIZE WORKPAPERS AND EXHIBITS.
        MMD            454          04/19/16    400.00           2.50      1,000.00   PREPARE SUPPORTING CASH FLOW ANALYSIS.
        MCP            454          04/20/16    270.00           0.30        81.00    REVIEW FINALIZED COMPLAINT AND SCHEDULE OF
                                                                                      PAYMENTS FROM ANC BIO TO RELIEF DEFENDANTS.
        MCP            454          04/20/16    270.00           2.10       567.00    TRACE REMAINING ANC FUNDS OUT OF DISBURSEMENT
                                                                                      ACCOUNT.
        MAK            454          04/20/16    260.00           0.50       130.00    REVIEW BIOMED ANALYSIS AND EMAILS.



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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units   Amount            Description

        MCP            454          04/20/16    270.00           1.20       324.00    BEGIN TO TRACE INVESTOR FUNDS INTO ESCROW
                                                                                      ACCOUNT TO DISBURSEMENT ACCOUNT. DISCUSS WITH
                                                                                      F. DIAZ.
        RMR            454          04/20/16    150.00           2.20       330.00    PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                      COUNTY INC., REVIEWING ACCOUNT ML #3533 PERIOD
                                                                                      11.2014 THROUGH 03.2016.
        WWF            454          04/20/16    290.00           1.10       319.00    REVIEW WORKPAPERS FOR AFFIDAVIT.
        KM             454          04/20/16    270.00           0.80       216.00    REVIEW JAY PEAK BIO \ ANC BIO TRANSFERS TO RELIEF
                                                                                      DEFENDANTS, USE OF FUNDS, AND ASSETS ON BALANCE
                                                                                      SHEET PER RECEIVER'S REQUEST.
        KM             454          04/20/16    270.00           0.70       189.00    REVIEW BANK RECORD INVENTORY AND ADDITIONAL
                                                                                      BANK RECORDS PROVIDED THROUGH RECEIVER.
        KM             454          04/20/16    270.00           0.70       189.00    REVIEW AND ATTEND TO EMAIL CORRESPONDENCE RE:
                                                                                      BANK RECORDS, ANC BIO AND TAX ISSUES FOR THE
                                                                                      RECEIVERSHIP ENTITIES.
        FDD            454          04/20/16    150.00           2.30       345.00    REVISE SCHEDULE OF DISBURSEMENTS MADE TO RELIEF
                                                                                      DEFENDANTS. REVIEW BANK RECORDS FROM THE
                                                                                      MIAMI OFFICE AND BEGIN SCANNING.
        FDD            454          04/20/16    150.00           2.10       315.00    CONTINUE REVIEWING BANK RECORDS AND ARCHIVE.
                                                                                      UPLOAD RAYMOND JAMES BANK STATEMENTS AND SEND
                                                                                      TO J. SCHNEIDER.
        FDD            454          04/20/16    150.00           2.80       420.00    REVIEW JAY PEAK BIO RESEARCH ESCROW SCHEDULE
                                                                                      AND RECONCILE AGAINST GENERAL LEDGER TO
                                                                                      DETERMINE THE TOTAL AMOUNT OF INVESTOR FUNDS.
        RMR            454          04/20/16    150.00           4.80       720.00    PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                      COUNTY INC., REVIEWING ACCOUNT RJ #1932 PERIOD
                                                                                      01.2008 THROUGH 12.2014.
        FDD            454          04/21/16    150.00           2.60       390.00    REVIEW JAY PEAK BIO RESEARCH ESCROW SCHEDULE
                                                                                      AND RECONCILE AGAINST GENERAL LEDGER TO
                                                                                      DETERMINE THE TOTAL AMOUNT OF INVESTOR FUNDS
                                                                                      (CONTINUED)
        KM             454          04/21/16    270.00           0.80       216.00    REVIEW BANK RECORDS PRODUCED AND COORDINATE
                                                                                      INVENTORY AND TRACKING OF SAME.
        KM             454          04/21/16    270.00           1.70       459.00    REVIEWED BANK RECORDS, TAX RETURNS AND
                                                                                      ACCOUNTING DATA FOR LIMITED PARTNERSHIPS FOR
                                                                                      FURTHER ANALYSIS AND CASH TRACING TO RELIEF
                                                                                      DEFENDANTS.
        WWF            454          04/21/16    290.00           4.50      1,305.00   RECONSTRUCTING BANK STATEMENTS RELATED TO GSI
                                                                                      OF DADE CO.
        RMR            454          04/22/16    150.00           1.80       270.00    BANK RECONSTRUCTIONS OF JP MORGAN FOR JAY
                                                                                      CONSTRUCTION
        FDD            459          04/22/16    150.00           0.90       135.00    REVIEW RECEIVERSHIP ENTITY ACCOUNTING RECORDS
                                                                                      AT BERKOWITZ POLLACK BRANT'S OFFICE
        MCP            454          04/22/16    270.00           1.20       324.00    PRELIMINARY REVIEW OF FINANCIAL RECORDS OF
                                                                                      QUIROS
        SRK            459          04/22/16    540.00           0.40       216.00    ATTEND TO INFORMATION REQUEST FROM BERKOWITZ
                                                                                      POLLACK BRANT AND PRELIMINARY REVIEW OF CD
                                                                                      CONTENTS; FOLLOW UP WITH RECEIVER.
        WWF            454          04/22/16    290.00           1.30       377.00    RECONSTRUCTING BANK STATEMENTS RELATED TO GSI
                                                                                      OF DADE CO.
        WWF            454          04/22/16    290.00           2.10       609.00    PREPARE A BANK RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT, REVIEWING ACCOUNT
                                                                                      JPM #5553 PERIOD 05.2014 THROUGH 01.2015.
        WWF            454          04/22/16    290.00           1.80       522.00    ANALYSIS OF 2011-2013 FEDERAL TAX RETURNS FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT.


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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units   Amount            Description

        MMD            459          04/22/16    400.00           1.80       720.00    REVIEW ACCOUNTING RECORDS PRODUCED FOR RELIEF
                                                                                      DEFENDANTS.
        WWF            454          04/22/16    290.00           3.60      1,044.00   PREPARE A BANK RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT, REVIEWING ACCOUNT RJ
                                                                                      #1174 PERIOD 08.2011 THROUGH 12.2014.
        MCP            454          04/25/16    270.00           0.60       162.00    CONTINUE TO REVIEW QUIROS PRODUCTION.
        MCP            454          04/25/16    270.00           0.80       216.00    REVIEW SHARED DRIVES
        MCP            454          04/25/16    270.00           0.20        54.00    OBTAIN GL DATA FOR ADDITIONAL YEARS OF VARIOUS
                                                                                      COMPANIES.
        RMR            459          04/25/16    150.00           1.50       225.00    REVIEWED BANK STATEMENTS FROM RAYMOND JAMES -
                                                                                      GSI OF DADE COUNTY INC.
        FDD            459          04/25/16    150.00           2.60       390.00    REVIEW BANK RECORDS OBTAINED FROM QUIROS MIAMI
                                                                                      OFFICE AND ARCHIVE.
        WWF            454          04/25/16    290.00           2.30       667.00    RECONSTRUCTION OF BANK STATEMENTS RELATING TO
                                                                                      ANC BIO VT LLC.
        WWF            454          04/25/16    290.00           2.80       812.00    RECONSTRUCTION OF BANK STATEMENTS RELATED TO
                                                                                      JAY PEAK BIO RESEARCH.
        WWF            454          04/25/16    290.00           1.70       493.00    RECONSTRUCTION OF BANK STATEMENTS RELATED TO
                                                                                      JAY CONSTRUCTION MANAGEMENT.
        WWF            454          04/25/16    290.00           2.10       609.00    ANALYSIS OF FEDERAL TAX RETURNS FILED BY ARIEL
                                                                                      QUIROS.
        WWF            454          04/25/16    290.00           0.70       203.00    ANALYSIS OF FEDERAL TAX RETURNS FOR ANC BIO VT
                                                                                      LLC.
        SRK            459          04/25/16    540.00           0.50       270.00    REVIEW PERSONAL INCOME TAX RETURNS OF ARIEL AND
                                                                                      OKCHA QUIROS FOR THE YEARS 2011 THROUGH 2014.
        KM             454          04/25/16    270.00           1.20       324.00    REVIEW JAY PEAK \ ANC BIO RECORDS RETRIEVED FROM
                                                                                      VERMONT INCLUDING PPM AND GL ACCOUNTS
                                                                                      RECEIVABLES DUE FROM RELATED COMPANIES.
        MMD            459          04/25/16    400.00           0.60       240.00    REVIEW BANK STATEMENT INVENTORY TO DETERMINE
                                                                                      ADDITIONAL RECORDS NEEDED TO COMPLETE
                                                                                      RECONSTRUCTIONS.
        MMD            459          04/25/16    400.00           0.20        80.00    REVIEW EMAILS RE IT TASKS AND BEGIN TO COMPILE
                                                                                      SUMMARY FOR RECEIVER.
        FDD            459          04/25/16    150.00           2.80       420.00    REVIEW BANK RECORDS OBTAINED FROM QUIROS MIAMI
                                                                                      OFFICE AND ARCHIVE (CONTINUED). UPDATE MASTER
                                                                                      BANK INVENTORY.
        FDD            459          04/26/16    150.00           0.30        45.00    REVIEW BANK RECORDS AND ARCHIVE (CONTINUED)
        FDD            459          04/26/16    150.00           0.80       120.00    REVIEW BANK RECORDS AND ARCHIVE (CONTINUED)
        SRK            459          04/26/16    540.00           0.40       216.00    ANALYSIS OF ANC BIO CASH POST TRANSFERS.
        KM             454          04/26/16    270.00           1.10       297.00    CONTINUED REVIEW JAY PEAK \ ANC BIO PPM AND
                                                                                      IDENTIFIED RELATED COMPANIES AND CONTRACTS \
                                                                                      AGREEMENTS FOR FURTHER ANALYSIS.
        WWF            454          04/26/16    290.00           3.40       986.00    RECONSTRUCTION OF BANK ACCOUNTS RELATED TO
                                                                                      ANC BIO VERMONT GP.
        WWF            454          04/26/16    290.00           2.50       725.00    RECONSTRUCTION OF BANK ACCOUNTS RELATED TO
                                                                                      ANC BIO VT LLC.
        WWF            454          04/26/16    290.00           2.70       783.00    RECONSTRUCTION OF BANK ACCOUNTS RELATED TO JAY
                                                                                      PEAK BIOMEDICAL RESEARCH.
        WWF            454          04/26/16    290.00           1.30       377.00    RECONSTRUCTION OF BANK STATEMENTS RELATED TO
                                                                                      JAY PEAK INC.
        MMD            451          04/26/16    400.00           0.10        40.00    T/C WITH COUNSEL RE ANC BIO CASH FLOWS.
        MMD            459          04/26/16    400.00           1.30       520.00    REVIEW ANC BIO CASH FLOWS AND BEGIN ANALYSIS OF
                                                                                      SOURCES AND USES OF INVESTOR FUNDS.


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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units   Amount            Description

        MCP            454          04/27/16    270.00           0.60       162.00    REVIEW RECENT PLEADINGS AND AFFIDAVITS.
                                                                                      COMPARE TO CURRENT ANALYSES.
        FDD            459          04/27/16    150.00           2.30       345.00    REVIEW BANK RECORDS AND ARCHIVE (CONTINUED)
        WWF            454          04/27/16    290.00           1.70       493.00    RECONSTRUCTION OF BANK ACCOUNTS RELATED TO JAY
                                                                                      CONSTRUCTION MANAGEMENT.
        WWF            454          04/27/16    290.00           1.60       464.00    ANALYZE BANK TRANSFERS RELATED TO RAYMOND
                                                                                      JAMES ACCOUNT MARGIN LOANS.
        WWF            454          04/27/16    290.00           0.70       203.00    RECONSTRUCTION OF BANK STATEMENTS RELATED TO Q
                                                                                      BURKE.
        RMR            459          04/27/16    150.00           4.40       660.00    REVIEWED BANK STATEMENTS FROM RAYMOND JAMES -
                                                                                      GSI OF DADE COUNTY INC. AND MERRILL LYNCH FOR
                                                                                      JAY MANAGEMENT INC.
        WWF            454          04/27/16    290.00           0.70       203.00    ANALYSIS OF Q RESORTS GENERAL LEDGER DETAILING
                                                                                      PAYMENTS TO JCM.
        MCP            454          04/27/16    270.00           3.10       837.00    CONTINUE TO TRACE ANC BIO FUNDS AND FLOW OF
                                                                                      MONEY FROM ANC TO RELIEF DEFENDANTS, Q BURKE
                                                                                      AND JAY PEAK.
        CDM            454          04/27/16    220.00           0.90       198.00    PREPARE CHARTS DEMONSTRATING FLOW OF FUNDS.
        KM             454          04/27/16    270.00           0.60       162.00    REVIEW JP BIO / ANC BIO MEMO, TRANSFERS AND FLOW
                                                                                      OF FUNDS SCHEDULES.
        KM             454          04/27/16    270.00           3.20       864.00    REVIEW PRIVATE PLACEMENT MEMOS, ACCOUNTING
                                                                                      RECORDS, COMPLAINT AND M PIECIAK DECLARATION.
                                                                                      PREPARE SUMMARY OF OFFERINGS, AMOUNTS
                                                                                      INVESTED, NUMBER OF INVESTORS AND RELATED
                                                                                      DETAILS OF THE DEFENDANTS AND RELATED ENTITIES.
        MMD            454          04/27/16    400.00           3.20      1,280.00   PREPARE NARRATIVE AND EXHIBITS REGARDING
                                                                                      BIOMEDICAL RESEARCH PARK/ANC BIO USES OF
                                                                                      INVESTOR FUNDS. PREPARE EXHIBITS SUMMARIZING
                                                                                      CASH FLOWS. SEND ANALYSIS TO COUNSEL.
        MMD            454          04/27/16    400.00           1.80       720.00    ANALYZE BANK RECONSTRUCTIONS AND ACCOUNTING
                                                                                      RECORDS FOR JAY PEAK BIOMEDICAL AND RELATED
                                                                                      ENTITIES TO DETERMINE SOURCES AND USES OF
                                                                                      INVESTOR FUNDS.
        MCP            454          04/28/16    270.00           0.20        54.00    REVIEW NARRATIVE AND EXHIBITS.
        RMR            459          04/29/16    150.00           6.10       915.00    ANALYZED BANK STATEMENTS FROM RAYMOND JAMES -
                                                                                      GSI OF DADE COUNTY INC. AND MERRILL LYNCH FOR
                                                                                      JAY MANAGEMENT INC.
        MMD            459          04/29/16    400.00           1.90       760.00    ANALYZE CASH ACTIVITY FOR Q BURKE AND ANC BIO
                                                                                      OFFERINGS.
        RMR            459          05/02/16    150.00           1.00       150.00    ANALYZED RAYMOND JAMES BANK STATEMENTS FOR
                                                                                      MULTIPLE COMPANIES
        RMR            454          05/02/16    150.00           5.50       825.00    BANK RECONSTRUCTIONS FOR JAY PEAK INC. FOR
                                                                                      RAYMOND JAMES AND PEOPLES UNITED BANK, STARTED
                                                                                      BANK RECONSTRUCTION FOR GSI OF DADE COUNTY
        FDD            452          05/02/16    150.00           0.30        45.00    CONTINUE REVIEW OF BANK RECONSTRUCTIONS.
        MAK            454          05/02/16    260.00           0.40       104.00    REVIEW STATUS OF BANK RECONSTRUCTIONS AND BANK
                                                                                      RECORDS.
        SRK            459          05/02/16    540.00           1.40       756.00    REVIEW STATUS OF INVESTIGATION AND FORMULATE
                                                                                      WORK PLAN FOR ADDRESSING VARIOUS ASPECTS OF
                                                                                      CONTINUED INVESTIGATION OF CASH FLOWS, CASH IN
                                                                                      ASSET TRACING, TAX COMPLIANCE MATTERS.




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        KM             454          05/02/16    270.00           2.60      702.00   REVIEW RECORDS RECEIVED FOR RELIEF DEFENDANTS
                                                                                    INCLUDING ACCOUNTING RECORDS PRODUCED FROM
                                                                                    MBAF (K STRAUSS) BANK RECORDS AND TAX RETURNS.
                                                                                    IDENTIFY ADDITIONAL RECORDS REQUIRED TO
                                                                                    COMPLETE TRACING ANALYSIS.
        KM             454          05/02/16    270.00           1.20      324.00   REVIEW M PIECIAK DECLARATION AND EXHIBITS.
                                                                                    IDENTIFY RELIEF DEFENDANTS ACCOUNTS OF
                                                                                    COMMINGLED FUNDS AND INVESTIGATE ACCOUNTING
                                                                                    AND BANK RECORDS OF JCM AND GSI FOR
                                                                                    TRANSACTIONS AND COMMINGLING.
        MMD            459          05/02/16    400.00           1.40      560.00   REVIEW Q-BURKE ANALYSIS AND TRACING OF INVESTOR
                                                                                    FUNDS.
        MMD            459          05/02/16    400.00           1.00      400.00   STATUS MEETING RE FORENSIC ACCOUNTING TASKS.
        MAK            454          05/03/16    260.00           0.30       78.00   ATTEND TO CORRESPONDENCE RE: BANK STATEMENTS
                                                                                    IN MIAMI.
        MAK            454          05/03/16    260.00           0.20       52.00   READ CORRESPONDENCE AND REVIEW BANK RECORD
                                                                                    REQUEST.
        MCP            454          05/03/16    270.00           3.10      837.00   BEGIN TO TRACE BURKE CONSTRUCTION MONIES.
        FDD            454          05/03/16    150.00           2.30      345.00   PREPARE A DOCUMENT REQUEST FOR GSI, JAY
                                                                                    CONSTRUCTION MANAGEMENT, AND Q BURKE
                                                                                    MOUNTAIN RESORT LLC
        FDD            454          05/03/16    150.00           0.30       45.00   REVISE DOCUMENT REQUEST
        FDD            454          05/03/16    150.00           3.10      465.00   REVIEW BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                    COUNTY, ACCOUNT #3533 AND #1992. BEGIN
                                                                                    RECONSTRUCTING ACCOUNT #4486 REVIEWING PERIOD
                                                                                    06.2014
        SRK            459          05/03/16    540.00           0.30      162.00   FOLLOW UP WITH KEN STRAUSS RE MISSING
                                                                                    ACCOUNTING RECORDS OF ENTITIES HANDLED BY
                                                                                    BERKOWITZ ACCOUNTING FIRM.
        KM             454          05/03/16    270.00           1.60      432.00   REVIEW BANK RECORDS INVENTORY AND BANK
                                                                                    RECONSTRUCTION STATUS FOR RELIEF DEFENDANTS.
                                                                                    REVIEW BANK RECORDS REQUEST AND INVESTIGATE
                                                                                    POTENTIAL ADDITIONAL ACCOUNTS FOR BANK
                                                                                    SUBPOENA.
        KM             454          05/03/16    270.00           1.40      378.00   CONTINUED REVIEW OF RECORDS RECEIVED FOR RELIEF
                                                                                    DEFENDANTS INCLUDING ACCOUNTING RECORDS
                                                                                    PRODUCED FROM MBAF (K STRAUSS) BANK RECORDS
                                                                                    AND TAX RETURNS. IDENTIFY ADDITIONAL RECORDS
                                                                                    REQUIRED TO COMPLETE TRACING ANALYSIS.
        WWF            454          05/04/16    290.00           0.70      203.00   RESEARCH OWNERSHIP/MANAGEMENT OF JAY PEAK
                                                                                    INVESTMENT HOLDINGS, LLC.
        WWF            454          05/04/16    290.00           0.40      116.00   RESEARCH OWNERSHIP/MANAGEMENT OF Q AVIATION
                                                                                    LLC.
        MCP            454          05/04/16    270.00           2.40      648.00   CONTINUE TO RECONCILE BURKE MOUNTAIN RESORT
                                                                                    DISBURSEMENTS TO GL AND BANK STATEMENTS FOR
                                                                                    CASH TRACING ANALYSIS.
        RMR            454          05/04/16    150.00           2.60      390.00   PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                    COUNTY INC., REVIEWING ACCOUNT JPM #4886 PERIOD
                                                                                    01.2014 THROUGH 07.2014.
        FDD            454          05/04/16    150.00           5.70      855.00   REVIEW BANK RECORDS AND PREPARE A DOCUMENT
                                                                                    REQUEST FOR NORTH EAST CONTRACT SERVICES.
                                                                                    REVIEW AND PREPARE A BANK RECONSTRUCTION FOR
                                                                                    JAY CONSTRUCTION MANAGEMENT INC, ACCOUNTS
                                                                                    #1174, #3534, #5553, AND #4166.




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        FDD            454          05/04/16    150.00           0.70      105.00   PREPARE A BANK RECONSTRUCTION FOR JAY
                                                                                    CONSTRUCTION MANAGEMENT INC, ACCOUNT #8521.
                                                                                    BEGIN PREPARING ALPHA SORT.
        FDD            454          05/04/16    150.00           0.40       60.00   FINALIZE ALPHA SORT OF BANK RECONSTRUCTIONS.
                                                                                    PREPARE ALPHA SORT AND HI-LO SCHEDULES.
        KM             454          05/04/16    270.00           1.40      378.00   REVIEW AND INVESTIGATE BANK RECORDS TO IDENTIFY
                                                                                    NECS BANK ACCOUNTS AND REVIEW REVISED BANK
                                                                                    REQUESTS TO RECEIVER TO ISSUE SUBPOENA'S TO
                                                                                    RELIEF DEFENDANT BANKS FOR RECORDS REQUIRED.
        SRK            459          05/04/16    540.00           1.20      648.00   RELIEF DEFENDANTS - INVESTIGATE BANK ACCOUNTS
                                                                                    AND ATTEND TO MISSING ACCOUNTING RECORDS AND
                                                                                    BANKING INFORMATION, AND DRAFT EMAIL TO
                                                                                    RECEIVER.
        KM             454          05/04/16    270.00           0.80      216.00   REVIEW AND INVESTIGATE TAX RETURNS AND PRIVATE
                                                                                    PLACEMENT MEMORANDUM TO IDENTIFY RELATIONSHIP
                                                                                    OF ANC BIO VT, LLC TO DEFENDANTS PER COUNSEL'S
                                                                                    REQUEST.
        WWF            454          05/04/16    290.00           0.70      203.00   ANALYSIS OF JAY CONSTRUCTION MANAGEMENT BANK
                                                                                    STATEMENTS.
        MMD            459          05/04/16    400.00           1.20      480.00   RESPOND TO EMAIL FROM COUNSEL REGARDING
                                                                                    RELATED ENTITIES JAY PEAK INVESTMENT HOLDINGS,
                                                                                    ANC BIO VT, LLC AND Q AVIATION, LLC.
        MMD            459          05/04/16    400.00           0.50      200.00   REVIEW EMAIL TO COUNSEL OUTLINING MISSING
                                                                                    RECORDS REQUEST.
        RMR            454          05/04/16    150.00           2.90      435.00   PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                    COUNTY INC., REVIEWING ACCOUNT JPM #4886 PERIOD
                                                                                    07.2014 THROUGH 02.2015.
        MAK            454          05/06/16    260.00           1.40      364.00   REVIEW EMAILS AND DOCUMENTS RE: FROZEN BANK
                                                                                    ACCOUNTS AND PREPARE SCHEDULE OF SAME.
        MAK            451          05/06/16    260.00           0.20       52.00   ANALYSIS OF FROZEN BANK ACCOUNTS.
        MMD            459          05/06/16    400.00           1.40      560.00   REVIEW QUIROS PERSONAL TAX RETURNS TO TRACE
                                                                                    SOURCES OF ESTIMATED TAX PAYMENTS.
        KM             454          05/06/16    270.00           0.60      162.00   T/C WITH K MATREGRANO (RECEIVER'S OFFICE) TO
                                                                                    REVIEW BANK ACCOUNTS AND FROZEN FUNDS. T/ C
                                                                                    WITH M KRING TO REVIEW SAME. REVIEWED EMAILS,
                                                                                    CORRESPONDENCE AND RECORDS TO IDENTIFY BANK
                                                                                    ACCOUNTS AND FROZEN FUNDS PER K MATREGRANO
                                                                                    REQUEST FOR MOTION.
        KM             454          05/06/16    270.00           0.70      189.00   REVIEW STATUS OF BANK RECONSTRUCTIONS AND BANK
                                                                                    RECORDS REQUEST FOR ADDITIONAL RECORDS. REVIEW
                                                                                    PRIVATE PLACEMENT MEMORANDUMS FOR SOURCES
                                                                                    AND USES OF FUNDS FOR JP BIO, LP AND Q BURKE
                                                                                    HOTEL, LP.
        MMD            459          05/06/16    400.00           1.00      400.00   REVIEW Q BURKE ENTITY BANK RECONSTRUCTIONS.
        RMR            454          05/09/16    150.00           2.00      300.00   PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                    COUNTY INC., REVIEWING ACCOUNT CITI PRIVATE BANK
                                                                                    ACCOUNT #5932.
        RMR            454          05/09/16    150.00           1.80      270.00   PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                    COUNTY INC., REVIEWING ACCOUNT CITI PRIVATE BANK
                                                                                    ACCOUNT #2336.
        RMR            454          05/09/16    150.00           1.70      255.00   PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                    COUNTY INC., REVIEWING ACCOUNT CITI PRIVATE BANK
                                                                                    ACCOUNT #3359.
        RMR            454          05/09/16    150.00           2.20      330.00   PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                    COUNTY INC., REVIEWING ACCOUNT CITI PRIVATE BANK
                                                                                    ACCOUNT #3362.

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        RMR            454          05/10/16    150.00           2.30       345.00    PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                      COUNTY INC., REVIEWING ACCOUNT CITI PRIVATE BANK
                                                                                      ACCOUNT #3375.
        FDD            454          05/10/16    150.00           1.30       195.00    PREPARE A BANK RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT LLC, ACCOUNTS #1452 & #4689
        FDD            454          05/10/16    150.00           1.60       240.00    PREPARE A GENERAL LEDGER ANALYSIS FOR Q BURKE
                                                                                      MOUNTAIN RESORT, LLC
        MMD            459          05/10/16    400.00           1.30       520.00    REVIEW JAY PEAK ENTITY BANK RECONSTRUCTIONS AND
                                                                                      GL ANALYSIS.
        RMR            454          05/10/16    150.00           5.10       765.00    PREPARE A BANK RECONSTRUCTION FOR GSI OF DADE
                                                                                      COUNTY INC., REVIEWING ACCOUNT HSBC ACCOUNT
                                                                                      #5788 PERIOD 01.2008 THROUGH 10.2014.
        MCP            454          05/11/16    270.00           0.80       216.00    DOWNLOAD GL DETAIL FILES FROM SAGE FOR
                                                                                      PURPOSES OF TRACING CASH FLOWS.
        RMR            454          05/11/16    150.00           8.50      1,275.00   BANK RECONSTRUCTION FOR GSI OF DADE COUNTY
                                                                                      HSBC
        WWF            454          05/11/16    290.00           1.30       377.00    BANK STATEMENT RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT MERRILL LYNCH ACCOUNT.
        WWF            454          05/11/16    290.00           2.70       783.00    BANK STATEMENT RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT PEOPLES UNITED ACCOUNT.
        MCP            454          05/11/16    270.00           0.30        81.00    REVIEW AFFIDAVIT OF GULISANO.
        FDD            454          05/11/16    150.00           1.20       180.00    PREPARE A GENERAL LEDGER ANALYSIS FOR Q BURKE
                                                                                      MOUNTAIN RESORT LLC
        FDD            454          05/11/16    150.00           3.70       555.00    PREPARE A GENERAL LEDGER ANALYSIS FOR BURKE
                                                                                      MOUNTAIN OPERATING COMPANY, INC
        KM             454          05/11/16    270.00           0.40       108.00    REVIEW IT MEMO AND SCHEDULES. T/C WITH K
                                                                                      MATREGRANO TO REVIEW SAME AND SUBPOENA
                                                                                      REQUEST FOR VT DOJ - GRAND JURY.
        SRK            459          05/11/16    540.00           0.80       432.00    CONTINUED INVESTIGATION OF TRANSACTIONS AND
                                                                                      BANKING RECORDS.
        MMD            459          05/11/16    400.00           0.80       320.00    REVIEW Q BURKE TRACING ANALYSIS.
        MCP            454          05/12/16    270.00           1.40       378.00    CONTINUE CASH TRACING OF BURKE RELATED ENTITIES.
        MCP            454          05/12/16    270.00           0.20        54.00    EMAILS WITH A. DEMERS (JP) FOR THE PURPOSE OF
                                                                                      RETURNING FILES OBTAINED DURING TAKE DOWN.
        FDD            454          05/12/16    150.00           1.20       180.00    PREPARE A GENERAL LEDGER ANALYSIS FOR BURKE
                                                                                      MOUNTAIN OPERATING COMPANY, INC (CONTINUED)
        FDD            454          05/12/16    150.00           4.30       645.00    PREPARE A GENERAL LEDGER ANALYSIS FOR BURKE
                                                                                      MOUNTAIN OPERATING COMPANY, INC (CONTINUED).
                                                                                      REVISE Q BURKE MOUNTAIN RESORT GENERAL LEDGER
                                                                                      ANALYSIS. PREPARE INVESTOR ACTIVITY SUMMARIES
        WWF            454          05/12/16    290.00           1.80       522.00    BANK STATEMENT RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT LP.
        KM             454          05/12/16    270.00           1.90       513.00    REVIEW IT RELATED CORRESPONDENCE, LISTS AND
                                                                                      INVENTORY. UPDATE IT SUMMARY AND ACCOMPANYING
                                                                                      EXHIBITS PER RECEIVER REQUEST.
        MCP            454          05/13/16    270.00           1.10       297.00    REVIEW AND REVISE CASH TRACING ANALYSES.
        RMR            454          05/13/16    150.00           2.10       315.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 04.2014.
        WWF            454          05/13/16    290.00           3.80      1,102.00   RECONSTRUCTION OF GENERAL LEDGER ACCOUNTS
                                                                                      RELATED TO Q BURKE MOUNT RESORT LP.
        WWF            454          05/13/16    290.00           2.60       754.00    RECONSTRUCTION OF Q BURKE RESORT LP BANK
                                                                                      STATEMENTS.
        WWF            454          05/13/16    290.00           1.80       522.00    RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                      CONSTRUCTION MANAGEMENT.


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        FDD            454          05/13/16    150.00           1.40       210.00    REVIEW COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT INC AND PREPARE
                                                                                      SUMMARY OF ACTIVITY.
        FDD            454          05/13/16    150.00           1.40       210.00    COMBINE PREPARED BANK RECONSTRUCTIONS FOR GSI
                                                                                      OF DADE COUNTY AND PREPARE ALPHA SORT
        FDD            454          05/13/16    150.00           3.30       495.00    REVIEW COMBINED RECONSTRUCTION FOR GSI OF DADE
                                                                                      COUNTY AND CONTINUE PREPARING ALPHA SORT.
                                                                                      PREPARE A SUMMARY OF ACTIVITY.
        KM             454          05/13/16    270.00           0.80       216.00    FINALIZE IT MEMO AND ACCOMPANYING EXHIBITS
                                                                                      ALONG WITH SUMMARY OF SAME AND PROVIDE TO
                                                                                      RECEIVER'S OFFICE PER REQUEST.
        RMR            454          05/13/16    150.00           4.40       660.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 04.2014
                                                                                      THROUGH 05.2014.
        RMR            454          05/16/16    150.00           5.30       795.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT DESJARDIN #2955 PERIOD
                                                                                      05.2014 THROUGH 03.2016.
        WWF            454          05/16/16    290.00           1.20       348.00    RECONSTRUCTION OF GENERAL LEDGER FOR Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER LP.
        WWF            454          05/16/16    290.00           7.20      2,088.00   RECONSTRUCTION OF PEOPLES UNITED BANK
                                                                                      ACCOUNTS RELATED IN THE NAME OF Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER LP.
        FDD            454          05/16/16    150.00           1.30       195.00    REVIEW BANK RECORDS AND PREPARE A DOCUMENT
                                                                                      REQUEST SCHEDULE FOR ANC BIO VERMONT GP, ANC
                                                                                      BIO VT LLC, JAY PEAK BIOMEDICAL RESEARCH PARK,
                                                                                      AND Q BURKE MOUNTAIN RESORT & CONFERENCE
                                                                                      CENTER
        RMR            454          05/16/16    150.00           2.70       405.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 05.2014.
        RMR            454          05/17/16    150.00           3.40       510.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 05.2014
                                                                                      THROUGH 06.2014.
        FDD            454          05/17/16    150.00           3.10       465.00    REVIEW BANK RECORDS AND REFINE MASTER BANK
                                                                                      INVENTORY. REVIEW JAY CONSTRUCTION
                                                                                      MANAGEMENT, GSI OF DADE COUNTY, AND Q BURKE
                                                                                      MOUNTAIN RESORT BANK RECONSTRUCTIONS. REFINE
                                                                                      SUMMARY SCHEDULES SAME.
        KM             454          05/17/16    270.00           2.20       594.00    REVIEW BANK RECONSTRUCTIONS OF RELIEF
                                                                                      DEFENDANTS. ANALYZE SOURCES AND USES OF FUNDS.
                                                                                      REVIEW BANK RECORDS MISSING AND BANK RECORDS
                                                                                      REQUESTS.
        RMR            454          05/17/16    150.00           3.60       540.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 06.2014.
        RMR            454          05/18/16    150.00           3.60       540.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 06.2014
                                                                                      THROUGH 07.2014.
        FDD            454          05/18/16    150.00           2.70       405.00    REFINE CITIBANK LINE OF CREDIT FLOWCHART TO
                                                                                      INCORPORATE TRANSACTIONS FROM QUIROS' PERSONAL
                                                                                      ACCOUNTS. PREPARE A BANK RECONSTRUCTION FOR
                                                                                      ARIEL QUIROS/ GSI OF DADE COUNTY FOR ACCOUNTS
                                                                                      #3359, #3362 AND #3375 FOR THE PERIOD 03.2015
                                                                                      THROUGH 06.2015
        MMD            459          05/18/16    400.00           1.70       680.00    REVIEW CASH RECONSTRUCTIONS FOR PURPOSES OF
                                                                                      TRACING POTENTIAL ASSETS INCLUDING IRS PAYMENTS.
        RMR            454          05/18/16    150.00           4.40       660.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 07.2014.


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        RMR            454          05/19/16    150.00           1.90       285.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 07.2014.
        FDD            454          05/19/16    150.00           5.40       810.00    PREPARE A BANK RECONSTRUCTION FOR ARIEL QUIROS/
                                                                                      GSI OF DADE COUNTY FOR ACCOUNTS #3359, #3362
                                                                                      AND #3375 FOR THE PERIOD 07.2015 THROUGH
                                                                                      02.2016. RECONSTRUCT ACCOUNTS #4837 & #8608 FOR
                                                                                      THE PERIOD 05.2014 THROUGH 2015. PREPARE ALPHA
                                                                                      AND SUMMARY OF BANK ACTIVITY.
        FDD            454          05/19/16    150.00           2.10       315.00    REVIEW BANK RECORDS AND FINALIZE MASTER BANK
                                                                                      INVENTORY.
        RMR            454          05/19/16    150.00           5.70       855.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 07.2014
                                                                                      THROUGH 08.2014.
        FDD            454          05/20/16    150.00           0.90       135.00    UPDATE MASTER BANK INVENTORY WITH COMMENTS
                                                                                      FROM COMPLETED BANK RECONSTRUCTIONS
        RMR            454          05/20/16    150.00           7.50      1,125.00   BANK RECONSTRUCTION FOR JAY PEAK INC. PEOPLES
                                                                                      UNITED BANK
        KM             454          05/20/16    270.00           1.20       324.00    REVIEW OUTSTANDING RECORDS REQUESTED BUT NOT
                                                                                      RECEIVED FOR ACCOUNTING AND BANK
                                                                                      RECONSTRUCTIONS. F/U CORRESPONDENCE TO OBTAIN.
                                                                                      FINALIZE PREP OF ADDITIONAL BANK RECORD
                                                                                      REQUESTS.
        SRK            459          05/20/16    540.00           0.80       432.00    CONTINUE ASSET AND BANK INVESTIGATION.
        RMR            454          05/23/16    150.00           0.90       135.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 08.2014.
        WWF            454          05/23/16    290.00           0.80       232.00    BANK STATEMENT RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER LP.
        RMR            454          05/23/16    150.00           5.00       750.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 08.2014
                                                                                      THROUGH 09.2014.
        MCP            454          05/24/16    270.00           2.70       729.00    REVIEW AND OBTAIN DOCUMENTS IN QUIROS MIAMI
                                                                                      OFFICE.
        FDD            459          05/24/16    150.00           2.70       405.00    REVIEW AND OBTAIN DOCUMENTS FROM QUIROS
                                                                                      OFFICE IN MIAMI TO SECURE ADDITIONAL BANKING
                                                                                      RECORDS.
        RMR            454          05/24/16    150.00           7.70      1,155.00   BANK RECONSTRUCTION FOR JAY PEAK INC PB 1736
        MAK            459          05/24/16    260.00           1.40       364.00    REVIEW BANK DOCUMENTS LOCATED IN THE MIAMI
                                                                                      QUIROS OFFICE.
        WWF            454          05/24/16    290.00           2.10       609.00    BANK STATEMENT RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER LP.
        MCP            454          05/24/16    270.00           2.50       675.00    REVIEW AND OBTAIN DOCUMENTS IN QUIROS MIAMI
                                                                                      OFFICE (CONTINUED).
        FDD            459          05/24/16    150.00           2.50       375.00    REVIEW AND OBTAIN DOCUMENTS FROM QUIROS
                                                                                      OFFICE IN MIAMI TO SECURE ADDITIONAL BANKING
                                                                                      RECORDS (CONTINUED).
        FDD            459          05/25/16    150.00           0.60        90.00    REVIEW BANK RECORDS OBTAINED FROM QUIROS MIAMI
                                                                                      OFFICE AND ARCHIVE. UPDATE MASTER BANK
                                                                                      INVENTORY.
        MCP            454          05/25/16    270.00           1.80       486.00    BEGIN TO REVIEW LEGAL AND BUSINESS RATIONALES
                                                                                      FOR EXPENDITURES TO DATE RE: JAY PEAK BIOMEDICAL
                                                                                      RESEARCH PARK LP FUNDS PRODUCED FOR DFR.
        RMR            454          05/25/16    150.00           1.30       195.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 09.2014.




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    Staff            Activity           Date     Rate          Hrs/Units   Amount            Description

        FDD            459          05/25/16    150.00           4.80       720.00    REVIEW BANK RECORDS OBTAINED FROM QUIROS MIAMI
                                                                                      OFFICE AND ARCHIVE. UPDATE MASTER BANK
                                                                                      INVENTORY (CONTINUED).
        WWF            454          05/25/16    290.00           1.30       377.00    BANK STATEMENT RECONSTRUCTION FOR ARIEL
                                                                                      QUIROS.
        WWF            454          05/25/16    290.00           1.80       522.00    BANK STATEMENT RECONSTRUCTION OF Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER LP
                                                                                      ACCOUNTS.
        MCP            454          05/25/16    270.00           4.20      1,134.00   CONTINUE TO RECONSTRUCT BURKE ACCOUNTS AND
                                                                                      BEGIN TO RECONSTRUCT QUIROS PERSONAL ACCOUNTS
        KM             454          05/25/16    270.00           1.20       324.00    REVIEW STATUS OF BANK RECONSTRUCTIONS, BANK
                                                                                      RECORDS OUTSTANDING AND FORENSIC ANALYSIS.
        MMD            459          05/25/16    400.00           0.50       200.00    REVIEW STATUS OF BANK RECONSTRUCTIONS AND
                                                                                      PONZI ANALYSIS WITH STAFF.
        MMD            459          05/25/16    400.00           0.10        40.00    REVIEW EMAILS RE SECURITY SERVICE.
        SRK            459          05/25/16    540.00           0.30       162.00    CONTINUE FINANCIAL INVESTIGATION OF BANK
                                                                                      RECORDS.
        RMR            454          05/25/16    150.00           4.10       615.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC.,
                                                                                      REVIEWING ACCOUNT PU #1736 PERIOD 10.2014.
        RMR            454          05/25/16    150.00           2.60       390.00    REVIEW BANK RECONSTRUCTION FOR Q RESORT INC.
                                                                                      AND ENTER UNDERLYING SUPPORT.
        FDD            454          05/26/16    150.00           1.30       195.00    EXTRACT GENERAL LEDGER DETAIL FOR Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER AND
                                                                                      BEGIN RECONCILING DATA TO THE BANK STATEMENTS.
        MMD            454          05/26/16    400.00           2.40       960.00    REVIEW BANK RECONSTRUCTION SUMMARIES IN
                                                                                      CONNECTION WITH ANALYZING AND TRACING INVESTOR
                                                                                      FUNDS.
        RMR            454          05/27/16    150.00           1.00       150.00    EDITING THE Q BURKE MOUNTAIN RESORT AND
                                                                                      CONFERENCE CENTER LP EXCEL BANK RECONSTRUCTION
                                                                                      SHEET FOR PEOPLES UNITED BANK
        MCP            454          05/27/16    270.00           5.10      1,377.00   CONTINUE TO RECONSTRUCT QUIROS ACCOUNTS.
        MMD            459          05/27/16    400.00           0.20        80.00    EMAILS REGARDING TANGO GRILL.
        MMD            459          05/27/16    400.00           0.80       320.00    REVIEW UPDATED BANK RECONSTRUCTIONS.
        KM             451          05/27/16    270.00           0.30        81.00    T/C WITH K MATREGRANO (RECEIVER'S OFFICE) TO
                                                                                      REVIEW CASE STATUS AND RECORD PRODUCTION.
        FDD            459          05/31/16    150.00           1.60       240.00    REVIEW NECS PRODUCTION RECEIVED FROM COUNSEL.
                                                                                      ARCHIVE BANK STATEMENTS AND UPDATE MASTER BANK
                                                                                      INVENTORY
        FDD            454          05/31/16    150.00           1.40       210.00    PREPARE A BANK RECONSTRUCTION FOR NECS
                                                                                      REVIEWING ACCOUNT #0221 FOR THE PERIOD 03.2013
                                                                                      THROUGH 03.2016
        FDD            459          05/31/16    150.00           5.40       810.00    REVIEW RECORDS IN QUIROS OFFICE IN MIAMI TO
                                                                                      SECURE ADDITIONAL BANKING RECORDS (CONTINUED)
        KM             451          05/31/16    270.00           0.30        81.00    T/C WITH K MATREGRANO TO REVIEW IT MEMO AND
                                                                                      LOGISTICAL ISSUES FOR IMAGING\COPYING DATA FOR
                                                                                      DOJ.
        MCP            454          05/31/16    270.00           0.80       216.00    REVIEW RECORDS TAKEN FROM GSI FOR THE PURPOSE
                                                                                      OF PRODUCING DOCUMENTS REQUESTED BY A. QUIROS.
        MCP            454          05/31/16    270.00           5.40      1,458.00   CONTINUE TO REVIEW RECORDS LOCATED IN GSI
                                                                                      OFFICES.
        MCP            454          05/31/16    270.00           0.60       162.00    BEGIN TO RECONSTRUCT JAY PEAK GOLF AND
                                                                                      MOUNTAIN SUITES LP
        MCP            454          05/31/16    270.00           0.80       216.00    BEGIN TO RECONSTRUCT BURKE MOUNTAIN OPERATING
                                                                                      ACCOUNT.


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    Staff            Activity           Date     Rate          Hrs/Units   Amount          Description

        MMD            454          05/31/16    400.00           1.10      440.00   REVIEW BANK RECONSTRUCTIONS AND INVESTOR
                                                                                    FUNDS TRACING.
        FDD            454          06/01/16    150.00           0.90      135.00   PREPARE BANK RECONSTRUCTION FOR NECS REVIEWING
                                                                                    ACCOUNT #3588 PERIOD 03.2013 THROUGH 03.2016.
                                                                                    PREPARE ALPHA SORT AND SUMMARY SCHEDULES
        FDD            454          06/01/16    150.00           0.60       90.00   REVIEW BANK RECONSTRUCTION FOR Q BURKE
                                                                                    MOUNTAIN RESORT AND CONFERENCE CENTER. REVIEW
                                                                                    BANK RECONSTRUCTION FOR JAY PEAK INVESTMENT
                                                                                    HOLDINGS LLC.
        MB2            454          06/01/16    120.00           2.50      300.00   PREPARE INDEX OF ACCOUNTING BINDERS.
        RMR            454          06/01/16    150.00           2.00      300.00   BANK INVENTORY OF Q RESORTS DOCUMENTS FROM
                                                                                    MIAMI
        RMR            454          06/01/16    150.00           3.90      585.00   BANK RECONSTRUCTION FOR Q BURKE MOUNTAIN
                                                                                    RESORT AND CONFERENCE CENTER PU-9776.
        FDD            454          06/01/16    150.00           0.80      120.00   REVIEW BANK RECONSTRUCTION FOR JAY PEAK
                                                                                    BIOMEDICAL RESEARCH ACCOUNT #8224 AND BEGIN
                                                                                    PREPARING ALPHA SORT
        KM             454          06/01/16    270.00           0.60      162.00   REVIEW SUMMARY OF CASE STATUS. REVIEW TAX
                                                                                    RETURNS REQUIRED AND STATUS OF PRODUCTIONS.
        CJL            454          06/01/16    120.00           1.00      120.00   BANK RECONSTRUCTION OF JAY PEAK INVESTMENT
                                                                                    HOLDINGS, LLC. JANUARY 2015 - MARCH 2016.
        SRK            459          06/01/16    540.00           1.10      594.00   PREPARE FOR AND TELEPHONE CONFERENCE WITH
                                                                                    RECEIVER AND RECEIVER COUNSELS.
        MMD            459          06/01/16    400.00           1.10      440.00   DRAFT STATUS UPDATE ON ANALYSIS FOR RECEIVER.
        MMD            459          06/01/16    400.00           0.30      120.00   RESPOND TO EMAIL REGARDING ESI.
        CJL            454          06/02/16    120.00           1.70      204.00   BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                    PHASE II, REVIEWING DESJARDIN #3448 PERIOD
                                                                                    JANUARY 2015 THROUGH FEBRUARY 2016.
        RMR            454          06/02/16    150.00           3.90      585.00   BANK RECONSTRUCTION FOR Q BURKE MOUNTAIN
                                                                                    RESORT AND CONFERENCE CENTER REVIEWING
                                                                                    ACCOUNT PU #5809 AND PU #6886.
        KM             451          06/02/16    270.00           0.30       81.00   T/C WITH S KAPILA, K STRAUSS, AND S QUEVEDO TO
                                                                                    REVIEW TAX AND ACCOUNTING PRODUCTION FOR
                                                                                    DEFENDANTS.
        SRK            459          06/02/16    540.00           0.30      162.00   TELEPHONE CONFERENCE WITH KEN STRAUSS AT
                                                                                    BERKOWITZ POLLACK BRANT AND KEVIN MCCOY RE
                                                                                    ADDITIONAL INFORMATION REQUIRED FOR ANCILLARY
                                                                                    COMPANIES.
        FDD            454          06/02/16    150.00           1.80      270.00   REVIEW BANK RECONSTRUCTION FOR JAY PEAK
                                                                                    BIOMEDICAL RESEARCH ACCOUNT #8224 AND PREPARE
                                                                                    ALPHA SORT (CONTINUED). BEGIN REVIEWING
                                                                                    ACCOUNT #6739 AND PREPARING ALPHA SORT.
        CJL            454          06/02/16    120.00           3.30      396.00   BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                    PHASE II, REVIEWING RAYMOND JAMES #6370 PERIOD
                                                                                    JUNE 2008 THROUGH DECEMBER 2009.
        RMR            454          06/02/16    150.00           1.50      225.00   BANK RECONSTRUCTION FOR Q BURKE MOUNTAIN
                                                                                    RESORT AND CONFERENCE CENTER REVIEWING
                                                                                    ACCOUNT ML #3530.
        RMR            454          06/02/16    150.00           2.10      315.00   BANK RECONSTRUCTION FOR Q BURKE MOUNTAIN
                                                                                    RESORT AND CONFERENCE CENTER REVIEWING
                                                                                    ACCOUNT PU #9976.
        RMR            454          06/03/16    150.00           1.10      165.00   BANK RECONSTRUCTION FOR Q BURKE MOUNTAIN
                                                                                    RESORT AND CONFERENCE CENTER CPB-5929 AND
                                                                                    RJ-7674



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        CJL            454          06/03/16    120.00           4.50      540.00   BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                    PHASE II. COMPLETED RAYMOND JAMES #6370
                                                                                    (JANUARY 2010 - MAY 2010), AND PEOPLE'S UNITED
                                                                                    #0659 (OCTOBER 2014).
        FDD            459          06/03/16    150.00           0.20       30.00   DOWNLOAD AND ARCHIVE GOLDMAN SACHS
                                                                                    PRODUCTION
        MAK            459          06/03/16    280.00           0.40      112.00   ATTEND TO EMAILS RE: DROPBOX FILES.
        RMR            454          06/03/16    150.00           3.90      585.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                    AND MOUNTAIN SUITE LP, REVIEWING ACCOUNT PU
                                                                                    #9612 PERIOD 12.2010 THROUGH 10.2012.
        MCP            454          06/03/16    270.00           1.80      486.00   DOWNLOAD GENERAL LEDGERS FOR MULTIPLE
                                                                                    COMPANIES AND YEARS. RECONCILE BANK ACCOUNT
                                                                                    ACTIVITY TO VARIOUS COMPANIES GENERAL LEDGERS
                                                                                    FOR THE PURPOSE OF ENSURING THE ENTITY ON THE
                                                                                    BANK STATEMENT CORRESPONDS TO THE GENERAL
                                                                                    LEDGER COMPANY.
        FDD            454          06/03/16    150.00           3.30      495.00   REVIEW BANK RECONSTRUCTION FOR Q BURKE
                                                                                    MOUNTAIN RESORT AND CONFERENCE CENTER LP,
                                                                                    REVIEWING ACCOUNT #9976 AND #6886.
        RMR            454          06/03/16    150.00           3.30      495.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                    AND MOUNTAIN SUITE LP, REVIEWING ACCOUNT PU
                                                                                    #9612 PERIOD 12.2010 THROUGH 10.2012.
        CJL            454          06/06/16    120.00           3.00      360.00   BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                    PHASE II. COMPLETED RAYMOND JAMES #6370 (JUNE
                                                                                    2010 - FEBRUARY 2014).
        RMR            454          06/06/16    150.00           4.10      615.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                    AND MOUNTAIN SUITE LP, REVIEWING ACCOUNT PU
                                                                                    #9612 PERIOD 12.2013 THROUGH 05.2014 AND PU
                                                                                    #0215 PERIOD 12.2012 THROUGH 09.2013.
        FDD            454          06/06/16    150.00           1.50      225.00   PREPARE BANK RECONSTRUCTION FOR Q BURKE
                                                                                    MOUNTAIN RESORT AND CONFERENCE CENTER,
                                                                                    REVIEWING ACCOUNT #6886 PERIOD 12.2013 THROUGH
                                                                                    12.2015
        FDD            459          06/06/16    150.00           0.80      120.00   REVISE QUIROS MIAMI OFFICE DOCUMENT INVENTORY
        WWF            454          06/06/16    290.00           1.40      406.00   RECONSTRUCTION OF ARIEL QUIROS PERSONAL BANK
                                                                                    ACCOUNTS.
        SRK            459          06/06/16    540.00           0.30      162.00   CONTINUE FORENSIC ANALYSIS AND LITIGATION
                                                                                    SUPPORT ANALYSIS.
        MMD            459          06/06/16    400.00           0.70      280.00   REVIEW COMPLAINT AGAINST RAYMOND JAMES.
        MMD            459          06/06/16    400.00           0.60      240.00   REVIEW AND FINALIZE INVENTORY OF RECORDS
                                                                                    OBTAINED FROM MIAMI OFFICE.
        MMD            459          06/06/16    400.00           1.30      520.00   REVIEW BANK RECONSTRUCTIONS.
        RMR            454          06/06/16    150.00           3.40      510.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                    AND MOUNTAIN SUITE LP, REVIEWING ACCOUNT PU
                                                                                    #0215 PERIOD 09.2013 THROUGH 07.2014.
        CJL            454          06/07/16    120.00           2.30      276.00   BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                    PHASE II. COMPLETED PEOPLE'S UNITED #0659
                                                                                    (OCTOBER - DECEMBER 2014).
        WWF            454          06/07/16    290.00           3.30      957.00   BANK STATEMENT RECONSTRUCTION OF ARIEL QUIROS
                                                                                    PERSONAL ACCOUNTS.
        RMR            454          06/07/16    150.00           3.10      465.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                    AND MOUNTAIN SUITE LP, REVIEWING ACCOUNT PU
                                                                                    #0215 PERIOD 07.2014 THROUGH 03.2015.




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        FDD            454          06/07/16    150.00           0.60        90.00    REVIEW MASTER BANK INVENTORY AND UPDATE
                                                                                      ACCORDINGLY. PREPARE TEMPLATE TO RECORD
                                                                                      BERKOWITZ POLLACK BRANT INVOICES FOR C. LEVINE.
        WWF            454          06/07/16    290.00           2.40       696.00    CONTINUE BANK STATEMENT RECONSTRUCTION OF
                                                                                      ARIEL QUIROS PERSONAL ACCOUNTS.
        MMD            459          06/07/16    400.00           0.60       240.00    DRAFT EMAIL TO RECEIVER WITH UPDATE ON FORENSIC
                                                                                      ANALYSIS.
        MMD            459          06/07/16    400.00           0.40       160.00    RESPOND TO EMAIL FROM COUNSEL RE BPB TRANSFERS.
        RMR            454          06/07/16    150.00           4.30       645.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                      AND MOUNTAIN SUITE LP, REVIEWING ACCOUNT PU
                                                                                      #0215 PERIOD 03.2015 THROUGH 03.2016.
        WWF            454          06/08/16    290.00           1.10       319.00    RECONSTRUCTION OF ARIEL QUIROS PERSONAL BANK
                                                                                      ACCOUNTS.
        CJL            454          06/08/16    120.00           4.60       552.00    BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                      PHASE II. COMPLETED PEOPLE'S UNITED #0659
                                                                                      (JANUARY - FEBRUARY 2015).
        RMR            454          06/08/16    150.00           6.60       990.00    BANK RECONSTRUCTION FOR JAY PEAK GOLD AND
                                                                                      MOUNTAIN CENTER SUITES PU-0215, PU-9620, AND
                                                                                      RJ-9776.
        FDD            454          06/08/16    150.00           1.20       180.00    REVIEW BANK RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER,
                                                                                      ACCOUNTS #3530, #5929 & #7674. PREPARE A
                                                                                      COMBINED RECONSTRUCTION FOR ALL ACCOUNTS AND
                                                                                      BEGIN PREPARING ALPHA SORT.
        SRK            459          06/08/16    540.00           0.30       162.00    EMAIL OF TASK UPDATE TO RECEIVER GOLDBERG RE
                                                                                      FORENSIC INVESTIGATION.
        MMD            459          06/08/16    400.00           0.20        80.00    REVIEW DRAFT EMAIL TO RECEIVER RE STATUS OF
                                                                                      FORENSIC INVESTIGATION.
        RMR            454          06/09/16    150.00           3.90       585.00    COMPLETED BANK RECONSTRUCTION FOR JAY PEAK
                                                                                      GOLF AND MOUNTAIN SUITES FOR ALL ACCOUNTS
        CJL            454          06/09/16    120.00           3.00       360.00    BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                      PHASE II. COMPLETED PEOPLE'S UNITED #0659
                                                                                      (FEBRUARY - MARCH 2015).
        WWF            454          06/09/16    290.00           2.10       609.00    BANK STATEMENT RECONSTRUCTION FOR JAY PEAK
                                                                                      HOTEL SUITES STATESIDE.
        FDD            454          06/09/16    150.00           3.20       480.00    REVIEW BANK RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER.
                                                                                      FINALIZE ALPHA SORT AND TIE-OUT INTERCOMPANY
                                                                                      TRANSFERS. PREPARE SUMMARY OF BANK ACCOUNT
                                                                                      ACTIVITY.
        FDD            454          06/10/16    150.00           3.40       510.00    REVISED BERKOWITZ ANALYSIS. RECONCILE INVOICES
                                                                                      WITH BANKING RECORDS
        FDD            454          06/10/16    150.00           1.80       270.00    REVIEW BANK RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER. ENTER
                                                                                      PAYEE DETAIL FROM GENERAL LEDGER FOR
                                                                                      TRANSACTIONS REQUIRING FURTHER INVESTIGATION
        CJL            454          06/10/16    120.00           4.20       504.00    BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                      PHASE II. COMPLETED PEOPLE'S UNITED #0659 (MARCH
                                                                                      - AUGUST 2015).
        WWF            454          06/10/16    290.00           3.50      1,015.00   RECONSTRUCTION OF BANK STATEMENTS RELATED TO
                                                                                      JAY PEAK HOTEL SUITES STATESIDE.
        WWF            454          06/10/16    290.00           4.30      1,247.00   CONTINUE RECONSTRUCTION OF BANK STATEMENTS
                                                                                      RELATED TO JAY PEAK HOTEL SUITES STATESIDE.
        MMD            459          06/11/16    400.00           0.30       120.00    RESPOND TO EMAIL FROM J. SCHNEIDER RE BPP
                                                                                      PAYMENTS AND INVOICES.


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    Staff            Activity           Date     Rate          Hrs/Units   Amount            Description

        FDD            454          06/13/16    150.00           1.60       240.00    REVIEW BANK RECONSTRUCTION FOR Q BURKE
                                                                                      MOUNTAIN RESORT AND CONFERENCE CENTER. ENTER
                                                                                      PAYEE DETAIL FROM GENERAL LEDGER FOR
                                                                                      TRANSACTIONS REQUIRING FURTHER INVESTIGATION
                                                                                      (CONTINUED). PREPARE A SUMMARY OF BANK ACTIVITY
        FDD            454          06/13/16    150.00           0.30        45.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK
                                                                                      INVESTMENT HOLDINGS LLC AND PREPARE ALPHA SORT
        FDD            454          06/13/16    150.00           3.90       585.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK
                                                                                      BIOMEDICAL RESEARCH, ACCOUNTS #6739 AND #9901.
        CJL            454          06/13/16    120.00           4.50       540.00    BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                      PHASE II. COMPLETED PEOPLE'S UNITED #0659 (OCT
                                                                                      2015 - MARCH 2016) AND #0667.
        WWF            454          06/13/16    290.00           2.30       667.00    BANK STATEMENT RECONSTRUCTION FOR JAY PEAK
                                                                                      HOTEL SUITES STATESIDE ACCOUNTS.
        WWF            454          06/14/16    290.00           6.70      1,943.00   BANK STATEMENT RECONSTRUCTION FOR JAY PEAK
                                                                                      HOTEL SUITES STATESIDE ACCOUNTS.
        FDD            454          06/14/16    150.00           3.40       510.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK
                                                                                      BIOMEDICAL RESEARCH, ACCOUNTS #9901 (CONTINUED,
                                                                                      #4153 & #2404. PREPARE ALPHA SORT. TIE-OUT
                                                                                      INTERCOMPANY TRANSFERS AND ENTER GENERAL
                                                                                      LEDGER DETAIL FOR TRANSACTIONS REQUIRING
                                                                                      FURTHER INVESTIGATION.
        FDD            454          06/14/16    150.00           4.30       645.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK
                                                                                      BIOMEDICAL RESEARCH AND ENTER GENERAL LEDGER
                                                                                      DETAIL FOR TRANSACTIONS REQUIRING FURTHER
                                                                                      INVESTIGATION (CONTINUED). PREPARE SUMMARY OF
                                                                                      BANK ACCOUNT ACTIVITY.
        FDD            454          06/14/16    150.00           0.40        60.00    REVIEW GENERAL LEDGERS AND REFINE MASTER BANK
                                                                                      INVENTORY
        MCP            454          06/15/16    270.00           0.70       189.00    REVIEW JAY PEAK INTERIM ESCROW ACCOUNT
                                                                                      STATEMENTS TO IDENTIFY SUPPORTING GENERAL
                                                                                      LEDGER.
        MCP            454          06/15/16    270.00           3.20       864.00    DOWNLOAD MISSING GENERAL LEDGERS FOR MULTIPLE
                                                                                      YEARS AND COMPANIES. INSTRUCT C. LEVINE HOW TO
                                                                                      CONSOLIDATE AND FORMAT GENERAL LEDGERS INTO
                                                                                      MANIPULATABLE DATA.
        MCP            454          06/15/16    270.00           1.80       486.00    RESEARCH Q AVIATION AND INTERCOMPANY PAYABLE
                                                                                      TO JAY PEAK.
        CJL            454          06/15/16    120.00           5.00       600.00    FORMULATED AND CONSOLIDATED GENERAL LEDGER
                                                                                      DATA FOR ALL MISSING COMPANIES OF JAY PEAK
                                                                                      ENTITIES. COMPLETED COMPANIES 08, 10, 25, 35, 80,
                                                                                      81, AND 82 OF JAY PEAK INC.
        FDD            454          06/15/16    150.00           0.70       105.00    REVIEW GENERAL LEDGERS AND REFINE MASTER BANK
                                                                                      INVENTORY (CONTINUED).
        FDD            454          06/15/16    150.00           2.80       420.00    REVIEW BANK RECONSTRUCTIONS FOR ANC BIO
                                                                                      VERMONT GP AND ANC BIO VERMONT LLC, ACCOUNTS
                                                                                      #6758, #1436, #5718, #6756, #6757 AND #4996.
        FDD            454          06/15/16    150.00           3.90       585.00    REVIEW BANK RECONSTRUCTIONS FOR ANC BIO
                                                                                      VERMONT GP AND ANC BIO VERMONT LLC, ACCOUNTS
                                                                                      #6758, #1436, #5718, #6756, #6757 AND #4996
                                                                                      (CONTINUED). PREPARE ALPHA SORT AND BEGIN
                                                                                      ENTERING GL DETAIL FOR TRANSACTIONS REQUIRING
                                                                                      FURTHER INVESTIGATION
        WWF            454          06/15/16    290.00           3.90      1,131.00   BANK STATEMENT RECONSTRUCTION OF JAY PEAK
                                                                                      HOTEL SUITES STATESIDE BANK ACCOUNTS.



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        WWF            454          06/15/16    290.00           1.90       551.00    BANK STATEMENT RECONSTRUCTION OF JAY PEAK
                                                                                      LODGE AND TOWNHOUSES BANK ACCOUNTS.
        KM             454          06/15/16    270.00           0.40       108.00    REVIEW ACCOUNTING RECORDS OF Q AVIATION AND
                                                                                      DUE TO JAY PEAK INC AND Q RESORTS GL ACCOUNTS.
                                                                                      DISCUSS SAME WITH M PARISI FOR FURTHER REVIEW
                                                                                      AND RECORDS REQUIRED TO DO SO.
        CJL            454          06/16/16    120.00           2.00       240.00    FORMULATED AND CONSOLIDATED GENERAL LEDGER
                                                                                      DATA FOR ALL MISSING COMPANIES OF JAY PEAK
                                                                                      ENTITIES. COMPLETED COMPANIES 30, 40, 50, 55, 60,
                                                                                      AND 65.
        CJL            454          06/16/16    120.00           5.50       660.00    BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                      PHASE II. COMPLETED PEOPLE'S UNITED #9489 AND
                                                                                      #9471 (NOVEMBER 2006 - JULY 2008).
        RMR            454          06/16/16    150.00           2.40       360.00    BANK RECONSTRUCTION FOR JAY PEAK HOTEL SUITES
                                                                                      LP , REVIEWING ACCOUNT DJ #3253 AND PU #1205.
        FDD            454          06/16/16    150.00           2.00       300.00    REVIEW BANK RECONSTRUCTIONS FOR ANC BIO
                                                                                      VERMONT LLC, ENTER GENERAL LEDGER DETAIL FOR
                                                                                      TRANSACTIONS REQUIRING FURTHER INVESTIGATION
                                                                                      (CONTINUED)
        WWF            454          06/16/16    290.00           5.10      1,479.00   RECONSTRUCTION OF JAY PEAK LODGE AND
                                                                                      TOWNHOUSES LP BANK ACCOUNTS.
        RMR            454          06/16/16    150.00           3.70       555.00    BANK RECONSTRUCTION FOR JAY PEAK HOTEL SUITES
                                                                                      LP, REVIEWING ACCOUNT PU #1221 AND RJ #0726.
        RMR            454          06/17/16    150.00           0.70       105.00    COMPLETED BANK RECONSTRUCTION FOR JAY PEAK
                                                                                      HOTEL SUITES LP RJ-6365.
        WWF            454          06/17/16    290.00           5.60      1,624.00   RECONSTRUCTION OF JAY PEAK LODGE AND
                                                                                      TOWNHOUSE LP BANK ACCOUNTS.
        RMR            454          06/17/16    150.00           6.20       930.00    BANK RECONCILIATION FOR JAY PEAK PENTHOUSE
                                                                                      SUITES PU-0216
        FDD            454          06/17/16    150.00           2.60       390.00    REVIEW BANK RECONSTRUCTIONS FOR ANC BIO
                                                                                      VERMONT LLC, ENTER GENERAL LEDGER DETAIL FOR
                                                                                      TRANSACTIONS REQUIRING FURTHER INVESTIGATION
                                                                                      (CONTINUED)
        FDD            454          06/17/16    150.00           1.60       240.00    UPDATE JAY PEAK BIOMEDICAL RESEARCH AND GSI OF
                                                                                      DADE COUNTY TRANSACTIONS REQUIRING FURTHER
                                                                                      INVESTIGATION. BEGIN REVIEWING BANK
                                                                                      RECONSTRUCTION FOR JAY PEAK GOLF AND MOUNTAIN
                                                                                      SUITES LP, ACCOUNT #9620.
        CJL            454          06/17/16    120.00           8.00       960.00    BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                      PHASE II. COMPLETED PEOPLE'S UNITED #9471 AUGUST
                                                                                      2008 - APRIL 2010).
        CJL            454          06/20/16    120.00           5.00       600.00    BANK RECONSTRUCTION OF JAY PEAK HOTEL SUITES
                                                                                      PHASE II. COMPLETED PEOPLE'S UNITED #9471 (MAY
                                                                                      2010 - DECEMBER 2013). JAY PEAK HOTEL SUITES PHASE
                                                                                      II BANK RECONSTRUCTION IS COMPLETE.
        RMR            454          06/20/16    150.00           2.70       405.00    BANK RECONSTRUCTION FOR JAY PEAK ACCOUNTS.
        WWF            454          06/20/16    290.00           3.60      1,044.00   RECONSTRUCTION OF JAY PEAK LODGE AND
                                                                                      TOWNHOUSE LP BANK ACCOUNTS.
        WWF            454          06/20/16    290.00           4.30      1,247.00   CONTINUE TO RECONSTRUCT BANK ACCOUNTS RELATED
                                                                                      TO JAY PEAK LODGE AND TOWNHOUSES LP.
        RMR            454          06/21/16    150.00           7.50      1,125.00   BANK RECONSTRUCTION FOR JAY PEAK PENTHOUSE
                                                                                      SUITES PU-9554 AND PU-7509
        WWF            454          06/21/16    290.00           3.80      1,102.00   RECONSTRUCTION OF BANK ACCOUNTS RELATED TO JAY
                                                                                      PEAK LODGE AND TOWNHOUSES LP.




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    Staff            Activity           Date     Rate          Hrs/Units   Amount            Description

        MMD            454          06/21/16    400.00           1.80       720.00    REVIEW UPDATED BANK RECONSTRUCTIONS AND
                                                                                      DISCUSS ANALYSIS WITH F. DIAZ.
        RMR            454          06/22/16    150.00           6.20       930.00    BANK RECONSTRUCTION FOR JAY PEAK PENTHOUSE
                                                                                      SUITES PU-9554.
        FDD            454          06/22/16    150.00           2.20       330.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                      AND MOUNTAIN SUITES LP, ACCOUNTS #0215, #9612,
                                                                                      AND #9776.
        WWF            454          06/22/16    290.00           1.40       406.00    RECONSTRUCTION OF BANK STATEMENTS RELATED TO
                                                                                      JAY PEAK LODGE AND TOWNHOMES.
        RMR            454          06/23/16    150.00           7.50      1,125.00   BANK RECONCILIATION OF JAY PEAK PENTHOUSE SUITES
                                                                                      PU-9562 AND RJ-9503
        SRK            459          06/23/16    540.00           0.30       162.00    ATTEND TO MULTIPLE EMAILS RE FINANCIAL
                                                                                      INVESTIGATION, INCLUDING GSI DADE COUNTY AND
                                                                                      TAX RECORDS.
        KM             454          06/23/16    270.00           1.60       432.00    REVIEW AVAILABLE ACCOUNTING AND FINANCIAL
                                                                                      RECORDS FOR GSI AND JCM RELIEF DEFENDANTS.
                                                                                      PREPARE REQUEST FROM ACCOUNTING PERSONNEL FOR
                                                                                      MISSING RECORDS. T/C WITH A BAROUH RE: STATUS OF
                                                                                      GSI RECORDS.
        WWF            454          06/24/16    290.00           1.10       319.00    BANK STATEMENT RECONSTRUCTION FOR ACCOUNTS
                                                                                      RELATED TO JAY PEAK LODGE AND TOWNHOUSES LP.
        WWF            454          06/24/16    290.00           3.60      1,044.00   ANALYSIS OF DOCUMENTS RELATED TO NORTHEAST
                                                                                      CONTRACT SERVICES.
        WWF            454          06/24/16    290.00           1.10       319.00    BANK STATEMENT RECONSTRUCTION OF ACCOUNTS
                                                                                      RELATED TO JAY CONSTRUCTION MANAGEMENT.
        MCP            454          06/24/16    270.00           4.20      1,134.00   OBTAIN ADDITIONAL BANK RECORDS, FINANCIAL
                                                                                      STATEMENTS, AND TAX RETURNS FROM QUIROS MIAMI
                                                                                      OFFICE.
        FDD            454          06/24/16    150.00           4.20       630.00    OBTAIN ADDITIONAL BANK RECORDS, FINANCIAL
                                                                                      STATEMENTS, AND TAX RETURNS FROM QUIROS MIAMI
                                                                                      OFFICE.
        FDD            454          06/24/16    150.00           0.50        75.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                      AND MOUNTAIN SUITES LP, ACCOUNTS #9776
                                                                                      (CONTINUED)
        KM             454          06/24/16    270.00           0.40       108.00    PREPARE REQUEST FOR VERMONT DOJ FOR GSI
                                                                                      RECORDS PROVIDED BY ALBERTO (GSI BOOKKEEPER).
        MCP            454          06/24/16    270.00           2.40       648.00    OBTAIN ADDITIONAL BANK RECORDS, FINANCIAL
                                                                                      STATEMENTS, AND TAX RETURNS FROM QUIROS MIAMI
                                                                                      OFFICE (CONTINUED).
        FDD            454          06/24/16    150.00           2.40       360.00    OBTAIN ADDITIONAL BANK RECORDS, FINANCIAL
                                                                                      STATEMENTS, AND TAX RETURNS FROM QUIROS MIAMI
                                                                                      OFFICE (CONTINUED).
        FDD            454          06/27/16    150.00           3.20       480.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK HOTEL
                                                                                      SUITES LP, ACCOUNTS #3253, #1205, #1221 & #6365.
                                                                                      PREPARE ALPHA SORT AND SUMMARY SCHEDULES
        FDD            454          06/27/16    150.00           1.80       270.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK GOLF
                                                                                      AND MOUNTAIN, ACCOUNT #9776 (CONTINUED).
                                                                                      PREPARE ALPHA AND SUMMARY SCHEDULES. BEGIN
                                                                                      ENTERING DETAIL FOR TRANSACTIONS REQUIRING
                                                                                      FURTHER INVESTIGATION FROM CHECK REGISTER
        MCP            454          06/27/16    270.00           7.10      1,917.00   DOWNLOAD AND FORMAT CHECK REGISTER FOR JAY
                                                                                      PEAK ENTITIES. FORMAT FILES INTO USEABLE DATA.
                                                                                      UPDATE ALL FURTHER INVESTIGATION REQUIRED
                                                                                      CHECKS IN BANK RECONSTRUCTION.




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        RMR            454          06/27/16    150.00           5.50       825.00    COMPLETED JAY PEAK PENTHOUSE SUITES BANK
                                                                                      RECONSTRUCTION. COMPLETED PU-9562 AND PU-9503
                                                                                      RECONSTRUCTIONS.
        WWF            454          06/27/16    290.00           2.30       667.00    RECONSTRUCTION OF BANK STATEMENTS RELATED TO
                                                                                      JAY PEAK GOLF AND MOUNTAIN SUITES LP.
        WWF            454          06/27/16    290.00           1.20       348.00    SUMMARIZE AND COMPLETE BANK STATEMENT
                                                                                      RECONSTRUCTION FOR JAY PEAK LODGE AND
                                                                                      TOWNHOUSES LP.
        RMR            454          06/28/16    150.00           7.50      1,125.00   REVIEWED BANK STATEMENTS THAT WERE MISSING
                                                                                      FROM BINDERS FOR ENTITIES OF JAY PEAK AND OTHERS
        WWF            454          06/28/16    290.00           3.40       986.00    BANK STATEMENT RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT ACCOUNTS.
        WWF            454          06/28/16    290.00           0.90       261.00    BANK STATEMENT RECONSTRUCTION OF GSI OF DADE
                                                                                      COUNTY ACCOUNTS.
        WWF            454          06/28/16    290.00           1.40       406.00    ANALYSIS OF NEW DOCUMENTS RELATED TO
                                                                                      NORTHEAST CONTRACT SERVICES.
        FDD            454          06/29/16    150.00           2.60       390.00    REVIEW BANK RECONSTRUCTION FOR JAY PEAK HOTEL
                                                                                      SUITES PHASE II, ACCOUNTS #3548, #6370, #0659,
                                                                                      #0667, #9471, AND #9489 (CONTINUED). ENTER
                                                                                      DETAIL FOR TRANSACTIONS REQUIRING FURTHER
                                                                                      INVESTIGATION FROM CHECK REGISTER. PREPARE
                                                                                      ALPHA SORT AND SUMMARY OF BANK ACTIVITY
        FDD            454          06/29/16    150.00           1.20       180.00    REVIEW BANK RECONSTRUCTIONS FOR JAY PEAK
                                                                                      PENTHOUSE SUITES LP, ACCOUNTS #0216, #7509 &
                                                                                      #9554)
        RMR            454          06/29/16    150.00           3.30       495.00    REVIEW ADDITIONAL DOCUMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ARCHIVE BANK
                                                                                      STATEMENTS.
        WWF            454          06/29/16    290.00           1.90       551.00    BANK STATEMENT RECONSTRUCTION OF JAY PEAK
                                                                                      BIOMEDICAL RESEARCH LP BANK ACCOUNTS.
        WWF            454          06/29/16    290.00           0.30        87.00    BANK STATEMENT RECONSTRUCTION OF JAY
                                                                                      CONSTRUCTION MANAGEMENT BANK ACCOUNTS.
        RMR            454          06/29/16    150.00           4.20       630.00    REVIEW ADDITIONAL DOCUMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ARCHIVE BANK STATEMENTS
                                                                                      (CONTINUED).
        RMR            454          06/30/16    150.00           7.50      1,125.00   REVIEWED NEW BANK STATEMENTS FROM MIAMI OFFICE
        WWF            454          06/30/16    290.00           2.10       609.00    BANK STATEMENT RECONSTRUCTION FOR JAY PEAK INC
                                                                                      RELATED ACCOUNTS.
        WWF            454          06/30/16    290.00           3.20       928.00    CONTINUE RECONSTRUCTION OF JAY PEAK INC RELATED
                                                                                      ACCOUNTS.
        SRK            459          06/30/16    540.00           0.30       162.00    REVIEW EMAIL RE GSI OF DADE AND TRANSMIT TO
                                                                                      TYLER PURINGTON AT THE VERMONT STATE
                                                                                      AUTHORITIES.
        RMR            454          07/01/16    150.00           2.90       435.00    REVIEW ADDITIONAL DOCUMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ARCHIVE BANK STATEMENTS
                                                                                      (CONTINUED). PREPARE A DOCUMENT INVENTORY OF
                                                                                      NEWLY ACQUIRED DOCUMENTS.
        FDD            459          07/01/16    150.00           0.30        45.00    UPDATE MASTER BANK INVENTORY WITH MISSING
                                                                                      STATEMENTS IDENTIFIED IN RECONSTRUCTIONS FOR
                                                                                      JAY PEAK STATESIDE AND JAY PEAK TOWNHOME
        FDD            454          07/01/16    150.00           3.60       540.00    REVIEW BANK RECONSTRUCTIONS FOR JAY PEAK
                                                                                      PENTHOUSE SUITES LP, ACCOUNTS #9554, #9562 &
                                                                                      #9503
        WWF            454          07/01/16    290.00           3.70      1,073.00   RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                      PEAK INC.


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        WWF            454          07/01/16    290.00           4.30      1,247.00   CONTINUE TO RECONSTRUCT BANK STATEMENTS
                                                                                      RELATED TO JAY PEAK INC.
        RMR            454          07/01/16    150.00           4.10       615.00    REVIEW ADDITIONAL DOCUMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ARCHIVE BANK STATEMENTS
                                                                                      AND UPDATE DOCUMENT INVENTORY (CONTINUED).
        RMR            454          07/05/16    150.00           5.80       870.00    REVIEWED BANK DOCUMENTS FROM MIAMI OFFICE
        WWF            454          07/05/16    290.00           4.20      1,218.00   RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                      PEAK INC.
        WWF            454          07/05/16    290.00           1.60       464.00    CONTINUE TO RECONSTRUCT BANK STATEMENTS
                                                                                      RELATED TO JAY PEAK INC.
        RMR            454          07/06/16    150.00           3.20       480.00    REVIEW ADDITIONAL DOCUMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ARCHIVE BANK STATEMENTS
                                                                                      AND UPDATE DOCUMENT INVENTORY (CONTINUED).
                                                                                      IDENTIFY TAX RETURNS AND ORGANIZE BY LIMITED
                                                                                      PARTNERSHIPS.
        WWF            454          07/06/16    290.00           4.20      1,218.00   BANK STATEMENT RECONSTRUCTION OF JAY PEAK INC
                                                                                      OPERATING ACCOUNT.
        WWF            454          07/06/16    290.00           1.70       493.00    CONTINUE BANK STATEMENT RECONSTRUCTION OF JAY
                                                                                      PEAK INC OPERATING ACCOUNT.
        RMR            454          07/06/16    150.00           3.80       570.00    REVIEW ADDITIONAL DOCUMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ARCHIVE BANK STATEMENTS
                                                                                      AND UPDATE DOCUMENT INVENTORY (CONTINUED).
        WWF            454          07/07/16    290.00           2.70       783.00    BANK STATEMENT RECONSTRUCTION OF JAY PEAK INC.
                                                                                      OPERATING ACCOUNT.
        KM             451          07/07/16    270.00           0.30        81.00    T/C AND FOLLOW UP CORRESPONDENCE RE: STATUS OF
                                                                                      RECORD PRODUCTION FROM K STRAUSS (BERKOWITZ)
                                                                                      AND RECORD REQUEST FROM VERMONT DOJ.
        WWF            454          07/07/16    290.00           3.20       928.00    BANK STATEMENT RECONSTRUCTION OF JAY PEAK INC.
                                                                                      OPERATING ACCOUNT (CONTINUED).
        WWF            454          07/08/16    290.00           3.30       957.00    RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                      PEAK INC OPERATING ACCOUNT.
        WWF            454          07/12/16    290.00           3.70      1,073.00   RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                      PEAK INC OPERATING ACCOUNT.
        FDD            459          07/12/16    150.00           0.60        90.00    BEGIN REVIEWING CD OF GSI RECORDS SENT FROM THE
                                                                                      DEPARTMENT OF JUSTICE - VERMONT
        WWF            454          07/12/16    290.00           2.10       609.00    CONTINUE TO RECONSTRUCT BANK STATMENTS
                                                                                      RELATED TO JAY PEAK INC OPERATING ACCOUNT.
        CJL            454          07/13/16    120.00           3.40       408.00    BANK RECONSTRUCTION OF Q RESORTS, INC.
                                                                                      COMPLETED RAYMOND JAMES ACCOUNT #4772 PERIOD
                                                                                      MAY 2008 THROUGH JUNE 2010.
        WWF            454          07/13/16    290.00           3.80      1,102.00   RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                      PEAK INC OPERATING ACCOUNT.
        WWF            454          07/13/16    290.00           1.90       551.00    RECONSTRUCT BANK STATEMENTS RELATED TO Q
                                                                                      RESORTS INC.
        WWF            454          07/13/16    290.00           1.80       522.00    ANALYZE LARGE TRANSACTIONS ACROSS BANK
                                                                                      MULTIPLE BANK STATEMENT RECONSTRUCTIONS.
        CJL            454          07/13/16    120.00           3.60       432.00    BANK RECONSTRUCTION OF Q RESORTS, INC.
                                                                                      COMPLETED RAYMOND JAMES ACCOUNT #4772 PERIOD
                                                                                      JUNE 2010 THROUGH MARCH 2012.
        CJL            454          07/14/16    120.00           4.20       504.00    BANK RECONSTRUCTION OF Q RESORTS, INC. RJ #4772
                                                                                      (APRIL 2012 - DECEMBER 2014 AND JPM #4952 (JUNE
                                                                                      2014 - JANUARY 2015).
        RMR            454          07/14/16    150.00           0.50        75.00    BANK RECONSTRUCTION FOR Q RESORTS ACCOUNTS
                                                                                      FOR MERRILL LYNCH, PEOPLES UNITED BANK, AND
                                                                                      WOORI AMERICAN BANK.


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        MCP            454          07/14/16    270.00           2.80       756.00    BEGIN TO REVIEW GSI PRODUCTION.
        WWF            454          07/14/16    290.00           4.30      1,247.00   RECONSTRUCT BANK STATEMENTS RELATED TO Q
                                                                                      RESORTS INC.
        WWF            454          07/14/16    290.00           1.40       406.00    CONTINUE TO RECONSTRUCT BANK STATEMENTS
                                                                                      RELATED TO Q RESORTS INC.
        CJL            454          07/14/16    120.00           2.10       252.00    BANK RECONSTRUCTION OF Q RESORTS, INC. CB #5314
                                                                                      (MAY 2014 - FEBRUARY 2015).
        CJL            454          07/14/16    120.00           0.20        24.00    BANK RECONSTRUCTION OF Q RESORTS, INC. CB #9970
                                                                                      (MARCH 2015).
        MCP            454          07/15/16    270.00           2.30       621.00    OBTAIN ADDITIONAL BANK RECORDS, FINANCIAL
                                                                                      STATEMENTS, AND TAX RETURNS FROM QUIROS MIAMI
                                                                                      OFFICE (CONTINUED).
        CJL            454          07/15/16    120.00           3.00       360.00    EXTRACT Q RESORTS GSI OF DADE COUNTY BANK
                                                                                      STATEMENTS FROM DOCUMENTS RECEIVED INTO
                                                                                      APPROPRIATE BANK STATEMENT FOLDERS FOR FURTHER
                                                                                      BANK RECONSTRUCTIONS.
        WWF            454          07/15/16    290.00           3.40       986.00    RECONSTRUCT BANK STATEMENTS RELATED TO Q
                                                                                      RESORTS INC.
        FDD            459          07/15/16    150.00           2.30       345.00    OBTAIN ADDITIONAL BANK RECORDS, FINANCIAL
                                                                                      STATEMENTS, AND TAX RETURNS FROM QUIROS MIAMI
                                                                                      OFFICE (CONTINUED).
        WWF            454          07/15/16    290.00           1.50       435.00    RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                      CONSTRUCTION MANAGEMENT INC.
        MCP            454          07/15/16    270.00           3.50       945.00    OBTAIN ADDITIONAL BANK RECORDS, FINANCIAL
                                                                                      STATEMENTS, AND TAX RETURNS FROM QUIROS MIAMI
                                                                                      OFFICE (CONTINUED).
        FDD            459          07/15/16    150.00           3.50       525.00    OBTAIN ADDITIONAL BANK RECORDS, FINANCIAL
                                                                                      STATEMENTS, AND TAX RETURNS FROM QUIROS MIAMI
                                                                                      OFFICE (CONTINUED).
        WWF            454          07/18/16    290.00           1.80       522.00    RECONSTRUCT BANK STATEMENTS RELATED TO Q
                                                                                      RESORTS INC.
        CJL            459          07/18/16    120.00           2.70       324.00    REVIEW DOCUMENTS RECEIVED FROM THE DEPARTMENT
                                                                                      OF JUSTICE AND EXTRACT BANK STATEMENTS RELATED
                                                                                      TO Q RESORTS INC. AND GSI OF DADE COUNTY.
        RMR            454          07/18/16    150.00           3.60       540.00    REVIEW ADDITIONAL DOCUMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ARCHIVE BANK STATEMENTS
                                                                                      AND UPDATE DOCUMENT INVENTORY (CONTINUED).
        WWF            454          07/18/16    290.00           0.70       203.00    RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                      CONSTRUCTION MANAGEMENT.
        FDD            454          07/18/16    150.00           1.20       180.00    REVIEW SUBPOENAS AND RECONCILE AGAINST
                                                                                      DOCUMENT REQUEST SCHEDULES. PREPARE A
                                                                                      DOCUMENT REQUEST SCHEDULE FOR ALL PEOPLE'S
                                                                                      UNITED BANK ACCOUNTS AND MERRILL LYNCH
                                                                                      ACCOUNTS
        KM             454          07/18/16    270.00           0.70       189.00    REVIEW BINDER AND BOXES INVENTORY FROM JAY
                                                                                      PEAK. T/C WITH AND RESPOND TO REQUEST FROM K
                                                                                      MATREGRANO RE: SAME.
        CJL            459          07/18/16    120.00           3.30       396.00    REVIEW DOCUMENTS RECEIVED FROM THE DEPARTMENT
                                                                                      OF JUSTICE AND EXTRACT BANK STATEMENTS RELATED
                                                                                      TO Q RESORTS INC. AND GSI OF DADE COUNTY
                                                                                      (CONTINUED).
        RMR            454          07/18/16    150.00           4.40       660.00    REVIEW ADDITIONAL DOCUMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ARCHIVE BANK STATEMENTS
                                                                                      AND UPDATE DOCUMENT INVENTORY (CONTINUED).




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        CJL            459          07/19/16    120.00           2.30      276.00   EXTRACT Q RESORT GSI OF DADE COUNTY BANK
                                                                                    STATEMENTS FROM DOCUMENTS RECEIVED INTO
                                                                                    APPROPRIATE BANK STATEMENT FOLDERS FOR FURTHER
                                                                                    BANK RECONSTRUCTIONS.
        MCP            451          07/19/16    270.00           0.20       54.00   T/C WITH A. BARHOU RE: GSI ELECTRONIC DATA.
        RMR            454          07/19/16    150.00           3.00      450.00   REVIEWED DOCUMENTS RECEIVED FROM MIAMI OFFICE
                                                                                    FOR SEVERAL ACCOUNTS.
        WWF            454          07/19/16    290.00           1.20      348.00   RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                    CONSTRUCTION MANAGEMENT.
        KM             454          07/19/16    270.00           0.60      162.00   REVIEW AND ATTEND TO CORRESPONDENCE RE:
                                                                                    REQUEST FOR JAY PEAK ACCOUNTING WORK PAPERS
                                                                                    AND IDENTIFY BINDERS. REVIEW SAME WITH F
                                                                                    DIAZ-DRAGO.
        KM             454          07/19/16    270.00           0.60      162.00   REVIEW BANK RECORD REQUEST TO ADD TO SUBPOENA
                                                                                    FOR MERRILL LYNCH AND PEOPLE'S BANK.
        FDD            459          07/20/16    150.00           1.60      240.00   REVIEW DOCUMENTS OBTAINED AT JAY PEAK AND
                                                                                    EXTRACT WORK PAPERS FOR DECEMBER 2015 THROUGH
                                                                                    MARCH 2016 RE: D. MCNEIL'S REQUEST
        FDD            459          07/20/16    150.00           0.90      135.00   TIE-OUT TRANSACTIONS REQUIRING FURTHER
                                                                                    INVESTIGATIONS (CONTINUED). REVIEW
                                                                                    DISBURSEMENTS TO EMANUEL AND SALLY SUE COHEN
        WWF            454          07/20/16    290.00           1.30      377.00   RECONSTRUCT BANK STATEMENTS RELATED TO JAY
                                                                                    CONSTRUCTION MANAGEMENT.
        KM             454          07/21/16    270.00           1.20      324.00   REVIEW BANK RECORD REQUEST AND PRODUCTION OF
                                                                                    JP WORK PAPER BINDERS. ATTEND TO
                                                                                    CORRESPONDENCE RE: SAME AND CONFERENCE WITH F
                                                                                    DIAZ-DRAGO TO REVIEW SAME.
        FDD            454          07/25/16    150.00           2.70      405.00   REVIEW BANK RECORDS OBTAINED FROM QUIROS MIAMI
                                                                                    OFFICE AND US DEPT. OF JUSTICE AND UPDATE MASTER
                                                                                    BANK INVENTORY.
        FDD            454          07/25/16    150.00           0.80      120.00   REVIEW COMBINED BANK RECONSTRUCTION FOR ARIEL
                                                                                    QUIROS AND ENTER MISSING STATEMENTS.
        FDD            454          07/25/16    150.00           3.30      495.00   PREPARE A BANK RECONSTRUCTION FOR ARIEL QUIROS,
                                                                                    REVIEWING ACCOUNT #1442 PERIOD 11.2007 THROUGH
                                                                                    05.2008 AND 11.2012 THROUGH 12.2013
        FDD            454          07/25/16    150.00           0.40       60.00   PREPARE A BANK RECONSTRUCTION FOR ARIEL QUIROS,
                                                                                    REVIEWING ACCOUNT #7245 PERIOD 11.2012 THROUGH
                                                                                    12.2013
        CJL            459          07/26/16    120.00           1.90      228.00   REVIEW Q RESORT INC. RECORDS AND EXTRACT BANK
                                                                                    STATEMENTS AND UNDERLYING SUPPORT.
        RMR            454          07/26/16    150.00           3.60      540.00   REVIEW ADDITIONAL BANK RECORDS AND ARCHIVE
                                                                                    BANK STATEMENTS AND UPDATE DOCUMENT INVENTORY
                                                                                    (CONTINUED).
        CJL            459          07/26/16    120.00           3.10      372.00   REVIEW Q RESORT INC. RECORDS AND EXTRACT BANK
                                                                                    STATEMENTS AND UNDERLYING SUPPORT (CONTINUED).
        RMR            454          07/26/16    150.00           4.40      660.00   REVIEW ADDITIONAL BANK RECORDS AND ARCHIVE
                                                                                    BANK STATEMENTS AND UPDATE DOCUMENT INVENTORY
                                                                                    (CONTINUED).
        RMR            454          07/27/16    150.00           1.00      150.00   ANALYZED NEW BANK RECORDS FOR Q RESORTS CASE
        CJL            459          07/28/16    120.00           3.00      360.00   ANALYZED BINDERS OF ACCOUNTING RECORDS FROM Q
                                                                                    RESORTS WITH SUPPORTING DOCUMENTATION
        RMR            454          07/28/16    150.00           4.00      600.00   ANALYZED NEW BANK RECORDS FOR Q RESORTS CASE
        FDD            459          07/29/16    150.00           0.40       60.00   OBTAIN INVENTORY PREPARED FROM RECORDS AT
                                                                                    QUIROS MIAMI OFFICE. REVIEW INVENTORY TASK WITH
                                                                                    R. RUFFALO


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        RMR            454          07/29/16    150.00           2.00       300.00    FINISHED ANALYZING NEW RECORDS FOR Q RESORTS
        RMR            454          07/29/16    150.00           4.50       675.00    MADE DOCUMENT INVENTORY FOR FILES THAT CAME
                                                                                      FROM MIAMI OFFICE
        FDD            454          07/29/16    150.00           2.90       435.00    REVIEW ADDITIONAL BANK RECORDS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND ADD TO QUIROS COMBINED
                                                                                      BANK RECONSTRUCTION. UPDATE MASTER BANK
                                                                                      INVENTORY WITH MISSING STATEMENTS IN ORDER TO
                                                                                      COMPLETE RECONSTRUCTION. TIE-OUT ADDITIONAL
                                                                                      TRANSACTIONS REQUIRING FURTHER INVESTIGATION.
        FDD            454          07/29/16    150.00           0.40        60.00    PREPARE A BANK RECONSTRUCTION FOR GSI,
                                                                                      REVIEWING ACCOUNT #1639 PERIOD 08.2008 THROUGH
                                                                                      10.2008
        FDD            454          08/01/16    150.00           1.60       240.00    PREPARE A BANK RECONSTRUCTION FOR GSI,
                                                                                      REVIEWING ACCOUNT #1639 PERIOD 10.2008 THROUGH
                                                                                      04.2009
        KM             454          08/01/16    270.00           0.80       216.00    REVIEW REQUEST FOR EMAIL DATA AND COORDINATE
                                                                                      PREPARATION AND DELIVERY OF EMAIL DATA.
        KM             454          08/01/16    270.00           0.40       108.00    REVIEW AND COORDINATE REQUEST FOR JP WORK
                                                                                      PAPERS AND SHIPPING OF RECORDS TO D MCNEIL AT
                                                                                      JAY PEAK IN VERMONT.
        MMD            459          08/01/16    400.00           0.30       120.00    EMAILS REGARDING PRODUCTION OF ESI.
        MCP            452          08/02/16    270.00           4.80      1,296.00   ATTEND MEETING AT A. BAROUGH (GSI BOOKKEEPER)
                                                                                      HOUSE FOR THE PURPOSE OF OBTAINING ELECTRONIC
                                                                                      GL DATA.
        MCP            452          08/02/16    270.00           2.60       702.00    CONTINUE TO REVIEW GSI PRODUCTION
        FDD            454          08/02/16    150.00           2.30       345.00    REVIEW JAY PEAK INC COMBINED RECONSTRUCTION
                                                                                      AND PREPARE A SUMMARY SCHEDULE OF ACTIVITY IN
                                                                                      PREPARATION FOR INQUIRIES BROUGHT UPON BY M.
                                                                                      GOLDBERG. UPDATE MASTER BANK INVENTORY FOR
                                                                                      SAME.
        FDD            454          08/02/16    150.00           0.50        75.00    REVIEW PREPARED SCHEDULES AND CHARTS ANALYZING
                                                                                      COMMINGLED FUNDS
        WWF            454          08/02/16    290.00           2.40       696.00    ANALYSIS OF Q RESORTS INC BANK RECONSTRUCTION
                                                                                      SCHEDULES.
        WWF            454          08/02/16    290.00           0.60       174.00    DRAFT STATUS NARRATIVE RE CURRENT BANK
                                                                                      RECONSTRUCTION STATUS.
        WWF            454          08/02/16    290.00           1.70       493.00    ANALYSIS OF LIMITED PARTNERSHIP FUNDS DEPOSITED
                                                                                      INTO Q RESORTS INC BANK ACCOUNTS.
        KM             451          08/02/16    270.00           0.20        54.00    T/C WITH M DAVIS, W FUNDERBURKE AND M GOLDBERG
                                                                                      TO REVIEW COMMINGLING OF FUNDS.
        KM             454          08/02/16    270.00           1.20       324.00    REVIEW Q RESORTS, INC BANK RECONSTRUCTION AND
                                                                                      SUMMARY SCHEDULE OF COMMINGLING OF FUNDS.
        KM             454          08/02/16    270.00           0.40       108.00    REVIEW AND ATTEND TO CORRESPONDENCE RE: EMAIL
                                                                                      PRODUCTION PER COUNSEL REQUEST.
        MCP            459          08/03/16    270.00           0.70       189.00    REVIEW SEC RESPONSE TO MOTION TO DISMISS
        FDD            454          08/03/16    150.00           0.60        90.00    PREPARE A BANK RECONSTRUCTION FOR GSI,
                                                                                      REVIEWING ACCOUNT #1639 PERIOD 04.2009 THROUGH
                                                                                      06.2009
        MMD            454          08/03/16    400.00           0.80       320.00    REVIEW UPDATED SUMMARY OF BANK
                                                                                      RECONSTRUCTIONS.
        MMD            454          08/03/16    400.00           0.20        80.00    ATTEND T/C WITH RECEIVER.
        KM             454          08/04/16    270.00           0.60       162.00    REVIEW PRODUCTION OF EMAIL DATA PER REQUEST
                                                                                      FORM COUNSEL. MEET WITH B STILLMAN RE: SAME.



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        FDD            459          08/04/16    150.00           0.60        90.00    DOWNLOAD RAYMOND JAMES BANK PRODUCTION
                                                                                      RECEIVED FROM COUNSEL AND CONVERT FILES TO A
                                                                                      SEARCHABLE FORMAT.
        FDD            459          08/05/16    150.00           1.50       225.00    REVIEW RAYMOND JAMES PRODUCTION AND UPDATE
                                                                                      MASTER BANK STATEMENT INVENTORY. DRAFT EMAIL
                                                                                      TO COMMUNICATE FINDINGS TO TEAM.
        FDD            454          08/05/16    150.00           4.00       600.00    PREPARE A BANK RECONSTRUCTION FOR GSI,
                                                                                      REVIEWING ACCOUNT #1639 PERIOD 06.2009 THROUGH
                                                                                      11.2010.
        MCP            454          08/08/16    270.00           1.40       378.00    REVIEW OFFERING DOCUMENTS FOR THE PURPOSE OF
                                                                                      SUBSTANTIATING SUPERVISION FEES.
        RMR            454          08/08/16    150.00           3.90       585.00    VERIFY DOCUMENT PRODUCTION RECEIVED FROM THE
                                                                                      U.S. DEPT. OF JUSTICE FOR ADDITIONAL BANK
                                                                                      STATEMENTS.
        FDD            454          08/08/16    150.00           7.40      1,110.00   PREPARE A BANK RECONSTRUCTION FOR GSI,
                                                                                      REVIEWING ACCOUNT #1639 PERIOD 11.2010 THROUGH
                                                                                      04.2012.
        RMR            454          08/08/16    150.00           3.60       540.00    VERIFY DOCUMENT PRODUCTION RECEIVED FROM THE
                                                                                      U.S. DEPT. OF JUSTICE FOR ADDITIONAL BANK
                                                                                      STATEMENTS (CONTINUED). PREPARE A LIST OF
                                                                                      ADDITIONAL DOCUMENTS RECEIVED IN ORDER TO
                                                                                      UPDATE BANK RECONSTRUCTION.
        RMR            454          08/09/16    150.00           4.10       615.00    ANALYZED BANK RECORDS OBTAINED FROM QUIROS
                                                                                      MIAMI OFFICE.
        FDD            454          08/09/16    150.00           4.60       690.00    PREPARE A BANK RECONSTRUCTION FOR GSI,
                                                                                      REVIEWING ACCOUNT #1639 PERIOD 04.2012 THROUGH
                                                                                      12.2012 AND 01.2014 THROUGH 05.2014.
        FDD            454          08/09/16    150.00           0.70       105.00    PREPARE A BANK RECONSTRUCTION FOR GSI,
                                                                                      REVIEWING ACCOUNT #4886 PERIOD 01.2014 THROUGH
                                                                                      05.2014
        RMR            454          08/09/16    150.00           2.40       360.00    ANALYZED BANK RECORDS OBTAINED FROM QUIROS
                                                                                      MIAMI OFFICE (CONTINUED).
        RMR            454          08/10/16    150.00           4.40       660.00    ANALYZE BANK RECORDS OBTAINED FROM MIAMI
                                                                                      OFFICE.
        FDD            459          08/10/16    150.00           0.20        30.00    UPDATE MASTER DOCUMENT INVENTORY TO REFLECT
                                                                                      DOCUMENTS THAT WERE SENT BACK TO JAY PEAK
                                                                                      RESORT.
        MCP            454          08/12/16    270.00           0.90       243.00    BEGIN TO REVIEW DEPOSITION OF B. KELLY.
        KM             454          08/15/16    270.00           1.10       297.00    T/C WITH FBI AND COORDINATE MEETING TO COPY /
                                                                                      IMAGE DATA WITH KAPILA IT TEAM.
        MMD            459          08/15/16    400.00           0.80       320.00    ATTEND TO PRODUCTION OF EMAILS AND ESI.
        FDD            459          08/17/16    150.00           1.80       270.00    REVIEW BANK PRODUCTION RECEIVED FROM RAYMOND
                                                                                      JAMES AND MERRILL LYNCH. BEGIN ARCHIVING
                                                                                      DOCUMENTS AND UPDATE MASTER BANK INVENTORY
        KM             454          08/17/16    270.00           1.20       324.00    DOWNLOAD AND REVIEW RAYMOND JAMES RECORD
                                                                                      PRODUCTION.
        MMD            459          08/17/16    400.00           0.80       320.00    ATTEND TO PRODUCTION OF EMAIL FILES REQUESTED
                                                                                      BY COUNSEL.
        FDD            454          08/22/16    150.00           0.30        45.00    REVIEW BANK STATEMENT INVENTORY AND BANK
                                                                                      RECONSTRUCTIONS FOR RELIEF DEFENDANTS RE: TAX
                                                                                      FILING DUE SEPTEMBER 15, 2016
        FDD            459          08/22/16    150.00           1.60       240.00    REVIEW MERRILL LYNCH AND RAYMOND JAMES BANK
                                                                                      PRODUCTION AND UPDATE MASTER BANK INVENTORY
                                                                                      (CONTINUED)
        MCP            452          08/23/16    270.00           2.50       675.00    MEETING WITH FBI AT KM OFFICES TO COPY DATA.


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        KM             454          08/23/16    270.00           0.60       162.00    MEETING WITH S BOYCE FROM FBI AND COORDINATE
                                                                                      IMAGING AND COPYING OF IT DATA.
        RMR            454          08/24/16    150.00           0.50        75.00    SEARCH INVENTORY FOR ALL FILES PRODUCED BY
                                                                                      FORMAN
        MCP            454          08/24/16    270.00           1.40       378.00    CORRECT ERRORS IN FILE EXTENSION EMAIL PATH AND
                                                                                      PREPARE FOR SHAREFILE.
        MCP            459          08/24/16    270.00           0.90       243.00    REVIEW TAX DOCUMENTS RE: GSI.
        RMR            454          08/24/16    150.00           2.00       300.00    SEARCHED FOR 2015 WORKING FILES FOR GSI OF DADE
                                                                                      COUNTY AND 2008 PERMANENT FILE FOR Q RESORT INC.
        RMR            459          08/24/16    150.00           3.00       450.00    CORRECTED FORMATTING FOR INVENTORY PREVIOUSLY
                                                                                      MADE FOR Q RESORTS BOXES.
        FDD            459          08/24/16    150.00           0.50        75.00    COORDINATE WITH R. RUFFALO TO PREPARE AN INDEX
                                                                                      OF MALLAH FURMAN DOCUMENTS. REVIEW INDEX AND
                                                                                      MAKE NECESSARY ADJUSTMENTS
        KM             454          08/24/16    270.00           0.40       108.00    REVIEW RECEIVER COUNSEL'S REQUEST FOR MALLAH
                                                                                      FURMAN DOCUMENT PRODUCTION. REVIEW INDEX AND
                                                                                      RESPOND RE: SAME.
        MCP            452          08/26/16    270.00           0.80       216.00    OBTAIN HARD DRIVES FROM FBI MIRAMAR OFFICE.
        RMR            459          08/29/16    150.00           8.00      1,200.00   SEARCHED THROUGH PREVIOUSLY FOUND GSI OF DADE
                                                                                      COUNTY WORKING FILES, AND SEPARATED THE FILES
                                                                                      INTO INCOME STATEMENT, GENERAL LEDGER, BANK
                                                                                      STATEMENTS, AND BALANCE SHEET.
        RMR            459          08/30/16    150.00           3.20       480.00    FINISHED SEARCHING THROUGH PREVIOUSLY FOUND
                                                                                      GSI OF DADE COUNTY WORKING FILES, AND SEPARATED
                                                                                      THE FILES INTO INCOME STATEMENT, GENERAL LEDGER,
                                                                                      BANK STATEMENTS, AND BALANCE SHEET.
        RMR            459          08/30/16    150.00           2.50       375.00    CORRECTED FORMATTING FOR INVENTORY PREVIOUSLY
                                                                                      MADE FOR Q RESORTS BOXES.
        MCP            454          08/31/16    270.00           1.50       405.00    ASSIST WITH PREPARING SCHEDULES DEMONSTRATING
                                                                                      THE COMMINGLING OF FUNDS.
        RMR            459          08/31/16    150.00           2.90       435.00    REVISE PREVIOUSLY PREPARED MASTER DOCUMENT
                                                                                      INVENTORY AND ORGANIZE DATA INTO A DATABASE
                                                                                      FORMAT.
        FDD            454          08/31/16    150.00           3.90       585.00    REVIEW BANK RECONSTRUCTION FOR Q RESORT INC
                                                                                      AND ANALYZE RECEIPTS AND DISBURSEMENT FOR
                                                                                      DEFENDANTS AND RELIEF DEFENDANTS. PREPARE A
                                                                                      DETAIL SUMMARY OF ACTIVITY FOUND IN Q RESORTS
                                                                                      FOR EACH DEFENDANT AND RELIEF DEFENDANT. TRACE
                                                                                      THE SOURCES AND USES OF FUNDS FOR SAME.
        FDD            454          08/31/16    150.00           4.20       630.00    REVIEW BANK RECONSTRUCTION FOR Q RESORT INC
                                                                                      AND ANALYZE RECEIPTS AND DISBURSEMENT FOR
                                                                                      DEFENDANTS AND RELIEF DEFENDANTS. PREPARE A
                                                                                      DETAIL SUMMARY OF ACTIVITY FOUND IN Q RESORTS
                                                                                      FOR EACH DEFENDANT AND RELIEF DEFENDANT. TRACE
                                                                                      THE SOURCES AND USES OF FUNDS FOR SAME.
                                                                                      (CONTINUED)
        WWF            454          08/31/16    290.00           0.70       203.00    ANALYSIS OF BANK RECONSTRUCTION OF Q RESORTS
                                                                                      INC.
        RMR            459          08/31/16    150.00           4.10       615.00    REVISE PREVIOUSLY PREPARED MASTER DOCUMENT
                                                                                      INVENTORY AND ORGANIZE DATA INTO A DATABASE
                                                                                      FORMAT (CONTINUED).
        MCP            459          09/01/16    270.00           0.40       108.00    REVIEW DOCKET FOR RECENT ACTIVITY RE LITIGATION
                                                                                      MATTERS AND UPDATE TEAM.




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        FDD            454          09/01/16    150.00           2.10       315.00    REVIEW BANK RECONSTRUCTION FOR Q RESORT INC
                                                                                      AND ANALYZE RECEIPTS AND DISBURSEMENT FOR
                                                                                      DEFENDANTS AND RELIEF DEFENDANTS. PREPARE A
                                                                                      DETAIL SUMMARY OF ACTIVITY FOUND IN Q RESORTS
                                                                                      FOR EACH DEFENDANT AND RELIEF DEFENDANT. TRACE
                                                                                      THE SOURCES AND USES OF FUNDS FOR SAME
                                                                                      (CONTINUED). REVIEW ACTIVITY IN JAY PEAK INC
                                                                                      #2589 (MARGINAL LOAN) AND TRACE THE SOURCES AND
                                                                                      USES OF FUNDS.
        FDD            454          09/01/16    150.00           0.90       135.00    REVIEW ACTIVITY IN JAY PEAK INC #2589 (MARGINAL
                                                                                      LOAN) AND TRACE THE SOURCES AND USES OF FUNDS
                                                                                      (CONTINUED).
        FDD            454          09/01/16    150.00           0.60        90.00    REVIEW Q RESORT INC BANK ACTIVITY AND CASE
                                                                                      ACTION PLAN.
        MMD            459          09/01/16    400.00           0.70       280.00    REVIEW SUMMARY BANK RECONSTRUCTIONS AND
                                                                                      TRACING OF INVESTOR AND PARTNERSHIP FUNDS.
        FDD            454          09/02/16    150.00           3.60       540.00    PREPARE A BANK RECONSTRUCTION FOR JAY PEAK
                                                                                      HOTEL SUITES LP (MARGIN LOAN), REVIEW ACCOUNT
                                                                                      #0726 PERIOD 01.2010 THROUGH 07.2012. BEGIN
                                                                                      PREPARING A FLOWCHART OF BANK ACTIVITY.
        RMR            459          09/06/16    150.00           4.50       675.00    UPDATE AND REVISE INVENTORY FOR BOXES RECEIVED
                                                                                      FROM MIAMI QUIROS OFFICE.
        FDD            454          09/06/16    150.00           4.30       645.00    REVIEW BANK RECONSTRUCTIONS AND PREPARE A
                                                                                      CHART OF BANK ACTIVITY FOR MARGINAL LOAN #0726.
        FDD            454          09/06/16    150.00           2.20       330.00    UPDATE COMBINED BANK RECONSTRUCTION FOR GSI OF
                                                                                      DADE COUNTY INC WITH BANK STATEMENTS OBTAINED
                                                                                      FROM QUIROS MIAMI OFFICE AND SUBPOENAS.
        FDD            454          09/06/16    150.00           1.10       165.00    UPDATE COMBINED BANK RECONSTRUCTION FOR ARIEL
                                                                                      I QUIROS WITH BANK STATEMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND SUBPOENAS.
        FDD            454          09/06/16    150.00           0.50        75.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT INC WITH BANK
                                                                                      STATEMENTS OBTAINED FROM QUIROS MIAMI OFFICE
                                                                                      AND SUBPOENAS.
        FDD            454          09/07/16    150.00           1.30       195.00    REVIEW COMBINED BANK RECONSTRUCTION FOR Q
                                                                                      RESORTS, INC AND QUANTIFY THE TRANSACTIONS
                                                                                      MADE BY EACH LIMITED PARTNERSHIP.
        FDD            454          09/07/16    150.00           1.30       195.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT INC WITH BANK
                                                                                      STATEMENTS OBTAINED FROM QUIROS MIAMI OFFICE
                                                                                      AND SUBPOENAS (CONTINUED).
        FDD            454          09/07/16    150.00           1.10       165.00    REVIEW TRACING ANALYSIS OF INVESTOR FUNDS AND Q
                                                                                      RESORTS INC BANK ACTIVITY.
        KM             454          09/07/16    270.00           0.40       108.00    REVIEW CORRESPONDENCE AND SUMMARY CHART OF
                                                                                      TRANSFERS FROM Q RESORTS TO RELATED ENTITIES.
        MMD            454          09/07/16    400.00           2.70      1,080.00   REVIEW BANK RECONSTRUCTIONS AND SUMMARY OF
                                                                                      TRANSFERS BETWEEN PARTNERSHIPS. PREPARE
                                                                                      ANALYSIS REQUESTED BY RECEIVER.
        FDD            454          09/08/16    150.00           3.40       510.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT INC WITH BANK
                                                                                      STATEMENTS OBTAINED FROM QUIROS MIAMI OFFICE
                                                                                      AND SUBPOENAS (CONTINUED).
        FDD            454          09/08/16    150.00           2.30       345.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT INC WITH BANK
                                                                                      STATEMENTS OBTAINED FROM QUIROS MIAMI OFFICE
                                                                                      AND SUBPOENAS (CONTINUED).


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        FDD            454          09/08/16    150.00           0.30        45.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      PEAK BIOMEDICAL RESEARCH PARK WITH BANK
                                                                                      STATEMENTS OBTAINED FROM QUIROS MIAMI OFFICE
                                                                                      AND SUBPOENAS.
        SRK            451          09/08/16    540.00           0.50       270.00    TELEPHONE CONFERENCE WITH GENI COWLES, MARK
                                                                                      STANLEY (FORFEITURE), GREG SIMMONS (FBI) AND
                                                                                      MELISSA DAVIS RE: KAPILAMUKAMAL INVESTIGATION
                                                                                      AND REPORTS.
        MMD            451          09/08/16    400.00           0.50       200.00    T/C WITH FBI REGARDING FORENSIC ACCOUNTING
                                                                                      INVESTIGATION.
        MMD            459          09/08/16    400.00           1.20       480.00    REVIEW BANK RECONSTRUCTIONS AND SUMMARY
                                                                                      CHARTS OF OVERALL BANK ACTIVITY.
        FDD            454          09/09/16    150.00           0.80       120.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      PEAK BIOMEDICAL RESEARCH PARK WITH BANK
                                                                                      STATEMENTS OBTAINED FROM QUIROS MIAMI OFFICE
                                                                                      AND SUBPOENAS (CONTINUED).
        FDD            454          09/09/16    150.00           0.70       105.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      PEAK GOLF AND MOUNTAIN SUITES WITH BANK
                                                                                      STATEMENTS OBTAINED FROM QUIROS MIAMI OFFICE
                                                                                      AND SUBPOENAS.
        FDD            454          09/09/16    150.00           0.30        45.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      PEAK HOTEL SUITES LP WITH BANK STATEMENTS
                                                                                      OBTAINED FROM QUIROS MIAMI OFFICE AND
                                                                                      SUBPOENAS.
        FDD            454          09/09/16    150.00           0.40        60.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      PEAK HOTEL SUITES PHASE II WITH BANK STATEMENTS
                                                                                      OBTAINED FROM QUIROS MIAMI OFFICE AND
                                                                                      SUBPOENAS.
        FDD            454          09/09/16    150.00           1.10       165.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      PEAK INC WITH BANK STATEMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND SUBPOENAS
        FDD            454          09/09/16    150.00           2.40       360.00    UPDATE COMBINED BANK RECONSTRUCTION FOR Q
                                                                                      BURKE MOUNTAIN RESORT HOTEL AND CONFERENCE
                                                                                      CENTER LP WITH BANK STATEMENTS OBTAINED FROM
                                                                                      QUIROS MIAMI OFFICE AND SUBPOENAS.
        FDD            454          09/09/16    150.00           0.60        90.00    UPDATE COMBINED BANK RECONSTRUCTION FOR Q
                                                                                      BURKE MOUNTAIN RESORT LLC WITH BANK STATEMENTS
                                                                                      OBTAINED FROM QUIROS MIAMI OFFICE AND
                                                                                      SUBPOENAS.
        FDD            454          09/09/16    150.00           1.70       255.00    UPDATE COMBINED BANK RECONSTRUCTION FOR Q
                                                                                      RESORTS, INC WITH BANK STATEMENTS OBTAINED
                                                                                      FROM QUIROS MIAMI OFFICE AND SUBPOENAS.
        RMR            459          09/12/16    150.00           7.50      1,125.00   REVIEW DOCUMENT PRODUCTION RECEIVED BY THE
                                                                                      U.S. DEPT OF JUSTICE AND EXTRACT BANKING RECORDS
                                                                                      FOR Q RESORTS, INC. AND GSI OF DADE COUNTY, INC.
        FDD            454          09/12/16    150.00           4.40       660.00    UPDATE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      PEAK PENTHOUSE SUITES WITH BANK STATEMENTS
                                                                                      OBTAINED FROM QUIROS MIAMI OFFICE AND
                                                                                      SUBPOENAS. BEGIN PREPARING DOCUMENT REQUEST
                                                                                      SCHEDULES FOR ALL ENTITIES.
        FDD            454          09/13/16    150.00           1.20       180.00    PREPARE DOCUMENT REQUEST SCHEDULES FOR ALL
                                                                                      ENTITIES (CONTINUED).
        KM             451          09/13/16    270.00           0.50       135.00    T/C WITH M DAVIS, S KAPILA AND J SCHNEIDER TO
                                                                                      REVIEW CASE STATUS AND RAYMOND JAMES DAMAGE
                                                                                      ANALYSIS.




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        KM             454          09/13/16    270.00           1.20      324.00   REVIEW COMMINGLED FUNDS AND STATUS OF BANK
                                                                                    RECONSTRUCTIONS IN PREP FOR CALL WITH J
                                                                                    SCHNEIDER AND M GOLDBERG.
        RMR            459          09/13/16    150.00           3.00      450.00   SEARCHED THROUGH DOCUMENTS FOR MISSING Q
                                                                                    RESORTS AND GSI OF DADE COUNTY BANK
                                                                                    STATEMENTS.
        SRK            459          09/13/16    540.00           0.80      432.00   TELEPHONE CONFERENCE WITH JEFFREY SCHNEIDER RE
                                                                                    RAYMOND JAMES (0.5); FOLLOW UP RE DAMAGE
                                                                                    ANALYSIS (0.3).
        MMD            451          09/13/16    400.00           0.50      200.00   ATTEND T/C WITH COUNSEL REGARDING DAMAGE
                                                                                    ANALYSIS.
        FDD            454          09/14/16    150.00           1.50      225.00   PREPARE DOCUMENT REQUEST SCHEDULES FOR ALL
                                                                                    ENTITIES (CONTINUED).
        FDD            454          09/14/16    150.00           2.30      345.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC,
                                                                                    REVIEWING ACCOUNT #1736, PERIOD 02.2015.
        FDD            459          09/15/16    150.00           0.40       60.00   REVIEW MASTER DOCUMENT INVENTORY TO IDENTIFY
                                                                                    DOCUMENTS PERTAINING TO H. WHIPKEY'S REQUEST.
        FDD            454          09/15/16    150.00           2.80      420.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC,
                                                                                    REVIEWING ACCOUNT #1736, PERIOD 02.2015 THROUGH
                                                                                    03.2015.
        FDD            454          09/15/16    150.00           1.20      180.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC,
                                                                                    REVIEWING ACCOUNT #1736, PERIOD 03.2015.
                                                                                    ARCHIVE BANK PRODUCTIONS RECEIVED FROM MERRILL
                                                                                    LYNCH, HSBC BANK, AND PEOPLE'S UNITED BANK.
        FDD            454          09/15/16    150.00           2.30      345.00   PREPARE A BANK RECONSTRUCTION FOR JAY PEAK INC,
                                                                                    REVIEWING ACCOUNT #1736, PERIOD 03.2015
                                                                                    (CONTINUED). UPDATE COMBINED BANK
                                                                                    RECONSTRUCTION FOR Q RESORTS, INC WITH BANK
                                                                                    STATEMENTS OBTAINED FROM QUIROS MIAMI OFFICE
                                                                                    AND SUBPOENAS.
        FDD            454          09/15/16    150.00           0.70      105.00   REFINE COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                    PEAK HOTEL STATESIDE LP.
        SRK            459          09/15/16    540.00           0.30      162.00   EMAIL TO J. SCHNEIDER, ESQ. RE INFORMATION NEED
                                                                                    RE RJ LITIGATION.
        MMD            454          09/15/16    400.00           0.50      200.00   DRAFT EMAIL TO COUNSEL OUTLINING DOCUMENTS
                                                                                    NEEDED TO COMPLETE ANALYSIS.
        MMD            454          09/15/16    400.00           0.20       80.00   SEND LIST OF ACCOUNTING DOCUMENTS MAINTAINED
                                                                                    BY KM TO M GOLDBERG.
        WWF            454          09/16/16    290.00           2.30      667.00   ANALYSIS OF HSBC BANK STATEMENTS RECEIVED
                                                                                    09/14/16.
        WWF            454          09/16/16    290.00           0.80      232.00   ANALYSIS OF HSBC MORTGAGE AND HOME EQUITY
                                                                                    LOANS MADE TO ARIEL QUIROS.
        FDD            454          09/16/16    150.00           2.80      420.00   PREPARE DOCUMENT REQUEST SCHEDULES FOR ALL
                                                                                    ENTITIES (CONTINUED).
        FDD            459          09/16/16    150.00           1.90      285.00   REVIEW MERRILL LYNCH PRODUCTION.
        FDD            454          09/16/16    150.00           2.90      435.00   REVIEW BANK RECONSTRUCTIONS AND RECONCILE
                                                                                    TRANSACTIONS REQUIRING FURTHER INVESTIGATION.
        KM             454          09/16/16    270.00           0.40      108.00   REVIEW BANK RECORDS PER K MATREGRANO REQUEST.
        MCP            459          09/19/16    270.00           0.60      162.00   REVIEW RECENT DOCKET ENTRIES AND PLEADINGS RE
                                                                                    LITIGATION MATTERS.
        FDD            454          09/19/16    150.00           4.10      615.00   REVIEW BANK RECONSTRUCTIONS AND RECONCILE
                                                                                    TRANSACTIONS REQUIRING FURTHER INVESTIGATION
                                                                                    (CONTINUED). DOWNLOAD BANK PRODUCTION FROM
                                                                                    PEOPLE'S UNITED BANK AND CONVERT FILES TO A
                                                                                    SEARCHABLE FORMAT.


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        MMD            459          09/20/16    400.00           0.20        80.00    RESPOND TO EMAIL FROM COUNSEL RE ESI
                                                                                      PRODUCTION.
        FDD            459          09/21/16    150.00           0.70       105.00    ARCHIVE BANK PRODUCTION RECEIVED FROM HSBC
                                                                                      BANK.
        FDD            454          09/21/16    150.00           0.30        45.00    UPDATE COMBINED BANK RECONSTRUCTIONS WITH
                                                                                      UNDERLYING SUPPORT OBTAINED FROM SUBPOENAS.
        KM             454          09/21/16    270.00           0.50       135.00    REVIEW Q BURKE ORG CHART PREPARED IN SUPPORT OF
                                                                                      AFFIDAVIT AND SEARCH FOR JAY PEAK ORG CHART
                                                                                      FROM RECORDS RETRIEVED IN SITE VISIT. PREPARE
                                                                                      RESPONSE TO K MATREGRANO PER REQUEST FOR SAME.
        WWF            454          09/22/16    290.00           3.80      1,102.00   ANALYSIS OF ARIEL QUIROS PERSONAL BANK
                                                                                      ACCOUNTS. HSBC BANK ACCOUNT NO. 1442.
        MMD            454          09/22/16    400.00           1.70       680.00    CONTINUE ANALYSIS OF TRACING INVESTOR FUNDS
                                                                                      INFLOWS AND OUTFLOWS AND QUANTIFYING
                                                                                      TRANSFERS TO/FOR THE BENEFIT OF QUIROS.
        WWF            454          09/23/16    290.00           1.30       377.00    ANALYSIS OF ARIEL QUIROS PERSONAL BANK
                                                                                      ACCOUNTS. HSBC BANK ACCOUNT NO. 1442.
        FDD            459          09/26/16    150.00           1.20       180.00    BEGIN ARCHIVING TAX RETURNS PREPARED BY MALLAH
                                                                                      FURMAN RE: J. SCHNEIDER'S REQUEST.
        WWF            454          09/26/16    290.00           3.60      1,044.00   RECONSTRUCTION OF ARIEL QUIROS PERSONAL BANK
                                                                                      ACCOUNTS. HSBC BANK ACCOUNT NO. 1442.
        WWF            454          09/26/16    290.00           2.70       783.00    CONTINUE RECONSTRUCTION OF ARIEL QUIROS
                                                                                      PERSONAL BANK ACCOUNTS. HSBC BANK ACCOUNT NO.
                                                                                      1442.
        FDD            454          09/26/16    150.00           2.40       360.00    REVIEW DOCUMENTS FOR JAY CONSTRUCTION
                                                                                      MANAGEMENT TO DETERMINE CONSTRUCTION COST
                                                                                      FOR STATESIDE LP. REVIEW COMBINED BANK
                                                                                      RECONSTRUCTION FOR JAY CONSTRUCTION
                                                                                      MANAGEMENT AND CATEGORIZE EXPENDITURES.
        FDD            454          09/26/16    150.00           0.30        45.00    REVIEW COMBINED BANK RECONSTRUCTION FOR NORTH
                                                                                      EAST CONTRACT SERVICES AND CATEGORIZE
                                                                                      EXPENDITURES.
        KM             454          09/26/16    270.00           0.60       162.00    REVIEW BANK RECONSTRUCTIONS AND COMMINGLED
                                                                                      FUNDS ANALYSIS PREPARED. REVIEW BANK RECORDS
                                                                                      REQUIRED TO COMPLETE BANK RECONSTRUCTIONS.
        FDD            454          09/27/16    150.00           0.60        90.00    REVIEW COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT. PREPARE TRANSFER
                                                                                      SCHEDULES FOR JAY PEAK HOTEL SUITES STATESIDE
                                                                                      AND DEW CONSTRUCTION CORP.
        FDD            451          09/27/16    150.00           1.20       180.00    T/C WITH H. WHIPKEY AND M. DAVIS RE: JAY
                                                                                      CONSTRUCTION MANAGEMENT AND NECS
                                                                                      CONSTRUCTION COST ON BEHALF OF THE LIMITED
                                                                                      PARTNERSHIP.
        FDD            454          09/27/16    150.00           1.20       180.00    REVIEW NECS DOCUMENTS TO DETERMINE
                                                                                      CONSTRUCTION COST ALLOCATED TO STATESIDE AND
                                                                                      BIOMEDICAL PROJECTS.
        FDD            454          09/27/16    150.00           5.20       780.00    REVIEW NECS DOCUMENTS TO DETERMINE
                                                                                      CONSTRUCTION COST ALLOCATED TO STATESIDE AND
                                                                                      BIOMEDICAL PROJECTS (CONTINUED).
        WWF            454          09/27/16    290.00           3.90      1,131.00   CONTINUED RECONSTRUCTION OF ARIEL QUIROS
                                                                                      PERSONAL BANK ACCOUNTS. HSBC BANK ACCOUNT NO.
                                                                                      1442.
        MMD            451          09/27/16    400.00           1.20       480.00    T/C WITH H. WHIPKEY AND F. DIAZ-DRAGO RE: JAY
                                                                                      CONSTRUCTION MANAGEMENT AND NECS
                                                                                      CONSTRUCTION COST ON BEHALF OF THE LIMITED
                                                                                      PARTNERSHIP.


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        FDD            454          09/28/16    150.00           2.30       345.00    REVIEW BANK RECONSTRUCTIONS FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT AND STATESIDE TO
                                                                                      DETERMINE CONSTRUCTION COST.
        FDD            454          09/28/16    150.00           2.90       435.00    FINALIZE CONSTRUCTION EXPENDITURE SCHEDULES
                                                                                      FOR BIOMEDICAL AND STATESIDE.
        WWF            454          09/28/16    290.00           1.10       319.00    CONTINUED RECONSTRUCTION OF ARIEL QUIROS
                                                                                      PERSONAL BANK ACCOUNTS. HSBC BANK ACCOUNT NO.
                                                                                      1442.
        FDD            454          09/28/16    150.00           1.30       195.00    RESTORE GENERAL LEDGER FOR JAY CONSTRUCTION
                                                                                      MANAGEMENT AND EXPORT GENERAL LEDGER. BEGIN
                                                                                      EXTRACTING CONSTRUCTIONS ALLOCATED TO
                                                                                      STATESIDE SUITES.
        KM             454          09/28/16    270.00           0.80       216.00    REVIEW TRACING AND FLOW OF FUNDS FROM
                                                                                      STATESIDE, LP TO JCM TO GOLF & MOUNTAIN, LP FOR
                                                                                      THE PAYMENT OF INVESTORS FROM COMMINGLED
                                                                                      FUNDS.
        MMD            459          09/28/16    400.00           2.80      1,120.00   CONTINUE TO ANALYZE ANC BIO AND STATESIDE
                                                                                      CONSTRUCTION EXPENSES.
        SRK            459          09/28/16    540.00           0.20       108.00    EMAILS WITH JEFF SCHNEIDER RE CITY BANK CASH
                                                                                      TRACING INVESTIGATION.
        FDD            454          09/29/16    150.00           1.90       285.00    EXTRACT CONSTRUCTION COST FOR STATESIDE FROM
                                                                                      JAY CONSTRUCTION MANAGEMENT AND RECONCILE
                                                                                      DISBURSEMENT TO BANK STATEMENTS.
        FDD            451          09/29/16    150.00           0.70       105.00    T/C WITH COUNSEL, H. WHIPKEY, M. DAVIS, AND K.
                                                                                      MCCOY RE: JAY PEAK BIOMEDICAL RESEARCH SOURCES
                                                                                      AND USES.
        FDD            454          09/29/16    150.00           0.90       135.00    RECONCILE DISBURSEMENT TO BANK STATEMENTS
                                                                                      (CONTINUED).
        FDD            454          09/29/16    150.00           0.70       105.00    FINALIZE STATESIDE CONSTRUCTION EXPENDITURE
                                                                                      SCHEDULES.
        KM             451          09/29/16    270.00           0.70       189.00    T/C WITH M DAVIS, F DRAGO, H WHIPKEY, D LUNDY, K
                                                                                      SIMBECK, AND J DENISI TO REVIEW INVESTOR FLOW OF
                                                                                      FUNDS.
        KM             454          09/29/16    270.00           2.30       621.00    REVIEW JCM QUICKBOOKS AND IDENTIFY GL ACCOUNTS
                                                                                      FOR ANC BIO. TRACE FUNDS RECEIVED AND DISBURSED
                                                                                      FOR THE BENEFIT OF ANC BIO AND RECONCILE TO BANK
                                                                                      RECONSTRUCTION. PREPARE SUMMARY SCHEDULE OF
                                                                                      DISBURSEMENTS TO/FOR BENEFIT OF ANC BIO.
        KM             454          09/29/16    270.00           0.70       189.00    REVIEW DISBURSEMENTS FROM JP BIO LP AND SUPPORT
                                                                                      FOR CONSTRUCTION EXPENSES PER H WHIPKEY
                                                                                      REQUEST FOR EB 5 INVESTOR ANALYSIS.
        KM             454          09/29/16    270.00           2.60       702.00    REVIEW AND TRACE FUNDS USED FOR COLLATERAL FOR
                                                                                      JCM CITIBANK LOC. ANALYZE S KAPILA AFFIDAVIT,
                                                                                      SUPPORT, AND SEC COMPLAINT RE: SAME. IDENTIFY
                                                                                      SOURCE OF FUNDS FOR COLLATERAL.
        MMD            451          09/29/16    400.00           0.70       280.00    T/C WITH H. WHIPKEY AND KLASKO ATTORNEYS
                                                                                      REGARDING TRACING OF ANC BIO PARTNERSHIP FUNDS.
        MMD            454          09/29/16    400.00           3.50      1,400.00   CONTINUE TO ANALYZE ANC BIO AND STATESIDE
                                                                                      CONSTRUCTION RELATED COSTS AND TRACING OF
                                                                                      INVESTOR FUNDS.
        MMD            459          09/29/16    400.00           0.90       360.00    ANALYSIS OF ANC BIO INVESTOR FUNDS FLOW.
        MMD            459          09/29/16    400.00           1.40       560.00    ANALYZE CASH INFLOWS FROM INVESTORS AND
                                                                                      TRACING OF FUNDS TO/FOR THE BENEFIT OF
                                                                                      QUIROS/GSI.




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        SRK            454          09/29/16    540.00           0.60      324.00   EMAILS WITH JEFF SCHNEIDER RE RAYMOND JAMES AND
                                                                                    PRELIMINARY REVIEW OF CONTRACTORS ESTIMATE AND
                                                                                    STATUS OF STATESIDE PROJECT.
        FDD            454          09/30/16    150.00           5.30      795.00   REVIEW COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                    PEAK BIOMEDICAL AND RECONCILE TRANSACTIONS
                                                                                    REQUIRING FURTHER INVESTIGATION.
        MMD            459          09/30/16    400.00           1.00      400.00   CONTINUE TO ANALYZE ANC BIO LP CASH INFLOWS AND
                                                                                    OUTFLOWS AND CONSTRUCTION RELATED EXPENSES AS
                                                                                    REQUESTED BY COUNSEL. EMAILS WITH H. WHIPKEY RE
                                                                                    SAME.
        KM             454          09/30/16    270.00           1.60      432.00   REVIEW JCM BANK RECONSTRUCTIONS AND BANK
                                                                                    STATEMENTS. ANALYZE SOURCE OF FUNDS AND TRACE
                                                                                    SOURCE OF FUNDS USED AS COLLATERAL FOR CITIBANK
                                                                                    $15M LOC.
        KM             454          09/30/16    270.00           0.70      189.00   REVIEW JP BIO LP DISBURSEMENTS TO VENDORS FOR
                                                                                    CONSTRUCTION COSTS AND MISSING BANK RECORDS
                                                                                    REQUIRED TO COMPLETED JCM BANK RECONSTRUCTION.
        FDD            454          10/03/16    150.00           3.20      480.00   REVIEW COMBINED RECONSTRUCTION FOR JAY PEAK
                                                                                    BIOMEDICAL RESEARCH AND RECONCILE TRANSACTIONS
                                                                                    REQUIRING FURTHER INVESTIGATION (CONTINUED).
                                                                                    RECONCILE INVESTOR CASH TRACKER AGAINST BANK
                                                                                    RECONSTRUCTION.
        FDD            454          10/03/16    150.00           4.80      720.00   RECONCILE JAY PEAK BIOMEDICAL RESEARCH INVESTOR
                                                                                    CASH TRACKER AGAINST BANK RECONSTRUCTION
                                                                                    (CONTINUED).
        FDD            454          10/03/16    150.00           0.40       60.00   REVIEW COMBINED BANK RECONSTRUCTION FOR JAY
                                                                                    CONSTRUCTION MANAGEMENT AND RECONCILE
                                                                                    TRANSACTIONS REQUIRING FURTHER INVESTIGATION.
        SRK            459          10/03/16    540.00           1.50      810.00   PREPARE FOR MEETING WITH COUNSEL JEFFREY
                                                                                    SCHNEIDER RE CITIBANK TRACING OF FUNDS IN THE
                                                                                    APPLICATION OF THE LINE OF CREDIT (0.5); ATTEND
                                                                                    MEETING WITH COUNSEL JEFFREY SCHNEIDER, MELISSA
                                                                                    DAVIS, KEVIN MCCOY AND ANA SALAZAR (1.0).
        KM             452          10/03/16    330.00           1.00      330.00   CONFERENCE WITH S KAPILA, M DAVIS, J SCHNEIDER,
                                                                                    AND A SALAZAR TO REVIEW SOURCES OF JCM CITIBANK
                                                                                    LOC.
        KM             454          10/03/16    330.00           2.30      759.00   REVIEW AND PREP FOR CONFERENCE WITH J
                                                                                    SCHNEIDER TO REVIEW SEC COMPLAINT, S KAPILA
                                                                                    AFFIDAVIT AND SOURCES FOR JCM CITIBANK LOC.
        KM             454          10/03/16    330.00           1.30      429.00   REVIEW REQUEST AND PRODUCTION OF STATESIDE
                                                                                    CONSTRUCTION COSTS AND COSTS TO COMPLETE AND
                                                                                    CORRESPONDENCE RE: SAME FOR DAMAGE ANALYSIS.
        MMD            452          10/03/16    400.00           1.00      400.00   ATTEND MEETING WITH COUNSEL REGARDING TRACING
                                                                                    OF CITIBANK LOC FUNDS.
        MMD            454          10/03/16    400.00           1.50      600.00   PREPARE TRACING ANALYSIS FOR SOURCES OF FUNDS
                                                                                    USED TO POST $17 MILLION FOR CITIBANK LOC.
        FDD            454          10/04/16    150.00           3.80      570.00   REVIEW COMBINED RECONSTRUCTION FOR JAY
                                                                                    CONSTRUCTION MANAGEMENT AND RECONCILE
                                                                                    TRANSACTIONS REQUIRING FURTHER INVESTIGATION
                                                                                    (CONTINUED).
        FDD            454          10/04/16    150.00           0.90      135.00   REVIEW COMBINED RECONSTRUCTION FOR JAY
                                                                                    CONSTRUCTION MANAGEMENT AND RECONCILE
                                                                                    TRANSACTIONS REQUIRING FURTHER INVESTIGATION
                                                                                    (CONTINUED).
        FDD            454          10/04/16    150.00           2.80      420.00   PREPARE A FLOWCHART OF NET ACTIVITY FOR JAY PEAK
                                                                                    BIOMEDICAL RESEARCH PARK.


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        FDD            459          10/04/16    150.00           0.60        90.00    REVIEW TAX DOCUMENTS AND ARCHIVE TAX RETURNS
                                                                                      PREPARED BY MALLAH FURMAN.
        KM             454          10/04/16    330.00           2.80       924.00    REVIEW SOURCE OF FUNDS USED FOR COLLATERAL FOR
                                                                                      JCM CITIBANK LINE OF CREDIT. TRACE SOURCES
                                                                                      THROUGH JCM BANK ACCOUNTS AND PREPARE FLOW
                                                                                      CHART OF DEPOSIT TRANSACTIONS AND SUMMARY OF
                                                                                      SOURCES.
        KM             454          10/04/16    330.00           1.10       363.00    REVIEW FLOW OF FUNDS AND BANK RECONSTRUCTION
                                                                                      FOR ANC BIO AND JCM. REVIEW SOURCES AND USES
                                                                                      AND TRANSFERS TO DEFENDANTS AND RELIEF
                                                                                      DEFENDANTS.
        SRK            459          10/04/16    540.00           0.70       378.00    REVIEW CITIBANK CASH TRACING ANALYSIS.
        MMD            459          10/04/16    400.00           0.90       360.00    REVIEW RECONSTRUCTION OF JAY CONSTRUCTION
                                                                                      MANAGEMENT ACCOUNTS.
        MMD            459          10/04/16    400.00           1.10       440.00    REVIEW RECONSTRUCTION OF ANC BIO ACCOUNTS.
        FDD            454          10/05/16    150.00           0.50        75.00    REVISE FLOWCHART FOR JAY PEAK BIOMEDICAL
                                                                                      RESEARCH PARK NET ACTIVITY.
        FDD            454          10/05/16    150.00           3.00       450.00    RECONCILE RECEIPTS AND DISBURSEMENTS FROM JAY
                                                                                      PEAK BIOMEDICAL RESEARCH PARK CASH TRACKER AND
                                                                                      TRACK INVESTOR FLOW OF FUNDS.
        FDD            454          10/05/16    150.00           3.20       480.00    RECONCILE RECEIPTS AND DISBURSEMENTS FROM JAY
                                                                                      PEAK BIOMEDICAL RESEARCH PARK CASH TRACKER AND
                                                                                      TRACK INVESTOR FLOW OF FUNDS (CONTINUED).
        FDD            454          10/05/16    150.00           1.80       270.00    RECONCILE RECEIPTS AND DISBURSEMENTS FROM JAY
                                                                                      PEAK BIOMEDICAL RESEARCH PARK CASH TRACKER AND
                                                                                      TRACK INVESTOR FLOW OF FUNDS (CONTINUED). T/C
                                                                                      WITH COUNSEL, ECONOMIST EXPERT AND H. WHIPKEY
                                                                                      TO DISCUSS CONSTRUCTION OUTPUT COST FOR ANC
                                                                                      BIO PROJECT.
        SRK            459          10/05/16    540.00           1.30       702.00    ANALYSIS OF CASH FLOWS PER REQUEST FROM DANIEL
                                                                                      LUNDY, ESQ.
        SRK            459          10/05/16    540.00           1.90      1,026.00   TELEPHONE CALL RE CASH FLOWS AND ANC BIO WITH
                                                                                      THE KLASKO TEAM, AKERMAN TEAM, J. PEAK
                                                                                      MANAGEMENT AND KAPILA TEAM AND CONSULTANTS TO
                                                                                      KLASKO (1.0); PREPARATION FOR SAME (.9).
        KM             451          10/05/16    330.00           1.00       330.00    T/C WITH KAPILA TEAM, AKERMAN TEAM, KLASKO TEAM
                                                                                      AND H WHIPKEY TO REVIEW ANC BIO INVESTOR STATUS
                                                                                      AND FLOW OF FUNDS.
        KM             454          10/05/16    330.00           1.10       363.00    REVIEW JP BIO LP FLOW OF FUNDS, JCM CONSTRUCTION
                                                                                      COSTS PAID FOR THE BENEFIT OF JP BIO LP AND
                                                                                      SUPPORTING WORK PAPERS IN PREP FOR CONFERENCE
                                                                                      CALL WITH COUNSEL AND INVESTOR ACCOUNTANTS.
        KM             454          10/05/16    330.00           2.20       726.00    CONTINUED REVIEW OF JCM SOURCES OF FUNDS FOR
                                                                                      QUIROS CITIBANK LOC. REVIEW SUPPORTING BANK
                                                                                      RECORDS FOR JP BIO FUNDS TRANSFERRED TO JCM
                                                                                      ACCOUNTS AND PROVIDE COPIES OF SUPPORTING BANK
                                                                                      STATEMENTS TO COUNSEL PER REQUEST.
        WWF            454          10/05/16    290.00           2.90       841.00    EXAMINE CHECK COPIES AND DEPOSIT SLIP COPIES.
                                                                                      MATCH EACH TO MISSING INFORMATION FROM BANK
                                                                                      STATEMENT RECONSTRUCTION FOR ARIEL QUIROS HSBC
                                                                                      ACCOUNTS.
        MMD            451          10/05/16    400.00           0.50       200.00    ATTEND T/C WITH J. SCHNEIDER REGARDING TRACING
                                                                                      JP MORGAN LOC COLLATERAL FUNDS.
        MMD            451          10/05/16    400.00           1.50       600.00    ATTEND T/C WITH KLASKO TEAM REGARDING TRACING
                                                                                      OF ANC BIO FUNDS (1.0); REVIEW ANC BIO ANALYSES
                                                                                      AND PREPARE FOR T/C (0.5).


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        MMD            454          10/05/16    400.00           2.80      1,120.00   REVIEW AND FINALIZE SUMMARY CHARTS OF TRACING
                                                                                      ANC BIO FUNDS. CIRCULATE TO WORKING GROUP.
        MMD            451          10/05/16    400.00           0.70       280.00    T/C WITH HEATHER WHIPKEY REGARDING GATHERING
                                                                                      DOCUMENTS NEEDED FOR RESPONSE TO IMMIGRATION
                                                                                      AUTHORITY.
        MMD            454          10/05/16    400.00           1.10       440.00    CONTINUE TO GATHER SUPPORTING DOCUMENTS FOR
                                                                                      DISBURSEMENTS FOR ANC BIO AND SEND TO HEATHER
                                                                                      WHIPKEY.
        CDM            454          10/06/16    220.00           2.20       484.00    PREPARE CHART ILLUSTRATING AND SUPPORTING JAY
                                                                                      CONSTRUCTION MANAGEMENT $15 LINE OF CREDIT
                                                                                      SOURCES OF FUNDS AS REQUESTED BY M. DAVIS.
        FDD            454          10/06/16    150.00           3.80       570.00    RECONCILE RECEIPTS AND DISBURSEMENTS FROM JAY
                                                                                      PEAK BIOMEDICAL RESEARCH PARK CASH TRACKER AND
                                                                                      TRACK INVESTOR FLOW OF FUNDS (CONTINUED).
        MMD            459          10/06/16    400.00           1.20       480.00    PREPARE CHART OF TRACING CITIBANK LOC FUNDS.
        CDM            454          10/07/16    220.00           0.40        88.00    PREPARE CHART ILLUSTRATING SOURCE OF $2M OF
                                                                                      FUNDS SUPPORTING LOC OF $17 AS REQUESTED BY
                                                                                      KEVIN MCCOY.
        KM             454          10/07/16    330.00           3.30      1,089.00   REVIEW AND EXTRACT BANK SUPPORT FOR TRANSFERS
                                                                                      TO, FROM AND BETWEEN JCM BANK ACCOUNTS: CB
                                                                                      9424, CB 4166, ML 3534, JPM 5553, RK 1174, HSBC 8531
                                                                                      ACCOUNTS IN SUPPORT OF FLOW CHART OF SOURCES
                                                                                      FOR QUIROS CITIBANK LOC.
        KM             454          10/07/16    330.00           2.80       924.00    REVIEW BANK RECONSTRUCTIONS AND PREPARE WORK
                                                                                      PAPERS FOR Q RESORTS INC SOURCES OF QUIROS
                                                                                      CITIBANK LOI. EXTRACT BANK SUPPORT FROM QRI BANK
                                                                                      ACCOUNTS: CB 9970, CB 5314, ML 3529, JPM 4952 AND
                                                                                      JAY PEAK PM 1736, AND NECS PB 3588.
        KM             454          10/07/16    330.00           2.60       858.00    CONTINUED REVIEW AND ANALYSIS OF SOURCES FOR
                                                                                      QUIROS CITIBANK LOC. REVIEW AND UPDATE FLOW OF
                                                                                      FUNDS FOR JCM AND Q RESORTS INC. PREPARE
                                                                                      SUMMARY NARRATIVE OF FINDINGS.
        SRK            459          10/07/16    540.00           2.10      1,134.00   REVIEW CITIBANK SETTLEMENT - CASH TRACING RE
                                                                                      OBJECTION BY LINDA JACKSON ON BEHALF OF CERTAIN
                                                                                      INVESTORS.
        SRK            459          10/07/16    540.00           1.00       540.00    CONTINUE TRACING OF FUNDS FOR MEETING WITH
                                                                                      COUNSEL SCHNEIDER.
        FDD            454          10/07/16    150.00           1.60       240.00    RECONCILE RECEIPTS AND DISBURSEMENTS FROM JAY
                                                                                      PEAK BIOMEDICAL RESEARCH PARK CASH TRACKER AND
                                                                                      TRACK INVESTOR FLOW OF FUNDS (CONTINUED).
        FDD            454          10/07/16    150.00           2.50       375.00    REVIEW JAY PEAK BIOMEDICAL RESEARCH PARK
                                                                                      WORKPAPERS AND ACCOUNTS PAYABLE DOCUMENTS
                                                                                      FOR CHECK STUBS AND INVOICES FOR THE PERIOD 2013
                                                                                      THROUGH 2014.
        MMD            454          10/07/16    400.00           0.60       240.00    DRAFT EMAILS TO A. SALAZAR WITH REQUESTED
                                                                                      INFORMATION AND BANK RECORDS FOR TRACING
                                                                                      CITIBANK LOC PROCEEDS.
        MMD            454          10/07/16    400.00           2.40       960.00    REVIEW CHARTS TRACING CITIBANK LOC FUNDS.
        MMD            459          10/07/16    400.00           1.20       480.00    CONTINUE DAMAGE ANALYSIS AND GATHERING OF
                                                                                      INFORMATION REQUESTED BY RAYMOND JAMES.
        MMD            459          10/07/16    400.00           0.70       280.00    FINALIZE CHARTS AND TALKING POINTS FOR MEETING
                                                                                      WITH LINDA JACKSON AND SEND TO J. SCHNEIDER.




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        FDD            454          10/10/16    150.00           3.10       465.00    RECONCILE CONSTRUCTION COST FOR THE GOLF AND
                                                                                      MOUNTAIN PROJECT FROM JAY CONSTRUCTION
                                                                                      MANAGEMENT GENERAL LEDGER AGAINST BANK
                                                                                      RECORDS. REVIEW COMBINED RECONSTRUCTION FOR
                                                                                      JAY CONSTRUCTION MANAGEMENT AND ITEMIZE ALL
                                                                                      CONSTRUCTION COST FOR SAME.
        FDD            454          10/10/16    150.00           0.90       135.00    RECONCILE CONSTRUCTION COST FOR THE GOLF AND
                                                                                      MOUNTAIN PROJECT FROM JAY CONSTRUCTION
                                                                                      MANAGEMENT GENERAL LEDGER AGAINST BANK
                                                                                      RECORDS. REVIEW COMBINED RECONSTRUCTION FOR
                                                                                      JAY CONSTRUCTION MANAGEMENT AND ITEMIZE ALL
                                                                                      CONSTRUCTION COST FOR SAME (CONTINUED).
        FDD            454          10/10/16    150.00           4.20       630.00    RECONCILE CONSTRUCTION COST FOR THE LODGE AND
                                                                                      TOWNHOUSES PROJECT FROM JAY CONSTRUCTION
                                                                                      MANAGEMENT GENERAL LEDGER AGAINST BANK
                                                                                      RECORDS. REVIEW COMBINED RECONSTRUCTION FOR
                                                                                      JAY CONSTRUCTION MANAGEMENT AND ITEMIZE ALL
                                                                                      CONSTRUCTION COST FOR SAME.
        WWF            454          10/10/16    290.00           2.80       812.00    EXAMINE CHECK COPIES AND DEPOSIT SLIP COPIES.
                                                                                      MATCH EACH TO MISSING INFORMATION FROM BANK
                                                                                      STATEMENT RECONSTRUCTION FOR ARIEL QUIROS HSBC
                                                                                      ACCOUNTS.
        WWF            454          10/10/16    290.00           1.40       406.00    CONTINUE TO EXAMINE CHECK COPIES AND DEPOSIT
                                                                                      SLIP COPIES. MATCH EACH TO MISSING INFORMATION
                                                                                      FROM BANK STATEMENT RECONSTRUCTION FOR ARIEL
                                                                                      QUIROS HSBC ACCOUNTS.
        SRK            459          10/10/16    540.00           3.20      1,728.00   CITIBANK COLLATERAL ACCOUNT TRACING - PREPARE
                                                                                      FOR MEETING WITH COUNSEL JEFF SCHNEIDER AND
                                                                                      THEREAFTER WITH COUNSEL LINDA JACKSON FOR ANC
                                                                                      BIO INVESTOR GROUP (0.7); MEETING WITH JEFF
                                                                                      SCHNEIDER, ANA SALAZAR, MELISSA DAVIS AND KEVIN
                                                                                      MCCOY RE CITIBANK CASH TRACING OF COLLATERAL
                                                                                      FUNDING (0.5); MEETING WITH COUNSELS JEFF
                                                                                      SCHNEIDER, ANA SALAZAR, LINDA JACKSON, JESSE
                                                                                      CLOYD, MELISSA DAVIS, KEVIN MCCOY - CITI BANK
                                                                                      COLLATERAL ACCOUNT FUNDING AND CASH TRACING
                                                                                      (2.0).
        KM             452          10/10/16    330.00           2.00       660.00    CONFERENCE WITH S KAPILA, M DAVIS, J SCHNEIDER
                                                                                      AND L JACKSON TO REVIEW JP BIO INVESTOR FLOW OF
                                                                                      FUNDS.
        KM             452          10/10/16    330.00           0.50       165.00    CONFERENCE WITH S KAPILA, M DAVIS, AND J
                                                                                      SCHNEIDER TO REVIEW JP BIO INVESTOR FLOW OF
                                                                                      FUNDS AND PREP FOR MEETING WITH L JACKSON.
        KM             454          10/10/16    330.00           4.20      1,386.00   REVIEW JCM, JP BIO AND Q RESORTS INC BANK
                                                                                      RECONSTRUCTIONS, BANK STATEMENT AND FLOW OF
                                                                                      FUNDS. PREPARE SCHEDULES AND SUPPORT FOR
                                                                                      MEETING WITH J SCHNEIDER AND L JACSKON RE:
                                                                                      CITIBANK SOURCES OF COLLATERAL FOR QUIROS LINE
                                                                                      OF CREDIT.
        KM             454          10/10/16    330.00           1.60       528.00    REVIEW CORRESPONDENCE, SPREADSHEETS AND
                                                                                      RECORDS RELATED TO CONSTRUCTION COSTS PAID FBO
                                                                                      STATESIDE LP PROJECT AND ESTIMATED COSTS TO
                                                                                      COMPLETE RE: DAMAGE ANALYSIS.
        MMD            459          10/10/16    400.00           0.30       120.00    T/C WITH K. MATREGRANO REGARDING NECS RECORDS.
        MMD            459          10/10/16    400.00           2.10       840.00    REVIEW DAMAGE ANALYSIS FOR RAYMOND JAMES
                                                                                      MATTER.
        MMD            459          10/10/16    400.00           0.50       200.00    ATTEND MEETING WITH J. SCHNEIDER


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        MMD            459          10/10/16    400.00           2.00      800.00   ATTEND MEETING WITH J. SCHNEIDER AND L. JACKSON
                                                                                    REGARDING CITIBANK LOC COLLATERAL TRACING.
        FDD            454          10/11/16    150.00           0.30       45.00   RECONCILE CONSTRUCTION COST FOR THE LODGE AND
                                                                                    TOWNHOUSES PROJECT FROM JAY CONSTRUCTION
                                                                                    MANAGEMENT GENERAL LEDGER AGAINST BANK
                                                                                    RECORDS. REVIEW COMBINED RECONSTRUCTION FOR
                                                                                    JAY CONSTRUCTION MANAGEMENT AND ITEMIZE ALL
                                                                                    CONSTRUCTION COST FOR SAME (CONTINUED).
        FDD            454          10/11/16    150.00           2.10      315.00   RECONCILE CONSTRUCTION COST FOR THE
                                                                                    PENTHOUSES PROJECT FROM JAY CONSTRUCTION
                                                                                    MANAGEMENT GENERAL LEDGER AGAINST BANK
                                                                                    RECORDS. REVIEW COMBINED RECONSTRUCTION FOR
                                                                                    JAY CONSTRUCTION MANAGEMENT AND ITEMIZE ALL
                                                                                    CONSTRUCTION COST FOR SAME.
        FDD            451          10/11/16    150.00           0.60       90.00   T/C WITH JAY PEAK GROUP RE: CONSTRUCTION OUTPUT
                                                                                    FOR ANC BIO PROJECT AND CASE MANAGEMENT.
        FDD            454          10/11/16    150.00           0.30       45.00   REVIEW NECS AND ANC BIO WITH K. MCCOY AND
                                                                                    DISCUSS CASE ACTION PLAN.
        FDD            454          10/11/16    150.00           1.10      165.00   REVIEW BANK RECONSTRUCTION FOR NORTH EAST
                                                                                    CONTRACT SERVICES AND PREPARE BANK REQUEST
                                                                                    SCHEDULE. FINALIZE SUMMARY OF BANK ACCOUNT
                                                                                    ACTIVITY FOR SAME.
        KM             451          10/11/16    330.00           0.60      198.00   T/C WITH KAPILA TEAM, AKERMAN TEAM, KLASKO TEAM,
                                                                                    M GOLDBERG, H WHIPKEY ET AL. TO REVIEW INVESTOR
                                                                                    FLOW OF FUNDS AND EB5 IMMIGRATION ACCOUNTING.
        FDD            454          10/11/16    150.00           3.80      570.00   ANALYSIS OF INVESTOR FUNDS FOR JAY PEAK
                                                                                    BIOMEDICAL RESEARCH PARK RE: DAMAGE ANALYSIS.
        KM             454          10/11/16    330.00           1.60      528.00   REVIEW AND PREPARE SUMMARY OF TASKS TO BE
                                                                                    COMPLETED FOR EB5 IMMIGRATION RESPONSES FOR JP
                                                                                    BIO LP AND STATESIDE LP PER T/C WITH COUNSEL.
        KM             454          10/11/16    330.00           1.10      363.00   REVIEW JP BIO LP BANK RECONSTRUCTION AND
                                                                                    ACCOUNTING RECORDS TO IDENTIFY FLOW OF FUNDS
                                                                                    THROUGH ESCROW ACCOUNTS.
        KM             454          10/11/16    330.00           1.20      396.00   REVIEW Q BURKE OUTSTANDING CONSTRUCTION COST
                                                                                    INVOICES, CORRESPONDENCE, EMAILS AND
                                                                                    ACCOUNTING RECORDS FOR DAMAGE ANALYSIS.
        KM             454          10/11/16    330.00           0.60      198.00   REVIEW NECS FLOWS OF FUNDS SCHEDULE AND BANK
                                                                                    RECORD REQUESTS.
        WWF            454          10/11/16    290.00           3.30      957.00   EXAMINE CHECK COPIES AND DEPOSIT SLIP COPIES.
                                                                                    MATCH EACH TO MISSING INFORMATION FROM BANK
                                                                                    STATEMENT RECONSTRUCTION FOR ARIEL QUIROS HSBC
                                                                                    ACCOUNTS.
        WWF            454          10/11/16    290.00           2.10      609.00   EXAMINE EMAILS TO/FROM JERRY DAVIS AND Q RESORT
                                                                                    MANAGEMENT TO DETERMINE OUTSTANDING PAYABLES
                                                                                    TO PEAK CM CONSTRUCTION FOR Q BURKE MOUNTAIN
                                                                                    HOTEL AND CONFERENCE CENTER.
        WWF            454          10/11/16    290.00           2.20      638.00   RECONSTRUCT BANK STATEMENTS FOR ARIEL QUIROS
                                                                                    HSBC BANK ACCOUNTS.
        SRK            459          10/11/16    540.00           0.60      324.00   TELEPHONE CALL WITH KLASKO TEAM, RECEIVER,
                                                                                    GOLDBERG AND COUNSEL TO RECEIVER AND KEVIN
                                                                                    MCCOY.
        WWF            454          10/12/16    290.00           1.60      464.00   EXAMINE EMAILS TO/FROM JERRY DAVIS AND Q RESORT
                                                                                    MANAGEMENT TO DETERMINE OUTSTANDING PAYABLES
                                                                                    TO PEAK CM CONSTRUCTION FOR Q BURKE MOUNTAIN
                                                                                    HOTEL AND CONFERENCE CENTER (CONTINUED).



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        WWF            454          10/12/16    290.00           3.90      1,131.00   ANALYZE PEAK CM CONSTRUCTION INVOICES AND
                                                                                      COMPARE TO Q BURKE BANK STATEMENTS TO VERIFY
                                                                                      PAYMENTS MADE TO DATE AND OUTSTANDING
                                                                                      PAYABLES.
        KM             454          10/12/16    330.00           2.70       891.00    REVIEW STATESIDE PROJECT COSTS OF CONSTRUCTION
                                                                                      TO COMPLETE THE IDLE PROJECTS, AMOUNTS PAID TO
                                                                                      CONTRACTORS TO DATE AND AMOUNTS DUE FOR COSTS
                                                                                      INCURRED. PREPARED SUMMARY SCHEDULE OF
                                                                                      FINDINGS AND COMPARISON BETWEEN JP MGMT AND
                                                                                      DEW CONSTRUCTION PROPOSAL FOR REVIEW.
        FDD            454          10/12/16    150.00           3.80       570.00    ANALYSIS OF INVESTOR FUNDS FOR JAY PEAK
                                                                                      BIOMEDICAL RESEARCH PARK RE: DAMAGE ANALYSIS
                                                                                      (CONTINUED).
        FDD            454          10/12/16    150.00           2.00       300.00    ANALYSIS OF INVESTOR FUNDS FOR JAY PEAK
                                                                                      BIOMEDICAL RESEARCH PARK RE: DAMAGE ANALYSIS
                                                                                      (CONTINUED).
        FDD            459          10/12/16    150.00           1.80       270.00    REVIEW TAX RETURNS PREPARED BY MALLAH FURMAN
                                                                                      AND ARCHIVE DOCUMENTS TO BE SENT TO COUNSEL
                                                                                      (CONTINUED).
        FDD            454          10/12/16    150.00           0.70       105.00    REVISED DOCUMENT REQUEST SCHEDULE FOR NORTH
                                                                                      EAST CONTRACT SERVICES, LLC.
        KM             454          10/12/16    330.00           1.30       429.00    REVIEW JP BIO LP BANK RECONSTRUCTION AND CASH
                                                                                      TRACKER. ANALYZED INVESTOR FUNDS TRANSFERRED
                                                                                      INTO THE LP ESCROW ACCOUNTS AND AMOUNTS
                                                                                      DISBURSED TO OTHER ENTITIES FOR PREP OF DAMAGE
                                                                                      ANALYSIS.
        MMD            459          10/12/16    400.00           1.70       680.00    PREPARE DAMAGE ANALYSIS - RAYMOND JAMES MATTER.
        MMD            459          10/12/16    400.00           2.20       880.00    REVIEW STATESIDE AND ANC BIO BANK
                                                                                      RECONSTRUCTIONS FOR PURPOSES OF COMPLETING
                                                                                      TRACING ANALYSIS.
        FDD            454          10/13/16    150.00           0.60        90.00    REVISE NORTH EAST CONTRACT SERVICES, LLC BANK
                                                                                      REQUEST (CONTINUED).
        FDD            454          10/13/16    150.00           3.00       450.00    ANALYSIS OF INVESTOR FUNDS FOR JAY PEAK
                                                                                      BIOMEDICAL RESEARCH PARK RE: DAMAGE ANALYSIS
                                                                                      (CONTINUED).
        FDD            454          10/13/16    150.00           2.20       330.00    ANALYSIS OF INVESTOR FUNDS FOR JAY PEAK
                                                                                      BIOMEDICAL RESEARCH PARK RE: DAMAGE ANALYSIS
                                                                                      (CONTINUED).
        KM             454          10/13/16    330.00           0.70       231.00    REVIEW NECS BANK RECONSTRUCTION AND BANK
                                                                                      RECORDS REQUEST AND PROVIDE TO COUNSEL FOR
                                                                                      SUBPOENA.
        KM             454          10/13/16    330.00           2.20       726.00    REVIEW JP BIO INVESTOR ANALYSIS, STATESIDE COSTS
                                                                                      TO COMPLETE CONSTRUCTION BUDGETS AND
                                                                                      OUTSTANDING INVOICES FROM PEAK CM FOR Q BURKE
                                                                                      IN PREP FOR PRELIM DAMAGE ANALYSIS.
        WWF            454          10/13/16    290.00           1.10       319.00    RECONSTRUCTION OF GSI OF DADE COUNTY BANK
                                                                                      STATMENTS HSBC ACCOUNTS.
        WWF            454          10/13/16    290.00           1.00       290.00    ANALYZE PEAK CM CONSTRUCTION INVOICES AND
                                                                                      COMPARE TO Q BURKE BANK STATEMENTS TO VERIFY
                                                                                      PAYMENTS MADE TO DATE AND OUTSTANDING
                                                                                      PAYABLES.
        MMD            459          10/13/16    400.00           0.70       280.00    CONTINUE TO REVIEW BANK RECONSTRUCTIONS OF
                                                                                      ANC BIO AND OTHER PATNERSHIPS IN ORDER TO TRACE
                                                                                      FUNDS TO QUIROS.




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        FDD            454          10/14/16    150.00           0.80      120.00   REVIEW INVESTOR RECONCILIATION AND BANK
                                                                                    RECONSTRUCTION FOR JAY PEAK BIOMEDICAL
                                                                                    RESEARCH PARK LP.
        FDD            454          10/14/16    150.00           1.30      195.00   REVISE INVESTOR RECONCILIATION AND BANK
                                                                                    RECONSTRUCTION SUMMARY FOR JAY PEAK BIOMEDICAL
                                                                                    RESEARCH PARK LP.
        WWF            454          10/14/16    290.00           1.90      551.00   RECONSTRUCTION OF GSI OF DADE COUNTY BANK
                                                                                    STATMENTS HSBC ACCOUNTS.
        WWF            454          10/14/16    290.00           1.80      522.00   ANALYZE PEAK CM CONSTRUCTION INVOICES AND
                                                                                    COMPARE TO Q BURKE BANK STATEMENTS TO VERIFY
                                                                                    PAYMENTS MADE TO DATE AND OUTSTANDING
                                                                                    PAYABLES.
        WWF            454          10/14/16    290.00           1.80      522.00   CONTINUE RECONSTRUCTION OF GSI OF DADE COUNTY
                                                                                    BANK STATMENTS HSBC ACCOUNTS.
        MMD            454          10/14/16    400.00           0.40      160.00   PRODUCE MALLAH FURMAN RECORDS AS REQUESTED BY
                                                                                    COUNSEL.
        KM             454          10/14/16    330.00           0.60      198.00   REVIEW AND ATTEND TO CORRESPONDENCE RE: NECS
                                                                                    RECORD AND SUBPOENA REQUESTS.
        KM             454          10/14/16    330.00           1.70      561.00   REVIEW OUTSTANDING INVOICES AND PAYABLES DUE
                                                                                    TO PEAK CM FROM Q BURKE. REVIEW SCHEDULE OF
                                                                                    NOVICES AND CORRESPONDING PAYMENTS RECONCILED
                                                                                    TO BANK STATEMENTS AND SUMMARY OF FINDINGS.
        KM             454          10/14/16    330.00           0.40      132.00   REVIEW AND ATTEND TO CORRESPONDENCE AND
                                                                                    PRODUCTION OF EMAILS FOR SEC AND OTHER
                                                                                    LITIGATION REQUESTS.
        KM             454          10/14/16    330.00           1.40      462.00   CONTINUED REVIEW AND ANALYSIS OF JP BIO
                                                                                    INVESTOR FUNDS RECEIVED RECONCILED TO
                                                                                    ACCOUNTING RECORDS AND CASH TRACKER PREPARED
                                                                                    BY JP MGMT. IDENTIFIED AND RESEARCHED VARIANCES
                                                                                    TO QUANTIFY AMOUNT OF FUNDS JP BIO INVESTORS
                                                                                    NET INVESTMENT AND AMOUNT PAID FOR ADMIN FEES.
        WWF            454          10/17/16    290.00           2.60      754.00   RECONSTRUCTION OF GSI OF DADE COUNTY BANK
                                                                                    STATMENTS HSBC ACCOUNTS.
        WWF            454          10/17/16    290.00           1.40      406.00   EXAMINE PEAKCM CONSTRUCTION INVOICES RELATED
                                                                                    TO SNOWMAKING IMPROVEMENTS AT Q BURKE
                                                                                    MOUNTAIN.
        WWF            454          10/17/16    290.00           1.60      464.00   ANALYSIS OF Q BURKE HOTEL AND CONFERENCE
                                                                                    CENTER LP GENERAL LEDGER FOR PAYMENTS TO
                                                                                    PEAKCM.
        WWF            454          10/17/16    290.00           0.80      232.00   ANALYZE PEAKCM PRE-CONSTRUCTION AND
                                                                                    CONSTRUCTION INVOICES THAT RELATE TO THE
                                                                                    CONSTRUCTION OF Q BURKE HOTEL AND CONFERENCE
                                                                                    CENTER.
        WWF            454          10/17/16    290.00           1.10      319.00   SUMMARIZE AMOUNTS OWED TO PEAKCM RELATED TO Q
                                                                                    BURKE HOTEL AND CONFERENCE CENTER
                                                                                    CONSTRUCTION.
        KM             454          10/17/16    330.00           1.70      561.00   REVIEWED INVOICES AND SUPPORT FOR OUTSTANDING
                                                                                    CONTRACTOR COSTS PROVIDED BY PEAKCM FOR Q
                                                                                    BURKE HOTEL LP (.8). REVIEW ANALYSIS OF
                                                                                    DISBURSEMENTS AND RECONCILIATION OF BANK
                                                                                    RECORDS AND ACCOUNTING RECORDS TO PEAK CM
                                                                                    SUPPORT AND SUMMARY OF FINDINGS (.9).
        KM             454          10/17/16    330.00           1.60      528.00   REVIEW DAMAGE ANALYSIS SUMMARY FOR RAYMOND
                                                                                    JAMES LITIGATION AND PREPARE SUMMARY SCHEDULES
                                                                                    FOR REVIEW.



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        MMD            454          10/17/16    400.00           0.10        40.00    RESPOND TO EMAIL FROM COUNSEL REGARDING
                                                                                      DOCUMENT INDEX.
        MAK            454          10/18/16    280.00           0.60       168.00    RESEARCH BANK ACCOUNT INFORMATION RE: DATE OF
                                                                                      FREEZE AND AMOUNTS.
        MMD            454          10/18/16    400.00           1.20       480.00    CONTINUE RAYMOND JAMES DAMAGE ANALYSIS.
        MMD            454          10/18/16    400.00           0.70       280.00    REVIEW TRACING OF JAY PEAK BIO LP PARTNERSHIP
                                                                                      FUNDS.
        MMD            454          10/18/16    400.00           0.20        80.00    FOLLOW UP WITH DAVE MCNEIL REGARDING FINANCIAL
                                                                                      INFORMATION REQUESTED BY RAYMOND JAMES.
        FDD            454          10/18/16    150.00           4.50       675.00    INCORPORATE INVESTOR DETAIL INTO JAY PEAK HOTEL
                                                                                      SUITE STATESIDE COMBINED BANK RECONSTRUCTION.
        FDD            459          10/18/16    150.00           2.40       360.00    REVIEW PEOPLE'S UNITED BANK PRODUCTION AND
                                                                                      SORT SUPPORTING DOCUMENTS BY ENTITY.
        KM             454          10/18/16    330.00           3.30      1,089.00   REVIEW AND ANALYZE COMPONENTS OF DAMAGE
                                                                                      ANALYSIS FOR RJ LITIGATION AND PREPARE SUMMARY
                                                                                      SCHEDULES FOR: STATESIDE COSTS TO COMPLETE
                                                                                      CONSTRUCTION (1.2), JP BIO INVESTOR ANALYSIS (1.1),
                                                                                      AND Q BURKE HOTEL LP OUTSTANDING PAYABLES (1).
        WWF            454          10/18/16    290.00           1.20       348.00    ANALYSIS OF Q BURKE HOTEL AND CONFERENCE
                                                                                      CENTER GENERAL LEDGER FOR ANY AND ALL PAYMENTS
                                                                                      TO PEAKCM.
        SRK            459          10/18/16    540.00           1.50       810.00    ASSESSMENT OF DAMAGES - PRELIMINARY - RE
                                                                                      COMPLETION OF Q BURKE, STATESIDE, AND LOSSES ON
                                                                                      ANC BIO.
        MMD            454          10/18/16    400.00           0.70       280.00    CONTINUE REVIEW OF CONSTRUCTION RELATED
                                                                                      EXPENSES AND DOCUMENTS PRODUCED BY H. WHIPKEY.
        MMD            454          10/18/16    400.00           0.40       160.00    REVIEW BANK RECONSTRUCTIONS FOR ANC BIO,
                                                                                      STATESIDE AND Q RESORTS IN CONNECTION WITH
                                                                                      TRACING FUNDS TO QUIROS.
        SRK            459          10/18/16    540.00           0.50       270.00    CITIBANK COLLATERAL ANALYSIS (0.3); TELEPHONE
                                                                                      CALL WITH JEFF SCHNEIDER (0.2).
        FDD            459          10/19/16    150.00           1.20       180.00    UPLOAD BANK RECORDS FOR PEOPLE'S UNITED BANK
                                                                                      RE: RAYMOND JAMES SETTLEMENT.
        FDD            454          10/19/16    150.00           0.80       120.00    PREPARE A SUMMARY OF BANK ACTIVITY FOR JAY PEAK
                                                                                      BIOMEDICAL RESEARCH PARK ACCOUNT #9901 AS OF
                                                                                      11.24.14 AND 03.31.16.
        WWF            454          10/19/16    290.00           1.80       522.00    ANALYSIS OF Q BURKE HOTEL AND CONFERENCE
                                                                                      CENTER LP CONSTRUCTION COSTS. SPECIFICALLY,
                                                                                      PRE-CONSTRUCTION INVOICES FOR PEAKCM.
        WWF            454          10/19/16    290.00           0.60       174.00    ANALYSIS OF Q BURKE HOTEL AND CONFERENCE
                                                                                      CENTER GENERAL LEDGER FOR ANY AND ALL PAYMENTS
                                                                                      TO PEAKCM.
        KM             451          10/19/16    330.00           0.70       231.00    T/C WITH KAPILA TEAM, KLASKO TEAM, RECEIVER, H
                                                                                      WHIPKEY AND TEAM MEMBERS TO REVIEW
                                                                                      IMMIGRATION ACCOUNTING REQUIRED FOR EB5
                                                                                      INVESTORS.
        FDD            454          10/19/16    150.00           0.80       120.00    PREPARE BANK RECORD REQUEST FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT.
        FDD            454          10/19/16    150.00           0.30        45.00    REVIEW JAY CONSTRUCTION MANAGEMENT
                                                                                      CONSTRUCTION COST FOR STATESIDE COTTAGES.
        FDD            454          10/19/16    150.00           0.70       105.00    REVIEW OF JAY CONSTRUCTION MANAGEMENT
                                                                                      CONSTRUCTION COST FOR STATESIDE COTTAGES AND
                                                                                      TOWNHOUSE RE: IMMIGRATION
        SRK            459          10/19/16    540.00           0.70       378.00    TELEPHONE CONFERENCE WITH THE KLASKO TEAM AND
                                                                                      RECEIVER.


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        MMD            451          10/19/16    400.00           0.70       280.00    ATTEND T/C WITH KLASKO FIRM REGARDING RFE.
        MMD            451          10/19/16    400.00           1.00       400.00    T/C WITH HEATHER WHIPKEY REGARDING STATESIDE
                                                                                      AND LODGING TOWNHOME INVESTOR FUNDS AND
                                                                                      RELATED CONSTRUCTION COSTS.
        MMD            454          10/19/16    400.00           1.50       600.00    REVIEW JCM BANK RECONSTRUCTIONS IN ORDER TO
                                                                                      TRACE FUNDS FROM STATESIDE AND TO DEW
                                                                                      CONSTRUCTION. REVIEW SUPPORT FOR TRANSACTIONS
                                                                                      PROVIDED BY H. WHIPKEY.
        MMD            454          10/19/16    400.00           0.60       240.00    REVIEW RFE FOR STATESIDE AND LODGE/TOWNHOME
                                                                                      INVESTORS.
        KM             454          10/19/16    330.00           0.60       198.00    REVIEW BANK RECORD REQUESTS FOR JAY
                                                                                      CONSTRUCTION MGMT AND PREPARE FOR COUNSEL TO
                                                                                      SUBPOENA RECORDS FROM BANK.
        KM             454          10/19/16    330.00           1.70       561.00    REVIEW ACCOUNTING FOR IMMIGRATION AND EB5
                                                                                      INVESTORS AND CORRESPONDENCE RECEIVED FROM H
                                                                                      WHIPKEY RE: SAME. REVIEW DELIVERABLES PER
                                                                                      CONFERENCE CALL RE: SAME.
        WWF            454          10/20/16    290.00           2.50       725.00    ANALYZE JAY PEAK LODGE AND TOWNHOME LP INITIAL
                                                                                      INVESTOR DEPOSITS. UTILIZING BANK STATEMENTS
                                                                                      AND CASH TRACKER.
        WWF            454          10/20/16    290.00           2.20       638.00    CONTINUE TO ANALYZE JAY PEAK LODGE AND
                                                                                      TOWNHOME LP INITIAL INVESTOR DEPOSITS. UTILIZING
                                                                                      BANK STATEMENTS AND CASH TRACKER.
        FDD            454          10/20/16    150.00           2.90       435.00    REVIEW JAY CONSTRUCTION MANAGEMENT BANK
                                                                                      RECONSTRUCTION AND ITEMIZE CONSTRUCTION
                                                                                      EXPENDITURES FOR STATESIDE, LODGE AND
                                                                                      TOWNHOUSE, GOLF AND MOUNTAIN, AND PENTHOUSE.
        FDD            454          10/20/16    150.00           1.30       195.00    REVIEW JAY CONSTRUCTION MANAGEMENT BANK
                                                                                      RECONSTRUCTION AND ITEMIZE CONSTRUCTION
                                                                                      EXPENDITURES FOR STATESIDE, LODGE AND
                                                                                      TOWNHOUSE, GOLF AND MOUNTAIN, AND PENTHOUSE
                                                                                      (CONTINUED).
        MMD            459          10/20/16    400.00           0.20        80.00    EMAILS WITH COUNSEL RE PRODUCTION OF JAY PEAK
                                                                                      FINANCIALS TO RAYMOND JAMES.
        MMD            459          10/20/16    400.00           0.80       320.00    REVIEW FINANCIAL STATEMENTS PRODUCED BY
                                                                                      MANAGEMENT COMPANY AS REQUESTED BY RAYMOND
                                                                                      JAMES.
        MMD            459          10/20/16    400.00           2.10       840.00    CONTINUE TO REVIEW BANK RECONSTRUCTIONS AND
                                                                                      TRACING OF INVESTOR FUNDS TO CONSTRUCTION
                                                                                      PROJECTS.
        FDD            454          10/21/16    150.00           4.70       705.00    PREPARE A CONSTRUCTION COST ANALYSIS.
        FDD            454          10/21/16    150.00           2.30       345.00    REVIEW JAY PEAK BIOMEDICAL RESEARCH PARK RE:
                                                                                      TRACING ANALYSIS.
        FDD            454          10/21/16    150.00           1.00       150.00    PREPARE A CONSTRUCTION COST ANALYSIS
                                                                                      (CONTINUED).
        KM             454          10/21/16    330.00           0.60       198.00    REVIEW PARTNERSHIP FINANCIAL STATEMENTS AS OF
                                                                                      JULY 2016.
        WWF            454          10/21/16    290.00           3.60      1,044.00   ANALYZE JAY PEAK LODGE AND TOWNHOME LP INITIAL
                                                                                      INVESTOR DEPOSITS. UTILIZING BANK STATEMENTS
                                                                                      AND CASH TRACKER.
        WWF            454          10/21/16    290.00           2.60       754.00    CONTINUE TO ANALYZE JAY PEAK LODGE AND
                                                                                      TOWNHOME LP INITIAL INVESTOR DEPOSITS. UTILIZING
                                                                                      BANK STATEMENTS AND CASH TRACKER.




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        WWF            454          10/21/16    290.00           2.30       667.00    ANALYSIS OF Q RESORTS FINANCIAL STATEMENTS
                                                                                      PROVIDED BY LEISURE HOTEL CORPORATION. REVIEW
                                                                                      OF FINANCIALS IN ADVANCE OF RAYMOND JAMES
                                                                                      LITIGATION.
        KM             454          10/21/16    330.00           3.30      1,089.00   JP BIO - TRACE FLOW OF FUNDS FROM PEOPLE'S
                                                                                      ESCROW ACCOUNT THROUGH INVESTMENT ACCOUNTS
                                                                                      AND BACK TO ESCROW ACCOUNT TO IDENTIFY ANY
                                                                                      THIRD PARTY SOURCES OF FUNDS DEPOSITED INTO
                                                                                      PEOPLE'S ESCROW ACCOUNT. PREPARE SUMMARY
                                                                                      SCHEDULES OF FINDINGS.
        SRK            459          10/21/16    540.00           0.50       270.00    REVIEW CASH FLOW TRACING ANALYSIS.
        FDD            454          10/24/16    150.00           5.10       765.00    PREPARE A CONSTRUCTION COST ANALYSIS
                                                                                      (CONTINUED).
        FDD            459          10/24/16    150.00           0.20        30.00    DOWNLOAD AND ARCHIVE BANK STATEMENTS RECEIVED
                                                                                      FROM H. WHIPKEY.
        SRK            459          10/24/16    540.00           1.30       702.00    REVIEW RAYMOND JAMES DAMAGE MODEL.
        KM             454          10/24/16    330.00           1.30       429.00    REVIEW PARTNERSHIP FINANCIAL STMTS PRODUCED BY
                                                                                      MGMT COMPANY AND ANALYZE JP BIO AND STATESIDE
                                                                                      COMPARED TO DAMAGE ANALYSIS.
        KM             454          10/24/16    330.00           1.30       429.00    CONTINUED REVIEW OF JP BIO SOURCE OF DEPOSITS
                                                                                      INTO THE PEOPLE'S ESCROW ACCOUNT. PREPARE
                                                                                      SUMMARY SCHEDULES OF TRACING ANALYSIS TO
                                                                                      IDENTIFY AND PRESENT FLOW OF FUNDS.
        KM             454          10/24/16    330.00           1.20       396.00    REVIEW AND ANALYZE Q BURKE AP AGING AND
                                                                                      COMPARE TO INVOICE DATA RECEIVED DIRECTLY FROM
                                                                                      PEAKCM. REVIEW OUTSTANDING INVOICES AND REVISE
                                                                                      SUMMARY SCHEDULE OF DAMAGE ANALYSIS RE; SAME.
        KM             454          10/24/16    330.00           0.60       198.00    REVIEW SUBPOENA AND RECORDS REQUESTS FROM
                                                                                      VERMONT DOJ AND RAYMOND JAMES.
        KM             454          10/24/16    330.00           1.30       429.00    PREPARE SUMMARY SCHEDULE OF DAMAGE ANALYSIS
                                                                                      AND CORRESPONDING NOTES.
        WWF            454          10/24/16    290.00           3.30       957.00    ANALYSIS OF JAY PEAK LODGE AND TOWNHOUSE LP
                                                                                      CASH TRACKER TO CONFIRM BANK ACCOUNT ACTIVITY
                                                                                      PER INVESTOR.
        WWF            454          10/24/16    290.00           0.70       203.00    PREPARE RECEIVERSHIP ENTITY FINANCIAL'S TO
                                                                                      PRODUCING TO RAYMOND JAMES COUNSEL.
        WWF            454          10/24/16    290.00           2.40       696.00    SUMMARIZE INVESTOR ACTIVITY RELATED TO JAY PEAK
                                                                                      LODGE AND TOWNHOUSES LP.
        WWF            454          10/24/16    290.00           1.10       319.00    ANALYSIS OF Q BURKE MOUNTAIN RESORT AND
                                                                                      CONFERENCE CENTER LP ACCOUNTS PAYABLE BALANCE.
        WWF            454          10/24/16    290.00           0.60       174.00    ANALYSIS OF Q BURKE MOUNTAIN RESORT AND
                                                                                      CONFERENCE CENTER LP ACCOUNTS PAYABLE BALANCE.
        MMD            459          10/24/16    400.00           1.60       640.00    REVIEW FINANCIALS TO BE PRODUCED TO RAYMOND
                                                                                      JAMES AND PREPARE EMAIL TO COUNSEL RE
                                                                                      DISCLAIMER LANGUAGE.
        MMD            459          10/24/16    400.00           0.70       280.00    REVIEW RAYMOND JAMES REQUEST FOR PRODUCTION.
        MMD            459          10/24/16    400.00           0.30       120.00    FOLLOW UP WITH DAVE MCNEIL REGARDING DATA
                                                                                      NEEDED FOR PRODUCTION TO RAYMOND JAMES.
        MMD            459          10/24/16    400.00           0.60       240.00    REVIEW JCM BANK RECONSTRUCTION AND SUMMARY OF
                                                                                      SOURCES AND USES OF FUNDS PREPARED ON
                                                                                      CONNECTION WITH TRACING CONSTRUCTION COSTS.
        FDD            454          10/25/16    150.00           1.20       180.00    PREPARE CONSTRUCTION COST SUMMARY SCHEDULES
                                                                                      FOR EACH LIMITED PARTNERSHIP RE: JAY
                                                                                      CONSTRUCTION MANAGEMENT CONSTRUCTION COST
                                                                                      ANALYSIS.


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        FDD            454          10/25/16    150.00           3.00      450.00   FINALIZE CONSTRUCTION COST SUMMARY SCHEDULES
                                                                                    FOR JAY CONSTRUCTION MANAGEMENT, INC. AND
                                                                                    PREPARE A FLOWCHART OF NET BANK ACCOUNT
                                                                                    ACTIVITY.
        WWF            454          10/25/16    290.00           1.80      522.00   ANALYSIS OF Q BURKE MOUNTAIN RESORT AND
                                                                                    CONFERENCE CENTER LP ACCOUNTS PAYABLE BALANCE.
        WWF            454          10/25/16    290.00           3.20      928.00   ANALYZE JAY PEAK LODGE AND TOWNHOME LP
                                                                                    INVESTOR DEPOSITS, REFUNDS AND TRANSFERS.
                                                                                    UTILIZING BANK STATEMENTS AND CASH TRACKER.
        SRK            459          10/25/16    540.00           0.60      324.00   ADDRESS ANALYSIS FOR RAYMOND JAMES DAMAGES
                                                                                    AND UPLOADING OF FURNISHED FINANCIAL
                                                                                    STATEMENTS IN CONTEXT OF SAME CASE.
        SRK            459          10/25/16    540.00           0.70      378.00   REVIEW RAYMOND JAMES DAMAGE ANALYSIS.
        KM             454          10/25/16    330.00           1.40      462.00   REVIEW Q BURKE TRIAL BALANCE AND FINANCIAL STMT
                                                                                    PROVIDED BY MGMT COMPANY (.4). ANALYZE INTER
                                                                                    COMPANY DUE TO ACCOUNTS AND AP AGING AND
                                                                                    RECONCILE TO AMOUNTS DUE TO PEACKCM (.7).
                                                                                    ATTEND TO CORRESPONDENCE WITH J DAVIS OF
                                                                                    PEAKCM RE AMOUNT DUE (.3).
        KM             454          10/25/16    330.00           2.60      858.00   REVIEW AND UPDATE JP BIO, STATESIDE AND Q BURKE
                                                                                    SUMMARY DAMAGE ANALYSIS SCHEDULES AND PREPARE
                                                                                    EXHIBIT SUMMARY OF DAMAGE ANALYSIS AND
                                                                                    FOOTNOTES.
        KM             454          10/25/16    330.00           1.30      429.00   REVIEW JP BIO ANALYSIS AND STATESIDE INVESTORS
                                                                                    TRANSFERRED TO JP BIO (1.1). ATTEND TO
                                                                                    CORRESPONDENCE RE: SAME (.2).
        KM             454          10/25/16    330.00           1.10      363.00   REVIEW JCM FLOW OF FUNDS AND CONSTRUCTION
                                                                                    COSTS PAID FBO THE PARTNERSHIPS IN PREP FOR
                                                                                    CONFERENCE CALL WITH COUNSEL RE: EB5
                                                                                    ACCOUNTING.
        MMD            451          10/25/16    400.00           0.50      200.00   ATTEND T/C WITH RECEIVER REGARDING PRODUCTION
                                                                                    OF ACCOUNTING ANALYSIS AND ESI TO VERMONT AND
                                                                                    FOLLOW UP EMAILS RE SAME.
        MMD            451          10/25/16    400.00           0.50      200.00   ATTEND T/C WITH COUNSEL REGARDING PRODUCTION
                                                                                    OF RECORDS TO RAYMOND JAMES AND FOLLOW UP
                                                                                    EMAILS RE SAME.
        MMD            459          10/25/16    400.00           1.70      680.00   REVIEW FINANCIAL STATEMENTS TO BE PRODUCED TO
                                                                                    RAYMOND JAMES IN CONNECTION WITH DAMAGE
                                                                                    ANALYSIS.
        MMD            459          10/25/16    400.00           1.60      640.00   REVIEW JCM FINAL RECONSTRUCTIONS AND DRAFT
                                                                                    EMAIL TO KLASKO TEAM REGARDING CONSTRUCTION
                                                                                    COSTS PAID BY RECEIVERSHIP ENTITIES.
        MMD            459          10/25/16    400.00           0.80      320.00   REVIEW RAYMOND JAMES DAMAGE ANALYSIS.
        FDD            454          10/26/16    150.00           0.60       90.00   REVIEW JAY CONSTRUCTION MANAGEMENT COMBINED
                                                                                    BANK RECONSTRUCTION AND PREPARE A SCHEDULE OF
                                                                                    DISBURSEMENTS MADE TO DEW CONSTRUCTION ON
                                                                                    BEHALF OF JAY PEAK HOTEL SUITES STATESIDE LP.
        FDD            451          10/26/16    150.00           1.00      150.00   T/C TO REVIEW JAY CONSTRUCTION MANAGEMENT
                                                                                    CONSTRUCTION COST ANALYSIS AND RFE STATUS IN
                                                                                    REGARDS TO THE STATESIDE AND TOWNHOUSES
                                                                                    PROJECT WITH THE KLASKO TEAM, ACKERMAN TEAM,
                                                                                    AND H. WHIPKEY (JAY PEAK).
        KM             451          10/26/16    330.00           1.00      330.00   T/C WITH F DIAZ-DRAGO, KLASKO TEAM, AKERMAN
                                                                                    TEAM AND H WHIPKEY TO REVIEW ACCOUNTING FOR
                                                                                    SUPPORT OF EB 5 INVESTORS AND IMMIGRATION
                                                                                    ACCOUNTING.


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        KM             451          10/26/16    330.00           0.60       198.00    T/C WITH A SALAZAR AND F DIAZ-DRAGO TO REVIEW
                                                                                      BANK RECORD REQUESTS AND EMAIL PRODUCTION.
        FDD            451          10/26/16    150.00           0.60        90.00    T/C TO REVIEW BANK RECORD REQUEST FOR JAY
                                                                                      CONSTRUCTION MANAGEMENT WITH K. MCCOY AND A.
                                                                                      SALAZAR.
        FDD            454          10/26/16    150.00           0.70       105.00    REVIEW JAY CONSTRUCTION MANAGEMENT COMBINED
                                                                                      BANK RECONSTRUCTION AND RESPOND TO COUNSEL'S
                                                                                      INQUIRIES.
        FDD            459          10/26/16    150.00           0.30        45.00    CONVERT JAY CONSTRUCTION MANAGEMENT BANK
                                                                                      REQUEST INTO WORD DOCUMENTS.
        KM             454          10/26/16    330.00           0.90       297.00    REVIEW BANK RECORD PRODUCTION AND
                                                                                      OUTSTANDING BANK RECORD REQUESTS. RECONCILE TO
                                                                                      INDEX A SALAZAR PROVIDED TO CONFIRM RECORDS
                                                                                      RECEIVED TO DATE ARE COMPLETE.
        KM             454          10/26/16    330.00           1.80       594.00    REVIEW JCM FLOW OF FUNDS AND CONSTRUCTION
                                                                                      COSTS ACCOUNTED FOR STATESIDE (.8) AND LODGE
                                                                                      AND TOWN HOMES (.7). PREP FOR T/C RE: SAME (.3).
        KM             454          10/26/16    330.00           1.40       462.00    ANALYZE LODGE AND TOWN HOMES FLOW OF FUNDS
                                                                                      AND TRACE DISBURSEMENTS OF NON CONSTRUCTION
                                                                                      COSTS TO IDENTIFY OTHER POTENTIAL PROJECT COSTS
                                                                                      (1.1). PREPARE DRAFT RESPONSE TO COUNSEL (D
                                                                                      LUNDY) REQUEST RE: SAME (.3).
        KM             454          10/26/16    330.00           0.80       264.00    REVIEW AND REVISE DAMAGE ANALYSIS UPDATED TO
                                                                                      INCLUDE ADDITIONAL FOOTNOTES TO SUMMARY AND
                                                                                      SUPPORTING SCHEDULES.
        SRK            459          10/26/16    540.00           1.00       540.00    CASH TRACING ANALYSES AND PRODUCTION TO
                                                                                      VERMONT AND SUBPOENA COMPLIANCE (0.3); RJ
                                                                                      ANALYSIS (0.2); CONSTRUCTION COSTS ANALYSES (0.5).
        MMD            459          10/26/16    400.00           0.30       120.00    REVIEW EMAIL FROM DAVE MCNEIL AND RELATED
                                                                                      FINANCIAL STATEMENTS. DETERMINE IF ADDITIONAL
                                                                                      PRODUCTION IS NEEDED FOR RAYMOND JAMES.
        WWF            454          10/27/16    290.00           1.50       435.00    ANALYSIS OF FINANCIAL STATEMENTS PREPARED BY
                                                                                      MANAGEMENT COMPANY. COMPARE AMOUNTS
                                                                                      REPORTED VERSUS KM WORKPAPERS.
        KM             454          10/27/16    330.00           1.60       528.00    REVIEW BANK AND OTHER RECORD PRODUCTION
                                                                                      PROVIDED BY A SALAZAR. RECONCILE TO RECORDS
                                                                                      ALREADY RECEIVED TO UPDATE AND REVISE RECORDS
                                                                                      STILL REQUIRED.
        KM             454          10/27/16    330.00           3.10      1,023.00   REVIEW JP LODGE AND TOWN HOMES LP ACCOUNTING,
                                                                                      BANK RECONSTRUCTION AND FLOW OF FUNDS TO JCM
                                                                                      AND PAYMENTS MADE FROM JCM FOR THE BENEFIT OF
                                                                                      JP L&T (1.4). PREPARE COVER LETTER OF
                                                                                      METHODOLOGY PERFORMED FOR EXHIBIT OF JCM FLOW
                                                                                      OF FUNDS FBO JP L&T AND RESPOND TO COUNSEL (D
                                                                                      LUNDY) REQUEST RE: SAME (1.7).
        KM             454          10/27/16    330.00           0.80       264.00    REVISE AND UPDATE DAMAGE ANALYSIS SUMMARY
                                                                                      SCHEDULES.
        KM             454          10/27/16    330.00           0.70       231.00    REVIEW PARTNERSHIP FINANCIAL STATEMENTS
                                                                                      PROVIDED BY MGMT COMPANY AND PRODUCTION OF
                                                                                      SAME PER COUNSEL'S REQUEST RE: RJ LITIGATION.
        SRK            459          10/27/16    540.00           1.80       972.00    CONSTRUCTION COSTS ANALYSIS IN RESPONSE TO
                                                                                      KLASKO LAW FIRM REQUESTS AND DRAFT OF
                                                                                      METHODOLOGY.
        MMD            459          10/27/16    400.00           0.50       200.00    REVIEW AND EDIT TRANSMITTAL LETTER TO KLASKO
                                                                                      TEAM DESCRIBING RECONSTRUCTION PROCESS.



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        MMD            459          10/27/16    400.00           0.30      120.00   ADDITIONAL REVIEW AND EDIT OF TRANSMITTAL
                                                                                    LETTER TO KLASKO TEAM REGARDING FORENSIC
                                                                                    INVESTIGATION.
        MMD            459          10/27/16    400.00           0.40      160.00   REVIEW AND EDIT NOTES TO CONSTRUCTION TRACING
                                                                                    ANALYSIS.
        MMD            459          10/27/16    400.00           0.80      320.00   REVIEW JAY PEAK PENTHOUSE ACCOUNTING AND BANK
                                                                                    RECORDS IN ORDER TO TRACE INVESTOR PAYMENTS AS
                                                                                    REQUESTED BY RAYMOND JAMES.
        KM             454          10/28/16    330.00           0.40      132.00   REVIEW AND PROVIDE JP L&T BANK STMTS PER H
                                                                                    WHIPKEY REQUEST FOR EB 5 ACCOUNTING.
        KM             454          10/28/16    330.00           1.40      462.00   PREPARE CORRESPONDENCE DETAILING METHODOLOGY
                                                                                    FOR EXHIBIT OF JP L&T AND JCM ACCOUNTING AND
                                                                                    EXPENSES FBO JP L&T PER COUNSEL'S (D LUNDY )
                                                                                    REQUEST RE: EB5 INVESTORS.
        SRK            459          10/28/16    540.00           0.90      486.00   ATTEND TO RJ DAMAGE ANALYSIS AND TRANSMIT TO
                                                                                    COUNSEL (0.4); CONSTRUCTION COSTS ANALYSIS FOR
                                                                                    KLASKO TEAM (0.5).
        FDD            459          10/28/16    150.00           1.30      195.00   REVIEW DOCUMENTS FOR STATESIDE AND
                                                                                    TOWNHOUSES TO IDENTIFY ADDITIONAL BANK
                                                                                    RECORDS REQUESTED BY H. WHIPKEY.
        WWF            454          10/28/16    290.00           0.70      203.00   ANALYSIS OF FINANCIAL STATEMENTS PROVIDED BY
                                                                                    MANAGEMENT COMPANY.
        MMD            459          10/28/16    400.00           0.30      120.00   REVIEW EMAIL FROM KLASKO TEAM AND RESPOND TO
                                                                                    SAME REGARDING FORENSIC ACCOUNTING OF
                                                                                    CONSTRUCTION COSTS.
        FDD            454          10/31/16    150.00           0.70      105.00   REVIEW BANK RECONSTRUCTION FOR JAY PEAK
                                                                                    PENTHOUSES RE: DISBURSEMENTS TO MR. DACCACHE.
        FDD            454          10/31/16    150.00           1.10      165.00   REVISE Q RESORT INC BANK RECONSTRUCTION AND
                                                                                    PREPARE A SUMMARY OF BANK ACCOUNT ACTIVITY.
        WWF            454          10/31/16    290.00           0.90      261.00   ANALYSIS OF FINANCIAL STATEMENTS PROVIDED BY
                                                                                    MANAGEMENT COMPANY.
        FDD            454          10/31/16    150.00           0.60       90.00   REVIEW PENTHOUSE SUITES BANK RECONSTRUCTION
                                                                                    AND ENTER INVESTOR DETAIL.
        WWF            454          10/31/16    290.00           0.80      232.00   DEVELOP SUMMARY OF CASH INFUSED INTO EACH
                                                                                    PHASE, TOTAL RECEIPTS AND ASSETS PURCHASED.
        KM             454          10/31/16    330.00           0.90      297.00   REVIEW JP BIO SUBSCRIPTION AGMTS, ESCROW AGMTS
                                                                                    AND DEPOSIT CONFIRMATIONS FOR THOSE INVESTORS
                                                                                    WHOSE FUNDS WERE TRANSFERRED DIRECTLY FROM
                                                                                    STATESIDE LP.
        KM             454          10/31/16    330.00           1.60      528.00   REVIEW PARTNERSHIP FINANCIAL STMTS, GENERAL
                                                                                    LEDGERS AND BANK RECONSTRUCTIONS TO IDENTIFY
                                                                                    RECORDS REQUIRED TO ANALYZE COST ASSOCIATED
                                                                                    WITH EACH PROJECT PHASE PER COUNSEL'S REQUEST.
        SRK            459          10/31/16    540.00           0.50      270.00   REVIEW CASH TRACING AND BANK ANALYSES (0.2);
                                                                                    REVIEW RAYMOND JAMES ANALYSIS (0.3).
        MMD            454          10/31/16    400.00           0.40      160.00   RESPOND TO EMAIL INQUIRES FROM RAYMOND JAMES
                                                                                    COUNSEL REGARDING Q RESORT ENTITY FINANCIAL
                                                                                    STATEMENTS. FOLLOW UP WITH MANAGEMENT
                                                                                    COMPANY REGARDING SAME.
        MMD            454          10/31/16    400.00           0.80      320.00   REVIEW JAY PEAK INC AND OTHER PARTNERSHIP ENTITY
                                                                                    FINANCIAL STATEMENTS IN CONNECTION WITH
                                                                                    QUANTIFYING AMOUNTS PAID FOR PROJECTS AS
                                                                                    REQUESTED BY RAYMOND JAMES COUNSEL.




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        MMD            459          10/31/16    400.00            0.70         280.00    REVIEW UPDATED BANK RECONSTRUCTIONS AND
                                                                                         RESPOND TO EMAIL FROM RECEIVER REGARDING
                                                                                         TRACING OF FUNDS AND STATUS OF FORENSIC
                                                                                         ACCOUNTING TASKS.
LITIGATION SUPPORT Totals                                     1,665.40      382,451.00
FORENSIC ACCOUNTING Totals                                    1,665.40      382,451.00


BUSINESS ANALYSIS

LITIGATION SUPPORT
        MMD            459          04/05/16    400.00            1.00         400.00    ATTEND T/C WITH COUNSEL RE NEW MATTER.
        MMD            459          04/05/16    400.00            3.40        1,360.00   ATTEND TO ENGAGEMENT PLANNING AND STAFFING
                                                                                         ISSUES; REVIEW CASE BACKGROUND MATERIALS.
        MMD            459          04/06/16    400.00            0.50         200.00    DRAFT EMAIL FOR TRAVEL TEAM.
        BAS            460          04/06/16    240.00            1.00         240.00    INTERVIEW FORENSIC COMPUTER TEAM FOR MIAMI AND
                                                                                         VERMONT PROPERTY VETTED CANDIDATES.
        FDD            459          04/07/16    150.00            2.10         315.00    RESEARCH BACKGROUND DETAILS AND PREPARE CASE
                                                                                         AGENDA
        MMD            459          04/07/16    400.00            2.60        1,040.00   ATTEND TO IT COORDINATION AND PREPARING
                                                                                         MATERIALS FOR TEAM/TRAVEL ARRANGEMENTS.
        FDD            459          04/08/16    150.00            3.20         480.00    RESEARCH BACKGROUND DETAILS AND PREPARE CASE
                                                                                         AGENDA (CONTINUED)
        MMD            459          04/08/16    400.00            1.30         520.00    LOCATE SECURITY COMPANY TO ACCOMPANY TAKE
                                                                                         DOWN. DISCUSSIONS WITH TWO COMPANIES AND
                                                                                         FOLLOW UP WITH RECEIVER RE SAME.
        BAS            460          04/08/16    240.00            1.00         240.00    PURCHASE HARD DRIVES. FORENSICALLY WIPED
                                                                                         DRIVES WITH DOD 5220 STANDARD. STARTED CHAIN
                                                                                         OF CUSTODY.
        CDM            459          04/10/16    220.00            0.80         176.00    REVISE AND PREPARE FIDUCIARY/RECEIVER CHECKLIST
                                                                                         SHOWING PRE AND POST TO-DO'S AND SEGREGATED IT
                                                                                         CHECKLIST TO BE USED WHEN TAKING POSSESSION OF
                                                                                         PREMISES/OFFICES/COMPUTERS, ETC.
        MCP            454          04/11/16    270.00            1.60         432.00    REVIEW CASE SUMMARY DOCUMENTS
        FDD            459          04/11/16    150.00            0.30          45.00    REFINE CASE AGENDA
        MAK            451          04/11/16    260.00            0.40         104.00    CONFERENCE CALL AND FOLLOW UP WITH S. KAPILA, M.
                                                                                         DAVIS, F. KESSLER, G. SULSKY, M. KATZ RE: TAKE
                                                                                         DOWN.
        MAK            453          04/11/16    260.00            1.20         312.00    READ BACKGROUND INFORMATION ON CASE.
        KM             454          04/11/16    270.00            1.20         324.00    REVIEW FINANCIAL SUMMARIES AND INFO PACKAGE IN
                                                                                         PREP FOR TAKEDOWN OF TARGET ENTITIES.
        SRK            459          04/11/16    540.00            5.60        3,024.00   ATTEND TO INVESTIGATIVE ISSUES OF SECURING
                                                                                         ASSETS, INVESTIGATING TRAILS, SECURING AND
                                                                                         CUSTODY OF RECORDS (BOTH ESI AND HARDCOPY);
                                                                                         SEVERAL TELEPHONE CALLS AND DISCUSSIONS AND
                                                                                         VARIOUS COMMUNICATIONS WITH PROPOSED RECEIVER
                                                                                         AND HIS TEAM; PLANNING FOR LAUNCHING THE
                                                                                         TAKEDOWN.
        CDM            459          04/11/16    220.00            1.30         286.00    COORDINATE WITH MELISSA DAVIS REGARDING
                                                                                         STAND-BY IT STAFF FOR NEW MATTER; PREPARE OFFER
                                                                                         LETTERS AND NON-DISCLOSURE AGREEMENTS; DRAFT
                                                                                         MANUAL TIME SHEET FORM TO BE UTILIZED DURING
                                                                                         TRAVEL



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        MMD            459          04/11/16    400.00           1.40       560.00    ATTEND TO COORDINATING IT AND SECURITY
                                                                                      PERSONNEL FOR TAKE DOWN. ATTEND T/C WITH
                                                                                      COUNSEL RE SAME.
        MMD            459          04/11/16    400.00           3.00      1,200.00   GATHER DATA AND INFORMATION REGARDING
                                                                                      POTENTIAL RECEIVERSHIP ENTITIES AND FINALIZE
                                                                                      INFORMATION PACKAGE FOR TEAM.
        MMD            451          04/11/16    400.00           0.50       200.00    ATTEND T/C WITH IT CONTRACTORS RE SCOPE OF
                                                                                      INVESTIGATION.
        MMD            451          04/11/16    400.00           0.50       200.00    ATTEND T/C WITH MIAMI TEAM RE TAKE DOWN PLANS.
        WWF            459          04/11/16    290.00           1.70       493.00    RESEARCH CASE BACKGROUND AND UNDERSTAND
                                                                                      BUSINESS OPERATIONS.
        FMK            459          04/11/16    342.00           3.30      1,128.60   VARIOUS ACTIVITIES RELATING TO TAKE DOWN
                                                                                      PLANNING; CASE DOCUMENT REVIEW AND
                                                                                      ORIENTATION; MEETING WITH STAFF AND STAFF
                                                                                      BUILDING.
        GS             459          04/11/16    180.00           0.30        54.00    PHONE CONFERENCE WITH TEAM MEMBERS.
        KEF            459          04/12/16    250.00           0.50       125.00    MEETING WITH KM TEAM AND SEC
        JEG            453          04/12/16    360.00           2.50       900.00    READ CASE BACKGROUND (2.0); MTG. W/ RECEIVER AND
                                                                                      KM TEAM (0.5)
        CDM            459          04/12/16    220.00           0.20        44.00    COORDINATE WITH MELISSA DAVIS; SEND COPY OF
                                                                                      RECEIVERSHIP NOTICE TO GENE SULSKY FOR USE IN
                                                                                      MIAMI
        KM             454          04/12/16    270.00           2.30       621.00    REVIEW AND ANALYZE FINANCIAL AND INFO PACKAGE
                                                                                      OF DEFENDANT AND RELIEF DEFENDANT ENTITIES IN
                                                                                      PREP FOR TAKEDOWN AT JAY PEAK RESORT.
        KM             454          04/12/16    270.00           6.50      1,755.00   MOBILIZE FOR TAKEDOWN AT JAY PEAK SITE.
        MMD            459          04/12/16    400.00           2.60      1,040.00   REVIEW COMPLAINT AND RELATED INFORMATION TO
                                                                                      PREPARE FOR TAKE DOWN.
        FDD            459          04/12/16    150.00           2.50       375.00    REVIEW CASE PACKET IN PREPARATION FOR TAKE
                                                                                      DOWN AT JAY PEAK RESORT
        SRK            459          04/12/16    540.00           2.50      1,350.00   READ COMPLAINT DRAFT.
        SRK            459          04/12/16    540.00           0.70       378.00    MEETING WITH PROPOSED RECEIVER'S TEAM AND
                                                                                      MANAGEMENT COMPANY AND ENTIRE GROUP.
        WWF            454          04/12/16    290.00           1.30       377.00    RESEARCH BUSINESS ENTITIES TO UNDERSTAND
                                                                                      NORMAL OPERATIONS.
        FMK            459          04/12/16    342.00           5.80      1,983.60   ATTEND TAKEDOWN OF GSI HEADQUARTERS INCLUDING
                                                                                      SECURING OF OFFICES, BANKING DATA; CORPORATE
                                                                                      RECORDS; ELECTRONIC RECORDS AND DEVICES.
        OD             460          04/12/16    240.00           5.00      1,200.00   STANDBY FOR COURT APPROVAL FOR DATA
                                                                                      ACQUISITION.
        KEF            459          04/12/16    250.00           2.40       600.00    IN VERMONT TO MOBILIZE FOR TAKE DOWN; MEETING
                                                                                      WITH RECEIVER AND COUNSEL RE SAME.
        JEG            459          04/12/16    360.00           0.50       180.00    IN VERMONT TO MOBILIZE FOR TAKE DOWN; MEETING
                                                                                      WITH RECEIVER AND COUNSEL RE SAME.
        MAK            459          04/12/16    260.00           3.00       780.00    IN VERMONT TO MOBILIZE FOR TAKE DOWN;   MEETING
                                                                                      WITH RECEIVER AND COUNSEL RE SAME.
        FDD            459          04/12/16    150.00           0.50        75.00    IN VERMONT TO MOBILIZE FOR TAKE DOWN;   MEETING
                                                                                      WITH RECEIVER AND COUNSEL RE SAME.
        MCP            459          04/12/16    270.00           3.00       810.00    IN VERMONT TO MOBILIZE FOR TAKE DOWN;   MEETING
                                                                                      WITH RECEIVER AND COUNSEL RE SAME.
        WWF            459          04/12/16    290.00           2.00       580.00    IN VERMONT TO MOBILIZE FOR TAKE DOWN;   MEETING
                                                                                      WITH RECEIVER AND COUNSEL RE SAME.
        TS             459          04/12/16    240.00           3.50       840.00    IN VERMONT TO MOBILIZE FOR TAKE DOWN;   MEETING
                                                                                      WITH RECEIVER AND COUNSEL RE SAME.

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        JEG            459          04/13/16    360.00           3.00      1,080.00   IN NEWPORT, VERMONT MOBILIZED FOR TAKEOVER BY
                                                                                      RECEIVER.
        JEG            459          04/13/16    360.00           9.50      3,420.00   ASSIST IN TAKE OVER BY RECEIVER TENDING TO
                                                                                      NUMEROUS CONTROL AND CUSTODY OF ACCT'G. AND
                                                                                      FINANCIAL MATTERS.
        ER             459          04/13/16    220.00           3.50       770.00    PARTICIPATE IN TAKE DOWN OF MIAMI OFFICES.
        MAK            454          04/13/16    260.00           2.40       624.00    INTERVIEW ACCOUNTING EMPLOYEES.
        MAK            454          04/13/16    260.00           1.40       364.00    ANALYZE BINDERS IN ADMIN OFFICE.
        MAK            454          04/13/16    260.00           1.70       442.00    READ DOCUMENTS RELATED TO THE EB5 PROGRAM.
        MAK            454          04/13/16    260.00           2.30       598.00    PROCURE SCHEDULES RELATED TO BANK ACCOUNTS
                                                                                      AND GENERAL LEDGER ACCOUNTS.
        KM             454          04/13/16    270.00          10.20      2,754.00   PREP AND MOBILIZE FOR SITE VISIT AND TAKEDOWN AT
                                                                                      JAY PEAK RESORT. INTERVIEWED KEY EMPLOYEES,
                                                                                      PRESERVED RECORDS ANALYZED FINANCIAL DATA,
                                                                                      IDENTIFIED BANK RECORDS AND REVIEWED IT
                                                                                      STRUCTURE AND PRESERVATION OF IT DATA.
        GS             459          04/13/16    180.00           5.20       936.00    ASSIST COURT APPOINTED RECEIVER TO LOCK DOWN
                                                                                      AND SECURE BUSINESS PREMISES LOCATED AT 111 NE 1
                                                                                      ST., MIAMI, FL.
        MMD            459          04/13/16    400.00           6.00      2,400.00   AT Q BURKE FACILITY FOR INITIAL TAKE DOWN.
                                                                                      MEETINGS WITH KEY EMPLOYEES; TOUR FACILITY;
                                                                                      MEETING WITH ACCOUNTING STAFF; MEETINGS WITH
                                                                                      OPERATIONS PERSONNEL. PREPARE UPDATE EMAIL TO
                                                                                      SRK WITH RECAP OF ASSETS AND OPEN ISSUES.
                                                                                      FOLLOW UP MEETINGS WITH COUNSEL RE SAME.
        MMD            459          04/13/16    400.00           1.60       640.00    ANALYSIS OF INVESTOR ACCOUNTING FILES OBTAINED
                                                                                      FROM VERMONT; BEGIN TO TRACE SOURCES AND USES
                                                                                      RELATED TO HOTEL.
        FDD            459          04/13/16    150.00          10.30      1,545.00   ASSIST IN TAKE DOWN AT JAY PEAK RESORT. REVIEW
                                                                                      ACCOUNTING PROCEDURES AND RECORDS AT ADMIN
                                                                                      OFFICE. SECURE CUSTODY OF EB-5 ACCOUNTING AND
                                                                                      INVESTOR FILES. PREPARE A BANK ACCOUNT
                                                                                      INVENTORY.
        KEF            459          04/13/16    250.00           3.00       750.00    IN NEWPORT, VERMONT MOBILIZED FOR TAKE DOWN AT
                                                                                      JAY; PRESERVE ASSETS AND RECORDS
        KEF            454          04/13/16    250.00           9.50      2,375.00   ON SITE JAY PEAK, ASSIST IN TAKE DOWN SECURING
                                                                                      ASSETS AND NUMEROUS MATTERS
        MAK            454          04/13/16    260.00           1.60       416.00    STAGING IN NEWPORT FOR JAY PEAK TAKEDOWN.
        MAK            454          04/13/16    260.00           0.30        78.00    CONFERENCE WITH JAY PEAK TEAM.
        MCP            454          04/13/16    270.00           0.60       162.00    CONTINUE TO REVIEW CASE BACKGROUND.
        MCP            454          04/13/16    270.00           2.40       648.00    IN NEWPORT, VERMONT, MOBILIZED FOR TAKEOVER BY
                                                                                      RECEIVER
        MCP            454          04/13/16    270.00           8.40      2,268.00   ASSIST IN TAKE DOWN BY RECEIVER. ASSIST WITH
                                                                                      CONTROL AND CUSTODY OF ACCOUNTING RECORDS.
                                                                                      MEET WITH STAFF TO GAIN UNDERSTANDING OF
                                                                                      ORGANIZATION, ACCOUNTING STRUCTURE AND
                                                                                      RECORDS.
        SRK            459          04/13/16    540.00          12.00      6,480.00   SECURE ASSETS AND ASSIST RECEIVER IN TAKING
                                                                                      CUSTODY OF ALL PROPERTY AND RECORDS.
        WWF            454          04/13/16    290.00           5.50      1,595.00   INITIAL TAKEOVER OF OPERATIONS AT Q BURKE
                                                                                      RESORT. SECURE ASSETS AND INTERVIEW EMPLOYEES.
                                                                                      TOUR RESORT OPERATIONS.




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        FMK            459          04/13/16    342.00           6.50      2,223.00   CONTINUE PRELIMINARY EMAIL CORRESPONDENCE
                                                                                      REVIEW AND RESEARCH OF BANKING ACTIVITY AT A.
                                                                                      YORIS OFFICE; RESEARCH AND IDENTIFICATION OF
                                                                                      BANKING RECORDS; REVIEW AND EVALUATION OF
                                                                                      OFFICE RECORDS IN AN EFFORT TO IDENTIFY RELEVANT
                                                                                      FILES FOR ANALYSIS AND SUPPORT.
        BAS            460          04/13/16    240.00           8.00      1,920.00   ONSITE NETWORK WORK, LOCK OUT USERS, CREATE
                                                                                      USERS FOR RECEIVERSHIP, IMAGED SERVERS,
                                                                                      DOCUMENTATION, SHUTDOWN REMOVE ACCESS,
                                                                                      IDENTIFIED DATA.
        OD             460          04/13/16    240.00           2.00       480.00    STANDBY FOR COURT APPROVAL FOR DATA
                                                                                      ACQUISITION.
        OD             460          04/13/16    240.00           5.00      1,200.00   INVENTORY COMPUTERS, LAPTOPS, EXTERNAL HARD
                                                                                      DRIVES FOR DATA ACQUISITION. IMAGED THREE
                                                                                      LAPTOPS.
        TS             460          04/13/16    240.00          11.00      2,640.00   INITIAL MEETING WITH TEAM BEFORE HEADING OUT TO
                                                                                      THE QBURKE LOCATION. MEETINGS WITH PERSONNEL
                                                                                      AT QBURKE. REVIEWED SYSTEM ACCESS AND WORKED
                                                                                      WITH IT TEAM TO GAIN ACCESS TO NETWORK AND
                                                                                      NETWORK DRIVE. TOUR OF QBURKE LOCATION. TOOK
                                                                                      PICTURES OF AREA.
        JEG            451          04/14/16    360.00          10.00      3,600.00   ASSIST IN TAKE OVER BY RECEIVER TENDING TO
                                                                                      NUMEROUS CONTROL AND CUSTODY OF ACCT'G. AND
                                                                                      FINANCIAL MATTERS WITH FOCUS ON CASH
                                                                                      FORECASTING.
        ER             459          04/14/16    220.00           5.00      1,100.00   COMPLETE AND TRANSMIT INVENTORY OF BANK
                                                                                      ACCOUNT INFORMATION GLEANED FROM BINDERS AT
                                                                                      MIAMI OFFICE LOCATION.
        CDM            459          04/14/16    220.00           2.30       506.00    RESEARCH TRAVEL ARRANGEMENTS AND NUMEROUS
                                                                                      ALTERNATIVE AIRLINE FLIGHTS AND SCHEDULES FROM
                                                                                      BURLINGTON, VERMONT TO FORT LAUDERDALE;
                                                                                      ALTERNATIVES FROM ALBANY, NY AND MONTREAL,
                                                                                      CANADA; BOOK FLIGHTS FOR NINE TEAM MEMBERS
                                                                                      RETURNING ON SATURDAY, APRIL 16.
        CDM            459          04/14/16    220.00           0.30        66.00    DRAFT OF FREEZE LETTER TO BANKS ON LISTING OF JAY
                                                                                      PEAK AND Q ACCOUNTS.
        MAK            454          04/14/16    260.00           2.30       598.00    GATHER DATA RELATED TO BANK ACCOUNTS.
        MAK            454          04/14/16    260.00           0.70       182.00    OBTAIN CONTACT INFORMATION RELATED TO
                                                                                      BROKERAGE ACCOUNTS.
        MAK            454          04/14/16    260.00           1.20       312.00    LOCATE AND SECURE CREDIT CARDS.
        MAK            454          04/14/16    260.00           0.40       104.00    PREPARE SCHEDULE OF CREDIT CARDS.
        MAK            454          04/14/16    260.00           0.40       104.00    BEGIN PREPARING MASTER BANK ACCOUNT LIST.
        MAK            454          04/14/16    260.00           1.30       338.00    INTERVIEW EMPLOYEES REGARDING BANK ACCOUNTS
                                                                                      AND CONTACT INFORMATION.
        KM             454          04/14/16    270.00           9.80      2,646.00   CONTINUED REVIEWING CASH FLOW FORECASTS, IT
                                                                                      AND FINANCIAL RECORDS PRESERVATION. ANALYSIS OF
                                                                                      INVESTOR FUNDS FOR DEFENDANT ENTITIES.
                                                                                      INTERVIEWS WITH CFO AND CONTROLLER RE: CF AND
                                                                                      FLOW OF INVESTOR FUNDS INTO Q HOTEL, LP.
                                                                                      INTERVIEWS WITH EMPLOYEES RE: LOCATION OF
                                                                                      RECORDS AND PRESERVATION OF SAME.
        MMD            459          04/14/16    400.00           5.00      2,000.00   AT Q BURKE. ATTEND EMPLOYEE MEETING REGARDING
                                                                                      OPERATIONS MATTERS. ATTEND VAULT COUNT.
                                                                                      MEETINGS WITH ACCOUNTING STAFF RE BUDGETS,
                                                                                      PAYROLL AND STATUS OF UTILITIES AND OTHER
                                                                                      EXPENSES.

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        MMD            459          04/14/16    400.00           4.00      1,600.00   ANALYSIS OF BMOC AND Q BURKE ACCOUNTING
                                                                                      RECORDS. ANALYZE BANK RECONSTRUCTIONS
                                                                                      PREPARED BY STATE OF VERMONT. IDENTIFY
                                                                                      PAYMENTS TO PMC CONSTRUCTION COMPANY AND
                                                                                      TRACE SOURCES TO CONFIRM INVESTOR FUNDS.
                                                                                      ANALYSIS OF RELATED PARTY GLS TO TRACE USE OF
                                                                                      INVESTOR FUNDS.
        FDD            459          04/14/16    150.00           6.20       930.00    REVIEW AND ARCHIVE BANK RECORDS. PREPARE A
                                                                                      BANK INVENTORY (CONTINUED)
        KEF            454          04/14/16    250.00          11.80      2,950.00   ON SITE JAY PEAK, TOUR FACILITY, SECURE ARCHIVED
                                                                                      RECORDS FOR TRANSPORT TO FLL: MEETING WITH S
                                                                                      KAPILA, J SCHNEIDER, J KELLOGG AND BILL STINGER
                                                                                      PROPERTY TOUR: MEETING WITH LEISURE MGMT
        MAK            454          04/14/16    260.00           0.20        52.00    REVIEW LIST OF DOCUMENTS IN THE MIAMI OFFICE.
        MAK            451          04/14/16    260.00           0.20        52.00    PHONE CALL WITH BANK OF AMERICA REGARDING BANK
                                                                                      ACCOUNT FREEZE.
        MAK            454          04/14/16    260.00           2.10       546.00    RESEARCH DEPOSITS INTO Q RESORTS OPERATING
                                                                                      ACCOUNT AND LOCATE BANK STATEMENTS.
        MCP            454          04/14/16    270.00           4.30      1,161.00   MEETINGS WITH EJB STAFF TO UNDERSTAND THE FLOW
                                                                                      AND RECORDING OF INVESTOR FUNDS FROM INCEPTION
                                                                                      TO COMPLETION. TRACE ONE INVESTOR FUND THROUGH
                                                                                      THE PROCESS TO VERIFY.
        MCP            454          04/14/16    270.00           3.20       864.00    CONTINUE TO COLLECT AND ANALYZE DATA PROVIDED
                                                                                      BY ACCOUNTING STAFF FOR BUSINESS ANALYSIS
        MCP            454          04/14/16    270.00           2.40       648.00    MEETING WITH IT DIRECTOR TO UNDERSTAND SHARED
                                                                                      FILES AND SYSTEMS OVERVIEW. CREATE AND SET
                                                                                      PERMISSIONS OF NEW ACCOUNTS FOR ACCESS TO
                                                                                      ACCESS ALL ACCOUNTING SYSTEMS.
        MCP            454          04/14/16    270.00           0.70       189.00    MEETING WITH FIXED ASSETS STAFF FOR THE PURPOSE
                                                                                      OF UNDERSTANDING FIXED ASSET CYCLE. REVIEW
                                                                                      SCHEDULES PROVIDED BY STAFF.
        WWF            454          04/14/16    290.00           2.50       725.00    ANALYZE 30 DAY CASH FLOWS OF Q BURKE RESORT.
        WWF            454          04/14/16    290.00           4.00      1,160.00   ANALYZE AND INDEX PHYSICAL DOCUMENTS STORED ON
                                                                                      SITE AT Q BURKE RESORT.
        SRK            459          04/14/16    540.00           9.00      4,860.00   ATTEND TO INITIAL FUNCTIONS RE CASH BUDGETS,
                                                                                      SECURING ASSETS, SECURING RECORDS, MEETINGS
                                                                                      WITH MANAGEMENT COMPANY, MEETINGS WITH
                                                                                      RECEIVER GOLDBERG AND HIS COUNSEL JEFFREY
                                                                                      SCHNEIDER AND JASON KELLOGG; MEETINGS WITH MR.
                                                                                      STINGER; INVESTIGATION OF CASH FLOW ANALYSES
                                                                                      AND DISCUSSION OF ROLLING BUDGETS TO MANAGE
                                                                                      WORKING CAPITAL AND REQUIRED CAPITAL NEEDS FOR
                                                                                      EXPENDITURES FOR REPAIRS AND MAINTENANCE.
        WWF            454          04/14/16    290.00           1.50       435.00    ANALYZE PAYROLL OF Q BURKE RESORT.
        FMK            459          04/14/16    342.00           6.50      2,223.00   ONGOING ANALYSIS AND RESEARCH OF FILES AT GSI
                                                                                      HEADQUARTERS IN MIAMI; EMAIL RESEARCH AND
                                                                                      SUPPORT TO VERMONT TEAM FOR BANK ACCOUNT
                                                                                      INFORMATION AND SUPPORT; AND SUPPORT TO
                                                                                      ELECTRONIC DATA PRESERVATION AND IMAGING
                                                                                      PROJECT.
        SRK            459          04/14/16    540.00           0.80       432.00    CONTINUED INVESTIGATION.
        BAS            460          04/14/16    240.00          11.00      2,640.00   ONSITE FORENSIC IMAGING OF SERVERS, IPHONE AND
                                                                                      WORKSTATIONS.
        OD             460          04/14/16    240.00           2.50       600.00    VERIFY IMAGES FROM 4/13/16. BEGIN IMAGE PROCESS
                                                                                      FOR TWO LAPTOPS AND ONE EXTERNAL HARD DRIVE.


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        TS             460          04/14/16    240.00          10.00      2,400.00   CONTINUED SUPPORT AT QBURKE. TOOK ADDITIONAL
                                                                                      PICTURES AND CONDUCTED A REVIEW OF IT
                                                                                      EQUIPMENT (SERVERS, PC'S, LAPTOPS, SWITCHES, ETC.).
                                                                                      DOCUMENTED LOCATIONS OF COMPUTER EQUIPMENT.
                                                                                      WORKED WITH IT TEAM TO GAIN ACCESS OF SAGE
                                                                                      ACCOUNTING SYSTEMS. WORKED WITH LOCKSMITH
                                                                                      REGARDING FINAL LOCKS BEING CHANGED.
        JEG            451          04/15/16    360.00          10.50      3,780.00   ASSIST IN TAKE OVER BY RECEIVER TENDING TO
                                                                                      NUMEROUS CONTROL AND CUSTODY OF ACCT'G. AND
                                                                                      FINANCIAL MATTERS WITH FOCUS ON CASH
                                                                                      FORECASTING.
        ER             459          04/15/16    220.00           0.70       154.00    MEET IT PERSON (OSCAR) AT MIAMI LOCATION AND
                                                                                      LOCK THE FACILITY AFTER HE LEFT.
        MAK            454          04/15/16    260.00           3.20       832.00    ANALYSIS OF INVESTOR DEPOSITS INTO Q BURKE
                                                                                      MOUNTAIN RESORT HOTEL LP.
        MAK            454          04/15/16    260.00           2.30       598.00    ANALYSIS OF INFLOWS AND OUTFLOWS OF Q BURKE
                                                                                      MOUNTAIN RESORT HOTEL LP BANK AND INVESTMENT
                                                                                      ACCOUNTS.
        MAK            454          04/15/16    260.00           1.10       286.00    REVIEW OF CASH TRACKER SPREADSHEETS AND
                                                                                      COMPARE TO BANK STATEMENTS.
        MAK            454          04/15/16    260.00           1.30       338.00    READ COMPLAINT.
        MAK            454          04/15/16    260.00           0.40       104.00    ATTEND TO EMAILS REGARDING BANK ACCOUNTS.
        MAK            454          04/15/16    260.00           0.60       156.00    ANALYSIS OF Q BURKE MOUNTAIN RESORT, LLC
                                                                                      GENERAL LEDGER AND BANK STATEMENTS FOR
                                                                                      INTERCOMPANY TRANSACTIONS.
        KM             454          04/15/16    270.00           4.70      1,269.00   CONTINUED REVIEW OF AND PRESERVATION OF
                                                                                      FINANCIAL, ACCOUNTING, AND OPERATING RECORDS.
                                                                                      INTERVIEW KEY EMPLOYEES AS TO THE LOCATION OF
                                                                                      PHYSICAL AND ELECTRONIC RECORDS AND COORDINATE
                                                                                      WITH KM TEAM TO SECURE SAME.
        KM             454          04/15/16    270.00           6.30      1,701.00   REVIEW AND ANALYZE GENERAL LEDGERS, BANK
                                                                                      STATEMENTS AND CORRESPONDENCE RE: FLOW OF
                                                                                      FUNDS BETWEEN ENTITIES INCLUDING QBMR, LLC, QB
                                                                                      HOTEL, LP, JAY PEAK CONSTR., NECS, PEACKCM
                                                                                      CONSTRUCTION. INVESTIGATE TRANSACTIONS
                                                                                      IDENTIFIED FROM ENTITIES AND TRACE CASH FLOW TO
                                                                                      IDENTIFY SOURCE OF FUNDS AND RECONCILE TO BANK
                                                                                      RECORDS. COORDINATE EFFORTS OF TRACING WITH KM
                                                                                      TEAM.
        MMD            459          04/15/16    400.00           5.00      2,000.00   ONSITE AT JAY PEAK - ANALYZE Q BURKE, BOMC AND
                                                                                      JAY PEAK RELATED ACCOUNTING RECORDS TO TRACE
                                                                                      INVESTOR FUNDS AND QBURKE CONSTRUCTION
                                                                                      RELATED EXPENSES.
        MMD            454          04/15/16    400.00           3.50      1,400.00   MEETING AT QBURKE TO OVERSEE AND TRANSITION
                                                                                      OPERATIONS AND BUDGET TASKS TO LEISURE.
        FDD            459          04/15/16    150.00           8.50      1,275.00   DOCUMENT PRESERVATION AT JAY PEAK RESORT.
                                                                                      PREPARE A DOCUMENT INVENTORY.
        KEF            454          04/15/16    250.00           6.70      1,675.00   SITE VISIT TO Q BURKE WITH LEISURE MGMT, TOUR
                                                                                      PROPERTY, MEETING WITH M DAVIS AND T SHAW
        KEF            454          04/15/16    250.00           4.80      1,200.00   ON SITE JAY PEAK: SECURE AND PACK FOR SHIPMENT
                                                                                      TO FLL KM OFFICE EB5 AND INVESTOR FILES; MEETING
                                                                                      WITH LEISURE MGMT RE: Q BURKE HOTEL CONST COST
                                                                                      AND JAY PEAK CONDOS UNDER CONST
        MCP            454          04/15/16    270.00           1.20       324.00    MEETING WITH ELECTRICAL ENGINEER FOR THE
                                                                                      PURPOSE OF UNDERSTANDING STATUS AND FLOW OF
                                                                                      FUNDS TO AVIATION PROJECT


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        MCP            454          04/15/16    270.00           1.80       486.00    REVIEW IMAGE OF SHARED FILES OBTAINED FROM IT.
        MCP            454          04/15/16    270.00           0.40       108.00    MEETINGS WITH RETAIL STAFF TO UNDERSTAND FLOW
                                                                                      OF TRANSACTIONS. REVIEW MASTER LISTING OF
                                                                                      INVENTORY.
        MCP            459          04/15/16    270.00           0.70       189.00    REVIEW INVENTORY LISTING OF ITEMS IN MIAMI.
        GS             459          04/15/16    180.00           1.70       306.00    ASSIST IN ELECTRONIC RECORDS PRESERVATION
                                                                                      PROJECT. CONTINUE RECORDS INVESTIGATION AND
                                                                                      IDENTIFICATION.
        FMK            459          04/15/16    342.00           4.40      1,504.80   CONTINUE ONGOING RECORDS REVIEW AND
                                                                                      EVALUATION AT MIAMI GSI HEADQUARTERS; MEETING
                                                                                      WITH O. DELATORRE RE: IT IMAGING PROJECT AND
                                                                                      STATUS UPDATE AND ACCESS.
        BAS            460          04/15/16    240.00           8.00      1,920.00   ONSITE EXPORTING OF DATA FROM SERVERS.
                                                                                      DOCUMENTATION OF ENTIRE PROPERTY WITH
                                                                                      PICTURES.
        OD             460          04/15/16    240.00           5.00      1,200.00   VERIFY IMAGES FOR TWO LAPTOPS AND EXTERNAL
                                                                                      HARD DRIVE. IMAGE AND VERIFY MICROSOFT SURFACE
                                                                                      FROM BILL KELLY. IMAGE DESKTOP FROM BILL KELLY.
                                                                                      BEGIN IMAGING EXTERNAL DRIVE 2.
        TS             460          04/15/16    240.00           9.00      2,160.00   FINISHED WORK AT QBURKE BY COMPLETING
                                                                                      USER/COMPUTER REVIEW. UPLOADED PICTURES OF
                                                                                      AREA PORTAL. MET WITH MANAGEMENT TEAM FOR
                                                                                      TURNOVER OF QBURKE. TRAVELED TO JAY PEAK.
                                                                                      ASSISTED WITH MOVEMENT OF DOCUMENTS FOR
                                                                                      PRESERVATION. TOOK ADDITIONAL PICTURES A JAY
                                                                                      PEAK.
        OD             460          04/16/16    240.00           1.25       300.00    VERIFY IMAGE FOR EXTERNAL DRIVE. BEGIN IMAGING
                                                                                      FOR EXTERNAL DRIVE 3. MONITOR IMAGING FOR
                                                                                      ERRORS.
        KM             451          04/17/16    270.00           0.60       162.00    T/C WITH S KAPILA, M DAVIS, M GOLDBERG (RECEIVER),
                                                                                      J ROBBINS, AND J SCHNEIDER TO REVIEW CASE STATUS
                                                                                      AND AGENDA OF ITEMS TO ACCOMPLISH.
        OD             460          04/17/16    240.00           1.25       300.00    VERIFY IMAGING FOR EXTERNAL DRIVE 3. BEGIN
                                                                                      IMAGING FOR EXTERNAL DRIVE 4. MONITOR IMAGING
                                                                                      FOR ERRORS.
        JEG            454          04/18/16    360.00           0.40       144.00    CORRESPONDENCE W/ G. ENDICOTT (LEISURE) RE:
                                                                                      URGENT NEED FOR CASH FORECAST AND OUTLINE
                                                                                      SPECIFIC COMPONENTS FOR FORECAST.
        JEG            454          04/18/16    360.00           0.40       144.00    MEETING W/ S. KAPILA (KM) TO REVIEW JAY PEAK
                                                                                      MGMT'S. FIRST DRAFT OF 13 WEEK CASH FORECAST.
        JEG            454          04/18/16    360.00           1.10       396.00    PREPARE FOR MEETING W/ S. KAPILA (KM) TO REVIEW
                                                                                      JAY PEAK MGMT'S. FIRST DRAFT OF 13 WEEK CASH
                                                                                      FORECAST.
        SRK            459          04/18/16    540.00           0.50       270.00    REVIEW REQUIREMENTS RE PARTICIPATION OF
                                                                                      BERKOWITZ DICK POLLACK, DETERMINE THAT THEY HAD
                                                                                      PROVIDED ACCOUNTING SERVICES; FOLLOW THROUGH
                                                                                      WITH EMAIL TO RICHARD POLLACK; TELEPHONE CALL
                                                                                      WITH KEN STRAUSS, ENGAGEMENT PARTNER ON THE
                                                                                      MATTER.
        SRK            459          04/18/16    540.00           0.70       378.00    ATTEND TO OPERATIONAL CASH FLOW BUDGETS TO
                                                                                      ASSESS FINANCE NEEDS TO BURN RATE.
        SRK            459          04/18/16    540.00           0.80       432.00    NUMEROUS EMAILS/INVESTIGATION RE WEB SITE,
                                                                                      ASSETS, BANK ACCOUNTS.
        BAS            460          04/18/16    240.00           4.00       960.00    PREPARE FUTURE PLAN AND INFO SHEETS, INVENTORY
                                                                                      AND DOMAIN MATRIX.



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        OD             460          04/18/16    240.00           2.00       480.00    VERIFY IMAGES FOR EXTERNAL DRIVE 4 AND BILL KELLY
                                                                                      DESKTOP. RETURN SURFACE TABLET AND DESKTOP TO
                                                                                      STEPHANIE. RETURN REMAINDER OF DEVICES AND SIGN
                                                                                      CHAIN OF CUSTODY FORMS.
        OD             460          04/18/16    240.00           5.00      1,200.00   LOAD IMAGES, PROCESS, FILTER SYSTEM AND PROGRAM
                                                                                      FILES. EXPORT DIRECTORY OF FILES FOR EACH IMAGE.
        JEG            454          04/19/16    360.00           2.90      1,044.00   REVIEW UPDATED CASH FLOW FORECAST PREPARED BY
                                                                                      D.DUPUIS (JPEAK) (2.7); RELATED CORRESPONDENCE W/
                                                                                      S.KAPILA (KM) AND G.ENDICOTT (LEISURE MGMT.) (0.2).
        JEG            454          04/19/16    360.00           0.90       324.00    FINISH REVIEW OF COMPLAINT, MOTION AND ORDER.
        JEG            454          04/19/16    360.00           0.10        36.00    CORRESPONDENCE W/ G.ENDICOTT (LEISURE MGMT.)
                                                                                      RE: EB-5 ACCT'G.
        JEG            454          04/19/16    360.00           0.70       252.00    CONFERENCE & CORRESPONDENCE W/ S.MILLER
                                                                                      (AKERMAN) RE: MOTION TO ALLOW FUNDING OF
                                                                                      Q-BURKE BY JAY PEAK (0.2); RELATED
                                                                                      CORRESPONDENCE W/ G.ENDICOTT (LEISURE MGMT.)
                                                                                      (0.1); REVIEW 13 WEEK FORECAST AND CREATE EXHIBIT
                                                                                      FOR MOTION (0.3); RELATED TRANSMITTAL
                                                                                      CORRESPONDENCE W/ MILLER (0.1).
        KM             454          04/19/16    270.00           0.70       189.00    REVIEW AND ATTEND TO EMAILS RE: CASH FLOW AND
                                                                                      AVAILABLE FUNDS TO COVER PAYROLL.
        BAS            460          04/19/16    240.00           2.00       480.00    DOMAIN EB5 ITE RESEARCH, DOCUMENTATION AND
                                                                                      REDIRECT TO RECEIVERSHIP WEBSITE.
        OD             460          04/19/16    240.00           1.00       240.00    CONFERENCE CALL WITH MANNY MENDEZ, IT PERSON
                                                                                      FOR MR. QUIROS. CONFERENCE CALL WITH BRETT
                                                                                      STILLMAN RE IT INFRASTRUCTURE, DOMAINS AND
                                                                                      USERS.
        OD             460          04/19/16    240.00           3.00       720.00    CREATE AND FORMAT FILE LISTING REPORT FOR 11
                                                                                      IMAGES. SENT REPORTS. WAITING FURTHER
                                                                                      INSTRUCTIONS ON FILE EXPORTATION.
        JEG            454          04/20/16    360.00           0.20        72.00    CONTINUE REVIEW OF Q-BURKE 13 WEEK FORECAST.
        BAS            460          04/20/16    240.00           1.00       240.00    VERIFY IMAGES SENT VIA FEDEX FROM CRAIG RUSSELL.
        MMD            459          04/20/16    400.00           0.40       160.00    REVIEW TASK LIST PREPARED BY IT TECHNICIANS AND
                                                                                      BEGIN TO SUMMARIZE FOR RECEIVER.
        OD             460          04/23/16    240.00           2.00       480.00    DOWNLOAD AND PRESERVE ARIEL QUIROS EXCHANGE
                                                                                      MAILBOX. CREATE REPORT OF ALL EMAILS
                                                                                      DOWNLOADED.
        BAS            460          04/25/16    240.00           2.00       480.00    EXPORT MAILBOXES FROM JAY PEAK AND QBURKE
                                                                                      OFFICE 365 ACCOUNTS ONLINE TO JAY PEAK SERVERS
                                                                                      ON PROPERTY.
        MCP            454          04/27/16    270.00           2.60       702.00    REVIEW AND SUMMARIZE IT DOCUMENTS. RESPOND TO
                                                                                      ADDITIONAL QUESTIONS FROM IT CONSULTANTS.
        MCP            452          04/29/16    270.00           0.80       216.00    MEETING WITH M. DAVIS RE: IT SUMMARY (.5).
                                                                                      FOLLOW UP ON TASKS FOR MONDAYS MEETINGS.
        MMD            454          04/29/16    400.00           0.30       120.00    REVIEW IT TASK MEMO.
        MMD            459          04/29/16    400.00           0.50       200.00    REVIEW IT MEMO DRAFT FOR PURPOSES OF TRACKING
                                                                                      ALL IT TASKS PERFORMED AND RECORDS/DATA
                                                                                      PRESERVATION DOCUMENTATION.
        MCP            454          05/02/16    270.00           2.20       594.00    REVISE IT MEMO AND ANALYZE ITEMS TO BE
                                                                                      COMPLETED. BEGIN BURKE CASH TRACING.
        JEG            459          05/03/16    360.00           0.10        36.00    CORRESPONDENCE W/ G.ENDICOTT (LEISURE MGMT) RE:
                                                                                      STATUS OF CASH MGMT & FORECASTS.
        MMD            459          05/11/16    400.00           1.70       680.00    PREPARE SUMMARY OF IT TASKS COMPLETED AND IT
                                                                                      DATA AVAILABLE.


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        MCP            451          05/12/16    270.00           0.20        54.00    T/C WITH B. STILLMAN RE: SERVERS AND IMAGED DATA.
        MCP            454          05/12/16    270.00           0.20        54.00    REVIEW IT MEMOS.
        SRK            459          05/12/16    540.00           0.30       162.00    ATTEND TO UPDATE ON IT TASKS AND STATUS.
        SRK            459          05/12/16    540.00           0.40       216.00    ATTEND TO STATUS OF IT IMAGING AND PROJECTS.
        MMD            459          05/12/16    400.00           0.60       240.00    CONTINUE TO PREPARE LIST OF IT DATA AVAILABLE.
        SRK            459          05/13/16    540.00           0.20       108.00    ATTEND TO MEMO RE IT TASK STATUS.
        SRK            459          05/20/16    540.00           0.20       108.00    ATTEND TO EMAILS FROM STEPHANIE TREBAND AND
                                                                                      WITH RECEIVER GOLDBERG.
        SRK            459          05/26/16    540.00           0.20       108.00    REVIEW EMAIL FROM RECEIVER RE SECURITY COMPANY
                                                                                      INVOICES AND FOLLOW UP ON SAME.
        SRK            459          05/27/16    540.00           0.20       108.00    REVIEW EMAILS RE INVESTIGATION OF TANGO BACK.
        SRK            459          05/31/16    540.00           0.40       216.00    COORDINATION WITH KEN STRAUSS RE PRODUCTION
                                                                                      OF INFORMATION FROM BERKOWITZ POLLACK FIRM
                                                                                      (0.2); EMAILS RE DOJ DESIRE TO IMAGE ESI (0.2).
        KM             451          06/01/16    270.00           0.50       135.00    T/C WITH S KAPILA, M GOLDBERG AND J SCHNEIDER TO
                                                                                      REVIEW CASE STATUS.
        KM             454          06/01/16    270.00           0.20        54.00    REVIEW AND ATTEND TO CORRESPONDENCE RE: IT
                                                                                      IMAGING FOR USDOJ.
        KM             454          06/02/16    270.00           0.30        81.00    COORDINATE IMAGING OF IT DATA WITH RECEIVER'S
                                                                                      OFFICE, USDOJ AND FBI.
        MMD            459          06/03/16    400.00           0.30       120.00    EMAILS RE ESI PRODUCTION TO GOVERNMENT.
        KM             454          06/05/16    270.00           0.40       108.00    REVIEW IT INVENTORY PROVIDED BY B STILLMAN AND O
                                                                                      DELATORRE. PREPARE SUMMARY EMAIL FOR M DAVIS
                                                                                      REVIEW.
        KM             454          06/06/16    270.00           0.40       108.00    REVIEW IT INVENTORY AND PREPARE CORRESPONDENCE
                                                                                      RE: FBI AND USDOJ COPY\IMAGING OF IT DATA.
        KM             451          06/16/16    270.00           0.20        54.00    T/C WITH J EMMONS (FBI) RE: IT DATA IMAGING.
        SRK            459          07/05/16    540.00           0.90       486.00    READ ADMINISTRATIVE ORDER RE RAYMOND JAMES
                                                                                      SETTLEMENT WITH THE STATE OF VERMONT; REVIEW
                                                                                      IMPLICATIONS AND ADDRESS ISSUES RE REQUIREMENT
                                                                                      OF QUALIFIED SETTLEMENT FUND TO BE SET UP BY THE
                                                                                      RECEIVER AND FOLLOW UP ON SAME; REVIEW DRAFT OF
                                                                                      MEMO.
        BAS            460          07/29/16    240.00           1.00       240.00    RESEARCH, TAKE CONTROL AND REDIRECT
                                                                                      ANCBIOVT.COM WEBSITE TO RECEIVERSHIP WEBSITE.
        OD             460          08/01/16    240.00           2.00       480.00    INVENTORY OF EMAIL OF ALL IMAGES FOR EXPORT.
                                                                                      BEGIN EXPORT PROCESS.
        BAS            460          08/02/16    240.00           2.00       480.00    EMAIL PRODUCTION - COPY JAY PEAK EMAILS TO
                                                                                      EXTERNAL DRIVE WITH VERIFICATION. COPY ALL PST'S
                                                                                      FROM ACQUIRED IMAGES (JAY PEAK).
        BAS            460          08/03/16    240.00           2.00       480.00    EMAIL PRODUCTION - CONTINUE EXPORT OF PST'S
                                                                                      FROM ACQUIRED IMAGES (JAY PEAK) WITH
                                                                                      VERIFICATION. MADE ADDITIONAL MASTER COPY OF
                                                                                      PRODUCTION FOR RECEIVERSHIP.
        MMD            459          08/10/16    400.00           0.30       120.00    ATTEND TO PRODUCTION OF EMAILS.
        MMD            459          08/10/16    400.00           0.10        40.00    RESPOND TO EMAIL FROM RECEIVER REGARDING ESI.
        OD             459          08/11/16    240.00           4.00       960.00    LOAD, EXPORT AND VERIFY 38 PST'S FROM DIFFERENT
                                                                                      IMAGES.
        OD             459          08/16/16    240.00           8.00      1,920.00   LOAD IMAGES. SEARCH 38 PST'S FOR REQUESTED TERM.
                                                                                      EXPORT AND DELIVER RESPONSIVE EMAILS.




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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units   Amount          Description

        BAS            459          08/16/16    240.00           1.00      240.00   COPY OF EMAIL PREVIOUSLY PRODUCED (JAY PEAK & Q
                                                                                    BURKE) FROM QR-WD-01 TO EXTERNAL HARD DRIVE
                                                                                    QR-PR-02 (ADDITIONAL PRODUCTION COPY).
        BAS            459          08/16/16    240.00           2.00      480.00   INDEX OF ARY QUIROS PST FILE FROM JAY PEAK ONLINE
                                                                                    ACCOUNT WITH FTK SOFTWARE. EXPORT OF EMAILS
                                                                                    RESPONSIVE TO REQUESTS (EXPORT TO USB QR-PR-03).
        BAS            459          08/22/16    240.00           1.00      240.00   COPY OF ALL EMAIL PREVIOUSLY PRODUCED (JAY PEAK
                                                                                    & QBURKE) FROM QR-WD-01 TO EXTERNAL DRIVE
                                                                                    QR-PR-05 (ADDITIONAL PRODUCTION COPY).
        CDM            459          08/23/16    220.00           0.20       44.00   PREPARE COVER LETTER AND FEDERAL EXPRESS BOXES
                                                                                    TO SEND EMAILS DISKS TO RECEIVER AND HIS COUNSEL
                                                                                    AS REQUESTED BY MELISSA DAVIS
        SRK            459          08/23/16    540.00           0.20      108.00   EMAILS WITH OSCAR DELATORRE RE OFFICE 365
                                                                                    BUSINESS PREMIUM PASSWORD EXPIRATION AND
                                                                                    DOWNLOAD OF EMAILS.
        OD             459          08/23/16    240.00           2.50      600.00   ONSITE WITH FBI PERSONNEL TO IMAGE COPYING.
        BAS            459          08/23/16    240.00           2.00      480.00   MEETING WITH FBI AGENT STEPHEN BOYCE TO TURN
                                                                                    OVER CUSTODY OF BEST EVIDENCE DRIVES AND ALL
                                                                                    PRESERVED ESI FOR DUPLICATION.
        KM             459          09/22/16    270.00           0.90      243.00   REVIEWED SEC SUBPOENA FOR PRODUCTION OF EMAIL
                                                                                    DATA. ATTEND TO CORRESPONDENCE AND COORDINATE
                                                                                    PRODUCTION OF DATA AND DETERMINE STATUS OF
                                                                                    PRIVILEGED COMMUNICATIONS NOT TO BE PRODUCED.
        MMD            459          09/23/16    400.00           0.30      120.00   ATTEND TO ESI PRODUCTION. T/C WITH COUNSEL RE
                                                                                    SAME.
        BAS            460          09/23/16    240.00           1.00      240.00   REQUEST FOR EMAIL PRODUCTION FOR BILL STENGER
                                                                                    FROM THE SEC.
        KM             459          09/26/16    270.00           0.80      216.00   REVIEWED EMAIL PRODUCTION WITH B STILLMAN FOR B
                                                                                    STENGER FOR SEC SUBPOENA REQUEST. REVIEWED
                                                                                    PRIVILEGE COMMUNICATION ISSUE AND NECESSITY TO
                                                                                    EXTRACT POTENTIAL PRIVILEGE COMMUNICATIONS.
        SRK            459          09/27/16    540.00           0.20      108.00   ATTEND TO EMAIL FROM PRAVEEN BANKER RE
                                                                                    POTENTIAL INTEREST IN J PEAK PROJECT AND RESPOND
                                                                                    TO SAME WITH COPY TO RECEIVER.
        KM             459          09/27/16    270.00           0.70      189.00   REVIEW AND ATTEND TO PRODUCTION OF EMAILS IN
                                                                                    RESPONSE TO SEC SUBPOENA.
        KM             459          09/28/16    270.00           1.80      486.00   ATTEND TO CORRESPONDENCE AND TELEPHONE
                                                                                    CONFERENCES WITH B STILLMAN AND M DAVIS TO
                                                                                    IDENTIFY PRIVILEGE COMMUNICATIONS AND
                                                                                    COORDINATE THE PRODUCTION OF EMAIL DATA FOR
                                                                                    SEC SUBPOENA AND OTHER LITIGATION REQUESTS.
        MMD            459          09/28/16    400.00           1.00      400.00   ATTEND TO PRODUCTION OF ESI (.30). T/C WITH BRETT
                                                                                    STILLMAN RE SAME (.30) T/C WITH J. SCHNEIDER RE ESI
                                                                                    (.40).
        MMD            459          09/28/16    400.00           0.40      160.00   T/C WITH COUNSEL RE ESI PRODUCTION.
        BAS            460          09/28/16    240.00           2.00      480.00   MEETING WITH MELISSA DAVIS AND KEVIN MCCOY TO
                                                                                    DISCUSS SEC REQUEST FOR EXTRAPOLATING
                                                                                    NON-PRIVILEGED DOCUMENTS. SETUP FORENSIC
                                                                                    MACHINE FOR RUNNING SEC EMAIL PRODUCTION
                                                                                    REQUEST. PREP DRIVES AND SETUP CASE FILES IN FTK
                                                                                    FORENSIC PROGRAM. CREATED EMAIL ARCHIVE IMAGE
                                                                                    FOR LIST OF GLOBAL PST FILES ACQUIRED FROM JAY
                                                                                    PEAK CUSTODIANS. BEGIN INDEXING OF PREVIOUSLY
                                                                                    CREATED IMAGE WITH FTK.




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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate          Hrs/Units   Amount          Description

        BAS            460          09/29/16    240.00           4.00      960.00   SEARCHING, SORTING, AND BOOKMARKING OF
                                                                                    RESPONSIVE EMAILS FOR SEC REQUEST FROM GLOBAL
                                                                                    IMAGE OF ALL PST FILES IN CASE.
        KM             459          09/30/16    270.00           0.80      216.00   REVIEW EMAIL PRODUCTION FOR SEC AND OTHER
                                                                                    LITIGATION MATTERS. T/C WITH B STILLMAN ON
                                                                                    PROGRESS FOR INDEXING AND SEGREGATING EMAILS
                                                                                    AND PRIVILEGED COMMUNICATIONS.
        BAS            460          09/30/16    240.00           4.00      960.00   COMPLETE SEARCHING, SORTING, AND BOOKMARKING
                                                                                    OF RESPONSIVE EMAILS FOR SEC REQUEST FROM
                                                                                    GLOBAL IMAGE OF ALL PST FILES IN CASE. EXPORTED
                                                                                    WITH CONVERSION TO .MSG ALL RESPONSIVE
                                                                                    BOOKMARKED DOCUMENTS TO QR-WD-01 PRODUCTION
                                                                                    DRIVE. COMPLETED VERIFICATION AND
                                                                                    DOCUMENTATION OF PRODUCTION. CREATED CUSTOM
                                                                                    SEARCHES WITHIN DATASET TO CHECK VALIDITY OF
                                                                                    PREVIOUS RESPONSIVE BOOKMARKED ITEMS AND TO
                                                                                    MAKE SURE EXPORTED DATA IS COMPLETE AND
                                                                                    CORRECT. PRINTED FILELIST.TXT FILES WITH INFO FOR
                                                                                    ALL PRODUCTION AND CONVERTED TO EXCEL
                                                                                    SPREADSHEETS WITH SORTING. COPIED ALL EXPORTED
                                                                                    DATA TO QR-PR-06 PRODUCTION DRIVE FOR THE SEC.
        KM             459          10/03/16    330.00           0.30       99.00   REVIEW AND ATTEND TO PRODUCTION OF EMAILS FOR
                                                                                    SEC SUBPOENA REQUEST.
        BAS            460          10/04/16    240.00           1.00      240.00   COPY AND VERIFICATION OF ALL PST FILES ACQUIRED
                                                                                    IN THE CASE AT JAY PEAK FOR PRODUCTION TO THE
                                                                                    SEC. COPY TO EVIDENCE DRIVE QR-PR-07.
        MMD            454          10/04/16    400.00           0.60      240.00   ATTEND TO ESI PRODUCTION WITH BRETT STILLMAN.
        BAS            460          10/06/16    240.00           3.00      720.00   SEARCH, BOOKMARKING OF PRIVILEGE FILES FOR LIST
                                                                                    OF ATTORNEYS OBTAINED FROM KAPILAMUKAMAL.
                                                                                    BOOKMARKING, FLAGGING AND EXPORT OF PRIVILEGE
                                                                                    AND NON-PRIVILEGE DOCUMENT FILES TO MSG AND PST
                                                                                    FORMAT TO QR-WD-01 (WORKING DRIVE) FOR
                                                                                    PRODUCTION.
        BAS            460          10/07/16    240.00           3.00      720.00   CONTINUED SEARCH, BOOKMARKING OF PRIVILEGE
                                                                                    FILES FOR LIST OF ATTORNEYS OBTAINED FROM
                                                                                    KAPILAMUKAMAL. BOOKMARKING, FLAGGING AND
                                                                                    EXPORT OF PRIVILEGE AND NON-PRIVILEGE DOCUMENT
                                                                                    FILES TO MSG AND PST FORMAT TO QR-WD-01
                                                                                    (WORKING DRIVE) FOR PRODUCTION.
        MMD            459          10/07/16    400.00           0.40      160.00   ATTEND T/C WITH K. MATEGRANO RE ESI PRODUCTION.
        MMD            459          10/07/16    400.00           0.30      120.00   DRAFT EMAIL TO K. MATREGRANO RE ESI PRODUCTION.
        BAS            460          10/08/16    240.00           2.00      480.00   CONTINUED SEARCH, BOOKMARKING OF PRIVILEGE
                                                                                    FILES FOR LIST OF ATTORNEYS OBTAINED FROM
                                                                                    KAPILAMUKAMAL. BOOKMARKING, FLAGGING AND
                                                                                    EXPORT OF PRIVILEGE AND NON-PRIVILEGE DOCUMENT
                                                                                    FILES TO MSG AND PST FORMAT TO QR-WD-01
                                                                                    (WORKING DRIVE) FOR PRODUCTION. COPY WITH
                                                                                    VERIFICATION TO QR-PR-08, QR-PR-10. COPY WITH
                                                                                    VERIFICATION ALL EXPORTED PRIVILEGE DOCS AND
                                                                                    GLOBAL PST AD1 IMAGE TO QR-PR-09 AND SHIPPED TO
                                                                                    E HOUNDS FOR E-DISCOVERY SERVICES.
        MMD            459          10/10/16    400.00           0.10       40.00   T/C WITH T. LIFSHITZ REGARDING ESI PRODUCTION.
        MMD            459          10/10/16    400.00           0.50      200.00   T/C WITH ADAM SHARP RE ESI PRODUCTION.
        MMD            459          10/10/16    400.00           0.40      160.00   T/C WITH B. STILLMAN RE ESI PRODUCTION.
        MMD            459          10/13/16    400.00           0.50      200.00   ATTEND TO ESI MATTERS.



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90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date     Rate           Hrs/Units      Amount           Description

        MMD            454          10/14/16    400.00            1.20         480.00    ATTEND TO ESI PRODUCTION MATTERS.
        MMD            451          10/14/16    400.00            0.30         120.00    ATTEND T/C WITH SEC RE ESI PRODUCTION.
        MMD            454          10/14/16    400.00            0.50         200.00    ATTEND TO ESI PRODUCTION MATTERS.
        SRK            459          10/17/16    540.00            0.30         162.00    ATTEND TO DOCUMENT PRODUCTION AND ESI
                                                                                         PRODUCTION MATTERS.
        MMD            459          10/17/16    400.00            0.50         200.00    REVEW EMAILS RE ESI PRODUCTION MATTERS.
        MMD            459          10/18/16    400.00            0.20          80.00    EMAILS RE ESI PRODUCTION.
        MMD            459          10/18/16    400.00            0.10          40.00    RESPOND TO EMAIL REGARDING QUIROS LAPTOP
                                                                                         EMAILS.
        MMD            451          10/21/16    400.00            0.30         120.00    ATTEND T/C WITH COUNSEL RE ESI PRODUCTION.
        MMD            459          10/21/16    400.00            0.20          80.00    FOLLOW UP EMAILS RE ESI PRODUCTION.
        MMD            459          10/24/16    400.00            0.40         160.00    DRAFT EMAIL TO COUNSEL SUMMARIZING ESI DATA
                                                                                         AVAILABLE AND EMAIL ACCOUNTS THAT WERE
                                                                                         DOWNLOADED FOR PRODUCTION.
        MMD            459          10/25/16    400.00            0.30         120.00    EMAILS WITH E-HOUNDS RE PRODUCTION OF
                                                                                         ADDITIONAL ESI TO RAYMOND JAMES.
        MMD            459          10/25/16    400.00            0.20          80.00    REVIEW MULTIPLE EMAILS RE ESI PRODUCTION.
        KM             459          10/26/16    330.00            0.30          99.00    ATTEND TO EMAILS AND T/C RE: EMAIL PRODUCTION
                                                                                         FROM E-HOUNDS FOR PRIVILEGED COMMUNICATIONS.
        MMD            454          10/31/16    400.00            0.60         240.00    ATTEND TO MULTIPLE EMAILS REGARDING ESI
                                                                                         PRODUCTION.
        MMD            459          10/31/16    400.00            0.30         120.00    RESPOND TO EMAIL FROM COUNSEL REGARDING
                                                                                         TRACING OF INVESTOR FUND PAYMENTS AS REQUESTED
                                                                                         BY RAYMOND JAMES COUNSEL.
LITIGATION SUPPORT Totals                                      546.00       159,465.00
BUSINESS ANALYSIS Totals                                       546.00       159,465.00

Time Totals                                                   2,495.25      624,936.20

Expense

EXPENSES

EXPENSES
        EXP            E830         04/11/16                                   271.08

        EXP            E843         04/11/16                                    35.94
        EXP            E843         04/12/16                                    12.91
        EXP            E843         04/12/16                                      3.27
        EXP            E843         04/12/16                                    12.19
        EXP            E843         04/12/16                                   144.42


        EXP            E843         04/12/16                                    10.24
        EXP            E843         04/12/16                                      4.91
        EXP            E835         04/12/16                                   492.60

        EXP            E843         04/12/16                                      9.81
        EXP            E840         04/12/16                                   333.52



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90107         SEC V. Q RESORTS, ET AL                  Time & Expenses Available to be billed
    Staff            Activity           Date                           Amount

        EXP            E840         04/12/16                           333.52

        EXP            E840         04/12/16                           333.52

        EXP            E840         04/12/16                           278.58

        EXP            E840         04/12/16                           278.58

        EXP            E840         04/12/16                           278.58

        EXP            E840         04/12/16                           278.58

        EXP            E840         04/12/16                           278.58

        EXP            E840         04/12/16                           278.58

        EXP            E840         04/12/16                           278.58

        EXP            E840         04/12/16                           333.52

        EXP            E835         04/12/16                           492.60

        EXP            E843         04/12/16                            16.99
        EXP            E835         04/12/16                           467.60

        EXP            E835         04/12/16                           467.60

        EXP            E835         04/12/16                           467.60

        EXP            E835         04/12/16                           467.60

        EXP            E835         04/12/16                           467.60

        EXP            E835         04/12/16                           467.60

        EXP            E835         04/12/16                           467.60

        EXP            E835         04/12/16                           492.60

        EXP            E835         04/12/16                           467.60

        EXP            E843         04/12/16                            11.00
        EXP            E843         04/12/16                            15.81
        EXP            E830         04/12/16                            11.34

        EXP            E843         04/12/16                             4.28
        EXP            E843         04/12/16                             8.26
        EXP            E843         04/12/16                             9.37
        EXP            E843         04/12/16                             7.03
        EXP            E843         04/12/16                            10.85
        EXP            E843         04/12/16                            11.60



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90107         SEC V. Q RESORTS, ET AL                  Time & Expenses Available to be billed
    Staff            Activity           Date                           Amount

        EXP            E843         04/12/16                            10.85

        EXP            E843         04/13/16                            34.83

        EXP            E843         04/13/16                             4.17
        EXP            E843         04/13/16                           209.84




        EXP            E843         04/13/16                            41.42
        EXP            E830         04/13/16                            32.40

        EXP            E831         04/13/16                            15.00
        EXP            E860         04/13/16                           269.00

        EXP            E843         04/13/16                             5.29
        EXP            E843         04/13/16                             8.18
        EXP            E843         04/13/16                             5.07
        EXP            E843         04/13/16                            11.49
        EXP            E843         04/13/16                             4.12
        EXP            E835         04/14/16                           238.10

        EXP            E843         04/14/16                            15.84
        EXP            E841         04/14/16                            41.57
        EXP            E843         04/14/16                           303.43


        EXP            E843         04/14/16                             6.53
        EXP            E843         04/14/16                            18.03
        EXP            E820         04/14/16                            31.43

        EXP            E820         04/14/16                           120.00

        EXP            E860         04/14/16                            74.58

        EXP            E843         04/14/16                            12.02
        EXP            E835         04/14/16                            25.00
        EXP            E835         04/14/16                            75.00
        EXP            E843         04/14/16                            10.95
        EXP            E835         04/14/16                           475.35

        EXP            E830         04/14/16                            32.40

        EXP            E831         04/14/16                            16.00
        EXP            E843         04/14/16                             6.47
        EXP            E861         04/14/16                           578.16

        EXP            E843         04/14/16                             2.18
        EXP            E843         04/14/16                            14.10


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90107         SEC V. Q RESORTS, ET AL                  Time & Expenses Available to be billed
    Staff            Activity           Date                           Amount

        EXP            E843         04/14/16                            11.82
        EXP            E843         04/15/16                             9.43
        EXP            E843         04/15/16                             5.27

        EXP            E843         04/15/16                            19.74
        EXP            E843         04/15/16                           231.62


        EXP            E843         04/15/16                             6.12
        EXP            E843         04/15/16                            43.52

        EXP            E843         04/15/16                            22.55

        EXP            E840         04/15/16                           213.44

        EXP            E843         04/15/16                             2.73
        EXP            E843         04/15/16                            39.11
        EXP            E830         04/15/16                            32.40

        EXP            E831         04/15/16                            16.00
        EXP            E843         04/15/16                             3.27
        EXP            E843         04/15/16                             4.96
        EXP            E843         04/15/16                             3.08
        EXP            E843         04/15/16                             4.36
        EXP            E843         04/15/16                             5.75
        EXP            E843         04/15/16                             9.74
        EXP            E843         04/16/16                             7.48

        EXP            E843         04/16/16                             3.77

        EXP            E831         04/16/16                            75.00

        EXP            E843         04/16/16                             4.87

        EXP            E843         04/16/16                            11.10
        EXP            E845         04/16/16                           725.63

        EXP            E843         04/16/16                             6.57

        EXP            E841         04/16/16                            15.04
        EXP            E843         04/16/16                             7.48
        EXP            E835         04/16/16                           377.60

        EXP            E843         04/16/16                            15.30
        EXP            E835         04/16/16                           377.60

        EXP            E835         04/16/16                           352.60

        EXP            E835         04/16/16                           352.60



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90107         SEC V. Q RESORTS, ET AL                  Time & Expenses Available to be billed
    Staff            Activity           Date                           Amount

        EXP            E835         04/16/16                           352.60

        EXP            E835         04/16/16                           352.60

        EXP            E835         04/16/16                           352.60

        EXP            E835         04/16/16                           352.60

        EXP            E835         04/16/16                           352.60

        EXP            E845         04/16/16                           628.74

        EXP            E843         04/16/16                             5.34
        EXP            E831         04/16/16                            75.00

        EXP            E843         04/16/16                            11.64
        EXP            E831         04/16/16                            37.50

        EXP            E843         04/16/16                             3.52

        EXP            E843         04/16/16                             3.99
        EXP            E843         04/16/16                             2.75
        EXP            E843         04/16/16                             2.91
        EXP            E831         04/16/16                            75.00

        EXP            E843         04/16/16                             7.37
        EXP            E843         04/16/16                             3.77
        EXP            E843         04/16/16                            15.37
        EXP            E843         04/16/16                             9.37
        EXP            E844         04/16/16                            19.08

        EXP            E843         04/16/16                             8.03
        EXP            E843         04/16/16                             9.37

        EXP            E830         04/18/16                            32.40

        EXP            E831         04/18/16                            16.00
        EXP            E806         04/29/16                             3.40
        EXP            E864         04/29/16                            13.10
        EXP            E826         04/29/16                           228.15
        EXP            E862         05/02/16                            45.00

        EXP            E805         05/03/16                             7.35
        EXP            E805         05/11/16                             6.80
        EXP            E860         05/12/16                           392.17




        EXP            E815         05/12/16                            24.14



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90107         SEC V. Q RESORTS, ET AL                  Time & Expenses Available to be billed
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        EXP            E820         05/24/16                 16.50      16.50

        EXP            E830         05/24/16                 54.80      29.59

        EXP            E805         05/26/16                  1.00       6.80
        EXP            E830         05/31/16                 54.80      29.59

        EXP            E826         05/31/16                539.00      80.85
        EXP            E864         05/31/16                239.00      23.90
        EXP            E806         05/31/16                  3.84       3.84
        EXP            E830         06/24/16                 54.80      29.59

        EXP            E864         06/30/16                 78.00       7.80
        EXP            E806         06/30/16                  3.52       3.52
        EXP            E805         07/14/16                  1.00       6.02

        EXP            E830         07/15/16                 54.80      29.59

        EXP            E864         07/29/16                645.00      64.50
        EXP            E806         07/29/16                  1.70       1.70
        EXP            E826         07/29/16                  5.00       0.75
        EXP            E815         08/01/16                119.35     119.35
        EXP            E815         08/01/16                154.05     154.05
        EXP            E815         08/01/16                119.35     119.35
        EXP            E860         08/02/16                  2.00     209.88




        EXP            E830         08/04/16                 70.00      37.80


        EXP            E830         08/08/16                 70.00      37.80


        EXP            E830         08/12/16                 94.00      50.76




        EXP            E815         08/17/16                 17.84      17.84

        EXP            E815         08/23/16                 18.83      18.83

        EXP            E815         08/23/16                 18.83      18.83

        EXP            E806         08/31/16                  1.62       1.62
        EXP            E864         08/31/16                211.00      21.10
        EXP            E826         08/31/16                101.00      15.15
        EXP            E862         09/01/16                 45.00      45.00

        EXP            E815         09/09/16                 19.42      19.42



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                                                                                 Exhibit 3
KapilaMukamal, LLP                         422

                                                         Billing Worksheet
                                                   Friday, November 04, 2016
                                                April 5, 2016 - October 31, 2016


90107         SEC V. Q RESORTS, ET AL                     Time & Expenses Available to be billed
    Staff            Activity           Date                              Amount

        EXP             E805         09/19/16                                3.02
        EXP             E860         09/23/16                              38.15

        EXP             E807         09/26/16                             100.77
        EXP             E830         09/26/16                              37.80

        EXP             E855         09/29/16                              31.66

        EXP             E806         09/30/16                                3.66
        EXP             E864         09/30/16                              39.80
        EXP             E826         09/30/16                             168.60
        EXP             E830         10/03/16                              37.80

        EXP             E860         10/04/16                              68.90


        EXP             E830         10/05/16                              37.80

        EXP             E860         10/06/16                              68.90


        EXP             E860         10/06/16                              37.92

        EXP             E805         10/07/16                                1.36
        EXP             E815         10/10/16                              28.10
        EXP             E860         10/12/16                              38.15

        EXP             E830         10/12/16                              37.80

        EXP             E815         10/26/16                              29.61
        EXP             E826         10/31/16                             142.80
        EXP             E806         10/31/16                                6.04
EXPENSES Totals                                                         20,510.61
EXPENSES Totals                                                         20,510.61

Expense Totals                                                          20,510.61

                 Client SEC V. Q RESORTS, ET AL Totals                  645,446.81




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                            EXHIBIT 3 - ATTACHMENT
                                       422
                                        SEC V. Q RESORTS, ET AL
                                     CASE NO: 16-cv-21301-GAYLES
                          KAPILAMUKAMAL'S FIRST INTERIM FEE APPLICATION
                                             staff legend
                                    FOR THIS TIME PERIOD ONLY
                               April 5, 2016 THROUGH October 31, 2016


       Name                                         Initials

    SONEET KAPILA, CPA, CFF, CIRA, CFE, PARTNER     SRK
    LESLEY JOHNSON, CPA, CIRA, PARTNER/TAX          LJJ
    MELISSA DAVIS, CPA, CIRA, CFE, PARTNER          MMD
    JOSEPH GILLIS, CPA, SENIOR CONSULTANT           JEG
    FRANK KESSLER, CONSULTANT                        FMK
    KATHY FOSTER, TAX CONSULTANT                     KAF
    KEVIN MCCOY, CPA, CFE, CIRA, PRINCIPAL          KM
    WILLIAM FUNDERBURKE, CPA, CFE, CONSULTANT       WWF
    MARK PARISI, CPA, CFE, CONSULTANT               MCP
    MELANIE KRING, CPA, CFE, CONSULTANT             MAK
    KAREN FUGATE, OPERATIONS CONSULTANT              KEF
    BRETT STILLMAN, FORENSIC COMPUTER CONSULTANT     BAS
    OSCAR DELATORRE, FORENSIC COMPUTER CONSULTANT    OD

    TIMOTHY SHAW, FORENSIC COMPUTER CONSULTANT       TS
    MELISSA KATZ, CPA, CVA, CFF, CONSULTANT          MSK
    CATHERINE MURCHISON, FORENSIC ANALYST            CDM
    ELLIOTT ROTHSTEIN, CONSULTANT                    ER
    GENE SULSKY, CONSULTANT                          GS
    FRANK DIAZ-DRAGO, FORENSIC ANALYST               FDD
    KY JOHNSON, FORENSIC ANALYST                     KJJ
    RACHEL RUFFALO, FORENSIC ANALYST                 RMR
    CORY LEVINE, FORENSIC ANALYST                    CJL
    MARC BROWN, FORENSIC ANALYST                     MB2




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                      EXHIBIT 4(d)
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                                       422



Invoice
      Michael I. Goldberg                                                                                                       June 30, 2016
      Receiver for Jay Peak Inc. and Related Entities                                                                      INVOICE: 18479888
      c/o Akerman LLP
      350 East Las Olas Blvd., Suite 1600
      Ft. Lauderdale FL 33301-2999                                                    ALL AMOUNTS STATED IN USD FUNDS
      USA

      Our Matter:       T1008517 / 217464
      RE:               SEC - Jay Peak, et al.




      Fees for Professional Services                                                                                                          $22,179.50

      Disbursements                                                                                                                               1,956.51
      Total Disbursements                                                                                                                         1,956.51

      Total Fees and Disbursements                                                                                                              24,136.01
      Total Invoice                                                                                                                             24,136.01

      Please remit balance due:                                                                         In U.S. Dollars                       $24,136.01




      Malcolm Ruby               Signed for & on behalf of Gowling WLG (Canada) LLP



  Our services are provided in accordance with our Standard Terms of Business (www.gowlingwlg.com/TermsofBusiness), subject to any other
  written engagement agreement entered into between the parties.

  GOWLING WLG (CANADA) LLP                                                         Gowling WLG (Canada) LLP is a member of Gowling WLG, an
                                                                                   international law firm which consists of independent and autonomous
  1 First Canadian Place, 100 King Street West,          T +1 (416) 862 7525       entities providing services around the world. Our structure is explained in
  Suite 1600, Toronto, Ontario, M5X 1G5, Canada          gowlingwlg.com            more detail at www.gowlingwlg.com/legal



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                                                                                                                                 June 30, 2016
                                                                                                                            INVOICE: 18479888

   Goldberg, Michael I.
   Our Matter: T1008517
   SEC - Jay Peak, et al.

   PROFESSIONAL SERVICES

   20/04/2016      Email exchanges and call with Kim Matregrano; review letter from Jeff Schneider; brief review
                   of Complaint and TRO; review note from Kim Mategrano attaching Complaint in various
                   motion material in support of the TRO request;
                   Malcolm Ruby                                            1.00             500.00/hr             500.00
   21/04/2016      Receipt and study of emails from R. Malcolm re: Receivership order; email to the latter.
                   Mila Badran                                             0.50             300.00/hr             150.00
   21/04/2016      Forward all materials to Guy Poitras and Mila Badran; review note from Michael Goldberg re:
                   retention;
                   Malcolm Ruby                                            0.20             500.00/hr             100.00
   22/04/2016      Meeting with G. Poitras re: strategy; review of documents.
                   Mila Badran                                             0.80             300.00/hr             240.00
   24/04/2016      Exchange of emails with M. Ruby and G. Poitras.
                   Mila Badran                                             0.10             300.00/hr             30.00
   24/04/2016      Email to Mila Badran re: arranging strategy call;
                   Malcolm Ruby                                            0.10             500.00/hr             50.00
   25/04/2016      Telephone conference with M. Ruby and G. Poitras re: strategy and next steps; working
                   session on preparation of letter to Caisse Desjardins; review of proceedings and information in
                   this regard; exchange of emails with client and al.; sending of letter to Desjardins.
                   Mila Badran                                             2.40             300.00/hr             720.00
   25/04/2016      Numerous email exchanges with Mila Badran and Guy Poitras re: correspondence to Caisse
                   Desjardins; conference call with Mila Badran and Guy Poitras re: letter to Caisse Desjardins;
                   prepare letter to Caisse Desjardins; prepare cover note to Kim Mategrano; send cover note
                   with draft correspondence to Kim Mategrano; call with Kim Mategrano; email exchanges with
                   Mila Badran re: finalizing letter to Caisse Deskardins; email exchanges with Mila Badran re:
                   adding paragraph in French at and of letter; further call with Mila Badran re: communications
                   with Caisse Desjardins; further revisions to draft letter; review further note from Kim
                   Mategrano approving letter to Caisse Desjardins;
                   Malcolm Ruby                                            1.50             500.00/hr             750.00
   26/04/2016      Working session regarding insolvency law; telephone conversation with M. Ruby; telephone
                   conversations with Desjardins; drafting of summary on strategy and motion.
                   Mila Badran                                             2.60             300.00/hr             780.00
   26/04/2016      Email exchange and call with Mila Badran; review note from Mila Badran re: enforcement of
                   receivership order in Québec Superior Court;
                   Malcolm Ruby                                            0.50             500.00/hr             250.00
   27/04/2016      Telephone conversation with M. Hardy from Desjardins; telephone call at S. Giroux from
                   Desjardins; long telephone conversation with B. Charron; drafting of email to M. Ruby re:
                   Desjardins' position; exchange of emails on same; working session on drafting of motion for



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                Interest at the rate of 0.8% per annum will be charged on all amounts not paid within one month from the date of this invoice
                                                                Errors and omissions excluded
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                   recognition of receivership order.
                   Mila Badran                                             5.30             300.00/hr             1,590.00
   27/04/2016      Meeting with Mila Bradan re: review of the receivership order, discussions regarding the
                   possibility of a recognition order.
                   Geneviève Cloutier                                      0.50             425.00/hr             212.50
   27/04/2016      review email from Mila Badran re: communication with Caisse Desjardins; prepare note to Kim
                   Mategrano; email exchanges with Mila Badran re: preparation of materials to obtain
                   recognition of U.S. Receivership Order; review note from Kim Mategrano re: obtaining Québec
                   Superior Court order; email exchange with Mila Badran re: template for motion materials to
                   obtain order recognizing U.S. Receivership Order; call with Alex MacFarlane re: jurisdiction
                   under Bankruptcy and Insolvency Act; review note from Michael Goldberg; note to Michael
                   Goldberg re: preparation of materials;
                   Malcolm Ruby                                            1.00             500.00/hr             500.00
   28/04/2016      Telephone conversation with B. Charron from Desjardins; drafting of email to M. Ruby on
                   same; working session in preparation of exhibits and affidavit; email to M. Ruby and G.
                   Cloutier on same.
                   Mila Badran                                             2.30             300.00/hr             690.00
   28/04/2016      Email exchange with Michael Goldberg re: preparation of materials to freeze accounts in
                   Magog; review note from Mila Badran re: call with Desjardins; call with Mila Badran re:
                   communications with Caisse DesJardins and preparation of material to obtain order
                   recognizing receivership in Canada;
                   Malcolm Ruby                                            0.50             500.00/hr             250.00
   30/04/2016      Receipt of emails from Desjardins; drafting of email to Desjardins; drafting of email to M. Ruby
                   and al. on same.
                   Mila Badran                                             0.30             300.00/hr             90.00
   30/04/2016      Review note from Mila Badran attaching email from Caisse Desjardins;
                   Malcolm Ruby                                            0.20             500.00/hr             100.00
   04/05/2016      Email exchange with Kim Mategrano re: temporary freeze and application to obtain
                   enforcement of U.S. receivership order;
                   Malcolm Ruby                                            0.30             500.00/hr             150.00
   05/05/2016      Review of the US proceedings and order; amendments made to the draft motion to come in
                   aid and assistance.
                   Geneviève Cloutier                                      3.50             425.00/hr             1,487.50
   05/05/2016      Email exchange with Guy Poitras re: application materials; review note from Kimberly
                   Mategrano re: application to enforce receivership order;
                   Malcolm Ruby                                            0.30             500.00/hr             150.00
   06/05/2016      Amendments made to the draft motion to come in aid; working session with Guy Poitras.
                   Geneviève Cloutier                                      2.80             425.00/hr             1,190.00
   06/05/2016      Review and modification of draft motion; Discussion with Geneviève Cloutier to comment draft
                   motion;
                   Guy Poitras                                             1.30             450.00/hr             585.00
   06/05/2016      Email exchange with Guy Poitras re: draft motion; review note from Guy Poitras attaching draft


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                   motion;
                   Malcolm Ruby                                            0.20             500.00/hr             100.00
   09/05/2016      Follow-up regarding Court proceedings in recognition of foreign judgment and receiver.
                   Mila Badran                                             0.30             300.00/hr             90.00
   09/05/2016      Review and modification of the draft motion;
                   Guy Poitras                                             0.40             450.00/hr             180.00
   09/05/2016      Review and revise draft motion materials; email exchanges with Alex MacFarlane re: draft
                   motion material; note to Guy Poitras re: draft motion materials and second review by Alex
                   MacFarlane; email exchanges with Guy Poitras and Alex MacFarlane re: call to discuss
                   motion materials; email exchanges with Guy Poitras and Alex MacFarlane re: draft motion
                   materials and call to discuss;
                   Malcolm Ruby                                            1.50             500.00/hr             750.00
   10/05/2016      Meeting with G. Cloutier for directions re recognition of an American receivership order;
                   meeting wit C. Belair re jurisprudential research.
                   Lysandre Laferrière                                     0.30             215.00/hr             64.50
   10/05/2016      Telephone conference call re: Motion and to discuss revisions;
                   Alex L. MacFarlane                                      0.40             500.00/hr             200.00
   10/05/2016      Telephone conference with Malcolm Ruby et al. to discuss conclusions sought by motion and
                   strategy;
                   Guy Poitras                                             0.50             450.00/hr             225.00
   10/05/2016      Email exchanges with Alex MacFarlane, Guy Poitras, and Genevieve Cloutier re: finalization
                   of motion; further edits to notice of motion; conference call with Genevieve Cloutier;
                   Malcolm Ruby                                            1.00             500.00/hr             500.00
   11/05/2016      Researched caselaw on the recognition of receivership orders made under US securities law
                   (at the request of L. Lafférière).
                   Caroline Bélair                                         1.60             175.00/hr             280.00
   11/05/2016      Meeting with C. Belair re research on the recognition of an American receivership order.
                   Lysandre Laferrière                                     0.20             215.00/hr             43.00
   11/05/2016      Further edits to motion to enforce orders; memo to Kim Mategrano re: execution of affidavit
                   and filing of motion ; review note from Kim Mategrano; review note from Kim Mategrano re:
                   Michael Goldberg's approval of motion materials;
                   Malcolm Ruby                                            0.40             500.00/hr             200.00
   12/05/2016      Researched caselaw on the recognition of receivership orders made under US securities law
                   (at the request of L. Lafférière).
                   Caroline Bélair                                         1.20             175.00/hr             210.00
   12/05/2016      Analysis of Canadian case law concerning the recognition of an American receivership order
                   rendered under securities law.
                   Lysandre Laferrière                                     0.80             215.00/hr             172.00
   12/05/2016      Review email exchanges between Kim Mategrano and Genevieve Cloutier re: execution of
                   affidavit; review email exchanges between Kim Mategrano and Genevieve Cloutier;
                   Malcolm Ruby                                            0.30             500.00/hr             150.00


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   16/05/2016      Telephone message from B. Charron of Desjardins; working session regarding status of
                   matter and motion.
                   Mila Badran                                             0.30             300.00/hr             90.00
   16/05/2016      Review note from Genevieve Cloutier to Kim Mategrano re: requirement for defendant
                   address information before filing of motion re: recognition of receivership;
                   Malcolm Ruby                                            0.10             500.00/hr             50.00
   17/05/2016      Exchange of emails with Ms Matregrano re: completion of the motion
                   Geneviève Cloutier                                      0.80             425.00/hr             340.00
   17/05/2016      Review email exchange between Kim Mategrano and Genevieve Cloutier re: provision of
                   information for individual respondents; review further email exchange between Kim Mategrano
                   and Genevieve Cloutier re: timing for presentation of motion before Québec Superior Court;
                   Malcolm Ruby                                            0.20             500.00/hr             100.00
   18/05/2016      Completion of the motion and exhibits, service and filing of the motion.
                   Geneviève Cloutier                                      1.50             425.00/hr             637.50
   18/05/2016      Finalization of motion;
                   Guy Poitras                                             0.30             450.00/hr             135.00
   18/05/2016      Review note from Guy Poitras re: address of individual respondent; review memo from
                   Genevieve Cloutier re: service of motion documents on U.S. counsel;
                   Malcolm Ruby                                            0.30             500.00/hr             150.00
   19/05/2016      Working session regarding notification of the motion; telephone message to B. Charron on
                   same; exchange of emails on same.
                   Mila Badran                                             0.60             300.00/hr             180.00
   19/05/2016      Drafting of a draft order re: motion for recognition, Review of case law, Preparation in view of
                   hearing of the motion for recognition.
                   Geneviève Cloutier                                      3.50             425.00/hr             1,487.50
   20/05/2016      Review of the order from the Court.
                   Mila Badran                                             0.40             300.00/hr             120.00
   20/05/2016      Attendance in Court re: motion for recognition of foreign orders.
                   Geneviève Cloutier                                      3.00             425.00/hr             1,275.00
   20/05/2016      Email exchanges with Guy Poitras and Genevieve Cloutier re: presentation of motion in
                   Montreal ; review order granted by Quebec Superior Court; review email from Genevieve
                   Cloutier to Caisse Desjardins; review email exchange between Kim Mategrano and Genevieve
                   Cloutier re: receiver access to frozen funds; review note from Michael Goldberg re: access to
                   funds;
                   Malcolm Ruby                                            0.60             500.00/hr             300.00
   02/06/2016      Working session regarding publication of the notice.
                   Mila Badran                                             0.20             300.00/hr             60.00
   02/06/2016      Preparation of notice to be published in the newspaper;
                   Guy Poitras                                             0.50             450.00/hr             225.00
   03/06/2016      Receipt of email from B. Charron re: questions on the file to be discussed.



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                   Mila Badran                                             0.10             300.00/hr             30.00
   06/06/2016      Exchange of emails with client re: signatories; telephone discussion with G. Cloutier on same;
                   telephone discussion with K. Matregrano; drafting of email to the latter re: instructions;
                   exchange of emails on same.
                   Mila Badran                                             1.40             300.00/hr             420.00
   06/06/2016      Email exchange with Kim Mategrano re: transfer of funds to receiver; review email from
                   Genevieve Cloutier; review note from Mila Badran;
                   Malcolm Ruby                                            0.30             500.00/hr             150.00
   07/06/2016      Telephone call at Desjardins re: change of signatories; drafting of email to K. Matregrano re:
                   update; telephone message from Desjardins.
                   Mila Badran                                             0.40             300.00/hr             120.00
   10/06/2016      Telephone conversation with B. Charron from Desjardins re: signatories; drafting of email to K.
                   Matregrano on same; exchange of emails with the latter.
                   Mila Badran                                             1.20             300.00/hr             360.00
   13/06/2016      Telephone call from Desjardins re: change of signatories.
                   Mila Badran                                             0.20             300.00/hr             60.00
   14/06/2016      Telephone message to L. Saunier from Desjardins; telephone conversation with the latter;
                   drafting of email to K. Matregrano in this regard; drafting of note to file.
                   Mila Badran                                             1.20             300.00/hr             360.00
   15/06/2016      Receipt of email from K. Matregrano re: follow-up with Desjardins; exchange of emails on
                   same; drafting of email to Desjardins on same; receipt of email from Desjardins re: account
                   transactions; drafting of note to file.
                   Mila Badran                                             1.10             300.00/hr             330.00
   16/06/2016      Telephone message from and to L. Saunier from Desjardins; receipt of emails from K.
                   Matregrano and Desjardins re: meeting; exchange of emails regarding same; telephone
                   conversation with L. Saunier from Desjardins re: process of signature; drafting of email to K.
                   Matregrano on same.
                   Mila Badran                                             1.40             300.00/hr             420.00
   17/06/2016      Receipt of email from Desjardins and draft appointment document; review of same; drafting of
                   email to K. Matregrano and sending of comments; exchange of emails with the latter.
                   Mila Badran                                             1.20             300.00/hr             360.00
   20/06/2016      Review of comments from Akerman on the draft document regarding change of signatories;
                   preparation of an amended version and compare version for Desjardins; drafting of email to
                   Desjardins and sending of same.
                   Mila Badran                                             0.90             300.00/hr             270.00
   21/06/2016      Receipt of email from Desjardins and revised version of the document re: change of
                   signatories; email to K. Matregrano on same; exchange of emails with K. Matregrano; drafting
                   of email to Desjardins and exchange of emails regarding same and meeting.
                   Mila Badran                                             1.30             300.00/hr             390.00
   22/06/2016      Receipt of confirmation of publication of notices.
                   Mila Badran                                             0.10             300.00/hr             30.00




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                                                                Errors and omissions excluded
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                      Total Fees for Professional Services                                                                                   $22,179.50



   SUMMARY OF FEES

   TK Name                                                                            Billed Rate                         Hours                   Amount
   Badran, Mila                                                                              300.00                         26.60                 7,980.00
   Bélair, Caroline                                                                          175.00                           2.80                 490.00
   Cloutier, Geneviève                                                                       425.00                         15.60                 6,630.00
   Laferrière, Lysandre                                                                      215.00                           1.30                 279.50
   MacFarlane, Alex L.                                                                       500.00                           0.40                 200.00
   Poitras, Guy                                                                              450.00                           3.00                1,350.00
   Ruby, Malcolm                                                                             500.00                         10.50                 5,250.00
                                                                       Total                                                60.20             $22,179.50




   DISBURSEMENTS
   Copying                                                                                                                                        $198.22
   Binding                                                                                                                                          $2.48
   Azimut Online Research                                                                                                                           $2.90
   WestlaweCarswell                                                                                                                               $609.18
   18/05/2016                    Bailiff Charges                                                                                                   $38.70
                                 Paquette Client#2191 Invoice#693938 Bill Date:20160519MAI
                                 Ex.Date:20160518 050718168      1MT      MOTION ;
                                 Plaintiff:MICHAEL GOLDBERG Defendant:ARIEL QUIROS
   18/05/2016                    Bailiff Charges - Taxable                                                                                         $68.89
                                 Paquette Client#2191 Invoice#693938 Bill Date:20160519MAI
                                 Ex.Date:20160518 050718168      1MT      MOTION ;
                                 Plaintiff:MICHAEL GOLDBERG Defendant:ARIEL QUIROS
   19/05/2016                    Bailiff Charges - Taxable                                                                                          $9.87
                                 Paquette Client#2191 Invoice#693938 Bill Date:20160519MAI
                                 Ex.Date:20160519 050718168      1MT      MOTION ;
                                 Plaintiff:MICHAEL GOLDBERG Defendant:ARIEL QUIROS
   19/05/2016                    Bailiff Charges - Taxable                                                                                          $9.87
                                 Paquette Client#2191 Invoice#693938 Bill Date:20160519MAI
                                 Ex.Date:20160519 050718168      1MT      MOTION ;
                                 Plaintiff:MICHAEL GOLDBERG Defendant:ARIEL QUIROS
   31/05/2016                    Court Costs - Taxable                                                                                              $6.95
                                 PAYEE: Les Services de Cour Paraguy Inc.; REQUEST#:
                                 1719682; DATE: 06/09/2016. - Déb. judiciaires du 02 mai au
                                 31 mai 2016. Obtenir une copie conforme du jugement rendu le
                                 20 mai 2016 par Me Chantal Flamand (3 pages).


                                                                     Terms: due upon receipt
                  Interest at the rate of 0.8% per annum will be charged on all amounts not paid within one month from the date of this invoice
                                                                  Errors and omissions excluded
                                                                                                                                                    page 7 of 9
Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 389 of
                                     422




                                                                                                                                 June 30, 2016
                                                                                                                            INVOICE: 18479888

   16/06/2016                  Bailiff Charges - Taxable                                                                                        $1,009.45
                               Paquette Client#2191 Invoice#699356 Bill Date:20160621JUIN
                               Ex.Date:20160616 AV       AVIS ; Plaintiff:DANS LA FAILLITE
                               DE: JAY PEAK HOTEL SUITES L.P. Defendant:
                               Total Disbursements                                                                                              $1,956.51




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                Interest at the rate of 0.8% per annum will be charged on all amounts not paid within one month from the date of this invoice
                                                                Errors and omissions excluded
                                                                                                                                                    page 8 of 9
Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 390 of
                                     422




                                                                                                                               June 30, 2016
                                                                                                                          INVOICE: 18479888

   Remittance Copy
   Client:                      217464 Goldberg, Michael I.
   Matter:                      T1008517
   RE:                          SEC - Jay Peak, et al.
   Amount Due (USD):            $24,136.01


   PAYMENT BY CHEQUE:

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                                                                 PO Box 466, STN D
                                                                 Ottawa, ON K1P 1C3
                                                                 Canada

   PAYMENT BY WIRE TRANSFER:

     Pay by Swift MT 103 Direct to:
     SWIFTCODE:                                                  CIBCCATT

     BENEFICIARY BANK:                                           Canadian Imperial Bank of Commerce
                                                                 119 Sparks Street, Ottawa, ON K1P 5B5

     TRANSIT NUMBER:                                             0010-00006

     BENEFICIARY ACCOUNT NAME:                                   Gowling WLG (Canada) LLP
                                                                 160 Elgin Street, Suite 2600, Ottawa ,ON K1P 1C3

     BENEFICIARY ACCOUNT NUMBER(S):                              CDN Account: 41-02916
                                                                 USD Account: 02-21015

     US Corresponding Bank for US Dollar wires:
     Wells Fargo Bank, N.A. BIC: PNBPUS3NNYC - ABA:026005092

     * if paying by wire or EFT please e-mail the remittance details to payments.ca@gowlingwlg.com




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                                                              Errors and omissions excluded
                                                                                                                                              page 9 of 9
 Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 391 of
                                      422                                                      GOWLING WLG
Invoice
      Michael I. Goldberg                                                                                                  September 29, 2016
      Receiver for Jay Peak Inc. and Related Entities                                                                      INVOICE: 18531386
      c/o Akerman LLP
      350 East Las Olas Blvd., Suite 1600
      Ft. Lauderdale FL 33301-2999                                                    ALL AMOUNTS STATED IN USD FUNDS
      USA

      Our Matter:        T1008517 / 217464
      RE:                SEC - Jay Peak, et al.




      Fees for Professional Services                                                                                                               $450.00

      Disbursements                                                                                                                                      0.60
      Total Disbursements                                                                                                                                0.60

      Total Fees and Disbursements                                                                                                                   450.60
      Total Invoice                                                                                                                                  450.60

      Please remit balance due:                                                                         In U.S. Dollars                            $450.60




     Malcolm Ruby               Signed for & on behalf of Gowling WLG (Canada) LLP



 Our services are provided in accordance with our Standard Terms of Business (www.qowlinciwlq.com/TermsofBusiness), subject to any other
 written engagement agreement entered into between the parties.

 GOWLING WLG (CANADA) LLP                                                         Cowling WLG (Canada) LLP is a member of Cowling WLG. an
                                                                                  international law firm which consists of independent and autonomous
 1 First Canadian Place, 100 King Street West,          T +1 (416) 862 7525       entities providing services around the world. Our structure is explained in
 Suite 1600, Toronto, Ontario, M5X 1G5, Canada          gowlingwlg.com            more detail at www oowlinewlo.com/leoal



                                                                                                                                              page 1 of 3
Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 392 of
                                     422                                                (u COWLING WLG
                                                                                                                              September 29, 2016
                                                                                                                              INVOICE: 18531386

   Goldberg, Michael I.
   Our Matter: T1008517
   SEC - Jay Peak, et al.

   PROFESSIONAL SERVICES

   09/05/2016       Email to M. Ruby re: Motion;
                    Alex L. MacFarlane                                      0.20             500.00/hr             100.00
   09/05/2016       Review of revised Notice of Motion;
                    Alex L. MacFarlane                                      0.40             500.00/hr             200.00
   12/08/2016       Receipt of email from K. Matregrano re: checks rejected.
                    Mila Badran                                             0.20             300.00/hr             60.00
   15/08/2016       Drafting of email to K. Matregrano re: response from Desjardins.
                    Mila Badran                                             0.20             300.00/hr             60.00
   16/08/2016       Receipt of email from K. Matregrano.
                    Mila Badran                                             0.10             300.00/hr             30.00

                    Total Fees for Professional Services                                                                                        $450.00



  SUMMARY OF FEES

  TK Name                                                                           Billed Rate                          Hours                  Amount
  Badran, Mila                                                                              300.00                          0.50                 150.00
  MacFarlane, Alex L.                                                                       500.00                          0.60                 300.00
                                                                      Total                                                 1.10                $450.00



  DISBURSEMENTS
  Copying                                                                                                                                        $0.60
                               Total Disbursements                                                                                               $0.60




                                                                   Terms: due upon receipt
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                                                                Errors and omissions excluded
                                                                                                                                                 page 2 of 3
Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 393 of
                                     422                                                            COWLING WLG

                                                                                                                           September 29, 2016
                                                                                                                           INVOICE: 18531386

   Remittance Copy
   Client:                       217464 Goldberg, Michael I.
   Matter:                       T1008517
   RE:                           SEC - Jay Peak, et al.
   Amount Due (USD):             $450.60


   PAYMENT BY CHEQUE:

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     Remit to:                                                    Gowling WLG (Canada) LLP
                                                                  PO Box 466, STN D
                                                                  Ottawa, ON K1P 1C3
                                                                  Canada

  PAYMENT BY WIRE TRANSFER:

     Pay by Swift MT 103 Direct to:
     SWIFTCODE:                                                   CIBCCATT

     BENEFICIARY BANK:                                            Canadian Imperial Bank of Commerce
                                                                  119 Sparks Street, Ottawa, ON K1P 5B5

     TRANSIT NUMBER:                                              0010-00006

     BENEFICIARY ACCOUNT NAME:                                    Gowling WLG (Canada) LLP
                                                                  160 Elgin Street, Suite 2600, Ottawa ,ON K1P 1C3

     BENEFICIARY ACCOUNT NUMBER(S):                              CDN Account: 41-02916
                                                                 USD Account: 02-21015

     US Corresponding Bank for US Dollar wires:
     Wells Fargo Bank, N.A. BIC: PNBPUS3NNYC - ABA:026005092

     * if paying by wire or EFT please e-mail the remittance details to payments.caAqowlinciwIci.com




                                                                 Terms: due upon receipt
              Interest at the rate of 0.8% per annum will be charged on all amounts not paid within one month from the date of this invoice
                                                              Errors and omissions excluded
                                                                                                                                              page 3 of 3
Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 394 of
                                     422




                      EXHIBIT 4(e)
                                                                    Klasko Law Immigration Law Partners, LLP
  Case 1:16-cv-21301-DPG Document 241 Entered on FLSD PHILADELPHIA
                                                      Docket 11/22/2016
                                                                     NEW Page
                                                                         YORK 395 of
                                       422



                                                                 CLIENT NO.:          507624
Via Email                                                        MATTER NO.:          417927
                                                                 INVOICE NO.:         44602
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:        October 13, 2016
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                               Hours         Charge

IXP         Sep 27/16     Drafted memorandum of conference call with Jay Peak            0.30        49.50
                          Team regarding Lodge and Townhouses

JAD         Sep 26/16     Conference call and meeting                                    0.30       148.50

KCS         Sep 26/16     Strategy and catch up call for Lodge and Townhouse             0.30       148.50

KCS         Sep 21/16     call to disucss RFE strategy                                   0.20        99.00

HRK         Sep 26/16     Review RFE                                                     0.20        99.00

HRK         Sep 26/16     Prepare for conference call; participate in conference         0.30       148.50
                          call; internal meeting post- conference call
                                                                                ______________________
                                                                                     1.60    $693.00
                         Plus: Miscellaneous costs (express delivery, long distance,          $27.72
                         telephone, photocopy, fax)(4% of fee)
                                                                                        ______________
                 Invoice Total:                                                                 $720.72

                                                                                        ________________
                 Total due presently:                                                             $720.72
                                                                                         ===============
Jay Peak Lodge & Townhouses, LP                                          October 13, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 396 of
Invoice #:   44602                         422                          Page No.        2



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  FEDERAL TAX ID NO.: XX-XXXXXXX



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                                           Philadelphia, PA 19103
                                                                       Klasko Law Immigration Law Partners, LLP
  Case 1:16-cv-21301-DPG Document 241 Entered on FLSD PHILADELPHIA
                                                      Docket 11/22/2016
                                                                     NEW Page
                                                                         YORK 397 of
                                       422



                                                                     CLIENT NO.:         507624
Via Email                                                            MATTER NO.:         417926
                                                                     INVOICE NO.:        44604
Michael Goldberg as receiver of Jay Peak, et al.
                                                                     INVOICE DATE:       October 13, 2016
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                              Hours         Charge

IXP         Sep 19/16     Call with Dave McNeil, Heather Whipkey and Lisa                   1.00       165.00
                          Petraglia re Jay Peak

IXP         Sep 26/16     Meeting with Jay Peak Team regarding Stateside.                   1.10       181.50

IXP         Sep 27/16     Drafted memorandum of the conference call with Jay                0.80       132.00
                          Peak Team regarding Stateside.

KCS         Sep 29/16     call with Jay Peak and Receivership team                          0.30       148.50

JAD         Sep 26/16     Stateside conference call, review before call                     1.10       544.50

JAD         Sep 29/16     Klasko meeting re Jay Peak and conference call                    0.30       148.50

JAD         Sep 19/16     Review Jay Peak RFE for Stateside/ review HRK email               0.30       148.50


JAD         Sep 19/16     Call with Dave McNeil, Heather Whipkey and Lisa                   0.80       396.00
                          Petraglia re Jay Peak, add Karuna to sharefile

KCS         Sep 19/16     call re 829 RFE with Heather and team, and post-call              1.30       643.50
                          emails/meeting

KCS         Sep 19/16     memo to team                                                      0.30       148.50

KCS         Sep 26/16     strategy and catch up call for Stateside                          1.10       544.50

KCS         Sep 21/16     strategy call to discuss RFE                                      0.50       247.50

DBL         Sep 26/16     Call with Heather and receiver, meeting post call                 1.10       544.50
Jay Peak Hotel Suites Stateside, LP                                      October 13, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 398 of
Invoice #:   44604                         422                          Page No.        2

  IXP       Sep 29/16    Memorandum of the Conference Call w/ Jay Peak Team       0.20       33.00
                         on September 29, 2016.

  DBL       Sep 19/16    call re Stateside RFE                                    0.80      396.00

  HRK       Sep 16/16    Prepare list of information needed for Stateside         0.60      297.00

  HRK       Sep 19/16    Revise list of documents; email re: documents needed;    0.30      148.50
                         review RFE

  HRK       Sep 19/16    Conference call (Heather, Dave, Lisa) re: RFE and        0.80      396.00
                         documents/ information needed

  HRK       Sep 19/16    Email Goldberg re: documents and information for RFE     0.30      148.50
                         response; responding to Goldberg emails

  HRK       Sep 20/16    Memo of Stateside call                                   0.10       49.50

  HRK       Sep 26/16    Prepare for conference call; participate in conference   1.10      544.50
                         call; internal meeting post- conference call

  HRK       Sep 29/16    Conference call re: info to respond to RFE               0.30      148.50

  DBL       Sep 29/16    team call                                                0.30      148.50
                                                                               ______________________
                                                                                    14.80 $6,303.00
                        Plus: Miscellaneous costs (express delivery, long distance,         $246.18
                        telephone, photocopy, fax)(4% of fee)
                                                                                  ______________
                 Invoice Total:                                                         $6,549.18

                                                                                  ________________
                 Total due presently:                                                    $6,549.18
                                                                                   ===============




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                                                  Suite 2600
                                            Philadelphia, PA 19103
Jay Peak Hotel Suites Stateside, LP                                      October 13, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 399 of
Invoice #:   44604                         422                          Page No.        3



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  Case 1:16-cv-21301-DPG Document 241 Entered on FLSD PHILADELPHIA
                                                      Docket 11/22/2016
                                                                     NEW Page
                                                                         YORK 400 of
                                       422



                                                                 CLIENT NO.:            507624
Via Email                                                        MATTER NO.:            417882
                                                                 INVOICE NO.:           44605
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:          October 13, 2016
JayPeak Receivership




Re:    General Immigration                                                             Hours         Charge

IXP         Sep 21/16     Reviewed documents received from Client, drafted                 1.50       247.50
                          memo of the conference call, added persons in to the
                          Share File Folder,
IXP         Sep 21/16     Call with Joseph Rebak, Esq. and Naim Surgeon, Esq.              1.00       165.00

KCS         Sep 29/16     internal meeting following conf call                             0.20        99.00

JAD         Sep 27/16     Review notes from call for Memo                                  0.10        49.50

JAD         Sep 29/16     Klasko Jay Peak meeting and conference call                      0.20        99.00

JAD         Sep 29/16     Emails re call with forsenic accountant, emails with             0.20        99.00
                          Karuna re memos and doc storage

JAD         Sep 21/16     Jay Peak read memos from HRK and agenda                          1.00       495.00

KCS         Sep 23/16     Reviewing memo/sharefile/prepping emails                         0.70       346.50

KCS         Sep 25/16     Jay Peak spreadsheet/emails etc/ meeting with Ron                4.00     1,980.00

KCS         Sep 26/16     checking charts, emails, sharefile                               0.40       198.00

KCS         Sep 26/16     meeting with HRK/DBL/JDN/IP for Jay Peak                         0.80       396.00

KCS         Sep 21/16     Call prep, emails, organizing docs/charts                        0.30       148.50

DBL         Sep 27/16     Jay Peak emails                                                  0.10        49.50
General Immigration                                                      October 13, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 401 of
Invoice #:  44605                          422                          Page No.        2

  IXP        Sep 29/16    HRK/ DBL/ JAD/KCS/IP Jay Peak Meeting.                    0.20        33.00

  HRK        Sep 15/16    Telephone Goldberg, McNeil & Whipkey re: all Jay          0.40     198.00
                          Peak projects; memo of call

  HRK        Sep 21/16    Prepare agenda for conference call with Rebak,            0.10        49.50
                          Surgeon

  HRK        Sep 21/16    Conference with Klasko Jay Peak Team; conference call     1.00     495.00
                          with Rebak and Surgeon

  HRK        Sep 26/16    Review all matters; prepare agenda for call               0.30     148.50

  HRK        Sep 29/16     Prepare for Conference call; internal meeting following      0.40   198.00
                           conference call
                                                                                 ______________________
                                                                                      12.90 $5,494.50
                          Plus: Miscellaneous costs (express delivery, long distance,         $218.46
                          telephone, photocopy, fax)(4% of fee)
                                                                                   ______________
                  Invoice Total:                                                         $5,712.96

                                                                                   ________________
                  Total due presently:                                                     $5,712.96
                                                                                    ===============




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  Case 1:16-cv-21301-DPG Document 241 Entered on FLSD PHILADELPHIA
                                                      Docket 11/22/2016
                                                                     NEW Page
                                                                         YORK 402 of
                                       422



                                                                CLIENT NO.:          507624
Via Email                                                       MATTER NO.:          417882
                                                                INVOICE NO.:         44832
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:        November 1, 2016
JayPeak Receivership




Re:    General Immigration                                                          Hours         Charge

KCS         Oct 07/16     Emails/organizing/meetings                                    0.50       247.50

KCS         Oct 18/16     Coordinating RFE calls                                        0.10        49.50

KCS         Oct 18/16     Updating charts and investor information for Stateside        1.00       495.00
                          and Lodge and Townhouse, coordinating
                          call/meetings/preparing to do
KCS         Oct 19/16     Call with Receiver/Kapila team/Heather to discuss RFE         0.20        99.00
                          and other issues

KCS         Oct 20/16     Memo of conference call, including follow up matters          1.50       742.50

KCS         Oct 27/16     Prepping call memo and updating binder                        0.70       346.50

HRK         Oct 07/16     Emails with receiver                                          0.10        49.50

HRK         Oct 07/16     Telephone economist                                           0.10        49.50

HRK         Oct 08/16     Telephone economist                                           0.40       198.00

HRK         Oct 10/16     Telephone economist                                           0.40       198.00

HRK         Oct 11/16     Email receiver re: economists                                 0.10        49.50

HRK         Oct 25/16     Review economist proposal                                     0.10        49.50

HRK         Oct 25/16     Prepare agenda for group call                                 0.10        49.50
General Immigration                                                     November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 403 of
Invoice #:  44832                          422                          Page No.       2

  HRK        Oct 25/16    Email Barnhart                                            0.10        49.50

  HRK        Oct 28/16    Reply to Goldberg email                                   0.10        49.50
                                                                                 ______________________
                                                                                      5.50 $2,722.50
                          Plus: Miscellaneous costs (express delivery, long distance,         $108.90
                          telephone, photocopy, fax)(4% of fee)
                                                                                   ______________
                  Invoice Total:                                                         $2,831.40

                                                                                   ________________
                  Total due presently:                                                     $2,831.40
                                                                                    ===============




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                                                                   Klasko Law Immigration Law Partners, LLP
  Case 1:16-cv-21301-DPG Document 241 Entered on FLSD PHILADELPHIA
                                                      Docket 11/22/2016
                                                                     NEW Page
                                                                         YORK 404 of
                                       422



                                                                CLIENT NO.:          507624
Via Email                                                       MATTER NO.:          417927
                                                                INVOICE NO.:         44833
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:        November 1, 2016
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                              Hours         Charge

KCS         Oct 05/16     Call with Receiver's office regarding USCIS RFE               0.20        99.00
                          extension request

KCS         Oct 18/16     Reviewing information and RFE                                 0.50       247.50

KCS         Oct 19/16     Reviewing RFE and preparing document list                     1.20       594.00

KCS         Oct 19/16     Call with Receiver/Kapila team/Heather to discuss RFE         0.30       148.50


IXP         Oct 25/16     Meeting w/ HRK, DBL, JAD and KCS regarding                    0.30        49.50
                          Lodge & Townhouses

KCS         Oct 25/16     Team meeting                                                  0.30       148.50

KCS         Oct 25/16     Creating list of documents we received                        0.40       198.00

IXP         Oct 26/16     Conference call with Jay Peak team regarding Lodge &          0.20        99.00
                          Townhouses.

KCS         Oct 26/16     Jay Peak meeting with HRK                                     1.00       495.00

KCS         Oct 26/16     Working RFE docs - path of of funds                           3.60     1,782.00

KCS         Oct 26/16     Call with receiver, JayPeak and Kapila teams                  0.30       148.50

JAD         Oct 05/16     Conference call, discuss Lodge and Townhouses                 0.10        49.50

JAD         Oct 19/16     Conference call and meeting to discuss Lodge and              0.30       148.50
                          Townhouses
Jay Peak Lodge & Townhouses, LP                                         November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 405 of
Invoice #:   44833                         422                          Page No.       2

  JAD       Oct 25/16   Meeting and Conference call re Lodge and Townhouses           0.30    148.50


  JAD       Oct 26/16   Meeting and Conference call re Lodge and Townhouses           0.30    148.50


  JAD       Oct 26/16   Finish Lodge and Townhouses I-829 template review for         0.70    346.50
                        RFE response

  JAD       Oct 27/16   Meet with HRK and Karuna re Townhouses RFE                    0.10     49.50
                        response.

  JAD       Oct 27/16   Lodge and Townhouses RFE response template                    3.30   1,633.50

  HRK       Oct 05/16   Prepare for and participate in conference call                0.10     49.50

  HRK       Oct 10/16   Telephone 3 attorneys representing investors                  0.50    247.50

  DBL       Oct 05/16   Meeting with Ron, Jessica, Karuna, Ioana, Call with           0.10     49.50
                        Melissa, Heather, et al

  DBL       Oct 07/16   Revise letter from receiver, draft extension request, email   1.50    742.50
                        USCIS

  DBL       Oct 08/16   Emails to attorneys with RFEs due re strategy, extension      0.40    198.00
                        request

  HRK       Oct 25/16   Conference DL, KC, JD, IP                                     0.30    148.50

  HRK       Oct 25/16   Review and analyze RFE                                        0.20     99.00

  HRK       Oct 26/16   Review documents provided by Heather & Kapila                 0.20     99.00

  HRK       Oct 26/16   Conference call Heather, Kapila, Akerman                      0.30    148.50

  HRK       Oct 26/16   Review economic reports; conference KC                        0.20     99.00

  HRK       Oct 27/16   Conference re: RFE response strategy                          0.10     49.50

  HRK       Oct 27/16   Conference re: proof of $11M payments                         0.10     49.50



                                  Klasko Immigration Law Partners, LLP
                                           1601 Market Street
                                               Suite 2600
                                         Philadelphia, PA 19103
Jay Peak Lodge & Townhouses, LP                                         November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 406 of
Invoice #:   44833                         422                          Page No.       3

  HRK       Oct 27/16    Email Jianming Shen re: RFE response                     0.10       49.50

  HRK       Oct 28/16    Review Kapila letter & exhibit                           0.10       49.50

  HRK       Oct 28/16    Review & revise template for RFE response                0.60      297.00

  DBL       Oct 19/16    Meet with Karuna and Jessica, Team call                  0.30      148.50

  DBL       Oct 27/16    Review RFE response                                      0.30      148.50

  DBL       Oct 28/16    Review Kapila letter and exhibits, emails                0.50      247.50

  DBL       Oct 26/16    Review Kapila report, email team                         0.30      148.50

  DBL       Oct 26/16    Meet with Karuna re Lodge & Townhouses                   0.20       99.00

  DBL       Oct 26/16    Call with Heather re Lodge & Townhouses                  0.30      148.50

  DBL       Oct 25/16    Meet with Ron, Jessica, Karuna, Ioana                    0.30      148.50

  DBL       Oct 25/16    Email USCIS re reissuance of the RFEs                    0.20       99.00
                                                                               ______________________
                                                                                    20.60 $10,098.00
                        Plus: Miscellaneous costs (express delivery, long distance,          $403.92
                        telephone, photocopy, fax)(4% of fee)
                                                                                 ______________
                 Invoice Total:                                                       $10,501.92

                                                                                 ________________
                 Total due presently:                                                    $10,501.92
                                                                                  ===============




                                  Klasko Immigration Law Partners, LLP
                                           1601 Market Street
                                               Suite 2600
                                         Philadelphia, PA 19103
Jay Peak Lodge & Townhouses, LP                                         November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 407 of
Invoice #:   44833                         422                          Page No.       4



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                                                                   Klasko Law Immigration Law Partners, LLP
  Case 1:16-cv-21301-DPG Document 241 Entered on FLSD PHILADELPHIA
                                                      Docket 11/22/2016
                                                                     NEW Page
                                                                         YORK 408 of
                                       422



                                                                 CLIENT NO.:         507624
Via Email                                                        MATTER NO.:         417928
                                                                 INVOICE NO.:        44834
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:       November 1, 2016
JayPeak Receivership




Re:    Jay Peak Biomedical Research Park, LP                                        Hours         Charge

KCS         Oct 03/16     Prepare ANC Bio spreadsheet                                   1.90       940.50

KCS         Oct 11/16     Call with Larry Behar                                         0.40       198.00

KCS         Oct 11/16     Updating investor list and status                             1.20       594.00

KCS         Oct 12/16     Memo for call of 10/11                                        0.30       148.50

KCS         Oct 12/16     Updating ANC bio chart                                        0.80       396.00

IXP         Oct 13/16     Updated the I-829 Form for ANC Bio.                           0.20        33.00

KCS         Oct 13/16     Updating chart                                                0.50       247.50

KCS         Oct 11/16     Jay Peak call with Receiver and team                          0.80       396.00

KCS         Oct 14/16     Updating investor list                                        0.50       247.50

IXP         Oct 14/16     Reviewed new documents; updated exhibits, I-829               3.90       643.50
                          Template and Index.

IXP         Oct 17/16     QC`ed the package for the I-829 Template.                     0.60        99.00

IXP         Oct 12/16     Call w/ Heather and JAD regarding structuring the             0.80       132.00
                          expenditure backup for the ANC Bio I-829 Template.

IXP         Oct 12/16     Call w/ JAD regarding I-829 Template, reviewed                3.60       594.00
                          offering documents and bank statements, drafted the
Jay Peak Biomedical Research Park, LP                                   November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 409 of
Invoice #:   44834                         422                          Page No.       2

                        flow of funds part of the I-829 Template Memo,
                        generated the I-829 Form.

  IXP       Oct 11/16   Call w/ Jay Peak team regarding ANC Bio.                  0.40    66.00

  IXP       Oct 11/16   Organized documents, extracted and created exhibits for   2.90   478.50
                        the ANC Bio I-829 Template.

  IXP       Oct 18/16   Updated the I-829 Template Memo, exhibits and the         0.80   132.00
                        package.

  IXP       Oct 25/16   Meeting w/ HRK, DBL, JAD and KCS regarding ANC            0.30    49.50
                        Bio.

  KCS       Oct 25/16   Team meeting                                              0.30   148.50

  IXP       Oct 26/16   Conference call with Jay Peak team regarding ANC Bio,     0.40    66.00
                        updated the I-829 Form, e-mails w/ Heather Whipkey.


  IXP       Oct 27/16   Updated the I-829 Form with new information, e-mailed     0.30    49.50
                        Heather W.

  JAD       Oct 03/16   Emails to Heather and DBL re documents and                1.10   544.50
                        information needed for ANC Bio template, review
                        documents for ANC Bio
  JAD       Oct 03/16   Review docs ahead to prep for call with Heather re ANC    0.30   148.50
                        Bio I-829, brief call

  JAD       Oct 05/16   Review information from Ioana re ANC Bio template         0.70   346.50

  JAD       Oct 05/16   Document review, meet with HRK and KCS conference         1.20   594.00
                        call

  JAD       Oct 06/16   Call with Heather re ANC Bio documentation for I-829      0.40   198.00
                        template

  JAD       Oct 13/16   Call with Heather re ANC bio documents                    0.10    49.50

  JAD       Oct 13/16   Review documents, draft ANC Bio template                  3.70     0.00

  JAD       Oct 12/16   Review documents and draft ANC Bio template               2.00   990.00



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                                        Philadelphia, PA 19103
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Invoice #:   44834                         422                          Page No.       3

  JAD       Oct 17/16   Emails with Larry Behar re template                          0.10     16.50

  JAD       Oct 17/16   Add letter from Lisa to template, update template            0.50    247.50

  JAD       Oct 17/16   Email to Heather and receiver re I-829 template, update      0.40    198.00
                        template

  JAD       Oct 18/16   Email to Heather re I-829 template                           0.10     49.50

  JAD       Oct 18/16   Calll with Ioana re ANC Bio template, Call with Heather      0.30    148.50
                        re ANC Bio template and moving forward

  JAD       Oct 18/16   Call from HRK re ANC Bio status                              0.10     49.50

  JAD       Oct 25/16   ANC Bio email to Heather re template                         0.10     49.50

  JAD       Oct 25/16   Meeting and Conference call                                  0.30    148.50

  JAD       Oct 26/16   Meeting and Conference call re ANC Bio                       0.10     49.50

  JAD       Oct 19/16   Conference call and meeting to discuss ANC Bio               0.30    148.50

  JAD       Oct 25/16   Conference call and meeting re ANC Bio                       0.30    148.50

  JAD       Oct 28/16   Preparation of RFE response, read email from Kapilla,        2.50   1,237.50
                        update RFE template, email Mr. Shen.

  JAD       Oct 31/16   ANC Bio Economic report call with Barhnart                   0.40    198.00

  JAD       Oct 14/16   Emails with Michael, draft letter for receiver, emails and   7.00   3,465.00
                        call with Heather. draft template, update exhibits, call
                        with Dan and Ron re economist and economic report,
                        review economic report, emails with Heather.

  JAD       Oct 16/16   Review letter from Lisa, update template, review and         2.30   1,138.50
                        finalize exhibits and draft of template, email to DBL for
                        review.
  IXP       Oct 07/16   Memo of the Jay Peak Call dated October 5, 2016              1.10    181.50
                        regarding ANC Bio.


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Invoice #:   44834                         422                          Page No.       4

  IXP       Oct 06/16   Call w/ Heather W. and JAD regarding ANC Bio.               0.30    49.50

  IXP       Oct 05/16   Reviewed Jay Peak Biomedical Research Park LP bank          4.00   660.00
                        statements - tracked the flow of funds from escrow to the
                        Citi Private /Merrill Lynch /Raymond James and from
                        this 3 account to the People’s United operation account.
                        Reviewed the list of investor, tax returns. E-mailed JAD
                        with a summary of the available information on ANC
                        Bio.

  IXP       Oct 05/16   Meeting w/ HRK/DBL/KCS/JAD regarding ANC Bio.               1.30   214.50
                        Call w/ Jay Peak Team regarding ANC Bio.

  IXP       Oct 03/16   Call w/ JAD and Heather W. regarding ANC Bio.               0.20    33.00

  JAD       Oct 05/16   Email to Heather for call tomorrow re ANC Bio               0.10    49.50

  JAD       Oct 12/16   Call with a Heather re documents for ANC Bio, call          1.00   495.00
                        with Ioana re ANC bio prep, review documents.

  JAD       Oct 17/16   Heather call and switch exhibits, updates, email Behar      0.30   148.50

  HRK       Oct 05/16   Prepare for and participate in conference call              1.20   594.00

  HRK       Oct 10/16   Review Whipkey email and supporting expenditure             0.20    99.00
                        documents; email Whipkey

  HRK       Oct 10/16   Review Kapila flow of funds summary                         0.10    49.50

  HRK       Oct 10/16   Review Petraglia RIMS analysis                              0.10    49.50

  HRK       Oct 11/16   Conference KP re: investor list and jobs                    0.10    49.50

  HRK       Oct 11/16   Conference re: I-829s                                       0.60   297.00

  HRK       Oct 11/16   Telephone Behar (lawyer for 1st investor)                   0.20    99.00

  HRK       Oct 13/16   Conference re: 829 Template                                 0.10    49.50

  HRK       Oct 14/16   Various telephone conferences re: economic report           0.50   247.50

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Jay Peak Biomedical Research Park, LP                                   November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 412 of
Invoice #:   44834                         422                          Page No.       5

  DBL       Oct 05/16   Meeting with Ron, Jessica, Karuna, Ioana, Call with       1.20     594.00
                        Melissa, Heather, et al

  DBL       Oct 14/16   Review econ report, call with Jessica                     1.60     792.00

  DBL       Oct 14/16   Call with Ron, email receiver re replacing economist      0.30     148.50

  DBL       Oct 14/16   Call with Ron and Jessica                                 0.30     148.50

  JAD       Oct 13/16   Review and organize exhibits, emails re template          1.00        0.00

  HRK       Oct 25/16   Conference DL, KC, JD, IP                                 0.30     148.50

  HRK       Oct 26/16   Conference call Heather, Kapila, Akerman                  0.10      49.50

  HRK       Oct 26/16   Email Heather re: missing investor                        0.10      49.50

  HRK       Oct 27/16   Email Jerry Cheng re: 829 template                        0.10      49.50

  HRK       Oct 31/16   Telephone Barnhart (economist)                            0.40     198.00

  DBL       Oct 19/16   Meet with Karuna and Jessica, Team call                   0.30     148.50

  DBL       Oct 26/16   Team call                                                 0.10      49.50

  DBL       Oct 31/16   Call with Ron, Jessica, Scott Barnhart                    0.40     198.00

  DBL       Oct 25/16   Meet with Ron, Jessica, Karuna, Ioana                     0.30     148.50
                                                                               ______________________
                                                                                    63.10 $21,912.00
                        Plus: Miscellaneous costs (express delivery, long distance,          $876.48
                        telephone, photocopy, fax)(4% of fee)
                                                                                 ______________
                 Invoice Total:                                                       $22,788.48




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Jay Peak Biomedical Research Park, LP                                   November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 413 of
Invoice #:   44834                         422                          Page No.       6
                                                                                  ________________
                  Total due presently:                                                  $22,788.48
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                                                      Docket 11/22/2016
                                                                     NEW Page
                                                                         YORK 414 of
                                       422



                                                                CLIENT NO.:         507624
Via Email                                                       MATTER NO.:         417926
                                                                INVOICE NO.:        44835
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       November 1, 2016
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                         Hours         Charge

KCS         Oct 05/16     Calls and emails with Naim                                   0.20        99.00

KCS         Oct 05/16     Call with Receiver's office regarding USCIS RFE              0.30       148.50
                          extension request

KCS         Oct 07/16     Prepping G-28/emails/meeting with Dan                        0.30       148.50

KCS         Oct 13/16     Call and email to Naim re USCIS RFE requests                 0.10        49.50

KCS         Oct 13/16     Reviewing RFE docs provided/meeting with Dan                 1.20       594.00

KCS         Oct 14/16     Stateside investor list                                      0.30       148.50

IXP         Oct 11/16     Call w/ Jay Peak team regarding Stateside                    0.20        33.00

KCS         Oct 19/16     Call with Receiver/Kapila team/Heather to discuss RFE        0.30       148.50


IXP         Oct 25/16     Reviewed available documents received for Stateside;         1.90       313.50
                          summarized information.

IXP         Oct 25/16     Meeting w/ HRK, DBL, JAD and KCS regarding                   0.30        49.50
                          Stateside.

KCS         Oct 25/16     Team meeting                                                 0.30       148.50

IXP         Oct 26/16     Reviewed the list of needed documents, conference call       0.90       148.50
                          with Jay Peak team regarding Stateside.

JAD         Oct 05/16     Conference call, discuss Stateside                           0.20        99.00
Jay Peak Hotel Suites Stateside, LP                                     November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 415 of
Invoice #:   44835                         422                          Page No.       2

  JAD       Oct 25/16   Call with Ioana re documents to review                        0.10    49.50

  JAD       Oct 26/16   Meetng and conference call re Stateside                       0.80   396.00

  JAD       Oct 11/16   Conference Call with team                                     0.20    99.00

  IXP       Oct 07/16   Memo of the Jay Peak Call dated October 5, 2016               0.20    33.00
                        regarding Stateside.

  IXP       Oct 05/16   Meeting w/ HRK/DBL/KCS/JAD regarding Stateside.               0.40    66.00
                        Call w/ Jay Peak Team regarding Stateside.

  JAD       Oct 19/16   Conference call and meeting to discuss Stateside              0.30   148.50

  HRK       Oct 05/16   Prepare for and participate in conference call                0.20    99.00

  HRK       Oct 07/16   Review request to USICS to reissue RFE                        0.30   148.50

  HRK       Oct 13/16   Reply to Rebak email re: court intervention on RFE            0.10    49.50

  DBL       Oct 05/16   Review letter from receiver                                   0.20    99.00

  DBL       Oct 07/16   Revise letter from receiver, draft extension request, email   1.60   792.00
                        USCIS

  DBL       Oct 08/16   Emails to attorneys with RFEs due re strategy, extension      0.50   247.50
                        request

  DBL       Oct 14/16   Call with Anthony Korda re investor RFEs and                  0.40   198.00
                        extension

  HRK       Oct 25/16   Conference DL, KC, JD, IP                                     0.30   148.50

  HRK       Oct 25/16   Review contractor's estimate                                  0.10    49.50

  HRK       Oct 26/16   Review documents provided by Heather & Kapila                 0.40   198.00

  HRK       Oct 26/16   Review economic report                                        0.10    49.50



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Jay Peak Hotel Suites Stateside, LP                                     November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 416 of
Invoice #:   44835                         422                          Page No.       3

  HRK       Oct 26/16    Conference call Heather, Kapila, Akerman                 0.80     396.00

  HRK       Oct 27/16    Email Korda & Stark re: RFEs                             0.20      99.00

  HRK       Oct 28/16    Review follow up items                                   0.10      49.50

  DBL       Oct 19/16    Meet with Karuna and Jessica, Team call                  0.30     148.50

  DBL       Oct 26/16    Team call                                                0.80     396.00

  DBL       Oct 25/16    Meet with Ron, Jessica, Karuna, Ioana                    0.30     148.50

  DBL       Oct 25/16    Email USCIS re reissuance of the RFEs                    0.20      99.00
                                                                               ______________________
                                                                                    15.40 $6,336.00
                        Plus: Miscellaneous costs (express delivery, long distance,         $253.44
                        telephone, photocopy, fax)(4% of fee)
                                                                                 ______________
                 Invoice Total:                                                        $6,589.44

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                 Total due presently:                                                    $6,589.44
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Jay Peak Hotel Suites Stateside, LP                                     November 1, 2016
      Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 417 of
Invoice #:   44835                         422                          Page No.       4



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                                           Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 418 of
                                     422




                       EXHIBIT 4(f)
Sep 27 16 12:36p        Michael McManus                                              / 0 I -ZU3i              P•l
         Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 419 of
                                              422

                                          The McManus Group, Inc.
                                            401 East Las Olas Blvd., Suite 130-411
                                                Fort Lauderdale, Florida 33301

               fax: (954) 757-2033                   tel: (954) 767-2003             Michael@McManus-Group. coin
                                                     cel: (954) 445-9098




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          Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 420 of
                                               422
                        The McManus Group, Inc.
                                                                                                                              Invoice
                        401 East Las Olas Blvd.
                        Suite 130-411                                                                               Date           Invoice #
                        Fort Lauderdale, Fl. 33301                                                                4/15/2016             820



             Bill To

           Kapila & Company, CPA
           Sonett Kapila
           1000 South Federal Hwy.
           Suite 200
           FL Lauderdale FL 33316




                                                                                                  Your File tt                 Terms

     Our File #     I                                                                           SEC v Q Resorts

                                Description                                         Qty                  Rate                  Amount
     April 8, 2016- contacted by Kapila & Company and requested to                        2.5                     200.00                500.00T
     put a security team of 15-20 agents together for operations in both
     Vermont and Miami FL. Contacted 20 certified investigators and
     placed them on stand-by for an operation the week of April 11,
     2016. A hourly rate of 5200 was agreed to with Mr. Kapila and Ms.
     Melissa Davis.

     April 11, 2016- team of investigators was reduced to 5 security                      1.5                     200.00                300.00T
     agents. Three were requested to travel to Vermont and 2 to Miami
     FL. Discussions with Melissa Davis on target location, hotels and
     flight information. Arranged flight and hotel reservations for
     Vermont team and briefed them on responsibilities.

     April 12. 2015- investigator McManus and Miranda placed on                            8                      200.00            1,600.00T
     stand by from 2:00pm to 6:00pm (minimum 4 hours agreed for each
     investigator). No activity. Total 8 hours.
                                                                                                                    0.00                      0.00




                              PLEASE MAKE CHECK PAYABLE TO:
                                   THE McMANUS GROUP                                             Subtotal
                                       Tax ID#: XX-XXXXXXX
                                    Florida Agency ii: A2500230
                                                                                                 Sales Tax (0.0%)

                                                                                                 Total

                                                                                                 Balance Due



                                                                           Page 1
Sep 27 16 12:36p            Michael McManus                                                      9b4-/ti /-laUS,5                P•a
             Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 421 of
                                                  422
                          The McManus Group, Inc.
                                                                                                                                Invoice
                          401 East Las Olas Blvd.
                          Suite 130-411                                                                               Date        Invoice #
                          Fort Lauderdale, Fl. 33301                                                                4/15/2016          820



                Bill To

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             Sonett Kapila
             1000 South Federal Hwy.
             Suitc 200
             Ft. Lauderdale FL 33316




                                                                                                   Your File #                   Terms

        Our File #    1                                                                          SEC v Q Resorts

                                 Description                                          Qty                Rate                    Amount
      April 13, 2016- Investigator McManus and Miranda placed on                            17                     200.00          3,401001
      stand-by effective 10:00am to assist in execution of court orders in
      Miami. Adviscd by Ms. Stephanie Prebend to report to Miami at
      noon. Both investigators arrive and meet with Kapila team and
    j attorneys. Court Orders were executed and concluded at 5:15pm.
    i Investigators McManus and Miranda return to Ft. Lauderdale FL,
    Iterminate at 6:30prn. (8.5 hours per investigator)
    i
      April 13, 2016• parking in Miami, $16.00, no charge for mileage                       1                       16.00              16.00T

       April 12 through April 14, 2016, Investigator Randy Brandt Travel                    1                    8,333.07          8,333.071'
     Ito Burlington VT from FTL to assist in security detail for attorneys
     I and accountants during execution of Court Orders. 34 hours
     I 4$200.00 per how= S6,800.00 (4/12=1 2hrs,
     i 4/13=10hrs,4114,---12hrs), Hotel in VT, 2 night$190.30, mileage
     Ito and from airport (FL) @.57 per mile= $35.34, Total airfare,
     IAA=S890.20, luggage check in fees=$50.00, Car rental=$185.98,
     i fuel for rental car—S28.25, 3 days perdiem @ USG rate ($51.00 per
    1 day)=, $153.00. Total Expenses for Investigator Brande $8,333.07,
      sec attached receipts.



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    1
                                   THE McMANUS GROUP                                             Subtotal
                                     Tax ID#: XX-XXXXXXX
                                  Florida Agency #: A2500230
                                                                                                 Sales Tax (0.0%)

                                                                                                 Total

                                                                                                 Balance Due



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Sep 27 16 12:36p            Michael McManus                                                        &b4-(b t-ZUJJ
             Case 1:16-cv-21301-DPG Document 241 Entered on FLSD Docket 11/22/2016 Page 422 of
                                                  422
                          The McManus Group, Inc.
                                                                                                                                 Invoice
                          401 East Las Olas Blvd.
                          Suite 130-411                                                                                Date        Invoice #
                          Fort Lauderdale, Fl. 33301                                                                 4/15/2016        820



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              Sonett Kapi la
              1000 South Federal Hwy.
              Suite 200
              Ft. Lauderdale FL 33316




                                                                                                     Your File #                  Terms     .
                                                                                                                          i
        Our File it   I                                                               I    i       SEC v G Resorts

                                 Description                                         Qty                   Rate                   Amount
    i April 12, 2016 through April 14, 2016-Investigator Steve Georges                         1                   8,422.45         8,422.45T
    I assigned to provide security in Burlington VT for attorneys and
    I accountants. Travel from FT!. to Burlington VT. Total of 343
    lhours @ $200.00 per hour (4112-13hrs. 4/13-9hrs, 4/14-12.5hrs
    I $6,900.00. mileage to and from residenceMirport=S28.50. Airfare
    1 via
        • AA, 2 one way tickets=$890.20, Hotel in VT, 2 nightl 90.30,
    I Car Reatal$191.45, parking FTL airport= $45.00, Gas for rental
    I car=$24.00. perdiem USG rate of $51.00 per day= S153.00
    I
    1 April 12 through April 14, 201.6- Investigator Maria Price assigned                      1                   7,727.88         7,727.88T
    Ito provide security for attorneys and accountants in Burlington VT.
      Total of 32.5 hours worked (4/12 13hrs, 4/13 9hrs, 4/4 10.50) %
    1 $200 per hour= $6,500.00. Hotel, 2 nights=$190.30,3 days perdiem

    [ (1051,00 per day= $153.00, mileage to and from FTL airport, 34
    imiles @.57 per mile=$19.38, Airfare, 2 one way tickets from FTL
      to Burlington VT via AA= $865.20, Total expenses = $7,727.88.
    I See attached receipts.
    i
    i Review expense reports, prepare invoices- N/C                                                                                       0.00T
    I



                              PLEASE MAKE CHECK PAYABLE TO:
                                   THE McMANUS GROUP                                               Subtotal                         $30,299.40
                                     Tax ID#: XX-XXXXXXX
                                  Florida Agency it. A2500230
                                                                                                   Sales Tax (0.0%)                        $0.00

                                                                                                                                    530.299.40
                                                                                                   Total

                                                                                                   Balance Due                      530,299.40




                                                                            Page 3
